                  Case 4:24-cv-04836                        Document 8-2                   Filed on 04/23/25 in TXSD              Page 1 of 1090

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                            Chapter       11                                                   ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Galleria 2425 Owner, LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   3      6 – 4    8   9    6    7     3   8
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business



                                                   1001 West Loop South
                                                   Number          Street                                      Number        Street

                                                   Houston, TX 77027
                                                   City                                    State   ZIP Code    City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Harris                                                      place of business
                                                   County




                                                                                                               Number        Street


                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ❑ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑ Partnership (excluding LLP)
                                                  ✔ Other. Specify:
                                                  ❑                             Limited Liability Company




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                            000001             page 1
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Debtor      Galleria 2425 Owner, LLC                                                                         Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    5     3   1   1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
                                                   ❑
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ❑ No
       by or against the debtor within the      ✔ Yes. District Southern District of Texas
                                                ❑                                                   When 7/5/2023         Case number 23-60036
       last 8 years?                                                                                     MM / DD / YYYY

     If more than 2 cases, attach a                      District                                   When                    Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                             Relationship

     List all cases. If more than 1, attach a            District                                                           When
     separate list.                                                                                                                       MM / DD / YYYY
                                                         Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                              000002           page 2
                    Case 4:24-cv-04836              Document 8-2                Filed on 04/23/25 in TXSD                    Page 3 of 1090

Debtor        Galleria 2425 Owner, LLC                                                                      Case number (if known)
             Name


  11. Why is the case filed in this      Check all that apply:
      district?
                                         ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         ❑
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have        ✔ No
                                         ❑
      possession of any real
      property or personal property
                                         ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
      attention?                                   ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?


                                                   ❑ It needs to be physically secured or protected from the weather.
                                                   ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                         (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                         options).
                                                   ❑ Other
                                                   Where is the property?
                                                                             Number        Street




                                                                             City                                         State    ZIP Code
                                                   Is the property insured?
                                                   ❑ No
                                                   ❑ Yes.        Insurance agency
                                                                 Contact name
                                                                 Phone

          Statistical and administrative information

         13. Debtor’s estimation of      Check one:
             available funds?            ❑ Funds will be available for distribution to unsecured creditors.
                                         ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         ❑
                                            creditors.

         14. Estimated number of
                                          ✔ 1-49 ❑ 50-99
                                          ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                    ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets             ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                          ❑ $50,001-$100,000                    ✔ $10,000,001-$50 million
                                                                                ❑                                         ❑ $1,000,000,001-$10 billion
                                          ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                          ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                000003           page 3
                    Case 4:24-cv-04836                Document 8-2                    Filed on 04/23/25 in TXSD                    Page 4 of 1090

Debtor        Galleria 2425 Owner, LLC                                                                         Case number (if known)
             Name



                                            ❑ $0-$50,000                              ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ✔ $50,000,001-$100 million
                                                                                      ❑                                         ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     12/05/2023
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Dward Darjean                                                  Printed name
                                                                                                                                       Dward Darjean
                                                   Signature of authorized representative of debtor


                                                   Title                        Manager



         18. Signature of attorney
                                               ✘                       /s/ James Q. Pope                            Date      12/05/2023
                                                                                                                              MM/ DD/ YYYY
                                                   Signature of attorney for debtor



                                                    James Q. Pope
                                                   Printed name

                                                    The Pope Law Firm
                                                   Firm name

                                                    6161 Savoy Drive 1125
                                                   Number          Street


                                                    Houston                                                            TX              77036
                                                   City                                                               State            ZIP Code



                                                    (713) 449-4481                                                      jamesp@thepopelawfirm.com
                                                   Contact phone                                                       Email address



                                                    24048738                                                            TX
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 000004            page 4
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 Fill in this information to identify the case:

 Debtor name                           Galleria 2425 Owner, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                           12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete            Name, telephone number,         Nature of the          Indicate if       Amount of unsecured claim
    mailing address, including zip code      and email address of            claim (for             claim is          If the claim is fully unsecured, fill in only unsecured
                                             creditor contact                example, trade         contingent,       claim amount. If claim is partially secured, fill in total
                                                                             debts, bank loans,     unliquidated,     claim amount and deduction for value of collateral
                                                                             professional           or disputed       or setoff to calculate unsecured claim.
                                                                             services, and                            Total claim, if     Deduction for        Unsecured
                                                                             government                               partially           value of             claim
                                                                             contracts)                               secured             collateral or
                                                                                                                                          setoff
1     2425 WL, LLC                                                                                                    $25,092,415.80       $17,500,000.00      $7,592,415.80
      13498 Pond Springs Rd.
      Austin, TX 78729


2     Ali Choudhry                                                                                                                                                $960,000.00
      1001 West Loop South 700
      Houston, TX 77027


3     Ash Automated Control Systems,                                         HVAC Repair                                                                            $1,548.31
      LLC
      PO Box 1113
      Fulshear, TX 77441

4     Caz Creek Lending                                                      Tax Lien                                    $800,238.37       $17,500,000.00         $800,238.37
      118 Vintage Park Blvd No. W
      Houston, TX 77070


5     Cirro Electric                                                                                                                                               $27,000.00
      PO Box 60004
      Dallas, TX 75266


6     City of Houston                                                                                                                                               $7,500.00
      PO Box 1560
      Houston, TX 77251


7     CNA Insurance Co                                                                                                                                             $63,216.48
      PO Box 74007619
      Chicago, IL 60674


8     Datawatch Systems                                                                                                                                            $18,626.10
      4520 East West Highway 200
      Bethesda, MD 20814




                                                                                                                                                       000005
Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 1
                    Case 4:24-cv-04836               Document 8-2                Filed on 04/23/25 in TXSD                           Page 6 of 1090

Debtor          Galleria 2425 Owner, LLC                                                                         Case number (if known)
             Name

    Name of creditor and complete       Name, telephone number,           Nature of the          Indicate if       Amount of unsecured claim
    mailing address, including zip code and email address of              claim (for             claim is          If the claim is fully unsecured, fill in only unsecured
                                        creditor contact                  example, trade         contingent,       claim amount. If claim is partially secured, fill in total
                                                                          debts, bank loans,     unliquidated,     claim amount and deduction for value of collateral or
                                                                          professional           or disputed       setoff to calculate unsecured claim.
                                                                          services, and                            Total claim, if     Deduction for       Unsecured
                                                                          government                               partially           value of            claim
                                                                          contracts)                               secured             collateral or
                                                                                                                                       setoff
9    Firetron                                                                                                                                                   $30,040.34
     PO Box 1604
     Stafford, TX 77497


10 First Insurance Funding                                                                                                                                        $5,507.36
   450 Skokie Blvd
   Northbrook, IL 60062


11 Gulfstream Legal Group                                                                                                                                       $57,799.06
   1300 Texas St
   Houston, TX 77002


12 Harris County Tax Assessor                                                                                         $957,825.16      $17,500,000.00          $957,825.16
   PO Box 4622
   Houston, TX 77210


13 HNB Construction, LLC                                                                                                                                        $58,207.11
   521 Woodhaven
   Ingleside, TX 78362


14 Lexitas                                                                                                                                                        $2,813.33
   PO Box Box 734298 Dept 2012
   Dallas, TX 75373


15 MacGeorge Law Firm                                                                                                                                           $34,445.48
   2921 E 17th St Blgd D Suite 6
   Austin, TX 78702


16 National Bank of Kuwait                                                                       Disputed          $26,000,000.00      $17,500,000.00      $26,000,000.00
   299 Park Ave. 17th Floor
   New York, NY 10171


17 Nationwide Security                                                                                                                                          $32,549.70
   2425 W Loop S 300
   Houston, TX 77027


18 Nichamoff Law Firm                                                                                                                                           $46,984.22
   2444 Times Blvd 270
   Houston, TX 77005


19 TKE                                                                                                                                                          $57,881.13
   3100 Interstate North Cir SE 500
   Atlanta, GA 30339


20 Zindler Cleaning Service Co                                                                                                                                    $2,110.88
   2450 Fondren 113
   Houston, TX 77063


                                                                                                                                                     000006
Official Form 204                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      SOUTHERN DISTRICT OF TEXAS
                                                            HOUSTON DIVISION

IN RE: Galleria 2425 Owner, LLC                                                       CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      12/05/2023            Signature                                 /s/ Dward Darjean
                                                                         Dward Darjean, Manager




                                                                                                                                    000007
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2425 WL, LLC                      ADT                                  ALI CHOUDHRY
13498 POND SPRINGS RD.            PO BOX 382109                        1001 WEST LOOP SOUTH 700
AUSTIN, TX 78729                  PITTSBURGH, PA 15251                 HOUSTON, TX 77027




ASH AUTOMATED CONTROL             CAZ CREEK LENDING                    CFI MECHANICAL, INC
SYSTEMS, LLC                      118 VINTAGE PARK BLVD NO. W          6109 BRITTMOORE RD
PO BOX 1113                       HOUSTON, TX 77070                    HOUSTON, TX 77041
FULSHEAR, TX 77441



CIRRO ELECTRIC                    CITY OF HOUSTON                      CNA INSURANCE CO
PO BOX 60004                      PO BOX 1560                          PO BOX 74007619
DALLAS, TX 75266                  HOUSTON, TX 77251                    CHICAGO, IL 60674




COMCAST                           DATAWATCH SYSTEMS                    ENVIRONMENTAL COALITION
PO BOX 60533                      4520 EAST WEST HIGHWAY 200           INC
CITY OF INDUSTRY, CA 91716        BETHESDA, MD 20814                   PO BOX 1568
                                                                       STAFFORD, TX 77497



FERGUSON FACILITIES               FIRETRON                             FIRST INSURANCE FUNDING
SUPPLIES                          PO BOX 1604                          450 SKOKIE BLVD
PO BOX 200184                     STAFFORD, TX 77497                   NORTHBROOK, IL 60062
SAN ANTONIO, TX 78220



GULFSTREAM LEGAL GROUP            HARRIS COUNTY TAX                    HNB CONSTRUCTION, LLC
1300 TEXAS ST                     ASSESSOR                             521 WOODHAVEN
HOUSTON, TX 77002                 PO BOX 4622                          INGLESIDE, TX 78362
                                  HOUSTON, TX 77210



KINGS 111 EMERGENCY               LEXITAS                              LOGIX FIBER NETWORKS
COMMUNICATIONS                    PO BOX BOX 734298 DEPT 2012          PO BOX 734120
751 CANYON DRIVE, SUITE 100       DALLAS, TX 75373                     DALLAS, TX 75373
COPPELL, TX 75019



MACGEORGE LAW FIRM                MUELLER WATER TREATMENT              NATIONAL BANK OF KUWAIT
2921 E 17TH ST BLGD D SUITE 6     1500 SHERWOOD FOREST DR.             299 PARK AVE. 17TH FLOOR
AUSTIN, TX 78702                  HOUSTON, TX 77043                    NEW YORK, NY 10171




NATIONWIDE SECURITY               NICHAMOFF LAW FIRM                   TKE
2425 W LOOP S 300                 2444 TIMES BLVD 270                  3100 INTERSTATE NORTH CIR SE 500
HOUSTON, TX 77027                 HOUSTON, TX 77005                    ATLANTA, GA 30339




WASTE MANAGEMENT                  ZINDLER CLEANING SERVICE
PO BOX 660345                     CO
DALLAS, TX 75266                  2450 FONDREN 113
                                  HOUSTON, TX 77063
                                                                                             000008
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re:                                      §
                                             § Case No. 23-34815 (JPN)
 GALLERIA 2425 Owner, LLC                    §
                                             § Chapter 11
                  Debtor.                    §


               NATIONAL BANK OF KUWAIT, S.A.K.P, NEW YORK BRANCH’S
                EMERGENCY MOTION TO ENFORCE THE GATE-KEEPING
                  PROVISIONS OF THE CONFIRMED CHAPTER 11 PLAN



 This motion seeks an order that may adversely affect you. If you oppose the motion, you
 should immediately contact the moving party to resolve the dispute. If you and the
 moving party cannot agree, you must file a response and send a copy to the moving party.
 You must file and serve your response within 21 days of the date this was served on you.
 Your response must state why the motion should not be granted. If you do not file a timely
 response, the relief may be granted without further notice to you. If you oppose the
 motion and have no reached an agreement, you must attend the hearing. Unless the
 parties agree otherwise, the Court may consider evidence at the hearing and may decide
 the motion at the hearing.

 Represented parties should act through their attorney.

 Emergency Relief has been requested if the Court considers the motion on an emergency
 bases, then you will have less than 21 days to answer. If you object to the requested relief
 or if you believe that the emergency consideration is not warranted, you should file an
 immediate response.
TO THE HONORABLE JEFFREY P. NORMAN, U.S. BANKRUPTCY JUDGE:

          National Bank of Kuwait, S.A.K.P. New York Branch (“NBK”) files this Emergency

Motion to Enforce the gate-keeping provisions in the confirmed and unstayed chapter 11 plan [see

ECF No. 566 (the “Plan” and “Confirmation Order”)] (the “Motion”) and states as follows:

                                 PRELIMINARY STATEMENT

          1.     The Plan, which was confirmed pursuant to the Court’s June 22, 2024 Confirmation

Order, imposes certain gate-keeping obligations on parties that are prosecuting or intend to



                                                                                           000009
Case 4:24-cv-04836         Document 8-2        Filed on 04/23/25 in TXSD         Page 10 of 1090




prosecute claims against parties who received releases of estate claims under the confirmed Plan,

including NBK.

        2.      Although more than 3 months have passed since entry of the Confirmation Order,

two parties, Naissance Galleria, LLC (“Naissance”) and the Debtor’s principal Ali Choudhri, with

pending actions against NBK that relate to the Debtor (the “Pending Actions”) have neither

dismissed the pending actions nor have they come to this Court to satisfy the prerequisites for

continuing the Pending Actions. The Pending Actions, on their face, assert claims that are identical

to or very similar to, claims that have been dismissed with prejudice by this Court in, for example,

Adversary No. 23-03263. [Case No. 23-0326, ECF No. 26].

        3.      Accordingly, NBK requests that the Court enforce the terms of the Plan and

Confirmation Order by staying the pending litigation described below and ordering the plaintiffs

to show cause why those actions are pursuing colorable claims that are not estate claims that have

been released, including establishing an expedited briefing schedule.

      LOCAL RULE 9013-1(i) STATEMENT REGARDING EMERGENCY RELIEF

        4.      NBK seeks emergency relief on or before October 18, 2024 because one of the

Pending Actions is currently set for trial on November 18, 2024. Ruling on this motion sufficiently

before November 18, 2024, is appropriate to avoid unnecessary cost and expenses and to conserve

judicial resources across both State and Federal Courts. Efforts to move this November 18 trial

date or otherwise obtain the voluntary dismissal of this action with Naissance, the plaintiff in that

action, have been unsuccessful. The undersigned certifies that these facts in support of emergency

relief are accurate.




                                                 2
                                                                                               000010
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                                      JURISDICTION AND VENUE

         5.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b). This

matter is a core proceeding under 28 U.S.C. § 157(b). The Court retained jurisdiction to enforce

the terms of the Plan and otherwise to enter orders to assist in the implementation of the Plan

pursuant to Article X of the Plan and Confirmation Order. The Court has the inherent power to

enforce its Confirmation Order and the general power to issues orders in aid of implementation of

the confirmed Plan pursuant to 11 U.S.C. §§ 105(a) and 1142.

         6.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                   BACKGROUND REGARDING THE PENDING ACTIONS

         7.       The Debtor, Naissance, and Choudhri have asserted causes of action against NBK

primarily arising from NBK’s alleged breach of the Confidential Settlement Agreement (“CSA”)

that remain pending and are subject to the gate-keeping provisions of the Plan and Confirmation

Order. Those Pending Actions include:

              •   Naissance Galleria, LLC v. Zaheer, et al, Cause No. 2023-43755 pending in the
                  District Court of Harris County, Texas, 80th Judicial District (“Naissance I”). 1

              •   Naissance Galleria, LLC v. NBK, Cause No. 2023-41091 pending in the District
                  Court of Harris County, Texas, 129th Judicial District (“Naissance II”). 2

              •   Galleria 2425, LLC, Naissance Galleria, LLC and Choudhri v. NBK, Adversary
                  Case No. 23-06009, which was filed in connection with the Debtor’s prior,
                  dismissed chapter 11 case (“Galleria I”). 3



1
  See Ex. 1, Plaintiff’s Second Amended Petition & Emergency Application for Temporary Restraining Order Against
   Defendant NBK.
2
   See Ex. 2, Plaintiff’s Original Petition and Request for Temporary Restraining Order. Naissance II is set for trial
   on November 18, 2024 [see Ex. 3, Trial Preparation Order]. Because of the imminent trial setting, NBK seeks
   emergency relief.
3
   The previous bankruptcy case was dismissed by the Honorable Christopher Lopez on November 1, 2023 for cause
   on the Court’s own motion. [ECF No. 565 at 2 (citing Case No. 23-60036)]. The adversary proceeding was filed
   on or about September 19, 2023 and a summons was requested but never served. [see Ex. 4, Adversary Case No.
   23-06009 Docket Sheet]. Because Case No. 23-60036 has been dismissed and the summons never served, the prior
   chapter 11 case, including Adversary case No. 23-06009, should be closed.


                                                          3
                                                                                                               000011
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                •   Adversary Case No. 23-03263, Choudhri v. NBK and Zaheer and Ali Choudhri’s
                    Second Amended Petition in Intervention (“Choudhri Intervention”).

          8.        The Pending Actions assert the same basic facts and claims which this Court has

found meritless. See e.g., ECF No. 565 at 16 (finding the claims “are not viable”); Id. at 17

(holding the “the record in this case does not support his sizable but implausible claims.” (emphasis

added)). Specifically, the Court noted in its Memorandum Opinion confirming the Plan that the

claims asserted by Debtor, Choudhri, and Naissance against NBK in Adversary No. 23-03263 4 are

the same as those asserted in the first bankruptcy in Galleria I, ECF No. 1, namely, breach of the

CSA, tortious interference with contract, tortious interference with business relations, fraud and

fraudulent inducement/lender liability, fraudulent conveyance, estoppel, breach of good faith and

fair dealing and unjust enrichment. [ECF No. 565 at 2-3].

          9.        They also reflect claims investigated by the Chapter 11 trustee that he found to be

“weak to non-existent.” [Ex. 5, 6/19/2024 Hr’g Tr. at 122:4-9; 129:9-15; 129:22-130:13].

                            THE PLAN’S GATE-KEEPING PROVISIONS

          10.       The Court confirmed the Plan on June 22, 2024. [ECF No. 566] Although the

Confirmation Order has been appealed, it has not been stayed.

          11.       The Plan and Confirmation Order include gate-keeping requirements that require

parties who either are prosecuting or intend to prosecute claims against any party released of estate

claims under the Plan, including specifically NBK, to the extent those claims relate to the Debtor

to first obtain a ruling from the Bankruptcy Court that it is pursuing a colorable non-estate claim

that has not been released by the confirmed Plan. [ECF No. 566 at 5; Plan, Art. IX(E).]




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    The Court referenced Adversary No. 23-34815 in its Order. [ECF No. 565 at 3]. However, the removed case is
    Adversary No. 23-03263.


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       12.     The Debtor, Naissance and Choudhri all were served with the Plan and

Confirmation Order. [ECF No. 572]

       THE PENDING ACTIONS SHOULD BE STAYED AND THE PLAINTIFFS
          REQUIRED TO SHOW CAUSE WHY THEY SHOULD PROCEED

       13.     The Pending Actions are all actions subject to the gate-keeping requirements of the

Plan and Confirmation Order because they assert claims against NBK related to the Debtor. It

therefore is incumbent on the plaintiffs in the Pending Actions to obtain a ruling from the Court

that they are prosecuting colorable, non-estate claims. Yet, in the three months since the Plan was

confirmed, none of the plaintiffs in the Pending Actions have complied with those gate-keeping

requirements or voluntarily dismissed them.

       14.     This lack of action by the Plaintiffs has required NBK to seek relief to enforce the

terms of the Plan and to stay the Pending Actions. The potential harm to NBK as the result of this

inaction is clear. Naissance I is scheduled for trial in about 45 days. The remaining Pending Actions

are active cases on various court dockets that require attention to ensure rights, claims and defenses

are not lost, even though they should not be proceeding at all.

       15.     Although NBK believes that none of the Pending Actions assert claims that have

not been released by the Plan or that are otherwise colorable, to give effect to and enforce the terms

of the Plan, two forms of relief are appropriate at this time.

       16.     First, the Court should stay the Pending Actions (or, if the Court were so inclined,

order the removal of those actions pending in State Court to the Bankruptcy Court and then stay

them) pending satisfaction by the plaintiffs in the Pending Actions of the gate-keeping

requirements in the Plan.




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         17.    Second, the Court should require those plaintiffs to demonstrate that the Pending

Actions assert non-estate, colorable claims against NBK and if they fail to do so, to require the

Pending Actions be dismissed.

         18.    In the absence of this relief, the plaintiffs seem intent not to comply with the

requirements of the Plan to NBK’s detriment.

                                   RESERVATION OF RIGHTS

         19.    NBK reserves all rights, claims, causes of action and remedies, in law or in equity,

under the Plan and Confirmation Order. NBK further reserves the right to amend this Motion.

                                             NOTICE

         20.    In addition to service of this motion by ECF/PACER, NBK will give notice to the

plaintiffs in the Pending Actions and their counsel of record in those Pending Actions to the extent

known.

                                         CONCLUSION

         For the foregoing reasons, the Court should grant the Motion and award NBK all other

relief in law or in equity to which it has shown itself entitled. A proposed Order granting the

Motion is attached as Exhibit 6.




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DATED: October 2, 2024              PILLSBURY WINTHROP SHAW PITTMAN LLP

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                                    Charles C. Conrad
                                    Texas State Bar No. 24040721
                                    Ryan Steinbrunner
                                    Texas State Bar No. 24093201
                                    609 Main Street Suite 2000
                                    Houston, TX 77002
                                    Telephone: (713) 276-7600
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                                        -       and -

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                                    *Admitted pro hac vice

                                    Counsel for National Bank of Kuwait, S.A.K.P., New
                                    York Branch




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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on October 2, 2024, a true and correct copy of this document
was served via the Court’s CM/ECF system to all parties who are deemed to have consented to
ECF electronic service, via email and/or U.S. first class mail, postage paid to all counsel in the
Pending Actions and listed below, and also by mailing, first class, postage prepaid, to each of the
parties on the attached service list.

Matías J. Adrogué                                    Omar Khawaja
Leila M. El-Hakam                                    Law Offices of Omar Khawaja, PLLC
Matías J. Adrogué PLLC                               5177 Richmond Ave, Ste 1065
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service@mjalawyer.com                                Counsel for Plaintiff in Naissance II
Counsel for Plaintiff in Naissance I
                                                     David Tang
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Houston, TX 77036                                    Counsel for Plaintiff in Naissance II
jamesp@thepopelawfirm.com
Counsel for Plaintiff in Naissance I                 Bradley Parker
                                                     2127 Bolsover Street
Rodney Drinnon                                       Houston, TX 77005
McCathern Houston                                    Defendant in Naissance II
2000 West Loop South Ste 1850
Houston, TX 77027                                    Melissa S. Hayward
rdrinnon@mccathernlaw.com                            Hayward PLLC
Counsel for Defendant Azeemeh Zaheer in              10501 N. Central Expy Ste 106
Naissance I                                          Dallas, TX 75231
                                                     mhayward@haywardfirm.com
David Tang                                           Counsel for Plaintiffs in Galleria I
6711 Stella Link #343
West University Place, TX 77005                      James Q. Pope
dtangattorney@gmail.com                              The Pope Law Firm
Counsel for Defendant Azeemeh Zaheer in              6161 Savoy Drive Ste 1125
Naissance I                                          Houston, TX 77036
                                                     jamesp@thepopelawfirm.com
                                                     Counsel for Plaintiffs in Galleria I


                                              /s/ Charles C. Conrad
                                               Charles C. Conrad




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                             EXHIBIT 1




                                                                          000017
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                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                 Envelope No. 82040972
                                                                                                  By: Domonique Palmer
                                                                                             Filed: 11/29/2023 10:01 AM

                                     CAUSE NO. 2023-43755

NAISSANCE GALLERIA, LLC                          §           IN THE DISTRICT COURT OF
                                                 §
                  Plaintiff,                     §
                                                 §
v.                                               §                HARRIS COUNTY, TEXAS




                                                                              k
                                                                           ler
                                                 §
AZEEMEH ZAHEER                                   §




                                                                        tC
                                                 §




                                                                    ric
 Defendant.                                      §




                                                                 ist
                                                 §
                                                 §                80TH JUDICIAL DISTRICT




                                                              sD
                                                          es
 PLAINTIFF’S SECOND AMENDED PETITION & EMERGENCY APPLICATION FOR



                                                        rg
  TEMPORARY RESTRAINING ORDER AGAINST DEFENDANT NATIONAL BANK
                         OF KUWAIT S.A.K.P.          Bu
                                                     n
        Naissance Galleria, LLC (“Plaintiff”) files this Amended Petition and Emergency
                                                ily
                                              ar


 Application for Temporary Restraining Order against National Bank of Kuwait S.A.K.P., New
                                         M




 York Branch (individually as “NBK”, or collectively as “Defendant”) and, in support, submit the
                                       of
                                     e




 following:
                                  ffic




                                             I.
                                O




                                       DISCOVERY PLAN
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        1.     Discovery should be conducted pursuant to Level 2 of Rule 190.3 of the Texas
                     C




 Rules of Civil Procedure.
                 ial
              fic




                                                II.
                                              PARTIES
              of
        Un




        2.     Naissance Galleria, LLC (“Plaintiff”) is a limited liability company doing business

 in Texas and is mezzanine lender to Galleria 2425 JV, LLC (“JV”). The JV is the sole member of




                                                                                              Page | 1



                                                                                                  000018
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Galleria 2425 Owner, LLC (Owner”), which is the 100% owner of the building located at 2425

West Loop S., Houston, Texas 77027 (“2425 Building”).

       3.      Azeemeh Zaheer (“Zaheer”), is an individual who resides, and has appeared and is

represented by counsel Rodney Drinnon, 2000 West Loop South, Suite 1850, Houston, Texas




                                                                                 k
                                                                              ler
77027 and David Tang, 6711 Stella Link, #343, West University Place, Texas 77005. ZAHEER




                                                                           tC
HAS APPEARED.




                                                                       ric
                                                                    ist
                                                                 sD
       4.      National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) is a banking




                                                              es
corporation organized under the laws of Kuwait, acting through its New York Branch. This party



                                                           rg
may be served through its counsel, Charles Conrad, Two Houston Center, 909 Fannin, Suite 2000,
                                                       Bu
Houston, Texas 77010-1018, and via email: charles.conrad@pillsburylaw.com. CITATION IS
                                                    n
                                                 ily

REQUESTED.
                                              ar
                                          M
                                        of




                                            III.
                                     e




                                        INTRODUCTION
                                 ffic




       5.      Defendant Zaheer was previously the managing member of Naissance Galleria
                           y O




LLC, however on or about July 3, 2020, Defendant Zaheer assigned all control of Naissance
                        op




Galleria, LLC to Ali Choudhri. On or about July 3, 2020, Defendant Zaheer ceased having any
                     C
                 ial




“powers, rights, privileges, duties and discretion” as it pertains to Plaintiff Naissance Galleria LLC.
              fic




Defendant Zaheer sent an email correspondence to Plaintiff’s current managing member regarding
            of
       Un




her transfer of interest to Plaintiff’s current managing member, which for all intents and purposes

terminated and ratified the interest transfer by Defendant Zaheer for Naissance Galleria LLC.




                                                                                         Page 2 of 29



                                                                                                 000019
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        6.      Plaintiff Naissance Galleria LLC has been operating under the control of its current

managing member since the execution of the assignment on July 3, 2020 and it is unconscionable

to discover that Defendant Zaheer, three (3) years after executing the assignment is now suddenly

asserting that she manages and has control over Naissance Galleria LLC. Moreover, Defendant




                                                                                  k
                                                                               ler
Zaheer retained counsel and initiated litigation against third parties on behalf of Naissance




                                                                            tC
Galleria, LLC three (3) years after executing the assignment. Most shockingly is that fact that,




                                                                        ric
without any appearance or objection by Zaheer, the managing member of Naissance Galleria, Ali




                                                                     ist
                                                                  sD
Choudhri, who has controlled Naissance Galleria LLC since around July 2020, has initiated




                                                              es
lawsuits against Defendant Bank of Kuwait, and has entered into a sealed confidential settlement



                                                            rg
agreement on behalf of Naissance Galleria, LLC with Defendant Bank of Kuwait which is the
                                                       Bu
subject of another litigation.
                                                     n
                                                  ily

        7.      A lawsuit was originally filed against NBK, a party who has been shown to be
                                               ar
                                           M




willing to engage in bad faith actions amounting to lender liability, because of its repeated attempts
                                        of




to make outside deals with third parties to specifically deprive the JV and Owner of their ownership
                                      e
                                  ffic




interest, and Plaintiff of its collateral interest in the 2425 Building, in any way it can.
                                 O




        8.      Galleria 2425 Owner, LLC, filed bankruptcy to preserve the asset, which NBK
                           y
                        op




vehemently opposed, and fought to have dismissed from the bankruptcy court. However, at the
                     C




hearing on NBK’s motion to dismiss, Galleria 2425 Owner, LLC was successful in defending
                  ial
               fic




against dismissal, and the bankruptcy case moved forward.
             of




        9.      Galleria 2425 Owner, LLC promptly proposed a plan in the bankruptcy court,
        Un




which was characterized as a “really smart” plan that “check[ed] all the boxes” for plan

confirmation, according to Judge Lopez.



                                                                                              Page 3 of 29



                                                                                                    000020
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       10.     Then, after Defendant NBK lost its motion to dismiss, true to its pattern of behavior,

it continued to engage in more bad faith actions by conspiring with Azeemeh Zaheer, and perhaps

other yet unknown parties, to create confusion that caused havoc and further disrupted the

bankruptcy case.




                                                                                k
                                                                             ler
       11.     Notably, Judge Manor, in this matter, which is referenced in NBK’s letter to Judge




                                                                          tC
Lopez, did issue a Temporary Injunction, which maintained the status quo of Choudhri’s




                                                                      ric
management and control of Naissance Galleria, LLC, but limited any actions that could be




                                                                   ist
                                                                sD
taken by Choudhri on behalf of Naissance Galleria, LLC to only those which are also




                                                             es
approved by Zaheer, until a trial resolves the issue once and for all.



                                                          rg
       12.     After the Temporary Injunction was in place establishing Choudhri’s control of
                                                      Bu
Naissance Galleria, LLC, Counsel David Tang and Rodney Drinnon acting for Azeemeh Zaheer,
                                                   n
                                                ily

appeared in violation of this TRO and purported to act for Naissance Galleria, LLC. They appeared
                                              ar
                                          M




on behalf of Naissance Galleria, LLC, at two separate hearings in the bankruptcy court, on or about
                                       of




October 12th, 2023 and November 1st, 2023. Even more egregiously, these same parties, again
                                     e
                                ffic




acting in express violation of the Temporary Injunction, filed a motion to lift the stay in the
                             O




bankruptcy court, which is entirely against the fiduciary interests of plaintiff, and they request for
                           y
                        op




Judge Lopez to rule against the this Court and find that Zaheer had control of, and could act for
                     C




Naissance Galleria, LLC.
                 ial
              fic




       13.     When the parties to the state court litigation returned to appear before this Court on
             of




November 13th, 2023, Judge Manor confirmed that her Temporary Injunction did not give Zaheer
       Un




any right to act as the manager of Naissance Galleria, LLC, and confirmed that Choudhri was in

control, subject to Zaheer’s approval during the pendency of trial.



                                                                                        Page 4 of 29



                                                                                                000021
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        14.     All of these actions, including the actions taken by Zaheer in direct violation of this

Court’s temporary injunction, gave rise to Judge Lopez’s serious concerns about the ability to

move forward with the bankruptcy case without resolution in the state court action. Judge Lopez

stated in the November 1st, 2023 Status Conference the following:




                                                                                  k
                                                                               ler
        “I don’t have anything to qualify it in state court issues. I don’t know. There’s just a lot of




                                                                            tC
        confusing stuff, and my gut tells me that I need to dismiss this case and let you all go figure




                                                                        ric
        this out in State Court, because there’s not enough here, and there’s real concerns that I




                                                                     ist
                                                                  sD
        have…”.




                                                              es
        15.     The fact that Zaheer, allegedly acting on behalf of Naissance filed these



                                                           rg
appearances and motions in violation of the Temporary Injunction not only makes these actions
                                                       Bu
unlawful, but there could be no other purpose aside from attempting to cause the dismissal of the
                                                    n
                                                 ily

bankruptcy case brought by Galleria 2425 Owner, LLC, which is an action that, logically, would
                                              ar
                                           M




be counter to the company’s fiduciary interests.
                                        of




        16.     In its letter, NBK cleverly attempts to confuse the court by implying that Ms.
                                     e
                                 ffic




Zaheer had control of Naissance Galleria, LLC because the order says that management decisions
                              O




could not be made without her approval. This is exact same argument Zaheer made before being
                           y
                        op




shut down by this Court itself, stating that its Temporary Injunction left Mr. Choudhri in control,
                     C




subject to Zaheer’s approval, in order to freeze all actions of the parties until trial, except that Mr.
                 ial
              fic




Choudhri’s actions on behalf of Naissance Galleria, LLC in the instant suit have been expressly
              of




permitted.
        Un




        17.     Judge Weems in the 281st Civil District Court has handled cases related Galleria

2425 Owner, LLC for years, and is well aware that Ms. Zaheer has been entirely absent from any

of these proceedings until on or about July 5th, 2023, when Mr. Tang appeared, allegedly for
                                                                                          Page 5 of 29



                                                                                                  000022
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Naissance Galleria, LLC, before that Court’s ancillary docket, attempting to stop the foreclosure

by NBK, at which hearing Judge Weems questioned the absence of Ms. Zaheer over the last several

years, and denied the TRO, as it was not believable to Judge Weems that Zaheer had authority to

act on behalf of Naissance Galleria, LLC.




                                                                              k
                                                                           ler
       18.     From July 3rd, 2020, the date of signing, until or July 5th, 2023, Defendant Zaheer




                                                                        tC
did not make any claims of control over Naissance Galleria, LLC, did not attempt to object to or




                                                                    ric
interfere with Mr. Choudhri’s management of the company, and did not make allegations of




                                                                 ist
                                                              sD
forgery regarding the assignment of the company to Choudhri. These allegations are absurd, as




                                                           es
Defendant Zaheer has been entirely absent from the company’s management for years.



                                                           rg
       19.     As a result of this conspiracy by the Defendant Bank of Kuwait and Defendant
                                                     Bu
Zaheer falsely acting on behalf of Plaintiff Naissance Galleria LLC the emergency status
                                                   n
                                                ily

conference requested by NBK resulted in the dismissal of the bankruptcy case.
                                             ar
                                         M




       20.     What’s interesting is that, if Ms. Zaheer was authentically the manager of
                                       of




Naissance Galleria, LLC, and acting in the best interests of the company, she would not have
                                    e
                                ffic




worked tirelessly to have the bankruptcy case dismissed. Any intent it has is behind the NBK
                             O




debt and will be wiped out.
                           y
                        op




       21.     Any actions by a manager would be a breach of fiduciary unless there is a back
                    C




room deal.
                 ial
              fic




       22.     Now that NBK has re-posted the 2425 Building for foreclosure, Plaintiff will suffer
             of




irreparable harm as a result of the defendants’ actions.
       Un




                                                                                     Page 6 of 29



                                                                                            000023
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                                         IV.
                                  FACTUAL BACKGROUND

        23.    In 2018, Defendant NBK loaned certain funds to Galleria Owner 2425, LLC and

at the same time NBK has continually interfered with the Plaintiff’s ability to lease the 2425

Building to produce revenue and Plaintiff’s ability to sell the 2425 Building to pay NBK off. Every




                                                                              k
                                                                           ler
time NBK has so interfered, it has then blamed the Plaintiff for its inability supposedly to meet




                                                                        tC
                                                                    ric
some of the loan terms. What is now occurring is a simply a continuation of the long term




                                                                 ist
interference, because Defendant National Bank of Kuwait simply wants to own the building




                                                              sD
instead of being paid off.




                                                           es
        24.    For example, in January 2021, Plaintiff Ali Choudhri, who is vilified by NBK in


                                                        rg
                                                     Bu
various pleadings, had the building at 2425 West Loop South, Houston, Texas, the main asset of
                                                  n
the Plaintiff, had serious parties interested in building for a purchase price of $85 million, more
                                               ily
                                            ar


than enough to clear NBK’s debt. A letter dated January 15, 2021 from SIBS International and
                                         M




two purchase contracts which would have paid off not only NBK, but left the Plaintiff with a great
                                      of
                                   e




deal of value. NBK, rather than facilitate this sale, disclosed confidential information and
                                ffic




sales issued a formal notice of default, while the SIBS International deal was in progress, killing
                           y  O




that deal.
                        op




        25.    The same was true with regard to NBK’s interference with efforts to lease
                    C
                 ial




space in the building to provide revenue so it could operate and make loan payments. By
              fic




August 2021, this situation had become untenable due to NBK’s refusal to approve new tenants
              of
        Un




and new leases, prompting the Plaintiff on August 13, 2021 to send NBK a detailed letter regarding

lease-up and renewal prospects for discussions, none of which, it seemed NBK would approve.




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            Healthcare Service Organization

                      Size: 130,000+ RSF – large client requirement in their preliminary planning stages:
                       Industry: Healthcare Service Organization Type of use: Administration Offices
                       Direct/Sublease Commencement date: Q3/2023 Term:5-10 yrs. They are
                       specifically VERY interested in amenities available, for example: deli, gym, day care,
                       conference center (# of seats), training center (# of seats).




                                                                                      k
            Invesco




                                                                                   ler
                      We met with the team twice and are actively pursuing them for 2425. They are




                                                                                tC
                       interested in a 157-month lease term for 208,830 SF of Net Rental Area.




                                                                            ric
            Financial Services Firm




                                                                         ist
                      Office AREA: West Houston (610 West, Hwy 290, Beltway 8) SPACE: Open




                                                                      sD
                       Concept SIZE: Approximately 20,000 – 25,000 rsf PARKING: 5/1000 ratio
                       OCCUPANCY: Late 2Q22/Early3Q22 TERM: 36-60 months with renewal options




                                                                  es
                       This tenant is currently at 24 Greenway on their top floor and have been looking at




                                                               rg
                       other A buildings.

            Beyond Finance                                Bu
                                                        n
                      We are discussing a 68-month lease term for +/- 40,000 rentable SF.
                                                     ily
                                                  ar


            Banco Affirme
                                              M




                      We submitted a 64-month lease term for 4,545 SF of Net Rental Area.
                                            of




            Walls Bank (existing tenant)
                                         e
                                    ffic




                      Renew 3,054 SF of rental space for 60-month term starting January 1, 2022.
                                 O




            Others (working directly with ownership)
                              y
                           op




                      ResMed (https://www.resmed.com/en-us/), interested in the entire building, working
                       directly with Dr. Peter Farrell, Founder and Chairman
                        C




                      Healthstore Holdings (https://www.healthstore.com/), interested in a 15-year term with
                  ial




                       80,000 SF in phase 1 and 75,000 SF in 12 months as phase 2.
               fic




                      Immunicom (https://immunicom.com/), interested in at least two full floors, moving
             of




                       HQ from San Diego, CA
       Un




       26.      Below is an August 16, 2021 email from counsel for the Plaintiff to NBK

forwarding multiple leases for approval that NBK had failed to approve or even respond to.



                                                                                               Page 8 of 29



                                                                                                      000025
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This lack of approval, or finding obstacles to approve, was not new. In September 2019, Related
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Group had reached out to lease the parking garage located at the 2425 Building to be used for
             fic




overflow, for parking up to 110 spaces. NBK’s authorized representative Michael Carter
           of
       Un




would not approve this lease (note “nbkny” email address below– i.e. National Bank of Kuwait,

New York Branch), which would have generated a great deal of revenue for the Plaintiff.




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                                                                                          000026
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                                                                             ler
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                                                                   ist
                                                                sD
       27.     The situation became so untenable that in September 2021, Galleria 2425 Owner,




                                                            es
                                                         rg
LLC initiated a lawsuit against NBK.

       28.
                                                      Bu
               In good faith, even during the pendency of this litigation, the Galleria 2425 Owner,
                                                   n
                                                ily

LLC was still trying to get tenants into the building and get NBK’s approval to do so, so it would
                                             ar



not claim additional breaches of loan agreements. On July 2, 2022, Galleria 2425 Owner, LLC
                                          M
                                       of




sent NBK five leases for approval, which NBK did not approve.
                                    e
                                ffic




       29.     Defendant Bank of Kuwait and Galleria Owner 2425 LLC litigated for eleven (11)
                             O




months until August 22, 2022, when they entered into a Confidential Settlement Agreement. The
                           y
                        op




entire Confidential Settlement Agreement will be submitted to the Court in camera at the
                    C




appropriate time, and the Plaintiff – Naissance Galleria should be allowed to use it in this case
                 ial




since the breach of that Settlement Agreement by NBK is not only actionable, but was also
              fic
             of




devastating to Plaintiff. Because NBK has a way of interpreting any action of the Plaintiff as one
       Un




to breach or avoid some purported contractual obligation or other, when the reverse is entirely true,

the Confidential Settlement Agreement has not been attached. NBK has prevented Galleria



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2425 Owner, LLC’s successful performance under any and all agreements it has with NBK,

including the Confidential Settlement Agreement.

       30.     The Confidential Settlement Agreement permitted a timeframe in which Galleria

2425 Owner, LLC could sell the 2425 Building, and Galleria 2425 Owner, LLC was successful




                                                                               k
                                                                            ler
in receiving a hard Letter of Intent dated January 17, 2023 to purchase the building from Caldwell




                                                                         tC
Soames. Again, while these negotiations were ongoing, NBK took actions which interfered with




                                                                     ric
the continuation and closing of that transaction, including issuing a notice of foreclosure on




                                                                  ist
                                                               sD
March 29, 2023 in breach of the Confidential Settlement Agreement, which Galleria 2425




                                                            es
Owner, LLC believes was done intentionally to prevent the sale. The sale would have cleared



                                                         rg
the Bank of Kuwait debt as it stood at that time and left great value for Galleria 2425 Owner,
                                                     Bu
LLC and Plaintiff. Plaintiff believes that Bank of Kuwait recognized that greater value and
                                                   n
                                                ily

wanted to take it for itself by foreclosure in a “loan to own” gambit.
                                             ar
                                         M




       31.     There are tremendous factual inaccuracies that NBK represents to state and federal
                                       of




courts and they continue into these proceedings. For example, in its Motion to Dismiss the
                                    e
                                ffic




Plaintiff’s Bankruptcy, while it is absolutely true that temporary restraining orders were filed to
                             O




attempt to prevent a foreclosure by NBK and its takeover of the 2425 Building, they were also
                           y
                        op




granted by this Court. The facts presented that NBK had not allowed the Galleria 2425
                    C




Owner, LLC to lease up the building to generate revenue, and had killed two transactions
                 ial
              fic




that Galleria 2425 Owner, LLC was working on that would have cleared NBK and left value
             of




for the Galleria 2425 Owner, LLC.
       Un




       32.     Additionally, NBK posted for foreclosure in 2023 early, and against an extended

grace period that this Court had given Galleria 2425 Owner, LLC, which silenced the bidding

process and interest in the 2425 Building completely. No one wants to buy a building posted for
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foreclosure. Plaintiff believes that NBK knew this and did it on purpose to prevent the

Galleria 2425 Owner, LLC from successfully selling the property and paying off the loan, so

NBK could foreclose and become the owner of the 2425 Building.

       33.     The absolute opposite is true. Representatives of Defendant NBK have admitted in




                                                                              k
                                                                           ler
writing that the following substantial payments have been made to Defendant NBK well after




                                                                        tC
March 6, 2021:




                                                                    ric
               a)     $801,509.42 paid by Galleria 2425 Owner, LLC to Defendant NBK on




                                                                 ist
                      August 27, 2022;




                                                              sD
               b)     $80,000 paid by Galleria 2425 Owner, LLC to Defendant NBK on April 18,




                                                           es
                      2023;




                                                        rg
               c)     $80,000 paid by Galleria 2425 Owner, LLC to Defendant NBK on May 10,
                      2023.                         Bu
                                                   n
This is almost One Million Dollars ($1,000,000) that not only does NBK not give credit to Galleria
                                                  ily
                                            ar


2425 Owner, LLC for having made the payments, but again, it vilifies it, saying exactly the
                                         M




opposite that no payments (zero) have been made since March 6, 2021.
                                      of
                                    e




       34.     After NBK’s disclosures of the situation created by the Confidential Settlement and
                                ffic




the wrongful posting for foreclosure during an extension of that agreement, potential buyers of the
                            O




property who would otherwise become good prospects to negotiate a sale with Galleria 2425
                          y
                       op




Owner, LLC , became potential purchasers of the NBK Note and began negotiating with NBK.
                    C
                 ial




NBK interfered with these potential purchases and with these business relationships. At least the
              fic




following were interfered with in this fashion:
             of
       Un




               a)     Globix Investment,

               b)     Ironwood Commercial Realty,

               c)     Shah Firm, LLC, and


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               d)      Jeb Brown Law.


B.     Azeemeh Zaheer Decides She Wants the Building.

       35.     On June 26, 2023, Defendant Zaheer filed a lawsuit in the name of Naissance

Galleria, LLC (“Naissance”), which she purported to control, in the 157th Judicial District Court




                                                                                k
                                                                             ler
in Harris County, Texas referenced by case number 2023-39006 against Brad Parker (“Parker”)




                                                                          tC
as an initial step in Zaheer pursuit of a hostile takeover of the 2425 Building.




                                                                      ric
                                                                   ist
       36.     On July 5, 2023, Defendant Zaheer and also in the name of Naissance, filed a




                                                                sD
second lawsuit in the 129th Judicial District Court in Harris County, Texas referenced by case




                                                             es
number 2023-41091 against Parker and NBK at the request of Zaheer, to further the defendants’



                                                          rg
                                                      Bu
hostile takeover attempt of the 2425 Building. Zaheer sought injunctive relief, but that request for
                                                   n
an emergency temporary restraining order was denied.
                                                ily
                                             ar


       37.     On or about July 5, 2023, Galleria 2425 Owner, LLC commenced a Chapter 11
                                          M




bankruptcy proceeding in the Southern District of Texas, referenced by case number 23-60036.
                                       of
                                    e




NBK sought to dismiss the bankruptcy proceeding, but its motion to dismiss was denied on
                                ffic




September 26, 2023.       The Chapter 11 Plan should have been approved and would have
                           y O




substantially reduced the value of Bank of Kuwait’s secured debt, which Bank of Kuwait decided
                        op




it would not allow, just as it had decided not to allow the prior sales of the building that had been
                     C
                 ial




lined up by Galleria 2425 Owner, LLC.
              fic




C.     Azeemeh Zaheer is a False Representative of Naissance.
             of
       Un




       38.     Azeemeh Zaheer at one time had a business relationship with Ali Choudhri, both

of which appeared to have ended mutually for a time. Azeemeh Zaheer filed an Application for

Temporary Injunction in the 80th Judicial District Court for Harris County against Naissance


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Galleria, LLC, which was a mezzanine lender to an LLC (“LLC”) two steps up in the building’s

ownership chain.

       39.     Azeemeh Zaheer had signed, as the authorized representative of the Managing

Member of Naissance Galleria, LLC an Assignment of the management rights of that LLC to Ali




                                                                              k
                                                                           ler
Choudhri. In response, Mr. Choudhri stepped into Naissance’s shoes, covered its expenses, and




                                                                        tC
did a miraculous job of negotiating the aforementioned settlement with Bank of Kuwait after the




                                                                    ric
Assignment. Azeemeh Zaheer made this assignment for a number of reasons, but most of them




                                                                 ist
                                                              sD
stemmed from her ineffective management of the building and her fear of exposure to Bank of




                                                           es
Kuwait and certain individuals affiliated with the Bank of Kuwait because of her poor



                                                          rg
performance.
                                                    Bu
       40.     After Mr. Choudhri received the Assignment and had negotiated the successful
                                                  n
                                               ily

settlement with Bank of Kuwait and the building looked as if it might succeed (a period of years),
                                            ar
                                         M




Azeemeh Zaheer decided she wanted to misappropriate the value that Mr. Choudhri had just
                                      of




preserved and to an extent had just created. First, she claimed the Assignment was invalid and
                                   e
                               ffic




sought and received a Temporary Injunction on September 21, 2023 from the 80th Judicial District
                            O




Court in Harris County. This Temporary Injunction basically only created a stalemate with respect
                          y
                       op




to the management of Naissance Galleria, LLC to preserve the status quo until a trial in January.
                    C




Mr. Choudhri is still the manager of Naissance Galleria, LLC, not Azeemeh Zaheer, although she
                  ial
               fic




did have some approval rights under the injunction. Mr. Choudhri, as the manager of Naissance
             of




Galleria LLC, is only required to obtain approval from Zaheer for his actions. Zaheer DOES NOT
       Un




have any control of the entity. Moreover, this was confirmed at a hearing on November 13, 2023

before Judge Manor in the 80th Judicial District Court.



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D.     Azeemeh Decides to Conspire with Bank of Kuwait So It Could Foreclose On the
       Building.

       41.     After the September 21, 2023 entry of the Temporary Injunction, some ironic, if

not strange, events start taking place with respect to Ms. Zaheer and the Galleria 2425 Owner,

LLC. First, it is against Azeemeh Zaheer and Naissance’s financial interests if the Bank of Kuwait




                                                                              k
                                                                           ler
forecloses.




                                                                        tC
                                                                    ric
       42.     Second, on information and belief, Zaheer caused a copy of the Temporary




                                                                 ist
Injunction Entered on September 21, 2023 by the 80th Judicial District Court in Harris County to




                                                              sD
be sent to counsel for the Bank of Kuwait, who in turn immediately wrote a letter to Judge Lopez,




                                                           es
the Bankruptcy Judge in charge of Galleria 2425 Owner, LLC’s Bankruptcy, and the Judge who


                                                        rg
                                                    Bu
has approval authority over Galleria 2425 Owner, LLC’s Plan. (Not exactly helpful in getting a
                                                 n
Plan of Reorganization approved.)
                                              ily
                                            ar


       43.     Third, Zaheer’s attorneys (Mr. Tang and Mr. Drinnon) show up without any
                                        M




forewarning at the October 12, 2023 status conference in the Bankruptcy Court about the plan,
                                      of
                                    e




claiming Azeemeh Zaheer now is the manager of Naissance Galleria, LLC and they have been
                               ffic




hired by her to represent Naissance Galleria, LLC, all by virtue of the Temporary Injunction.
                          y O




       44.     They again made pleas to the court regarding Zaheer’s desire to take over the 2425
                       op




Building, stating the Temporary Injunction gave them sole authority to represent Naissance, and
                    C
                 ial




Naissance did not want to sue the Bank of Kuwait for breach of the Settlement Agreement as it
              fic




had already done under Mr. Choudhri’s rightful management.
              of
       Un




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E.         Zaheer Changes Sides to Make a Deal with the Bank of Kuwait and Extort Money
           from Mr. Choudhri.

           45.     Progressively, Azeemeh Zaheer’s behavior becomes more inexplicable as she

instructs her attorneys to: (1) take the position that the Temporary Injunction put her in charge of

Naissance (it did not);1 (2) that Naissance Galleria, LLC could or had already become the owner




                                                                                          k
                                                                                       ler
of Galleria 2425 Owner, LLC) and as the new owner, they might want to take the bankruptcy in




                                                                                    tC
                                                                                ric
another direction.




                                                                             ist
           46.     The only explanation for Zaheer’s extraordinary behavior, which appears self-




                                                                          sD
destructive, is Zaheer sees the opportunity to make a deal with the Bank of Kuwait or extort




                                                                      es
Mr. Choudhri, who will lose millions of dollars of equity in the building if a foreclosure takes


                                                                   rg
place.                                                         Bu
                                                            n
           47.     This created an environment of confusion for the Bankruptcy Court, which was by
                                                        ily
                                                     ar


Defendants’ design, and it was a concerted effort by the Defendants to have the bankruptcy case
                                                 M




dismissed, allowing the Bank of Kuwait to foreclose. Defendant NBK would not be impeded by
                                              of
                                           e




the bankruptcy and Zaheer could tell Mr. Choudhri, “I will not go along with your reorganization
                                       ffic




plan unless you pay me millions of dollars” while making a deal with the Bank of Kuwait to block
                                y  O




the Plan of Reorganization in the event no payment was received from Mr. Choudhri.
                             op




           48.     The Defendants are working in concert, to achieve the same end. Specifically, the
                          C
                     ial




Defendants have devised, and intended to devise, a scheme or artifice to seize the 2425 Building
                  fic
                 of
           Un




1
    At a hearing had in the issuing court (the 80th Judicial District Court) on Monday, November 13, 2023, the Court

confirmed her Temporary Injunction Order had not turned control of Naissance over to Zaheer and Zaheer had no

authority to authorize attorneys to make the filing and take the action they had on behalf of Naissance Galleria, LLC

in the Bankruptcy.

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by any means necessary. Defendants will stop at nothing to see the Plaintiff lose any interest it

has in the 2425 Building

       49.     Defendants’ scheme has involved false representations of material information,

including but not limited to misrepresentations concerning the Plaintiff and the purpose and effects




                                                                               k
                                                                            ler
of the Temporary Injunction.




                                                                         tC
F.     False Representations by Zaheer’s Agents are Successful in Getting Galleria 2425




                                                                     ric
       Owner LLC’s Bankruptcy Dismissed.




                                                                  ist
       50.     The Bankruptcy Court scheduled a Status Conference for Galleria 2425 Owner,




                                                               sD
LLC’s Bankruptcy Case for November 1, 2023. Azeemeh’s agents, on October 31, 2023, only




                                                            es
hours before the Status Conference, filed an Emergency Motion. This Motion contained many


                                                         rg
misrepresentations, some of which follow:            Bu
                                                  n
               a)      Even though Zaheer had no right to or standing necessary to file anything
                                               ily

                       on behalf of Naissance, and the Temporary Injunction gave Zaheer no such
                                             ar


                       rights, statements were made in their Emergency Motion directly to the
                                         M




                       contrary, stating Azeemeh Zaheer was in, Choudhri was out.
                                      of




               b)      The filing stated flatly at one point that the Assignment had been found to
                                    e




                       be forged – it had not.
                                ffic




               c)      The filing stated that, because of the Temporary Injunction, Naissance was
                            O




                       now controlled exclusively by Zaheer, who could make Naissance become
                       the Owner of the Bankrupt. (The issuing court on Monday, November 13,
                          y
                       op




                       2023, ruled from the bench it said no such thing.)
                    C




These misrepresentations had the desired effect, and the Bankruptcy Court dismissed the
                 ial




Bankruptcy, green-lighting the Bank of Kuwait to foreclose.
              fic
             of




G.     Abdullatif is Choudhri’s Competitor and Wants to Ruin Him.
       Un




       51.     Choudhri has been in the real estate investment and management business for the

last 20 years. The regular course of Choudhri’s business involves numerous aspects of real estate

development. These activities include real estate and business acquisitions and dispositions,

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seeking and obtaining financing, and developing and managing commercial and residential

properties. He regularly raises capital for these activities through the issuance of equity and/or

debt. It is also within his normal course of business to enter into transactions with borrowers,

lenders, and investors to support the purchase, development, and operations of real estate




                                                                              k
                                                                           ler
properties.




                                                                        tC
       52.     Choudhri at times conducts his real estate investment and management business




                                                                    ric
through the use of special purpose entities, such as Plaintiff Galleria Owner 2425, LLC. Choudhri




                                                                 ist
                                                              sD
runs a management company, Jetall Companies, Inc. (“Jetall”), to provide employees and




                                                           es
management services to entities for purposes of operating real estate investments.



                                                        rg
       53.     Abdullatif has provided financing for numerous third-party claims against
                                                    Bu
Choudhri, including interfering with Choudhri’s final divorce proceedings in both Pakistan
                                                  n
                                               ily

Supreme Court and Harris County District Court by soliciting Choudhri’s ex-wife for her legal
                                            ar
                                         M




claims against Choudhri and/or his entities and to gain access to Choudhri’s protected financial
                                      of




disclosures.
                                   e
                               ffic




       54.     Upon information and belief, Abdullatif is also financing the litigation expenses of
                            O




Zaheer against Choudhri in the dispute over the building owned by Plaintiff. Zaheer has agreed to
                          y
                       op




the enterprise course of action aimed at destroying Choudhri’s business, and either taking
                    C




possession of the 2425 Building or extorting money from him to agree to a plan of reorganization.
                  ial
               fic




       55.     On more than one occasion, Abdullatif resorted to violence and threats against
              of




Choudhri and/or his family, friends, and associates. Mr. Choudhri had another real estate venture
       Un




involving an entity called Dalio. Abdullatif was present at Dalio’s foreclosure proceeding, where

a friend accompanying him assaulted one of Choudhri’s lawyers. On another occasion, Abdullatif

and his associates used firearms to hold Choudhri and his associates hostage.
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         56.   Abdullatif also formed an association with others in his illegal efforts to destroy

Choudhri’s business. These individuals include but are not limited to Chris Wyatt, former Chief

Operating Officer of Jetall (“Wyatt”).

         57.   Wyatt was hired by Jetall in 2019. In the course of his employment, Wyatt oversaw




                                                                                k
                                                                             ler
legal and litigation matters for Jetall. He was provided confidential information concerning Jetall’s




                                                                          tC
and its client’s real estate transactions, finances and debt leverage on properties, and litigation




                                                                      ric
management strategies. As a Jetall representative, Wyatt was regularly involved in and provided




                                                                   ist
                                                                sD
access to privileged information and communications, including information subject to attorney-




                                                            es
client and work product privileges. Wyatt signed a non-disclosure agreement at the beginning of



                                                         rg
his employment prohibiting him from disclosing confidential information and requiring him to
                                                      Bu
return all files upon his termination.
                                                   n
                                                ily

         58.   Wyatt’s employment at Jetall ended in December 2020. When he left Jetall, Wyatt
                                             ar
                                          M




stole corporate files including electronic communications and secretly recorded privileged phone
                                         of




communications between Choudhri and his attorneys.
                                     e
                                 ffic




         59.   Jetall obtained a restraining order in January 2021 enjoining Wyatt from disclosing
                             O




or divulging confidential information obtained through his course of employment with Jetall.
                           y
                        op




         60.   Abdullatif met with Wyatt immediately following Wyatt’s departure from Jetall.
                     C




Abdullatif, directly and through his lawyers, received confidential and privileged information from
                  ial
               fic




Wyatt.     This information included but is not limited to illegal recordings of Choudhri’s
               of




conversations with attorneys.
         Un




         61.   Upon information and belief, Abdullatif and his agents were aware that Wyatt was

a former employee of Jetall who was involved in confidential and privileged communications and

that a restraining order was entered enjoining Wyatt from disclosing confidential information.
                                                                                      Page 19 of 29



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       62.     Abdullatif and his agents have used the illegally obtained information and

recordings as part of Abdullatif’s scheme to destroy Choudhri’s business. Abdullatif retained

Wayne Dolcefino (“Dolcefino”) as a “consultant” to publish on the internet a series of hit pieces

on Choudhri. Dolcefino advertises that his services included “litigation support,” and Abdullatif




                                                                               k
                                                                            ler
has utilized Dolcefino in the course of his numerous lawsuits asserted against Choudhri and his




                                                                         tC
businesses.




                                                                     ric
       63.     Information illegally obtained from Wyatt is included in many of Dolcefino’s hit




                                                                  ist
                                                               sD
pieces. Dolcefino continues to publish these hit pieces on the internet, including videos posted in




                                                           es
May 2023.



                                                        rg
       64.     Abdullatif, with the assistance of Drinnon, now representing Azeemeh Zaheer, has
                                                     Bu
made several false claims against his competitor, Choudhri, in many ways, two of the most
                                                  n
                                               ily

egregious being:
                                            ar
                                         M




               a)     Hiring Dolcefino to create video “hit pieces” about Choudhri, his business,
                      his marital status, and inappropriate character based upon his actions during
                                      of




                      that marital status. This video contained “over the top” falsehoods, e.g. that
                                   e




                      he was still married and had been for years. It was commercial speech
                               ffic




                      designed to designate a competitor (Choudhri) and give Abdullatif a
                      competitive advantage, and was introduced into interstate commerce by
                            O




                      release to major television (broadcast and cable) networks and by placing
                          y




                      on the internet where it still resides today, making it available to the
                       op




                      potential customers and lenders that are competed for; and
                    C




               b)     Placing multiple improper Lis Pendens on the record title to properties
                 ial




                      owned by Choudhri or his business entities, which created a double negative
              fic




                      effect on Choudhri’s ability to conduct business by hampering his ability to
                      find new lenders or renewing existing loans because the security for them
              of




                      was impaired and making it impossible to sell those properties to raise new
       Un




                      capital on his own. These Lis Pendens were “over the top”
                      misrepresentations because they were illegal and did not assert valid
                      interests in the subject properties. The Lis Pendens were also introduced
                      into interstate commerce because they were filed of record and were
                      available “online” over the internet to any potential customer for
                      commercial real estate in the Houston area.
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                                           V.
                                     CAUSES OF ACTION

      COUNT 1: BREACHES OF CONFIDENTIAL SETTLEMENT AGREEMENT

       65.      Plaintiff repeats and realleges the allegations set forth in all preceding and




                                                                               k
                                                                            ler
subsequent paragraphs of this Complaint, as if fully set forth herein.




                                                                         tC
       66.      Plaintiff and Defendant reached a valid and enforceable agreement expressly set




                                                                     ric
                                                                  ist
forth in the Confidential Settlement Agreement.         Pursuant to the Confidential Settlement




                                                               sD
Agreement, Defendant agreed to keep the contents and terms of the parties’ agreement completely




                                                            es
confidential.



                                                         rg
       67.                                           Bu
                Defendant breached the Confidential Settlement Agreement by disclosing its
                                                   n
contents and terms to third parties in violation of the agreement’s express confidentiality
                                                ily
                                             ar


provisions. These disclosures prevented the sale of the 2425 Building and chilled the market for
                                         M




other buyers.. The same is true for NBK’s wrongful, early filing of a notice of foreclosure on the
                                       of
                                    e




2425 Building, also in violation of the Confidential Settlement Agreement.
                                ffic




       68.      Plaintiff hereby sues NBK for these breaches of the Confidential Settlement
                          y  O




Agreement. The damages for these breaches are the amounts of money that the Plaintiff would
                       op




have made from the contemplated transaction
                    C
                   ial




                COUNT 2: TORTIOUS INTERFERENCE WITH CONTRACT
                fic




       69.      Plaintiff repeats and realleges the allegations set forth in all preceding and
             of
       Un




subsequent paragraphs of this Complaint, as if fully set forth herein.




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       70.     As alleged, NBK tortiously interfered with the SIBS International contract and the

Caldwell Soames Inc. contract, causing damages to the Plaintiff, but for NBK’s interference,

would have been paid to the Plaintiff.

       71.     Zaheer, tortiously interfered with Plaintiff’s contract with NBK, and with Plaintiff’s




                                                                               k
                                                                            ler
bankruptcy proceeding.




                                                                         tC
       COUNT 3: TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS




                                                                     ric
       72.     Plaintiff repeats and realleges the allegations set forth in all preceding and




                                                                  ist
                                                               sD
subsequent paragraphs of this Complaint, as if fully set forth herein.




                                                            es
       73.     After NBK’s disclosures of the situation created by the confidential settlement and




                                                         rg
the wrongful posting for foreclosure during a judicial extension of the grace period contained in
                                                     Bu
that agreement, potential buyers of the property who would otherwise have become good prospects
                                                   n
                                                ily

to negotiate a sale with Galleria 2425 Owner, LLC became instead potential purchasers from NBK
                                             ar
                                         M




of the NBK note and began contacting and negotiating or attempting to negotiate with NBK instead
                                         of




of Galleria 2425 Owner, LLC NBK interfered with these potential purchasers and with these
                                    e
                                ffic




potential business relationships. At least the following were interfered with in this fashion:
                             O




               a)      Globix Investment,
                          y




               b)      Ironwood Commercial Realty,
                       op




               c)      Shah Firm, LLC, and
               d)      Jeb Brown Law.
                    C
                 ial




       74.     Zaheer, has interfered with the Plaintiff’s relationship with NBK
              fic




       75.     This interference by the Zaheer damaged Plaintiff in amounts to be determined after
             of
       Un




discovery




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                 COUNT 4: FRAUD AND FRAUDULENT INDUCEMENT

       76.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       77.     NBK never had any intention of living up to the Confidential Settlement




                                                                               k
                                                                            ler
Agreement. The Galleria 2425 Owner, LLC was winning the lawsuit against NBK, so NBK




                                                                         tC
induced the Plaintiff into entering into the Confidential Settlement Agreement which NBK had no




                                                                     ric
intention of living up to. This fraud works as an estoppel against NBK Plaintiff hereby sues NBK




                                                                  ist
                                                               sD
for fraud and fraudulent inducement




                                                             es
       78.     NBK knew at the time it entered into the Confidential Settlement Agreement it




                                                         rg
would deflect and tortiously interfere with the Galleria 2425 Owner, LLC’s attempts to sell the
                                                     Bu
2425 Building so NBK would be able to foreclose on the building and take all of the value instead
                                                   n
                                                ily

of just the value of the amounts otherwise owed at the time. The fraud, fraud in the inducement,
                                             ar
                                         M




and subsequent interference for all of which Plaintiff hereby sues NBK.
                                       of




                         COUNT 5: BUSINESS DISPARAGEMENT
                                    e
                                ffic




       79.     Plaintiff repeats and realleges the allegations set forth in all preceding and
                             O




subsequent paragraphs of this Complaint, as if fully set forth herein.
                          y
                       op




       80.     The posting of the 2425 Building during any negotiation periods and/or the
                    C




extended grace period when actual buyers were moving toward concluding a deal and when other
                 ial
              fic




potential buyers were expressing interest in the 2425 Building, constituted business disparagement
             of




against the Plaintiff for which Plaintiff hereby sues NBK.
       Un




       81.     The efforts of Zaheerto make false accusations and representations about the

Plaintiff’s ownership interests, management, and decision making abilities constituted business

disparagement against the Plaintiff for which the Plaintiff hereby sues Zaheer,

                                                                                      Page 23 of 29



                                                                                             000040
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       82.     The business disparagement by the Defendants damaged Plaintiff in amounts to be

determined after discovery.

                               COUNT 6: UNJUST ENRICHMENT

       83.     Plaintiff repeats and realleges the allegations set forth in all preceding and




                                                                               k
                                                                            ler
subsequent paragraphs of this Complaint, as if fully set forth herein.




                                                                         tC
       84.     If NBK is allowed to foreclose on the 2425 Building it will make an unconscionable




                                                                     ric
profit and succeed in its “loan to own” gambit. The amount of its unjust enrichment for which




                                                                  ist
                                                               sD
Plaintiff hereby sues NBK is the difference between what NBK would have been owed (but for its




                                                            es
breaches of the Confidential Settlement Agreement) under the Confidential Settlement Agreement




                                                         rg
and the true value of the building, for which Plaintiff hereby sue NBK.
                                                     Bu
                                   COUNT 7: CONSPIRACY
                                                   n
                                                ily

       85.     Defendants Zaheer,in combination with NBK, agreed to work in concert with each
                                             ar
                                         M




other in order to interfere with Plaintiff’s bankruptcy case, and to have it dismissed by making
                                       of




fraudulently claiming they had control over Naissance Galleria, LLC.
                                    e
                                 ffic




       86.     Defendants Zaheer, and NBK acted with the intent to harm plaintiff.
                               O




       87.     To accomplish the object of their agreement Zaheer, and NBK intentionally or
                           y
                        op




negligently mischaracterized the effect of the state court temporary injunction, in order to confuse
                    C




and disrupt Plaintiff’s bankruptcy case, which resulted in dismissal.
                 ial
              fic




       88.     The agreement to engage in this conduct proximately caused injury to plaintiff.
             of




Plaintiff’s interests in Galleria 2425 Owner, LLC’s sole asset, instead of being protected through
       Un




a bankruptcy action, has now been posted for foreclosure on December 5th, 2023, which will

irreparably harm Plaintiff.



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                                                                                              000041
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                                 COUNT 8: ATTORNEYS’ FEES

        89.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

        90.     Plaintiff hereby sue Defendants for its reasonable and necessary attorneys’ fees




                                                                               k
                                                                            ler
under breach of contract and under any statutory or common law right to recover same.




                                                                         tC
                                  VI.




                                                                     ric
              APPLICATION FOR TEMPORARY INJUNCTION OR ORDER




                                                                  ist
        91.     The Defendants have conspired with each other and others, or worked in parallel




                                                               sD
courses to get the bankruptcy of Plaintiff 2425 Galleria Owner, LLC dismissed so that Bank of




                                                            es
Kuwait is not prohibited by the automatic stay from foreclosing. If a foreclosure takes place, the



                                                         rg
                                                      Bu
equity of Plaintiff will be wiped out and Plaintiff will have no assets and no adequate remedy at
                                                      n
law to return the retrieve the assets or its value.
                                                  ily
                                               ar


        92.     Temporary injunctive relief is necessary until such time as the merits of this case
                                           M




can be decided and the status quo is maintained pending resolution on the merits.
                                         of
                                      e




               APPLICATION FOR TEMPORARY RESTRAINING ORDER
                                  ffic




        93.     Plaintiff’s application for a temporary restraining order is authorized by Tex. Civ.
                            y O




Prac. & Rem. Code §65.011(1) which allows applicants to the relief sought to restrain the
                         op




Defendants from prejudicial acts; by Tex. Civ. Prac. & Rem. Code §65.011(3) which allows
                     C
                  ial




applicants to the relief sought under the principles of equity and laws of Texas related to
               fic




injunctions; by Tex. Civ. Prac. & Rem. Code § 65.011(5) which allows applicants to the relief
              of
        Un




sought when irreparable injury to business, good will, reputation and personal property is

threatened; and by Tex. Bus. Orgs. Code § 152.211(b), allowing partners in a partnership to obtain

an injunction to enforce rights under the Texas Business Organizations Code.


                                                                                     Page 25 of 29



                                                                                              000042
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       94.     As set forth above, an emergency hearing on Plaintiff’s Application for Temporary

Restraining Order is necessary to conserve the Plaintiff’s business status and maintain the status

quo during the pendency of this lawsuit. Plaintiff would suffer material injury by the delay

necessary to give notice. Any delay necessary for notice would lead to imminent and irreparable




                                                                                k
                                                                             ler
injury to property.




                                                                          tC
       95.     It is probable that Plaintiff will recover from Defendants after a trial on the merits




                                                                      ric
because the facts set forth are verified and sets forth the Defendants wrongful conduct; and actions




                                                                   ist
                                                                sD
including seeking the sale of the business by the Defendants are wrongful and must be stopped.




                                                            es
       96.     If Plaintiff’s application is not granted, harm is imminent because 1) Galleria 2425



                                                         rg
Owner, LLC’s sole asset will be foreclosed as a result of Defendants harmful actions on December
                                                      Bu
5th, 2023; 2) Defendants will continue to conspire with each other in a manner that is counter to
                                                   n
                                                ily

the true interests of Naissance Galleria, LLC; and 3) Defendants will continue to violate the
                                             ar
                                          M




Temporary Injunction, as they have already done on at least three occasions, in order to interfere
                                       of




with Plaintiff’s lawful attempts to preserve the 2425 Building. These harms are imminent and
                                    e
                                ffic




would cause irreparable injury with no other adequate legal remedy.
                             O




       97.     The harm that will result if the temporary restraining order is not issued is
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                        op




irreparable because Plaintiff has an interest in a unique piece of real estate which it will be wiped
                      C




out in the event of foreclosure. Texas Courts repeatedly rule that “every piece of real estate is
                 ial
              fic




innately [**8] unique. See, e.g., Greater Houston Bank v. Conte, 641 S.W.2d 407, 410 (Tex.
             of




App.--Houston [14th [*58] Dist.] 1982, no writ) ("It is well established law that each and every
       Un




piece of real estate is unique. Therefore, if appellants were allowed to foreclose appellees would

be irreparably harmed, since real estate is so unique."); El Paso Dev. Co. v. Berryman, 729

S.W.2d 883, 888 (Tex. App.--Corpus Christi 1987, no writ) ("Every piece of real estate is unique,
                                                                                      Page 26 of 29



                                                                                               000043
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and if foreclosure were allowed before a full determination of the usury claim, appellee would be

irreparably harmed."). Kotz v. Imperial Capital Bank, 319 S.W.3d 54, 57-58 (Tex. App.—San

Antonio 2010, no pet.).

                                   VII.JURY DEMAND




                                                                               k
                                                                            ler
       98.    Plaintiff demands a jury trial and tenders the appropriate fee with this petition.




                                                                         tC
                                      VIII. PRAYER




                                                                     ric
       99.    For the reasons set forth above, Plaintiff asks that the Court enter a Temporary




                                                                  ist
                                                               sD
Restraining Order, and after a hearing, a Temporary Injunction, enjoining the Defendants in the




                                                           es
following manners:




                                                         rg
              a)      NBK is restrained from 1) Foreclosing on, posting, reposting, or otherwise
                                                     Bu
                      selling at auction the 2425 Building; and 2) transferring any Note and/or
                                                  n
                                               ily

                      lien it holds or may hold relating to the 2425 Building; or 3) or interfering
                                            ar
                                         M




                      with the Plaintiff’s business in any manner, including by acting in concert
                                      of




                      with another party.
                                   e
                               ffic




              b)      Actual damages including economic injuries & consequential damages;
                          y O
                       op




              c)      Attorney’s fees;
                     C
                ial




              d)      Exemplary damages;
             fic
             of




              e)      Prejudgment and post judgment interest;
       Un




              f)      Court costs; and


              g)      All other relief to which Plaintiff is entitled under both law and equity.

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                                                                                              000044
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       100.    Plaintiff is willing to post bond.



                                               Respectfully submitted,

                                               MATÍAS J. ADROGUÉ PLLC




                                                                               k
                                                                            ler
                                                                         tC
                                                                     ric
                                               By:




                                                                  ist
                                                      Matías J. Adrogué
                                                      Texas State Bar No. 24012192




                                                               sD
                                                      Leila M. El-Hakam
                                                      Texas State Bar No. 24007147




                                                            es
                                                      1629 West Alabama St.



                                                         rg
                                                      Houston, Texas 77006
                                                     Bu
                                                      713-425-7270 Telephone
                                                      713-425-7271 Facsimile
                                                     n
                                                      service@mjalawyer.com
                                                ily

                                                     ATTORNEYS FOR PLAINTIFF
                                             ar
                                          M




                                 CERTIFICATE OF SERVICE
                                       of




        I hereby certify that a true and correct copy of the above and foregoing has been served to
                                    e




all counsel of record by hand delivery, fax transmittal, Certified mail, return receipt requested,
                                ffic




electronic mail, e-service, and/or U.S. Mail, on this the 29th day of November, 2023.
                          y  O
                       op
                    C




                                                             Matías J. Adrogué
                 ial
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                                                                                     Page 28 of 29



                                                                                             000045
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                                          JURAT

       My name is Ali Choudhri, my date of birth is 01/24/1980. My office address is 1001
West Loop South, Suite 700, Houston, Texas 77027. I declare under penalty of perjury that the
facts and events set forth in the foregoing Amended Petition and Emergency Application for
Temporary Restraining Order are within my personal knowledge and are true and correct.




                                                                           k
                                                                        ler
                                                                     tC
       Executed in Harris County, State of Texas, on November 29, 2023.




                                                                 ric
                                                              ist
                                                           sD
                                                        es
                                           _/s/Ali Choudhri_____



                                                     rg
                                              Ali Choudhri
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Matias Adrogue
Bar No. 24012192
mja@mjalawyer.com




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Filing Description: Plaintiff's Second Amended Petition & Application for
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Status as of 11/29/2023 10:18 AM CST




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Case Contacts




                                                             es
Name                       BarNumber   Email                         TimestampSubmitted       Status




                                                        rg
Jerry CAlexander                       alexanderj@passmanjones.com   11/29/2023 10:01:12 AM   SENT

Ruth NVera                                          Bu
                                       verar@passmanjones.com        11/29/2023 10:01:12 AM   SENT
                                                  n
Sheryl Chandler                        chandlers@passmanjones.com    11/29/2023 10:01:12 AM   SENT
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Jennifer LMacGeorge                    jmac@jlm-law.com              11/29/2023 10:01:12 AM   SENT
                                            ar



Jetall Legal                           legal@jetallcompanies.com     11/29/2023 10:01:12 AM   SENT
                                         M




Omar Khwaja                            service@attorneyomar.com      11/29/2023 10:01:12 AM   SENT
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James Pope                             jamesp@thepopelawfirm.com     11/29/2023 10:01:12 AM   SENT
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Omar Khawaja               24072181    Omar@attorneyomar.com         11/29/2023 10:01:12 AM   SENT
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MacGeorge Law Firm Admin               service@jlm-law.com           11/29/2023 10:01:12 AM   SENT
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                             EXHIBIT 2




                                                                          000048
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                                                                                           7/4/2023 12:36 AM
                                                                          Marilyn Burgess - District Clerk Harris County


                                                                                                     By: Gerardo Perez
                                                                                                Envelope No. 77193010

                           2023-41091 // Court:
                           2023-41091           129
                                         Court: 129                                            Filed: 7/5/2023 12:00 AM
                           CAUSE   NO.


NAISSANCE GALLERIA, LLC,                 §      IN THE HARRIS COUNTY                  COURT
     PLAINTIFF                           §
                                         §
VS.                                      §              JUDICIAL DISTRICT COURT
                                         §
NATIONAL BANK OF KUWAIT,                 §
S.A.K.P, New York Branch, et al.         §
      DEFENDANTS.                        §      HARRIS COUNTY, TEXAS


PLAINTIFF’S ORIGINAL AND REQUEST FOR TEMPORARY                                 RESTRAINING
                            ORDER


TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff NAISSANCE    GALLERIA,       LLC   files this its Plaintiffs Original Petition

and Temporary Restraining Order against Defendants NATIONAL BANK                     OF KUWAIT,

S.A.K.P, New York Branch and BRAD PARKER,              a/k/a BRADLEY PARKER                 and would

respectfully show the following:

                                           I.
                                   DISCOVERY LEVEL

        Plaintiff pleads that discovery should be conducted in accordance with a discovery

control plan Level 2 under Rule 190 of the Texas Rules of Civil Procedure.

                                                Il.
                                             PARTIES




                                                                                                000049
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        Plaintiff NAISSANCE GALLERIA, LLC (“Plaintiff’, “NAISSANCE”, or “MEZZ”

herein) is a Corporation doing business in Harris County, Houston, Texas.

        Defendant   BRAD           PARKER,      a/k/a    BRADLEY             PARKER        (“PARKER”              or

“Defendant”    is an individual residing in Harris County,                 Houston,      Texas   and may          be

personally served with process and this petition at 2127 Bolsover St., Houston,                            Texas

77005, or wherever he may be found. Issuance of citation is requested at this time.

        Defendant National         Bank   of Kuwait,     S.A.K.P., New         York Branch        (“NBK”)

is a banking corporation organized under the laws of Kuwait,                         acting through its New

York Branch. Defendant has not designated a registered agent for service of process in

the   State of Texas. As such, pursuant to Texas                  Civil   Practice     and Remedies         Code

§17.041-045, the Texas Secretary of State is Defendant's agent for service of process in

this proceeding,    which    arises out of business Defendant has done in this                      state, and

Defendant may be served through the Texas                  Secretary of State. Issuance of citation is

requested at this time

                                              IIL.
                                   JURISDICTION AND VENUE

            Venue   is mandatory          in Harris     County,      Texas    pursuant     to    Texas     Civil

Practice & Remedies         Code    § 15.020 because the agreement that forms the basis of

this lawsuit constitutes      a "major     transaction,"     is in writing, and the parties thereto

agreed that a suit arising from the agreement will be brought in Harris County, Texas.

Venue is additionally proper in Harris County, Texas pursuant to Texas Civil Practice



                                                                                                         000050
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&   Remedies     Code    § 15.0115        because     the Defendants        transacted    business     in and

around Harris     County,      Texas;   the real    estate which       forms the basis       of the claims

asserted by Plaintiff is located in Harris             County,     Texas;    and the agreement which

forms the basis of this suit was executed and performable in Harris County, Texas.

                                            HII.
                                  FACTS/CAUSES OF ACTION

         Defendant NBK        is the primary lender, loaning $51,675,000.00 to Galleria 2425

Owner,     LLC   (“Galleria     Owner’)     secured     by    a deed    of trust on real property           and

improvements located at 2425 West Loop South, Houston, Texas 77027.

         Plaintiff NAISSANCE        is the secondary          lender, loaning     $16,100,000.00       (“Mezz

Loan’) to Galleria 2425 JV, LLC (“Galleria JV’), secured by a pledge from and a first

priority perfected security interest in all of Galleria JV’s ownership interests in Galleria

Owner, and further evidenced and secured by the documents and instruments set forth on

Exhibit B attached hereto.

         Co-Defendant    Brad     Parker    also    entered     into   a personal    guaranty        agreement

(Exhibit C) in Plaintiff’s favor for the full amount of the Mezz Loan.

         Plaintiff and Defendant NBK then entered into an Intercreditor Agreement (Ex. D)

which spelled out each respective party’s position and obligations as it relates to the

financing and potential default of the subject transaction.

         Galleria Owner has defaulted the loan agreement with Defendant NBK                              and is

seeking to, among other remedies, foreclose the real property and improvements located



                                                                                                       000051
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at 2425 West Loop South, Houston, Texas 77027 on July 5, 2023 at 10:00 am.         (Exhibit

A).

        Under the Intercreditor Agreement, Defendant NBK was required to give notice of

Galleria Owner’s default under the senior note because Plaintiff has certain rights such as

purchasing the note. Defendant agreed to send notice to Plaintiff as follows:

              Section 16. Notices. All notices, demands and requests required to be
              given hereunder shall be in writing and shall be given as follows: (a) by
              hand delivery; (b) by overnight nationwide commercial courier service;
              or (c) by telecopy transmission (other than for notices of default) with a
              confirmation copy to be delivered by duplicate notice in accordance
              with any of clause (a) or (b) above, in each case, to the party intended to
              receive the same at the following address(es):

              To Mezzanine Lender:

                    Naissance Galleria, LLC
                    c/o Walkers Corporate Limited
                    Cayman Corporate Centre, 27 Hospital Road
                    George Town, Grand Cayman K Y1-9008

                    Cayman Islands Galleria 2425     JV LLC

              With a copy to:

                    Polsinelli
                    2950 N Harwood Street, Suite 2100
                    Dallas TX 75201

                    Attention: Brian Bullard, Esq.
                    Tel: 214.397.0030

(Ex. D). Defendant NBK has not served any notice to Plaintiff NAISSANCE on Galleria

Owner’s default and subsequent Notice of Foreclosure for July 5, 2023.




                                                                                   000052
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        More importantly, once the property is foreclosed, Plaintiffs right to purchase the

senior loan is terminated as follows:

        The right of Mezzanine Lender to purchase the Senior Loan shall automatically
        terminate (1) upon a transfer of the Premises by foreclosure sale, sale by power of
        sale or delivery of a deed in lieu of foreclosure or (11) if a Purchase Option Event
        ceases to exist.

(Ex. D).

        Consequently, Plaintiff will lose its mght to purchase the loan and the equitable

interest in real property and improvements located at 2425 West Loop South, Houston,

Texas      77027.      As   a matter       of law, Plaintiff faces irreparable harm           if it loses the

opportunity to acquire an interest in the real property.

        Co-Defendant Brad Parker has defaulted on his personal guaranty agreement with

Plaintiff.   Likewise,          Galleria   JV has defaulted      on the loan      agreement      with    Plaintiff

NAISSANCE.            Plaintiff provided Galleria          JV notice of its default, for which it has failed

to cure and has subsequently failed to pay off the principal amount by the maturity date

of May 23, 2023.

        Thus,       Plaintiff     NAISSANCE         has     exercised   its   remedies   under     the    Pledge

Agreement including but not limited to:




                                                                                                         000053
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(Section 8, Ex. B).

       Essentially, Plaintiff is now the absolute owner of Galleria Owner through Galleria

JV’s 100% membership interest in Galleria Owner.                Plaintiff can now also negotiate and

assert any of its mghts with Defendant NBK                 as the absolute owner of Galleria 2425

Owner, LLC.

       Defendant      Parker’s       Guaranty   to Plaintiff is an irrevocable,   absolute,   continuing

guaranty of payment and performance and not a guaranty of collection.

       Prior to suit, Plaintiff provided Defendant Parker with notice of events of default.

These defaults were not cured and Plaintiff hereby seeks relief under Defendant Parker’s

guarantee.

       All conditions precedent have occurred.


                                                                                                000054
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       Plaintiff and performed under the agreement and would not have made the loan

without Defendant unconditionally guaranteeing the performance and payment to Plaintiff

of the guaranteed obligations.

       Defendants have breached the contract by failing to perform.              Defendant Parker’s

conduct caused injury to Plaintiff, which resulted in actual and consequential damages

within the jurisdictional limits of this Court.

                             ATTORNEY’S FEES AND COST

       As a result of the facts described above, Plaintiff has found it necessary to engage a

licensed attorney in the investigation and prosecution of this action.         Plaintiff is entitled to

recover reasonable and necessary attorney's fees incurred in the prosecution of this action,

and for such relief, Plaintiff seeks a recovery for the amount proven at trial. Plaintiff is also

entitled to recover from Defendant all reasonable and necessary attorney’s fees incurred in

appealing to the court of appeals, if necessary, and incurred in appealing to the Texas

Supreme Court, if necessary.

                               V.
        APPLICATION FOR TEMPORARY RESTRAINING ORDER AND
                      TEMPORARY INJUNCTION

A.     TEMPORARY          RESTRAINING ORDER

       All allegations are incorporated herein.

       The   Plaintiff is entitled     to Temporary      Restraining   Order     to restrain    further

transfer, or any   other disposition     of the property,    or taking possession or exercising

any control over the property as follows:


                                                                                               000055
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                a.         Plaintiff will suffer significant irreparable injury and _ loss. The
                           threatened damage which would be incurred would be significant and
                           substantial as specified in the previous paragraphs and incorporated
                           herein by reference.

                b.         There is a substantial likelihood of success on the merits as
                           specified since Defendant NBK has failed to give notice of the
                           foreclosure as required by the Intercreditor Agreement.

                c.         The threatened harm outweighs the harm               and temporary       restraining
                           order would inflict on the Defendant.


         Plaintiff is willing to post a bond in the amount the court deems appropriate.

For    these   reasons,       Plaintiff asks    the   court. to issue     a temporary restraining order

preventing     Defendant NBK,            its attorneys,       agents,   successors    and/or    assigns     from

foreclosing on the real property located at 2425 West Loop                           South, Houston, Texas

77027.

         Plaintiff's declaration affidavit that proves              the allegations     in this petition and

Application          for     Temporary    and    Injunctive     Relief attached       and    incorporated      by

reference as Plaintiff’s Exhibit 1.

         Unless Defendant NBK is restrained from the act complained of herein, Plaintiff

will suffer irreparable harm, for which Plaintiff has no adequate remedy at law.

         A trial court may enter temporary restraining orders with or without notice and

hearing when the movant is threatened with immediate and irreparable harm.                                Tex. R.

Civ. P. 680.         A temporary restraining order serves to provide emergency relief and to

preserve the status quo until a hearing may be had on a temporary injunction.                         Ex parte



                                                                                                          000056
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Pierce, 161 Tex. 524, 342 S.W.2d 424, 426 (1961) (holding temporary restraining order

may be granted without notice to the adverse party if it appears from facts shown by

affidavit or verified complaint that immediate and irreparable injury, loss, or damage will

result to the applicant before notice can be served and a hearing held).

      It 1s essential that the Court act immediately, prior to notice on Defendant NBK

and a hearing on the matter, because Defendant NBK has failed to give proper notice of

the July 5, 2023 foreclosure.

      In addition, a temporary restraining order is necessary to preserve the status quo

until Plaintiff’s claims are decided by a trial on the merits.             Smith v. Vial, 555 S.W.2d

215, 216 (Tex. App.—Dallas         1977, no writ); Branham            v. Short, 526     S.W.2d 639, 641

(Tex. App.—Fort Worth 1975, no writ).           If Defendant NBK’s conduct goes unrestrained,

Plaintiff may lose the equitable nghts in the subject real property.

      Plaintiff is seeking a TRO and then a subsequent injunction because it will suffer a

probable injury is one that is imminent, irreparable, and has no adequate remedy at law.

Harbor Perfusion, Inc. v. Floyd, 45 S.W.3d 713, 716 (Tex.App.-Corpus Christi 2001, no

pet.); Zenet Health Ltd. v. Zamora,       13 S.W.3d 464, 468 (Tex.App.-Corpus Christi 2000,

pet. dism'd w.o.j.). Every piece of real estate is unique,                and foreclosure        can be an

irreparable injury for which there is no adequate remedy at law. EL] Paso Dev.                       Co. v.

Berryman, 729 §.W.2d 883, 888 (Tex.App.-Corpus Christi1987, no writ).

      Plaintiff   is   therefore   entitled    to     a   temporary    restraining      order,    enjoining

DEFENDANT         NATIONAL         BANK       OF KUWAIT,        S.A.K.P, New York Branch from


                                                                                                   000057
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foreclosing its lien on real property and improvements located at 2425 West Loop South,

Houston, Texas 77027.

      REQUEST FOR ORAL HEARING

      Plaintiff asks the Court to set their application for temporary injunction, and after

hearing the application, issue same against Defendants.

                                                   VIL.
                                                 PRAYER

      For   these     reasons   set forth     above,    unless    Defendant     NATIONAL          BANK      OF

KUWAIT,      S.A.K.P, New York Branch is enjoined from following through the July 5,

2023 foreclosure, Plaintiff will suffer irreparable injury for which there is no adequate

remedy at law.      Therefore, Plaintiff asks that the Court:

      1.      Issue     a Temporary         Restraining      Order    without   a hearing   and    notice    to
             restraining Defendant           NATIONAL            BANK     OF    KUWAIT,     S.A.K.P,      New
             York       Branch,    its agents,     attorneys,        or employees   from    foreclosing      its
              interest in 2425 West Loop South, Houston, Texas 77027;



              Issue a Temporary Injunction, after notice to Defendant NBK and a hearing,
              enjoining Defendant NBK, from the acts listed above;

             Upon a trial on the merits, Plaintiff prays that they be entitled to judgment:

            . Against Defendants for actual, compensatory, consequential damages;

            . Pre-judgment and post-judgment interest at the rate allowed by law until
              paid;

            . Reasonable and necessary attorney's fees and all costs of court and expenses
              incurred by Plaintiff (including expert fees) in the investigation and
              prosecution of this case; and



                                                        10
                                                                                                    000058
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     d. Such further relief at law or in equity, to which Plaintiff may by this
        pleading or proper amendment, thereto, show herself justly entitled.

                                          Respectfully submitted,


                                          LAW OFFICES OF OMAR KHAWAJA, PLLC

                                          5177 Richmond Ave., Suite 1065
                                          Houston, Texas 77056
                                          (281) 888-2339 (phone)
                                          (281) 888-2421 (fax)

                                                      /§/
                                          OMAR KHAWAJA
                                          State Bar No.: 24072181

                                          Emaik omar@atiorneyomar.com

                                          E-Service Address:
                                          service@attorneyomiar.com




                                         David Tang
                                         State Bar No. 24014483
                                         6711 Stella Link, #343
                                         West University Pl., Texas 77005
                                        (832) 287-2129
                                        dtangattarney@omallcom

                                   ATTORNEYS FOR PLAINTIFF NAISSANCE
                                   GALLERIA, LLC




                                         11
                                                                                  000059
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                             EXHIBIT 3




                                                                          000060
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                             EXHIBIT 4




                                                                          000065
              Case 4:24-cv-04836
10/1/24, 5:29 PM                               DocumentBK8-2
                                                          CM/ECFFiled   onBankruptcy
                                                                 LIVE - US 04/23/25    in TXSD
                                                                                     Court-Texas        Page 66 of 1090
                                                                                                 Southern

                                                     U.S. Bankruptcy Court
                                               Southern District of Texas (Victoria)
                                                Adversary Proceeding #: 23-06009

   Assigned to: Bankruptcy Judge Christopher M. Lopez                             Date Filed: 09/19/23
   Lead BK Case: 23-60036
   Lead BK Title: Galleria 2425 Owner LLC
   Lead BK Chapter: 11
   Demand:
   Nature[s] of Suit: 02 Other (e.g. other actions that would have been brought in state court if unrelated to
                         bankruptcy)


 Plaintiff
 -----------------------
 Galleria 2425 Owner, LLC                                                     represented by James Q. Pope
 c/o Melissa S. Hayward                                                                      The Pope Law Firm
 Hayward PLLC                                                                                6161 Savoy Drive
 10501 N. Central Expy., Ste. 106                                                            Ste 1125
 Dallas, TX 75231                                                                            Houston, TX 77036
                                                                                             713-449-4481
                                                                                             Email: ecf@thepopelawfirm.com
                                                                                             LEAD ATTORNEY


 Plaintiff
 -----------------------
 Naissance Galleria LLC                                                       represented by James Q. Pope
                                                                                             (See above for address)
                                                                                             LEAD ATTORNEY


 Plaintiff
 -----------------------
 Ali Choudhri                                                                 represented by James Q. Pope
 1001 W. Loop South                                                                          (See above for address)
 Suite 700                                                                                   LEAD ATTORNEY
 Houston, TX 77027


 V.

 Defendant
 -----------------------
 National Bank of Kuwait, S.A.K.P., New York Branch                           represented by National Bank of Kuwait,
                                                                                             S.A.K.P., New York Branch
                                                                                             PRO SE



      Filing Date                          #                                           Docket Text
                                                                                                                 000066
https://ecf.txsb.uscourts.gov/cgi-bin/DktRpt.pl?150232324710671-L_1_0-1                                                   1/2
              Case 4:24-cv-04836
10/1/24, 5:29 PM                               DocumentBK8-2
                                                          CM/ECFFiled   onBankruptcy
                                                                 LIVE - US 04/23/25    in TXSD
                                                                                     Court-Texas        Page 67 of 1090
                                                                                                 Southern


                                        1                         Adversary case 23-06009. Nature of Suit: (02 (Other (e.g. other
                                        (40 pgs; 4 docs)          actions that would have been brought in state court if unrelated
                                                                  to bankruptcy))) Complaint by Galleria 2425 Owner, LLC,
                                                                  Naissance Galleria LLC, Ali Choudhri against National Bank
                                                                  of Kuwait, S.A.K.P., New York Branch. Fee Amount $350
                                                                  (Attachments: # 1 Adversary Cover Sheet # 2 Exhibit A # 3
   09/19/2023                                                     Exhibit B) (Hayward, Melissa) (Entered: 09/19/2023)

                                                                  Receipt of Complaint( 23-06009) [cmp,cmp] ( 350.00) Filing
                                                                  Fee. Receipt number AXXXXXXXX. Fee amount $ 350.00. (U.S.
   09/19/2023                                                     Treasury) (Entered: 09/19/2023)

                                        2                         Request for Issuance of Summons on National Bank of Kuwait,
                                        (2 pgs)                   S.A.K.P., New York Branch. (Hayward, Melissa) (Entered:
   10/09/2023                                                     10/09/2023)

                                        3                         Summons Issued on National Bank of Kuwait, S.A.K.P., New
                                        (2 pgs)                   York Branch Date Issued 10/13/2023. (RebeccaBecknal)
   10/13/2023                                                     (Entered: 10/13/2023)




                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 10/01/2024 17:29:35
                                    PACER                        Client
                                                    pwsp0438                 054391-0000008-19105
                                    Login:                       Code:
                                                                             23-06009 Fil or Ent: filed Doc
                                                 Docket          Search      From: 0 Doc To: 99999999 Term:
                                    Description:
                                                 Report          Criteria:   included Format: html Page counts
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                                                    1            Cost:       0.10
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                             EXHIBIT 5




                                                                          000068
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   1                      UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
   2                             HOUSTON DIVISION

   3    In re                         )           CASE NO: 23-34815 (JPN)
                                      )
   4    GALLERIA 2425 Owner, LLC,     )           Houston, Texas
                                      )
   5              Debtor.             )           Wednesday, June 19, 2024
                                      )
   6                                  )           9:00 a.m. to 4:54 p.m.
        ------------------------------)
   7

   8                                      TRIAL

   9                  BEFORE THE HONORABLE JEFFREY P. NORMAN
                          UNITED STATES BANKRUPTCY JUDGE
 10

 11     APPEARANCES:

 12     For Debtor:                   REESE W. BAKER, ESQ.
                                      Baker & Associates
 13                                   950 Echo Lane, Suite 300
                                      Houston, TX 77024
 14
        For 2425 WL, LLC:             H. GRAY BURKS, IV, ESQ.
 15                                   BurksBaker, PLLC
                                      950 Echo Lane, Suite 300
 16                                   Houston, TX 77024

 17                                   STEPHEN SATHER, ESQ.
                                      Barron & Newburger, P.C.
 18                                   7320 North Mopac Expressway
                                      Suite 400
 19                                   Austin, TX 78731

 20     For Ali Choudhri,             ALI CHOUDHRI
        pro se:                       2425 West Loop South, 11th Floor
 21                                   Houston, TX 77027

 22     For the Trustee:              R.J. SHANNON, ESQ.
                                      Shannon & Lee LLP
 23                                   2100 Travis Street, Suite 1525
                                      Houston, TX 77002
 24

 25     For National Bank of          ANDREW M. TROOP, ESQ.

                                                                          000069
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                                                                            Page 2



   1    Kuwait, S.A.K.P., New         PATRICK E. FITZMAURICE, ESQ.
        York Branch:                  Pillsbury Winthrop Shaw Pittman
   2                                  31 West 52nd Street
                                      New York, NY 10019-6131
   3                                  CHARLES C. CONRAD, ESQ.
                                      Pillsbury Winthrop Shaw Pittman
   4                                  Two Houston Center
                                      909 Fannin, Suite 2000
   5                                  Houston, TX 77010-1028

   6    Court Reporter:               TRACEY CONRAD

   7    Transcribed by:               Veritext Legal Solutions
                                      330 Old Country Road, Suite 300
   8                                  Mineola, NY 11501
                                      Tel: 800-727-6396
   9

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        Proceedings recorded by electronic sound recording;
 25     Transcript produced by transcription service.

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   1                                           INDEX

   2    TRIAL WITNESSES         DIRECT          CROSS     REDIRECT      RECROSS

   3    MICHAEL CARTER              34             67         104          108

   4    CHRISTOPHER MURRAY      111              145          179          182

   5    ALLEN HOLLIMAN          185              187

   6    ALI CHOUDHRI            195              231          233

   7

   8    TRIAL EXHIBITS                                                     RECEIVED

   9    Exhibit 508-7                                                        45

 10     Exhibit 501-01                                                       59

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                                                                            Page



   1                   MR. FITZMAURICE:      Okay.    You can take this one

   2    down.     Thank you.

   3    BY MR. FITZMAURICE:

   4    Q       Mr. Murray, are you aware of whether or not the debtor

   5    has asserted claims against the National Bank of Kuwait?

   6    A       Yes.

   7    Q       In the course of your duties in this case as the

   8    Chapter 11 trustee, have you investigated those claims?

   9    A       Yes.

 10                    MR. FITZMAURICE:      I'm just going to grab a

 11     document from the table if that's okay.

 12                    THE COURT:     That's fine.     Feel free.

 13                    MR. FITZMAURICE:      Always at the bottom of the

 14     pile.

 15     BY MR. FITZMAURICE:

 16     Q       So Mr. Murray, I'd like to discuss with you the things

 17     that you did to investigate the debtor's claims against the

 18     bank.     Did you discuss the nature of those claims with the

 19     debtor's counsel?

 20     A       Yes.

 21     Q       Now the debtor has more than one counsel.             Is there --

 22     can you let us know who you spoke to?

 23     A       At different points I spoke to Mr. Baker, I spoke to

 24     Mr. Choudhri personally, spoke to Ms. Hayward, spoke with

 25     Mr. Alexander.       At some point I think we spoke, but Mr.

                                                                             000072
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   1                 MR. BURKS:     Based only his view of the settlement

   2    agreement?

   3                 THE COURT:     I overruled the objection, Mr. Burks.

   4    You don't get to reargue the objection.             Please sit down.

   5    Thank you.     Go ahead.     You can answer the question.

   6    BY MR. FITZMAURICE:

   7    Q     Do you recall the question?

   8    A     I think it was what my -- ask again.

   9    Q     Yes.    After -- as a result of the investigation that

 10     you performed in connection with reviewing the estate's

 11     claims against the bank, did you form a view as to the

 12     enforceability of the settlement agreement?

 13     A     Yes.

 14     Q     And what was that view?

 15     A     That it was likely enforceable.

 16     Q     In conducting your investigation, were you looking for

 17     factual support for the concept that the settlement

 18     agreement could be rescinded?

 19     A     Yes.

 20     Q     Did you find any?

 21     A     No.

 22     Q     Are you aware that Mr. Choudhri and the debtor assert

 23     claims against the bank that relate to events that occurred

 24     after August 22nd of 2022?

 25     A     Yes.

                                                                           000073
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   1    Q     And I'll just represent to you that's the date of the

   2    settlement agreement.       We can look at it, but the document's

   3    in evidence.     Did they provide you any factual support for

   4    those claims?

   5    A     They told me what their allegations were, yes.

   6    Q     Did they provide you with any documentary evidence in

   7    support of those claims?

   8    A     No.

   9    Q     Did you form a view as to the factual support for those

 10     claims?

 11     A     Yes.

 12     Q     What was that?

 13     A     That it was weak to non-existent.

 14     Q     In connection with your investigation into the estate's

 15     claims against the National Bank of Kuwait, did you form a

 16     view as to the voracity of Mr. Choudhri?

 17     A     Yes.

 18     Q     What was that?

 19     A     I did not think I could rely on the voracity of things

 20     Mr. Choudhri told me.

 21     Q     Have you read the plan that NBK has filed in this case?

 22     A     Yes.

 23     Q     Do you understand that the plan reflects a compromise

 24     or settlement of estate claims against the bank?

 25     A     Yes.

                                                                          000074
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                                                                          Page



   1    But quite clearly, this is a case that is now over 18 months

   2    old, and I agree that it is a case that needs to come to a

   3    conclusion one way or the other.

   4                 I am hopeful, Mr. Murray, that I will get some

   5    findings of fact and conclusions of law and an order either

   6    confirming the plan or not to you by the time that you have

   7    your auction.     That's the goal.       All right.

   8                 It's just been a really, really bad week.            I mean,

   9    I will say that I'm not typically as busy as I've been this

 10     week.   I have a huge panel tomorrow that's 61 pages.              I

 11     contested confirmation hearings in the afternoon.               And I

 12     have a Galveston docket on Friday.           So I will work as I can

 13     and as I'm allowed to given what limited time I have, but I

 14     promise you that I'll get something to you that you can look

 15     at, agree with, disagree, and appeal as you feel necessary.

 16                  All right.     Thank you.     We're adjourned today.

 17                  CLERK:   All rise.

 18                  (Whereupon these proceedings were concluded at

 19     4:54 PM)

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                                                                         Page



   1                         C E R T I F I C A T I O N

   2

   3           I, Sonya Ledanski Hyde, certified that the foregoing

   4    transcript is a true and accurate record of the proceedings.

   5

   6

   7

   8    Sonya Ledanski Hyde

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 20     Veritext Legal Solutions

 21     330 Old Country Road

 22     Suite 300

 23     Mineola, NY 11501

 24

 25     Date    June 25, 2024

                                                                          000076
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                             EXHIBIT 6




                                                                          000077
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 IN RE:                                      §
                                             § Case No. 23-34815 (JPN)
 GALLERIA 2425 OWNER, LLC                    §
                                             § Chapter 11
      Debtor.                                §


                      ORDER GRANTING EMERGENCY MOTION TO
                    ENFORCE THE GATE-KEEPING PROVISIONS OF THE
                            CONFIRMED CHAPTER 11 PLAN


       CAME ON FOR CONSIDERATION the Emergency Motion to Enforce the Gate-Keeping

Provisions of the Confirmed Chapter 11 Plan (“Motion”) filed by National Bank of Kuwait,

S.A.K.P., New York Branch (“NBK”). In the Motion, NBK seeks an order staying the pending

actions identified below because, among other things, the plaintiffs in those actions are required

obtain an order from this Court that the claims they have asserted against NBK are colorable non-

estate claims. They have not done so. Having considered the Motion, any responses related

thereto, the record of the chapter 11 case, and all other evidence before it, and after due

deliberation, the Court ORDERS that

       1.       The following actions (the “Pending Actions”) are stayed pending further order of

                this Court:

                •     Naissance Galleria, LLC v. Zaheer, et al, Cause No. 2023-43755 pending in
                      the District Court of Harris County, Texas, 80th Judicial District.

                •     Naissance Galleria, LLC v. NBK, Cause No. 2023-41091 pending in the
                      District Court of Harris County, Texas, 129th Judicial District.

                •     Galleria 2425, LLC, Naissance Galleria, LLC and Choudhri v. NBK,
                      Adversary Case No. 23-06009 pending in the U.S. Bankruptcy Court for the
                      Southern District of Texas, Victoria Division.




                                                                                    4870-9327-3835.v2
                                                                                              000078
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             •    Adversary Case No. 23-03263 in which Ali Choudhri’s Second Amended
                  Petition in Intervention remains pending.

   2.        The plaintiffs in the Pending Actions, Debtor, Naissance Galleria, LLC, and Ali

             Choudhri shall file any written response to the Motion on or before October 11,

             2024, showing cause why the claims asserted in their respective Pending Actions

             are colorable, non-estate claims.

   3.        Any written reply to a filed response shall be due on or before October 17, 2024.

   4.        The Motion shall be heard on October ___, 2024 at ______ a.m./p.m. in Courtroom

             ____, United States Court House, 515 Rusk St., Houston, Texas.

   5.        NBK shall serve a copy of this order on the Plaintiffs and their counsel of record,

             in the Pending Actions within two business day of the entry of this Order.

   6.        NBK shall file a copy of this Order in each of the Pending Actions within two

             business days of the entry of this Order.



Signed: ____________________, 2024.




                                                 Honorable Jeffrey P. Norman
                                                 United States Bankruptcy Judge




                                                 2
                                                                                  4870-9327-3835.v2
                                                                                            000079
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Submitted by:

PILLSBURY WINTHROP SHAW PITTMAN LLP

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Texas State Bar No. 24040721
Ryan Steinbrunner
Texas State Bar No. 24093201
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Houston, TX 77002
Telephone: (713) 276-7600
Facsimile: (713) 276-7634
charles.conrad@pillsburylaw.com
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   -   and   -

Andrew M. Troop (Bar No. MA547179)
Patrick E. Fitzmaurice*
Kwame O. Akuffo*
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Telephone: (212) 858-1000
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kwame.akuffo@pillsburylaw.com

*Admitted pro hac vice

Counsel for National Bank of Kuwait, S.A.K.P., New York Branch




                                           3
                                                                         4870-9327-3835.v2
                                                                                   000080
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               IN RE GALLERIA 2425 OWNER, LLC, CASE NO. 23-34815
                         SERVICE LIST (a/o July 2, 2024)

Debtor:                                         Twenty Largest Creditors:
Galleria 2425 Owner, LLC                        Caz Creek Lending
1001 West Loop South Ste 700                    118 Vintage Park Blvd No. W
Houston, TX 77027                               Houston, TX 77070

Debtor’s Counsel:                               Cirro Electric
Reese W. Baker                                  P O Box 60004
Baker & Associates                              Dallas, TX 75266
950 Echo Lane Ste 300
Houston, TX 77024                               City of Houston
                                                P O Box 1560
James Q. Pope                                   Houston, TX 77251-1560
The Pope Law Firm
616 Savoy Drive Ste 1125                        City of Houston Water Department
Houston, TX 77036                               P O Box 1560
                                                Houston, TX 77251-1560
U.S. Trustee:
Office of United States Trustee                 Datawatch Systems
Attn: Jana Smith Whitworth                      Suite 200
515 Rusk Street Suite 3516                      4520 East West Highway
Houston, TX 77002                               Bethesda, MD 20814

Chapter 11 Trustee:                             Firetron
Christopher R. Murray                           10101A Stafford Centre Dr.
602 Sawyer Street Ste 400                       Stafford, TX 77477
Houston, TX 77007
                                                First Insurance Funding
Chapter 11 Trustee’s Counsel:                   450 Skokie Blvd
R. J. Shannon                                   Northbrook, IL 60062
Shannon & Lee LLP
2100 Travis Street Ste 1525                     Gulfstream Legal Group
Houston, TX 77002                               1300 Texas Street
                                                Houston, TX 77002
Governmental Entities:                          (Returned to Sender / Unable to Forward)
Harris County Tax Assessor
P O Box 4622                                    Gulfstream Legal Group
Houston, TX 77210                               720 N Post Oak Rd Ste 355
                                                Houston, TX 77024
Harris County, et al.
P O Box 2928                                    Hayward PLLC
Houston, TX 77252-2928                          10501 N Central Expy Ste 106
                                                Dallas, TX 75231-2203




                                                                               4868-8377-7229.v1
                                                                                         000081
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HNB Construction, LLC                            ADT
521 Woodhaven                                    P O Box 382109
Ingleside, TX 78362                              Pittsburgh, PA 15251

Houston Community College System                 Ali Choudhri
c/o Tara Grundemeier                             1001 West Loop South 700
Linebarger, Groggan, Blair & Sampson             Houston, TX 77027
P O Box 3064
Houston, TX 77253-3064                           Ash Automated Control Systems, LLC
                                                 P O Box 1113
Houston Independent School District              Fulshear, TX 77441
P O Box 4668
Houston, TX 77210                                CFI Mechanical, Inc.
(Returned to Sender / Unable to Forward)         6109 Brittmoore Rd
                                                 Houston, TX 77041
Lexitas
P O Box 734298 Dept 2012                         CNA Insurance Company
Dallas, TX 75373                                 P O Box 74007619
                                                 Chicago, IL 60674
Nationwide Security
2425 W Loop South Ste 300                        Comcast
Houston, TX 77027                                P O Box 60533
(Returned to Sender / Unable to Forward)         City of Industry, CA 91716

Nichamoff Law Firm                               Environmental Coalition Inc.
2444 Times Blvd Ste 270                          P O Box 1568
Houston, TX 77005                                Stafford, TX 77497

T&R Mechanical                                   Ferguson Facilities Supplies
21710 White Oak Drive                            P O Box 200184
Conroe, TX 77306-8848                            San Antonio, TX 78220
(Returned to Sender / Unable to Forward)
                                                 Jetall Companies Inc.
TKE                                              2425 West Loop South Ste 1100
3100 Interstate North Cir SE 500                 Houston, TX 77027-4210
Atlanta, GA 30339
                                                 Kings 111 Emergency Communications
Zindler Cleaning Service Co.                     751 Canyon Drive Suite 100
2450 Fondren Ste 113                             Coppell, TX 75019
Houston, TX 77063
                                                 Logix Fiber Networks
Other Creditors / Interest Holders:              P O Box 734120
2425 WL, LLC                                     Dallas, TX 75373
60 West 2nd Street
Freeport, NY 11746



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Mueller Water Treatment                          Executory Contract Counterparties:
1500 Sherwood Forest Dr                          2425 West Loop LLC dba Metwall Design
Houston, TX 77043                                Solutions LLC
                                                 2425 West Loop South Ste 800
Smart Office Solutions                           Houston, TX 77027-4214
6623 Theall Road                                 (Returned to Sender / Unable to Forward)
Houston, TX 77066-1213
(Returned to Sender / Unable to Forward)         2425 WL, LLC
                                                 13498 Pond Springs Rd
Waste Management                                 Austin, TX 78729-442
P O Box 660345                                   (Returned to Sender / Unable to Forward)
Dallas, TX 75266
                                                 2425 WL, LLC
Metwall Design Solutions LLC                     700 Lavaca Street Ste 1401
10931 Day Road                                   Austin, TX 78701
Houston, TX 77043-4901                           (Returned to Sender / Unable to Forward)

US Retailers LLC d/b/a Cirro Energy              Bankable Equities
Attn: Bankruptcy Department                      2425 West Loop South Ste 600
P O Box 3606                                     Houston, TX 77027-4203
Houston, TX 77253-3606
                                                 Boho Lounge
Naissance Galleria, LLC                          2425 West Loop South Ste 100
c/o Law Office of Nima Taherian                  Houston, TX 77027-4205
701 N Post Oak Rd Ste 216                        (Returned to Sender / Unable to Forward)
Houston, TX 77024
                                                 CNA Insurance Company
H.N.B. Construction, LLC                         P O Box 74007619
c/o Malcolm D. Dishongh                          Chicago, IL 60674
P O Box 2347
Humble, TX 77347-2347                            Eyebrows 4UTX LLC
                                                 2425 West Loop South Ste 340b
CC2 TX, LLC                                      Houston, TX 77027-4205
14800 Landmark Blvd Ste 400
Dallas, TX 75254                                 First Insurance Funding
                                                 450 Skokie Blvd
MacGeorge Law Firm                               Northbrook, IL 60062
2921 E 17th St Bldg D Ste 6
Austin, TX 78702                                 G3 Global Services LLC
(Returned to Sender / Unable to Forward)         2425 West Loop South Ste 310
                                                 Houston, TX 77027-4208
MacGeorge Law Firm
701 Tillery Street Ste 12                        Galloworks
Austin, TX 78702                                 2425 West Loop South Ste 400
                                                 Houston, TX 77027-4205



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Jetall Companies Inc.                             Parties Requesting Notice:
2425 West Loop South Ste 1100                     Jeannie Lee Andressen
Houston, TX 77027-4210                            Tara Grundemeier
                                                  Linebarger Goggan Blair & Sampson LLP
Kudrath Enterprises PLLC                          P O Box 3064
2425 West Loop South Ste 350                      Houston, TX 77253-3064
Houston, TX 77027-4208                            Counsel for City of Houston, Houston
                                                  Community College System, and Houston
Nationwide Investigations & Security Inc.         ISD
2425 West Loop South Ste 300
Houston, TX 77027-4207                            Rodney Lee Drinnon
(Returned to Sender / Unable to Forward)          McCathern Houston
                                                  2000 West Loop South Ste 1850
Shah Sloan LLC                                    Houston, TX 77027
2425 West Loop South Ste 501, 503 and 523         Counsel for Rodney Drinnon
Houston, TX 77027-4205
(Returned to Sender / Unable to Forward)          Susan Fuertes
                                                  Harris County Attorney’s Office
SIBS International Inc.                           P O Box 2928
2425 West Loop South Ste 900                      Houston, TX 77252-2928
Houston, TX 77027-4205                            Counsel for Harris County, Attn: Property
(Returned to Sender / Unable to Forward)          Tax Division

SIBS International Inc.                           James Robert MacNaughton
2425 West Loop South Ste 350                      Porter & Powers PLLC
Houston, TX 77027                                 5900 Memorial Drive Ste 305
(Returned to Sender / Unable to Forward)          Houston, TX 77027
                                                  Counsel for 2425 West Loop, LLC
SprintCom Inc.                                    (Returned to Sender / Unable to Forward)
2425 West Loop South, Rooftop
Houston, TX 77027-4205                            James Robert MacNaughton
(Returned to Sender / Unable to Forward)          Porter & Powers PLLC
                                                  1776 Yorktown St Ste 300
St. Christopher Holdings GP LLC                   Houston, TX 77056
2425 West Loop South Ste 700                      Counsel for 2425 West Loop, LLC
Houston, TX 77027-4205                            (Returned to Sender / Unable to Forward)

UL Therapy                                        James Robert MacNaughton
2425 West Loop South Ste 315                      Porter Firm, PLLC
Houston, TX 77027-4211                            2221 S. Voss Road, Suite 200
(Returned to Sender / Unable to Forward)          Houston, TX 77057
                                                  Counsel for 2425 West Loop, LLC
Uptown Cosmetic and Implant Dentistry
2425 West Loop South Ste 333
Houston, TX 77027-4211



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Stephen Wayne Sather
Mark E. Smith
Barron Newburger, P.C.
7320 N Mopac Expy Ste 400
Austin, TX 78731
Counsel for 2425 WL, LLC

Howard Marc Spector
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12770 Coit Road Ste 850
Dallas, TX 75251
Counsel for CC2 TX, LLC

Broocks Wilson
Kean Miller LLP
711 Louisiana Suite 1800
Houston, TX 77002
Counsel for Sonder USA Inc.

Ali Choudhri
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Houston, TX 77027

David Tang
6711 Stella Link #343
West University Place, TX 77005
Counsel for Azeemeh Zaheer

Omar Khawaja
5177 Richmond Ave Ste 1065
Houston, TX 77056
Counsel for Azeemeh Zaheer




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                                                                                          United States Bankruptcy Court
                                                                                              Southern District of Texas

                                                                                                 ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                October 02, 2024
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

IN RE:                                                    §
                                                          §        CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                                 §
                                                          §
            Debtor.                                       §
                                                          §
                                                          §        CHAPTER 11

                                       ORDER SETTING HEARING

         Hearing is set on the Emergency Motion to Enforce the Gate-Keeping Provisions of the
Confirmed Chapter 11 Plan (ECF No. 758) at 1:30 p.m. on October 10, 2024, in Courtroom 403,
United States Courthouse, 515 Rusk St., Houston, Texas. The response deadline is 5:00 p.m. on
October 9, 2024. Requested relief that is unopposed by written response prior to the response
deadline may be ruled on without the necessity of a hearing. The Court may grant or deny any
relief sought in any motion/application or objection without hearing based on responsive
pleadings. The movant shall serve a copy of this order on all affected parties within 24 hours and
file a certificate of service; or file and serve a hearing notice within 24 hours, which must include
the response deadline.

      Parties should reference the Court’s website for in person hearing requirements and
connection instructions for virtual appearances.1

           SO ORDERED.

            SIGNED 10/02/2024


                                                              ___________________________________
                                                              Jeffrey Norman
                                                              United States Bankruptcy Judge




1
    https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-jeffrey-p-norman

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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re:                                       §
                                              § Case No. 23-34815 (JPN)
 GALLERIA 2425 Owner, LLC                     §
                                              § Chapter 11
                 Debtor.                      §


      SUPPLEMENT TO NATIONAL BANK OF KUWAIT, S.A.K.P, NEW YORK
      BRANCH’S EMERGENCY MOTION TO ENFORCE THE GATE-KEEPING
            PROVISIONS OF THE CONFIRMED CHAPTER 11 PLAN
                    Related to ECF Nos. 758, 759 and 760


TO THE HONORABLE JEFFREY P. NORMAN, U.S. BANKRUPTCY JUDGE:

          National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) files this supplement to

its Emergency Motion to Enforce the gate-keeping provisions in the confirmed and unstayed

chapter 11 plan [see ECF No. 758] (the “Motion”) to advise the Court that one of the lawsuits

identified in the Motion was nonsuited earlier today on October 8, 2024, and so relief with respect

to that lawsuit no longer appears required as requested in the Motion.

          1.    NBK filed the Motion on October 2, 2024 seeking two forms of relief in aid of

enforcing and implementing the gate-keeping provisions of the confirmed plan of reorganization

for the Debtor [see ECF No. 566] (the “Plan”): (a) a stay of the four actions identified in

paragraph 7 of the Motion; and (b) entry of an order compelling the plaintiffs or proposed plaintiff-

intervenor in those actions to comply with the gate-keeping provisions in the confirmed Plan by

demonstrating that the claims asserted are colorable, non-estate claims against NBK.

          2.    One of the identified actions in the Motion is Naissance Galleria, LLC v. NBK,

Cause No. 2023-41091 pending the District Court of Harris County, Texas, 129th Judicial District

(“Naissance II”).



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       3.      Earlier today, the Naissance II plaintiff filed the Plaintiff’s Motion for Nonsuit

attached as Exhibit A, stating that “Naissance Galleria, LLC wishes to nonsuit its claims against

Defendant NATIONAL BANK OF KUWAIT, S.A.K.P., New York Branch and respectfully

requests [the Harris County District Court] to dismiss same.” Based on the Plaintiff’s Motion for

Nonsuit, it appears that no relief is required for Naissance II in respect of the Motion.

       4.      NBK has filed this supplement to advise the Court and other interested parties of

developing facts in advance of the hearing on the Motion scheduled for Thursday, October 10,

2024 at 1:30 p.m. (prevailing Central Time).

DATED: October 8, 2024                      PILLSBURY WINTHROP SHAW PITTMAN LLP

                                            /s/ Andrew M. Troop
                                            Charles C. Conrad
                                            Texas State Bar No. 24040721
                                            Ryan Steinbrunner
                                            Texas State Bar No. 24093201
                                            609 Main Street Suite 2000
                                            Houston, TX 77002
                                            Telephone: (713) 276-7600
                                            Facsimile: (713) 276-7634
                                            charles.conrad@pillsburylaw.com
                                            ryan.steinbrunner@pillsburylaw.com

                                                -       and -

                                            Andrew M. Troop (Bar No. MA547179)
                                            Patrick E. Fitzmaurice (admitted pro hac vice)
                                            Kwame O. Akuffo (admitted pro hac vice)
                                            31 West 52nd Street
                                            New York, NY 10019-6131
                                            Telephone: (212) 858-1000
                                            Facsimile: (212) 858-1500
                                            andrew.troop@pillsburylaw.com
                                            patrick.fitzmaurice@pillsburylaw.com
                                            kwame.akuffo@pillsburylaw.com

                                            Counsel for National Bank of Kuwait, S.A.K.P., New
                                            York Branch




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                                                                                             000088
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on October 8, 2024, a true and correct copy of this document
was served via the Court’s CM/ECF system to all parties who are deemed to have consented to
ECF electronic service, via email and/or U.S. first class mail, postage paid to all counsel in the
Pending Actions and listed below, and also by mailing, first class, postage prepaid, to each of the
parties on the attached service list.

Matías J. Adrogué                                    Omar Khawaja
Leila M. El-Hakam                                    Law Offices of Omar Khawaja, PLLC
Matías J. Adrogué PLLC                               5177 Richmond Ave, Ste 1065
1629 West Alabama Street                             Houston, TX 77056
Houston, TX 77006                                    omar@attorneyomar.com
service@mjalawyer.com                                Counsel for Plaintiff in Naissance II
Counsel for Plaintiff in Naissance I
                                                     David Tang
James Q. Pope                                        6711 Stella Link #343
The Pope Law Firm                                    West University Place, TX 77005
6161 Savoy Drive Ste 1125                            dtangattorney@gmail.com
Houston, TX 77036                                    Counsel for Plaintiff in Naissance II
jamesp@thepopelawfirm.com
Counsel for Plaintiff in Naissance I                 Bradley Parker
                                                     2127 Bolsover Street
Rodney Drinnon                                       Houston, TX 77005
McCathern Houston                                    Defendant in Naissance II
2000 West Loop South Ste 1850
Houston, TX 77027                                    Melissa S. Hayward
rdrinnon@mccathernlaw.com                            Hayward PLLC
Counsel for Defendant Azeemeh Zaheer in              10501 N. Central Expy Ste 106
Naissance I                                          Dallas, TX 75231
                                                     mhayward@haywardfirm.com
David Tang                                           Counsel for Plaintiffs in Galleria I
6711 Stella Link #343
West University Place, TX 77005                      James Q. Pope
dtangattorney@gmail.com                              The Pope Law Firm
Counsel for Defendant Azeemeh Zaheer in              6161 Savoy Drive Ste 1125
Naissance I                                          Houston, TX 77036
                                                     jamesp@thepopelawfirm.com
                                                     Counsel for Plaintiffs in Galleria I


                                              /s/ Andrew M. Troop
                                               Andrew M. Troop




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                            EXHIBIT A




                                                                          000090
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                                         CAUSE NO. 2023-41091

NAISSANCE GALLERIA, LLC,         §                       IN THE HARRIS COUNTY COURT
    PLAINTIFF                    §
                                 §
VS.                              §                       129th JUDICIAL DISTRICT COURT
                                 §
NATIONAL BANK OF KUWAIT, §
S.A.K.P, New York Branch, et al. §
     DEFENDANTS.                 §                       HARRIS COUNTY, TEXAS


                            PLAINTIFF’S MOTION FOR NONSUIT


        Plaintiff NAISSANCE GALLERIA, LLC files this its motion for nonsuit and would

respectfully show the Court as follows:

        Naissance Galleria, LLC wishes to nonsuit its claims against Defendant NATIONAL

BANK OF KUWAIT, S.A.K.P, New York Branch and respectfully requests this Court to

dismiss same1.


                                                         Respectfully submitted,


                                                         LAW OFFICES OF OMAR KHAWAJA, PLLC

                                                         5177 Richmond Ave., Suite 1065
                                                         Houston, Texas 77056
                                                         (281) 888-2339 (phone)
                                                         (281) 888-2421 (fax)

                                                         ______      /s/
                                                         OMAR KHAWAJA
                                                         State Bar No.: 24072181
1
  A plaintiff's nonsuit is effective immediately upon filing. See Travelers Ins. Co. v. Joachim, 315 S.W.3d 860,
862-63 (Tex. 2010).


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                                             Email: omar@attorneyomar.com

                                             E-Service Address:
                                             service@attorneyomar.com




                                            David Tang
                                            State Bar No. 24014483
                                            6711 Stella Link, #343
                                             West University Pl., Texas 77005
                                            (832) 287-2129
                                            dtangattorney@gmail.com

                                       ATTORNEYS FOR PLAINTIFF NAISSANCE
                                       GALLERIA, LLC


                            CERTIFICATE OF SERVICE

       I hereby certify a true and correct copy of the foregoing was served via
electronic means on this the 8th day of October 2024.


                                             __________________________
                                                  David Tang




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               IN RE GALLERIA 2425 OWNER, LLC, CASE NO. 23-34815
                        SERVICE LIST (a/o October 7, 2024)

Debtor:                                         Twenty Largest Creditors:
Galleria 2425 Owner, LLC                        Caz Creek Lending
1001 West Loop South Ste 700                    118 Vintage Park Blvd No. W
Houston, TX 77027                               Houston, TX 77070

Debtor’s Counsel:                               Cirro Electric
Reese W. Baker                                  P O Box 60004
Baker & Associates                              Dallas, TX 75266
950 Echo Lane Ste 300
Houston, TX 77024                               City of Houston
                                                P O Box 1560
James Q. Pope                                   Houston, TX 77251-1560
The Pope Law Firm
616 Savoy Drive Ste 1125                        City of Houston Water Department
Houston, TX 77036                               P O Box 1560
                                                Houston, TX 77251-1560
U.S. Trustee:
Office of United States Trustee                 Datawatch Systems
Attn: Jana Smith Whitworth                      Suite 200
515 Rusk Street Suite 3516                      4520 East West Highway
Houston, TX 77002                               Bethesda, MD 20814

Chapter 11 Trustee:                             Firetron
Christopher R. Murray                           10101A Stafford Centre Dr.
602 Sawyer Street Ste 400                       Stafford, TX 77477
Houston, TX 77007
                                                First Insurance Funding
Chapter 11 Trustee’s Counsel:                   450 Skokie Blvd
R. J. Shannon                                   Northbrook, IL 60062
Shannon & Lee LLP
2100 Travis Street Ste 1525                     Gulfstream Legal Group
Houston, TX 77002                               1300 Texas Street
                                                Houston, TX 77002
Governmental Entities:                          (Returned to Sender / Unable to Forward)
Harris County Tax Assessor
P O Box 4622                                    Gulfstream Legal Group
Houston, TX 77210                               720 N Post Oak Rd Ste 355
                                                Houston, TX 77024
Harris County, et al.
P O Box 2928                                    Hayward PLLC
Houston, TX 77252-2928                          10501 N Central Expy Ste 106
                                                Dallas, TX 75231-2203




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HNB Construction, LLC                            ADT
521 Woodhaven                                    P O Box 382109
Ingleside, TX 78362                              Pittsburgh, PA 15251

Houston Community College System                 Ali Choudhri
c/o Tara Grundemeier                             1001 West Loop South 700
Linebarger, Groggan, Blair & Sampson             Houston, TX 77027
P O Box 3064
Houston, TX 77253-3064                           Ash Automated Control Systems, LLC
                                                 P O Box 1113
Houston Independent School District              Fulshear, TX 77441
P O Box 4668
Houston, TX 77210                                CFI Mechanical, Inc.
(Returned to Sender / Unable to Forward)         6109 Brittmoore Rd
                                                 Houston, TX 77041
Lexitas
P O Box 734298 Dept 2012                         CNA Insurance Company
Dallas, TX 75373                                 P O Box 74007619
                                                 Chicago, IL 60674
Nationwide Security
2425 W Loop South Ste 300                        Comcast
Houston, TX 77027                                P O Box 60533
(Returned to Sender / Unable to Forward)         City of Industry, CA 91716

Nichamoff Law Firm                               Environmental Coalition Inc.
2444 Times Blvd Ste 270                          P O Box 1568
Houston, TX 77005                                Stafford, TX 77497

T&R Mechanical                                   Ferguson Facilities Supplies
21710 White Oak Drive                            P O Box 200184
Conroe, TX 77306-8848                            San Antonio, TX 78220
(Returned to Sender / Unable to Forward)
                                                 Jetall Companies Inc.
TKE                                              2425 West Loop South Ste 1100
3100 Interstate North Cir SE 500                 Houston, TX 77027-4210
Atlanta, GA 30339
                                                 Kings 111 Emergency Communications
Zindler Cleaning Service Co.                     751 Canyon Drive Suite 100
2450 Fondren Ste 113                             Coppell, TX 75019
Houston, TX 77063
                                                 Logix Fiber Networks
Other Creditors / Interest Holders:              P O Box 734120
2425 WL, LLC                                     Dallas, TX 75373
60 West 2nd Street
Freeport, NY 11746



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Mueller Water Treatment                          Executory Contract Counterparties:
1500 Sherwood Forest Dr                          2425 West Loop LLC dba Metwall Design
Houston, TX 77043                                Solutions LLC
                                                 2425 West Loop South Ste 800
Smart Office Solutions                           Houston, TX 77027-4214
6623 Theall Road                                 (Returned to Sender / Unable to Forward)
Houston, TX 77066-1213
(Returned to Sender / Unable to Forward)         2425 WL, LLC
                                                 13498 Pond Springs Rd
Waste Management                                 Austin, TX 78729-442
P O Box 660345                                   (Returned to Sender / Unable to Forward)
Dallas, TX 75266
                                                 2425 WL, LLC
Metwall Design Solutions LLC                     700 Lavaca Street Ste 1401
10931 Day Road                                   Austin, TX 78701
Houston, TX 77043-4901                           (Returned to Sender / Unable to Forward)

US Retailers LLC d/b/a Cirro Energy              Bankable Equities
Attn: Bankruptcy Department                      2425 West Loop South Ste 600
P O Box 3606                                     Houston, TX 77027-4203
Houston, TX 77253-3606
                                                 Boho Lounge
Naissance Galleria, LLC                          2425 West Loop South Ste 100
c/o Law Office of Nima Taherian                  Houston, TX 77027-4205
701 N Post Oak Rd Ste 216                        (Returned to Sender / Unable to Forward)
Houston, TX 77024
                                                 CNA Insurance Company
H.N.B. Construction, LLC                         P O Box 74007619
c/o Malcolm D. Dishongh                          Chicago, IL 60674
P O Box 2347
Humble, TX 77347-2347                            Eyebrows 4UTX LLC
                                                 2425 West Loop South Ste 340b
CC2 TX, LLC                                      Houston, TX 77027-4205
14800 Landmark Blvd Ste 400
Dallas, TX 75254                                 First Insurance Funding
                                                 450 Skokie Blvd
MacGeorge Law Firm                               Northbrook, IL 60062
2921 E 17th St Bldg D Ste 6
Austin, TX 78702                                 G3 Global Services LLC
(Returned to Sender / Unable to Forward)         2425 West Loop South Ste 310
                                                 Houston, TX 77027-4208
MacGeorge Law Firm
701 Tillery Street Ste 12                        Galloworks
Austin, TX 78702                                 2425 West Loop South Ste 400
                                                 Houston, TX 77027-4205



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Jetall Companies Inc.                             Parties Requesting Notice:
2425 West Loop South Ste 1100                     Jeannie Lee Andressen
Houston, TX 77027-4210                            Tara Grundemeier
                                                  Linebarger Goggan Blair & Sampson LLP
Kudrath Enterprises PLLC                          P O Box 3064
2425 West Loop South Ste 350                      Houston, TX 77253-3064
Houston, TX 77027-4208                            Counsel for City of Houston, Houston
                                                  Community College System, and Houston
Nationwide Investigations & Security Inc.         ISD
2425 West Loop South Ste 300
Houston, TX 77027-4207                            Rodney Lee Drinnon
(Returned to Sender / Unable to Forward)          McCathern Houston
                                                  2000 West Loop South Ste 1850
Shah Sloan LLC                                    Houston, TX 77027
2425 West Loop South Ste 501, 503 and 523         Counsel for Rodney Drinnon
Houston, TX 77027-4205
(Returned to Sender / Unable to Forward)          Susan Fuertes
                                                  Harris County Attorney’s Office
SIBS International Inc.                           P O Box 2928
2425 West Loop South Ste 900                      Houston, TX 77252-2928
Houston, TX 77027-4205                            Counsel for Harris County, Attn: Property
(Returned to Sender / Unable to Forward)          Tax Division

SIBS International Inc.                           James Robert MacNaughton
2425 West Loop South Ste 350                      Porter & Powers PLLC
Houston, TX 77027                                 5900 Memorial Drive Ste 305
(Returned to Sender / Unable to Forward)          Houston, TX 77027
                                                  Counsel for 2425 West Loop, LLC
SprintCom Inc.                                    (Returned to Sender / Unable to Forward)
2425 West Loop South, Rooftop
Houston, TX 77027-4205                            James Robert MacNaughton
(Returned to Sender / Unable to Forward)          Porter & Powers PLLC
                                                  1776 Yorktown St Ste 300
St. Christopher Holdings GP LLC                   Houston, TX 77056
2425 West Loop South Ste 700                      Counsel for 2425 West Loop, LLC
Houston, TX 77027-4205                            (Returned to Sender / Unable to Forward)

UL Therapy                                        James Robert MacNaughton
2425 West Loop South Ste 315                      Porter Firm, PLLC
Houston, TX 77027-4211                            2221 S. Voss Road, Suite 200
(Returned to Sender / Unable to Forward)          Houston, TX 77057
                                                  Counsel for 2425 West Loop, LLC
Uptown Cosmetic and Implant Dentistry
2425 West Loop South Ste 333
Houston, TX 77027-4211



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Stephen Wayne Sather
Mark E. Smith
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Counsel for 2425 WL, LLC
(Withdrawn 10/7/24

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Cecere PC
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Dallas, TX 75206
Counsel for 2425 WL, LLC

Howard Marc Spector
Spector & Cox, PLLC
12770 Coit Road Ste 850
Dallas, TX 75251
Counsel for CC2 TX, LLC

Broocks Wilson
Kean Miller LLP
711 Louisiana Suite 1800
Houston, TX 77002
Counsel for Sonder USA Inc.

Ali Choudhri
2425 West Loop South 11th Floor
Houston, TX 77027

David Tang
6711 Stella Link #343
West University Place, TX 77005
Counsel for Azeemeh Zaheer

Omar Khawaja
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Houston, TX 77056
Counsel for Azeemeh Zaheer




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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

    IN RE:                                               §
                                                         § Case No. 23-34815 (JPN)
    GALLERIA 2425 OWNER, LLC                             §
                                                         § Chapter 11
          Debtor.                                        §


                     AGREED ORDER GRANTING EMERGENCY MOTION TO
                      ENFORCE THE GATE-KEEPING PROVISIONS OF THE
                              CONFIRMED CHAPTER 11 PLAN


           CAME ON FOR CONSIDERATION the Emergency Motion to Enforce the Gate-Keeping

Provisions of the Confirmed Chapter 11 Plan (“Motion”) filed by National Bank of Kuwait,

S.A.K.P., New York Branch (“NBK”). And the Court having considered the Response of Ali

Choudhri to the Motion (the “Response”) in which Mr. Choudhri does not oppose the relief sought

in the Motion, and the Court having further considered the record of the chapter 11 case, and all

other evidence before it, and with the consent of NBK and the plaintiffs in the Pending Actions

(defined below), and after due deliberation, the Court ORDERS that

           1.        The Motion is granted as and to the extent set forth herein.

           2.        The following actions (the “Pending Actions”) 1 are stayed as to all claims asserted

                     against NBK pending further order of this Court:

                     •     Naissance Galleria, LLC v. Zaheer, et al, Cause No. 2023-43755 pending in
                           the District Court of Harris County, Texas, 80th Judicial District.




1
    NBK had initially sought to stay the action styled as Naissance Galleria, LLC v. NBK, Cause No. 2023-41091
     pending in the District Court of Harris County, Texas, 129th Judicial District but the Plaintiff in that action
     nonsuited its claims therein. To the extent the Plaintiff in that action re-files its claims against NBK, then NBK
     may file a copy of this Order in that action as provided herein.


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           •    Galleria 2425, LLC, Naissance Galleria, LLC and Choudhri v. NBK,
                Adversary Case No. 23-06009 pending in the U.S. Bankruptcy Court for the
                Southern District of Texas, Victoria Division.

           •    Adversary Case No. 23-03263 in which Ali Choudhri’s Second Amended
                Petition in Intervention remains pending.

  2.       Each plaintiff in the Pending Actions shall file a motion seeking a ruling, and

           showing cause why, the claims asserted in their respective Pending Actions are

           colorable, non-estate claims (each a “Show Cause Motion”) no later than October

           30, 2024. The failure to timely file a Show Cause Motion by a plaintiff shall be

           deemed to be an admission by that plaintiff that its Pending Action is an estate

           claim, or is not a colorable, non-estate claim, and the appropriate Pending Action

           shall be permanently stayed, removed if necessary to this Court, and dismissed with

           prejudice.

  3.       Any written response to a Show Cause Motion shall be filed on or before November

           12, 2024.

  4.       Any reply in further support of a Show Cause Motion shall be filed on or before

           November 22, 2024.

  5.       Any timely filed Show Cause Motion shall be heard on December ___, 2024 at

           ______ a.m./p.m. in Courtroom ____, United States Court House, 515 Rusk St.,

           Houston, Texas.

  6.       NBK shall serve a copy of this order on the Plaintiffs and their counsel of record,

           in the Pending Actions within two business day of the entry of this Order.

  7.       NBK shall file a copy of this Order in each of the Pending Actions within two

           business days of the entry of this Order.




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Signed: ____________________, 2024.




                                                 Honorable Jeffrey P. Norman
                                                 United States Bankruptcy Judge
Submitted by:

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                                                                                                       United States Bankruptcy Court
                                                                                                            Southern District of Texas

                                                                                                               ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                            October 10, 2024
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                             Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

    IN RE:                                               §
                                                         § Case No. 23-34815 (JPN)
    GALLERIA 2425 OWNER, LLC                             §
                                                         § Chapter 11
          Debtor.                                        §


                     AGREED ORDER GRANTING EMERGENCY MOTION TO
                      ENFORCE THE GATE-KEEPING PROVISIONS OF THE
                              CONFIRMED CHAPTER 11 PLAN


           CAME ON FOR CONSIDERATION the Emergency Motion to Enforce the Gate-Keeping

Provisions of the Confirmed Chapter 11 Plan (“Motion”) filed by National Bank of Kuwait,

S.A.K.P., New York Branch (“NBK”). And the Court having considered the Response of Ali

Choudhri to the Motion (the “Response”) in which Mr. Choudhri does not oppose the relief sought

in the Motion, and the Court having further considered the record of the chapter 11 case, and all

other evidence before it, and with the consent of NBK and the plaintiffs in the Pending Actions

(defined below), and after due deliberation, the Court ORDERS that

           1.        The Motion is granted as and to the extent set forth herein.

           2.        The following actions (the “Pending Actions”) 1 are stayed as to all claims asserted

                     against NBK pending further order of this Court:

                     •     Naissance Galleria, LLC v. Zaheer, et al, Cause No. 2023-43755 pending in
                           the District Court of Harris County, Texas, 80th Judicial District.




1
    NBK had initially sought to stay the action styled as Naissance Galleria, LLC v. NBK, Cause No. 2023-41091
     pending in the District Court of Harris County, Texas, 129th Judicial District but the Plaintiff in that action
     nonsuited its claims therein. To the extent the Plaintiff in that action re-files its claims against NBK, then NBK
     may file a copy of this Order in that action as provided herein.


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            •     Galleria 2425, LLC, Naissance Galleria, LLC and Choudhri v. NBK,
                  Adversary Case No. 23-06009 pending in the U.S. Bankruptcy Court for the
                  Southern District of Texas, Victoria Division.

            •     Adversary Case No. 23-03263 in which Ali Choudhri’s Second Amended
                  Petition in Intervention remains pending.
   2.       Each plaintiff in the Pending Actions shall file a motion seeking a ruling, and

            showing cause why, the claims asserted in their respective Pending Actions are

            colorable, non-estate claims (each a “Show Cause Motion”) no later than October

            30, 2024. The failure to timely file a Show Cause Motion by a plaintiff shall be

            deemed to be an admission by that plaintiff that its Pending Action is an estate

            claim, or is not a colorable, non-estate claim, and the appropriate Pending Action

            shall be permanently stayed, removed if necessary to this Court, and dismissed with

            prejudice.

   3.       Any written response to a Show Cause Motion shall be filed on or before November

            12, 2024.

   4.       Any reply in further support of a Show Cause Motion shall be filed on or before

            November 22, 2024.

   5.       Any timely filed Show Cause Motion shall be heard on December 3, 2024 at

            9:00 a.m. in Courtroom 403, United States Court House, 515 Rusk St., Houston,

            Texas [parties by email may seek to reschedule this date, if they have pending

            conflicts].

   6.       NBK shall serve a copy of this order on the Plaintiffs and their counsel of record,

            in the Pending Actions within two business day of the entry of this Order.

   7.       NBK shall file a copy of this Order in each of the Pending Actions within two

            business days of the entry of this Order.



                   October  10,2018
                     April 04,  2024




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Submitted by:

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               THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION


                                     )
                                     )
In re:                               )           Chapter 11
                                     )
GALLERIA 2425 OWNER, LLC,            )           Case No. 23-34815
                                     )
                         Debtor.     )
                                     )
             ________________________________________________

 MOTION TO COMPLY WITH THE GATEKEEPING PROVISIONS OF THE
                  CONFIRMED CHAPTER 11 PLAN
         _________________________________________________

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU.
IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE
MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE
GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY
BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR RESPECTIVE
ATTORNEYS.




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To the Honorable Court:

       Ali Choudhri1 hereby files this motion to comply with the gatekeeping provisions

of the confirmed Chapter 11 Plan (Dkt. No. 566) (the “Plan”) and would respectfully show

as follows:

       1.      When the National Bank of Kuwait, S.A.K.B., New York Branch (“NBK”

or the “Bank”) proposed a plan of reorganization in this case (Dkt. No. 194), the Bank

snuck several provisions into its proposed plan that exist solely for its own benefit. The

Bank included itself among the “Exculpated Parties” that enjoy the Plan’s exculpation

provision, and among the “Released Parties” covered by the Plan’s third-party release, even

though the Bank is not a debtor in bankruptcy and has no connection to the Debtor, Galleria

2425 WL Owner, LLC or the bankruptcy estate other than as a lender. (See Plan arts.

I(A)(39) & (78); id. IX(C) & (D)) The Bank also granted itself the benefit of the Plan’s

gatekeeping provision, requiring parties to any litigation against the Bank bearing a

relationship to this bankruptcy—pending in any court, anywhere—to receive approval

from this Court before that litigation can continue. And the parties must obtain that

approval according to a procedure and standards appearing nowhere in the Bankruptcy

Code or the rules of state or federal procedure requiring them to demonstrate those claims



1
  Naissance Galleria, LLC has also raised claims against the Bank, but as the result of an injunction
entered in state court which is presently on appeal, Choudhri is not currently permitted to take
action on Naissance’s behalf. See Appellant’s Opening Br. at 12, Naissance Galleria, LLC v.
Zaheer, No. 01-23-00727-CV (Tex. App. Dec. 18, 2023) For that reason, Choudhri is filing this
motion solely on his own behalf but provides information on the claims brought by Naissance
Galleria, LLC for informational purposes. And because of the factually intertwined nature of the
claims asserted by Choudhri and Naissance, the Court should give Naissance’s claims the same
treatment as Choudhri’s for purposes of satisfying the gatekeeping provision.

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are “colorable.” No legitimate bankruptcy purpose is furthered by extending this

gatekeeping provision to the Bank. And the litigation subjected to the gatekeeping

provision has no connection to, or effect on, the Debtor, the estate, or the Plan’s

consummation. Instead, extending the gatekeeping provision to the Bank is simply the

Bank’s reward for proposing the plan that the Court approved, a plan that already richly

rewards the Bank with the right to credit bid on the valuable asset at the center of this

bankruptcy—at a foreclosure sale the Bank itself arranged.

       2.      The Bank now demands that the Court enforce the terms of the Plan’s

gatekeeping provision and invites the Court to dismiss claims against the Bank in the

following three pending cases (the “Challenged Litigation”):

              Naissance Galleria, LLC v. Zaheer, et al., Cause No. 2023-
              43755, pending in the 80th District Court of Harris County,
              Texas;

              Galleria 2425, LLC, Naissance Galleria, LLC and Choudhri
              v. NBK, Adversary Case No. 23-06009, pending in this Court;
              and

              Choudhri v. NBK and Zaheer, Adversary Case No. 23-03263,
              pending in this Court.


(See Dkt. No. 758 at 2-3; Dkt. No. 771)

       3.     But the Court should reject the Bank’s invitation. Gatekeeper provisions

certainly have their uses. And the Plan’s gatekeeping provision may have some legitimate

use in protecting the Trustee in this case. But the Bank’s demand to invoke that protection

for itself is a bridge too far. This Court’s gatekeeping services are not a party favor that the

Bank can obtain simply by participating in the bankruptcy. Nor are they a convenience

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whereby the Bank can shed liabilities simply because it would like to be rid of them. The

only legitimate purposes for a gatekeeping order include protecting the Debtor, the estate,

and the implementation of a bankruptcy plan. None of those purposes are served here.

Allowing the Bank to make use of the Plan’s gatekeeping provision would therefore

contravene longstanding precedent, exceed the confines of the Bankruptcy Code, and

violate fundamental limits on bankruptcy courts’ jurisdiction. Accordingly, the Plaintiffs

should not be forced to satisfy the Plan’s gatekeeping provision before proceeding.

       4.     But even if the Court did stretch its gatekeeping powers to protect the Bank,

there should be no doubt that each of the cases among the Challenged Litigation satisfies

the gatekeeping provision’s requirements. This Court has already declined to exercise

jurisdiction over one of these cases—finding that it would not “affect assets of the

bankruptcy estate”—and the Court should not revisit that decision to exercise jurisdiction

over that case now. (Order, Adv. No. 23-03259 (Bankr. S.D. Tex. Jan. 11, 2024) [Dkt No.

24]) All three cases concern a core set of operative facts regarding uncontroversial lender-

liability claims that are colorable under any standard, which is why no other court has

dismissed them. This Court should not be the first. The Challenged Litigation should be

permitted to proceed.

                                      BACKGROUND

       5.     The plan of reorganization that the Bank proposed (Dkt. No. 194) and the

Court confirmed (Dkt. No. 566) contains several provisions that protect the Bank and other

non-debtors from claims against other non-debtors. The Plan’s “Exculpation” provision

covers specified “Exculpated Parties,” which are defined to include the Bank (Plan art.

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I(A)(39)), protecting them from liability arising from conduct relating to the bankruptcy

itself, including such actions as “filing, negotiating, prosecuting, administering,

formulating, implementing, soliciting support or acceptance of, confirming or

consummating” the Plan, the Purchase Agreement, or the property to be distributed under

the Plan (id. art. IX(C)).

         6.   The Plan’s “Estate Releases” covers certain “Released Parties,” which are

also defined to include the Bank (Plan, art. I(A)(78)), granting them protection from claims

by “the Debtor” or the “Estate” concerning “the money borrowed by the Debtor” (id. art.

IX(D).

         7.   By their terms, neither of these provisions apply to the Challenged Claims.

While the Bank is both an Exculpated Party and a Released Party, neither of the Plaintiffs

in those cases, Ali Choudhri and Naissance Galleria, LLC (see Dkt. 758 at 2) qualify as

“the Debtor” or part of the “Estate.” Ali is the “Debtor’s principal.” (Id.) And Naissance is

provided mezzanine financing for the Debtors’ purchase of the property at issue. So the

Plan’s Estate Release provision does not apply to these claims. The Exculpation provision

does not apply either, because these claims arose before the bankruptcy and therefore do

not concern any Released Party’s conduct during the bankruptcy.

         8.   Yet oddly, the Plan’s gatekeeper provision provides protection that is broader

than both the Estate Releases and Exculpation provisions. That gatekeeping provision

pertains to any “Person who has held, holds, or may hold Claims” that are “in any way

related to the Debtor,” so long as they are brought “against any Released Party”—even if

the claims themselves are not released under the Estate Releases. (Plan, Art. IX(E)) And

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the gatekeeper provision does not merely apply to claims challenging conduct occurring

during the bankruptcy but covers claims that “arose before the Petition Date.” (Id.) For

these claims, the parties must seek “notice and a hearing” wherein the parties must

demonstrate to the Court that the claims asserted are valid before they can proceed. (Plan,

Art. IX(E)) And to demonstrate the validity of that claim, the party must demonstrate that

the claim is “colorable” and that the party “has standing and is otherwise entitled to assert”

it. (Id.)

        9.    The gatekeeper provision therefore purports to convey to the Bankruptcy

Court the authority to approve, control, adjudicate, and ultimately terminate claims in

pending litigation—including cases pending in other courts—merely because that litigation

is “related to the Debtor,” according to a test and a procedure appearing nowhere in the

Code or the federal rules. It allows the Bank to make use of this power to have the Court

dismiss claims that are not even released under the Plan. And the Bank now invokes this

provision to have the Court terminate all the Plaintiffs’ litigation against the Bank—even

when the courts where that litigation is pending would allow that litigation to proceed, and

even where the litigation at issue would not have any effect on the bankruptcy estate itself.

That is not something the Court can do—nor is it something the Court should do.

                                        ARGUMENT

I.      The Bank cannot invoke the Plan’s gatekeeping provision to dismiss any of the
        claims against the Bank in the Challenged Litigation.

        10.   The Court should not dismiss any of the claims asserted against the Bank in

the Challenged Litigation because none of those claims can properly be subject to the

Plan’s gatekeeping provision. So the Plaintiffs are not required to obtain the Court’s
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approval before pursuing them. And even if the Plaintiffs are required to obtain the Court’s

gatekeeping approval to proceed on these claims, Plaintiffs can readily make the showing

required to obtain that approval, because Plaintiffs’ claims are grounded in theories of

lender liability personal to them that have long been recognized under Texas law. That

makes them colorable by any standard.

       A.     Bankruptcy courts’ gatekeeping powers can only be invoked to
              protect trustees and other court-appointees—not private
              parties serving in no official bankruptcy capacity like the Bank.

       11.    The first problem with the Bank’s invocation of the Court’s gatekeeping

authority is that the Bank’s demand exceeds the limited authority that bankruptcy courts

possess to approve, control, adjudicate, or terminate claims in pending litigation. There is

nothing in the Bankruptcy Code that conveys such gatekeeping power to bankruptcy courts.

Instead, that power is derived from the century-old Supreme Court case, Barton v.

Barbour, 104 U.S. 126 (1881). “Under the ‘Barton doctrine,’ the bankruptcy court may

require a party to ‘obtain leave of the bankruptcy court before initiating [or maintaining]

an action in district court when the action is against the trustee or other bankruptcy-court-

appointed officer, for acts done in the actor’s official capacity.’” NexPoint Advisors, L.P.

v. Highland Capital Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 48 F.4th 419, 439 (5th

Cir. 2022) (quoting Villegas v. Schmidt, 788 F.3d 156, 159 (5th Cir. 2015) (emphasis

added)). The Barton doctrine was created to “prevent trustees from being subject to legal

proceedings that interfere with their ability to administer the estate.” In re Cir. City Stores,

Inc., 557 B.R. 443, 447 (Bankr. E.D. Va. 2016); see also generally COLLIER ON

BANKRUPTCY ¶ 10.01 (16th ed. 2023) (citing and discussing cases). The doctrine therefore

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serves to protect trustees and other bankruptcy-court appointees from vexatious and

harassing litigation that could drain the estate and hamper bankruptcy plan implementation.

       12.     There are several reasons why the Bank cannot legitimately invoke the

Barton doctrine to have the Court terminate any claims against the Bank in the Challenged

Litigation. For one thing, because the Barton doctrine exists only to protect trustees and

other bankruptcy-court appointees, it cannot be invoked by private parties like the Bank

that are not serving in any official court-appointed capacity. Indeed, in Highland Capital,

the Fifth Circuit refused to “extend gatekeeping protections to non-debtors,” including

Highland’s interim CEO. Matter of Highland Cap., 48 F.4th at 435–39 (vacating

gatekeeping provision “as to all parties except Highland Capital, the Committee and its

members, and the Independent Directors for conduct within the scope of their duties”). And

the Fifth Circuit’s only recent opinion that actually applies the Barton doctrine did so in

the context of a trustee, not a private corporation with no official bankruptcy role. See In

re Foster, No. 22-10310, 2023 WL 20872, at *5–*6 (5th Cir. Jan. 3, 2023). For this reason

alone, the Bank is not entitled to invoke the Bankruptcy Court’s gatekeeping authority.

       13.     Furthermore, not only are Barton’s gatekeeping protections reserved for

actors appointed to serve in official bankruptcy capacities, they only protect those actors

for actions taken within the scope of their “official duties.”2 But the Bank has no official




2
  In re Ondova Ltd. Co., 914 F.3d 990, 993 (5th Cir. 2019); see also In re Christensen, 598 B.R.
658, 665 (Bankr. D. Utah 2019); Phoenician Mediterranean Villa, LLC v. Swope (In re J & S
Props., LLC), 545 B.R. 91, 105 (Bankr. W.D. Pa. 2015). A typical example is litigation against a
receiver who seizes or otherwise attempts to administer property that is not receivership property,

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duties in implementing the Plan or overseeing the Debtor’s dissolution. The foreclosure

sale at the center of the bankruptcy will be conducted and overseen by the Liquidation

Trustee. (See Plan, art. VI(A)) The only duties that the Plan specifically assigns to the Bank

are purely ministerial. And the only substantive right that the Plan provides to the Bank is

the completely voluntary (and unofficial) right to credit bid the amount of its debt at the

foreclosure sale for its own private benefit, which comes with a contractual promise to pay

certain junior claims if its bid is successful. (See Plan, Introduction) The Challenged

Litigation does not contest the Bank’s exercise of any of these powers, rights, or

responsibilities conveyed under the Plan. That litigation pertains only to the Bank’s pre-

bankruptcy conduct that arose long before the Plan was ever proposed. For this additional

reason, Barton does not apply.

       14.   Indeed, the only reason the Plan contains gatekeeping protections for the Bank

is that the Bank proposed the Plan—and thus snuck that protection into the Plan for itself,

demanding it as a condition to undertaking its minimal responsibilities in implementing the

Plan. And the Bank did not seek this protection to benefit the estate, but simply to allow it

to escape litigation it would rather not face. That is not a legitimate use of Barton

gatekeeping powers. The Fifth Circuit has held that even when private parties face

“exposure” to truly “vexatious” and frivolous litigation, bankruptcy courts are not

empowered to use gatekeeping powers to halt it. See Highland Capital Mgmt., 48 F.4th at




but actually belongs to a third party. See In re DMW Marine, LLC, 509 B.R. 497, 506 (Bankr. E.D.
Pa. 2014) (citations omitted).

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430, 440 n.19. And as explained below—the Challenged Litigation is neither vexatious nor

frivolous.

       B.     Bankruptcy courts’ gatekeeping powers have been significantly
              constrained by the Supreme Court’s decision in Purdue
              Pharma.

       15.    In any event, whatever gatekeeping powers bankruptcy courts possess have

been significantly constrained by the Supreme Court’s recent decision in Harrington v.

Purdue Pharma L.P., 144 S. Ct. 2071 (2024) (“Purdue Pharma”), which held that “[t]he

bankruptcy code does not authorize a release and injunction that, as part of a plan of

reorganization under Chapter 11, effectively seek to discharge claims against a nondebtor

without the consent of affected claimants.” Id. A bankruptcy court’s exercise of its

gatekeeping authority to dismiss litigation against non-debtors is the functional equivalent

of the non-consensual releases outlawed by Purdue Pharma—especially when used to

dismiss litigation pending in other courts. Both involve exercises of authority to control,

adjudicate, and ultimately terminate claims in litigation without consent, and without

consideration—and Purdue Pharma confirms that this something that bankruptcy courts

are not empowered to do.

       16.   For all these reasons, allowing the Bank to terminate the Challenged

Litigation would exceed the Court’s legitimate authority to impose gatekeeping conditions

under Barton. If the Bank wants to halt this litigation, it can do so through established

procedural mechanisms in the Challenged Litigation.

       C.     The Court would exceed its jurisdiction by dismissing the
              Challenged Litigation.

       17.    The Court would also exceed its jurisdiction by using the gatekeeping powers
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provided under the Plan to adjudicate and dismiss the Challenged Litigation. The Bank

seeks only to dismiss litigation against itself, and dismissing that litigation affects only the

Bank—having no conceivable effect on the Debtor or the estate. Indeed, on January 11,

2024, this Court remanded one of the proceedings among the Challenged Litigation—

Cause No. 2023-43755—back to the 80th District Court of Harris County because it

determined that “all the causes of action constitute claims rooted in Texas state law,” “there

are no bankruptcy issues or claims in the state court litigation,” and “there has been no

showing that the remand would affect assets of the bankruptcy estate.” (Case No. 23-03259

[Dkt No. 24] (Bankr. S.D. Tex. Jan. 11, 2024)) The same is true of the other cases in the

Challenged Litigation—because, as the Bank insists, these cases all share the same “basic

facts and claims.” (Dkt. No. 758 at 4) But that shared lack of connection to the estate

deprives the Court of jurisdiction to resolve any of these cases through its gatekeeping

powers.

       18.    As the Fifth Circuit recognized in Highland Capital, the question of whether

a claim may be resolved by a bankruptcy court through exercise of gatekeeping powers

under Barton is entirely separate from the question of whether the Court has jurisdiction

to resolve that litigation. 48 F.4d at 439 (holding, after approving of a gatekeeping

provision to protect certain court-appointed officials, that “the bankruptcy court, faced with

pre-approval of a claim” on remand, would still have “to determine whether it had subject

matter jurisdiction over that claim in the first instance.”). That makes sense, because the

mere fact that the Plan contains a gatekeeping provision does not confer jurisdiction to

resolve claims under that gatekeeping power: “[P]arties cannot confer subject matter

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jurisdiction on federal courts,” including through a bankruptcy plan. Randall & Blake Inc.

v. Evans, 196 F.3d 579 (5th Cir. 1999).

       19.    Instead, “[j]urisdiction for bankruptcy cases is rooted in the provisions of 28

U.S.C. § 1334.” Matter of Walker, 51 F.3d 562, 568 (5th Cir. 1995) (citing Celotex Corp.

v. Edwards, 514 U.S. 300, 303 (U.S.1995) (stating that “[t]he jurisdiction of the bankruptcy

courts ... is grounded in and limited by statute”)). And a “third-party action” between two

non-debtors “does not create ‘related to’ jurisdiction” under section 1334 “when the asset

in question is not property of the estate and the dispute has no effect on the estate.” Feld v.

Zale Corp. (In re Zale Corp.), 62 F.3d 746, 753 (5th Cir. 1995). Accordingly, because the

claims against the Bank asserted in the Challenged Litigation do not have any effect on the

estate, the Court lacks jurisdiction to hear them—much less dismiss them.

       20.    It does not matter that the Plan’s gatekeeper provision requires that the

dispute must be “related to the Debtor” to fall within its scope. (Plan, art. IX(E)). Mere

“shared facts between the third-party action and a debtor-creditor conflict do not in and of

themselves suffice to make the third-party action ‘related to’ the bankruptcy.” In re Zale

Corp., 62 F.3d at 753. Accordingly, a mere factual interrelationship between the

Challenged Litigation and the arguments asserted in the bankruptcy does not convey

jurisdiction to the Court to resolve that litigation.

       21.    The Bankruptcy Court therefore lacks the power to require the Plaintiffs to

comply with the gatekeeping orders to maintain that litigation, and the Plaintiffs in the

Challenged Litigation are not required to obtain this Court’s permission before maintaining

it. See Tufts v. Hay, 977 F.3d 1204, 1210-11 (11th Cir. 2020) (“Thus, under the

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‘conceivable effects’ test for section 1334(b), the Bankruptcy Court did not have

jurisdiction to consider Tufts’s action, and Tufts counsel were not required to obtain leave

from that court before filing this action in the District Court.”).

II.    The claims raised against the Bank satisfy the Plan’s gatekeeping provision
       because they raise colorable lender-liability claims that the Plaintiffs have
       standing to pursue.

       22.    Yet even if the Plaintiffs’ claims against the Bank in the Challenged

Litigation may be properly subjected to the Plan’s gatekeeping provision, those claims

satisfy the gatekeeping provision’s standard for obtaining this Court’s permission to

maintain those claims.

       23.    The remaining two actions include claims against the Bank, but these claims

easily satisfy the gatekeeping provision’s low threshold for maintaining a claim. Two of

these cases originated in state court, and one was remanded in January. (Case No. 23-03259

[Dkt No. 24] (Bankr. S.D. Tex. Jan. 11, 2024)) The final case is an adversary proceeding

that the Debtor filed in this court in conjunction with its original bankruptcy. See Exhibit

1 (Original Complaint, No. 23-06009 (Bankr. S.D. Tex. Sept. 19, 2023) [Dkt. No. 1]) And

the claims raised against the Bank in both cases are “colorable.”

       24.    The term “colorable” is not defined in the Plan or in the gatekeeping

provision, but it nevertheless invokes the exceptionally low standard for determining

whether a defendant has been fraudulently joined to avoid diversity jurisdiction. See

Overholt v. Purina Animal Nutrition LLC, Case No. 1:14-CV-1216, 2015 WL 1631855, at

*2 (W.D. Mich. Apr. 13, 2015) (“Under the fraudulent joinder rule, courts may disregard

the citizenship of parties against whom there is no ‘colorable’ cause of action.”). This

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standard is “similar to, but more lenient than, the analysis applicable to a Rule 12(b)(6)

motion to dismiss.” Casias v. Wal-Mart Stores, Inc., 695 F.3d 428, 433 (6th Cir. 2012).

And even under a Rule 12(b)(6) analysis, the standard that courts apply is decidedly lenient

and plaintiff-friendly, requiring a court to evaluate the sufficiency of plaintiff’s complaint

by accept[ing] all well-pleaded facts as true, viewing them in the light most favorable to

the plaintiff.” In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir.

2007) (internal quotation marks and alteration omitted). The Court must resolve all

disputed questions of fact and ambiguities in the controlling state law in favor of the non-

removing party. Coyne, 183 F.3d at 493. And to be “colorable,” a claim need not meet “the

stricter 12(b)(6) pleadings under Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) and

Ashcroft v. Iqbal, 556 U.S. 662 (2009).” Overholt, 2015 WL 1631855, at *7-8.

       25.    Plaintiffs’ remaining claims against the Bank readily meet this lenient

standard. The cases concern a common core of operative facts underlying all three cases in

the Challenged Litigation relating to the Bank’s efforts to foreclose on the Debtor’s

property so it could obtain that property for itself. See The Bank loaned the Debtor over

$50 million to purchase the property (Dkt. No. 565 at 4), but throughout the life of the loan,

the Bank made it progressively more difficult for the Debtor to pay that loan back. As

Plaintiffs have alleged in the state court proceedings, the Bank inserted itself directly into

the Debtor’s business operations, interfering with those business operations in numerous

unjustified ways. Exhibit 2 (Plaintiff’s Sixth Amended Petition, No, 2023-22748 (Harris

County Dist. Ct. Dec. 18, 2023). And the pleadings in Case No. 23-6009, the adversary

proceeding which remains pending in this Court, contains similar allegations of

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interference by the Bank. (Ex. 1, ¶¶9-21)

       26.       For example, the Bank thwarted the Debtor’s efforts on at least five different

occasions to sell interests in the building that would have cleared the Bank’s debt—often

through strategic declarations of defaults or foreclosure postings designed to discourage

prospective buyers. (See Ex. 2, ¶¶ 22, 31- 33) The Bank likewise refused to approve or

ignored at least nine different offers to lease space in the building, thereby preventing the

Debtor from raising funds to pay off the loan, eventually forcing the Debtor to bring suit.

(Id. ¶¶23, 27)

       27.       After the parties settled their litigation through a Confidential Settlement

Agreement (Dkt. No. 403-4) hat reduced the principal amount due under the loan, Plaintiff

alleged that the Bank improperly disclosed the terms of the Confidential Settlement

Agreement in direct violation of its express confidentiality obligations by disclosing the

new loan balance to potential purchasers of the property, thereby revealing the Debtor’s

financial struggles, improperly impacting these prospective buyers’ evaluation of the

property’s market value, “chill[ing] the market” for the property, and converting these

potential buyers who would have negotiated a sale with the Debtor into potential purchasers

of the Bank’s note. (See Ex. 2, ¶¶28-29, 63-64)

       28.       The Bank also actively attempted to wrest control of the Debtor and its

property from Choudhri by interfering with Choudhri’s control of Naissance. The Bank

worked in league with Azeema Zaheer, Choudhri’s ex-girlfriend, who acted as his agent in

running Naissance until Ali exercised his right to take over control of the company from

her. (See Ex. 2, ¶¶ 36-46) And these efforts by the Bank and Zaheer were all part of a larger

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effort by Choudhri’s disgruntled business partner, Osama Abdullatif, to seize Choudhri’s

business interests by brute force and fraud. Abdullatif has arranged to have hard drives

seized from Choudhri’s companies (Exhibit 3 at 1 [Declaration of Quanell X Farrakhan

No. 1]) He has also even arranged for Choudhri to be accused of a murder-for-hire plot to

kill Abdullatif himself, which authorities dismissed as “a hoax.” (Id.; see also Exhibit 4

[Quanell X Farrakhan Aff. No. 2]) And Omar Khawaja, an attorney and close business

associate of Abdullatif, admits to representing Abdullatif and Zaheer in furtherance of

Abdullatif’s avowed goal of seizing all of Choudhri’s business interests through

litigation—under their theory: “If [Ali] own[s] it, we own it.” (Exhibit 5 [Deposition of

Omar Khawaja] at 23: 30: 17-21; 163:8-165:2; 194:3-6)

      29.    Plaintiffs supported these allegations with voluminous documentary

evidence, including examples of lease proposals that were rejected or ignored and elicit

communications between Bank representatives and Zaheer. (See Ex. 2, pp. 6-7, 8, 9)

Indeed, Plaintiffs produced a key document in their pleadings in which the Bank

encouraged Zaheer to “stay on” until the Bank could find a “suitable replacement for her,”

even after Choudhri had exercised his right to regain control over the company, thereby

demonstrating the Bank’s intentional efforts to interfere with Choudhri’s management of

Naissance. (See Dkt. No. 88-29 at 1-2) The operative pleadings in these actions raise

numerous claims against the Bank, including breach of contract, tortious interference,

fraud, business disparagement, breach of the duty of good faith and fair dealing, unjust

enrichment, and conspiracy. See Ex. 2, ¶¶ 62, 104)

      30.    The Plaintiffs have also alleged how the Debtor, Naissance, and Choudhri all

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experienced independent injuries from the Bank’s conduct: While the Debtor was deprived

of its right to survive and thrive as an ongoing business, Naissance and Choudhri suffered

their own loss of a significant asset. And this establishes that Naissance and Choudhri each

have standing to pursue claims against the Bank independently.

       31.    While the facts alleged in the Challenged Litigation paint an extraordinary

factual picture, they nevertheless present classic lender liability claims that have long been

recognized under Texas law. Such lender-liability claims frequently involve both breach-

of-contract and tort claims. See Williams v. National Mortg. Co., 903 S.W.2d 398, 404

(Tex. Ct. App. 1995); Jones v. First Nat’l Bank of Anson, 846 S.W.2d 107, 109 (Tex. Ct.

App. 1992, no writ) (concerning causes of action for breach of duty of good faith and fair

dealing, breach of fiduciary duty, negligent misrepresentation, conversion, estoppel, and

violations of the Deceptive Trade Practices Act); Lamar Sav. Ass’n v. White, 731 S.W.2d

715, 717-18 (Tex. Ct. App. 1987) (causes of action for breach of contract, breach of

fiduciary duty, usury, duress, estoppel, and tortious interference).

       32.    And courts have found such lender-liability claims to be viable under factual

circumstances that are virtually identical to those at issue in this case. Texas courts have

found that lenders can be held liable for wrongful defaults and wrongful acceleration. See,

e.g., Rey v. Acosta, 860 S.W.2d 654 (Tex. Ct. App. 1993); Dixon v. Brooks, 604 S.W.2d

330, 334 (Tex. Ct. App. 1980). Courts also routinely permit lenders to be held liable in the




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context of improper refusals to approve leases.3 And courts have even allowed borrowers

to maintain claims that banks have conspired with others to interfere with their borrowers’

businesses. See, e.g., State Nat’l Bank v. Farah Mfg. Co., 678 S.W.2d 661 (Tex. Ct. App.

1984). Indeed, the Bankruptcy Court for the Northern District of Texas recently found a

lender liable under factual circumstances that are equally extreme to this case. See Bailey

Tool & Mfg. Co., et al. v. Republic Bus. Credit (In re Bailey Tool & Mfg. Co.), Adv. No.

16-03025-SGJ (Bankr. N.D. Tex. December 23, 2021) (holding lender liable under

numerous theories for, among other things, taking aggressive action to protect its interests,

impacting the company’s liquidity, and communicating in secret with the company’s

customers to have them pay the bank instead of the company). These cases demonstrate

that the legal theories that Plaintiffs have asserted are well-founded in Texas law, and the

allegations, while extraordinary, are hardly implausible. And that is why no court has ever

dismissed them. That makes them colorable.

       33.    And while, during plan confirmation, the Court concluded that these claims

were “implausible” and “not viable” (Dkt. No. 565 at 17), Plaintiffs respectfully submit

that these determinations should not be the Court’s final word on the matter. During plan

confirmation, the Plaintiffs were not permitted to present, and the Court was not permitted

to hear, a full airing of the evidence to support the Plaintiffs’ claims. It heard a mere

summary. But even in that limited summary, the Court heard testimony from two of the




3
 See, e.g., Metropolitan Corporate Counsel, Liability Awaits the Unwary: Lenders and Leasing
Decisions (Dec. 13, 2004), https://bit.ly/4e6fGe7.

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state’s most respected attorneys, Tom Phillips, former Chief Justice of the Texas Supreme

Court, and Jerry Alexander, both of whom felt the claims were so strong that they were

both willing to take the case on contingency. (See Dkt. No. 570) While the Court discounted

that testimony because the lawyers explained only that the Debtor “had claims” but never

“explained how or why these claims arose,” those questions are answered by the operative

pleadings in the pending litigation, which provide extensive factual detail and evidence

regarding the origin and basis for these claims. (Dkt. No. 565 at 17)

       34.    The Court made barely any mention of the factual or legal merits of those

claims. Instead, the Court simply found the claims incredible, questioning why the Debtor

had “never been able” to pay the note, determining that it was unlikely likely that the Bank

had “breached” the Settlement Agreement first, excusing the Debtor’s own failure to pay,

and challenging Choudhri’s credibility as a witness. (Dkt. No. 565 at 17) But the first of

these holdings ignore the Plaintiffs’ factual allegations—which the Court must accept as

true—that the Bank interfered with the Debtor’s ability to pay the note. And the latter two

should not weigh in the balance in determining whether Plaintiffs’ claims against the Bank

are “colorable,” which requires examining solely the allegations pleaded and setting aside

questions of witness credibility. Indeed, the fact that two well-respected Texas attorneys

are willing to pursue the litigation on a contingency basis provides ample evidence that the

claims are in fact “colorable.”

       35.    Finally, while the Court expressed concern about the motivations behind

these various pieces of litigation, concluding that they were primarily meant “to postpone

a real estate foreclosure” (Dkt. No. 565 at 16), those concerns are unfounded. Lender

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liability claims are frequently asserted in efforts to halt foreclosure. See, e.g.,

Williams, 903 S.W.2d at 404; Jones, 846 S.W.2d at 109. And the factual context in which

those claims arose does not undercut their viability.

                                       CONCLUSION

       For these reasons, Ali Choudhri respectfully requests that this Motion to Comply

with the Gatekeeping Provisions of the Confirmed Chapter 11 Plan be granted, and that

none of the claims in the challenged litigation should be dismissed.

                                               Respectfully submitted,

                                               /s/ J. Carl Cecere

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                                                  Counsel for 2425 WL, LLC and Ali
                                                  Choudhri




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                             CERTIFICATE OF SERVICE

      The undersigned certifies that on October 30, 2024, a true and correct copy of
the foregoing was served via the Court’s CM/ECF system to all parties who are
deemed to have consented to ECF electronic service, and via email, including to
each of the parties listed below.

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                               EXHIBIT 1




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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

                                                   §
In re:
                                                   §
                                                   §     Case No. 23-60036
GALLERIA 2425 OWNER, LLC
                                                   §     (Chapter 11)
                                                   §
         Debtor,
                                                   §
                                                   §
GALLERIA 2425 OWNER, LLC,                          §
NAISSANCE GALLERIA, LLC, AND                       §
ALI CHOUDHRI                                       §
                                                   §
         Plaintiffs,                               §     Adversary No. ________
                                                   §
v.                                                 §     CONTAINS JURY DEMAND
                                                   §
NATIONAL BANK OF KUWAIT, S.A.K.P.,                 §
NEW YORK BRANCH                                    §
                                                   §
         Defendant.                                §

              GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC,
               AND ALI CHOUDHRI’S ORIGINAL COMPLAINT AGAINST
              NATIONAL BANK OF KUWAIT, S.A.K.P., NEW YORK BRANCH

         COME NOW Galleria 2425 Owner, LLC, Naissance Galleria, LLC, and Ali Choudhri

(“Plaintiffs”), and make and file this their Original Complaint against National Bank of Kuwait,

S.A.K.P., New York Branch (“Defendant”), and for same show the Court as follows:

                                           I.
                                 JURISDICTION AND VENUE

         1.      This Court has personal jurisdiction over the Defendant named in this Complaint

due to the fact that the Defendant transacts business in the State of Texas, including entering into

a contract with a resident of the State of Texas performable in whole or in part within the State of

Texas, or have committed a tort in whole or in part in Texas and are thus subject to the Texas Long



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Arm Statute, Section 17.042 of the Texas Civil Practice and Remedies Code. The Court also has

personal jurisdiction over the Defendants pursuant to 29 U.S.C. §1132(f).

       2.      The Court has subject matter jurisdiction of this Adversary Proceeding pursuant to

28 U.S.C. § 1334.

       3.      This adversary proceeding constitutes a core proceeding under 28 U.S.C. §

157(b)(2)(A), (B), (C), (D), (H), and (O) because it will determine the amount of NBK’s claim

against the Debtor. To the extent the Court determines that any of the claims asserted herein are

not core, the Plaintiffs hereby request and demand a trial by jury.

       4.      Venue of the Bankruptcy Case and the Adversary Proceeding is appropriate in this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                              II.
                                            PARTIES

A.     Galleria 2425 Owner, LLC.

       5.      Galleria 2425 Owner, LLC (“Debtor”) is a limited liability company doing business

in Texas and is the owner of the building located at 2425 West Loop S., Houston, Texas (“2425

Building”). It is the Debtor in the bankruptcy case in which this Adversary is filed.

       6.      Naissance Galleria, LLC is a limited liability company doing business in Harris

County, Houston, Texas.

       7.      Ali Choudhri is an individual residing in Harris County, Texas.

       8.      Defendant National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) is a

banking corporation organized under the laws of Kuwait, acting through its New York Branch.

Defendant has not designated a registered agent for service of process in the State of Texas, but

under Rule 7004(a)(8) of the Federal Rules of Bankruptcy Procedure, NBK may be served by

mailing a copy of the Complaint to Corporation Service Company, 299 Park Avenue, New York,


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New York 10171. Plaintiff requests that the clerk issue citation at this time. NBK has also filed a

motion to dismiss the bankruptcy of Debtor and it and its counsel will be served by ECF in that

proceeding.

                                          III.
                                   FACTUAL BACKGROUND

       9.      In 2018, Defendant NBK loaned certain funds to Debtor. There have been various

disputes between the Debtor and NBK about the timeliness of payments and the extent and validity

of Defendant’s security, but the gravamen of Debtor’s Complaint is NBK has continually

interfered with the Debtor’s ability to lease the 2425 Building to produce revenue and Debtor’s

ability to sell the 2425 Building to pay NBK off. Every time NBK has so interfered, it has then

blamed the Debtor for its inability supposedly to meet some of the loan terms.

       10.     For example, in January 2021, Plaintiff Ali Choudhri, who is vilified by NBK in

various pleadings, had the building at 2425 West Loop South, Houston, Texas, the asset of the

Debtor, sold for a purchase price of $85 million, more than enough to clear NBK’s debt. Attached

hereto as Exhibit 1 is a letter dated January 15, 2021 from SIBS International and two purchase

contracts which would have paid off not only NBK, but left the Debtor and the other Plaintiffs

with a great deal of value. NBK, rather than facilitate this sale, issued a formal notice of default

to the Debtor and its intent to accelerate the loan on June 29, 2021, while the SIBS International

deal was in progress, killing that deal.

       11.     The same was true with regard to NBK’s interference with the Debtor’s attempt to

lease space in the building to provide revenue so it could operate and make loan payments. By

August 2021, this situation had become untenable due to NBK’s refusal to approve new tenants

and new leases, prompting the Debtor on August 13, 2021 to send NBK a detailed letter regarding

lease-up and renewal prospects for discussions, none of which, it seemed NBK would approve.


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            Healthcare Service Organization

               ▪    Size: 130,000+ RSF – large client requirement in their preliminary planning stages:
                    Industry: Healthcare Service Organization Type of use: Administration Offices
                    Direct/Sublease Commencement date: Q3/2023 Term:5-10 yrs.                They are
                    specifically VERY interested in amenities available, for example: deli, gym, day care,
                    conference center (# of seats), training center (# of seats).

            Invesco

               ▪    We met with the team twice and are actively pursuing them for 2425. They are
                    interested in a 157-month lease term for 208,830 SF of Net Rental Area.

            Financial Services Firm

               ▪    Office AREA: West Houston (610 West, Hwy 290, Beltway 8) SPACE: Open Concept
                    SIZE: Approximately 20,000 – 25,000 rsf PARKING: 5/1000 ratio OCCUPANCY:
                    Late 2Q22/Early3Q22 TERM: 36-60 months with renewal options This tenant is
                    currently at 24 Greenway on their top floor and have been looking at other A buildings.

            Beyond Finance

               ▪    We are discussing a 68-month lease term for +/- 40,000 rentable SF.

            Banco Affirme

               ▪    We submitted a 64-month lease term for 4,545 SF of Net Rental Area.

            Walls Bank (existing tenant)

               ▪    Renew 3,054 SF of rental space for 60-month term starting January 1, 2022.

            Others (working directly with ownership)

               ▪    ResMed (https://www.resmed.com/en-us/), interested in the entire building, working
                    directly with Dr. Peter Farrell, Founder and Chairman

               ▪    Healthstore Holdings (https://www.healthstore.com/), interested in a 15-year term with
                    80,000 SF in phase 1 and 75,000 SF in 12 months as phase 2

               ▪    Immunicom (https://immunicom.com/), interested in at least two full floors, moving HQ
                    from San Diego, CA

       12.      Reproduced below is an August 16, 2021 email from counsel for the Debtor to NBK

forwarding multiple leases for approval that NBK had failed to approve or even respond to.




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This lack of approval, or finding obstacles to approve, was not new. In September 2019, Related

Group had reached out to lease the parking garage located at the 2425 Building to be used for

overflow, for parking up to 110 spaces. NBK’s authorized representative Michael Carter would

not approve this lease (note “nbkny” email address below– i.e. National Bank of Kuwait, New

York Branch), which would have generated a great deal of revenue for the Debtor.




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       13.     The situation became so untenable that in September 2021, Debtor initiated a

lawsuit against NBK.

       14.     In good faith, even during the pendency of this litigation, the Debtor was still trying

to get tenants into the building and get NBK’s approval to do so, so it would not claim additional

breaches of loan agreements. On July 2, 2022, the Debtor sent NBK five leases for approval,

which NBK did not approve.

       15.     The parties litigated for eleven (11) months until August 22, 2022, when they

entered into a Confidential Settlement Agreement. The entire Confidential Settlement Agreement

will be submitted to the Court in camera at the appropriate time, and the Debtor should be allowed

to use it in this Adversary since the breach of that Settlement Agreement by NBK is not only

actionable, but was also devastating to Debtor. Because NBK has a way of interpreting any action

of the Debtor as one to breach or avoid some purported contractual obligation or other, when the

reverse is entirely true, the Confidential Settlement Agreement has not been attached. NBK has

prevented Debtor’s successful performance under any and all agreements it has with NBK,

including the Confidential Settlement Agreement.



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       16.     The Confidential Settlement Agreement permitted a timeframe in which Debtor

could sell the 2425 Building, and Debtor was successful in receiving a hard Letter of Intent dated

January 17, 2023 to purchase the building from Caldwell Soames. A true and correct copy of that

hard Letter of Intent is attached hereto as Exhibit 2. Again, while these negotiations were ongoing,

NBK took actions which interfered with the continuation and closing of that transaction, including

issuing a notice of foreclosure on March 29, 2023 in breach of the Confidential Settlement

Agreement, which Debtor believes was done intentionally to prevent the sale. The sale would

have cleared the Bank of Kuwait debt as it stood at that time and left great value for the other

Plaintiffs. Debtor believes that Bank of Kuwait recognized that greater value and wanted to take

it for itself by foreclosure in a “loan to own” gambit.

       17.     There are tremendous factual inaccuracies that NBK represents to courts and

continues into these proceedings. For example, in its Motion to Dismiss the Debtor’s Bankruptcy,

while it is absolutely true that temporary restraining orders were filed to attempt to prevent a

foreclosure by NBK and its takeover of the 2425 Building, they were also granted. The facts

presented that NBK had not allowed the Debtor to lease up the building to generate revenue and

had killed two transactions that Debtor was working on that would have cleared NBK and left

value for the Debtor and the other Plaintiffs.

       18.     Additionally, NBK posted for foreclosure in 2023 early, and against an extended

grace period that a State Court had given Debtor, which chilled the bidding process and interest in

the 2425 Building completely. No one wants to buy a building posted for foreclosure. Debtor

believes that NBK knew this and did it on purpose to prevent the Debtor from successfully selling

the property and paying off the loan, so NBK could foreclose and become the owner of the 2425

Building.



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       19.     Not the least of the misstatements that NBK makes about the Debtor are those hard

statements that the Debtor has not made any payments to NBK since March 6, 2021. This is stated

both in paragraph 13 of NBK’s Motion to Dismiss Debtor’s Bankruptcy, and in NBK’s Mr.

Carter’s Declaration (paragraph 8 of Declaration of Michael Carter).

       20.     The absolute opposite is true. Representatives of NBK have admitted in writing

that the following substantial payments have been made to NBK well after March 6, 2021:

               a)      $801,509.42 paid by Debtor to NBK on August 27, 2022;

               b)      $80,000 paid by Debtor to NBK on April 18, 2023;

               c)      $80,000 paid by Debtor to NBK on May 10, 2023.

This is almost One Million Dollars ($1,000,000) that not only does NBK not give credit to the

Debtor for having made the payments, but again, it vilifies it, saying exactly the opposite that no

payments (zero) have been made since March 6, 2021.

       21.     After NBK’s disclosures of the situation created by the Confidential Settlement and

the wrongful posting for foreclosure during an extension of that agreement, potential buyers of the

property who would otherwise become good prospects to negotiate a sale with Debtor, became

potential purchasers of the NBK Note and began negotiating with NBK. NBK materially breached

the Confidential Settlement Agreement and interfered with these potential purchases and with

these business relationships.

                                          IV.
                                     CAUSES OF ACTION

      COUNT 1: BREACHES OF CONFIDENTIAL SETTLEMENT AGREEMENT

       22.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.




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       23.       Debtor and the other two Plaintiffs and Defendant reached a valid and enforceable

agreement expressly set forth in the Confidential Settlement Agreement.           Pursuant to the

Confidential Settlement Agreement, Defendant agreed to keep the contents and terms of the

parties’ agreement completely confidential. Debtor dismissed its very good claims in the Lawsuit

against Defendant in reliance upon Defendant’s promises, including but not limited to,

Defendant’s promise to uphold the confidentiality obligations set forth in the Confidential

Settlement Agreement.

       24.       Defendant breached the Confidential Settlement Agreement by disclosing its

contents and terms to third parties in violation of the agreement’s express confidentiality

provisions. These disclosures prevented Debtor from closing on the sale of the 2425 Building and

chilled the market for other buyers for Debtor’s property. The same is true for NBK’s wrongful,

early filing of a notice of foreclosure on the 2425 Building, also in violation of the Confidential

Settlement Agreement.

       25.       Debtor and all Plaintiffs hereby sue NBK for these breaches of the Confidential

Settlement Agreement. The damages for these breaches are the amounts of money that the Debtor

would have made from the contemplated transaction, which is in excess of Fifty Million Dollars

($50,000,000).

              COUNT 2: TORTIOUS INTERFERENCE WITH CONTRACT

       26.       Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       27.       As alleged, NBK tortiously interfered with the SIBS International contract

(Exhibit 1) and the Caldwell Soames Inc. contract (Exhibit 2), causing damages to the Debtor and

the other two Plaintiffs in the net amounts of the contracts which, but for NBK’s interference,



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would have been paid to the Debtor and the other two Plaintiffs. These damages are excess of

Fifty Million Dollars ($50,000,000), for which the Debtor hereby sues NBK.

       COUNT 3: TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS

       28.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       29.     After NBK’s disclosures of the situation created by the confidential settlement and

the wrongful posting for foreclosure during a judicial extension of the grace period contained in

that agreement, potential buyers of the property who would otherwise have become good prospects

to negotiate a sale with Debtor, became instead potential purchasers from NBK of the NBK note

and began contacting and negotiating or attempting to negotiate with NBK instead of the Debtor.

       30.     This interference by NBK damaged Debtor in amounts to be determined after

discovery, but which exceed the minimum jurisdictional limits of this Honorable Court.

    COUNT 4: FRAUD AND FRAUDULENT INDUCEMENT/LENDER LIABILITY

       31.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       32.     NBK never had any intention of living up to the Confidential Settlement

Agreement. The Debtor was winning the lawsuit against NBK, so NBK induced the Debtor into

dismissing its lawsuit and entering into the Confidential Settlement Agreement which NBK had

no intention of living up to.      This fraud works an estoppel against NBK (see Count 6,

“ESTOPPEL”). Plaintiffs hereby sue NBK for the fraud and fraudulent inducement and alleges it

constitutes the basis for an action for Lender Liability.

       33.     NBK knew at the time it entered into the Confidential Settlement Agreement it

would deflect and tortiously interfere with the Debtor’s attempts to sell the 2425 Building so NBK



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would be able to foreclose on the building and take all of the value instead of just the value of the

amounts otherwise owed at the time. The fraud, fraud in the inducement, lender liability, and

subsequent interference for all of which Plaintiffs hereby sue NBK. These actions by NBK have

damaged the Debtor and the other two Plaintiffs in an amount of at least Thirty Million Dollars

($30,000,000).

                         COUNT 5: FRAUDULENT CONVEYANCE

       34.       Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       35.       The funds paid by the Debtor to NBK:

                 a)     $801,509.42 paid Debtor to NBK on August 27, 2022;

                 b)     $80,000 paid by Debtor to NBK on April 18, 2023; and

                 c)     $80,000 paid by Debtor to NBK on May 10, 2023

were fraudulently induced by NBK and were payments for which the Debtor received nothing in

return and constitute fraudulent conveyances in violation of U.S.C. § 544, 548, and 550 and TEX.

BUS. & COMM. CODE §§ 24.001, et seq., for which the Debtor hereby sues NBK to recover all such

amounts.

                                     COUNT 6: ESTOPPEL

       36.       Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       37.       NBK is estopped from claiming Debtor owes any more than the amount stated and

agreed to in the Confidential Settlement Agreement because of its fraud and fraudulent inducement

alleged previously.




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                         COUNT 7: BUSINESS DISPARAGEMENT

       38.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       39.     The posting of the 2425 Building during any negotiation periods and/or the

extended grace period when actual buyers were moving toward concluding a deal and when other

potential buyers were expressing interest in the 2425 Building, constituted business disparagement

against the Debtor for which Debtor hereby sues NBK. The damages are the net amount of money

the Debtor would have received in the sales had they occurred.

              COUNT 8: BREACH OF GOOD FAITH AND FAIR DEALING

       40.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       41.     Every contract has a duty of good faith and fair dealing engrafted upon it, especially

in a lender/borrower relationship, and even more so when the lender is based in the State of New

York as NBK is.

       42.     NBK breached its duty of good faith and fair dealing by:

               a)      Inducing Plaintiffs to dismiss their State Court lawsuit;

               b)      Inducing Plaintiffs to enter into the Confidential Settlement Agreement;

               c)      Tortiously interfering with Debtor’s performance under the Confidential
                       Settlement Agreement;

               d)      Tortiously interfering with third-party contracts;

               e)      Not approving tenant leases or contracts for sale; and

               f)      deflecting buyers so Debtor could not sell the 2425 Building.




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       43.     Plaintiffs hereby sue NBK for breach of duty of good faith and fair dealing. The

damages are for the value of the amounts that would have been recovered in the state court

litigation and/or the value of the deals lost for leases and/or sales of the 2425 Building.

                             COUNT 9: UNJUST ENRICHMENT

       44.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       45.     If NBK is allowed to foreclose on the 2425 Building it will make an unconscionable

profit and succeed in its “loan to own” gambit. The amount of its unjust enrichment for which

Plaintiffs hereby sue NBK is the difference between what NBK would have been owed (but for its

breaches of the Confidential Settlement Agreement) under the Confidential Settlement Agreement

and the true value of the building, for which Plaintiffs hereby sue NBK.

                               COUNT 10: ATTORNEYS’ FEES

       46.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       47.     Plaintiffs hereby sue NBK for their reasonable and necessary attorneys’ fees under

breach of contract and under any statutory or common law right to recover same.

                                             PRAYER

       WHEREFORE, premises considered, Plaintiffs pray that Defendants be cited to appear

herein as provided by law and that upon hearing:

       1.      NBK not be allowed to foreclose on the 2425 Galleria Building;

       2.      Plaintiffs recover their damages and attorneys’ fees as alleged.



Dated: September 19, 2023



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                                            Respectfully submitted,

                                            HAYWARD PLLC

                                            By: /s/ Melissa S. Hayward
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                                            PROPOSED COUNSEL FOR THE DEBTOR


                                            By: /s/ James Q. Pope
                                               James Q. Pope
                                                 State Bar No. 24048738
                                                 jamesp@thepopelawfirm.com
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                                            6161 Savoy Drive, Suite 1125
                                            Houston, Texas 77036
                                            (713) 449-4481 Telephone
                                            (281) 657-9693 Facsimile
                                            COUNSEL FOR PLAINTIFFS ALI CHOUDHRI AND
                                            NAISSANCE GALLERIA LLC




                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing was filed with the Court and served via
the Court’s CM/ECF system upon all of the parties registered to receive such notice on
September 19, 2023.


                                            /s/ Melissa S. Hayward
                                            Melissa S. Hayward




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                               EXHIBIT 2




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                                    CAUSE NO. 2023-22748

GALLERIA 2425 OWNER, LLC,                       §           IN THE DISTRICT COURT OF
                                                §
                  Plaintiff,                    §
v.                                              §                HARRIS COUNTY, TEXAS
                                                §
NATIONAL BANK OF KUWAIT,                        §
S.A.K.P., NEW YORK BRANCH,                      §
                                                §
                Defendant.                      §              281ST JUDICIAL DISTRICT


                        PLAINTIFF’S SIXTH AMENDED PETITION

        Galleria 2425 Owner, LLC (“Plaintiff”) files this Sixth Amended Petition against

 Defendant National Bank of Kuwait S.A.K.P., New York Branch (individually as “NBK”, or

 collectively as “Defendants”), and Azeemeh Zaheer (individually as “Zaheer”, or collectively as

 “Defendants”) and, in support, submit the following:

                                           I.
                                     DISCOVERY PLAN

        1.     Discovery should be conducted pursuant to Level 2 of Rule 190.3 of the Texas

 Rules of Civil Procedure.

                                              II.
                                            PARTIES

        2.     Galleria 2425 Owner, LLC (“Plaintiff”) is a limited liability company doing

 business in Texas and is the owner of the building located at 2425 West Loop S., Houston, Texas

 (“2425 Building”).




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         3.    National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) is a banking

corporation organized under the laws of Kuwait, acting through its New York Branch. NBK HAS

APPEARED WITH COUNSEL.

         4.    Azeemeh Zaheer (“Zaheer”), is an individual who resides, and may be personally

served at 5513 Kansas Street, Houston, Texas 77007.

                                            III.
                                        INTRODUCTION

         5.    This suit was originally filed against NBK, a party who has been shown to be

willing to engage in bad faith actions, and who repeatedly attempts to make outside deals with

third parties, specifically to deprive the plaintiff of its ownership interest in the 2425 Building in

any way it can.

         6.    Plaintiff, Galleria 2425 Owner, LLC, filed bankruptcy to preserve the asset, which

NBK vehemently opposed, and fought to have dismissed from the bankruptcy court. However, at

the hearing on NBK’s motion to dismiss, Plaintiff was successful in defending against dismissal,

and the bankruptcy case moved forward.

         7.    Plaintiff promptly proposed a plan in the bankruptcy court, which was characterized

as a “really smart” plan that “check[ed] all the boxes” for plan confirmation, according to Judge

Lopez.

         8.    Then, after NBK lost its motion to dismiss, it filed a letter in the bankruptcy case

(Document 77) which made the bankruptcy court aware of litigation that was irrelevant to Galleria

2425 Owner, LLC’s pursuit of its ongoing bankruptcy case. The state court litigation referenced

by NBK is, in the words of Judge Lopez “an unrelated case involving Ms. Zahire [sic] and

Naissance and Mr. Choudhri”. The case is about a dispute over control of an entity called


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Naissance Galleria, LLC, which is an entity that provided a mezzanine loan to Galleria 2425

Owner, LLC’s sole member and is party to an intercreditor agreement with NBK.                  Upon

information and belief, certain of the investors in Naissance Galleria LLC are substantial clients

of or investors in NBK. Naissance Galleria LLC was also a party to the very settlement agreement

with NBK at issue in this suit.        Importantly, Naissance Galleria, LLC does not have any

membership in, or control over Galleria 2425 Owner, LLC, or any of its members or managers.

       9.      Notably, the state court, in the litigation referenced in NBK’s letter to Judge Lopez,

did issue a Temporary Injunction, which maintained the status quo of Choudhri’s management and

control of Naissance Galleria, LLC, but limited any actions that could be taken by Choudhri on

behalf of Naissance Galleria, LLC to only those which are also approved by Zaheer, until a trial

resolves the issue once and for all.

       10.     After the Temporary Injunction was in place establishing Choudhri’s control of

Naissance Galleria, LLC, Zaheer directed her counsel, while purporting to act for Naissance

Galleria, LLC, to appear at two separate hearings in the bankruptcy court, on or about October 12,

2023 and November 1, 2023, and on the eve of a November 1 status conference filed an emergency

motion in the bankruptcy court, requesting for Judge Lopez to rule against the state court and find

that Zaheer had control of, and could act for Naissance Galleria, LLC. Judge Lopez thereafter sua

sponte dismissed the bankruptcy case during the November 1, 2023 status conference.

       11.     When the parties to the state court litigation returned to appear before Judge Manor

on November 13, 2023, Judge Manor confirmed that her Temporary Injunction did not give Zaheer

any right to act as the manager of Naissance Galleria, LLC, and confirmed that Choudhri was in

control, subject to Zaheer’s approval during the pendency of trial.



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       12.     All of these actions, gave rise to Judge Lopez’s serious concerns about the ability

to move forward with the bankruptcy case without resolution in the state court action. Judge Lopez

stated, in the Status Conference held on November 1, 2023, the following:

       “I don’t have anything to qualify it in state court issues. I don’t know. There’s just a lot of

       confusing stuff, and my gut tells me that I need to dismiss this case and let you all go figure

       this out in State Court, because there’s not enough here, and there’s real concerns that I

       have…”.

       13.     However, since Naissance Galleria, LLC has no ownership or control over the

Plaintiff or any of its members or managers, these filings and appearances are just a smoke screen.

The fact that they were also filed in violation of the Temporary Injunction not only makes these

actions unlawful, but there could be no other purpose aside from attempting to cause the dismissal

of the bankruptcy case brought by Galleria 2425 Owner, LLC, which is an action that, logically,

would be counter to the company’s interests.

       14.     In its letter inviting the Naissance dispute and Ms. Zaheer’s counsel into the

bankruptcy proceedings, NBK cleverly attempts to confuse the court by implying that Ms. Zaheer

had control of Naissance Galleria, LLC because the order says that management decisions could

not be made without her approval. Ms. Zaheer’s counsel then accepted NBK’s invitation to create

confusion and disruption, appearing at the October 13 emergency status conference purporting to

represent Naissance Capital LLC.

       15.     As this Court has handled cases related to Galleria 2425 Owner, LLC for years, it

is well aware that Ms. Zaheer has been entirely absent from any of these proceedings until on or

about July 5th, 2023, when Naissance Galleria, LLC appeared, allegedly controlled by Azeemeh



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Zaheer, before this Court’s ancillary docket, attempting to stop the foreclosure by NBK, at which

hearing this Court itself questioned the absence of Ms. Zaheer over the last several years.

       16.     Ms. Zaheer signed the assignment giving control over Naissance Galleria, LLC to

Mr. Choudhri on July 3rd, 2020. Ms. Zaheer did not make any claims of control over Naissance

Galleria, LLC, did not attempt to object to Mr. Choudhri’s management of the company for three

(3) years. These allegations are absurd, as Ms. Zaheer has been entirely absent from the company’s

management for years.

       17.     As a result of this conspiracy by the defendants, the emergency status conference

requested by NBK resulted in the dismissal of the bankruptcy case.

       18.     What’s interesting is that, if Ms. Zaheer was sincerely the manager of Naissance

Galleria, LLC, she would not have worked to have the bankruptcy case dismissed.

       19.     Such actions, if they had been taken by a legitimate manager for Naissance Galleria,

LLC, would be a breach of fiduciary duty to the company, unless there was a back room deal

NBK.

       20.     Now that NBK has re-posted the 2425 Building for foreclosure, Plaintiff will suffer

irreparable harm as a result of the defendants’ actions.

                                         IV.
                                  FACTUAL BACKGROUND

       21.     In 2018, NBK loaned certain funds to Plaintiff. NBK has continually interfered

with the Plaintiff’s ability to lease the 2425 Building to produce revenue and Plaintiff’s ability to

sell the 2425 Building to pay NBK off. Every time NBK has so interfered, it has then blamed the

Plaintiff for its inability supposedly to meet some of the loan terms.




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        22.       For example, in January 2021, Plaintiff Ali Choudhri, who is vilified by NBK in

various pleadings, had serious parties interested in acquiring interests in the building more than

enough to clear NBK’s debt. A letter dated January 15, 2021, from SIBS International, and two

purchase contracts would have paid off not only NBK, but left the Plaintiff with a great deal of

value. NBK, rather than facilitate this sale, issued a formal notice of default to the Plaintiff

and its intent to accelerate the loan on June 29, 2021, while the SIBS International deal was in

progress, killing that deal.

        23.       The same was true with regard to NBK’s interference with the Plaintiff’s

attempt to lease space in the building to provide revenue so it could operate and make loan

payments. By August 2021, this situation had become untenable due to NBK’s refusal to approve

new tenants and new leases, prompting the Plaintiff, on August 13, 2021, to send NBK a detailed

letter regarding lease-up and renewal prospects for discussions, none of which, it seemed NBK

would approve.

         Healthcare Service Organization

              ▪      Size: 130,000+ RSF – large client requirement in their preliminary planning
                     stages: Industry: Healthcare Service Organization Type of use:
                     Administration Offices Direct/Sublease Commencement date: Q3/2023
                     Term:5-10 yrs. They are specifically VERY interested in amenities available,
                     for example: deli, gym, day care, conference center (# of seats), training center
                     (# of seats).

         Invesco

              ▪      We met with the team twice and are actively pursuing them for 2425. They are
                     interested in a 157-month lease term for 208,830 SF of Net Rental Area.

         Financial Services Firm

              ▪      Office AREA: West Houston (610 West, Hwy 290, Beltway 8) SPACE:
                     Open Concept SIZE: Approximately 20,000 – 25,000 rsf PARKING: 5/1000
                     ratio OCCUPANCY: Late 2Q22/Early3Q22 TERM: 36-60 months with

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                    renewal options This tenant is currently at 24 Greenway on their top floor and
                    have been looking at other A buildings.

        Beyond Finance

             ▪      We are discussing a 68-month lease term for +/- 40,000 rentable SF.

        Banco Affirme

             ▪      We submitted a 64-month lease term for 4,545 SF of Net Rental Area.

        Walls Bank (existing tenant)

             ▪      Renew 3,054 SF of rental space for 60-month term starting January 1, 2022.

        Others (working directly with ownership)

             ▪      ResMed (https://www.resmed.com/en-us/), interested in the entire building,
                    working directly with Dr. Peter Farrell, Founder and Chairman

             ▪      Healthstore Holdings (https://www.healthstore.com/), interested in a 15-year
                    term with 80,000 SF in phase 1 and 75,000 SF in 12 months as phase 2.

             ▪      Immunicom (https://immunicom.com/), interested in at least two full floors,
                    moving HQ from San Diego, CA

       24.       Below is an August 16, 2021 email from counsel for the Plaintiff to NBK

forwarding multiple leases for approval that NBK had failed to approve or even respond to.




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       25.    This lack of approval, or finding obstacles to approve, was not new. In September

2019, Related Group had reached out to lease the parking garage located at the 2425 Building to

be used for overflow, for parking up to 110 spaces. NBK’s authorized representative Michael

Carter would not approve this lease (note “nbkny” email address below– i.e. National Bank of

Kuwait, New York Branch), which would have generated a great deal of revenue for the Plaintiff.




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       26.     The situation became so untenable that in September 2021, Plaintiff initiated a

lawsuit against NBK.

       27.     In good faith, even during the pendency of this litigation, the Plaintiff was still

trying to get tenants into the building and get NBK’s approval to do so, so it would not claim

additional breaches of loan agreements. On July 2, 2022, the Plaintiff sent NBK five leases for

approval, which NBK did not approve.

       28.     The parties litigated for eleven (11) months until August 22, 2022, when they

entered into a Confidential Settlement Agreement. NBK has prevented Plaintiff’s successful

performance under any and all agreements it has with NBK, including the Confidential

Settlement Agreement.

       29.     The Confidential Settlement Agreement permitted a timeframe in which Plaintiff

could sell the 2425 Building, or seek refinancing, and Plaintiff was successful in obtaining a buyer

for the building. Upon closing this transaction, Plaintiff would have retained a forty-five (45%)

ownership interest in the 2425 Building. However, NBK again took actions which interfered

with the continuation and closing of that transaction, including issuing a notice of foreclosure

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on March 29, 2023 in breach of the Confidential Settlement Agreement, which Plaintiff

believes was done intentionally to prevent the sale. The sale would have cleared the NBK debt

as it stood at that time and left great value for the Plaintiff. Plaintiff believes that NBK recognized

that greater value and wanted to take it for itself by foreclosure in a “loan to own” gambit.

       30.       There are tremendous factual inaccuracies that NBK represents to state and federal

courts and they continue into these proceedings. For example, in its Motion to Dismiss the

Plaintiff’s Bankruptcy, while it is absolutely true that temporary restraining orders were filed to

attempt to prevent a foreclosure by NBK and its takeover of the 2425 Building, NBK fails to note

that such requests were also granted by this Court based upon showings that NBK had not

allowed the Plaintiff to lease up the building to generate revenue, and had killed at least two

transactions that Plaintiff was working on that would have cleared NBK and left value for

the Plaintiff.

       31.       Additionally, NBK posted for foreclosure in 2023 early, and against an extended

grace period that this Court had given Plaintiff, which silenced the bidding process and interest in

the 2425 Building completely. No one wants to buy a building posted for foreclosure. Plaintiff

believes that NBK knew this and did it on purpose to prevent the Plaintiff from successfully

selling the property and paying off the loan, so NBK could foreclose and take the 2425

Building for itself so it can open a Houston location.

       32.       After NBK’s disclosures of the situation created by the Confidential Settlement and

the wrongful posting for foreclosure during an extension of that agreement, potential buyers of the

property who would otherwise become good prospects to negotiate a sale with Plaintiff, became

potential purchasers of the NBK Note and began negotiating with NBK. NBK interfered with



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these potential purchases and with these business relationships. At least the following were

interfered with in this fashion:

                a)     Globix Investment,

                b)     Ironwood Commercial Realty,

                c)     Shah Firm, LLC, and

                d)     Jeb Brown Law.


B.        Azeemeh Zaheer Decides She Wants the Building.

          33.   On June 26, 2023, Zaheer, filed a lawsuit in the name of Naissance Galleria, LLC

(“Naissance”), despite having assigned control over such entity several years prior., in the 157th

Judicial District Court in Harris County, Texas referenced by case number 2023-39006 against

Brad Parker (“Parker”) as an initial step in Zaheer’s pursuit of a hostile takeover of the 2425

Building.

          34.   On July 5, 2023, Zaheer, again acting in the name of Naissance, filed a second

lawsuit in the 129th Judicial District Court in Harris County, Texas referenced by case number

2023-41091 against Parker and NBK, to further her hostile takeover attempt of the 2425 Building.

Zaheer sought injunctive relief, but that request for an emergency temporary restraining order was

denied.

          35.   On or about July 5, 2023, Plaintiff commenced a Chapter 11 bankruptcy proceeding

in the Southern District of Texas, referenced by case number 23-60036. NBK sought to dismiss

the bankruptcy proceeding, but after a full day evidentiary hearing its motion to dismiss was denied

on September 26, 2023. The Chapter 11 Plan could have been approved and would have

substantially reduced the value of NBK’s secured debt. So, after its motion to dismiss was denied,


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NBK changed tactics and decided to invite Ms. Zaheer and her counsel into the bankruptcy case

to cause confusion and disruption. NBK decided it could not allow its debt to be restructured

under the bankruptcy code, just as it had decided it could not allow the prior sales of the building

that had been lined up by Plaintiff.

C.     Azeemeh Zaheer is a False Representative of Naissance.

       36.     Azeemeh Zaheer at one time had a business and personal relationship with Ali

Choudhri, both of which appeared to have ended mutually for a time. Azeemeh Zaheer sought

injunctive relief in the 80th Judicial District Court for Harris County against Naissance Galleria,

LLC, which was a mezzanine lender to an LLC (“LLC”) two steps up in the chain.

       37.     Azeemeh Zaheer had signed, as the authorized representative of the Managing

Member of Naissance Galleria, LLC an Assignment of the management rights of that LLC to Ali

Choudhri. In response, Mr. Choudhri stepped into Naissance’s shoes, covered its expenses, and

did a miraculous job of negotiating the aforementioned settlement with NBK after the Assignment.

Azeemeh Zaheer made this assignment for a number of reasons, but most of them stemmed from

her ineffective management of the building and her fear of exposure to NBK and certain

individuals affiliated with NBK because of her poor performance.

       38.     After Mr. Choudhri received the Assignment and had negotiated the successful

settlement with NBK and the building looked as if it might succeed (a period of years), Azeemeh

Zaheer decided she wanted to misappropriate the value that Mr. Choudhri had just preserved and

to an extent had just created. First, she claimed the Assignment was invalid and sought and

received a Temporary Injunction, on September 21, 2023, from the 80th Judicial District Court in

Harris County. This Temporary Injunction basically only created a stalemate with respect to the

management of Naissance Galleria, LLC to preserve the status quo until a trial in January. Mr.
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Choudhri is still the manager of Naissance Galleria, LLC, not Azeemeh Zaheer, although she did

have some approval rights under the injunction. Mr. Choudhri, as the manager of Naissance

Galleria LLC and is only required to obtain approval from Zaheer for his actions. Zaheer DOES

NOT have any control of the entity. Moreover, this was confirmed at a hearing on November 13,

2023 before Judge Manor in the 80th Judicial District Court.

D.      Azeemeh Decides to Conspire with NBK So It Could Foreclose On the Building.

        39.     After the September 21, 2023 entry of the Temporary Injunction, some ironic, if

not strange, events start taking place with respect to Ms. Zaheer and the Plaintiff. First, it is against

Azeemeh Zaheer and Naissance’s financial interests if NBK forecloses.

        40.     Second, on information and belief, Zaheer caused a copy of the Temporary

Injunction Entered on September 21, 2023 by the 80th Judicial District Court in Harris County to

be sent to counsel for NBK, who used it to interfere with the Plaintiff’s ability to reorganize under

the bankruptcy code and confirm a chapter 11 plan.

        41.     Third, Zaheer’s directed her counsel to appear without any forewarning at the

October 12, 2023 status conference, in the Bankruptcy Court about the plan, claiming Azeemeh

Zaheer now is the manager of Naissance Galleria, LLC and they have been hired by her to represent

Naissance Galleria, LLC, all by virtue of the Temporary Injunction.




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E.         Zaheer Changes Sides to Make a Deal with the NBK

           42.     Progressively, Azeemeh Zaheer’s behavior becomes more inexplicable as she: (1)

takes the position that the Temporary Injunction put her in charge of Naissance (it did not);1 (2)

that Naissance Galleria, LLC could or had already become the owner of the Debtor building (2425

Galleria Owner, LLC, Plaintiff herein) and as the new owner, they did not wish to pursue claims

asserted in the bankruptcy case against NBK by Plaintiff and Naissance for breaching the

settlement agreement and would want to take the bankruptcy in another direction.

           43.     This created an environment of confusion for the Bankruptcy Court, which was by

Defendants’ design, and it was a concerted effort by the Defendants to have the bankruptcy case

dismissed, allowing NBK to foreclose. Defendant NBK would not be impeded by the bankruptcy

and Zaheer could tell Mr. Choudhri: “I will not go along with your reorganization plan unless you

pay me millions of dollars” while making a deal with NBK to block the Plan of Reorganization in

the event no payment was received from Mr. Choudhri.

           44.     The Defendants are working in concert, to achieve the same end. Specifically, the

Defendants have devised, and intended to devise, a scheme or artifice to seize the 2425 Building

by any means necessary. Defendants will stop at nothing to see the Plaintiff lose possession of the

2425 Building, and upon information and belief, the driving force behind their efforts is Osama

Abdullatif (“Abdullatif”).




1
    At a hearing had in the issuing court (the 80th Judicial District Court) on Monday, November 13, 2023, the Court

confirmed her Temporary Injunction Order had not turned control of Naissance over to Zaheer and Zaheer had no

authority to authorize attorneys to make the filing and take the action they had on behalf of Naissance Galleria, LLC

in the Bankruptcy.

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        45.     Defendants’ scheme has involved false representations of material information,

including but not limited to misrepresentations concerning the Plaintiff and the purpose and effects

of the Temporary Injunction.

        46.     On November 29, 2023, Azeemeh appeared, through counsel, at an emergency

hearing where Naissance Galleria, LLC’s Application for Temporary Restraining Order was being

heard before the Harris County District Court Ancillary Judge. Naissance Galleria, LLC sought

an emergency temporary restraining order, to enjoin NBK from proceeding with the foreclosure

sale scheduled for December 5, 2023, in an effort to protect its interests in the 2425 Building.

However, Azeemeh, through counsel, argued against entry of the temporary restraining order, and

worked alongside NBK to ensure its denial, leaving the 2425 Building subject to foreclosure.

Azeemeh’s stance is bizarre, considering Azeemeh, improperly acting as manager for Naissance

Galleria, LLC, sought an emergency temporary restraining order to stop NBK from foreclosing on

the 2425 Building in July 20232.

F.      False Representations by Zaheer’s Agents are Successful in Getting Plaintiff’s
        Bankruptcy Dismissed.

        47.     The Bankruptcy Court scheduled a Status Conference for the Plaintiff’s Bankruptcy

Case for November 1, 2023. Azeemeh’s agents, on October 31, 2023, only hours before the Status

Conference, filed an Emergency Motion. This Motion contained many misrepresentations, some

of which follow:

                a)      Even though Zaheer had no right to or standing necessary to file anything
                        on behalf of Naissance, and the Temporary Injunction gave Zaheer no such
                        rights, statements were made in their Emergency Motion directly to the
                        contrary, stating Azeemeh Zaheer was in, Choudhri was out.



2
  See Cause No. 2023-41091: Naissance Galleria LLC v. National Bank of Kuwait S.A.K.P., New York Branch,
transcript from the July 5, 2023 Temporary Restraining Order hearing is attached.
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               b)      The filing stated flatly at one point that the Assignment had been found to
                       be forged – it had not.

               c)      The filing stated that, because of the Temporary Injunction, Naissance was
                       now controlled exclusively by Zaheer, who could make Naissance become
                       the Owner of the Bankrupt. (The issuing court on Monday, November 13,
                       2023, ruled from the bench it said no such thing.)

These misrepresentations had the desired effect, and the Bankruptcy Court dismissed the

Bankruptcy, green-lighting NBK to foreclose.

G.     Abdullatif is Choudhri’s Competitor and Wants to Ruin Him.

       48.     Choudhri has been in the real estate investment and management business for the

last 20 years. The regular course of Choudhri’s business involves numerous aspects of real estate

development. These activities include real estate and business acquisitions and dispositions,

seeking and obtaining financing, and developing and managing commercial and residential

properties. He regularly raises capital for these activities through the issuance of equity and/or

debt. It is also within his normal course of business to enter into transactions with borrowers,

lenders, and investors to support the purchase, development, and operations of real estate

properties.

       49.     Choudhri at times conducts his real estate investment and management business

through the use of special purpose entities, such as Plaintiff Galleria Owner 2425, LLC. Choudhri

runs a management company, Jetall (“Jetall”), to provide employees and management services to

entities for purposes of operating real estate investments.

       50.     Abdullatif has provided financing for numerous third-party claims against

Choudhri, including interfering with Choudhri’s final divorce proceedings in both Pakistan

Supreme Court and Harris County District Court by soliciting Choudhri’s ex-wife for her legal

claims against Choudhri and/or his entities and to gain access to Choudhri’s protected financial

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disclosures. Abdullatif has filed several dozen Lis Pendens against Choudhri, and his properties,

and has sponsored litigation against Choudhri in several dozen cases.

       51.     Upon information and belief, Abdullatif is also financing the litigation expenses of

Zaheer against Choudhri in the dispute over the building owned by Plaintiff. Abdullatif, Zaheer,

and others have all agreed to the enterprise course of action aimed at destroying Choudhri’s

business, including taking possession of the 2425 Building.

       52.     On more than one occasion, Abdullatif resorted to violence and threats against

Choudhri and/or his family, friends, and associates. Mr. Choudhri had another real estate venture

involving an entity called Dalio. Abdullatif was present at Dalio’s foreclosure proceeding, where

a friend accompanying him assaulted one of Choudhri’s lawyers. On another occasion, Abdullatif

and his associates used firearms to hold Choudhri, and his associates, hostage.

       53.     Abdullatif also formed an association with others in his illegal efforts to destroy

Choudhri’s business. These individuals include but are not limited to Chris Wyatt, former

paralegal of Jetall (“Wyatt”).

       54.     Wyatt was hired by Jetall in 2019. In the course of his employment, Wyatt oversaw

legal and litigation matters for Jetall. He was provided confidential information concerning Jetall’s

and its client’s real estate transactions, finances and debt leverage on properties, and litigation

management strategies. As a Jetall representative, Wyatt was regularly involved in and provided

access to privileged information and communications, including information subject to attorney-

client and work product privileges. Wyatt signed a non-disclosure agreement at the beginning of

his employment prohibiting him from disclosing confidential information and requiring him to

return all files upon his termination.



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         55.   Wyatt’s employment at Jetall ended in December 2020. When he left Jetall, Wyatt

stole corporate files including electronic communications and secretly recorded privileged phone

communications between Choudhri and his attorneys.

         56.   Jetall obtained a restraining order in January 2021 enjoining Wyatt from disclosing

or divulging confidential information obtained through his course of employment with Jetall.

         57.   Abdullatif met with Wyatt before, during and after Wyatt’s departure from Jetall.

Abdullatif, directly and through his lawyers, received confidential and privileged information from

Wyatt.     This information included but is not limited to illegal recordings of Choudhri’s

conversations with attorneys.

         58.   Upon information and belief, Abdullatif and his lawyers were aware that Wyatt was

a former employee of Jetall who was involved in confidential and privileged communications and

that a restraining order was entered enjoining Wyatt from disclosing confidential information.

         59.   Abdullatif and his agents have used the illegally obtained information and

recordings as part of Abdullatif’s scheme to destroy Choudhri’s business. Abdullatif retained

Wayne Dolcefino (“Dolcefino”) as a “consultant” to publish on the internet a series of hit pieces

on Choudhri. Dolcefino advertises that his services included “litigation support,” and Abdullatif

has utilized Dolcefino in the course of his numerous lawsuits asserted against Choudhri and his

businesses.

         60.   Information illegally obtained from Wyatt is included in many of Dolcefino’s hit

pieces. Dolcefino continues to publish these hit pieces on the internet, including videos posted in

May 2023.

         61.   Abdullatif has made several false claims against his competitor, Choudhri, in many

ways, two of the most egregious being:
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               a)      Hiring Dolcefino to create video “hit pieces” about Choudhri, his business,
                       his marital status, and inappropriate character based upon his actions during
                       that marital status. This video contained “over the top” falsehoods, e.g. that
                       he was still married and had been for years. It was commercial speech
                       designed to designate a competitor (Choudhri) and give Abdullatif a
                       competitive advantage, and was introduced into interstate commerce by
                       release to major television (broadcast and cable) networks and by placing
                       on the internet where it still resides today, making it available to the
                       potential customers and lenders that are competed for; and

               b)      Placing multiple improper Lis Pendens on the record title to properties
                       owned by Choudhri or his business entities, which created a double negative
                       effect on Choudhri’s ability to conduct business by hampering his ability to
                       find new lenders or renewing existing loans because the security for them
                       was impaired and making it impossible to sell those properties to raise new
                       capital on his own. These Lis Pendens were “over the top”
                       misrepresentations because they were illegal and did not assert valid
                       interests in the subject properties. The Lis Pendens were also introduced
                       into interstate commerce because they were filed of record and were
                       available “online” over the internet to any potential customer for
                       commercial real estate in the Houston area.



                                           V.
                                     CAUSES OF ACTION

      COUNT 1: BREACHES OF CONFIDENTIAL SETTLEMENT AGREEMENT

       62.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       63.     Plaintiff and NBK reached a valid and enforceable agreement expressly set forth in

the Confidential Settlement Agreement. Pursuant to the Confidential Settlement Agreement, NBK

agreed to keep the contents and terms of the parties’ agreement completely confidential. Plaintiff

dismissed its very good claims in the Lawsuit against NBK in reliance upon NBK’s promise to

uphold the confidentiality obligations set forth in the Confidential Settlement Agreement.

       64.     NBK breached the Confidential Settlement Agreement by disclosing its contents

and terms to third parties in violation of the agreement’s express confidentiality provisions. These
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disclosures prevented Plaintiff from closing on the sale of the 2425 Building and chilled the market

for other buyers for Plaintiff’s property. The same is true for NBK’s wrongful, early filing of a

notice of foreclosure on the 2425 Building, also in violation of the Confidential Settlement

Agreement.

          65.   Plaintiff hereby sues NBK for these breaches of the Confidential Settlement

Agreement, including monetary damages for such breaches and injunctive relief preventing NBK

from foreclosing on the building because Civil Practices & Remedies Code Section 65.011

authorizes injunction relief when: 1) the applicant is entitled to a writ of injunction under the

principles of equity and the laws of Texas relating to injunctions. Texas Civil Practices &

Remedies Code Section 65.011(3); See Butnaru v. Ford Motor Co., 84 S.W.3rd 198, 210 (Tex.

20002); and 2) when irreparable injury to real or personal is threatened, irrespective of any remedy

of law. Tex. Civ. Practice & Remedies Code Section 65.011(5).

          66.   Plaintiff requests injunctive relief as allowed pursuant to CytoGenix, Inc. v.

Waldroff, 213 S.W.3d 479, 487 (Tex.App.—Houston, [1st Dist.] 2006, pet. denied), and L Series,

L.L.C. v. Holt, 571 S.W.3d 864, 876 (Tex.App.—Fort Worth 2019, pet. denied) due to Defendant’s

breach.

                COUNT 2: TORTIOUS INTERFERENCE WITH CONTRACT

          67.   Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

          68.   As alleged, NBK tortiously interfered with the SIBS International contract and the

Caldwell Soames Inc. contract, causing damages to the Plaintiff in the net amounts of the contracts

which, but for NBK’s interference, would have been paid to the Plaintiff.



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       69.     Zaheer has tortiously interfered with Plaintiff’s contract with NBK, and abused

process by interfering in Plaintiff’s bankruptcy proceeding.

    COUNT 3: TORTIOUS INTERFERENCE WITH PROSPECTIVE RELATIONS

       70.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       71.     After NBK’s disclosures of the situation created by the confidential settlement and

the wrongful posting for foreclosure during a judicial extension of the grace period contained in

that agreement, potential buyers of the property who would otherwise have become good prospects

to negotiate a sale with Plaintiff, became instead potential purchasers from NBK of the NBK note

and began contacting and negotiating or attempting to negotiate with NBK instead of the Plaintiff.

NBK interfered with these potential purchasers and with these potential business relationships. At

least the following were interfered with in this fashion:

               a)      Globix Investment,
               b)      Ironwood Commercial Realty,
               c)      Shah Firm, LLC, and
               d)      Jeb Brown Law.

       72.     Zaheer have interfered with the Plaintiff’s relationship with NBK and/or entered

into a relationship with Zaheer and their antics caused the dismissal of Plaintiff’s Chapter 11

bankruptcy proceeding, which was otherwise proceeding to a cram-down restructuring under

Chapter 11 of the bankruptcy code

       73.     This interference by the Defendants damaged Plaintiff in amounts to be determined

after discovery, but which exceed the minimum jurisdictional limits of this Honorable Court.




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                COUNT 4: COMMON LAW FRAUD/LENDER LIABILITY

       74.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       75.     NBK never had any intention of living up to the Confidential Settlement

Agreement. The Plaintiff was winning the lawsuit against NBK, so NBK induced the Plaintiff

into dismissing its lawsuit and entering into the Confidential Settlement Agreement which NBK

had no intention of living up to. This fraud works an estoppel against NBK (see Count 6,

“ESTOPPEL”). Plaintiff hereby sues NBK for fraud and fraudulent inducement and alleges it

constitutes the basis for an action for Lender Liability.

       76.     NBK knew at the time it entered into the Confidential Settlement Agreement it

would deflect and tortiously interfere with the Plaintiff’s attempts to sell the 2425 Building so

NBK would be able to foreclose on the building and take all of the value instead of just the value

of the amounts otherwise owed at the time. Plaintiff accordingly sues NBK for its fraud, fraud in

the inducement, lender liability, and subsequent interference with the settlement agreement.

Plaintiff seeks benefit of the bargain damages for the fraud related to the enforceable contract.

Plaintiff requests injunctive relief as allowed pursuant to CytoGenix, Inc. v. Waldroff, 213 S.W.3d

479, 487 (Tex.App.—Houston, [1st Dist.] 2006, pet. denied), and L Series, L.L.C. v. Holt, 571

S.W.3d 864, 876 (Tex.App.—Fort Worth 2019, pet. denied) due to Defendant’s breach.

                           COUNT 5: FRAUDULENT TRANSFER

       77.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       78.     The funds paid by the Plaintiff to NBK:

               a)      $801,509.42 paid Plaintiff to NBK on August 27, 2022;

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               b)      $80,000 paid by Plaintiff to NBK on April 18, 2023; and

               c)      $80,000 paid by Plaintiff to NBK on May 10, 2023

were fraudulently induced by NBK and were payments for which the Plaintiff received nothing in

return and constitute fraudulent conveyances in violation of U.S.C. § 544, 548, and 550 and TEX.

BUS. & COMM. CODE §§ 24.001, et seq., for which the Plaintiff hereby sues NBK to recover all

such amounts. In addition, the Loan Agreement between NBK and Plaintiff set aside reserve funds

to cover certain events of default related to the anchor tenant. Due to COVID-19, this provision of

the Loan Agreement activated, and Plaintiff’s loan payments were being drawn down from the

reserve funds. However, NBK intentionally depleted Plaintiff’s reserve funds, and transferred

Plaintiff’s funds to itself prior to the time when they were actually due. Plaintiff requests an

injunction pursuant to Sec. 24.008.

                                      COUNT 6: ESTOPPEL

       79.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       80.     NBK is estopped from claiming Plaintiff owes any more than the amount stated and

agreed to in the Confidential Settlement Agreement because of its fraud and fraudulent inducement

alleged previously.

                         COUNT 7: BUSINESS DISPARAGEMENT

       81.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       82.     The posting of the 2425 Building during any negotiation periods and/or the

extended grace period when actual buyers were moving toward concluding a deal and when other



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potential buyers were expressing interest in the 2425 Building, constituted business disparagement

against the Plaintiff for which Plaintiff hereby sues NBK.

         83.   The efforts of Zaheer to make false accusations and representations about the

Plaintiff’s ownership interests, management, and decision-making abilities constituted business

disparagement against the Plaintiff for which the Plaintiff hereby sues Zaheer.

         84.   The business disparagement by the Defendants damaged Plaintiff in amounts to be

determined after discovery, but which exceed the minimum jurisdictional limits of this Honorable

Court.

               COUNT 8: BREACH OF GOOD FAITH AND FAIR DEALING

         85.   Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

         86.   Every contract has a duty of good faith and fair dealing engrafted upon it, especially

in a lender/borrower relationship, and even more so when the lender is based in the State of New

York as NBK is.

         87.   NBK breached its duty of good faith and fair dealing by:

               a)      Inducing Plaintiff to dismiss their State Court lawsuit;

               b)      Inducing Plaintiff to enter into the Confidential Settlement Agreement;

               c)      Tortiously interfering with Plaintiff’s performance under the Confidential
                       Settlement Agreement;

               d)      Tortiously interfering with third-party contracts;

               e)      Not approving tenant leases or contracts for sale; and

               f)      deflecting buyers so Plaintiff could not sell the 2425 Building.




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       88.     Plaintiff hereby sues NBK for breach of duty of good faith and fair dealing. The

damages are for the value of the amounts that would have been recovered in the state court

litigation and/or the value of the deals lost for leases and/or sales of the 2425 Building.

                             COUNT 9: UNJUST ENRICHMENT

       89.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       90.     If NBK is allowed to foreclose on the 2425 Building it will make an unconscionable

profit and succeed in its “loan to own” gambit. The amount of its unjust enrichment for which

Plaintiff hereby sues NBK is the difference between what NBK would have been owed (but for its

breaches of the Confidential Settlement Agreement) under the Confidential Settlement Agreement

and the true value of the building, for which Plaintiff hereby sue NBK.

                                  COUNT 10: CONSPIRACY

       91.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       92.     Defendants agreed to work in concert with each other in order to interfere with

Plaintiff’s bankruptcy case, and to have it dismissed by making fraudulently claiming Azeemeh

had control over Naissance Galleria, LLC.

       93.     Defendants acted with the intent to harm plaintiff by disrupting its bankruptcy

proceedings and ultimately obtaining a sua-sponte dismissal of such proceeding based upon their

allegations

       94.     To accomplish the object of their agreement Defendants intentionally or negligently

mischaracterized the effect of the state court temporary injunction, in order to confuse and disrupt

Plaintiff’s bankruptcy case, which resulted in dismissal.

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       95.     The agreement to engage in this conduct proximately caused injury to plaintiff.

Plaintiff’s sole asset and its ability to reorganize its affairs under Chapter 11 of the bankruptcy

code, has now been posted for foreclosure on December 5th, 2023, instead of being protected

through its reorganization proceedings. A foreclosure will irreparably harm Plaintiff.

        COUNT 11: FEDERAL MISREPRESENTATION OF SERVICES AND UNFAIR

                                   COMPETITION UNDER THE LANHAM ACT

       96.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       97.     Section 43 of the Lanhan Act provides civil relief to any person damaged by the

acts of another with connection to “any goods or services,” who uses any “false designation of

origin, false, or misleading description of fact, or false or misleading representation of fact” that

either is either “likely to cause confusion, or to cause mistake, or to deceive as to the affiliation,

connection, or association of such person with another person, or as to the origin, sponsorship, or

approval of his or her goods, services, or commercial activities by another person,” or “in

commercial advertising or promotion, misrepresents the nature, characteristics, qualities, or

geographic origin of his or her or another person’s goods, services, or commercial activities.” 41

U.S.C. § 1125(a)(1).

       98.     To establish a prima facie claim under § 43 of the Lanham Act of 1946, a plaintiff

must establish that: (1) the defendant made a “false or misleading statement of fact,” (2) the

statement “either deceived or had the capacity to deceive a substantial segment of potential

consumers,” (3) the deception was “material, in that it is likely to influence the consumer’s

purchasing decision,” (4) the goods, services, or commercial activities must be “in interstate

commerce,” and finally, (5) “as a result of the statement at issue,” there was injury to the plaintiff
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or the plaintiff “is likely to be injured.” IQ Prod. Co. v. Pennzoil Prod. Co., 305 F.3d 368, 375

(5th Cir. 2002).

       99.     NBK and the Plaintiff entered into a settlement agreement in the spring of

2023. The settlement agreement was confidential. Thereafter, NBK made misleading statements

about the confidential settlement agreement that deceived others, the actions were material, the

actions were in interstate commerce and resulted in injury to the Plaintiff. Since the settlement

agreement was and may still be confidential, further information about the actions could be argued

to be a breach of the confidentiality provisions.

       100.    Further, NBK made misleading statements on the potential leases in the building

owned by the Plaintiff. The Plaintiff had numerous potential leases, NBK refused to approve the

leases, the actions of NBK were misleading, the actions were deceptive as to both the Plaintiff and

the potential leases, the actions were material in influencing the potential tenants in future relations

with the Plaintiff, many of the larger proposed tenants were or are national companies in interstate

commerce and the actions caused injury to the Plaintiff.

       101.    Further, the Plaintiff and principally its owner purchase liens on properties and to

purchase properties oftentimes at foreclosure sales, but other times as purchasers from willing

sellers. Many of these properties are worth millions of dollars. Buying properties worth millions

of dollars is a very capital-intensive business. Consequently, Choudhri must maintain good

reputations to assure that lenders will lend him money and buyers will enter into contracts to

purchase their properties since the primary sources of capital necessary to keep this business

functioning are capital from lenders and proceeds from the sales of their existing properties.

       102.    The capital utilized in the leases and businesses comes from and flows through

interstate commerce and at times through international commerce, and the purchasers or some of
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their members are oftentimes citizens of states other than Texas or countries other than the United

States of America.

       103.    NBK has engaged in false advertising in violation of Section 43(a) of the Lanham

Act as described above and possibly in other ways.

       104.    These acts and others were in violation of 15 USC § 1125(a), Section 43a of the

Lanham Act.

                               COUNT 12: ATTORNEYS’ FEES

       105.    Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       106.    Plaintiff hereby sues Defendants for its reasonable and necessary attorneys’ fees

under breach of a written contract under Civil Practice and Remedies Code §38.001, under the fee

shifting agreement of the contract, and under any statutory or common law right to recover same.

                                    VI. JURY DEMAND

       107.    Plaintiff demands a jury trial and tenders the appropriate fee with this petition.

                                          VII. PRAYER

       108.    For the reasons set forth above, Plaintiff asks that the Court enter a judgment relief

in the following manners:

               a)      Actual damages including economic injuries & consequential damages;

               b)      Attorney’s fees;

               c)      Exemplary damages;

               d)      Prejudgment and post judgment interest;

               e)      Court costs; and

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               f)      All other relief to which Plaintiff is entitled under both law and equity.

                                              Respectfully submitted,

                                              The Pope Law Firm
                                              6161 Savoy Drive, Suite 1125
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                                              Ph: 713-449-4481
                                              Fx: 281-657-9693
                                              jamesp@thepopelawfirm.com

                                              By: /s/ James Q. Pope
                                                   James Q. Pope
                                                   TBN: 24048738
                                                   Attorney for Plaintiff




                                 CERTIFICATE OF SERVICE

       I certify that on December 17, 2023, a copy of the foregoing was served on interested

parties by electronic service using the court’s electronic noticing system.

                                              By: /s/ James Q. Pope
                                                   James Q. Pope




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James Pope on behalf of James Pope
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jamesp@thepopelawfirm.com
Envelope ID: 82647538
Filing Code Description: Amended Filing
Filing Description: Plaintiff Sixth Amended Petition
Status as of 12/18/2023 9:54 AM CST

Case Contacts

Name                       BarNumber   Email                                TimestampSubmitted        Status

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Elizabeth Klingensmith                 liz.klingensmith@pillsburylaw.com    12/17/2023 7:53:14 PM     SENT


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James Pope on behalf of James Pope
Bar No. 24048738
jamesp@thepopelawfirm.com
Envelope ID: 82647538
Filing Code Description: Amended Filing
Filing Description: Plaintiff Sixth Amended Petition
Status as of 12/18/2023 9:54 AM CST

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Ali Choudhri                             ali@jetallcompanies.com               12/17/2023 7:53:14 PM     SENT



Associated Case Party: Ali Choudhri

Name           BarNumber   Email                       TimestampSubmitted      Status

Ali Choudhri               legal@jetallcompanies.com   12/17/2023 7:53:14 PM   SENT




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                               EXHIBIT 3




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                               EXHIBIT 4




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                               EXHIBIT 5




                                                                           000178
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                                    In the Matter Of:

                                    TEXAS REIT LLC
                                         24-10120-smr




                               OMAR KHAWAJA

                                September 11, 2024




                                                                            000179
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       OMAR KHAWAJA                                                  September 11, 2024
       TEXAS REIT LLC                                                                 1

∑1∑∑∑∑∑∑IN THE UNITED STATES BANKRUPTCY COURT

∑2∑∑∑∑∑∑∑FOR THE WESTERN DISTRICT OF TEXAS

∑3∑∑∑∑∑∑∑∑∑∑∑∑AUSTIN DIVISION

∑4

∑5∑∑In re:∑∑∑∑∑∑∑∑∑∑∑∑∑∑Chapter 11

∑6∑∑TEXAS REIT, LLC∑∑∑∑∑∑∑∑∑Case No.

∑7∑∑Debtor∑∑∑∑∑∑∑∑∑∑∑∑∑∑24-10120-smr

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11∑∑∑∑∑∑∑∑∑∑REMOTE DEPOSITION OF

12∑∑∑∑∑∑∑∑∑∑∑∑OMAR KHAWAJA

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16∑∑∑∑∑∑∑∑∑∑∑September 11, 2024
∑∑∑∑∑∑∑∑∑∑∑∑∑∑10:15 a.m.
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19∑∑∑∑∑∑∑∑∑5051 Westheimer, Suite 1200
∑∑∑∑∑∑∑∑∑∑∑∑∑Houston, Texas
20

21

22

23

24
∑∑∑∑∑∑∑Cheryl Madriaga, Shorthand Reporter
25


                                                                 800.211.DEPO (3376)
                                                                 EsquireSolutions.com
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     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                  2

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∑4∑∑∑BARRON & NEWBURGER, P.C.
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∑∑∑On behalf of Deponent, Omar Khawaja:
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14∑∑∑SHACKELFORD, MCKINLEY & NORTON, LLP
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17
∑∑∑Also Present:
18
∑∑∑∑Dwayne Mason, Esq., Greenberg Traurig, LLP -
19∑∑∑prospective counsel for Dalio Holdings I and II, LLC

20∑∑∑Ali Chouhdri, pro se - in his individual capacity

21∑∑∑Gene McCubbin - assistant to Lori Hood

22∑∑∑Tammy Luu - assistant to Ali Choudhri

23∑∑∑Osama Abdullatif - noticed deponent

24∑∑∑John Quinlan - noticed deponent

25


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       OMAR KHAWAJA                                                  September 11, 2024
       TEXAS REIT LLC                                                                 3

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15
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     OMAR KHAWAJA                                                 September 11, 2024
     TEXAS REIT LLC                                                                4

∑1∑∑∑∑∑∑∑∑∑∑P R O C E E D I N G S
∑2∑∑∑∑∑∑THE REPORTER:∑We are on the record.∑The date
∑3∑∑is September 11th, 2024.∑This begins the deposition
∑4∑∑of Omar Khawaja.
∑5∑∑∑∑∑∑My name is Cheryl Madriaga, representing
∑6∑∑Esquire Deposition Solutions.
∑7∑∑∑∑∑∑Will counsel please state their name on the
∑8∑∑record and whom they represent?
∑9∑∑∑∑∑∑MR. SATHER:∑Stephen Sather --
10∑∑∑∑∑∑MR. BALLASES:∑Michael Ballases --
11∑∑∑∑∑∑MR. SATHER:∑-- attorney for --
12∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) Khawaja --
13∑∑∑∑∑∑THE REPORTER:∑Sorry --
14∑∑∑∑∑∑MR. BALLASES:∑-- John Quinlan, and Osama
15∑∑Abdullatif.
16∑∑∑∑∑∑THE REPORTER:∑Okay.∑Sorry.∑I just had two
17∑∑people speaking at once.∑Could I start with one
18∑∑counsel, please?
19∑∑∑∑∑∑MR. BALLASES:∑Sure.∑Michael Ballases,
20∑∑counsel of record for the deponent, Omar Khawaja, also
21∑∑John Quinlan, also Osama Abdullatif.
22∑∑∑∑∑∑THE REPORTER:∑Thank you.
23∑∑∑∑∑∑MR. SATHER:∑Stephen Sather --
24∑∑∑∑∑∑MR. BALLASES:∑You're welcome.
25∑∑∑∑∑∑MR. SATHER:∑-- for Texas REIT, LLC, the


                                                              800.211.DEPO (3376)
                                                              EsquireSolutions.com
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                                                                                       YVer1f
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     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                    5

∑1∑∑debtor in this case.
∑2∑∑∑∑∑∑MS. HOOD:∑Lori Hood of Dalio Holdings, a
∑3∑∑creditor in the case.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Ali Choudhri, a creditor in the
∑5∑∑case.
∑6∑∑∑∑∑∑THE REPORTER:∑Okay.∑Is there anything else,
∑7∑∑or are we ready to have me swear in the witness?
∑8∑∑∑∑∑∑MR. BALLASES:∑Now, there are other people on
∑9∑∑the call.∑They need to make an appearance.
10∑∑∑∑∑∑MR. MASON:∑This is Dwayne Mason, prospective
11∑∑counsel for Dalio with Greenberg Traurig.
12∑∑∑∑∑∑MR. MCCUBBIN:∑Gene McCubbin, assistant to
13∑∑Lori Hood.
14∑∑∑∑∑∑MR. BALLASES:∑Okay.∑I'm going to object --
15∑∑this is Michael Ballases.∑I'm going to object to Lori
16∑∑Hood, her assistant, Ali Choudhri, and Dwayne Mason
17∑∑being present on the call.∑They're not -- they don't
18∑∑represent Texas REIT.∑They're not parties, they don't
19∑∑have standing, and they cannot participate.∑And this
20∑∑is not a creditors' meeting.∑So I want that to be on
21∑∑the record.
22∑∑∑∑∑∑MR. SATHER:∑All right.∑Your objection is
23∑∑noted.∑Let's proceed.
24∑∑∑∑∑∑THE REPORTER:∑Okay.∑And just before we go on
25∑∑the record, I just ask that we please do our best not


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∑1∑∑to speak over one another.
∑2∑∑∑∑∑∑Mr. Khawaja, please keep your voice nice and
∑3∑∑loud, allow counsel to finish his completely before
∑4∑∑you begin your answer, and all answers must be verbal.
∑5∑∑Thank you.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑Just confirming, Madam Court
∑7∑∑Reporter, we are on the record; right?
∑8∑∑∑∑∑∑THE REPORTER:∑Yes, we are.
∑9∑∑∑∑∑∑MR. SATHER:∑All right.
10∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.
11∑∑∑∑∑∑MR. SATHER:∑If you would swear in the
12∑∑witness, please.
13∑∑∑∑∑∑∑∑∑∑∑∑OMAR KHAWAJA,
14∑∑having been first duly sworn, was examined and
15∑∑testified as follows:
16∑∑∑∑∑∑∑∑∑∑∑∑EXAMINATION
17∑∑∑∑∑∑MR. BALLASES:∑Real quick before we get
18∑∑started -- this is Michael Ballases -- I assume we
19∑∑have an agreement to take this deposition by the
20∑∑Federal Rules of Civil Procedure and also the Court's
21∑∑limiting instruction.
22∑∑∑∑∑∑MR. SATHER:∑Yes.
23∑∑∑∑∑∑MR. BALLASES:∑Okay.
24∑∑BY MR. SATHER:
25∑∑∑∑Q.∑All right.∑Mr. Khawaja, have you ever given a


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∑1∑∑deposition before?
∑2∑∑∑∑A.∑I don't think so, no.
∑3∑∑∑∑Q.∑All right.∑But are you familiar with the
∑4∑∑process for taking a deposition, sir?
∑5∑∑∑∑A.∑Yes.∑Yes, I am.
∑6∑∑∑∑Q.∑And do you understand that your testimony
∑7∑∑today is under oath?
∑8∑∑∑∑A.∑Yes, I do.
∑9∑∑∑∑Q.∑And is there anyone present in the room with
10∑∑you where you are giving your testimony?
11∑∑∑∑A.∑Yes, my attorney, Michael Ballases, and the
12∑∑other two parties, Osama Abdullatif and John Quinlan.
13∑∑∑∑Q.∑All right.∑And, Mr. Khawaja, do you
14∑∑understand that you cannot confer with any of the
15∑∑parties in the room with respect to your answers?
16∑∑∑∑A.∑Yes, I do.
17∑∑∑∑Q.∑Tell me what you do for a living.
18∑∑∑∑A.∑I'm an attorney.
19∑∑∑∑Q.∑And are you familiar with a company called
20∑∑Texas REIT, LLC?
21∑∑∑∑A.∑Yes, I am.
22∑∑∑∑Q.∑And how are you familiar with Texas REIT, LLC?
23∑∑∑∑A.∑So an entity that Ali Choudhri owns.
24∑∑∑∑Q.∑Okay.
25∑∑∑∑A.∑Or controls.


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∑1∑∑∑∑Q.∑And have you ever entered into a business
∑2∑∑transaction with Texas REIT, LLC?
∑3∑∑∑∑A.∑No, I have not.
∑4∑∑∑∑Q.∑Do you claim to be an owner of Texas REIT,
∑5∑∑LLC?
∑6∑∑∑∑A.∑No, I don't.
∑7∑∑∑∑Q.∑Have you ever filed a notice of lis pendens on
∑8∑∑behalf of any party against Texas REIT, LLC?
∑9∑∑∑∑A.∑I may have, yes.
10∑∑∑∑Q.∑Okay.∑And are you familiar with what a notice
11∑∑of lis pendens is?
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑Are you familiar with Ali Choudhri, who is
14∑∑present here today?
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And how are you familiar with Mr. Choudhri?
17∑∑∑∑A.∑I have litigation against him.∑He's defrauded
18∑∑me.∑He's defrauded people I know.∑I represent people
19∑∑against him.∑And, you know, we're sitting here in
20∑∑this case today, so I know him because I am a party in
21∑∑this case.
22∑∑∑∑Q.∑All right.∑Are you familiar with Jetall
23∑∑Companies?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑And how are you familiar with Jetall


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∑1∑∑Companies?
∑2∑∑∑∑A.∑It's an entity that Ali Choudhri controls or
∑3∑∑owns, and I have judgments against them.
∑4∑∑∑∑∑∑MR. SATHER:∑All right.∑I'm going to share my
∑5∑∑screen and show Exhibit 1.
∑6∑∑∑∑∑∑(Debtor's Exhibit No. 1 was marked for
∑7∑∑identification.)
∑8∑∑∑∑Q.∑(BY MR. SATHER)∑I have previously provided
∑9∑∑this document to the court reporter and your counsel.
10∑∑∑∑∑∑And so can you see Exhibit Number 1 on the
11∑∑screen, sir?
12∑∑∑∑A.∑Yes, I do.
13∑∑∑∑∑∑THE WITNESS:∑Do you have a physical copy too,
14∑∑Michael?
15∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑Now, are you
16∑∑familiar -- are you aware that this is a proof of
17∑∑claim filed with the United States Bankruptcy Court?
18∑∑∑∑A.∑Yes, I am.
19∑∑∑∑Q.∑And are you one of the claimants listed on
20∑∑this proof of claim?
21∑∑∑∑A.∑I am.
22∑∑∑∑Q.∑And as I read the proof of claim, there are
23∑∑three individuals who are listed as the current
24∑∑creditor:∑John Quinlan, Omar Khawaja, and Osama
25∑∑Abdullatif.∑What is the relationship between the


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∑1∑∑three individuals with respect to the proof of claim?
∑2∑∑∑∑A.∑They're just judgment orders.
∑3∑∑∑∑Q.∑Okay.∑But do each of you assert the claim
∑4∑∑jointly and severally, or do each of you have
∑5∑∑different pieces of the claim?
∑6∑∑∑∑A.∑You know, jointly and severally.
∑7∑∑∑∑Q.∑All right.∑Now, do you have an agreement
∑8∑∑between the three of you as to how any monies received
∑9∑∑on the claim will be divided?
10∑∑∑∑A.∑Not particularly.∑I mean, you know, we don't
11∑∑have a written agreement, from my understanding.
12∑∑∑∑Q.∑Okay.∑Now, if I could go --
13∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) Ballases.∑I'm
14∑∑going to object.∑You're violating -- you're being
15∑∑harassing and oppressive and that you're violating the
16∑∑Court's limiting instruction.
17∑∑∑∑∑∑I'm going to give you a little bit of leeway
18∑∑to get into all this just because it's background, but
19∑∑the purpose of this deposition is for you to ascertain
20∑∑why my clients filed the proof of claim and why they
21∑∑now want to withdraw it.∑And so I'll give you some
22∑∑leeway, but I'm just letting you know.
23∑∑∑∑∑∑MR. SATHER:∑All right.∑I disagree with that
24∑∑contention.∑I've listened to Judge Robinson's ruling.
25∑∑I think it's broader.∑But I'm going to continue on,


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∑1∑∑and if we run into a problem, we may have to take that
∑2∑∑up with the Court.∑But let me move on with my
∑3∑∑questions.
∑4∑∑∑∑Q.∑(BY MR. SATHER)∑Mr. Khawaja, did you sign the
∑5∑∑proof of claim?
∑6∑∑∑∑A.∑I don't recall signing it.∑I may have. I
∑7∑∑don't know.
∑8∑∑∑∑Q.∑Okay.∑Did you authorize filing the proof of
∑9∑∑claim?
10∑∑∑∑A.∑Yes, I did.
11∑∑∑∑Q.∑Did you read the proof of claim before it was
12∑∑filed?
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑What steps did you take to ensure that the
15∑∑proof of claim was accurate?
16∑∑∑∑A.∑I read it.
17∑∑∑∑Q.∑All right.∑Now, I'm going to go down to Box 7
18∑∑on the claim, and that has a dollar amount.∑Do you
19∑∑see that?
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑And do you know how that number was
22∑∑calculated?
23∑∑∑∑A.∑I don't recall.
24∑∑∑∑Q.∑Going to page 8 of 54, there is a summary of
25∑∑damages.∑Does that refresh your recollection as to


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∑1∑∑how the proof of claim numbers were calculated?
∑2∑∑∑∑A.∑Can you enlarge it just a little bit so I can
∑3∑∑look at it carefully?
∑4∑∑∑∑Q.∑Sure I can.∑It does depend on my ability to
∑5∑∑work this.∑Does that help?
∑6∑∑∑∑A.∑Yeah, that -- that helps.∑Thank you.
∑7∑∑∑∑Q.∑And so do you know where -- and let me scroll
∑8∑∑up here.
∑9∑∑∑∑A.∑Sure.
10∑∑∑∑Q.∑Do you know where these numbers came from?
11∑∑∑∑A.∑This appears to be numbers that my counsel
12∑∑provided.
13∑∑∑∑Q.∑And for the record, who is your counsel who
14∑∑provided the numbers?
15∑∑∑∑A.∑Michael Ballases with Hoover Slovacek.
16∑∑∑∑Q.∑And have you taken any steps personally to
17∑∑verify that these amounts are correct?
18∑∑∑∑A.∑I mean, I looked at the judgments before we
19∑∑filed them.
20∑∑∑∑Q.∑Anything else?
21∑∑∑∑A.∑That's it.
22∑∑∑∑Q.∑Now I'm going to go to Box 9 and -- now, on
23∑∑this page, it asks:∑Is any -- all or any part of the
24∑∑claim secured?∑And it's not checked, but I'd like to
25∑∑go to a subsequent page.∑It may be a prior page.


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∑1∑∑Excuse me.
∑2∑∑∑∑∑∑Okay.∑Here we go.∑Looking at Box 9, do you
∑3∑∑see where the box of, Is the claim secured, checked
∑4∑∑"Yes."∑Do you see that, sir?
∑5∑∑∑∑A.∑I do see that.
∑6∑∑∑∑Q.∑What is the basis for the claim being secured
∑7∑∑according to the proof of claim?
∑8∑∑∑∑A.∑I mean, I'd have to ask my attorney.
∑9∑∑∑∑Q.∑Okay.∑But it says -- and I believe this is
10∑∑probably a typo, but it says "les pendens."∑You think
11∑∑that's a reference to filing of a notice of lis
12∑∑pendens?
13∑∑∑∑A.∑It could be.
14∑∑∑∑Q.∑And is it your contention that filing a notice
15∑∑of lis pendens creates an interest in property?
16∑∑∑∑A.∑It doesn't create -- it doesn't create an
17∑∑interest in property.
18∑∑∑∑Q.∑All right.∑What do you believe that it does?
19∑∑∑∑A.∑It secures a potential claim against property.
20∑∑∑∑Q.∑Okay.∑Now, it's my understanding that the
21∑∑proof of claim is based upon three separate judgments.
22∑∑Is that your understanding?
23∑∑∑∑A.∑I think that's accurate.
24∑∑∑∑Q.∑Now, would you agree with me that none of
25∑∑these judgments were taken against Texas REIT, LLC,


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∑1∑∑the debtor in this case?
∑2∑∑∑∑A.∑I believe that's correct.
∑3∑∑∑∑Q.∑Now, I'm going to go down and look at the
∑4∑∑different judgments, and I'm going to ask you some
∑5∑∑questions about them.∑And actually I'm just going to
∑6∑∑start with the summary here.
∑7∑∑∑∑∑∑Number 1 is -- Judgment 1 is called the "Davy
∑8∑∑and Heil Judgment."∑Do you see that?
∑9∑∑∑∑A.∑I do.
10∑∑∑∑Q.∑And this appears to be -- actually, I am going
11∑∑to go to the judgment.∑I apologize.∑This appears to
12∑∑be a judgment in a case from the Court of Appeal
13∑∑styled Jetall Companies, Inc., Appellant, versus
14∑∑Richard Heil, Todd Oakum, and Renee Davy, formerly
15∑∑known as Renee Davy, formally known as Renee Oakum.
16∑∑∑∑∑∑Do you see that?
17∑∑∑∑A.∑I do.
18∑∑∑∑Q.∑Now, you were not a party to this judgment,
19∑∑were you, sir?
20∑∑∑∑A.∑I was not.
21∑∑∑∑Q.∑And what is your connection to the judgment
22∑∑that would give you the authority to submit a proof of
23∑∑claim in this case?
24∑∑∑∑A.∑The judgment was assigned to me.
25∑∑∑∑Q.∑Okay.∑And is that -- was that a written


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∑1∑∑assignment of judgment?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And I will represent to you that the
∑4∑∑assignment of judgment is not part of the proof of
∑5∑∑claim.∑Do you know why that assignment was not
∑6∑∑included?
∑7∑∑∑∑A.∑I don't know why.
∑8∑∑∑∑Q.∑And if we were to look at the assignment of
∑9∑∑the judgment, would the assignee be just Omar Khawaja,
10∑∑or would it be someone else?
11∑∑∑∑A.∑I believe my assignment would have my name on
12∑∑it.∑I'm not sure about the other assignments.
13∑∑∑∑Q.∑Okay.∑So for this particular judgment, it was
14∑∑assigned to you, Omar Khawaja?
15∑∑∑∑A.∑I don't have it in front of me.∑It's possible
16∑∑that Mr. Abdullatif and Mr. Quinlan's name are on the
17∑∑assignment.
18∑∑∑∑Q.∑All right.∑How much did you pay to have the
19∑∑judgment assigned to you?
20∑∑∑∑A.∑I don't recall.
21∑∑∑∑Q.∑And did you pay anything to acquire the
22∑∑judgment?
23∑∑∑∑A.∑Yes, I did.
24∑∑∑∑Q.∑Now, do you agree with me that this judgment
25∑∑is against Jetall Companies and not Texas REIT?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑This particular judgment is against Jetall;
∑3∑∑that is correct.
∑4∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑And so do you
∑5∑∑contend that Texas REIT, LLC, is liable for a judgment
∑6∑∑against Jetall Companies, Inc.?
∑7∑∑∑∑A.∑Yes, I do.
∑8∑∑∑∑Q.∑And why do you contend that, sir?
∑9∑∑∑∑A.∑Because all of the entities that Mr. Choudhri
10∑∑either controls or is involved in are essentially
11∑∑shell companies for his own personal finances, so
12∑∑any --
13∑∑∑∑Q.∑(Unintelligible)
14∑∑∑∑A.∑Any company are -- I'm sorry.∑Would you like
15∑∑me to continue, or --
16∑∑∑∑Q.∑Yes, please.
17∑∑∑∑A.∑-- do you want to --
18∑∑∑∑Q.∑I did not mean to cut you off.
19∑∑∑∑A.∑Sorry.∑I was saying any entity that
20∑∑Mr. Choudhri controls or owns is treated as if it is
21∑∑his own personal asset with no respect for the
22∑∑corporate form and, I believe, is responsible for --
23∑∑one entity is responsible for the other entity's
24∑∑conduct.
25∑∑∑∑Q.∑Now I'd like to scroll down to the second


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∑1∑∑judgment.∑And this document says it's a judgment from
∑2∑∑the 14th Court of Appeals in Jetall Companies, Inc.
∑3∑∑Versus Hoover Slovacek, LLP.∑Are you familiar with
∑4∑∑this judgment?
∑5∑∑∑∑A.∑Yes, I am.
∑6∑∑∑∑Q.∑Is Hoover Slovacek the law firm that is
∑7∑∑representing you today in connection with this
∑8∑∑deposition?
∑9∑∑∑∑A.∑Yes, it is.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MR. SATHER)∑You can answer.
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑What is your connection to -- your connection,
14∑∑if any, to this judgment?
15∑∑∑∑A.∑I believe I acquired it.
16∑∑∑∑Q.∑Did you acquire it by way of a written
17∑∑assignment?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑And did you pay any consideration to Hoover
20∑∑Slovacek to acquire their judgment?
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑And how much did you pay them to acquire this
23∑∑judgment?
24∑∑∑∑A.∑I don't recall how much I paid.
25∑∑∑∑Q.∑And is it a regular part of your business to


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∑1∑∑purchase judgments?
∑2∑∑∑∑A.∑Yes, it is.
∑3∑∑∑∑Q.∑Now, I may have asked this already, in which
∑4∑∑case I apologize, but do you have a written assignment
∑5∑∑of judgment?
∑6∑∑∑∑A.∑Yes -- yes, I believe there is one.∑I don't
∑7∑∑have it in front of me.
∑8∑∑∑∑Q.∑Is there a reason that assignment was not
∑9∑∑included with the proof of claim?
10∑∑∑∑A.∑I don't know.
11∑∑∑∑Q.∑And do you know whether the assignment would
12∑∑have been in favor of you, John Quinlan, Osama
13∑∑Abdullatif, or some combination of the three of you?
14∑∑∑∑A.∑I believe all three of us.∑It was assigned to
15∑∑all three of us on the same instrument.
16∑∑∑∑Q.∑Now, do you agree with me that this judgment
17∑∑is against Jetall Companies and not Texas REIT, LLC?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑And why do you contend that Texas REIT, LLC,
20∑∑is liable for a judgment against Jetall Companies?
21∑∑∑∑A.∑Because Texas REIT, LLC, is an alter ego of
22∑∑Jetall Companies, Inc.
23∑∑∑∑Q.∑Now I'm going to go to the third judgment.
24∑∑And this is a judgment in a case -- well, first of
25∑∑all, do you see the judgment that I have up on the


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∑1∑∑screen?
∑2∑∑∑∑A.∑I do.
∑3∑∑∑∑Q.∑And that appears to be a judgment in a case,
∑4∑∑Osama Abdullatif, individually, and Abdullatif &
∑5∑∑Company, LLC, versus Ali Choudhri and Houston Real
∑6∑∑Estate Properties, LLC; is that correct?
∑7∑∑∑∑A.∑That's correct.
∑8∑∑∑∑Q.∑And do you have an interest in this judgment,
∑9∑∑or is this just Mr. Abdullatif's judgment?
10∑∑∑∑A.∑This particular judgment is Mr. Abdullatif's
11∑∑judgment.
12∑∑∑∑Q.∑All right.∑So do you have any interest in
13∑∑this judgment whatsoever?
14∑∑∑∑A.∑No, I do not.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑Do you assert an
17∑∑interest in the judgment in Cause Number 2013-41273?
18∑∑∑∑A.∑No.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑Q.∑(BY MR. SATHER)∑Now, of the three judgments
21∑∑we went through, you assert an interest in the first
22∑∑two, but not the third; is that correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑That's correct.
25∑∑∑∑Q.∑(BY MR. SATHER)∑Now, continuing down in the


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∑1∑∑claim, there is a copy of an adversary proceeding that
∑2∑∑was filed in the United States Bankruptcy Court for
∑3∑∑the Southern District of Texas.∑Are you familiar with
∑4∑∑this adversary proceeding?
∑5∑∑∑∑A.∑Vaguely.
∑6∑∑∑∑Q.∑Okay.∑And I see that you are named as one of
∑7∑∑the movants in the adversary proceeding.∑Do you see
∑8∑∑that?
∑9∑∑∑∑A.∑Yes, I do.
10∑∑∑∑Q.∑Did you authorize the adversary proceeding to
11∑∑be filed listing you as one of the participants?
12∑∑∑∑A.∑Yes, I did.
13∑∑∑∑Q.∑Did you read it before it was signed?
14∑∑∑∑A.∑Yes, I did.
15∑∑∑∑Q.∑Now, so what is your understanding of the role
16∑∑that this adver -- or that this original complaint
17∑∑plays with respect to the proof of claim that was
18∑∑filed on your behalf?
19∑∑∑∑A.∑I mean, I'm not a bankruptcy attorney.∑We're
20∑∑doing whatever we need to do to try to collect our
21∑∑judgment.
22∑∑∑∑Q.∑So you're an attorney; right?
23∑∑∑∑A.∑Yes.
24∑∑∑∑Q.∑And you -- when you represent clients, you
25∑∑file pleadings on their behalf; correct?


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∑1∑∑∑∑A.∑That's correct.
∑2∑∑∑∑Q.∑And -- but your clients need to understand
∑3∑∑what you're filing for them, don't they?∑Isn't that
∑4∑∑part of the rules regarding filing lawsuits?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑What steps did you take to familiarize
∑7∑∑yourself with the allegations in this adversary
∑8∑∑proceeding?
∑9∑∑∑∑A.∑I reviewed the judgments, and I reviewed the
10∑∑complaint.
11∑∑∑∑Q.∑And after reviewing them, did you conclude
12∑∑that the allegations were true and correct?
13∑∑∑∑A.∑Yes, I did.
14∑∑∑∑Q.∑Now I'm going to read you a statement in
15∑∑paragraph 1 of the adversary proceeding, which says:
16∑∑∑∑∑∑This lawsuit shall prove that Jetall
17∑∑∑∑∑∑Companies, Inc., Arabella PH 3201, LLC,
18∑∑∑∑∑∑9201 Memorial Drive, LLC, 2727 Kirby 26L,
19∑∑∑∑∑∑LLC, Texas REIT, LLC, Dalio Holdings I,
20∑∑∑∑∑∑LLC, Dalio Holdings II, LLC, Houston Real
21∑∑∑∑∑∑Estate Properties, LLC, Shahnaz Choudhri,
22∑∑∑∑∑∑Ali Choudhri, Shepherd-Huldy
23∑∑∑∑∑∑Development I, LLC, Shepherd-Huldy
24∑∑∑∑∑∑Development II, LLC, and Galleria Loop
25∑∑∑∑∑∑Note Holder, LLC, (collectively the


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∑1∑∑∑∑∑∑Choudhri defendants) are alter egos of
∑2∑∑∑∑∑∑each other and intentionally acting in a
∑3∑∑∑∑∑∑manner to defraud creditors and evade
∑4∑∑∑∑∑∑legal obligations through a series of
∑5∑∑∑∑∑∑fraudulent transfers.∑The evidence will
∑6∑∑∑∑∑∑demonstrate that Ali Choudhri is the
∑7∑∑∑∑∑∑puppeteer controlling his web of business
∑8∑∑∑∑∑∑entities, which hold his various
∑9∑∑∑∑∑∑properties and other assets.∑This web
10∑∑∑∑∑∑includes Houston Real Estate Properties,
11∑∑∑∑∑∑LLC, and Jetall Companies, Inc., as well
12∑∑∑∑∑∑as the other named defendants.
13∑∑Did I read that correctly?
14∑∑∑∑A.∑Yes, you did.
15∑∑∑∑Q.∑Do you have an understanding of what it means
16∑∑to say that one person or company is the alter ego of
17∑∑another person or company?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑And what is your understanding?
20∑∑∑∑A.∑That one entity pays the debts or obligations
21∑∑of another.∑They commingle funds, commingle assets.
22∑∑One principal is taking actions on behalf of any of
23∑∑the various alter egos at any given time with no
24∑∑respect for the corporate form.∑Yeah, that's my --
25∑∑that's my understanding.


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∑1∑∑∑∑Q.∑All right.∑Now, is it your contention that
∑2∑∑each of the 13 persons and companies named as
∑3∑∑defendants is the alter ego of every other one of the
∑4∑∑persons and companies named?
∑5∑∑∑∑A.∑That's what --
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑(BY MR. SATHER)∑So are you contending that
∑9∑∑Texas REIT is the alter ego of Jetall Companies?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑That's what it says.∑Yes.
12∑∑∑∑Q.∑(BY MR. SATHER)∑And are you alleging that
13∑∑Texas REIT is the alter ego of Arabella PH 3201, LLC?
14∑∑∑∑A.∑Yes.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑Q.∑(BY MR. SATHER)∑Are you alleging that Texas
17∑∑REIT is the alter ego of Dalio I Holdings (sic), LLC?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑A.∑Yes.
20∑∑∑∑Q.∑(BY MR. SATHER)∑And would your answers be the
21∑∑same if I went through all of the rest of the names of
22∑∑the defendants in this case?
23∑∑∑∑A.∑Yes, because Ali Choudhri controls all of
24∑∑them.
25∑∑∑∑Q.∑All right.∑And so are you alleging that Ali


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∑1∑∑Choudhri and Shahnaz Choudhri are alter egos of each
∑2∑∑other?
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑Q.∑(BY MR. SATHER)∑So are you -- it's your
∑6∑∑contention that any company or entity in which Ali
∑7∑∑Choudhri has an interest is an alter ego of Ali
∑8∑∑Choudhri?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑I don't know if there's any.∑I mean, are
11∑∑there entities that I don't know about?∑I don't know.
12∑∑∑∑Q.∑(BY MR. SATHER)∑Were you aware that there was
13∑∑an amended complaint filed that names 17 defendants?
14∑∑∑∑A.∑I believe --
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I believe so.
17∑∑∑∑Q.∑(BY MR. SATHER)∑And is it your contention
18∑∑that each of the 17 defendants is the alter ego of
19∑∑each of the other 17 defendants?
20∑∑∑∑A.∑If that's what the petition says, yes, that's
21∑∑my contention.
22∑∑∑∑Q.∑The complaint alleges that each of the claimed
23∑∑alter egos were, quote (Reading:)∑...intentionally
24∑∑acting in a manner to defraud creditors and evade
25∑∑legal obligations through a series of fraudulent


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∑1∑∑transfers.
∑2∑∑∑∑∑∑Did I read that right?
∑3∑∑∑∑A.∑Yes, you did.
∑4∑∑∑∑Q.∑So are you claiming that every one of these 13
∑5∑∑or 17 persons and companies listed made fraudulent
∑6∑∑transfers to each and every other one of the persons
∑7∑∑and companies listed?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑So, for example, are you claiming that Shahnaz
10∑∑Choudhri made fraudulent transfers to 2727 Kirby 26L,
11∑∑LLC?
12∑∑∑∑A.∑I don't know about that.
13∑∑∑∑Q.∑As we sit here today, do you know of any
14∑∑fraudulent transfers that any of these defendants made
15∑∑to Texas REIT, LLC, the debtor in this case?
16∑∑∑∑A.∑I don't.
17∑∑∑∑Q.∑And so with respect to that particular
18∑∑allegation about making fraudulent transfers, you're
19∑∑not aware of any involving the debtor in this case;
20∑∑correct?
21∑∑∑∑A.∑I'm not aware of any sitting as -- as I'm
22∑∑sitting here right now.∑But any specific one?∑No.
23∑∑∑∑Q.∑And what would you need to do --
24∑∑∑∑∑∑THE WITNESS:∑Oh, Mr. Sather, I'm sorry. I
25∑∑need to just take a quick restroom break if you don't


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∑1∑∑mind.
∑2∑∑∑∑∑∑MR. SATHER:∑All right --
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑No.∑No.∑No.∑Hold on.∑Let's
∑4∑∑finish this line of questioning.∑Please ask your
∑5∑∑question --
∑6∑∑∑∑∑∑MR. SATHER:∑Mr. Choudhri -- Mr. Choudhri,
∑7∑∑it's my questions.∑I decide whether we're going to
∑8∑∑take a bathroom break or not.
∑9∑∑∑∑∑∑I don't have a problem with taking a break,
10∑∑but do not discuss your testimony with your attorney
11∑∑while we're off the record.
12∑∑∑∑∑∑THE WITNESS:∑Not a problem.
13∑∑∑∑∑∑MR. SATHER:∑All right.∑And so five minutes?
14∑∑∑∑∑∑THE WITNESS:∑Five minutes should be good.
15∑∑∑∑∑∑MR. SATHER:∑All right.∑Madam Reporter, we
16∑∑will be off the record for five minutes.
17∑∑∑∑∑∑THE REPORTER:∑Off the record.
18∑∑∑∑∑∑(A recess was taken.)
19∑∑∑∑∑∑THE REPORTER:∑All right.∑We are back on the
20∑∑record.
21∑∑∑∑Q.∑(BY MR. SATHER)∑And, Mr. Khawaja, I want to
22∑∑follow up on something I asked you earlier.∑When I
23∑∑asked you how you knew Ali Choudhri, you said that he
24∑∑defrauded you.∑Can you tell me what transaction that
25∑∑he defrauded you with regard to?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑It was an apartment complex that my family
∑3∑∑owned.
∑4∑∑∑∑Q.∑(BY MR. SATHER)∑And was it you personally, or
∑5∑∑was it your family?
∑6∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct the
∑7∑∑witness not to answer.∑He's here to answer the basis
∑8∑∑for his proof of claim and why he wants to withdraw
∑9∑∑it.∑That's not a part of his claim.∑It's not alleged
10∑∑in any of the documents, and therefore, it's outside
11∑∑the scope of the judge's limiting instruction.
12∑∑∑∑Q.∑(BY MR. SATHER)∑Is this prior transaction --
13∑∑have anything to do with this case?
14∑∑∑∑A.∑I'm sorry.∑Can you repeat that question?
15∑∑∑∑Q.∑Yes.∑Does the prior transaction where you say
16∑∑Mr. Choudhri defrauded you or your family -- does that
17∑∑have anything to do with the proof of claim against
18∑∑Texas REIT?
19∑∑∑∑A.∑No.
20∑∑∑∑Q.∑Now, earlier I asked you about whether your
21∑∑business involved purchasing judgments, and I also --
22∑∑you also testified that you're an attorney.∑Are those
23∑∑separate businesses that you're involved in?
24∑∑∑∑A.∑No.
25∑∑∑∑Q.∑And so do you purchase judgments through your


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∑1∑∑law firm?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And about how many judgments have you
∑4∑∑purchased in, say, the last five years?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑I don't know.∑I'm not sure, to be honest with
∑7∑∑you.
∑8∑∑∑∑Q.∑(BY MR. SATHER)∑More than ten?
∑9∑∑∑∑A.∑No, probably not more than ten.
10∑∑∑∑Q.∑And --
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. SATHER)∑-- have you -- do you
13∑∑purchase judgments against anyone other than entities
14∑∑related to Ali Choudhri?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑Not that I can recall.
17∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑So when we talk
18∑∑about your purchase of judgments, that -- at least as
19∑∑you recall today, those relate to your dealings with
20∑∑Ali Choudhri.
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑And how would you describe your relationship
23∑∑with Mr. Choudhri?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑What do you -- what do you mean?


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∑1∑∑∑∑Q.∑(BY MR. SATHER)∑Is it cordial?∑Unpleasant?
∑2∑∑Adversarial?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑He owes me money.∑I mean, that's about it.
∑5∑∑∑∑Q.∑(BY MR. SATHER)∑Going back to the adversary
∑6∑∑proceeding that's part of the proof of claim, I'm
∑7∑∑going to go to paragraph 22.∑And it's kind of a long
∑8∑∑paragraph, so I'm just going to read you some
∑9∑∑sentences towards the end where it says, quote
10∑∑(Reading:)∑Choudhri views HREP, Jetall, and himself,
11∑∑as well as the other named defendants, as one and the
12∑∑same and utilizes them in such a fashion.∑In other
13∑∑words, there is unity between Choudhri, HREP, Jetall,
14∑∑and his other business entities such that the
15∑∑separateness of the business entities has ceased, and
16∑∑thus this Court should treat the Choudhri defendants
17∑∑accordingly to protect plaintiffs/the creditors.∑And
18∑∑this is where the lawsuit begins.
19∑∑∑∑∑∑So did I read that correctly?
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑And so what is the basis for your statement
22∑∑that Mr. Choudhri views all of the Choudhri defendants
23∑∑as one and the same?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑It's in the petition, Counsel.∑All of the


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∑1∑∑bases that we have are listed out in very clear, you
∑2∑∑know, language, just like you read.
∑3∑∑∑∑Q.∑(BY MR. SATHER)∑Can you articulate what any
∑4∑∑of those bases are?
∑5∑∑∑∑A.∑It's -- I mean --
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑-- do you want me to -- do you want me to
∑8∑∑start reading the petition for you?∑I'm happy to read
∑9∑∑it for you, but it's in the petition.
10∑∑∑∑Q.∑(BY MR. SATHER)∑I'm asking you -- I mean,
11∑∑without reading the petition, do you know what the
12∑∑basis for the allegations is?
13∑∑∑∑A.∑I mean the -- without reading the petition,
14∑∑the purpose of the petition was to articulate the
15∑∑basis of the petition.∑So it's in the petition
16∑∑itself.∑I'm happy to read through the petition for
17∑∑you if you'd like me to, but in -- in plain language,
18∑∑he treats every entity that he controls or owns as a
19∑∑personal piggy bank, just like the petition states.
20∑∑And that's the basis of the alter ego claim that we're
21∑∑making.
22∑∑∑∑Q.∑All right.∑And so your allegation is also
23∑∑that he views his mother as one and the same with
24∑∑himself?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑(BY MR. SATHER)∑Now, you obviously don't
∑3∑∑contend that they're the same person; right?∑You --
∑4∑∑they are different human beings.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑∑∑(Crosstalk)
∑7∑∑∑∑A.∑Sorry.∑Is that a -- was that -- do you really
∑8∑∑want me to answer that question?∑I'm not sure.
∑9∑∑∑∑Q.∑(BY MR. SATHER)∑Yes, I do.∑I wouldn't have
10∑∑asked it if I --
11∑∑∑∑A.∑You mean like Norman Bates, that kind of thing
12∑∑or -- is that what -- I'm sorry.∑It's just a
13∑∑stupid --
14∑∑∑∑Q.∑(BY MR. SATHER)∑I just want you to
15∑∑acknowledge that these are two different human beings,
16∑∑sir.
17∑∑∑∑A.∑Yes, sir.∑Yes, they're two different human
18∑∑beings.
19∑∑∑∑Q.∑And so is it your contention that there's no
20∑∑separateness between, say, Houston Real Estate
21∑∑Properties, LLC, and Texas REIT, LLC?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Again, I'm gonna -- I'm gonna refer you back,
24∑∑Mr. Sather, to the petition.∑That's what the petition
25∑∑states.


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∑1∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑And you contend
∑2∑∑that -- and you stand by the allegations in the
∑3∑∑petition.
∑4∑∑∑∑A.∑Yes, sir.∑I stand by each and every
∑5∑∑allegation in the petition.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. SATHER)∑And so is everything that you
∑8∑∑know about this allegation of alter ego contained in
∑9∑∑the petition?
10∑∑∑∑A.∑I mean, we don't -- I don't believe we
11∑∑finished discovering the process, sir, so we're -- I'm
12∑∑sure we're gonna get to learn a lot more about the
13∑∑alter-ego basis on which Mr. Choudhri operates and the
14∑∑other defendants.
15∑∑∑∑Q.∑And so did the petition set forth all of the
16∑∑bases that you knew about at the time it was filed?
17∑∑∑∑A.∑In a good faith manner, yes.
18∑∑∑∑Q.∑All right.∑What does that mean, "in a good
19∑∑faith manner"?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑To the best of our ability, right, on some --
22∑∑on some evidence that we've been able to muster.
23∑∑∑∑Q.∑(BY MR. SATHER)∑Did you intentionally omit
24∑∑any bases for making an allegation of alter ego?
25∑∑∑∑A.∑No.


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∑1∑∑∑∑∑∑MR. BALLASES:∑No, I instruct the client not
∑2∑∑to answer, simply because you're invading attorney
∑3∑∑work product, legal privileges.∑What we decided to
∑4∑∑put in or not in our petition is subject to work
∑5∑∑product and privilege.∑Don't invade our privilege,
∑6∑∑please.
∑7∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑Do you know of
∑8∑∑any evidence that you decided not to include in the
∑9∑∑petition?
10∑∑∑∑∑∑MR. BALLASES:∑Same assertion of privilege.
11∑∑∑∑Q.∑(BY MR. SATHER)∑You can answer, sir.
12∑∑∑∑∑∑MR. BALLASES:∑It's work product and
13∑∑privilege.∑I'm instructing him not to answer.∑It's
14∑∑invading a legal privilege that he enjoys.
15∑∑∑∑∑∑THE REPORTER:∑And I'm sorry.∑Counsel, if I
16∑∑could just get you to just speak up a little bit as
17∑∑well.∑You're just sounding a little bit muffled.
18∑∑∑∑∑∑MR. BALLASES:∑Yes, ma'am.
19∑∑∑∑∑∑THE REPORTER:∑Thank you.
20∑∑∑∑Q.∑(BY MR. SATHER)∑I'd like to go to
21∑∑paragraph 23 where it says (Reading:)∑Plaintiffs are
22∑∑upstanding, honest, and respectable businessmen, real
23∑∑estate developers, attorneys, and/or a combination of
24∑∑all.
25∑∑∑∑∑∑Which of those categories do you fall into,


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∑1∑∑sir?
∑2∑∑∑∑A.∑(Reading:)∑Plaintiffs are upstanding, honest,
∑3∑∑respectable businessmen, attorneys --
∑4∑∑∑∑∑∑A combination.
∑5∑∑∑∑Q.∑Okay.∑A combination of what?
∑6∑∑∑∑A.∑Of all.
∑7∑∑∑∑Q.∑Okay.∑So you're a businessman, real estate
∑8∑∑developer, and attorney?
∑9∑∑∑∑A.∑But I'm also upstanding, honest, and
10∑∑respectable.
11∑∑∑∑Q.∑Okay.∑Now, was it upstanding, honest, and
12∑∑respectable for you to sponsor Mr. Choudhri's ex-wife
13∑∑to claim to still be married to him and file notices
14∑∑of lis pendens against all of his properties?
15∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct the
16∑∑client not to answer.∑You are violating the Court's
17∑∑limiting instruction as to this deposition, and the
18∑∑purpose of this deposition is to find the basis for
19∑∑the filing of the proof of claim and why we are
20∑∑willing to withdraw it now.∑I'll let you go on and
21∑∑get past that, but I'm going to start putting stops to
22∑∑it if this is the kind of stuff we're going to have.
23∑∑∑∑Q.∑(BY MR. SATHER)∑Okay.∑But it's your
24∑∑contention that you are, in fact, an upstanding,
25∑∑honest, and respectable businessman, real estate


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∑1∑∑developer, and attorney, sir.
∑2∑∑∑∑A.∑Yes --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑MR. SATHER:∑Now, I'm going to move on to a
∑5∑∑different exhibit, Exhibit Number 2, assuming I can
∑6∑∑bring it up on the screen.
∑7∑∑∑∑∑∑(Debtor's Exhibit No. 2 was marked for
∑8∑∑identification.)
∑9∑∑∑∑Q.∑(BY MR. SATHER)∑Actually, one thing I didn't
10∑∑ask you, Mr. Khawaja:∑How old of a man are you?
11∑∑∑∑A.∑46.
12∑∑∑∑Q.∑And are you licensed to practice law in the
13∑∑state of Texas?
14∑∑∑∑A.∑Yes, I am.
15∑∑∑∑Q.∑And when were you licensed?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑2010.
18∑∑∑∑Q.∑(BY MR. SATHER)∑I've brought up on the screen
19∑∑what we've marked as Exhibit 2, which is titled
20∑∑"Supplemental Notice of Lis Pendens."∑Are you
21∑∑familiar with this document?
22∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather, we don't have
23∑∑copies of that.∑Could you please e-mail that to
24∑∑myself and Steve Leyh and any other exhibits you'd
25∑∑like to use?


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∑1∑∑∑∑∑∑MR. SATHER:∑Sure.∑Those should've been
∑2∑∑provided to you in a ShareFile yesterday.
∑3∑∑∑∑∑∑MR. BALLASES:∑Could you resend them?
∑4∑∑∑∑∑∑MR. SATHER:∑I will -- yes, I will resend
∑5∑∑those --
∑6∑∑∑∑∑∑MR. BALLASES:∑Please send them to Steve and
∑7∑∑myself.
∑8∑∑∑∑∑∑MR. SATHER:∑My computer is lagging just a
∑9∑∑little bit, so it'll take a second for them to load.
10∑∑But I had tried to provide these to you ahead of time
11∑∑so we could avoid this.
12∑∑∑∑∑∑Okay.∑And as you can see from the screen
13∑∑share, I have sent the e-mail to you.
14∑∑∑∑∑∑THE WITNESS:∑Michael, I think he's addressing
15∑∑you on the e-mail.
16∑∑∑∑∑∑MR. BALLASES:∑That's fine.
17∑∑∑∑Q.∑(BY MR. SATHER)∑Now, what we've marked as
18∑∑Exhibit Number 2 is a supplemental notice of lis
19∑∑pendens.∑And I'm going to scroll down to the end of
20∑∑it, and do you see the real property description
21∑∑there?
22∑∑∑∑A.∑I do, yes.
23∑∑∑∑Q.∑And are you aware that that is real property
24∑∑owned by Texas REIT, LLC?
25∑∑∑∑A.∑Yes.


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∑1∑∑∑∑Q.∑And are you familiar with this notice of
∑2∑∑lis pendens?
∑3∑∑∑∑A.∑I believe I looked at it before it was filed,
∑4∑∑yes.
∑5∑∑∑∑Q.∑And it looks like it's filed by
∑6∑∑Mr. Abdullatif, and he is one of the parties to the
∑7∑∑proof of claim; correct?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MR. SATHER)∑And did you approve of the
11∑∑filing of this notice?
12∑∑∑∑A.∑I must have if it was filed.
13∑∑∑∑Q.∑And what's your understanding of the purpose
14∑∑of this notice?
15∑∑∑∑A.∑To make sure that we secure any proceeds that
16∑∑could potentially come to Ali Choudhri or his entities
17∑∑that he owes to us.
18∑∑∑∑Q.∑And do you know why it was filed?
19∑∑∑∑A.∑For that reason.
20∑∑∑∑∑∑MR. SATHER:∑I'm going to show you another lis
21∑∑pendens which we have marked as Exhibit Number 3.
22∑∑∑∑∑∑(Debtor's Exhibit No. 3 was marked for
23∑∑identification.)
24∑∑∑∑Q.∑(BY MR. SATHER)∑And are you familiar with
25∑∑this document?


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∑1∑∑∑∑A.∑Exhibit Number 3.∑Sorry.∑Yes.
∑2∑∑∑∑Q.∑And I see this was signed by Osama Abdullatif
∑3∑∑as well.
∑4∑∑∑∑A.∑Yes.
∑5∑∑∑∑Q.∑And would your questions be the same -- or
∑6∑∑your answers be the same with regard to this notice of
∑7∑∑lis pendens as with the prior one?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. SATHER:∑I'm going to switch gears now and
10∑∑go to Exhibit Number 4, which is an adversary
11∑∑complaint filed by George Lee against Texas REIT, LLC,
12∑∑and Ali Choudhri -- or at Exhibit 4.∑Excuse me.
13∑∑∑∑∑∑(Debtor's Exhibit No. 4 was marked for
14∑∑identification.)
15∑∑∑∑Q.∑(BY MR. SATHER)∑Do you know George Lee?
16∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to this
17∑∑line of questioning and instruct the witness not to
18∑∑answer as it exceeds the scope of the limited
19∑∑deposition the judge granted you.∑This has nothing to
20∑∑do with our proof of claim or adversary proceeding.
21∑∑∑∑Q.∑(BY MR. SATHER)∑Are you going to take your
22∑∑counsel's advice?
23∑∑∑∑A.∑I am.
24∑∑∑∑Q.∑So let me just ask you by way of background.
25∑∑Do you know George Lee?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Same -- same
∑2∑∑instruction.
∑3∑∑∑∑Q.∑(BY MR. SATHER)∑Are you refusing --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑So (unintelligible) --
∑5∑∑∑∑Q.∑(BY MR. SATHER)∑-- to answer that you know
∑6∑∑George Lee?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection to form.∑Same
∑8∑∑objection; this has nothing to do with our claim, and
∑9∑∑you're exceeding the scope of the limited deposition
10∑∑the judge granted.
11∑∑∑∑A.∑I'm taking my counsel's advice.
12∑∑∑∑∑∑MR. CHOUDHRI:∑I just want to make sure the
13∑∑record is clear.∑Are you instructing the witness not
14∑∑to answer?
15∑∑∑∑∑∑MR. SATHER:∑Mr. Choudhri, let me --
16∑∑∑∑∑∑MR. BALLASES:∑Mr. Choudhri, please be quiet.
17∑∑You're not a party involved in this.∑You have no
18∑∑standing to be here.
19∑∑∑∑∑∑MR. SATHER:∑He actually does under the
20∑∑Court's ruling.∑But, Mr. Ballases --
21∑∑∑∑∑∑MR. CHOUDHRI:∑Wait a second.∑Wait -- wait --
22∑∑wait a second.∑I want to get this on the record.
23∑∑∑∑∑∑Mr. Ballases, I am here, and I have a standing
24∑∑to object.∑Okay?∑And so --
25∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑-- I have a standing to be
∑2∑∑here.∑So are you telling me on the record that you
∑3∑∑are not going to cooperate and allow me to ask
∑4∑∑questions on a deposition that I've cross-noticed?
∑5∑∑∑∑∑∑MR. BALLASES:∑That is correct.∑You have no
∑6∑∑party -- you're not a party in this proceeding.∑You
∑7∑∑have no standing.∑We've also objected to your
∑8∑∑cross-notice, so you better bet your bottom dollar.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Besides betting my
10∑∑bottom dollar, Mr. Ballases, you understand that the
11∑∑Honorable Judge Robinson made a ruling --
12∑∑∑∑∑∑MR. BALLASES:∑You're wasting your time --
13∑∑∑∑∑∑MR. CHOUDHRI:∑-- and said that --
14∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) with the
15∑∑judge's ruling.∑Why don't you let your counsel ask
16∑∑questions.
17∑∑∑∑∑∑MR. CHOUDHRI:∑No, no.∑I'm here representing
18∑∑myself pro se as a creditor.∑I have filed a proof of
19∑∑claim.∑I'm a creditor.∑I have standing.
20∑∑∑∑∑∑Are you saying on the record that you are
21∑∑going to instruct your client not to answer any of my
22∑∑questions?∑I just want to get this on the record so
23∑∑it's clear.∑Are you instructing your client not to
24∑∑answer any questions, and is your client going to take
25∑∑your advice?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Yeah, so the way this
∑2∑∑proceeding words, there's a court reporter who writes
∑3∑∑down everything we say.∑I've been clear in my speech
∑4∑∑and what I say in my objections.∑If you're confused,
∑5∑∑you can ask the court reporter to read it back, or you
∑6∑∑can just take better notes.∑Be quiet, and let your
∑7∑∑counsel ask questions.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑So just so the record is
∑9∑∑crystal clear, Mr. Ballases, you are instructing your
10∑∑client, Omar Khawaja, who is a deponent today, to not
11∑∑answer any questions that I'm gonna have, and you're
12∑∑also obstructing my ability to object or make any
13∑∑objections in this deposition.∑Is that all correct?
14∑∑I just want to make sure the record is very crystal
15∑∑clear.
16∑∑∑∑∑∑MR. BALLASES:∑Let Mr. Sather ask his
17∑∑questions.∑Please be quiet.
18∑∑∑∑∑∑MR. CHOUDHRI:∑Sir, I just want to clarify,
19∑∑because I have a right to be here and object, and you
20∑∑are --
21∑∑∑∑∑∑MR. BALLASES:∑Let --
22∑∑∑∑∑∑MR. CHOUDHRI:∑-- telling me to be quiet.
23∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) questions.
24∑∑So let your counsel ask questions.∑You're wasting
25∑∑everybody's time.


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Just so the record is
∑2∑∑clear, you are refusing to allow me to participate and
∑3∑∑object and ask questions in this deposition that I've
∑4∑∑cross-noticed; is that correct?∑So we're clear, is
∑5∑∑that correct or not?
∑6∑∑∑∑∑∑MR. BALLASES:∑You are not a party.∑You do
∑7∑∑not --
∑8∑∑∑∑∑∑THE REPORTER:∑I'm --
∑9∑∑∑∑∑∑MR. BALLASES:∑Let me make it very clear for
10∑∑you.∑You are not a party to this dispute.∑You are
11∑∑not an attorney.∑You lack standing.∑This is not a
12∑∑creditors' meeting.∑We've objected to your
13∑∑cross-notice.∑Is that clear enough for you, buddy?
14∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Sather, please proceed.
15∑∑We'll -- we'll deal with this on the record later and
16∑∑deal with the Court.
17∑∑∑∑∑∑And -- and as you know, Mr. Ballases, counsel
18∑∑for Dalio is also on the line.∑Are you also objecting
19∑∑for them -- for Dalio's counsel to ask questions?∑Is
20∑∑that your --
21∑∑∑∑∑∑MR. BALLASES:∑Yeah.
22∑∑∑∑∑∑MR. CHOUDHRI:∑-- position?
23∑∑∑∑∑∑MR. BALLASES:∑Yeah.
24∑∑∑∑∑∑MR. CHOUDHRI:∑And you're gonna instruct your
25∑∑client, Omar Khawaja, to not answer questions --


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∑1∑∑∑∑∑∑MR. BALLASES:∑Mr. Choudhri, my point is you
∑2∑∑like to play attorney, but you're not an attorney, and
∑3∑∑you don't know the legal procedure or the rules or
∑4∑∑regulations of court.∑So please be quiet and let the
∑5∑∑deposition proceed.∑You're wasting everybody's time.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑Okay, Mr. Ballases.∑You don't
∑7∑∑have to be disrespectful.∑I was -- you know, the
∑8∑∑rules apply to all of us.∑If I'm pro se or if -- or
∑9∑∑if you're a lawyer, the rules apply equally.∑And I
10∑∑have to follow the rules, just like you have to follow
11∑∑the rules.∑And when a judge makes a ruling, it
12∑∑applies, and it says what it says.∑We all got to
13∑∑honor it.∑But you're refusing to honor the judge's
14∑∑ruling.∑I understand that.∑You're refusing to honor
15∑∑what --
16∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- Judge Robinson said on his
18∑∑oral order.
19∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just one person at a
20∑∑time.
21∑∑∑∑∑∑Mr. Ballases, I can hear you speaking in the
22∑∑background, but I can't hear what you're saying while
23∑∑Mr. Choudhri is speaking.
24∑∑∑∑∑∑So just one person at a time if you'd like
25∑∑this on the record, please.


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∑1∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather, please continue.
∑2∑∑∑∑Q.∑(BY MR. SATHER)∑Mr. Khawaja, I have brought
∑3∑∑back up Exhibit Number 1, the proof of claim.∑When
∑4∑∑you authorized the proof of claim to be filed, did you
∑5∑∑understand that it was being filed under penalty of
∑6∑∑perjury?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑And as a lawyer, do you know what penalty of
∑9∑∑perjury means?
10∑∑∑∑A.∑Yes.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. SATHER)∑Now, what was your purpose in
13∑∑filing the proof of claim?
14∑∑∑∑A.∑The purpose in filing the proof of claim? I
15∑∑mean, it's to collect monies that are owed to us.
16∑∑∑∑Q.∑Any other purpose?
17∑∑∑∑A.∑No, that's it.
18∑∑∑∑Q.∑Now, I'm going to show you Exhibit Number 5,
19∑∑and I'm going to try to make it bigger.
20∑∑∑∑∑∑(Debtor's Exhibit No. 5 was marked for
21∑∑identification.)
22∑∑∑∑Q.∑(BY MR. SATHER)∑Were you aware that Texas
23∑∑REIT, LLC, filed an objection to the proof of claim?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑And were you aware that you have not filed a


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∑1∑∑response to this objection to proof of claim?
∑2∑∑∑∑A.∑No.
∑3∑∑∑∑Q.∑And do you see that this was filed with
∑4∑∑negative notice language?
∑5∑∑∑∑A.∑I'm not sure what that means, sir.
∑6∑∑∑∑Q.∑Okay.∑Fair question.
∑7∑∑∑∑∑∑Next, I'd like to show you what we've marked
∑8∑∑as Exhibit Number 6, which is --
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑Q.∑-- a motion for leave to withdraw Claim
11∑∑Number 9.
12∑∑∑∑∑∑(Debtor's Exhibit No. 6 was marked for
13∑∑identification.)
14∑∑∑∑Q.∑(BY MR. SATHER)∑Do you see that?
15∑∑∑∑A.∑Yes, sir, I do.
16∑∑∑∑Q.∑And what is your understanding of the reason
17∑∑why you filed a -- well, let me ask you this:∑Did you
18∑∑authorize the motion for leave to withdraw Claim
19∑∑Number 9?
20∑∑∑∑A.∑I did.
21∑∑∑∑Q.∑And why did you authorize the claim to be
22∑∑withdrawn?
23∑∑∑∑A.∑It appears there's no money in Texas REIT,
24∑∑LLC.
25∑∑∑∑Q.∑Any other reason?


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∑1∑∑∑∑A.∑No, sir.∑That's it.
∑2∑∑∑∑Q.∑And do you understand that the consequence of
∑3∑∑withdrawing the claim means that you're not able to
∑4∑∑assert a claim to any of the property in the Texas
∑5∑∑REIT bankruptcy estate?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑You're going
∑7∑∑beyond the scope of the limited purpose of this
∑8∑∑deposition.
∑9∑∑∑∑∑∑MR. SATHER:∑I don't believe so.
10∑∑∑∑Q.∑(BY MR. SATHER)∑Are you aware that Texas REIT
11∑∑has objected to withdrawal of the proof of claim
12∑∑unless it is withdrawn with prejudice?
13∑∑∑∑A.∑I wasn't aware of that, no.
14∑∑∑∑Q.∑All right.∑Do you know what "with prejudice"
15∑∑means?
16∑∑∑∑A.∑Yes, I do.
17∑∑∑∑Q.∑And you understand that if the claim is
18∑∑withdrawn with prejudice, you can never make these
19∑∑allegations against Texas REIT again.
20∑∑∑∑A.∑Yes, I understand that.
21∑∑∑∑∑∑MR. SATHER:∑All right.∑At this point I will
22∑∑pass the witness.∑I know there are other counsel
23∑∑present who wish to ask questions, and so I'm not
24∑∑concluding the deposition.∑I'm giving the other
25∑∑parties present an opportunity to ask their questions.


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∑1∑∑BY MS. HOOD:
∑2∑∑∑∑Q.∑Mr. Khawaja, my name is Lori Hood, and I
∑3∑∑represent Dalio Holdings.∑Nice to meet you.
∑4∑∑∑∑∑∑MR. BALLASES:∑Ms. Hood --
∑5∑∑∑∑A.∑Nice to meet you.
∑6∑∑∑∑∑∑MR. BALLASES:∑-- I'm going to go ahead and
∑7∑∑just object.∑I'm not going to let you ask questions.
∑8∑∑You're not a party to this dispute, and you lack
∑9∑∑standing to be here.∑This isn't a creditors' meeting,
10∑∑and so -- and of course, your notice was just filed
11∑∑this morning, which we're going to object to.∑So I'm
12∑∑not going to let you ask questions.
13∑∑∑∑∑∑MS. HOOD:∑All right.∑Mr. Ballases, my notice
14∑∑was this morning because you failed to give notice to
15∑∑all the creditors that this was taking place.
16∑∑∑∑∑∑In my understanding -- and my client is a
17∑∑creditor.∑In my understanding of the judge's ruling,
18∑∑it allows for creditors to be in attendance at this
19∑∑deposition and to ask questions of your clients as to
20∑∑the basis and motivation of their filing the proof of
21∑∑claim.∑We can argue all day long about whether you
22∑∑agree with that or not.∑If you don't allow me to take
23∑∑questions -- ask questions today, then we're going to
24∑∑have a do-over because we're going to go back to the
25∑∑Court and seek a motion to compel your client's


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∑1∑∑attendance at a deposition where I will ask my
∑2∑∑questions.
∑3∑∑∑∑∑∑MR. BALLASES:∑So that's not the Court's
∑4∑∑order.∑The Court's order was to allow Mr. Sather to
∑5∑∑take questions -- or to ask questions to determine the
∑6∑∑basis to -- as to why we filed the proof of claim and
∑7∑∑why it has been requested to be withdrawn.
∑8∑∑∑∑∑∑It is not for creditors to ask questions.∑The
∑9∑∑creditors -- this isn't a creditors' meeting, and so
10∑∑I'm not going to let you ask -- I mean, you can ask
11∑∑him, but I'm going to instruct him not to answer
12∑∑because I think you're violating the Court's ruling,
13∑∑and I'm going to abide by the Court's ruling.
14∑∑∑∑∑∑MS. HOOD:∑So you're -- no matter what
15∑∑question I ask him, you're going to tell him not to
16∑∑answer me?
17∑∑∑∑∑∑MR. BALLASES:∑Yes, ma'am.
18∑∑∑∑∑∑MS. HOOD:∑Okay.∑And that's --
19∑∑∑∑∑∑MR. BALLASES:∑You're violating the Court's
20∑∑ruling, and I want to abide by it.
21∑∑∑∑∑∑MS. HOOD:∑All right.∑So you want to abide by
22∑∑the Court's ruling, and we have a difference of
23∑∑opinion as to the impact and the breadth of the
24∑∑Court's ruling.
25∑∑∑∑∑∑I'm going to tell you I'm going to file a


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∑1∑∑motion to compel your client's attendance at a
∑2∑∑deposition where I'm going to be allowed to ask
∑3∑∑questions.∑And when I do so, I'm going to ask for
∑4∑∑compensation of my attorney's fees.∑Do you understand
∑5∑∑that?
∑6∑∑∑∑∑∑MR. BALLASES:∑I understand.
∑7∑∑∑∑∑∑MS. HOOD:∑All right.∑And just to be clear on
∑8∑∑the record, Madam Court Reporter, Mr. Ballases is
∑9∑∑stating to me on the record that he's going to
10∑∑instruct his client not to answer any of my questions
11∑∑that I have prepared for today, all relating to the
12∑∑filing of the proof of claim and the motivation for
13∑∑filing the proof of claim and the motivation for
14∑∑withdrawing the proof of claim, all of which go into
15∑∑the merits of the judge's order.
16∑∑∑∑∑∑And I'm objecting to Mr. Ballases' refusal to
17∑∑allow me to take questions -- or ask questions of his
18∑∑client and putting him on notice that I am going to
19∑∑seek my attorney's fees as compensation for me having
20∑∑to do a do-over with his client.
21∑∑∑∑∑∑MR. BALLASES:∑For the record -- so again,
22∑∑this is Michael Ballases -- I believe Ms. Hood is
23∑∑misinterpreting the judge's ruling.∑She's not a party
24∑∑to this -- her client is not a party to this dispute.
25∑∑They lack standing.∑This is not a creditors' meeting.


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∑1∑∑The basis of this deposition was for a limited purpose
∑2∑∑to allow the debtor to inquire as to why we filed the
∑3∑∑proof of claim and why we now want to withdraw it.∑We
∑4∑∑are abiding by the judge's ruling, and we will not
∑5∑∑deviate from it.
∑6∑∑∑∑∑∑MS. HOOD:∑Mr. Ballases, please don't put
∑7∑∑words in my mouth.∑And just because, you know, we're
∑8∑∑here taking a deposition doesn't mean you always have
∑9∑∑to get the last word in.∑We are in a disagreement
10∑∑about your statements.∑You're not going to allow --
11∑∑you're going to instruct your client not to answer my
12∑∑questions.∑There's not much I can do about it if he's
13∑∑going to sit here and not answer my questions.
14∑∑∑∑∑∑I will go back to the Court and ask for him to
15∑∑reappear and answer my questions related to the
16∑∑subject of this deposition of which I represent a
17∑∑creditor, and we are entitled to ask questions.
18∑∑∑∑∑∑Your client's proof of claim has unnecessarily
19∑∑complicated the underlying chapter proceeding and
20∑∑gummed up a lot of other issues with regard to the
21∑∑debtor's property, and even today they haven't
22∑∑withdrawn their -- or released their lis pendens.∑So
23∑∑there's a lot to talk to him about with regard to the
24∑∑filing of the proof of claim, the motivation, and
25∑∑everything else.∑And I've read the judge's


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∑1∑∑instructions on this issue, and I believe I'm
∑2∑∑completely within my rights to ask these questions.
∑3∑∑∑∑∑∑And you really don't have to answer, because I
∑4∑∑don't need you to answer.∑We're in a disagreement,
∑5∑∑and I'm going to file the motion to compel.∑So I
∑6∑∑do --
∑7∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑8∑∑∑∑∑∑MS. HOOD:∑I do not -- I do not pass the
∑9∑∑witness.∑I reserve my rights.
10∑∑∑∑∑∑MR. CHOUDHRI:∑And --
11∑∑∑∑∑∑MR. BALLASES:∑Thank you for telling me --
12∑∑∑∑∑∑MR. CHOUDHRI:∑-- I would like to make the
13∑∑record -- I would also like to make the record very
14∑∑clear.
15∑∑∑∑∑∑So the record is clear, Mr. Khawaja, are you
16∑∑taking your attorney's -- are you following your
17∑∑attorney's instructions, and are you going to refuse
18∑∑to answer any questions asked by Lori Hood or by my --
19∑∑or any questions that I may ask you?
20∑∑∑∑∑∑MR. BALLASES:∑So no question's on the table,
21∑∑Mr. Choudhri, so I think you're confused --
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases -- Mr. Ballases,
23∑∑please --
24∑∑∑∑∑∑(Crosstalk)
25∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just --


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Hang on a second.∑I just
∑2∑∑want --
∑3∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
∑4∑∑Thank you.
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑I just want to make sure that,
∑6∑∑Mr. Ballases, your client can affirm that he's taking
∑7∑∑your instructions, and he's not going to answer any
∑8∑∑questions, so we don't have to sit here and ask
∑9∑∑questions if your instructions are going to be for him
10∑∑to not answer any of my questions that I've properly
11∑∑cross-noticed this deposition on pursuant to the
12∑∑Court's order.∑I just want to make sure the record is
13∑∑clear that your client's not answering any questions
14∑∑that I may ask.
15∑∑∑∑∑∑MR. BALLASES:∑For the record, the record is
16∑∑clear.∑I made the same objection that I made to
17∑∑Ms. Hood as to you.∑You are not a party.∑You do not
18∑∑have standing.∑You're not an attorney.∑This isn't a
19∑∑creditors' meeting.∑We are here to answer --
20∑∑∑∑∑∑MR. CHOUDHRI:∑Okay --
21∑∑∑∑∑∑MR. BALLASES:∑-- the debtor's questions about
22∑∑the proof of claim --
23∑∑∑∑∑∑MR. CHOUDHRI:∑I'm --
24∑∑∑∑∑∑MR. BALLASES:∑-- and that's it.
25∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑We have the audio of the


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∑1∑∑order, oral ruling of Judge Robinson.∑I would like to
∑2∑∑play that at this point for the record.∑So, please,
∑3∑∑if we can play that for the record --
∑4∑∑∑∑∑∑MR. BALLASES:∑That's not --
∑5∑∑∑∑∑∑(Crosstalk)
∑6∑∑∑∑∑∑THE REPORTER:∑I'm --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Tammy or Gene, can y'all play
∑8∑∑that?
∑9∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry.∑I have two
10∑∑people speaking at once.∑I can hear Mr. Ballases, and
11∑∑I can hear Mr. Choudhri.∑Could I please just get one
12∑∑speaker on the record at a time.
13∑∑∑∑∑∑MR. CHOUDHRI:∑So I was speaking --
14∑∑∑∑∑∑MR. BALLASES:∑That's not --
15∑∑∑∑∑∑MR. CHOUDHRI:∑-- and --
16∑∑∑∑∑∑(Crosstalk)
17∑∑∑∑∑∑THE REPORTER:∑Sorry.
18∑∑∑∑∑∑MR. CHOUDHRI:∑So the quote from the ruling
19∑∑is -- and I'm quoting the judge (Reading:)∑I'm going
20∑∑to grant the motion as to the date and time of the
21∑∑examinations, and my order is going to be very simple.
22∑∑It's going to say that.∑It's also going to further
23∑∑order that the debtor and any creditor -- any other
24∑∑creditor, for that matter, that cross-noticed this
25∑∑deposition is permitted to take a deposition --


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∑1∑∑∑∑∑∑-- participate.∑So I just want to be clear,
∑2∑∑Mr. Ballases.∑I want to give you one more chance so
∑3∑∑we can conclude --
∑4∑∑∑∑∑∑MR. BALLASES:∑It's not unclear --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑-- and complete the deposition.
∑6∑∑∑∑∑∑(Crosstalk)
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Can I finish?
∑8∑∑∑∑∑∑MR. BALLASES:∑You're being --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
10∑∑∑∑∑∑MR. BALLASES:∑You're being investigated
11∑∑(unintelligible).∑You're being investigated by the
12∑∑Department of Justice.∑You've been found by courts to
13∑∑file lawsuits for improper purposes and harassment.
14∑∑You're founded by courts and juries to have committed
15∑∑fraud and libel, and you were just, on Monday, held by
16∑∑Judge Norman to be a forger and a liar.∑So anything
17∑∑you say, I don't believe --
18∑∑∑∑∑∑MS. HOOD:∑How about if I -- how about if I
19∑∑say it?
20∑∑∑∑∑∑(Crosstalk)
21∑∑∑∑∑∑THE REPORTER:∑Sorry.∑I'm sorry.∑No --
22∑∑sorry.∑Sorry.∑I need one person speaking at a time.
23∑∑The record is not clear when I have multiple speakers.
24∑∑Thank you.
25∑∑∑∑∑∑MR. CHOUDHRI:∑So let me just respond,


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∑1∑∑Mr. Ballases.∑First of all, you are supporting
∑2∑∑perjury.∑Okay?∑Mr. Ballases, your client has
∑3∑∑solicited --
∑4∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑-- solicited people -- so,
∑6∑∑please, all of this is all supported and solicited by
∑7∑∑your client, and we'll get to the bottom of it --
∑8∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑-- which is why your client
10∑∑doesn't want to answer questions.∑I understand that.
11∑∑∑∑∑∑THE WITNESS:∑You'll be a great jailhouse
12∑∑lawyer.
13∑∑∑∑∑∑MR. CHOUDHRI:∑This is proper --
14∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
15∑∑∑∑∑∑MR. BALLASES:∑Can we start the next --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Sorry?
17∑∑∑∑∑∑MR. BALLASES:∑-- deposition?∑Can we start --
18∑∑∑∑∑∑MR. CHOUDHRI:∑Hold on.
19∑∑∑∑∑∑MR. BALLASES:∑-- the next deposition --
20∑∑∑∑∑∑THE WITNESS:∑You're going to be a great
21∑∑lawyer --
22∑∑∑∑∑∑MR. BALLASES:∑-- if Mr. Sather doesn't have
23∑∑any more questions?
24∑∑∑∑∑∑THE WITNESS:∑You'll be a great lawyer in
25∑∑jail, man.


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑So -- so that's your
∑2∑∑goal --
∑3∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑-- going around telling
∑5∑∑people --
∑6∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
∑7∑∑∑∑∑∑MR. BALLASES:∑-- let's jump to the next
∑8∑∑witness --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Please --
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry.∑Sorry. I
11∑∑am not getting Mr. Ballases' words on the record.
12∑∑∑∑∑∑Mr. Ballases, if you have something to say, I
13∑∑need just one speaker at a time.∑I'm not getting
14∑∑anything you're saying at this point.
15∑∑∑∑∑∑MR. BALLASES:∑Okay.∑What I'm saying is --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Please, Mr. Ballases, go ahead.
17∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) remains the
18∑∑same.∑And if Mr. Sather has more questions, we're
19∑∑happy to answer them.∑If he doesn't, then let's go to
20∑∑the next witness.
21∑∑∑∑∑∑MR. CHOUDHRI:∑No, no.∑We're -- we're not --
22∑∑we're not playing any games here.∑Please play the
23∑∑audio from the Court's ruling.∑Let's do that right
24∑∑now --
25∑∑∑∑∑∑MR. BALLASES:∑Okay (unintelligible) --


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑-- so the record is crystal
∑2∑∑clear.
∑3∑∑∑∑∑∑THE WITNESS:∑This is getting ridiculous.
∑4∑∑∑∑∑∑MR. BALLASES:∑I'm going to end the deposition
∑5∑∑if Mr. Sather doesn't have any more questions, and we
∑6∑∑can jump to --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑You can't end the deposition --
∑8∑∑∑∑∑∑(Crosstalk)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Unless all parties agree to go
10∑∑off the record, we stay on the record.∑That's the
11∑∑rule, Mr. Ballases.∑The rule applies to everyone.
12∑∑∑∑∑∑Please play --
13∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
14∑∑∑∑∑∑MR. CHOUDHRI:∑-- the audio --
15∑∑∑∑∑∑(Crosstalk)
16∑∑∑∑∑∑MR. CHOUDHRI:∑Please play the audio --
17∑∑∑∑∑∑MR. BALLASES:∑I'm going to shut it down if
18∑∑you don't take control of your client in the
19∑∑deposition.∑Your choice, Mr. Sather.
20∑∑∑∑∑∑MR. CHOUDHRI:∑I'm here as a creditor.∑We're
21∑∑going to play the audio --
22∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) Okay.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
24∑∑∑∑∑∑MR. BALLASES:∑We're going to -- we're all
25∑∑ready to go forward with the next witness.∑We're


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∑1∑∑here, and we're ready to go forward.
∑2∑∑∑∑∑∑Mr. Sather, if you have more questions, let me
∑3∑∑know, and he will stay and answer them.
∑4∑∑∑∑∑∑MR. SATHER:∑I am adjourning the deposition --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑I have the floor.∑I have the
∑6∑∑floor.∑I'm a creditor.∑I've cross-noticed this
∑7∑∑deposition.∑Please play --
∑8∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑-- the oral ruling from the
10∑∑Court right now.∑Go ahead.
11∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather --
12∑∑∑∑∑∑(Crosstalk)
13∑∑∑∑∑∑(Audio file played.)
14∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry.∑I -- I'm
15∑∑sorry.∑Mr. McCubbin, I cannot hear anybody when I
16∑∑have multiple speakers at once.∑I don't know if you
17∑∑want this on the record, but it's going in as
18∑∑crosstalk because it's not coming through clearly.
19∑∑∑∑∑∑MR. CHOUDHRI:∑Yes, Madam Court Reporter.
20∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather --
21∑∑∑∑∑∑MR. CHOUDHRI:∑I have the floor.
22∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) the
23∑∑questioning --
24∑∑∑∑∑∑MR. CHOUDHRI:∑Please stop interrupting,
25∑∑Mr. Ballases.


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∑1∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) not going
∑2∑∑to the next witness.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑I am -- I am making the record.
∑4∑∑Mr. Ballases, please let me speak, and please don't
∑5∑∑interrupt me.∑Okay?∑Please --
∑6∑∑∑∑∑∑MR. BALLASES:∑Okay --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑-- play the audio ruling of
∑8∑∑Judge Robinson --
∑9∑∑∑∑∑∑MR. BALLASES:∑We're going to --
10∑∑∑∑∑∑MR. CHOUDHRI:∑-- so it's clear on the record.
11∑∑Go ahead.
12∑∑∑∑∑∑(Audio file played.)
13∑∑∑∑∑∑MR. CHOUDHRI:∑No, we're -- we're --
14∑∑∑∑∑∑(Audio file continues playing.)
15∑∑∑∑∑∑MR. MCCUBBIN:∑He just said any other
16∑∑creditor (unintelligible) --
17∑∑∑∑∑∑THE REPORTER:∑I'm sorry, Mr. McCubbin.∑You
18∑∑just cut out for a second.
19∑∑∑∑∑∑MR. MCCUBBIN:∑He just said --
20∑∑∑∑∑∑MR. CHOUDHRI:∑Go and play that,
21∑∑Mr. McCubbin --
22∑∑∑∑∑∑MR. MCCUBBIN:∑-- any other creditor --
23∑∑∑∑∑∑MR. CHOUDHRI:∑-- just so the record is clear.
24∑∑Please go ahead --
25∑∑∑∑∑∑MR. MCCUBBIN:∑The judge just stated any other


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∑1∑∑creditor.∑I can replay it.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Please replay it for the record
∑3∑∑so the record is crystal clear, and it's the judge --
∑4∑∑∑∑∑∑So, Madam Court Reporter, so the record is
∑5∑∑clear, we are about to begin playing the oral ruling
∑6∑∑of Judge Robinson.
∑7∑∑∑∑∑∑THE REPORTER:∑Okay.∑So are you wanting me to
∑8∑∑transcribe --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Yes.
10∑∑∑∑∑∑THE REPORTER:∑-- this audio into the record?
11∑∑∑∑∑∑MR. CHOUDHRI:∑Yes.∑Yes, Madam Court
12∑∑Reporter.∑He's about -- we're about to play the
13∑∑judge's ruling -- oral ruling on the record so that
14∑∑way we can have a simple and clean completion of this
15∑∑deposition and end this shenanigan and argument with
16∑∑Mr. Ballases.
17∑∑∑∑∑∑Please, Mr. -- please, sir, please proceed
18∑∑with the record -- the audio ruling of Judge Robinson.
19∑∑Go ahead.
20∑∑∑∑∑∑(Audio file played.)
21∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry --
22∑∑∑∑∑∑(Audio file continues playing.)
23∑∑∑∑∑∑THE REPORTER:∑Sorry.∑The audio is not clear.
24∑∑The audio is not crystal clear.∑I hear Mr. Sather
25∑∑responding on the audio, and it's not clear.


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∑1∑∑∑∑∑∑Typically in a transcript, we do not
∑2∑∑transcribe audio played.
∑3∑∑∑∑∑∑MR. BALLASES:∑And I'm going to object --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Time out.
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm objecting --
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑We're going to e-mail you --
∑7∑∑Court Reporter, we're going to e-mail you this audio
∑8∑∑right now, and he's going to adjust the volume and
∑9∑∑play it again.
10∑∑∑∑∑∑Go ahead.∑Play it again, please.
11∑∑∑∑∑∑And, Court Reporter, let us know if you're
12∑∑getting a clear --
13∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather --
14∑∑∑∑∑∑MR. CHOUDHRI:∑-- read on it.∑Okay?
15∑∑∑∑∑∑MR. BALLASES:∑-- take control of the depo.
16∑∑This is a waste of time.∑It's a waste of the client's
17∑∑time --
18∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please -- please
19∑∑stop talking.
20∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) control of
21∑∑the deposition --
22∑∑∑∑∑∑MR. CHOUDHRI:∑I have the floor --
23∑∑∑∑∑∑MR. SATHER:∑You don't have it yet,
24∑∑Mr. Choudhri.
25∑∑∑∑∑∑(Crosstalk)


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∑1∑∑∑∑∑∑MR. BALLASES:∑Let's just jump to the next
∑2∑∑witness.∑I'm not allowing the questions to be asked.
∑3∑∑So it's not going to change.∑We're just wasting
∑4∑∑time --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑We're playing the oral ruling
∑6∑∑of Judge Robinson.∑Please, Mr. Ballases, be quiet so
∑7∑∑we can play the ruling of Judge --
∑8∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑-- Judge Robinson's ruling.
10∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) we're not
11∑∑going to play -- we're not -- that's not how
12∑∑depositions work, Mr. Choudhri.∑I'm sorry you like to
13∑∑play an attorney --
14∑∑∑∑∑∑MR. CHOUDHRI:∑Well, please --
15∑∑∑∑∑∑MR. BALLASES:∑-- but that's not how this
16∑∑works.∑So either I'm going to --
17∑∑∑∑∑∑MR. CHOUDHRI:∑No.∑No, no.∑Please stop.
18∑∑∑∑∑∑MR. BALLASES:∑Again, I'm going to get off --
19∑∑if you'd like to have another -- if you'd like to ask
20∑∑questions of my other clients, I'm happy to do that,
21∑∑and you're happy to ask questions, Mr. Sather.∑But
22∑∑these shenanigans are not --
23∑∑∑∑∑∑MR. CHOUDHRI:∑If your --
24∑∑∑∑∑∑MR. BALLASES:∑-- going to happen.
25∑∑∑∑∑∑MR. CHOUDHRI:∑-- responses, Mr. Ballases, is


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∑1∑∑gonna -- the shenanigans are yours, Mr. Ballases.∑If
∑2∑∑your responses are gonna be the same and you're not
∑3∑∑going to allow cross-notice creditors who are here,
∑4∑∑want to ask questions, then let's clarify this right
∑5∑∑now so we can complete the deposition properly,
∑6∑∑Mr. Ballases.∑Please don't obstruct the discovery
∑7∑∑right now.
∑8∑∑∑∑∑∑Go ahead and play the oral ruling of Judge
∑9∑∑Robinson.
10∑∑∑∑∑∑MR. BALLASES:∑I'm going to object --
11∑∑∑∑∑∑(Audio file played.)
12∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I'm sorry. I
13∑∑cannot hear when Mr. Ballases is speaking --
14∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
15∑∑∑∑∑∑THE REPORTER:∑I need one person --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
17∑∑∑∑∑∑THE REPORTER:∑-- at a time.
18∑∑∑∑∑∑MR. CHOUDHRI:∑-- intentionally --
19∑∑Mr. Ballases intentionally interferes, interrupts when
20∑∑we play the ruling of Judge Robinson that is gonna
21∑∑clarify this issue that cross-notice creditors are not
22∑∑allowed to participate and ask questions.
23∑∑∑∑∑∑So please play the ruling of Judge Robinson.
24∑∑∑∑∑∑And, Mr. Ballases, please refrain and be
25∑∑quiet, because the court reporter cannot take


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∑1∑∑different people talking at the same time.
∑2∑∑∑∑∑∑So please play the audio of Judge Robinson.
∑3∑∑∑∑∑∑THE REPORTER:∑Sorry --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Go ahead.
∑5∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One second, please,
∑6∑∑before you play it.
∑7∑∑∑∑∑∑Mr. Sather, this is your deposition
∑8∑∑transcript.∑Normally if I can't hear, I can't
∑9∑∑transcribe what's being said.∑It would need to be
10∑∑transcribed separately, because I'm not transcribing
11∑∑this on the record right now if I cannot hear it
12∑∑clearly.
13∑∑∑∑∑∑MR. SATHER:∑All right.∑If you're unable to
14∑∑hear it clearly, I suggest that we move on.∑The judge
15∑∑said what he said.∑I do have one more question for --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Hold on, Mr. Sather.∑Just one
17∑∑second, please, before we conclude anything here. I
18∑∑do want to take a break before we do conclude
19∑∑anything, but I want to play this, and I think he can
20∑∑do it a little bit louder.
21∑∑∑∑∑∑Let's try if you can hear it again.∑Ms. Court
22∑∑Reporter, let's try one more time.
23∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
24∑∑∑∑∑∑MR. CHOUDHRI:∑Go ahead.∑Play the recording.
25∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Mr. Ballases --


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∑1∑∑∑∑∑∑MR. BALLASES:∑The court reporter is saying
∑2∑∑(unintelligible).
∑3∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Mr. Ballases, could
∑4∑∑you please repeat that?
∑5∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just was telling
∑6∑∑Mr. Choudhri that you have instructed him you cannot
∑7∑∑take it down in this manner, and so I'm just trying to
∑8∑∑tell him that he's wasting more time.
∑9∑∑∑∑∑∑Mr. Sather --
10∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, that's not what
11∑∑she said.
12∑∑∑∑∑∑MR. BALLASES:∑-- if you want to go --
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, we're going to
14∑∑try for her to hear it.∑Okay?
15∑∑∑∑∑∑MR. BALLASES:∑Okay.∑Call us when you're
16∑∑ready --
17∑∑∑∑∑∑MR. CHOUDHRI:∑So she's being very cooperative
18∑∑and polite.
19∑∑∑∑∑∑Please, Mr. Ballases, be quiet.
20∑∑∑∑∑∑Go ahead, Mr. -- sir.∑Please play the -- play
21∑∑the audio for the judge's ruling.
22∑∑∑∑∑∑(Audio file played.)
23∑∑∑∑∑∑MR. MCCUBBIN:∑He said, And any other
24∑∑creditor.
25∑∑∑∑∑∑MR. CHOUDHRI:∑Can you please --


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∑1∑∑∑∑∑∑MR. SATHER:∑Madam Reporter --
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Please play the -- please play
∑3∑∑the whole recording.
∑4∑∑∑∑∑∑MR. MCCUBBIN:∑The recording is starting --
∑5∑∑∑∑∑∑MR. SATHER:∑Okay.∑Stop.∑Stop.
∑6∑∑∑∑∑∑Madam Reporter, were you able to get the last
∑7∑∑excerpt?
∑8∑∑∑∑∑∑MR. BALLASES:∑Ms. Court Reporter, you told us
∑9∑∑you couldn't take anything down in that manner.∑It'd
10∑∑have to be transcribed by the person who noticed the
11∑∑deposition, Mr. Sather.∑I assume you're going to
12∑∑stick by what you stated earlier.
13∑∑∑∑∑∑THE REPORTER:∑Okay.∑It's not crystal clear.
14∑∑And because it's being played, I'm not sure where the
15∑∑audio and where it is stopping.
16∑∑∑∑∑∑MR. CHOUDHRI:∑Well, let's take a five-,
17∑∑ten-minute break.∑Let's e-mail it to you, Madam Court
18∑∑Reporter, and so we can be efficient, and that way we
19∑∑don't have to interrupt the deposition and come back a
20∑∑different day and go seek court intervention.∑We can
21∑∑save the Court's time and not bother the Court.
22∑∑∑∑∑∑But if Mr. Ballases insists that we have to
23∑∑bother the Court, then we'll seek emergency relief
24∑∑from the Court.∑But why don't we go ahead and e-mail
25∑∑you right now.


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∑1∑∑∑∑∑∑And let's not allow anybody to bully anybody
∑2∑∑here.∑So, Mr. Ballases, please don't put words in her
∑3∑∑mouth.
∑4∑∑∑∑∑∑So let's go ahead and take -- because at this
∑5∑∑point, this is -- I've cross-noticed the depo, and I
∑6∑∑want the record to be clear.∑If Mr. Ballases is going
∑7∑∑to continue to not allow questions despite the order
∑8∑∑by the judge being shown and heard for him -- so the
∑9∑∑record is clear.∑But we'll go ahead and take a --
10∑∑let's go and take a ten-minute break.
11∑∑∑∑∑∑Madam Court Reporter, we're going to e-mail
12∑∑you the audio oral ruling of Judge Robinson so we can
13∑∑have a smooth deposition and complete discovery, and
14∑∑no one can obstruct this process.∑Okay?∑So can you
15∑∑provide your e-mail address, Madam Court Reporter,
16∑∑just so I have it?
17∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather, are we moving on to
18∑∑the next witness?
19∑∑∑∑∑∑MR. SATHER:∑Yeah, I don't think this is
20∑∑productive.∑Mr. Ballases has indicated that he is not
21∑∑going to allow you to ask questions regardless of what
22∑∑the Court ruled, and so it is my intent at this time
23∑∑to adjourn the deposition subject to any future
24∑∑rulings from Judge Robinson.∑If Judge Robinson
25∑∑allows --


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Well --
∑2∑∑∑∑∑∑MR. SATHER:∑-- the other parties to ask
∑3∑∑questions, I may have -- I reserve the right to ask
∑4∑∑follow-up questions.
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑So -- so I --
∑6∑∑∑∑∑∑MR. BALLASES:∑Would you like to ask --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑No, no.∑Hold --
∑8∑∑∑∑∑∑MR. BALLASES:∑Would you like to proceed --
∑9∑∑∑∑∑∑(Crosstalk)
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I can't --
11∑∑∑∑∑∑MR. BALLASES:∑-- with Osama Abdullatif or
12∑∑John Quinlan next?
13∑∑∑∑∑∑THE REPORTER:∑Mr. Ballases -- sorry --
14∑∑∑∑∑∑MR. CHOUDHRI:∑Hang on a second.
15∑∑∑∑∑∑THE REPORTER:∑-- Mr. Ballases --
16∑∑∑∑∑∑MR. CHOUDHRI:∑I have --
17∑∑∑∑∑∑THE REPORTER:∑-- could you --
18∑∑∑∑∑∑MR. CHOUDHRI:∑-- contacted the Court.∑I'll
19∑∑be e-mailing the Court right now.∑We are not
20∑∑suspending this deposition.∑I want to go ahead and
21∑∑pause the deposition.∑We are going to contact the
22∑∑Court.∑Okay?
23∑∑∑∑∑∑Madam Court Reporter, would you give us your
24∑∑e-mail address, please?
25∑∑∑∑∑∑THE REPORTER:∑And I just want to note,


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∑1∑∑Mr. Ballases, I did not get anything you just said as
∑2∑∑you were speaking at the same time as Mr. Choudhri.
∑3∑∑So do you have anything to put on the record?
∑4∑∑∑∑∑∑MR. BALLASES:∑Myself, me?
∑5∑∑∑∑∑∑THE REPORTER:∑Yes.∑I did not get what you
∑6∑∑were saying while -- after what Mr. Sather said.
∑7∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just asked Mr. Sather
∑8∑∑if we're ready to move to the next witness.∑I think
∑9∑∑he indicated he was before Mr. Choudhri interrupted.
10∑∑And so that's all I'm asking.
11∑∑∑∑∑∑MR. CHOUDHRI:∑So --
12∑∑∑∑∑∑MR. BALLASES:∑Do we want to move to the next
13∑∑witness, Steve?
14∑∑∑∑∑∑MR. CHOUDHRI:∑So this part is -- at this
15∑∑moment, I'd like to e-mail the court reporter the
16∑∑judge's oral ruling, and let's take a 15-minute break.
17∑∑And I've already reached out to the Court.∑The Court
18∑∑has asked for us to e-mail the Court for relief so we
19∑∑can complete the deposition and not waste the Court's
20∑∑time or disrupt the deposition and have to come back a
21∑∑different day.∑Everybody's schedules are -- are very
22∑∑important.
23∑∑∑∑∑∑Mr. Ballases, in the event we are able to
24∑∑resume or reschedule the deposition, can you provide
25∑∑us dates?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Steve, can we move on?∑Can you
∑2∑∑control your client to any degree?∑I mean --
∑3∑∑∑∑∑∑MR. SATHER:∑Mr. Choudhri --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑I'm not his client.
∑5∑∑∑∑∑∑MR. SATHER:∑-- is not my client in his
∑6∑∑individual capacity, and therefore --
∑7∑∑∑∑∑∑MR. BALLASES:∑I understand he's a principal
∑8∑∑of Texas REIT, the debtor.
∑9∑∑∑∑∑∑MR. SATHER:∑He's also asserting his right to
10∑∑appear as a pro se creditor and that I do not have any
11∑∑control over that capacity.∑If he wishes to contact
12∑∑the Court, that is his business.
13∑∑∑∑∑∑MR. BALLASES:∑I understand that, but you've
14∑∑noticed the deposition.∑Do we want to proceed with
15∑∑the next witness?∑I've got my --
16∑∑∑∑∑∑MR. CHOUDHRI:∑And we --
17∑∑∑∑∑∑MR. BALLASES:∑-- clients here.∑We've
18∑∑rearranged our schedules for you.∑Do you want to take
19∑∑the deposition or not?∑It's up to you, Steve.
20∑∑∑∑∑∑MR. SATHER:∑I want to proceed --
21∑∑∑∑∑∑MR. CHOUDHRI:∑We are resuming.∑We are
22∑∑pausing the deposition, and we're going to have a
23∑∑conversation, and we'll come back in 15 minutes on the
24∑∑record.
25∑∑∑∑∑∑But in the meantime, Court Reporter, can I


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∑1∑∑have your e-mail address so we can e-mail you the
∑2∑∑audio ruling of the judge?∑And I think that'll solve
∑3∑∑any issues and resolve the -- the objection or
∑4∑∑position that Mr. Ballases is taking that the judge
∑5∑∑said something the judge didn't say, so it's clear.
∑6∑∑If I can get your e-mail address, we can e-mail you
∑7∑∑the audio right now, and we can resume.
∑8∑∑∑∑∑∑Let's -- let's resume the deposition at noon.
∑9∑∑It's 11:40 right now.
10∑∑∑∑∑∑THE REPORTER:∑Okay.∑May I go off the record,
11∑∑please?∑If we're pausing?
12∑∑∑∑∑∑MR. CHOUDHRI:∑Please.
13∑∑∑∑∑∑MR. SATHER:∑Yes, you may.∑Yes.
14∑∑∑∑∑∑MR. BALLASES:∑Yes, you can go off the record.
15∑∑∑∑∑∑THE REPORTER:∑Okay.∑So I am off the record.
16∑∑∑∑∑∑(Discussion held off the record.)
17∑∑∑∑∑∑(A recess was taken.)
18∑∑∑∑∑∑THE REPORTER:∑Back on the record.
19∑∑∑∑∑∑MR. BALLASES:∑So this is Michael Ballases,
20∑∑counsel for John Quinlan, Omar Khawaja, and Osama
21∑∑Abdullatif.∑There is no written order, but I did
22∑∑listen to the recording, and it appears he did say
23∑∑"creditors."∑And so I was mistaken, and so I will
24∑∑allow creditors to ask questions, however, in the
25∑∑limited capacity that he stated in the oral hearing.


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∑1∑∑So we can go forth with Mr. Khawaja.
∑2∑∑∑∑∑∑Ms. Hood, if you want to ask questions, go for
∑3∑∑it.
∑4∑∑∑∑∑∑MS. HOOD:∑Thanks.∑Okay.∑Steve, I may use
∑5∑∑your exhibits, so if you can have those by the --
∑6∑∑∑∑∑∑MR. SATHER:∑I'm happy to --
∑7∑∑∑∑∑∑MS. HOOD:∑-- by the ready for me, I
∑8∑∑appreciate it.
∑9∑∑∑∑∑∑MR. SATHER:∑-- put them up on the screen if
10∑∑you need them.
11∑∑∑∑∑∑MS. HOOD:∑Thank you.
12∑∑BY MS. HOOD:
13∑∑∑∑Q.∑Mr. Khawaja, my name is Lori Hood.∑We've
14∑∑never met before; correct?
15∑∑∑∑A.∑That's correct.
16∑∑∑∑Q.∑And I understand that you are an attorney
17∑∑licensed in the state of Texas; correct?
18∑∑∑∑A.∑That's also correct.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑Q.∑(BY MS. HOOD)∑And do you practice law?
21∑∑∑∑A.∑Yes, ma'am.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑Q.∑(BY MS. HOOD)∑And do you have -- where do you
24∑∑practice law?
25∑∑∑∑∑∑MR. BALLASES:∑Objection --


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∑1∑∑∑∑A.∑At my own law firm.
∑2∑∑∑∑Q.∑(BY MS. HOOD)∑And what is the name of that
∑3∑∑law firm?
∑4∑∑∑∑A.∑The Law Offices of -- and my name.
∑5∑∑∑∑Q.∑And where is that?∑Where are your offices
∑6∑∑located?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑On Richmond and Sage.
∑9∑∑∑∑∑∑MS. HOOD:∑If you'll -- thanks, Steve.∑Can
10∑∑you scroll down, Steve?
11∑∑∑∑∑∑MR. SATHER:∑Certainly.
12∑∑∑∑Q.∑(BY MS. HOOD)∑In the proof -- if I understand
13∑∑your testimony correctly, you stated that your proof
14∑∑of claim is based upon some judgments that you had
15∑∑assigned to you by virtue of purchasing those
16∑∑judgments from third parties; is that correct?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑Yes.
19∑∑∑∑∑∑MS. HOOD:∑Mr. Ballases, what is the basis of
20∑∑your objection?
21∑∑∑∑∑∑MR. BALLASES:∑Asked and answered.∑We've gone
22∑∑through all this.
23∑∑∑∑∑∑MS. HOOD:∑And I understand that,
24∑∑Mr. Ballases, but you were objecting quite frequently
25∑∑to Mr. Sather's questions, and I just want to make


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∑1∑∑sure that the record is clear with regard to what your
∑2∑∑objection is.∑I didn't know what your objection was
∑3∑∑during his questioning, and so I'm just trying to make
∑4∑∑sure that if the question needs to be rephrased or has
∑5∑∑come out at a different angle, that the question is
∑6∑∑clear to your client and that we're not going to deal
∑7∑∑with objections in the transcript later on.∑Is that
∑8∑∑fair?
∑9∑∑∑∑∑∑MR. BALLASES:∑I'm going to make my objections
10∑∑according to the rules.∑You can respond how you think
11∑∑appropriate pursuant to the rules.
12∑∑∑∑∑∑MS. HOOD:∑Okay.∑I appreciate that.
13∑∑∑∑∑∑Oops.∑What's that?∑No, take that down.
14∑∑∑∑∑∑MR. SATHER:∑Sorry.
15∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑So -- okay.∑So
16∑∑this proof of claim is your individual proof of claim;
17∑∑is that correct?
18∑∑∑∑A.∑My individual proof of claim?∑It looks like
19∑∑my name is on there as well as Mr. Quinlan's and
20∑∑Mr. Abdullatif's.
21∑∑∑∑Q.∑Right.∑But this isn't a proof of claim you
22∑∑filed on behalf of your law office; correct?
23∑∑∑∑A.∑Oh, yeah.∑Yeah, that's filed on my behalf,
24∑∑correct.∑Mm-hmm.
25∑∑∑∑Q.∑And if I understand your testimony, the value


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∑1∑∑of the property that is included in Section 9 consists
∑2∑∑of the total of the three judgments that form the
∑3∑∑basis of your proof of claim; correct?
∑4∑∑∑∑A.∑That's right.
∑5∑∑∑∑Q.∑And you've used these three judgments as the
∑6∑∑basis for filing an adversary action in the Southern
∑7∑∑District but also attached the adversary action to
∑8∑∑your proof of claim; is that correct?
∑9∑∑∑∑A.∑That sounds correct.
10∑∑∑∑Q.∑Okay.∑So if I can drill down, we've got --
11∑∑the basis for your proof of claim was, one, three
12∑∑judgments and, two, an adversary action; is that
13∑∑correct?
14∑∑∑∑A.∑That sounds correct.
15∑∑∑∑Q.∑All right.∑And the basis of the adversary
16∑∑action were the three judgments; is that correct?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑Sorry.∑Can you repeat the question?
19∑∑∑∑Q.∑(BY MS. HOOD)∑Yeah.∑The basis of your
20∑∑adversary action is the three judgments that you claim
21∑∑you're unable to collect; is that correct?
22∑∑∑∑A.∑That's correct.
23∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to form.
24∑∑∑∑∑∑MS. HOOD:∑And what is the basis of your
25∑∑objection?


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∑1∑∑∑∑∑∑MR. BALLASES:∑I think it's vague and
∑2∑∑ambiguous and misstates the evidence.∑I mean, the
∑3∑∑petition or the complaint speaks for itself.
∑4∑∑∑∑∑∑MS. HOOD:∑So last time I checked, documents
∑5∑∑don't talk.∑So let me correct my question just to
∑6∑∑make it clear.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, in your adversary
∑8∑∑action which is attached to your proof of claim, you
∑9∑∑reference three judgments; is that correct?
10∑∑∑∑A.∑Yes.
11∑∑∑∑Q.∑And you testified earlier, when Mr. Sather was
12∑∑asking you questions, that the reason you brought the
13∑∑adversary action was your inability to collect on
14∑∑those judgments and that somehow all of these related
15∑∑entities are alter egos of Mr. Choudhri; correct?
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑Okay.∑Let me drill down on the judgments.
18∑∑∑∑∑∑You state that you're an assignee of two of
19∑∑these judgments; is that correct?
20∑∑∑∑A.∑That's correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑∑∑MS. HOOD:∑All right.∑What is the basis of
23∑∑your objection?
24∑∑∑∑∑∑MR. BALLASES:∑Asked and answered.∑This has
25∑∑been already discussed and answered clearly by


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∑1∑∑Mr. Sather.
∑2∑∑∑∑∑∑MS. HOOD:∑Okay.∑I disagree --
∑3∑∑∑∑∑∑MR. BALLASES:∑You're just rehashing --
∑4∑∑∑∑∑∑MS. HOOD:∑-- but -- okay.∑Let me finish.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑You have --
∑6∑∑∑∑∑∑MS. HOOD:∑Steve, can you go to the basis of
∑7∑∑the damages that were attached?∑And thank you for
∑8∑∑being my paralegal.∑I appreciate it.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑So Judgment
10∑∑Number 1, you have an assigned interest in; correct?
11∑∑∑∑A.∑Yes.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑Q.∑(BY MS. HOOD)∑Before you purchased your
14∑∑assignment, did you do any due diligence on the
15∑∑underlying pleadings in the case?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑(BY MS. HOOD)∑And because you did underlying
19∑∑due diligence in the case, you understand that nowhere
20∑∑in that case is there any allegation of fraudulent
21∑∑transfer; correct?
22∑∑∑∑A.∑In which case?
23∑∑∑∑Q.∑Judgment Number 1, Davy versus Heil.
24∑∑∑∑A.∑I mean, I didn't get into the facts of that
25∑∑case.∑There's a final judgment, I purchased it, and


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∑1∑∑it was assigned to me.∑Why do I care what happened in
∑2∑∑that case?
∑3∑∑∑∑Q.∑Okay.∑Well, I just asked you if you looked at
∑4∑∑the underlying pleadings in the case, and you said
∑5∑∑yes.∑So now your testimony is that you did not look
∑6∑∑at the underlying pleadings.
∑7∑∑∑∑A.∑I mean, I skimmed through them.
∑8∑∑∑∑Q.∑And as you were skimming through them, did you
∑9∑∑understand that there was no cause of action for
10∑∑fraudulent transfers?
11∑∑∑∑A.∑I don't recall.
12∑∑∑∑Q.∑Have you read the judgment?
13∑∑∑∑A.∑Yes, I have.
14∑∑∑∑Q.∑And did you read it before you purchased it?
15∑∑∑∑A.∑Yes, I did.
16∑∑∑∑Q.∑And do you understand that nowhere in that
17∑∑judgment is there a finding of fraudulent transfers?
18∑∑∑∑A.∑Okay.∑If you say so.
19∑∑∑∑Q.∑Well, no, I'm asking you if you've read it and
20∑∑if you understand that.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑I mean, if there isn't, I'm gonna take your
23∑∑word for it and say there isn't.
24∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.∑Well, take my word for
25∑∑it.∑There isn't.


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∑1∑∑∑∑∑∑Did you purchase this judgment at a discount?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑I don't recall.
∑4∑∑∑∑∑∑MS. HOOD:∑What's the basis for your
∑5∑∑objection?
∑6∑∑∑∑∑∑MR. BALLASES:∑Lacking relevance.∑The purpose
∑7∑∑of the deposition is to understand why the proof of
∑8∑∑claim was filed and why it is now being withdrawn.
∑9∑∑∑∑∑∑MS. HOOD:∑All right.∑Well, I think --
10∑∑∑∑∑∑(Crosstalk)
11∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) an underlying
12∑∑matter in the Southern District.
13∑∑∑∑∑∑MS. HOOD:∑All right.∑I disagree with your
14∑∑analysis, but we can argue that another day.
15∑∑∑∑Q.∑(BY MS. HOOD)∑So you don't recall how much
16∑∑you purchased the judgment for.
17∑∑∑∑A.∑Correct.
18∑∑∑∑Q.∑And you are one of three assignees of this
19∑∑judgment; correct?
20∑∑∑∑A.∑That's correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MS. HOOD)∑Before you purchased the
23∑∑judgment, did you have an agreement with the other two
24∑∑claimants, Mr. Quinlan and Mr. Abdullatif, as to why
25∑∑you were purchasing the judgment?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑Did I have an agreement as to why we were
∑3∑∑purchasing the judgment?∑I mean, the purpose of
∑4∑∑purchasing the judgment is to collect on a judgment,
∑5∑∑so that was the agreement.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑So you sat down with the other
∑7∑∑two gentlemen, and the three of you decided to
∑8∑∑purchase this judgment together.
∑9∑∑∑∑A.∑I don't recall if we sat down together
10∑∑anywhere and had that -- a sit-down discussion about
11∑∑what was gonna happen.∑I think maybe that did.
12∑∑∑∑Q.∑Maybe it did, or maybe it didn't?
13∑∑∑∑A.∑Yeah.∑Maybe it was a phone call; maybe it was
14∑∑a sit-down meeting.
15∑∑∑∑Q.∑When did you --
16∑∑∑∑∑∑MR. BALLASES:∑And just for the record --
17∑∑∑∑Q.∑(BY MS. HOOD)∑Can you tell us when the
18∑∑judgment --
19∑∑∑∑∑∑MR. BALLASES:∑Just so that I have --
20∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I'm sorry.
21∑∑∑∑∑∑MS. HOOD:∑Sorry.
22∑∑∑∑∑∑THE REPORTER:∑I hear somebody else speaking.
23∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just -- I wanted to
24∑∑caution Ms. Hood.
25∑∑∑∑∑∑You're getting real close to attorney-client


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∑1∑∑privilege and/or work product legal privilege.∑So I
∑2∑∑don't think you're there yet, but you're close, so I
∑3∑∑just wanted to warn you to keep that in mind.
∑4∑∑∑∑Q.∑(BY MS. HOOD)∑Sure.∑And, Mr. Khawaja, please
∑5∑∑understand that I don't want to know what you talked
∑6∑∑about with your lawyers, okay, ever, or what your
∑7∑∑lawyers have discussed with you regarding their
∑8∑∑strategy.∑Okay?∑So if you feel like you have to
∑9∑∑reveal that kind of information in response to my
10∑∑question, I don't want to know that stuff.∑Okay?
11∑∑∑∑∑∑And certainly you understand as a lawyer that
12∑∑you have the right to discuss this kind of response
13∑∑with your lawyer prior to answering; right?
14∑∑∑∑A.∑Yes.
15∑∑∑∑Q.∑Can you tell us when you -- when you purchased
16∑∑the judgment?
17∑∑∑∑A.∑Sometime before this proof of claim was filed.
18∑∑I don't recall exactly when, no.
19∑∑∑∑Q.∑Do you recall the year?
20∑∑∑∑A.∑I think it was --
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑I think it was 2023.
23∑∑∑∑Q.∑(BY MS. HOOD)∑And how did it come about that
24∑∑this judgment came across your desk to be purchased?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑You can answer.
∑2∑∑∑∑A.∑I mean, that's -- that's privileged
∑3∑∑information that I'm not gonna discuss.
∑4∑∑∑∑∑∑MR. BALLASES:∑I'll go ahead and assert the
∑5∑∑attorney work product, attorney-client privilege.∑I'm
∑6∑∑going to instruct him not to answer.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑How do you typically learn of
∑8∑∑judgments that are available for you to purchase?
∑9∑∑∑∑A.∑I would say typically it is something that's
10∑∑brought to my attention by a third party.
11∑∑∑∑Q.∑And which third party brought this particular
12∑∑judgment to your attention?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Assertion of
14∑∑attorney-client and work product legal privileges.
15∑∑Instruct client not to answer.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Did Mr. Abdullatif bring this
17∑∑judgment to your attention?
18∑∑∑∑∑∑MR. BALLASES:∑Same assertion of privilege,
19∑∑same instruction to the client not to answer.∑It
20∑∑violates attorney-client and attorney work product.
21∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, do you have any
22∑∑sort of agreement with Mr. Abdullatif or Mr. Quinlan
23∑∑regarding a joint prosecution of this proof of claim?
24∑∑∑∑A.∑We do.
25∑∑∑∑Q.∑And is that in writing?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Also joint litigation
∑2∑∑privilege, I'll assert.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.
∑4∑∑∑∑A.∑I'm not gonna answer.
∑5∑∑∑∑Q.∑Is your -- is your agreement in writing?
∑6∑∑∑∑∑∑MR. BALLASES:∑Instruct client not to answer.
∑7∑∑He doesn't need to give work product, attorney-client,
∑8∑∑or joint litigation privilege information away.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑Back to my question.
10∑∑Mr. Khawaja, do you have an agreement in writing with
11∑∑Mr. Abdullatif and Mr. Quinlan with regard to pursuing
12∑∑this proof of claim?
13∑∑∑∑∑∑MR. BALLASES:∑I'm going object again to the
14∑∑question and assert the legal privileges of
15∑∑attorney-client, work product, also joint litigation
16∑∑privilege and instruct the client not to answer.
17∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you adhering
18∑∑to your -- to your counsel's instruction?
19∑∑∑∑A.∑I am.
20∑∑∑∑Q.∑And refusing to answer my question?
21∑∑∑∑A.∑On advice of counsel, yes.
22∑∑∑∑Q.∑With regard to this particular Davy-Heil
23∑∑judgment, do you know Mr. Heil?
24∑∑∑∑A.∑I don't.
25∑∑∑∑Q.∑Do you know Mr. Oakum?


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∑1∑∑∑∑A.∑I don't.
∑2∑∑∑∑Q.∑Do you know Renee Davy?
∑3∑∑∑∑A.∑Not personally.
∑4∑∑∑∑Q.∑Not personally?∑How else would you know her?
∑5∑∑∑∑A.∑I've seen videos of her online.
∑6∑∑∑∑Q.∑Doing what?
∑7∑∑∑∑A.∑Stating that Mr. Choudhri's a fraud and a
∑8∑∑thief and shouldn't be trusted.
∑9∑∑∑∑Q.∑Have you ever spoken to her?
10∑∑∑∑A.∑I have not.
11∑∑∑∑Q.∑When you purchased this judgment, who did you
12∑∑pay?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑∑∑I'm going to also -- it's harassing and
15∑∑oppressive.∑I'm also going to assert the
16∑∑attorney-client, attorney work product, and joint
17∑∑litigation privilege and instruct the client not to
18∑∑answer.
19∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
20∑∑follow your attorney's instruction and not answer my
21∑∑question?
22∑∑∑∑A.∑I am.
23∑∑∑∑Q.∑When you guys purchased your assignment of
24∑∑this judgment, the Davy-Heil judgment, did you each
25∑∑provide separate payment, or did it come from one


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∑1∑∑source?
∑2∑∑∑∑∑∑MR. BALLASES:∑I'm going to assert the same
∑3∑∑objection and the same assertions of legal privilege
∑4∑∑and instruct the client not to answer, as I did to the
∑5∑∑question before.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
∑7∑∑follow your counsel's instruction and refuse to answer
∑8∑∑my question?
∑9∑∑∑∑A.∑I am.
10∑∑∑∑Q.∑Mr. Khawaja, when you purchased your interest
11∑∑in this judgment, did you purchase it via wire
12∑∑transfer or a check?∑Cash?∑How did you purchase it?
13∑∑∑∑∑∑MR. BALLASES:∑I'm going to assert the same
14∑∑legal objections and the same assertions of legal
15∑∑privilege and instruct client not to answer, as I did
16∑∑with the previous question.
17∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
18∑∑adhere to your client's (sic) instruction and refuse
19∑∑to answer my question?
20∑∑∑∑A.∑My counsel's.∑Yes, I am.
21∑∑∑∑Q.∑Mr. Khawaja, do you know a gentleman by the
22∑∑name of Wayne Dolcefino?
23∑∑∑∑A.∑I've seen him online.
24∑∑∑∑Q.∑And was it one of Mr. Dolcefino's videos in
25∑∑which Ms. Davy appeared?


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∑1∑∑∑∑A.∑I think so, yes.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Have you ever met
∑4∑∑Mr. Dolcefino?
∑5∑∑∑∑A.∑I've met him, yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑In connection with any of your
∑8∑∑cases related to Mr. Choudhri?
∑9∑∑∑∑A.∑No.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MS. HOOD)∑With regard to this Judgment
12∑∑Number 1 that was assigned to you, how much of -- how
13∑∑much do you own of this judgment?
14∑∑∑∑∑∑THE WITNESS:∑I think that goes to the
15∑∑privilege again.
16∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
17∑∑question as being oppressive and harassing and assert
18∑∑the attorney-client, attorney work product, and joint
19∑∑litigation privilege and instruct him not to answer.
20∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
21∑∑adhere to your lawyer's instruction not to answer my
22∑∑question?
23∑∑∑∑A.∑I am.
24∑∑∑∑Q.∑As you sit here today, you're not going to
25∑∑tell me how much of this $501,513.85 judgment that you


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∑1∑∑own.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑On advice of counsel, I will not answer that
∑4∑∑question.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑And you testified that you
∑6∑∑purchased this judgment sometime last year; correct?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑I believe so, yes.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.∑And what have you done
10∑∑to try and collect this judgment?
11∑∑∑∑A.∑Well, we filed --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑-- in Bankruptcy Court or, I guess, in our
14∑∑proof of claims.∑And I think -- I think that's it at
15∑∑this stage.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Have you filed any
17∑∑post-judgment discovery in the underlying lawsuit in
18∑∑the 152nd?
19∑∑∑∑A.∑I don't -- I don't -- I'm not aware of that.
20∑∑∑∑Q.∑Have you hired a lawyer to pursue
21∑∑post-judgment discovery or collection of this
22∑∑judgment?
23∑∑∑∑A.∑The only lawyer I've hired is Mr. Ballases.
24∑∑∑∑Q.∑And you're certainly not aware of Mr. Ballases
25∑∑doing anything to try to collect this judgment outside


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∑1∑∑of the bankruptcy action; correct?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑You can answer.
∑4∑∑∑∑A.∑I'm not aware.
∑5∑∑∑∑Q.∑As an attorney in the state of Texas,
∑6∑∑certainly you're aware of the fact that, as a judgment
∑7∑∑creditor, you have the right to pursue post-judgment
∑8∑∑collection efforts within the confines of the Court
∑9∑∑that issued the judgment; correct?
10∑∑∑∑A.∑Sure.
11∑∑∑∑Q.∑And you've chosen not to avail yourselves of
12∑∑those opportunities; correct?
13∑∑∑∑∑∑MR. BALLASES:∑I'm going to go ahead and
14∑∑object to the question as misleading, also oppressive
15∑∑and harassing, and assert attorney-client, attorney
16∑∑work product, and joint litigation privilege.
17∑∑∑∑∑∑What we do for collection, you do not get to
18∑∑ask about to aid Mr. Choudhri and Jetall and his
19∑∑companies to hide assets any further.∑So we're not
20∑∑going to answer that.
21∑∑∑∑∑∑MS. HOOD:∑All right.∑I object to any
22∑∑commentary about me helping anybody do anything.∑All
23∑∑right?∑I'm here representing a creditor, and I'm
24∑∑trying to determine the basis for the filing of this
25∑∑proof of claim.∑And part of that issue is any attempt


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∑1∑∑by the judgment creditor to collect the judgment
∑2∑∑outside of filing a proof of claim in a bankruptcy
∑3∑∑action, that has nothing to do with the underlying
∑4∑∑judgment.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, do you personally
∑6∑∑know of any action taken in the public forum by you to
∑7∑∑collect this judgment outside of this bankruptcy
∑8∑∑action?
∑9∑∑∑∑A.∑I'm not aware of any.
10∑∑∑∑∑∑MR. BALLASES:∑I'm further going to instruct
11∑∑you:∑Don't answer any more questions regarding what
12∑∑we've done to collect because that gets into attorney
13∑∑work product, also attorney-client, and joint
14∑∑litigation privilege.
15∑∑∑∑∑∑THE WITNESS:∑I understand.
16∑∑∑∑∑∑MS. HOOD:∑And certainly, Mr. Ballases, I
17∑∑appreciate the nuances and everything else.∑And
18∑∑again, I don't want to know anything about your
19∑∑strategy or anything else.∑That's why I asked for
20∑∑public record, because I can't find anything in the
21∑∑public record that shows any attempt to try to collect
22∑∑this judgment.∑And so I'm just trying to clarify and
23∑∑get commentary and testimony from your client
24∑∑confirming that.
25∑∑∑∑∑∑MR. BALLASES:∑I appreciate that, but we don't


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∑1∑∑need to get into anything that could aid your client
∑2∑∑or the principal who owns your client to hide assets
∑3∑∑any further.
∑4∑∑∑∑∑∑MS. HOOD:∑I'm going to object to the sidebar
∑5∑∑commentary there.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑The judgment that you bought,
∑7∑∑the judgment debtor is Jetall Companies, Inc.;
∑8∑∑correct?
∑9∑∑∑∑A.∑Correct.
10∑∑∑∑Q.∑Certainly that judgment does not include my
11∑∑client as a judgment debtor; correct?
12∑∑∑∑A.∑Yeah, it's not -- does not include?∑Correct.
13∑∑∑∑Q.∑It certainly doesn't include Mrs. Choudhri as
14∑∑a judgment debtor; correct?
15∑∑∑∑A.∑It does not include them as a judgment debtor,
16∑∑correct.
17∑∑∑∑Q.∑It doesn't include Texas REIT as a judgment
18∑∑debtor either; right?
19∑∑∑∑A.∑Correct.
20∑∑∑∑Q.∑On Judgment Number 2, I think you testified
21∑∑that you don't own any part of that judgment; correct?
22∑∑∑∑A.∑Judgment Number 2, I believe I do own part of
23∑∑it.
24∑∑∑∑Q.∑The Abdullatif judgment?
25∑∑∑∑A.∑Okay.∑No, I do not.∑Sorry.


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∑1∑∑∑∑Q.∑Okay.∑Are you aware of the fact that that
∑2∑∑judgment has been bonded around?
∑3∑∑∑∑A.∑I'm not aware of --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I'm not aware of that.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑And when you filed the proof of
∑7∑∑claim that included Judgment Number 2, did you do any
∑8∑∑due diligence on that judgment in order to satisfy
∑9∑∑yourself that that judgment was not bonded around?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑I -- minimally, not -- minimally.
12∑∑∑∑Q.∑(BY MS. HOOD)∑What do you mean "minimally"?
13∑∑∑∑A.∑Meaning it was a final judgment, and that's
14∑∑how I -- that was what I understood it to be.
15∑∑∑∑Q.∑Certainly as a lawyer in the state of Texas,
16∑∑you understand that when a judgment is superceded,
17∑∑that that stays any collection activities; correct?
18∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
19∑∑question as misleading and harassing and oppressive.
20∑∑∑∑Q.∑(BY MS. HOOD)∑You can answer --
21∑∑∑∑A.∑I'm not aware of that --
22∑∑∑∑Q.∑You're not aware of that?
23∑∑∑∑A.∑I'm not aware of that being -- I'm not aware
24∑∑of the judgment being superceded.
25∑∑∑∑Q.∑And did you take any independent actions to


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∑1∑∑determine whether or not this judgment, which is on
∑2∑∑appeal, had been superceded?
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑Q.∑Judgment Number 3, this HSLLP judgment.
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑All right.∑That judgment, when did you
∑7∑∑purchase that judgment?
∑8∑∑∑∑A.∑I think 2023, if I recall correctly.
∑9∑∑∑∑Q.∑And how did you become aware that that
10∑∑judgment was available to purchase?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Harassing
12∑∑and oppressive.∑I'm also going to assert
13∑∑attorney-client, attorney work product, and joint
14∑∑litigation privilege and instruct the client not to
15∑∑answer.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
17∑∑adhere to your client's -- excuse me -- to your
18∑∑lawyer's instructions?
19∑∑∑∑A.∑I am.
20∑∑∑∑Q.∑And if I understand your testimony, you are
21∑∑one of three owners also of this judgment; is that
22∑∑correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑That's correct.
25∑∑∑∑Q.∑(BY MS. HOOD)∑And can you tell me how you


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∑1∑∑paid for the purchase of this judgment?
∑2∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
∑3∑∑question again as harassing and oppressive, assert the
∑4∑∑attorney-client legal privilege, the work product
∑5∑∑legal privilege, and the joint litigation legal
∑6∑∑privilege and instruct the client not to answer.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
∑8∑∑adhere to your lawyer's instruction?
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑Q.∑Mr. Khawaja, can you tell me whether you paid
11∑∑for -- excuse me.∑Strike that.
12∑∑∑∑∑∑Can you tell me who you paid when you
13∑∑purchased this assignment of this judgment?
14∑∑∑∑∑∑MR. BALLASES:∑I'm going to assert the same
15∑∑objection I just levied to the prior question as well
16∑∑as the same assertion of legal privileges to the prior
17∑∑question and instruct the client not to answer, just
18∑∑like the prior question.
19∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
20∑∑adhere to your lawyer's instruction and not answer my
21∑∑question as to who you paid for the purchase of this
22∑∑judgment?
23∑∑∑∑A.∑I am.
24∑∑∑∑Q.∑I see that this judgment -- the judgment
25∑∑creditor is Hoover Slovacek; correct?


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∑1∑∑∑∑A.∑That appears correct.
∑2∑∑∑∑Q.∑And that's the same law firm that is
∑3∑∑representing you here today; correct?
∑4∑∑∑∑A.∑That's correct.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Do you have any joint defense
∑7∑∑agreements with Hoover Slovacek?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑I think --
∑9∑∑well, objection.∑Form.
10∑∑∑∑A.∑I'm not aware.
11∑∑∑∑Q.∑(BY MS. HOOD)∑Do you have any prosecution
12∑∑agreements with Hoover Slovacek?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I'm not aware of any.
15∑∑∑∑Q.∑(BY MS. HOOD)∑At the time that you purchased
16∑∑this judgment, were you represented by Hoover
17∑∑Slovacek?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑A.∑At the time I purchased the judgment, I was
20∑∑represented by nobody.
21∑∑∑∑Q.∑(BY MS. HOOD)∑So you were representing
22∑∑yourself?
23∑∑∑∑A.∑Correct.
24∑∑∑∑Q.∑Who drafted the assignments?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑A.∑I think that's a privileged answer.
∑2∑∑∑∑∑∑MR. BALLASES:∑Also assert the same legal
∑3∑∑privileges we asserted in the previous questions,
∑4∑∑which would be attorney-client, attorney work product,
∑5∑∑and joint litigation and instruct the client not to
∑6∑∑answer.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
∑8∑∑adhere to your lawyer's instructions and not answer my
∑9∑∑question?
10∑∑∑∑A.∑Yes.
11∑∑∑∑Q.∑When you purchased the assignment of this
12∑∑judgment and the other two also purchased their
13∑∑portion of the judgment, was it all done at one time?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑∑∑I'm also going to assert the same legal
16∑∑privileges and instruct the client not to answer, as I
17∑∑did with the previous question.
18∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
19∑∑adhere to your client's instruction and not answer my
20∑∑question as to the timing of the purchase of the
21∑∑assignment by the three of you?
22∑∑∑∑A.∑Yes.
23∑∑∑∑Q.∑Did you purchase the assignment of this
24∑∑judgment from Mr. Abdullatif?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Same


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∑1∑∑objections, same assertions of legal privilege, same
∑2∑∑instruction not to answer based on those legal
∑3∑∑privileges as the question before.
∑4∑∑∑∑Q.∑(BY MS. HOOD)∑Are you going to follow your
∑5∑∑lawyer's instruction and not answer my question as to
∑6∑∑who you purchased the assignment from?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑When you purchased the assignment and you were
∑9∑∑representing yourself, what lawyers did you deal with
10∑∑for the other purchasers?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑I'm also
12∑∑going to assert the same attorney work product and
13∑∑attorney -- joint litigation legal privilege and
14∑∑instruct the client not to answer.
15∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
16∑∑adhere to your lawyer's instructions and not answer my
17∑∑questions?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑Okay.∑When you purchased your assignment, was
20∑∑Mr. Abdullatif represented by counsel?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑∑∑Asserting the same legal privileges as the
23∑∑previous question and instructing client not to answer
24∑∑as I did with the previous question.
25∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to


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∑1∑∑adhere to your client's instruction -- or to your
∑2∑∑lawyer's instruction and not answer my question as to
∑3∑∑whether or not Mr. Abdullatif had a lawyer at the time
∑4∑∑of the purchase?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑At the time you purchased your assignment of
∑7∑∑this judgment, was Mr. Quinlan represented by counsel?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑∑∑I'm also going to assert the same legal
10∑∑privileges as I did before and instruct the client not
11∑∑to answer.
12∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you adhering
13∑∑to your counsel's instructions and not answering my
14∑∑question as to whether or not Mr. Quinlan was
15∑∑represented by counsel at the time of the assignment
16∑∑of the judgment?
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑Does your assignment include just your
19∑∑signature, or is it an assignment that includes the
20∑∑other purchasers' signatures?
21∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
22∑∑question -- object to the form of the question.
23∑∑Excuse me.
24∑∑∑∑A.∑I don't -- I don't recall.
25∑∑∑∑Q.∑(BY MS. HOOD)∑Do you have a physical copy, or


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∑1∑∑do you have the original of this assignment?
∑2∑∑∑∑A.∑I believe I do somewhere, not with me today.
∑3∑∑I'm sure it was provided to me.
∑4∑∑∑∑Q.∑The copy or the original?
∑5∑∑∑∑A.∑The copy.
∑6∑∑∑∑Q.∑Do you know who holds the original of the
∑7∑∑assignment?
∑8∑∑∑∑A.∑I don't.
∑9∑∑∑∑Q.∑Because you don't know who holds the original
10∑∑of the assignment, you can't tell us whether or not
11∑∑the assignment has been paid; correct?
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑∑∑I'm going to assert the attorney-client and
14∑∑attorney work product and attorney joint -- or excuse
15∑∑me -- joint litigation privilege and instruct the
16∑∑client not to answer.
17∑∑∑∑A.∑I'm going to follow advice of counsel.
18∑∑∑∑Q.∑(BY MS. HOOD)∑And as you sit here today, you
19∑∑can't tell us who holds the original of this
20∑∑assignment.
21∑∑∑∑A.∑I can't.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑Q.∑(BY MS. HOOD)∑You can't?
24∑∑∑∑A.∑I cannot.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Can you tell me why you didn't
∑2∑∑include a copy of the assignment with your proof of
∑3∑∑claim?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑∑∑Just -- and I'm -- and I apologize because I
∑6∑∑know I'm not supposed to talk right now, but it's
∑7∑∑attached to the actual complaint in the Southern
∑8∑∑District, so you can pull it up.∑It's public record.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
10∑∑coaching the witness.
11∑∑∑∑∑∑MR. BALLASES:∑Be quiet.
12∑∑∑∑∑∑MR. CHOUDHRI:∑I'm sorry.∑Mr. Khawaja, did
13∑∑you say something?
14∑∑∑∑∑∑MS. HOOD:∑Okay --
15∑∑∑∑∑∑MR. BALLASES:∑No, I told you to be quiet.
16∑∑This is Mr. Ballases.
17∑∑∑∑∑∑MS. HOOD:∑Okay.∑This is my time.∑Okay?∑You
18∑∑guys can bicker and do your little boy thing when I'm
19∑∑not talking.
20∑∑∑∑Q.∑(BY MS. HOOD)∑So if I understand correctly,
21∑∑this adversary action, which is based upon two
22∑∑judgments that you claim to have an assignment in, was
23∑∑originally filed in the Southern District of Texas; is
24∑∑that correct?
25∑∑∑∑A.∑That's correct.


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∑1∑∑∑∑Q.∑And then you took that adversary and used it
∑2∑∑as -- as an exhibit to your proof of claim that you
∑3∑∑then filed in this action; correct?
∑4∑∑∑∑A.∑That's correct.
∑5∑∑∑∑Q.∑And if I understand your testimony, along with
∑6∑∑this adversary action, you filed lis pendens against
∑7∑∑the debtor's property in this action; correct?
∑8∑∑∑∑A.∑That's correct.
∑9∑∑∑∑Q.∑And if I remember the lis pendens, you did not
10∑∑sign that lis pendens; correct?
11∑∑∑∑A.∑Correct.
12∑∑∑∑Q.∑Did Mr. Abdullatif have your permission to
13∑∑sign that lis pendens that was filed against the
14∑∑debtor's property in this action?
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And when did you give him permission to file
17∑∑that lis pendens?
18∑∑∑∑A.∑I'm not sure.∑I'm assuming sometime before it
19∑∑was filed.
20∑∑∑∑Q.∑Was it done prior to the time that you brought
21∑∑the adversary action in the Southern District of
22∑∑Texas?
23∑∑∑∑A.∑I don't know.
24∑∑∑∑∑∑MS. HOOD:∑Steve, my trustee paralegal, can
25∑∑you bring up the first lis pendens, the supplemental


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∑1∑∑lis pendens, which I think is Exhibit -- yeah --
∑2∑∑Exhibit 2, yeah.∑Can you go down to the signature
∑3∑∑page?
∑4∑∑∑∑∑∑MR. SATHER:∑Yes.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑So Exhibit 2 is the
∑6∑∑supplemental lis pendens that you authorized
∑7∑∑Mr. Abdullatif to file against the debtor's property
∑8∑∑in this action; correct?
∑9∑∑∑∑A.∑That's correct.
10∑∑∑∑Q.∑All right.∑And the date of that says
11∑∑August 22nd, 2023.∑Do you agree with me?
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑Okay.∑And would it be fair to say that you
14∑∑gave Mr. Abdullatif your authority to sign on your
15∑∑behalf somewhere around August 22nd, 2023?
16∑∑∑∑A.∑It could've been before that, but it sounds
17∑∑correct.
18∑∑∑∑Q.∑Did you have a conversation with
19∑∑Mr. Abdullatif about the filing of the lis pendens?
20∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
21∑∑question.∑I'm also going to assert the
22∑∑attorney-client, attorney work product, and joint
23∑∑litigation privilege and instruct the client not to
24∑∑answer.
25∑∑∑∑A.∑On advice of counsel, I'm not answering any


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∑1∑∑questions regarding my conversations with
∑2∑∑Mr. Abdullatif or Mr. Quinlan.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Did you prov -- the authority
∑4∑∑that you provided to Mr. Abdullatif for you -- for him
∑5∑∑to sign on your behalf this lis pendens, was that
∑6∑∑given verbally or in writing?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑∑∑Same assertion of legal privilege, same
∑9∑∑instruction not to answer.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
11∑∑adhere to your client's (sic) instructions and not
12∑∑answer my question about how you gave permission to
13∑∑Mr. Abdullatif --
14∑∑∑∑A.∑Yes, I am.
15∑∑∑∑∑∑MS. HOOD:∑Steve, can you bring up the --
16∑∑Exhibit Number 3?
17∑∑∑∑Q.∑(BY MS. HOOD)∑Exhibit Number 3 is the second
18∑∑supplemental lis pendens that was filed also on the
19∑∑debtor's property, and it looks to me that that also
20∑∑is dated August 22nd, 2023.∑Is that accurate?
21∑∑∑∑A.∑That looks accurate.
22∑∑∑∑Q.∑All right.∑And is it fair to say that you
23∑∑again gave Mr. Abdullatif permission or authorized him
24∑∑to sign on your behalf somewhere around August 22nd of
25∑∑2023?


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∑1∑∑∑∑A.∑Or prior to that, yes.
∑2∑∑∑∑Q.∑Certainly you didn't give him permission to
∑3∑∑file it before you actually were an owner in the
∑4∑∑judgment; correct?
∑5∑∑∑∑A.∑That's correct.
∑6∑∑∑∑Q.∑And again, just to summarize your testimony,
∑7∑∑you think you recall purchasing your assignment in
∑8∑∑this judgment sometime in 2023; correct?
∑9∑∑∑∑A.∑That's correct.
10∑∑∑∑Q.∑So we've got somewhere between January and
11∑∑August 22nd that you purchased your interest in this
12∑∑judgment; correct?
13∑∑∑∑A.∑That sounds right.
14∑∑∑∑∑∑MR. BALLASES:∑Ms. Hood, I don't mean to
15∑∑derail your testimony, but if you look at the
16∑∑complaint itself, it says when he obtained the
17∑∑assignment.∑It's February 17th, 2023.∑You can read
18∑∑it for yourself.∑It's Exhibit 1.
19∑∑∑∑∑∑MS. HOOD:∑So I appreciate that, Mr. Ballases.
20∑∑I'm trying to get your client's testimony on these
21∑∑issues, not what's in a document that you wrote. I
22∑∑want his testimony, but I appreciate it.∑He said he
23∑∑couldn't recall, and that's fine with me.
24∑∑∑∑Q.∑(BY MS. HOOD)∑On this judgment that you
25∑∑purchased from Hoover Slovacek, prior -- prior --


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∑1∑∑sorry; my mouth is not working -- prior to your
∑2∑∑purchase of the assignment, did you review the
∑3∑∑underlying pleadings related to the lawsuit?
∑4∑∑∑∑A.∑Not really.
∑5∑∑∑∑Q.∑Can you be more specific than "not really"?
∑6∑∑Is that you didn't look at them at all, or you kind of
∑7∑∑looked at them?
∑8∑∑∑∑A.∑I may have briefly skimmed through them.
∑9∑∑∑∑Q.∑And by skimming through them, were you aware
10∑∑that there were no causes of action for fraudulent
11∑∑transfer, et cetera, against Jetall?
12∑∑∑∑A.∑No, I wasn't, but I'll take your word for it
13∑∑that there were not.
14∑∑∑∑Q.∑And would you agree with me that the judgment
15∑∑debtor in Judgment Number 3 is Jetall Companies, Inc.?
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑And the judgment debtor is not Arabella PH
18∑∑3201; correct?
19∑∑∑∑A.∑No, they're an alter ego of Jetall Companies.
20∑∑∑∑∑∑MS. HOOD:∑Objection.∑Non-responsive.
21∑∑∑∑Q.∑(BY MS. HOOD)∑Arabella PH 3201 is not a
22∑∑judgment debtor; correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑That's correct.
25∑∑∑∑Q.∑(BY MS. HOOD)∑9201 Memorial Drive is not a


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∑1∑∑judgment creditor; correct?
∑2∑∑∑∑A.∑Correct.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MS. HOOD)∑2727 Kirby 26L, LLC, is not a
∑5∑∑judgment debtor; correct?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑Correct.
∑8∑∑∑∑Q.∑(BY MS. HOOD)∑Texas REIT, LLC, is not a
∑9∑∑judgment debtor; correct?
10∑∑∑∑A.∑Correct.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MS. HOOD)∑Dalio Holdings I is not a
13∑∑judgment debtor; correct?
14∑∑∑∑A.∑Correct.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Dalio Holdings II is not a
17∑∑judgment debtor; correct?
18∑∑∑∑A.∑Correct.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑Q.∑(BY MS. HOOD)∑Houston Real Estate Properties,
21∑∑LLC, is not a judgment debtor; correct?
22∑∑∑∑A.∑(Unintelligible)
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Was that "correct"?
25∑∑∑∑Q.∑(BY MS. HOOD)∑What was your -- yeah, I didn't


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∑1∑∑hear your --
∑2∑∑∑∑A.∑That's correct.
∑3∑∑∑∑Q.∑-- answer either.∑Yeah.
∑4∑∑∑∑A.∑Correct.∑Correct.
∑5∑∑∑∑∑∑MR. BALLASES:∑And I object to the form.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Shahnaz Choudhri is not a
∑7∑∑judgment debtor; correct?
∑8∑∑∑∑A.∑Correct.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Ali Choudhri is not a judgment
11∑∑debtor; correct?
12∑∑∑∑A.∑Correct.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑Q.∑(BY MS. HOOD)∑Shepherd-Huldy Development I is
15∑∑not a judgment debtor; correct?
16∑∑∑∑A.∑Correct.
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑Q.∑(BY MS. HOOD)∑Shepherd-Huldy Development II
19∑∑is not a judgment debtor; correct?
20∑∑∑∑A.∑Correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MS. HOOD)∑Galleria Loop Note Holder, LLC,
23∑∑is not a judgment debtor; correct?
24∑∑∑∑A.∑Correct.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑What due diligence did you do,
∑2∑∑if any, before you alleged in this adversary action,
∑3∑∑which forms the basis of your proof of claim, that my
∑4∑∑client, Dalio Holdings, LLC, is the alter ego of
∑5∑∑Houston Real Estate Properties?
∑6∑∑∑∑A.∑What due diligence did I do personally?
∑7∑∑∑∑Q.∑Yeah.
∑8∑∑∑∑A.∑I mean, I think it's stated pretty clearly in
∑9∑∑the petition what evidence we have.∑There's a whole
10∑∑court history of fraudulent transfers, commingling of
11∑∑assets; you know, fraudulent, unethical conduct that
12∑∑we have available as public record as to Mr. Choudhri
13∑∑and, by extension, your client's conduct.∑And that's
14∑∑the due diligence I did to make these claims.
15∑∑∑∑Q.∑Okay.∑So you based your due diligence off
16∑∑your allegation that this is all public record.
17∑∑∑∑A.∑That's correct.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MS. HOOD)∑What public records did you
20∑∑look at?
21∑∑∑∑A.∑Well, if you -- everything that's stated in
22∑∑the petition.∑If you look at Lawsuit 2013-41273,
23∑∑Harris County District Court, he was found to have
24∑∑committed fraud, filed a fraudulent lien, and there
25∑∑was no promissory note, and that was an entity that he


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∑1∑∑controlled, HREP.∑If you look at -- on February 16th,
∑2∑∑2017, in Case Number 2017-1 --
∑3∑∑∑∑Q.∑Let's go -- let's go back to the first one.
∑4∑∑You --
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm going to --
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑-- said that there was a --
∑7∑∑∑∑∑∑THE REPORTER:∑I'm sorry.
∑8∑∑∑∑Q.∑(BY MS. HOOD)∑You claim to have a finding --
∑9∑∑∑∑∑∑(Crosstalk)
10∑∑∑∑Q.∑(BY MS. HOOD)∑You claim there's a finding of
11∑∑fraud --
12∑∑∑∑∑∑MR. BALLASES:∑Ms. Hood --
13∑∑∑∑∑∑THE REPORTER:∑Sorry --
14∑∑∑∑∑∑MR. BALLASES:∑-- can you let my client answer
15∑∑the question, please?
16∑∑∑∑∑∑MS. HOOD:∑I -- it's my question-and-answer,
17∑∑and if I want to cut him off, I can.
18∑∑∑∑∑∑MR. BALLASES:∑Okay.∑So you want to --
19∑∑∑∑∑∑MS. HOOD:∑I want to -- I want to drill down
20∑∑on the first one.∑Well, he's referencing a pleading
21∑∑that I'm assuming that you wrote, so I just want to
22∑∑find out what he knows personally about some of this
23∑∑stuff.
24∑∑∑∑∑∑MR. BALLASES:∑Objection (unintelligible).
25∑∑∑∑Q.∑(BY MS. HOOD)∑So you reference a lawsuit --


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∑1∑∑hang on.∑Let me find it.
∑2∑∑∑∑∑∑Is that the lawsuit involving HREP?
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑Q.∑Okay.∑And were you involved in that lawsuit?
∑5∑∑∑∑A.∑I was not.
∑6∑∑∑∑Q.∑So everything you know about that lawsuit, you
∑7∑∑read as a matter of public record.
∑8∑∑∑∑A.∑That's correct.
∑9∑∑∑∑Q.∑Was there a finding of fraudulent transfers in
10∑∑that case?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑Other fraud, but I don't know if fraudulent
13∑∑transfer was part of that.
14∑∑∑∑Q.∑(BY MS. HOOD)∑I didn't see it.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
16∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑That's the first
17∑∑lawsuit that you said you looked at for public record
18∑∑in order to determine that my client is somehow the
19∑∑alter ego of all these other things; correct?
20∑∑∑∑A.∑That's correct.
21∑∑∑∑Q.∑Okay.∑What other -- what other public records
22∑∑did you review?
23∑∑∑∑A.∑There's also these videos by a guy named Wayne
24∑∑Dolcefino I saw.
25∑∑∑∑Q.∑So you looked at videos.


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∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑Anything else you reviewed?
∑3∑∑∑∑A.∑I think just generally people in the community
∑4∑∑know that your client commits fraud.∑He's known as a
∑5∑∑fraudster.
∑6∑∑∑∑Q.∑Who are these --
∑7∑∑∑∑A.∑So many people have approached me.
∑8∑∑∑∑Q.∑Okay.∑Who are these people?
∑9∑∑∑∑A.∑Yeah, I can't -- many people that he's
10∑∑defrauded over the years.
11∑∑∑∑Q.∑Name one.
12∑∑∑∑A.∑Well, Judge Norman is one.∑I don't know if
13∑∑you know him.∑He's in the Southern District.
14∑∑∑∑Q.∑Okay.∑Who else?
15∑∑∑∑A.∑Let's see.∑Who else in the community have
16∑∑called him a fraudster?
17∑∑∑∑∑∑Judge Landrum, Judge Michael Landrum in the
18∑∑Harris County District Court, 164th District Court.
19∑∑He considers your client a fraud.
20∑∑∑∑Q.∑And is that in relation to the HREP case?
21∑∑∑∑A.∑I just think generally.
22∑∑∑∑Q.∑Okay.∑So Judge Landrum has spoken to you
23∑∑about Mr. Choudhri being a fraudster?
24∑∑∑∑A.∑It's in a final judgment.∑I can read that for
25∑∑you if you'd like.


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∑1∑∑∑∑Q.∑No, I'm asking --
∑2∑∑∑∑A.∑Do you want me to read it to you?
∑3∑∑∑∑Q.∑No, no, no.∑I'm asking you.∑You said people
∑4∑∑have told you; many people have told you.∑So I'm
∑5∑∑asking who --
∑6∑∑∑∑A.∑Yes.
∑7∑∑∑∑Q.∑-- who's had a conversation with you about
∑8∑∑Mr. Choudhri being a fraudster?∑And you've said Judge
∑9∑∑Norman, and I'm assuming you didn't --
10∑∑∑∑A.∑Yes.
11∑∑∑∑Q.∑-- talk personally with Judge Norman.∑That's
12∑∑out of an opinion; right?
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑Okay.∑The same as --
15∑∑∑∑A.∑Members of the community --
16∑∑∑∑Q.∑Okay.∑So who --
17∑∑∑∑A.∑I'm sorry --
18∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
19∑∑Thank you.
20∑∑∑∑Q.∑(BY MS. HOOD)∑What community?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑The real estate community, the Pakistani
23∑∑community, basically anyone Mr. Choudhri has come in
24∑∑contact with and done business with, people from those
25∑∑communities.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.∑So we've got the real
∑2∑∑estate community.∑We've got the Pakistani community.
∑3∑∑∑∑A.∑His family members.∑His own family members
∑4∑∑have said the same.
∑5∑∑∑∑Q.∑Family members.
∑6∑∑∑∑∑∑All right.∑So who in the real estate
∑7∑∑community have you had a specific conversation with
∑8∑∑that have informed you that he's -- that he -- that my
∑9∑∑client fraudulently -- my client, Dalio, is -- has
10∑∑been the recipient or the instigator of fraudulent
11∑∑transfers such that they're the alter ego of
12∑∑Mr. Choudhri?
13∑∑∑∑A.∑Harold Polk.
14∑∑∑∑Q.∑Who?
15∑∑∑∑A.∑So just a -- Harold Polk.
16∑∑∑∑Q.∑And who is Mr. Polk?
17∑∑∑∑A.∑Somebody that your client knows that he ripped
18∑∑off, I guess.
19∑∑∑∑Q.∑Well, how do you know him?
20∑∑∑∑A.∑He came to me and told me that your client
21∑∑ripped him off.
22∑∑∑∑Q.∑Okay.∑He came to you just out of the blue?
23∑∑∑∑A.∑Yeah.∑I mean, you know, I don't know why he
24∑∑came to me, but yeah, he did.
25∑∑∑∑Q.∑When did you have this --


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∑1∑∑∑∑A.∑He probably saw the --
∑2∑∑∑∑Q.∑When did you have this conversation with
∑3∑∑Mr. Polk?
∑4∑∑∑∑A.∑Years ago.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑I can't remember.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Years ago?∑Okay.
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑Okay.∑Who else?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑I don't -- I can't recall.∑I mean, a lot of
12∑∑people.∑A lot of people.
13∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
14∑∑question as exceeding the scope of the judge's
15∑∑limiting order.
16∑∑∑∑∑∑Can we please just stick to the basis for the
17∑∑proof of claim and why we are willing to withdraw it?
18∑∑∑∑∑∑MS. HOOD:∑Objection.∑Sidebar.
19∑∑∑∑∑∑I've asked him, what due diligence did he do
20∑∑in order to craft together the adversary proceeding,
21∑∑which was attached to the proof of claim as evidence
22∑∑supporting his proof of claim.∑And I've got, so far,
23∑∑two public lawsuits and some people in the community
24∑∑that have spoken to him, one of whose name is Harold
25∑∑Polk.∑And he can't remember anybody else's name


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∑1∑∑because there's just so many over so many years.
∑2∑∑∑∑Q.∑(BY MS. HOOD)∑Is that correct?
∑3∑∑∑∑∑∑MR. BALLASES:∑No, he's identified several
∑4∑∑people.
∑5∑∑∑∑∑∑I'm going to object to sidebar.
∑6∑∑∑∑∑∑If you want to engage in discovery in the
∑7∑∑Southern District, we can do that, but right now we're
∑8∑∑just trying to understand why we filed the proof of
∑9∑∑claim and why we're willing to withdraw it.
10∑∑∑∑∑∑MS. HOOD:∑Yeah, I understand.
11∑∑∑∑∑∑And I object to your sidebar.
12∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, certainly your
13∑∑lawyer and Mr. Abdullatif had your permission to file
14∑∑this proof of claim; correct?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑(BY MS. HOOD)∑And you understand the proof of
18∑∑claim was filed under penalty of perjury.
19∑∑∑∑A.∑Yes.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MS. HOOD)∑And you understand that the
22∑∑amount in the proof of claim is based upon these three
23∑∑judgments; correct?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑And we've run through the three judgments, and


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∑1∑∑one of which you don't even have an interest in;
∑2∑∑correct?
∑3∑∑∑∑A.∑Yes, that's correct.
∑4∑∑∑∑Q.∑And you don't know anything about the
∑5∑∑substance of that judgment; correct?
∑6∑∑∑∑A.∑That's (unintelligible).
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑∑∑MS. HOOD:∑Excuse me.∑What was the answer?
∑9∑∑∑∑A.∑That was correct.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Do you own an assigned interest
11∑∑in any other judgment related to any of these entities
12∑∑that you claim are alter egos of Mr. Choudhri?
13∑∑∑∑A.∑I don't think so.
14∑∑∑∑∑∑MR. BALLASES:∑I object to the form of the
15∑∑question.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Is it your habit to -- strike
17∑∑that.
18∑∑∑∑∑∑If one of these judgments became available to
19∑∑purchase, would you buy it?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑I don't know.∑I don't know how much money
22∑∑your client has.∑It just depends.∑Collectibility
23∑∑matters, so...
24∑∑∑∑Q.∑(BY MS. HOOD)∑Collectibility matters?
25∑∑∑∑A.∑Yes.


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∑1∑∑∑∑Q.∑Did collectibility matter to you when you
∑2∑∑purchased the assignment of the judgments that form
∑3∑∑the basis of your proof of claim?
∑4∑∑∑∑A.∑Yes.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Did you do any due diligence
∑7∑∑prior to filing your proof of claim in this lawsuit as
∑8∑∑to the debtor's ability to pay these judgments?
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MS. HOOD)∑What due diligence did you do?
12∑∑∑∑A.∑Reviewed public documents, spoke to people,
13∑∑watched videos of Wayne Dolcefino online.
14∑∑∑∑Q.∑Okay.∑So the public documents that you
15∑∑reviewed prior to filing your proof of claim in this
16∑∑lawsuit --
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑-- that -- let me finish -- that supported
19∑∑your proof of claim regarding collectibility were
20∑∑public records and the --
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑-- Dolcefino videos.
23∑∑∑∑A.∑That's correct.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑Q.∑(BY MS. HOOD)∑When did you learn that your


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∑1∑∑proof of claim was uncollectible?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑I think the Texas REIT judge in that case said
∑4∑∑that there wasn't enough money in the Texas REIT
∑5∑∑matter to pay us.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑When you filed your proof of
∑7∑∑claim, how much money was in Texas REIT?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑A.∑I'm not sure.∑No idea.
10∑∑∑∑Q.∑(BY MS. HOOD)∑If I understand correctly,
11∑∑bankrupt debtors have to file documents that outline
12∑∑their assets; correct?
13∑∑∑∑A.∑Yes.
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑Q.∑(BY MS. HOOD)∑Did you look at any of those
16∑∑filings by the debtor?
17∑∑∑∑A.∑I believe I did, but a lot of what your client
18∑∑files is fraudulent, so -- or the debtor in this case.
19∑∑So it's hard to trust those documents.
20∑∑∑∑∑∑MS. HOOD:∑Objection.∑Non-responsive.
21∑∑∑∑Q.∑(BY MS. HOOD)∑Did you look at any of the
22∑∑documents filed by the debtor, the accounting
23∑∑documents, prior to filing your proof of claim?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑Yes.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Which documents did you look
∑2∑∑at?
∑3∑∑∑∑A.∑I'm sure I reviewed the schedules.∑I don't --
∑4∑∑I can't recall specifically what I looked at.
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm going to go ahead on this
∑6∑∑line of questioning and instruct him not to answer
∑7∑∑because it gets into attorney work product.
∑8∑∑∑∑∑∑MS. HOOD:∑I'm just asking what he looked at.
∑9∑∑I don't want to know what you looked at or what you
10∑∑talked to him about.
11∑∑∑∑∑∑MR. BALLASES:∑I understand.
12∑∑∑∑∑∑MR. CHOUDHRI:∑I'm gonna object.
13∑∑∑∑∑∑Mr. Ballases, you continue to coach the
14∑∑witness, so I'm gonna object.∑Please stop coaching
15∑∑the witness.
16∑∑∑∑∑∑MR. BALLASES:∑What's your legal basis, sir,
17∑∑for your objection?
18∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, because you're
19∑∑making sidebar, coaching the witness.∑Keep your
20∑∑objections limited.∑Don't coach the witness.∑You've
21∑∑been doing it throughout the whole depo, and you're
22∑∑also objecting on a frivolous basis.∑But regardless,
23∑∑please stop coaching the witness.
24∑∑∑∑∑∑MR. BALLASES:∑Okay.∑So what's your formal
25∑∑objection for the record?


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑For the record, you're
∑2∑∑improperly coaching the witness.∑Refrain your
∑3∑∑objections --
∑4∑∑∑∑∑∑MR. BALLASES:∑Okay.
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑-- to just objections.
∑6∑∑∑∑∑∑MR. BALLASES:∑I want to make sure.∑Okay. I
∑7∑∑just want to make sure your formal objection was on
∑8∑∑the record.
∑9∑∑∑∑∑∑THE WITNESS:∑He's just buying time for his
10∑∑lawyer to make up questions.
11∑∑∑∑∑∑MS. HOOD:∑What?∑Mr. --
12∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Khawaja, what did you say?
13∑∑∑∑∑∑MS. HOOD:∑Yeah.∑Excuse me, Mr. Choudhri.
14∑∑This is my time.
15∑∑∑∑Q.∑(BY MS. HOOD)∑First of all, there's no
16∑∑requirement that I pepper you incessantly directly.
17∑∑I'm going through my notes.∑I don't need time to come
18∑∑up with questions for you.
19∑∑∑∑∑∑I'd actually like it if you would answer my
20∑∑questions, but you've chosen not to do that.∑So I'm
21∑∑going through my notes to see if I can actually ask
22∑∑some questions that you would be kind enough to answer
23∑∑relating to your proof of claim and why you filed it.
24∑∑So when you --
25∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) and what


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∑1∑∑you're doing, okay, or your sidebar.∑And we are
∑2∑∑answering questions.∑I'm sorry you don't like them.
∑3∑∑∑∑∑∑MS. HOOD:∑You're not answering them.∑You're
∑4∑∑objecting.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑At the time that you filed your
∑6∑∑proof of claim, you had satisfied yourself that you'd
∑7∑∑be able to collect your judgments through this debtor.
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Do you understand that in order
11∑∑to collect your judgments through this debtor, you
12∑∑would have to win on your adversary claim regarding
13∑∑the alter egos?
14∑∑∑∑A.∑Yes.
15∑∑∑∑Q.∑And if I read your adversary complaint, it's
16∑∑your assertion that Mr. Choudhri keeps his entities
17∑∑devoid of assets in order to keep creditors from
18∑∑collecting their judgments.∑Is that a fair statement?
19∑∑∑∑A.∑I mean, I think that's one of many tactics
20∑∑that he uses, but yes.
21∑∑∑∑Q.∑And certainly you have these judgments at your
22∑∑ready; correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑Yeah.∑I'm sorry.∑I didn't -- I didn't quite
25∑∑understand the question.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Yeah, bad question.
∑2∑∑∑∑∑∑You have these judgments that you own that you
∑3∑∑could go out and try to collect absent filing
∑4∑∑documents in Bankruptcy Court; correct?
∑5∑∑∑∑A.∑I guess.
∑6∑∑∑∑Q.∑And you've not chosen to pursue any
∑7∑∑post-judgment collection of these judgments in Texas
∑8∑∑State Court; correct?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑∑∑I'm going to instruct the client not to
11∑∑answer.
12∑∑∑∑∑∑You're invading attorney-client, work
13∑∑privilege -- attorney-client, and you're also getting
14∑∑into joint litigation privilege.∑We're not going to
15∑∑help Mr. Choudhri hide more assets.
16∑∑∑∑A.∑On advice of counsel, I will not answer that
17∑∑question.
18∑∑∑∑Q.∑(BY MS. HOOD)∑It's not -- okay.∑The question
19∑∑is this.∑Okay?∑Based upon public records, I find no
20∑∑activity by you to collect these judgments in Texas
21∑∑State Courts; is that an accurate statement?
22∑∑∑∑A.∑Yes.
23∑∑∑∑∑∑MR. BALLASES:∑I object to the form.
24∑∑∑∑Q.∑(BY MS. HOOD)∑And rather than pursue
25∑∑opportunities in State Court, you and your co-owners


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∑1∑∑have chosen to pursue unrelated third parties in
∑2∑∑Bankruptcy Court; correct?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑No, that's not correct.∑"Unrelated"?∑What do
∑5∑∑you mean "unrelated"?∑What is that supposed to mean?
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Texas (sic) Real Estate
∑7∑∑Properties, LLC, is not a judgment debtor; correct?
∑8∑∑You've already admitted this.
∑9∑∑∑∑A.∑Does that mean -- you said "unrelated."
10∑∑That's not -- they're very related.
11∑∑∑∑Q.∑In your mind, but they don't -- they're not a
12∑∑party to the judgment; correct?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
14∑∑∑∑A.∑In reality and on public record.
15∑∑∑∑Q.∑(BY MS. HOOD)∑The debtor in this case is not
16∑∑a judgment debtor; correct?
17∑∑∑∑A.∑Asked and answered.
18∑∑∑∑Q.∑Okay.∑Now you're objecting to your own
19∑∑questions?∑Are you a lawyer or a witness?
20∑∑∑∑A.∑I am a lawyer, but I mean --
21∑∑∑∑Q.∑Okay.∑Answer my question.
22∑∑∑∑A.∑-- just answering --
23∑∑∑∑Q.∑Answer my question.
24∑∑∑∑A.∑No, I'm not gonna answer that question.
25∑∑∑∑Q.∑This debtor is not a judgment debtor to you;


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∑1∑∑correct?
∑2∑∑∑∑∑∑THE WITNESS:∑Do you want me to answer?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑You can answer.
∑5∑∑∑∑A.∑No.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑And yet you chose to pursue
∑7∑∑this debtor to try to collect your judgments that are
∑8∑∑in the name of others; correct?
∑9∑∑∑∑A.∑This -- yes.∑This debtor is an alter ego of
10∑∑all the other debtor -- all the other defendants in
11∑∑this case.
12∑∑∑∑Q.∑Tell me where there's a finding by a court of
13∑∑law that this debtor is the alter ego of one of the
14∑∑two entities in which you hold an assigned interest.
15∑∑∑∑A.∑We will prove it in this case.
16∑∑∑∑Q.∑Okay.∑That's not my question.∑Tell me where
17∑∑I can find as a matter of law that Ali Choudhri and
18∑∑Houston Real Estate Properties, LLC, are one and the
19∑∑same.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑We don't have that.
22∑∑∑∑Q.∑(BY MS. HOOD)∑Tell me where I can find as a
23∑∑matter of public record that Jetall is one and the
24∑∑same with this debtor.
25∑∑∑∑∑∑MR. BALLASES:∑Objection --


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∑1∑∑∑∑A.∑Based on his testimony in multiple cases.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Tell me where I can find as a
∑4∑∑matter of public record a finding by a trier of fact
∑5∑∑that Jetall Companies is one and the same as this
∑6∑∑debtor.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑I don't -- I'm not sure if we'll find that.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑There isn't one, is there?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑We have multiple public record documents
12∑∑indicating that Ali Choudhri is one and the same as
13∑∑all of his entities.
14∑∑∑∑Q.∑(BY MS. HOOD)∑And there's not a finding by a
15∑∑trier of fact that this debtor is one and the same
16∑∑with Jetall Companies, is there?
17∑∑∑∑A.∑Only admissions by your client.∑That's it.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MS. HOOD)∑There's no finding by a trier
20∑∑of fact that this debtor is one and the same as Jetall
21∑∑Companies; correct?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑(Phone ringing.)
24∑∑∑∑A.∑(Unintelligible)
25∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I'm sorry. I


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∑1∑∑did -- sorry.∑I did not hear your answer.∑Could you
∑2∑∑please restate your answer?
∑3∑∑∑∑A.∑I said -- I said, Correct, not by a trier of
∑4∑∑fact, but by admissions through your client.
∑5∑∑∑∑∑∑MS. HOOD:∑Objection.∑After "correct" --
∑6∑∑objection.∑Non-responsive after "correct."
∑7∑∑∑∑∑∑Mr. Khawaja, I fully expect to go back to the
∑8∑∑Court and try to get him to compel you to answer some
∑9∑∑of my questions that I think were improperly objected
10∑∑to, and so I can go through that with your lawyer
11∑∑through motion practice.∑I appreciate your time
12∑∑today.∑Based upon whether or not the other lawyers
13∑∑and Mr. Choudhri have questions, I may or may not get
14∑∑another pass at you, and I appreciate your time.
15∑∑∑∑∑∑THE WITNESS:∑Thank you.
16∑∑∑∑∑∑MS. HOOD:∑I'm going to pass the witness to
17∑∑the next creditor in line, and I reserve my right to
18∑∑come back and ask questions -- follow-up questions if
19∑∑I deem necessary.
20∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just before we go to
21∑∑Mr. Choudhri, would it be possible to just take two
22∑∑minutes to go to the bathroom?
23∑∑∑∑∑∑MS. HOOD:∑Oh, absolutely.∑You're in charge.
24∑∑You're the one doing the hard work.
25∑∑∑∑∑∑THE REPORTER:∑Thank you.∑Just two minutes.


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∑1∑∑Thanks.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Absolutely, Cheryl.∑Take your
∑3∑∑time.
∑4∑∑∑∑∑∑THE REPORTER:∑Thank you.
∑5∑∑∑∑∑∑(A recess was taken.)
∑6∑∑BY MR. CHOUDHRI:
∑7∑∑∑∑Q.∑Mr. Khawaja, good afternoon.∑How are you?
∑8∑∑∑∑A.∑I'm good, man.∑Just -- let's get to your
∑9∑∑questions.∑I don't -- we don't have time for
10∑∑formalities.∑Thank you.
11∑∑∑∑Q.∑Mr. Khawaja, you're not looking at -- first of
12∑∑all, who is present with you in the room there?
13∑∑∑∑∑∑MR. BALLASES:∑We've already answered that.
14∑∑∑∑∑∑Objection.∑Form.
15∑∑∑∑∑∑We're also having trouble hearing you, so you
16∑∑might want to turn up your volume --
17∑∑∑∑A.∑Yeah, you need to turn your speaker up.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, can you hear
19∑∑me now?
20∑∑∑∑A.∑Better, but you still need to speak up a
21∑∑little bit.
22∑∑∑∑Q.∑So can you identify who's in the room there
23∑∑with you, Mr. Khawaja?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑Mr. Quinlan is here; my attorney, Michael


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∑1∑∑Ballases.
∑2∑∑∑∑Q.∑Is Osama Abdullatif in the room with you?
∑3∑∑∑∑A.∑He has --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑He's not in the room, like, at this minute.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But throughout this
∑7∑∑deposition, you've had Osama Abdullatif and John
∑8∑∑Quinlan sitting in the room with you, present;
∑9∑∑correct?
10∑∑∑∑A.∑Yes.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑∑∑We've already answered that and said that.
13∑∑Quit wasting everybody's time.
14∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, I would ask you
15∑∑to please calm down and allow me to ask my questions.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you had -- as
18∑∑we started this deposition, you had said that I had
19∑∑defrauded you?
20∑∑∑∑A.∑Ali, I'm sorry.∑You're really going to have
21∑∑to turn up your sound because I can't hear you and
22∑∑neither can the people in the room.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Is everybody -- can everybody
24∑∑hear me okay?
25∑∑∑∑∑∑Cheryl, can you hear me?


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∑1∑∑∑∑∑∑THE REPORTER:∑I can hear you.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Maybe it's only
∑3∑∑Mr. Khawaja who can't hear me, then.
∑4∑∑∑∑∑∑THE WITNESS:∑Osama, can you hear him?
∑5∑∑∑∑∑∑MR. BALLASES:∑It's difficult to hear you.
∑6∑∑∑∑∑∑MR. ABDULLATIF:∑No, I can't hear him without
∑7∑∑hearing aid.
∑8∑∑∑∑A.∑Mr. Quinlan can't hear you and neither can
∑9∑∑Osama, and they need to hear you.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, the court reporter
11∑∑can hear me.∑If they want me to come closer, they
12∑∑can.∑I would actually object to them even being there
13∑∑and handing you notes, but we'll try to --
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
15∑∑∑∑∑∑MR. CHOUDHRI:∑-- get on with the deposition.
16∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
17∑∑∑∑∑∑MR. CHOUDHRI:∑The court reporter could hear
18∑∑me just fine.
19∑∑∑∑∑∑THE WITNESS:∑Okay.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, how do you
21∑∑know John Quinlan?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑I'm not gonna answer that question.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're not gonna answer the
25∑∑question of how you know John Quinlan?


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∑1∑∑∑∑A.∑I -- I met him in the real estate community.
∑2∑∑∑∑Q.∑When did you meet Mr. Quinlan?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.
∑4∑∑∑∑∑∑Ali, can you show yourself?∑If you're going
∑5∑∑to be asking questions, you need to show yourself.
∑6∑∑∑∑∑∑THE WITNESS:∑Yes.
∑7∑∑∑∑∑∑MR. BALLASES:∑Thank you.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Can you all see me now?
∑9∑∑Is that okay?
10∑∑∑∑∑∑MR. BALLASES:∑Yes.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑Mr. Khawaja, you
12∑∑were present earlier during the deposition when you
13∑∑were being asked questions.∑Did you happen to listen
14∑∑to Judge Robinson's oral ruling?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I don't know what that has to do with
17∑∑anything.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑The deposition that we're
19∑∑here on, Mr. Khawaja, is --
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑-- subject to a court order.∑Do you
22∑∑understand that?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑∑∑This has nothing to do with the proof of
25∑∑claim.∑Move on.


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∑1∑∑∑∑A.∑Please get to the proof of claim,
∑2∑∑Mr. Choudhri.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, this is my
∑4∑∑deposition.∑I get to ask you questions, and you can
∑5∑∑answer them.∑This is my opportunity.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑And so, again, Court Reporter,
∑7∑∑would you please repeat the question?
∑8∑∑∑∑∑∑THE REPORTER:∑The question is (Reading:)∑The
∑9∑∑deposition that we're here on, Mr. Khawaja, is subject
10∑∑to a court order.∑Do you understand that?
11∑∑∑∑A.∑I didn't -- I have not seen a court order.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you aware, earlier
13∑∑today, that an oral ruling on an audio from the Court
14∑∑was sent to your attorney, Michael Ballases?
15∑∑∑∑A.∑It -- it may have been.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And are you aware, whether
18∑∑written or oral, we are here pursuant to a court
19∑∑order?∑Are you aware of that?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Might -- that might be the case.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But you're not aware that
23∑∑we're here pursuant to a court order.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑It could possibly be the case.


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∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But you don't know?
∑2∑∑∑∑A.∑I don't know.
∑3∑∑∑∑Q.∑And I've asked you earlier as how you know
∑4∑∑Mr. Quinlan, and your answer was you're not going to
∑5∑∑answer that; is that correct?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I think I told you after -- after that that I
∑8∑∑met him in the real estate community.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And when did you meet him?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑∑∑Are you going to ask every question two or
12∑∑three times?∑Ask good questions.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
14∑∑∑∑A.∑I can't remember.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases -- Mr. Ballases,
16∑∑for the record, I would ask you to please stop
17∑∑interfering and obstructing the deposition.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
19∑∑∑∑∑∑So I would just request that you comply with
20∑∑the judge's instruction to tailor the questions
21∑∑narrowly to the reasons why the proof of claim was
22∑∑filed and why it was withdrawn and not ask why he
23∑∑knows people and who he knows people and not ask
24∑∑things three times.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is John Quinlan a


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∑1∑∑co-claimant on the proof of claim?
∑2∑∑∑∑A.∑I believe so.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Osama Abdullatif a
∑5∑∑co-claimant on the proof of claim?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I believe so, yes.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑When did you meet Osama
∑9∑∑Abdullatif?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Maybe 2010.∑2009 or '10, something like that.
12∑∑I'm not sure.∑Around the time you deprived me of my
13∑∑property, I think.
14∑∑∑∑Q.∑Which property is that, Mr. Khawaja?
15∑∑∑∑A.∑The Avondale property.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Can you tell us a little
18∑∑bit about that, because you've mentioned it several
19∑∑times in this deposition, and so I'd like you to tell
20∑∑us a little more about the Avondale property.
21∑∑∑∑A.∑No --
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑I'm going to instruct him not to answer
24∑∑because you're violating the judge's instruction as to
25∑∑this limited deposition.


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∑1∑∑∑∑∑∑Please stick to the proof of claim and the
∑2∑∑reason why it's being withdrawn.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, he's opening the
∑4∑∑door.∑He's answering my questions.∑I have a right to
∑5∑∑ask him questions.∑Okay?
∑6∑∑∑∑∑∑MR. BALLASES:∑Yeah, so you're not a lawyer.
∑7∑∑You don't know what you're talking about.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please be
∑9∑∑respectful, sir.∑I know it's difficult, but please be
10∑∑respectful.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
12∑∑∑∑∑∑MR. BALLASES:∑I am.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- are you going to answer
14∑∑my --
15∑∑∑∑∑∑MR. BALLASES:∑I'm respecting my client --
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- questions --
17∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
18∑∑disrupting the deposition.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you said you
20∑∑met Mr. Osama Abdullatif when I deprived you of your
21∑∑property.∑Is that -- did I hear that correct?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Yes.
24∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct you not
25∑∑to answer.


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∑1∑∑∑∑∑∑We're not going to talk about this.
∑2∑∑∑∑∑∑THE WITNESS:∑Okay.∑Sorry.
∑3∑∑∑∑∑∑MR. BALLASES:∑It has nothing to do with the
∑4∑∑proof of claim.∑It has nothing to do for the reason
∑5∑∑for filing it.∑It has nothing --
∑6∑∑∑∑A.∑Ali, we can grab a cup of coffee afterwards.
∑7∑∑You can ask me all about that.∑Let's please stick to
∑8∑∑the purpose of this.∑Okay?
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Let's have some decorum,
10∑∑gentlemen.∑This is a formal deposition.∑I'm asking
11∑∑the questions.∑Mr. Khawaja just said yes, so why the
12∑∑proof of claim was filed is very relevant.∑And
13∑∑Mr. Khawaja just answered that, so I have an
14∑∑opportunity to explore that.
15∑∑∑∑∑∑Mr. Ballases, you have a law license.∑You
16∑∑have to follow the creed that you've been licensed by,
17∑∑so please don't frivolously object and coach the
18∑∑witness.∑Okay?∑I --
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
20∑∑∑∑∑∑MR. CHOUDHRI:∑-- would like -- if everybody
21∑∑wants, I'm happy to play the audio of the judge's oral
22∑∑ruling so Mr. Khawaja is aware -- and so are you,
23∑∑Mr. Ballases -- and we don't have to waste more time
24∑∑like we did this morning about what the scope of the
25∑∑deposition is about.∑Would you like me to do that,


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∑1∑∑Mr. Ballases, so you can stop --
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar --
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑-- interfering --
∑4∑∑∑∑∑∑MR. BALLASES:∑The only reason you're asking
∑5∑∑questions is because I heard it.∑So why don't you be
∑6∑∑quiet and focus on asking questions if it's relevant
∑7∑∑to the judge's scope.∑Thank you.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Madam Court Reporter, do you
∑9∑∑have a -- do you have an ability to play at a certain
10∑∑point of the audio?∑Is that something you're able to
11∑∑do for us?
12∑∑∑∑∑∑THE REPORTER:∑I am actually not authorized to
13∑∑be playing audio or sharing exhibits during the
14∑∑deposition.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Well, maybe we can then
16∑∑play the audio at 23 minutes and 14 seconds, and then
17∑∑we'll play it at 28 minutes and 12 seconds.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you -- you
19∑∑have indicated that you have not heard the oral
20∑∑ruling, why we're here, by Judge Robinson; is that
21∑∑correct?
22∑∑∑∑A.∑Let's assume for purposes of this question I
23∑∑have.∑What would you like me to answer?
24∑∑∑∑Q.∑Well, I just want to clarify because you keep
25∑∑not answering, and Mr. Ballases keeps interfering and


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∑1∑∑interrupting, so I want to go ahead and get the
∑2∑∑judge's ruling on the record, so --
∑3∑∑∑∑A.∑Just ask me the questions that you want the
∑4∑∑answers to.∑I'm happy to answer the questions.
∑5∑∑∑∑Q.∑Were you present or on the phone when the
∑6∑∑hearing took place with Judge Robinson?
∑7∑∑∑∑A.∑I was not.
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Let's go ahead and play at
10∑∑23 minutes and 14 seconds.
11∑∑∑∑∑∑Gene, can you play that right now?
12∑∑∑∑∑∑MR. BALLASES:∑So just for the record, we --
13∑∑as I've told your counsel, we have to cut if off at
14∑∑4:30.∑If this is how you want to use your time, by
15∑∑all means.∑It's your dime.
16∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, you've been
17∑∑interfering with the depo all day, and we're going to
18∑∑do this by the rules and what the rules -- the federal
19∑∑rules are and the timing.∑So if you want to walk out
20∑∑of a depo, that's really your choice --
21∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
22∑∑∑∑∑∑MR. CHOUDHRI:∑-- and you'll suffer the
23∑∑consequences.
24∑∑∑∑∑∑THE REPORTER:∑Okay.∑So just before we play
25∑∑the audio, as I let everybody know in the e-mail, I


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∑1∑∑cannot transcribe anything I cannot clearly hear.∑If
∑2∑∑you would like a separate transcription of this audio,
∑3∑∑then you can contact our office.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑No -- no problem, Cheryl.
∑5∑∑We'll do the best we can.
∑6∑∑∑∑∑∑THE REPORTER:∑Okay.∑Thank you.
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑And I'm sure you will too.∑And
∑8∑∑if it works, great.
∑9∑∑∑∑∑∑THE REPORTER:∑Thank you.
10∑∑∑∑∑∑MR. CHOUDHRI:∑So while we're getting ready to
11∑∑do that -- go ahead, Gene.∑Are you ready?
12∑∑∑∑∑∑MR. MCCUBBIN:∑Yeah.∑You said 23:14.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Correct, at 23 minutes and
14∑∑14 seconds.∑Let's start there.
15∑∑∑∑∑∑MR. MCCUBBIN:∑Yeah, this is, I think, 23:10.
16∑∑Here we go.
17∑∑∑∑∑∑(Audio file played.)
18∑∑∑∑∑∑MR. MCCUBBIN:∑There you go.
19∑∑∑∑∑∑MR. CHOUDHRI:∑Would you go to 23 minutes and
20∑∑18 -- 28 minutes and 12 seconds, please?
21∑∑∑∑∑∑MR. MCCUBBIN:∑Yeah, give me a second.
22∑∑∑∑∑∑MR. CHOUDHRI:∑28 minutes and 12 seconds.
23∑∑Let's get that on the record.∑Go ahead.
24∑∑∑∑∑∑MR. MCCUBBIN:∑Okay.
25∑∑∑∑∑∑(Audio file played.)


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∑1∑∑∑∑∑∑MR. MCCUBBIN:∑There you go.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, were you able
∑3∑∑to hear the judge, Robinson?
∑4∑∑∑∑A.∑Yes.
∑5∑∑∑∑Q.∑Does that help you understand a little more
∑6∑∑about what we're here about?
∑7∑∑∑∑A.∑What's your question?
∑8∑∑∑∑Q.∑Did you --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection (unintelligible) --
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- hear him say motivations
11∑∑of filing the proof of claim?∑Do you understand what
12∑∑that means, motivations of filing the proof --
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑-- of claim?∑Okay.
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑So again, I want to go back to some of my
17∑∑questions, Mr. Khawaja.∑You said that I defrauded you
18∑∑of your property.
19∑∑∑∑A.∑Yes.
20∑∑∑∑Q.∑So can you explain how I defrauded you of your
21∑∑property?∑I want to understand the motivations here.
22∑∑∑∑A.∑I think we got a trial --
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑-- on that case coming up in a month.∑Let's
25∑∑wait till trial.∑Let's wait till we get to trial on


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∑1∑∑that.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, Mr. Khawaja, you
∑3∑∑filed this proof of claim in the Texas REIT bankruptcy
∑4∑∑case; correct?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so your motivation,
∑8∑∑when I asked you earlier -- and we can go back and
∑9∑∑have the court reporter reread some of your answers
10∑∑earlier in the deposition.∑I've taken notes as well.
11∑∑I just want to make sure the record is good and clear;
12∑∑there's no confusion.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑∑∑Objection.∑Sidebar.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, I just want to
16∑∑understand today; you're under no medication.∑Right?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're here and able to
20∑∑answer truthfully under oath?
21∑∑∑∑A.∑Yes.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Yes.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you understand you're
25∑∑under oath as if you were in a courtroom; correct?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑Like I'm in front of a jury, yes.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Or a judge.
∑4∑∑∑∑A.∑Or a judge.
∑5∑∑∑∑Q.∑Okay.∑So, Mr. Khawaja, can you tell us about
∑6∑∑when you say, You defrauded me of my property, and you
∑7∑∑said Avondale.∑Did I hear that correctly?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑9∑∑∑∑A.∑Mr. Choudhri, here's the thing --
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑∑∑I'm going to instruct my client not to answer
12∑∑because it exceeds the scope of the deposition as to
13∑∑what -- the judge's order.
14∑∑∑∑∑∑Plus, as I understand it, based on what was
15∑∑just said --
16∑∑∑∑∑∑THE WITNESS:∑There's a trial coming.
17∑∑∑∑∑∑MR. BALLASES:∑-- he got a trial coming up,
18∑∑and I'm not going to let you ask him -- get a second
19∑∑deposition of him in a wholly separate matter that's
20∑∑irrelevant to our proof of claim.∑Move along, please,
21∑∑sir.
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, you have been
23∑∑disrupting this deposition the entire time.∑You
24∑∑refused to let me answer -- ask questions, Ms. Lori
25∑∑Hood.∑We had to send you the audio.∑You misstated


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∑1∑∑what the judge said.∑You continue to disrupt the
∑2∑∑deposition.∑We're allowed -- I played the audio
∑3∑∑ruling.∑The judge says the motivation of filing the
∑4∑∑proof of claim, and he says, Because you defrauded me
∑5∑∑of my property, Avondale.∑So I have a right to get
∑6∑∑into that.
∑7∑∑∑∑∑∑When he answers a question, Mr. Ballases, I
∑8∑∑have a right to explore that because that's his
∑9∑∑answer.∑He opened the door.∑Throughout this depo, he
10∑∑opened the door, Mr. Ballases, so I am entitled to ask
11∑∑those questions.∑And if you're going to continue --
12∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
13∑∑∑∑∑∑MR. CHOUDHRI:∑-- to instruct him wrongfully
14∑∑to not answer that, then just instruct him, but stop
15∑∑doing what you're doing and making talking objections.
16∑∑Either object or instruct him not to answer, and we'll
17∑∑keep moving on.∑But keep your objections limited to
18∑∑what's correct and not frivolous --
19∑∑∑∑∑∑MR. BALLASES:∑What's your legal objection,
20∑∑sir -- what's your legal objection, sir, because I
21∑∑didn't hear it.
22∑∑∑∑∑∑MR. CHOUDHRI:∑You continue to do sidebars
23∑∑throughout the deposition and disrupt and frustrate
24∑∑the deposition.∑We're trying to have a smooth
25∑∑deposition; you continue to have sidebars.∑So please


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∑1∑∑refrain from that, Mr. Ballases.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, when you
∑3∑∑said --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- you -- Mr. Khawaja, what
∑6∑∑is the Avondale property?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑∑∑This has nothing do to with the proof of claim
∑9∑∑or the withdrawal --
10∑∑∑∑∑∑(Crosstalk)
11∑∑∑∑A.∑We're getting ready to stop this depo -- you
12∑∑need to get to your questions.∑We're not talking
13∑∑about cases that are going to trial.∑You know better
14∑∑than that.∑I'm not doing it.∑So get to the questions
15∑∑you have about this proof of claim.∑I'm happy to
16∑∑answer those, or we're done.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, are you going
18∑∑to comply with the Court's order on this --
19∑∑∑∑A.∑Yes.
20∑∑∑∑Q.∑-- now getting into motivations for filing the
21∑∑claim?∑And when asked, you said, Because you
22∑∑defrauded me of my property.
23∑∑∑∑A.∑No, I didn't.∑That's not true.∑You asked
24∑∑me --
25∑∑∑∑Q.∑That's not --


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∑1∑∑∑∑A.∑-- when did I meet Osama -- you asked me when
∑2∑∑did I meet Osama Abdullatif, and I said, Around the
∑3∑∑time you defrauded me of my property.
∑4∑∑∑∑Q.∑And when I -- when you said "my property,"
∑5∑∑you're defining your property as Avondale; is that
∑6∑∑correct?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑Yeah, I'm not going to -- again, we're getting
∑9∑∑ready to shut the depo down, so it's up to you.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So you're refusing to
11∑∑answer these questions; correct?
12∑∑∑∑A.∑I'm refusing to answer questions that are
13∑∑outside the scope of what you're permitted to ask,
14∑∑correct.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑You're not an attorney.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So because I'm not an
18∑∑attorney, I can't ask you questions per the Court's
19∑∑ruling --
20∑∑∑∑A.∑Outside --
21∑∑∑∑Q.∑-- is your objection?
22∑∑∑∑A.∑-- of the scope -- outside of the scope,
23∑∑you're not.∑That's correct.
24∑∑∑∑Q.∑So are you saying motivations for filing the
25∑∑claim and you opening the door is outside the scope?


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∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑Okay.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're gonna refuse --
∑5∑∑you're gonna refuse to answer any of those questions;
∑6∑∑correct?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑You've only asked me one that I'm not gonna
∑9∑∑talk about because there's a trial coming up.∑I think
10∑∑the judge will understand that.∑Your -- if your --
11∑∑any of the attorneys that you're paying that are here
12∑∑with you would care to speak up, they'll tell you,
13∑∑Mr. Choudhri, you can't ask those questions.∑So you
14∑∑should ask them too.
15∑∑∑∑∑∑MR. BALLASES:∑I object to the form of the
16∑∑question.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, did you -- you
18∑∑mentioned Wayne Dolcefino; correct?
19∑∑∑∑A.∑Yes.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And, Mr. Khawaja, is
22∑∑somebody in the room coaching you?∑Because you keep
23∑∑looking at somebody else and talking and -- who's in
24∑∑front of you right now that you keep looking at and
25∑∑talking --


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∑1∑∑∑∑A.∑I don't need to be coached to answer your
∑2∑∑silly questions, no.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑4∑∑∑∑A.∑I can answer them with my eyes closed.∑Do you
∑5∑∑want me to do that?
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you can answer
∑7∑∑them however you want.∑I just want you to answer them
∑8∑∑truthfully --
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑Q.∑-- and honestly.
11∑∑∑∑A.∑Yes.
12∑∑∑∑Q.∑When did you meet Mr. Ballases?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I don't know, to be hon -- but, you know, you
15∑∑understand he's my attorney, and this is all --
16∑∑anything I discussed with him, ever, including when I
17∑∑met him or where I met him, is protected by
18∑∑attorney-client privilege.∑You can't ask me those
19∑∑questions.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So are you going to refuse
21∑∑to answer my question on when you met Mr. Ballases?
22∑∑∑∑A.∑Yes, I am.
23∑∑∑∑Q.∑Mr. Khawaja, are you aware -- let's --
24∑∑∑∑∑∑MR. CHOUDHRI:∑Steve, are you there?∑Would
25∑∑you pull up that proof of claim, Steve?


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∑1∑∑∑∑∑∑MR. SATHER:∑Just give me just a moment. I
∑2∑∑need to turn my sharing back on.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑No problem.
∑4∑∑∑∑∑∑THE REPORTER:∑And just while he's doing that,
∑5∑∑Mr. Khawaja, could you spell Avondale for me, please?
∑6∑∑∑∑∑∑THE WITNESS:∑A-V-O-N-D-A-L-E.
∑7∑∑∑∑∑∑THE REPORTER:∑Thank you.
∑8∑∑∑∑∑∑MR. SATHER:∑Okay.∑I'm there.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Would you go down, Mr. Sather?
10∑∑Just scroll down a little bit, please.∑Keep going.
11∑∑Go to paragraph 9.∑Stop right there.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what does
13∑∑Number 9 say on the proof of claim?
14∑∑∑∑A.∑9 --
15∑∑∑∑∑∑MR. CHOUDHRI:∑Time out.∑Time out.∑Before we
16∑∑go there, Mr. Sather, would you scroll up just for a
17∑∑second a little bit?∑Stop right there.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what does that
19∑∑captioning say?∑It starts at "24-10120."∑Would you
20∑∑read that, please, into the record?
21∑∑∑∑A.∑24-1010 (sic), and this is at Number 4?∑Oops.
22∑∑Sorry.∑One second here.
23∑∑∑∑∑∑MR. BALLASES:∑Steve, would you mind -- this
24∑∑is Michael Ballases.∑Will you make it bigger? I
25∑∑can't read it on the screen.∑Please.


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∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, my question is
∑2∑∑to you.
∑3∑∑∑∑∑∑MR. BALLASES:∑Thank you.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Stop, please.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What does it say?∑Claim
∑6∑∑Number -- what exactly does that say?∑Would you read
∑7∑∑that -- that entire header --
∑8∑∑∑∑A.∑(Reading:)∑Read the --
∑9∑∑∑∑Q.∑-- into the record?
10∑∑∑∑A.∑(Reading:)∑Read the instructions before
11∑∑filling out this form.∑This form is for making a --
12∑∑∑∑Q.∑No --
13∑∑∑∑A.∑(Reading:)∑-- claim for payment in a
14∑∑bankruptcy case --
15∑∑∑∑Q.∑No.
16∑∑∑∑A.∑Which one?
17∑∑∑∑Q.∑No, Mr. Khawaja.∑No, Mr. Khawaja.∑Look on
18∑∑top where it says -- where it has a case number,
19∑∑starts off with a case number.∑And then --
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑-- that's what -- would you read what's
22∑∑highlighted, Mr. Khawaja, into the record?
23∑∑∑∑A.∑Yeah, twenty -- okay.∑(Reading:)
24∑∑24-10120-smr, Claim Number 9-1, filed 06/04/24, Main
25∑∑Document page 1 of 3.


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∑1∑∑∑∑Q.∑Yes.∑Is that what you authorized to be filed?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Scroll down, Mr. Sather.
∑5∑∑Scroll down, Mr. Sather.∑Okay.∑Stop right there.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what does it
∑7∑∑say on paragraph 9?
∑8∑∑∑∑A.∑(Reading:)∑Is all or part of the claim
∑9∑∑secured?∑Yes.∑The claim is secured by a lien on
10∑∑property.
11∑∑∑∑∑∑Is that what you're referring to?
12∑∑∑∑Q.∑Yes.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Stop right there.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So it's your contention
15∑∑that your claim is secured by a lien on the property;
16∑∑is that correct?
17∑∑∑∑A.∑I believe so, if that's what we filed.
18∑∑∑∑Q.∑Okay.∑And you understand -- at least what
19∑∑you're representing here is that a lis pendens is a
20∑∑lien on property; correct?
21∑∑∑∑A.∑I'm assuming that's what we're referring to,
22∑∑yes.
23∑∑∑∑Q.∑Okay.∑Mr. Khawaja, you're familiar with the
24∑∑property Texas REIT that --
25∑∑∑∑A.∑Yes.


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∑1∑∑∑∑Q.∑Let me strike that.∑Let me strike that.∑It's
∑2∑∑a bad question.∑Let me clear the record here.∑Okay?
∑3∑∑∑∑∑∑Mr. Khawaja, you're aware that debtor, Texas
∑4∑∑REIT, LLC, is in the Western District of the
∑5∑∑Bankruptcy Court.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I guess.∑I mean, that's -- if that's where
∑8∑∑you chose to file it.∑I'm not sure.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You understand --
10∑∑∑∑A.∑The property's located here in Houston, Harris
11∑∑County.
12∑∑∑∑Q.∑So my question, Mr. Khawaja, is that you are
13∑∑aware that Texas REIT is the debtor that's in
14∑∑bankruptcy in the Western District.
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And Texas REIT owns a property.∑Are you
17∑∑familiar with the property that Texas REIT owns?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑What do you know about the property that Texas
20∑∑REIT owns?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑That you have defrauded your partners out of
23∑∑money in that property, that it's -- Walgreens left.
24∑∑It's falling apart; a lot of homeless, a lot of crack
25∑∑addicts in the area now.∑It's not maintained


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∑1∑∑properly.∑It's part of this case, that there's a
∑2∑∑judgment against you on it, and it's basically -- and
∑3∑∑it's in Houston, yeah.∑It's in Houston, Texas, too.
∑4∑∑∑∑Q.∑Anything else that you want to add to it?
∑5∑∑∑∑A.∑No, that's it.
∑6∑∑∑∑Q.∑When did you become familiar with this
∑7∑∑property?
∑8∑∑∑∑A.∑I think in the course of just monitoring
∑9∑∑litigation against you.
10∑∑∑∑Q.∑And remind me what kind of lawyer you are,
11∑∑Mr. Khawaja.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑I do plaintiff's work.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that personal injury
15∑∑mainly, what your --
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑-- focus is?
18∑∑∑∑A.∑Yes, correct.
19∑∑∑∑Q.∑Personal injury attorney?
20∑∑∑∑A.∑Yes, correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And, Mr. Khawaja, so you
23∑∑became familiar with this property through the course
24∑∑of litigation, you said?
25∑∑∑∑A.∑Yes, just monitoring litigation.


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∑1∑∑∑∑Q.∑When did you first become familiar with this
∑2∑∑property?
∑3∑∑∑∑A.∑I couldn't say --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I couldn't say when.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Were you involved in any
∑7∑∑way, shape, or form of filing any lis pendenses (sic)
∑8∑∑on this property?
∑9∑∑∑∑A.∑No.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You've never been involved
12∑∑of filing any lis pendenses on this property?
13∑∑∑∑A.∑You mean --
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑You mean other than the one that's in this --
16∑∑or is part of the bankruptcy case?
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, my question is
18∑∑very simple.∑Are you or have you ever been involved
19∑∑in filing, directly or indirectly, lis pendenses
20∑∑against the property that the debtor owns?
21∑∑∑∑A.∑Not to my -- not to my understanding, no.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑I'm not sure what that has to do with the
24∑∑scope of this deposition either, by the way.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know what a


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∑1∑∑bankruptcy stay is, Mr. Khawaja?∑Do you know what an
∑2∑∑automatic --
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑Q.∑-- stay is?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Do you know what
∑7∑∑a --
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑∑∑THE REPORTER:∑-- what is?∑I'm sorry.∑Mr. --
10∑∑∑∑∑∑MR. CHOUDHRI:∑An automatic -- an automatic
11∑∑stay.
12∑∑∑∑∑∑THE REPORTER:∑Okay.∑Thank you.
13∑∑∑∑A.∑You have more experience than I do on that,
14∑∑but I do know what it is, yes.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you violated any
16∑∑automatic stays?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑No, absolutely not.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you believe filing --
20∑∑okay.∑Who is Hira Azhar?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑And instruct
22∑∑the client not to answer --
23∑∑∑∑∑∑THE WITNESS:∑(Unintelligible)
24∑∑∑∑∑∑MR. BALLASES:∑-- because it has nothing to
25∑∑do --


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∑1∑∑∑∑A.∑It's not --
∑2∑∑∑∑∑∑MR. BALLASES:∑-- with our proof of claim or
∑3∑∑the withdrawal of it, and it exceeds the judge's
∑4∑∑limitations on this depo.∑So I'm going to object to
∑5∑∑the question as harassing and oppressive and instruct
∑6∑∑the client not to answer.
∑7∑∑∑∑∑∑THE WITNESS:∑Thank you.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Did you participate with
∑9∑∑Hira Azhar of filing a lis pendens against the subject
10∑∑property?
11∑∑∑∑∑∑MR. BALLASES:∑Same objection, same assertions
12∑∑of privilege, same assertions of -- same objections
13∑∑and same instruction not to answer.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You can answer,
15∑∑Mr. Khawaja.∑What's your answer?
16∑∑∑∑A.∑I will not answer on advice of counsel.
17∑∑∑∑Q.∑Are you aware of any lis pendenses filed by
18∑∑Hira Azhar against the debtor's property?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Same objections,
20∑∑same assertions of privilege, same instruction not to
21∑∑answer.∑This has nothing to do with the proof of
22∑∑claim in this matter or the reason for withdrawal.
23∑∑∑∑A.∑I'm not going to answer.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, has it been
25∑∑your motivation to prevent me or any of my entities


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∑1∑∑from transacting business?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is it your -- is it your
∑5∑∑habit to contact people that me or my entities are
∑6∑∑doing business with and tell them not to do business
∑7∑∑with me?
∑8∑∑∑∑A.∑Never --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑Never done that.
11∑∑∑∑∑∑MR. BALLASES:∑Can we please ask questions
12∑∑about the purpose for the deposition today, the reason
13∑∑for the filing of the proof of claim and the reason
14∑∑for the withdrawal, sir?
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, stop wasting
16∑∑time.∑Keep it to objections.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you -- what
18∑∑is your phone number?
19∑∑∑∑∑∑MR. BALLASES:∑Object -- don't answer that.
20∑∑Objection --
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Your cell --
22∑∑∑∑A.∑You know my number.∑You've called me.
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Stop.∑Stop.
24∑∑∑∑∑∑I'm going to instruct you not to answer.∑Your
25∑∑cell phone is not relevant to this proceeding today.


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∑1∑∑You don't need to give it on the record.
∑2∑∑∑∑∑∑It's oppressive -- objection of oppressive and
∑3∑∑harassing.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, are you not
∑5∑∑gonna answer the question about what your cell phone
∑6∑∑is on the record today --
∑7∑∑∑∑A.∑Correct.
∑8∑∑∑∑Q.∑You refuse to answer --
∑9∑∑∑∑A.∑Yeah, on advice of counsel --
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
11∑∑∑∑A.∑On advice of counsel --
12∑∑∑∑∑∑THE REPORTER:∑Just --
13∑∑∑∑A.∑On advice of counsel --
14∑∑∑∑∑∑THE REPORTER:∑-- one person --
15∑∑∑∑∑∑THE WITNESS:∑Sorry.
16∑∑∑∑∑∑THE REPORTER:∑-- at a time, please.∑Thank
17∑∑you.
18∑∑∑∑∑∑THE WITNESS:∑On answering the question that
19∑∑Mr. Choudhri just asked, on advice of counsel, I will
20∑∑not answer that question.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Isn't it true that you've
22∑∑been involved with over 50 lis pendenses relating to
23∑∑Texas REIT or any other entity that I have ownership
24∑∑or control of?
25∑∑∑∑A.∑No --


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑-- not true.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You have not participated
∑4∑∑in any slander of title or fraudulent liens or
∑5∑∑lis pendenses on any properties that Texas REIT or I
∑6∑∑own or control.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑Correct.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You've not participated or
10∑∑been involved with any filing of any lis pendenses
11∑∑relating to the debtor's property.
12∑∑∑∑A.∑That's correct.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑∑∑Are you referring to -- aside from the lis
15∑∑pendens filed --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Sir -- no, Mr. Ballases.∑Stop.
17∑∑Stop.∑Stop coaching the witness.
18∑∑∑∑∑∑I'm going to object to you, your sidebar.
19∑∑∑∑∑∑You're continually coaching the witness.
20∑∑Please stop.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you use --
22∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- text messaging as a form
24∑∑of communication --
25∑∑∑∑∑∑(Crosstalk)


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∑1∑∑∑∑∑∑THE REPORTER:∑Sorry.∑I'm sorry.∑I'm getting
∑2∑∑two speakers again.
∑3∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just -- I'm just
∑4∑∑trying to help Mr. Choudhri answer questions --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑No, please don't help.
∑6∑∑∑∑∑∑MR. BALLASES:∑-- on our --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Please don't help me.∑I don't
∑8∑∑need your help, Mr. Ballases.∑Please stop talking.
∑9∑∑Object and limit your objections.∑Stop talking.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you use
11∑∑text messaging as a form of communication?
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑Occasionally, sure.∑I think we all do.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you texted Wayne
15∑∑Dolcefino?
16∑∑∑∑A.∑No.
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you received any text
19∑∑messages from Wayne Dolcefino?
20∑∑∑∑A.∑No.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What's your answer,
23∑∑Mr. Khawaja?
24∑∑∑∑A.∑No.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever paid Wayne
∑2∑∑Dolcefino directly or indirectly, in any way?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑(Unintelligible) no.
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm going to -- your answer is
∑6∑∑what?
∑7∑∑∑∑∑∑THE WITNESS:∑My answer is no.
∑8∑∑∑∑∑∑MR. BALLASES:∑The answer is no, but I'm going
∑9∑∑to instruct him not to answer any more questions that
10∑∑have nothing to do with the scope and purpose of this
11∑∑deposition pursuant to the judge's instruction.
12∑∑∑∑∑∑MR. CHOUDHRI:∑Stop frivolously objecting,
13∑∑Mr. Ballases.∑He said he learned based on Wayne
14∑∑Dolcefino's videos, so I definitely have an
15∑∑opportunity to get into the line of questions that I
16∑∑need to get into, and you're going to continue to
17∑∑object and instruct him not to answer.∑Is that what
18∑∑you're going to say on the record?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, just so the
21∑∑record is clear, you have not ever, in any way, shape,
22∑∑or form, paid Wayne Dolcefino any amount of money or
23∑∑consideration?
24∑∑∑∑A.∑I'm not answering that question.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑∑∑I'm going to instruct the client --
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑I --
∑3∑∑∑∑∑∑MR. BALLASES:∑-- not to answer because it is
∑4∑∑oppressive and harassing and has nothing to do with
∑5∑∑the limited scope of the deposition, and he's already
∑6∑∑answered it.
∑7∑∑∑∑∑∑Move along.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you not going to answer
∑9∑∑any questions relating to Wayne Dolcefino?
10∑∑∑∑A.∑That means, yes, I'm not going to answer any
11∑∑questions relating to Wayne Dolcefino.∑He has nothing
12∑∑to do with this case at all.
13∑∑∑∑Q.∑Well, can I ask you why?∑When Ms. Hood was
14∑∑asking you, you mentioned that you -- you mentioned
15∑∑Wayne Dolcefino and how you --
16∑∑∑∑A.∑He --
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑∑∑(Crosstalk)
19∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑One at a time,
20∑∑please.
21∑∑∑∑∑∑THE WITNESS:∑I'm sorry.∑Go ahead.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form, for the
23∑∑record.
24∑∑∑∑A.∑Well, can I answer?∑You asked very -- she
25∑∑asked me very specifically where did I learn about the


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∑1∑∑potential for the claims that -- the basis of the
∑2∑∑claims that we filed against you in this case, and I
∑3∑∑answered, Through multiple sources, including Wayne
∑4∑∑Dolcefino.∑That's a factual answer.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And have you paid Wayne
∑6∑∑Dolcefino any amount of money --
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- or consideration,
∑9∑∑directly or indirectly --
10∑∑∑∑∑∑(Crosstalk)
11∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) not to
12∑∑answer your question.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
14∑∑∑∑∑∑THE REPORTER:∑I'm --
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, would you please
16∑∑let the court reporter take her turn -- please take
17∑∑turns.∑When I'm asking the question, wait till my
18∑∑question is over before you need to --
19∑∑∑∑∑∑MR. BALLASES:∑So you've asked -- you've asked
20∑∑this question three times, and he's answered it three
21∑∑times.∑And all three times, I've told him -- I've
22∑∑objected and told him not to answer.∑So you don't
23∑∑need to ask it a fourth time.
24∑∑∑∑∑∑It's on the record clear.∑I know you're not
25∑∑an attorney, and you're not familiar with this, but


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∑1∑∑it's on the record and it's clear, I promise.∑Move
∑2∑∑along.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So the record is clear,
∑4∑∑when I've asked you, Have you been -- have you paid
∑5∑∑Wayne Dolcefino any amount of money, directly or
∑6∑∑indirectly, or any consideration, your answer is:∑I'm
∑7∑∑not going to answer that question.∑Is that -- is that
∑8∑∑clear --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection --
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- for the record?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑I've --
12∑∑∑∑A.∑I'm not going to answer that question.
13∑∑∑∑∑∑MR. BALLASES:∑-- objected --
14∑∑∑∑A.∑I've already asked it -- answered.
15∑∑∑∑∑∑MR. BALLASES:∑-- to the form.∑It's
16∑∑oppressive and harassing.∑The client's already
17∑∑answered it.∑I'm instructing him not to answer
18∑∑because it's exceeding the scope of the deposition,
19∑∑and it's oppressive and harassing, and it's asked and
20∑∑answered.
21∑∑∑∑∑∑Did you hear me, Mr. Choudhri?
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, throughout today,
23∑∑you have been frustrating this deposition.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
25∑∑∑∑∑∑MR. CHOUDHRI:∑You have been disrupting -- so


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∑1∑∑please refrain from your -- your sidebar and your
∑2∑∑objections.∑Limit to your objections as form.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- have you paid --
∑6∑∑Mr. Khawaja, have you paid -- no, let me back up.
∑7∑∑∑∑∑∑Mr. Khawaja, who is Wayne Dolcefino?∑What
∑8∑∑does he do?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection --
10∑∑∑∑A.∑I'm not going to answer these questions.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑I'm sorry.∑You've got to move on to the
13∑∑claim -- claim questions, Ali, or we're gonna end
14∑∑this.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, are you
16∑∑going to tell me that you're not going to describe --
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑-- who Wayne --
19∑∑∑∑A.∑I'm not going to.
20∑∑∑∑Q.∑-- Dolcefino is, and you're not --
21∑∑∑∑A.∑Correct.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑I'm going to instruct him not to answer
24∑∑because your questions are oppressive and harassing,
25∑∑and they exceed the scope of the limited deposition.


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∑1∑∑∑∑∑∑I'm instructing him not to answer.∑I'm doing
∑2∑∑it, Mr. Ballases.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you taking his
∑4∑∑instructions and not answering any questions as it
∑5∑∑relates to Wayne Dolcefino, Mr. Khawaja?
∑6∑∑∑∑A.∑Yes, sir.∑Yes.∑I'm not.∑I will follow
∑7∑∑advice of counsel.
∑8∑∑∑∑Q.∑Who is Chris Wyatt, Mr. Khawaja?
∑9∑∑∑∑A.∑Again, that has nothing to do with this case.
10∑∑∑∑Q.∑So Chris Wyatt has nothing to do with this
11∑∑case.∑So -- I want the record clear.
12∑∑∑∑A.∑I -- Chris Wyatt is a witness, and he is a --
13∑∑he was your former chief financial officer, and that's
14∑∑how I know him -- or chief operating officer.
15∑∑∑∑Q.∑Has he ever given you documents from the
16∑∑Jetall server?
17∑∑∑∑A.∑From the Jetall server?∑I don't -- I don't
18∑∑know that.∑I don't know the answer to that question.
19∑∑∑∑Q.∑Has Mr. Wyatt --
20∑∑∑∑A.∑I don't know what the Jetall server is.
21∑∑∑∑Q.∑Has Mr. Wyatt ever given you any documents?
22∑∑∑∑A.∑No.
23∑∑∑∑Q.∑Mr. Chris Wyatt has never given you any
24∑∑documents; that's a true statement?
25∑∑∑∑A.∑I cannot discuss anything pertaining to Chris


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∑1∑∑Wyatt because of attorney-client privilege, so we're
∑2∑∑not talking about Chris Wyatt.
∑3∑∑∑∑Q.∑What is the privilege, Mr. Khawaja, with you
∑4∑∑and Chris Wyatt?
∑5∑∑∑∑A.∑Attorney-client privilege.
∑6∑∑∑∑Q.∑Is Chris Wyatt an attorney?
∑7∑∑∑∑A.∑No, no.∑I'm the attorney; he's the client.
∑8∑∑He sought counsel from me, which I provided,
∑9∑∑pertaining to this case, and I will not discuss
10∑∑anything further regarding him.
11∑∑∑∑Q.∑Pertaining to this case, the case we're here
12∑∑for today.
13∑∑∑∑A.∑No, pertaining to other matters involving you
14∑∑and him.
15∑∑∑∑Q.∑So Chris Wyatt is your client; is that
16∑∑correct?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection --
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Hira Azhar is your
20∑∑client; correct?
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑And Azeemah Zaheer is your client; correct?
23∑∑∑∑A.∑Yes.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Osama -- and Osama


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∑1∑∑Abdullatif is your client; correct?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is David Tang your client?
∑5∑∑∑∑A.∑No.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑He's just a friend.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Rodney Drinnon your
∑9∑∑client?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑No.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Harold Polk --
13∑∑∑∑A.∑He's an attorney.
14∑∑∑∑Q.∑-- your client?∑Is Harold Polk your client?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑No, he's not.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Harold Polk is not your
18∑∑client.
19∑∑∑∑A.∑Correct.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑How did you meet Chris
22∑∑Wyatt?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑Yeah, I can't talk about that.∑I'm sorry.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Why can't you talk about


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∑1∑∑how you met Chris Wyatt?
∑2∑∑∑∑A.∑That's protected.
∑3∑∑∑∑Q.∑By what?
∑4∑∑∑∑A.∑Attorney-client privilege.
∑5∑∑∑∑Q.∑Are you refusing to answer when you met Chris
∑6∑∑Wyatt?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑When did the attorney-client privilege start
∑9∑∑with Chris Wyatt?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Since I met him.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And when did you meet him?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑Sometime after he left your employment.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You never met him while he
16∑∑was employed as a paralegal for me?
17∑∑∑∑A.∑No.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You never saw him come to
20∑∑court in the divorce case when you were representing
21∑∑the -- Hira Azhar?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑No, I didn't, actually, to be honest with you.
24∑∑No.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're not aware that


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∑1∑∑Chris Wyatt worked on the case that Jetall has against
∑2∑∑Khawaja?
∑3∑∑∑∑A.∑No --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑-- I'm not aware of that.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're not aware of that --
∑7∑∑∑∑A.∑If he --
∑8∑∑∑∑Q.∑-- is that correct?
∑9∑∑∑∑A.∑Correct.∑If he did, he never discussed it
10∑∑with me.
11∑∑∑∑Q.∑So you're not aware that Chris Wyatt did legal
12∑∑work for me while he was employed for me.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑No.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Isn't it true that Jetall
16∑∑Companies has a judgment against Khawaja?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑"Against Khawaja," what does that mean?
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Against Khawaja Partners.
20∑∑∑∑A.∑Possibly.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And that judgment has not
23∑∑been appealed and not been superceded.
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑Is that one --


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- of your motivations,
∑3∑∑Mr. Khawaja?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑No.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So Jetall owns an asset --
∑7∑∑Jetall Companies owns an asset, and that's a judgment
∑8∑∑against Khawaja Partners; correct?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑I don't know if Jetall owns an asset or --
11∑∑Jetall doesn't seem to be doing too well right now.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And how do you know that?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I mean, there was a great article about you
15∑∑the other day in The Real Deal.∑I don't know if you
16∑∑saw that.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you spoken to The Real
18∑∑Deal?
19∑∑∑∑A.∑I haven't --
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑-- but I read that article.
22∑∑∑∑∑∑THE REPORTER:∑Sorry --
23∑∑∑∑A.∑It's not a good look.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You haven't spoken --
25∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Sorry.∑Just one at a


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∑1∑∑time, please.∑Thank you.
∑2∑∑∑∑A.∑I haven't, no.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Has anybody on your behalf,
∑4∑∑indirectly or directly, spoken to The Real Deal?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑No, but a lot of people sent me that article,
∑7∑∑like real estate -- people in real estate, legal. A
∑8∑∑lot of people sent it to me.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Chris Wyatt testified
10∑∑at the that hearing; correct?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑I don't --
13∑∑∑∑∑∑MR. BALLASES:∑What hearing are you talking
14∑∑about, sir?∑I mean, come on.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
16∑∑∑∑A.∑You're all over the place.
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- can you --
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, The Real Deal
19∑∑quotes an order and mentions Chris Wyatt.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Okay.∑Anything else you want to share with me
22∑∑about the article?∑I mean, that's fine.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so have you paid Chris
24∑∑Wyatt any money?
25∑∑∑∑A.∑No.


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you had
∑3∑∑mentioned that you're in the business of buying
∑4∑∑judgments.∑Do you recall that line of testimony
∑5∑∑earlier?
∑6∑∑∑∑A.∑Yes.
∑7∑∑∑∑Q.∑And you've bought less than ten judgments; is
∑8∑∑that correct?
∑9∑∑∑∑A.∑I think so.
10∑∑∑∑Q.∑And your answers earlier were -- and I just
11∑∑want to make sure the record is clear --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- that the only --
14∑∑Mr. Khawaja, are you done looking at your phone?
15∑∑∑∑A.∑Yes.∑Sorry.∑Go ahead.
16∑∑∑∑∑∑MR. CHOUDHRI:∑Just for the record, throughout
17∑∑the deposition, Mr. Khawaja has been continuing to
18∑∑look at his phone and make communications with other
19∑∑people in the room and has constantly looked at his
20∑∑phone throughout the entire duration of this
21∑∑deposition.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, I just ask
23∑∑you to please refrain from looking at your phone.
24∑∑Okay?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.


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∑1∑∑∑∑∑∑Don't instruct my client anything, and you are
∑2∑∑incorrect with your assertions.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
∑4∑∑talking.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, can you please
∑6∑∑stop looking at your phone?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑8∑∑∑∑A.∑I've got a sick relative in the hospital right
∑9∑∑now.∑That's what I'm worried about, so...
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, I'm sorry about your
11∑∑relative.∑I hope they get better.
12∑∑∑∑∑∑Mr. Khawaja, which judgments -- strike that.
13∑∑∑∑∑∑Mr. Khawaja, it's your contention that any
14∑∑entity that I -- at least if I heard your testimony
15∑∑correctly earlier, that any entity that Ali Choudhri
16∑∑has ownership or control in is an alter ego.∑Is that
17∑∑your contention --
18∑∑∑∑A.∑Of Ali --
19∑∑∑∑Q.∑-- Mr. Khawaja?
20∑∑∑∑A.∑Yes, it is.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So any entity that Ali
23∑∑Choudhri has any ownership or control of is an alter
24∑∑ego of Ali Choudhri; correct?
25∑∑∑∑A.∑I believe that -- I believe that to be the


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∑1∑∑case, yes.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑Mr. Khawaja, which
∑4∑∑judgments have you acquired?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑You mean other than yours?∑Other than the
∑7∑∑Jetall judgments?
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Again, Mr. Khawaja --
∑9∑∑∑∑A.∑Are you there?
10∑∑∑∑Q.∑-- I believe your answers earlier were that
11∑∑you have not acquired any judgments other than
12∑∑judgments relating to Jetall or Ali Choudhri.
13∑∑∑∑A.∑I think that's --
14∑∑∑∑Q.∑Is that true?
15∑∑∑∑A.∑-- correct.∑That's true.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So what I want to do is I
18∑∑want to go down, because your contention is Texas REIT
19∑∑is an alter ego of Ali Choudhri; correct?
20∑∑∑∑A.∑Yes.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So basically what you're
23∑∑saying is any obligations of Ali Choudhri or any of
24∑∑Ali Choudhri's entities are the obligations of Texas
25∑∑REIT; is that correct?


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∑1∑∑∑∑A.∑Yes.∑That's correct, yes.
∑2∑∑∑∑Q.∑So it's just basically one big pot.
∑3∑∑∑∑A.∑That's the way you've treated them, yes.
∑4∑∑∑∑Q.∑And that's your contention, and that's the --
∑5∑∑∑∑A.∑I believe the evidence will show that.∑Yes.
∑6∑∑∑∑Q.∑And outside what's in your pleading, you don't
∑7∑∑have any other evidence that --
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑A.∑Well, we've got to do discovery -- we have to
10∑∑do discovery, sir, which you're obstructing, but yes.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑So the record is
12∑∑clear, outside your pleading, there's no other
13∑∑evidence other than the discovery you're yet to do.
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that correct?
16∑∑∑∑A.∑We're in the -- we're in the middle of
17∑∑discovery.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that correct?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Outside the pleading?∑The pleading contains a
22∑∑lot of evidence.∑I don't know if you've seen the
23∑∑attachments or not, but there's a lot.∑There's a lot
24∑∑more that will have to be done.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so you're refusing to


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∑1∑∑answer any questions relating to Chris Wyatt; correct?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑That's -- that encompasses attorney-client
∑5∑∑privilege.∑Correct.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So anything I would ask you
∑7∑∑today about Chris Wyatt, you would refuse to answer.
∑8∑∑∑∑A.∑That's correct.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Who drafted the affidavit
11∑∑that was attached to the petition that's attached to
12∑∑this proof of claim that Chris Wyatt signed?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I have no idea.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You don't know --
16∑∑∑∑A.∑It wasn't me.
17∑∑∑∑Q.∑-- who drafted -- it wasn't you.∑Was it
18∑∑Mr. Ballases?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑∑∑Instructing not to answer.∑It violates
21∑∑attorney work product, attorney-client privilege.
22∑∑∑∑A.∑I'm not answering on advice of counsel.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Does Mr. Ballases or Hoover
24∑∑Slovacek represent Chris Wyatt?
25∑∑∑∑A.∑I don't think so.


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∑1∑∑∑∑Q.∑Does Ashish Mahendru represent Chris Wyatt?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑I don't know.∑I mean, ask Ashish.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Did you refer Chris Wyatt
∑5∑∑to Ashish Mahendru?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I mean, again, I just told you I'm not
∑8∑∑answering any questions about Chris Wyatt.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So can you explain to me
10∑∑why the adversary where you claim alter ego and
11∑∑fraudulent transfer has an attachment of Chris Wyatt
12∑∑as a declaration?
13∑∑∑∑A.∑I mean, he had some evidence that you are an
14∑∑alter ego, that you have alter egos that operate under
15∑∑you, so he provided it.∑It's evidence.
16∑∑∑∑Q.∑Do you hold any -- do you hold any contingency
17∑∑claims or rights of any adverse parties to Ali
18∑∑Choudhri or any of his related entities?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Do I hold any -- I mean, if I did, it's
21∑∑attorney-client privilege, so I'm not answering that.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So any contingency claims
23∑∑you hold against --
24∑∑∑∑A.∑Right.
25∑∑∑∑Q.∑-- Texas REIT or any other entity --


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∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑-- or party relating to Ali Choudhri is --
∑3∑∑you're not going to answer because it's
∑4∑∑attorney-client privilege?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑And outside the scope of what you're allowed
∑8∑∑to ask me about.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you have
10∑∑surveillance on me or any of my entities or companies?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑∑∑I'm going to instruct you not to answer.∑It's
13∑∑harassing and oppressive.∑It has nothing to do with
14∑∑the limited scope of this deposition.
15∑∑∑∑A.∑I'm not answering that.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you have any agreement
17∑∑with George Lee?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑A.∑I don't.
20∑∑∑∑∑∑MR. BALLASES:∑It's not relevant to the
21∑∑limited scope of this deposition; therefore, I'm going
22∑∑to instruct him not to answer.
23∑∑∑∑A.∑I should be asking you that question.∑It's
24∑∑gonna come up in trial.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you have any text


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∑1∑∑messages between you and George Lee?
∑2∑∑∑∑∑∑MR. BALLASES:∑Object --
∑3∑∑∑∑A.∑No --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑-- I'm not gonna talk about that.
∑6∑∑∑∑∑∑MR. BALLASES:∑And I'm going to instruct
∑7∑∑him not to --
∑8∑∑∑∑A.∑It has nothing to do with this.
∑9∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct you not
10∑∑to answer.∑It violates the scope of this deposition
11∑∑that the judge indicated.∑It's harassing and
12∑∑oppressive.∑This isn't a free-for-all discovery.
13∑∑∑∑∑∑THE WITNESS:∑Yeah.
14∑∑∑∑∑∑MR. BALLASES:∑It's just about why the proof
15∑∑of claim was filed or why it's being withdrawn.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So is it your contention
17∑∑that you have information you've received from Chris
18∑∑Wyatt that has to do with the basis of your claim?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑I mean, he provided an affidavit in this case,
21∑∑so...
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So again, when did he
23∑∑become your client, and when did you establish that
24∑∑attorney-client privilege?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑A.∑I'm not sure when.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you have text messages
∑3∑∑between you and Chris Wyatt?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I mean, if I did, I wouldn't disclose them to
∑6∑∑you, and nor would a court compel me to.∑It's
∑7∑∑attorney-client privilege.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, here's the thing,
∑9∑∑Mr. Khawaja.∑Here's the thing.∑There's something
10∑∑called a privilege log, right?∑I'm entitled to know
11∑∑if you have communications.∑I'm not asking you --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- about the content of
14∑∑your communications.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
16∑∑interrupting.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, I'm not asking
18∑∑you about the contents of your --
19∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Let me finish my question
21∑∑before you answer.∑Okay?
22∑∑∑∑∑∑I'm asking you not about -- so we're very
23∑∑clear, I'm not eliciting or asking you for privileged
24∑∑information.∑I'm asking you if there are
25∑∑communications, not the contents.∑Do you have --


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∑1∑∑∑∑A.∑Even if it existed --
∑2∑∑∑∑Q.∑-- communications with Chris -- can I finish?
∑3∑∑∑∑∑∑Do you have communications with Chris Wyatt,
∑4∑∑yes or no?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑Even if it existed, I would not disclose that
∑7∑∑to you, nor would I be compelled to, nor is it a part
∑8∑∑of this case.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So why are you adding the
10∑∑declaration of Chris Wyatt as a part of this case?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑It's evidence.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, do you understand
14∑∑what a sword --
15∑∑∑∑A.∑It's evidence of the alter (unintelligible).
16∑∑∑∑Q.∑-- and shield is?
17∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑It's evidence of the alter
19∑∑ego?
20∑∑∑∑∑∑I'm sorry.∑Finish your question -- your
21∑∑answer, Mr. Khawaja.∑It's --
22∑∑∑∑A.∑It's evidence --
23∑∑∑∑Q.∑-- evidence of what?
24∑∑∑∑A.∑-- of the alter ego.∑It's evidence of the
25∑∑alter ego.


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∑1∑∑∑∑Q.∑So Chris Wyatt has evidence of the alter ego.
∑2∑∑That's your answer?
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑Q.∑And you're refusing to answer any questions
∑5∑∑about Chris Wyatt.
∑6∑∑∑∑A.∑I'm not gonna talk about any attorney-client
∑7∑∑privileged communications.∑Correct.
∑8∑∑∑∑Q.∑So do you have any communications with Chris
∑9∑∑Wyatt, yes or no?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑I'm not gonna talk about it.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, being emphatic on
14∑∑your objection doesn't change the objection.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- are you refusing to --
18∑∑are you refusing to answer the mere fact that
19∑∑communications exist between you and Chris Wyatt?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑I'm telling you that if they do exist -- I'm
22∑∑not confirming that they do or don't, but they would
23∑∑be privileged.∑That's it.∑And this is not the
24∑∑case --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So how did --


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∑1∑∑∑∑A.∑This is not the case that you're going to get
∑2∑∑any of that information.
∑3∑∑∑∑Q.∑Now, you'll agree with me that Chris Wyatt --
∑4∑∑that in your petition in adversary that you've
∑5∑∑attached to this proof of claim, you've attached a
∑6∑∑declaration of Chris Wyatt, true or false?
∑7∑∑∑∑A.∑True.
∑8∑∑∑∑Q.∑And you're refusing to provide me any
∑9∑∑communications or the fact that any communications
10∑∑even exist between you and Chris Wyatt, true?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑True.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, would you
14∑∑please stop looking at your phone?
15∑∑∑∑A.∑I'm not looking at my phone.∑I'm looking at
16∑∑the petition that you just asked me about, the
17∑∑adversary.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
19∑∑∑∑∑∑Don't instruct my client again.
20∑∑∑∑A.∑This is the adversary petition I'm reading.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what
22∑∑contingency claims, if any, do you hold, indirectly or
23∑∑directly, against me or any of my entities?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑Outside the scope of this discussion.∑I'm not


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∑1∑∑answering.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, it's your
∑3∑∑contention that Texas REIT is an alter ego of every
∑4∑∑one of those entities that I have interest in;
∑5∑∑correct?∑That's your contention.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're refusing to answer
∑8∑∑what claims -- so is your statement or answer here,
∑9∑∑under oath, that you're refusing to answer what
10∑∑motivations and rights or claims or contingencies you
11∑∑have against Texas REIT?∑Now, when I --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- say "Texas REIT," that
14∑∑applies to any and all entities that I have ownership
15∑∑in, directly or indirectly; correct?
16∑∑∑∑A.∑Yes, based on alter ego.∑Yeah, I'm not gonna
17∑∑give you any -- whether I have any contingency-related
18∑∑litigation against you on that.∑If I do, you'll find
19∑∑out about it at some point.
20∑∑∑∑Q.∑So you're refusing to disclose any claims you
21∑∑have against the debtor.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Any claims I have against the debtor?∑I don't
24∑∑have any claims against the debtor other than the ones
25∑∑I presented in this case.


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∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So when you have
∑2∑∑contingencies or claims against me, under your theory,
∑3∑∑those would be claims against the debtor as well.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I don't know about that.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you use WhatsApp?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you communicated --
10∑∑∑∑A.∑We're in some group -- we're in some groups
11∑∑together on WhatsApp, I think.∑Yes.
12∑∑∑∑Q.∑Mr. Khawaja, did you come to me for a job?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑A job?∑I'm not talking about that, no.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You never came to me for a
16∑∑job.
17∑∑∑∑A.∑No.∑Look, that's outside the scope of this
18∑∑conversation.
19∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Osama Abdullatif needs to
20∑∑stop talking in the background and coaching the
21∑∑witness.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop.
24∑∑Control Mr. Osama --
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑-- (unintelligible) your
∑2∑∑witnesses.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- would you mind sharing
∑6∑∑the camera around your office there?
∑7∑∑∑∑A.∑We're not gonna do that.
∑8∑∑∑∑Q.∑You're not gonna do that?∑Okay.∑You're
∑9∑∑refusing to do that.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
11∑∑∑∑∑∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, did you ever
13∑∑seek employment from Jetall Companies?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑∑∑I'm going to instruct the client not to
16∑∑answer.∑It's harassing and oppressive.∑It exceeds
17∑∑the limited scope of this deposition per the judge's
18∑∑instructions.
19∑∑∑∑∑∑Stop wasting time, sir.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You can answer,
21∑∑Mr. Khawaja.
22∑∑∑∑A.∑On advice of counsel, I'm not gonna answer
23∑∑that question.∑Sorry.
24∑∑∑∑Q.∑Are you upset at Jetall Companies in any way,
25∑∑shape, or form?


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∑1∑∑∑∑A.∑No.
∑2∑∑∑∑Q.∑Are you upset at Ali Choudhri in any shape,
∑3∑∑way, or form?
∑4∑∑∑∑A.∑I mean, I want the money that I'm owed.∑Just
∑5∑∑pay me the money that you owe.∑This will -- this will
∑6∑∑go away.∑It's nothing personal.
∑7∑∑∑∑Q.∑And how much money would it take to make this
∑8∑∑go away?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑∑∑We're not -- I'm going to instruct my client
11∑∑not to answer.∑It has nothing do with the limited
12∑∑scope of this deposition and exceeds what the judge's
13∑∑orders were.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you going to answer the
15∑∑question, Mr. Khawaja?
16∑∑∑∑A.∑I'm gonna follow the advice of counsel and not
17∑∑answer.
18∑∑∑∑Q.∑So you say this is about money; Just pay me
19∑∑the money you owe me, and I'll go away.∑But you won't
20∑∑tell me what that amount is.∑Is that your answer?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑Yeah, we're not --
23∑∑∑∑∑∑MR. CHOUDHRI:∑Is Osama Abdullatif --
24∑∑∑∑A.∑-- in a settlement --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑No, this is not a


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∑1∑∑settlement.∑I'm asking you -- again, this is not
∑2∑∑settlement discussion.∑This is a deposition under
∑3∑∑oath on the record.
∑4∑∑∑∑∑∑I'm asking you a follow-up to your answer that
∑5∑∑this is not personal; it's about money.∑That's all
∑6∑∑you want.∑You want money, and you'll go away.∑That's
∑7∑∑what you said.∑Did I hear -- did I hear your
∑8∑∑answer --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection --
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- incorrectly, or do we
11∑∑need the court reporter to repeat your answer?
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑∑∑Objection.∑Sidebar.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you answering the
15∑∑question --
16∑∑∑∑A.∑You need to move along, sir.∑I'm not going to
17∑∑answer that question.
18∑∑∑∑∑∑MR. CHOUDHRI:∑Ms. Court Reporter, would you
19∑∑read back his statement or his answer earlier:∑This
20∑∑is not personal; it's just money; if you pay me the
21∑∑money you owe me, I'll go away.
22∑∑∑∑∑∑Would you read that back into the record so
23∑∑it's clear?∑There's been a lot of objections, and
24∑∑I've been distracted.
25∑∑∑∑∑∑THE REPORTER:∑I'll need a minute to go


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∑1∑∑through and find that answer.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Take your time.∑No problem.
∑3∑∑∑∑∑∑Mr. Khawaja is not on the screen any longer,
∑4∑∑for the record.
∑5∑∑∑∑∑∑MR. BALLASES:∑Yeah, he is.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
∑7∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just off the record. I
∑8∑∑just need to go off the record because I can't type
∑9∑∑and look for the testimony at the same time.
10∑∑∑∑∑∑MR. CHOUDHRI:∑So why don't we take a five --
11∑∑∑∑∑∑THE WITNESS:∑Can you see me?
12∑∑∑∑∑∑MR. CHOUDHRI:∑I'll tell you what.∑Why don't
13∑∑we do this, Ms. Court Reporter.∑It looks like we've
14∑∑been going for a little bit here.∑So it's 2:42.∑Why
15∑∑don't we come back in 15 minutes at 3:00.
16∑∑∑∑∑∑MR. BALLASES:∑No, we'll take a five-minute
17∑∑break.
18∑∑∑∑∑∑THE WITNESS:∑We'll take a five-minute break,
19∑∑and that's it.∑We're done.
20∑∑∑∑∑∑MR. CHOUDHRI:∑Again, Mr. Khawaja, this is my
21∑∑deposition.∑I get to ask questions.∑And with all due
22∑∑respect, you really don't dictate the -- but if you
23∑∑need to take a break, I'm happy to let you take a
24∑∑break --
25∑∑∑∑∑∑THE WITNESS:∑I'll take a five-minute break,


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∑1∑∑and that's it.
∑2∑∑∑∑∑∑No?∑Okay.∑No, we don't need a break.∑Thank
∑3∑∑you.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑So, Court Reporter, while
∑5∑∑you're looking for the answer, let's go and take a
∑6∑∑five-minute break.∑We'll come back in five minutes.
∑7∑∑We're off the record.
∑8∑∑∑∑∑∑(A recess was taken.)
∑9∑∑∑∑∑∑THE REPORTER:∑So we are back on the record.
10∑∑And I just please ask everybody, in order to keep the
11∑∑record clear, please, one speaker at a time.
12∑∑∑∑∑∑And, Mr. Khawaja, if your counsel does have an
13∑∑objection, just please allow him to make the objection
14∑∑and then answer afterwards, just so I don't have both
15∑∑of you speaking.∑Thank you.
16∑∑∑∑∑∑THE WITNESS:∑All right.∑Thank you.
17∑∑∑∑∑∑MR. BALLASES:∑So just for the record,
18∑∑Ms. Court Reporter, we've looked at the live schedule
19∑∑that was filed by the debtor under declaration of
20∑∑penalty and was signed by Mr. Ali Choudhri, and it
21∑∑does not list Mr. Choudhri as a debtor anywhere on
22∑∑here, and therefore -- or excuse me -- as a creditor
23∑∑anywhere on here.∑And so, therefore, him not being a
24∑∑creditor based upon his own sworn document, he has no
25∑∑legal basis to continue to ask questions here today.


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∑1∑∑∑∑∑∑So I'd like to have -- if Ms. Hood or
∑2∑∑Mr. Sather have any more questions, I'd like to finish
∑3∑∑it up.∑Mr. Khawaja does have to go because he has a
∑4∑∑relative who is probably passing away relatively soon
∑5∑∑in the hospital.∑We can then move on --
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑So --
∑7∑∑∑∑∑∑MR. BALLASES:∑-- with the next deponents.
∑8∑∑∑∑∑∑MS. HOOD:∑So --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑So, Mr. Ballases --
10∑∑Mr. Ballases, this is my deposition.∑If you want --
11∑∑if there is a life/death situation, I'm not -- I'm
12∑∑happy to work with you and Mr. Khawaja on schedules.
13∑∑I have no problem doing that.∑Family's important.∑So
14∑∑if we need to reset this deposition to tomorrow or
15∑∑another day, I'm happy to accommodate that.
16∑∑∑∑∑∑But what I don't want to do is have you
17∑∑control the deposition and who can ask questions and
18∑∑who can't, because I'm in the middle of my questioning
19∑∑of Mr. Ballases (sic).∑So --
20∑∑∑∑∑∑MR. BALLASES:∑Okay.∑So --
21∑∑∑∑∑∑MR. CHOUDHRI:∑-- let's continue on with the
22∑∑questions.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, are you ready
24∑∑to answer more questions?
25∑∑∑∑∑∑THE WITNESS:∑What do you think, Michael?


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∑1∑∑∑∑∑∑MR. BALLASES:∑It's up to you.∑If you've got
∑2∑∑to go to the hospital, then --
∑3∑∑∑∑A.∑Okay.∑I can go for a little bit longer.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Madam Court Reporter,
∑5∑∑would you please read the answer back while we took a
∑6∑∑break?
∑7∑∑∑∑∑∑THE REPORTER:∑Okay.∑One second.∑Okay.∑So
∑8∑∑the question and answer was (Reading:)∑Question:∑Are
∑9∑∑you upset at Ali Choudhri in any way, shape, or form?
10∑∑∑∑∑∑Answer:∑I mean, I want the money that I'm
11∑∑owed.∑Just pay me the money that you owe.∑This will
12∑∑go away.∑It's nothing personal.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, did she read
14∑∑your answer correctly and accurately?
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And so to follow up on that answer, what is
17∑∑the amount of the money that you claim you're owed?
18∑∑∑∑A.∑Well, there's a certain amount of -- there's a
19∑∑certain amount that's claimed in the judgment that
20∑∑probably has gone up since we filed it.∑And, you
21∑∑know, you can go through that.∑Your attorney can
22∑∑discuss that with my attorney if you want to make an
23∑∑offer.∑Someone will --
24∑∑∑∑Q.∑I'm not asking about a settlement,
25∑∑Mr. Khawaja.∑I'm just asking about how much money


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∑1∑∑you're owed, because I can go to the oral ruling
∑2∑∑that -- from Judge Robinson about how you came up with
∑3∑∑the number, how you calculated it, and what that
∑4∑∑number is.∑And that's what we're here today to ask
∑5∑∑you questions about on your proof of claim.
∑6∑∑∑∑∑∑So you said, Owe me -- pay me the money you
∑7∑∑owe, so my question is --
∑8∑∑∑∑A.∑Right.
∑9∑∑∑∑Q.∑-- what are you claiming you're owed?
10∑∑∑∑A.∑Do you have a copy of the adversary?
11∑∑∑∑Q.∑Go ahead, Mr. Khawaja.∑What is the amount of
12∑∑money you're owed?∑That's my question.∑Do you know?
13∑∑∑∑A.∑Yeah, it's somewhere north of $500,000.∑Give
14∑∑me one second here.
15∑∑∑∑∑∑The total amount is $4,847,894.68.
16∑∑∑∑Q.∑I'm sorry.∑Would you repeat that again?∑The
17∑∑total amount that you're owed is what?
18∑∑∑∑A.∑$4,847,894.68.
19∑∑∑∑Q.∑Sorry.∑There's somebody talking in the
20∑∑background.∑I think Osama's helping you and talking,
21∑∑so --
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So what is the total amount
24∑∑that you need to be paid so you can go away?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑A.∑$4,847,894.68.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑Thank you for your
∑3∑∑answer, Mr. Khawaja.
∑4∑∑∑∑∑∑And you stand behind that number as being
∑5∑∑truthful, accurate with all lawful offsets?
∑6∑∑∑∑A.∑I mean, I don't -- I don't know what that
∑7∑∑means, but yeah, it's truthful, for sure.
∑8∑∑∑∑Q.∑Okay.
∑9∑∑∑∑A.∑There are no offsets.
10∑∑∑∑Q.∑There are no offsets?
11∑∑∑∑A.∑No.
12∑∑∑∑Q.∑Is that what you said?
13∑∑∑∑∑∑Okay.∑So there are no offsets; is that
14∑∑correct?
15∑∑∑∑A.∑That's correct.
16∑∑∑∑Q.∑Okay.∑Mr. Khawaja, is that the basis of -- so
17∑∑let me just kind of set the table for a second.
18∑∑∑∑∑∑So we said this earlier, and I just want to
19∑∑make sure that I don't have to go through a list of,
20∑∑you know, all these entities and all these other
21∑∑parties.
22∑∑∑∑∑∑So when we talk about Texas REIT, when you
23∑∑answer the question that -- against Texas REIT, your
24∑∑position is that any entity that I have ownership,
25∑∑directly in or indirectly, is an alter ego of Texas


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∑1∑∑REIT; correct?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑Alter ego of Ali Choudhri.∑Yes.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑So --
∑5∑∑∑∑A.∑And Jetall Companies.
∑6∑∑∑∑Q.∑-- that's the basis?
∑7∑∑∑∑∑∑THE REPORTER:∑I'm sorry?
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Jetall.∑So when the --
∑9∑∑∑∑∑∑THE REPORTER:∑And who?∑Sorry.
10∑∑∑∑∑∑THE WITNESS:∑Sorry.∑Of Ali Choudhri and
11∑∑Jetall Companies.
12∑∑∑∑∑∑THE REPORTER:∑Thank you.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so that is the basis of
14∑∑several lis pendenses that have been filed; is that
15∑∑correct?
16∑∑∑∑A.∑I don't know about several.∑There's one
17∑∑that's filed in this case.
18∑∑∑∑Q.∑Well, if you contend that any and all
19∑∑liabilities and assets of Texas REIT's are alter egos
20∑∑of Ali Choudhri, you have -- in this adversary that is
21∑∑the basis of your proof of claim -- back up.
22∑∑∑∑∑∑This proof -- the adversary is the basis of
23∑∑your proof of claim; correct?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑So in that adversary, you have filed many lis


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∑1∑∑pendenses on various properties, true or false?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And what real property interest do you contend
∑4∑∑that you own in any of these properties?
∑5∑∑∑∑A.∑We're a judgment creditor.∑So if you own it,
∑6∑∑we own it.
∑7∑∑∑∑Q.∑So it's your contention that -- again, I just
∑8∑∑want to get the whole scope here.∑It's your
∑9∑∑contention that, based on the fact that you're a
10∑∑judgment creditor, you have real property interest in
11∑∑all these various properties, true or false?
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑Is that true?
14∑∑∑∑A.∑True.
15∑∑∑∑Q.∑Outside of that, do you have any other real
16∑∑property interest that you contend you own in any of
17∑∑these properties?
18∑∑∑∑A.∑No.
19∑∑∑∑Q.∑And do you know where I live?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑I think you live in 9201 Arabella.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑9201 Arabella?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑Let me see here.∑Ninety -- sorry -- 9201.
25∑∑You live at Arabella PH, whatever property Arabella PH


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∑1∑∑3201, LLC, owns.∑At the Arabella, I think, unless you
∑2∑∑moved.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you have knowledge that
∑4∑∑I've lived there for how long?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑I mean, I guess at least a few years.∑Maybe
∑7∑∑two.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And are you aware that --
∑9∑∑∑∑A.∑You sold your house and then -- I think so. I
10∑∑mean, look, I -- I'm not sure, to be honest with you.
11∑∑I think you live there.∑I can find out if you want me
12∑∑to.
13∑∑∑∑Q.∑So you said I sold my house?
14∑∑∑∑∑∑MR. BALLASES:∑Ali, can -- Mr. Choudhri, can
15∑∑you put yourself on the screen again so we know it's
16∑∑you asking questions?
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So you said --
18∑∑∑∑∑∑MR. BALLASES:∑Thank you.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- I sold my house,
20∑∑Mr. Khawaja, that you know I sold my house?
21∑∑∑∑A.∑Yeah.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑You sold the River Oaks house; right?
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑I'm asking you,
25∑∑Mr. Khawaja.∑You said I sold my house.∑What do you


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∑1∑∑mean by that?
∑2∑∑∑∑A.∑Yes.∑I think you sold your River --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑I think you sold the River Oaks house, and
∑5∑∑then you moved.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And how do you know that?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑I think -- I mean, that's just -- that's the
∑9∑∑rumors.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And who told you that?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑I think it was in The Real Deal.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that where you -- are
14∑∑you saying that's where you know about it?
15∑∑∑∑A.∑Possibly.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑I don't know, to be honest with you.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who Kevin
19∑∑Powers is?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑He's an attorney.∑Yes.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you communicated with
23∑∑Kevin Powers?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑I think he called me once or twice, but no


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∑1∑∑real communication with him.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever texted him or
∑3∑∑received texts from him?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑Not that I recall.∑I don't think so.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who WCW is?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑Some entity that you owe money, I think.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who Steven Wu
10∑∑is?
11∑∑∑∑A.∑Another guy that you --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑-- that you owe money to.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And your contention is I
15∑∑owe money to Steven Wu?
16∑∑∑∑A.∑You owe money --
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑-- to a lot of people, including me, but yes.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And what do you know about
20∑∑what I owe to Steven Wu?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑That you defrauded him, and they have --
23∑∑they're seeking to recover the money that you owe them
24∑∑and --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And how much money is


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∑1∑∑that --
∑2∑∑∑∑A.∑-- defrauded them in the Texas REIT --
∑3∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑I defrauded in the Texas
∑5∑∑REIT case, you said?
∑6∑∑∑∑A.∑Yes.∑I think some Texas REIT case.∑I'm not
∑7∑∑sure which one, but it's millions of dollars.
∑8∑∑∑∑Q.∑And so is it Steven Wu that you contend that I
∑9∑∑defrauded?
10∑∑∑∑A.∑Yes.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Steven Wu is owed money
13∑∑by Texas REIT is your contention?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑Yes, and there's probably many other creditors
16∑∑out there I'm not aware of.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Which creditors are you
18∑∑aware of?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Only the ones that I would know.∑I mean, I'm
21∑∑one of them.∑So, I mean, whoever's listed in these
22∑∑schedules, I guess.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted TIG
24∑∑Romspen?∑Do you know who Romspen is?
25∑∑∑∑A.∑No.


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑I know who they are, but I have not -- I read
∑3∑∑about them in The Real Deal, but I've not contacted
∑4∑∑them.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who Mansoor
∑6∑∑Chaudhry is?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑Do you have an attorney-client privilege with
∑9∑∑him?
10∑∑∑∑A.∑No, I don't.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever texted him or
13∑∑received texts from him?
14∑∑∑∑A.∑No.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I mean, yes, he's texted me.∑Yes, he has.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So when did you meet
18∑∑Mansoor Chaudhry?
19∑∑∑∑A.∑Maybe two years --
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Under what circumstance?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑He's a -- he has a title company, and I've
24∑∑done some title work with him.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So you do some title work


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∑1∑∑with him?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What is the name of his
∑5∑∑title company?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I think it's called Transact Title.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And is Transact Title a
∑9∑∑tenant at 1001 West Loop?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Yes.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And have you filed a lis
13∑∑pendens against 1001 West Loop?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑If it's an alter ego of yours -- no, I don't
16∑∑think so.∑Maybe not.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're looking at Osama to
18∑∑answer the questions.∑Do you understand this
19∑∑deposition is me asking you, not Osama answering the
20∑∑questions?∑You understand that; right?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
22∑∑∑∑∑∑Don't pretend like you know what's happening
23∑∑over here.
24∑∑∑∑∑∑Objection.∑Sidebar.
25∑∑∑∑A.∑I'm not looking at anybody.∑But I don't know.


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∑1∑∑Do you want me to file a lis pendens on 1001 West
∑2∑∑Loop?
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑As we sit here today, are
∑4∑∑you telling me that you have not caused any lis
∑5∑∑pendens to be filed on 1001?
∑6∑∑∑∑A.∑No.∑I don't know.∑I don't think so.
∑7∑∑∑∑Q.∑Do you contend 1001, the property, 1001, or
∑8∑∑the entity that owns 1001, is an alter ego of Ali
∑9∑∑Choudhri or Texas REIT?
10∑∑∑∑A.∑Yes.∑Yes, it is.
11∑∑∑∑Q.∑Do you contend --
12∑∑∑∑A.∑Even if it's not listed by -- even if it's not
13∑∑here, it is -- anything that you control or own is an
14∑∑alter ego, because that's how you operate.
15∑∑∑∑Q.∑Okay.∑Do you know who BridgeCo is,
16∑∑Mr. Khawaja?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you spoken to anybody
20∑∑at BridgeCo?
21∑∑∑∑A.∑No.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But you've sued BridgeCo;
24∑∑correct?
25∑∑∑∑A.∑Yes.


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And are you aware that
∑3∑∑BridgeCo made six loans?
∑4∑∑∑∑A.∑Yeah.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know which
∑7∑∑properties BridgeCo made loans on?
∑8∑∑∑∑A.∑There were --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑-- some properties in Austin and some
11∑∑properties in Houston, but I don't know -- I couldn't
12∑∑tell you it's this one or that one.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you contend those
14∑∑properties are alter egos of Ali Choudhri or Texas
15∑∑REIT.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑I mean, they would be.∑If you own them, they
18∑∑would be.∑But I don't know if we're making that claim
19∑∑in this case anymore.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you sued Cypress
21∑∑BridgeCo and Magnolia BridgeCo in this case?
22∑∑∑∑A.∑I think we did.∑And I'm not sure if we still
23∑∑have maintained those claims.∑But I know they
24∑∑foreclosed on their interest.
25∑∑∑∑Q.∑So you're aware that BridgeCo foreclosed on


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∑1∑∑the properties that you filed lis pendenses on.
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And you realize that a lis pendens frustrates
∑4∑∑and interferes with the sale of a property.
∑5∑∑∑∑∑∑Please don't look at Osama for an answer. I
∑6∑∑know you really want to.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑But, Mr. Abdullatif, would you
∑9∑∑please stop helping Mr. Khawaja?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
11∑∑∑∑∑∑You don't know what you're talking about.
12∑∑∑∑∑∑(Crosstalk)
13∑∑∑∑∑∑MR. CHOUDHRI:∑Madam Court Reporter, did you
14∑∑get -- did --
15∑∑∑∑∑∑(Crosstalk)
16∑∑∑∑∑∑THE REPORTER:∑Sorry.∑What is your question,
17∑∑Mr. Choudhri?
18∑∑∑∑∑∑MR. CHOUDHRI:∑What did Osama say?∑I couldn't
19∑∑hear him.
20∑∑∑∑∑∑THE REPORTER:∑I couldn't hear him either.∑If
21∑∑I can't hear him, I can't transcribe him.∑And he's
22∑∑not on the record.∑Like, he's not --
23∑∑∑∑A.∑Let's please continue with the deposition.
24∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Osama Abdullatif, I can
25∑∑hear you in the background calling me a liar.∑That's


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∑1∑∑unprofessional.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑3∑∑∑∑∑∑Ask your question, or I'll --
∑4∑∑∑∑A.∑Or we're gonna cut this -- or we're gonna shut
∑5∑∑this thing down.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, you're
∑7∑∑aware -- let me back up.
∑8∑∑∑∑∑∑You're in the real estate business as well;
∑9∑∑right?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Not really.∑A little bit.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you own real estate
13∑∑outside of your home?
14∑∑∑∑A.∑Yes.
15∑∑∑∑Q.∑Which real estate?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑I'm not gonna get -- I'm not gonna get into
18∑∑that.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you refusing to answer
20∑∑the question about what real estate you own --
21∑∑∑∑A.∑Yes, I'm --
22∑∑∑∑Q.∑-- outside of your house?
23∑∑∑∑A.∑I am -- I am refusing to answer that.
24∑∑∑∑∑∑MR. BALLASES:∑I'm instructing him not to
25∑∑answer because it's outside the scope of the limited


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∑1∑∑deposition that the judge ordered.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, we've
∑3∑∑already established many, many, many times it's your
∑4∑∑contention that any entity I own or control is an
∑5∑∑alter ego of Texas REIT; correct?
∑6∑∑∑∑A.∑Yes.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so you're also aware,
∑9∑∑Mr. Khawaja, that when you file a lis pendens on a
10∑∑piece of property, you have to meet certain elements
11∑∑to have a lis pendens on a piece of property.∑Are you
12∑∑aware of that?
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑And do you know what those elements are?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I don't.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're unaware what the
18∑∑elements are to file a lis pendens against real
19∑∑property.
20∑∑∑∑A.∑I'm not sure.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're unaware, or you're
23∑∑aware?
24∑∑∑∑A.∑I'm not aware.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, it doesn't change
∑2∑∑by you yelling on the objection, so --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, how many
∑5∑∑lawsuits have you been involved in where you have
∑6∑∑instructed, sponsored litigation against Texas REIT or
∑7∑∑any other entity that I own or control?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑A.∑I don't know.∑I don't -- I don't think many
10∑∑at all.∑Not as many as I could.∑That's for sure.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so you have filed a lis
12∑∑pendens against a property at 2232 Swift Boulevard.
13∑∑Are you aware of that?
14∑∑∑∑A.∑Yes.∑Yes.
15∑∑∑∑Q.∑And you contend 2232 Swift Boulevard -- that
16∑∑property and any interest in that property is an alter
17∑∑ego of Texas REIT?
18∑∑∑∑A.∑Or Ali Choudhri.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Or Ali Choudhri.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Texas REIT or Ali --
22∑∑∑∑A.∑Or Jetall.
23∑∑∑∑Q.∑-- Choudhri; correct?
24∑∑∑∑A.∑Or Jetall.
25∑∑∑∑Q.∑Sorry?


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∑1∑∑∑∑A.∑Or Jetall Companies, Inc.
∑2∑∑∑∑Q.∑Okay.∑So basically any and all entities that
∑3∑∑I have any ownership in -- directly, indirectly --
∑4∑∑it's an alter ego, and that's what you believe.
∑5∑∑∑∑A.∑I believe the evidence will show that, yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But as we sit here today,
∑8∑∑you don't have any evidence --
∑9∑∑∑∑A.∑No, we have plenty --
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑We've been talking about it all day.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So outside of whatever we
14∑∑talked about today, you don't have any other evidence.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑Not until we get into the discovery, which
17∑∑you're obstructing, but yes.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So this is your opportunity
19∑∑to tell --
20∑∑∑∑A.∑You'll find out more after you and, I think,
21∑∑your mom's deposition coming up.
22∑∑∑∑Q.∑Oh, okay.∑So you've sued my mom; correct?
23∑∑∑∑A.∑Yes.∑Don't try to get out of that deposition
24∑∑either.∑I'm gonna have a court reporter, translator,
25∑∑everything.∑So don't try to get out of that.


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∑1∑∑∑∑Q.∑Mr. Khawaja, have you -- let me pull this up.
∑2∑∑Hold on.
∑3∑∑∑∑∑∑Have you contacted anybody related to QB Loop
∑4∑∑Property?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑No.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted --
∑8∑∑∑∑A.∑What's going on with that?
∑9∑∑∑∑∑∑THE WITNESS:∑Sorry.∑Sorry.
10∑∑∑∑A.∑I have not.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted -- would
12∑∑you dispute if third parties made statements that you
13∑∑contacted them and told them not to do business with
14∑∑me?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I would dispute that, yeah.∑I mean, tell
17∑∑them -- who said that I said that?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever contacted
20∑∑anybody who I do business with, or any of my related
21∑∑entities, and told them not to do business with me?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑I mean, that's outside the scope of what we're
24∑∑talking about, but no, unless I was specifically
25∑∑asked.


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∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted Anwar
∑2∑∑Qadeer (phonetic) in relation to --
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑No.∑Are you trying to sue Anwar now?∑No.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted Qasim --
∑7∑∑Abdul Qasim (phonetic)?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑9∑∑∑∑A.∑Abdul Qasim?
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Abdul Qasim.
11∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
12∑∑∑∑A.∑I never contacted -- no, he's a friend of --
13∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
14∑∑∑∑∑∑Mr. Khawaja, could you please repeat your
15∑∑answer?
16∑∑∑∑A.∑I have not.
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑∑∑Please stick to the limited purpose of this
19∑∑deposition.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And --
21∑∑∑∑A.∑Don't get those guys in trouble.
22∑∑∑∑Q.∑-- Mr. Khawaja, are you -- are you -- are you
23∑∑done laughing?
24∑∑∑∑A.∑Yes.∑Yes.
25∑∑∑∑Q.∑Thank you.∑You understand this is a serious


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∑1∑∑situation we're here, right?∑This is a deposition.
∑2∑∑It's not a joke --
∑3∑∑∑∑A.∑Oh, very much.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑A.∑Very much.∑Very much so.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And, Mr. Khawaja, you're
∑7∑∑taking this serious; correct?
∑8∑∑∑∑A.∑Oh, yeah, absolutely.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, can you tell
11∑∑me why -- you know, why you believe that the BridgeCo
12∑∑entities are an alter ego of Texas REIT?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
14∑∑∑∑∑∑No, excuse me.∑I'm gonna go ahead, and I'm
15∑∑gonna actually object to this exceeding the scope of
16∑∑the deposition that the judge ordered and instruct him
17∑∑not to answer.
18∑∑∑∑A.∑I'm gonna take the advice of counsel.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you're not
20∑∑going to answer the question, I understand; is that
21∑∑correct?
22∑∑∑∑A.∑Yes.
23∑∑∑∑Q.∑Mr. Khawaja, are you aware that when a lis
24∑∑pendens is filed on a property, a property -- the
25∑∑title is clouded, and it interferes with the ability


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∑1∑∑for the property to be sold or refinanced?
∑2∑∑∑∑A.∑I mean --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑-- you filed many of those, so you're pretty
∑5∑∑aware of what it does, so yes.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And besides whatever we've
∑7∑∑covered today, you don't have any other -- are you --
∑8∑∑∑∑A.∑Plans?
∑9∑∑∑∑Q.∑-- familiar with the -- sorry?
10∑∑∑∑A.∑Other plans?∑I don't know.∑I'm just trying
11∑∑to guess what you were gonna say.
12∑∑∑∑Q.∑I'm sorry, Mr. Khawaja.∑What was your
13∑∑statement?
14∑∑∑∑A.∑I said -- you said, You don't have any other,
15∑∑and then you just trailed off.∑So I said, What,
16∑∑plans?
17∑∑∑∑Q.∑What -- so I think I've asked this earlier,
18∑∑and you've refused to answer.∑I just want to make
19∑∑sure the record is clear.∑You're refusing to answer
20∑∑any contingency claims or any claims you own or hold,
21∑∑indirectly or directly, against me or any of my
22∑∑entities.∑You're refusing to answer any of those
23∑∑questions.
24∑∑∑∑A.∑Yes --
25∑∑∑∑∑∑MR. BALLASES:∑Objection --


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∑1∑∑∑∑A.∑-- that's correct.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're aware that
∑4∑∑2727 Kirby was foreclosed on.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑That's what I understand.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're aware that
∑8∑∑that's one of the properties you filed a lis pendens
∑9∑∑on.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Sure.∑You owe a lot of money on it.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is there money owed to you
13∑∑on 2727 Kirby?
14∑∑∑∑A.∑I mean, it's an alter --
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑-- ego of Jetall Companies, so yeah, we
17∑∑should've gotten something out of it.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that why you filed a
19∑∑lis pendens, so you could get something out of it?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑To prevent you from committing fraudulent
22∑∑transfers and defrauding people like you do.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so let's elaborate.
24∑∑How do I defraud people?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑A.∑I mean -- I mean, come on.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑I just want to --
∑3∑∑∑∑∑∑(Crosstalk)
∑4∑∑∑∑A.∑You really want me to answer that question?
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Absolutely.∑Go ahead.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑7∑∑∑∑∑∑It's not the opportunity to ask an improper
∑8∑∑question.
∑9∑∑∑∑∑∑THE WITNESS:∑No.
10∑∑∑∑∑∑MR. BALLASES:∑It is your opportunity to ask
11∑∑about why a proof of claim was filed and why it was
12∑∑withdrawn.∑You are mistaken, and you're exceeding the
13∑∑Court's order.∑Please stick to the Court's limited
14∑∑deposition order.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you going to refuse to
16∑∑answer the question, Mr. Khawaja?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you're aware
20∑∑that following the filing of lis pendenses on various
21∑∑properties, those properties were foreclosed after you
22∑∑filed those lis pendenses, true or false?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑After -- I mean, what does that mean, after I
25∑∑filed those lis pendenses?∑You lost those properties


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∑1∑∑because you refused to pay on them, like you've done
∑2∑∑on so many properties throughout your entire life.
∑3∑∑∑∑∑∑So, you know, you excel at losing properties.
∑4∑∑That's what happened.∑That's what happened to
∑5∑∑2425 West Loop.∑Don't try to put that on me unless
∑6∑∑you want more lawsuits.∑We're happy to oblige.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you --
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
10∑∑∑∑A.∑No, I'm not done.∑I'm just getting started.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So continue on.∑I'm
12∑∑listening.
13∑∑∑∑∑∑MR. BALLASES:∑There's no question on the
14∑∑table.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're just getting
16∑∑started?
17∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What do you mean by "just
19∑∑getting started" --
20∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Mr. Ballases, what
21∑∑was your objection or your comment?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑There was no question on the table.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Go ahead, Mr. Khawaja.∑If
25∑∑you want to talk, you can talk.∑You said you're just


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∑1∑∑getting started --
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑3∑∑∑∑A.∑Stick --
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you want to --
∑5∑∑∑∑A.∑Stick to the questions, please.∑Stick to the
∑6∑∑questions.
∑7∑∑∑∑Q.∑You're answering -- you're answering the
∑8∑∑questions, so I'm allowing you to finish your answers.
∑9∑∑And you said --
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- you're just getting
12∑∑started.∑What do you mean by, "I'm just getting
13∑∑started"?∑That was your answer.
14∑∑∑∑A.∑Yes.∑We have --
15∑∑∑∑Q.∑(Unintelligible)
16∑∑∑∑A.∑We have a lot of -- we have discovery to
17∑∑complete in this case.
18∑∑∑∑Q.∑And so what do you mean, "I'm just getting
19∑∑started"?∑Elaborate on that --
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Yeah, we need -- we have to complete
22∑∑discovery.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And what evidence or
24∑∑information do you have that my mom is an alter ego of
25∑∑Texas REIT?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑Have you reviewed the -- have you reviewed our
∑3∑∑evidence in this case?∑Have you looked at what we've
∑4∑∑been able to uncover, or no?∑I hope your attorneys
∑5∑∑are sharing it with you.∑There's a lot.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So what evidence do you
∑7∑∑have that Shahnaz Choudhri is an alter ego --
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑-- of Texas REIT?
10∑∑∑∑A.∑There's money flowing through bank accounts.
11∑∑There's checks that she's written to entities that you
12∑∑control.∑There's personal payments going out to her
13∑∑from entities that you control.∑I mean, there's a
14∑∑lot.∑There's a lot.∑We're gonna get into all of
15∑∑that.
16∑∑∑∑Q.∑And so the evidence is all within your
17∑∑pleadings.∑Is that --
18∑∑∑∑A.∑Not all of it.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Not all of it.∑There's just something --
21∑∑there's discovery.∑There's subpoenas.∑There's --
22∑∑there's things.∑There's a deposition coming up that
23∑∑you're aware of that you're gonna try to get out of.
24∑∑We're not gonna let you.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you made statements to


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∑1∑∑third parties that Judge Norman is gonna do whatever
∑2∑∑you ask him to do because you have him on payroll?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑And objection.∑Sidebar.
∑5∑∑∑∑A.∑Man, come on.∑Don't do stuff like that.
∑6∑∑That's gonna get you --
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you made a
∑8∑∑statement to anybody --
∑9∑∑∑∑A.∑-- in a lot of trouble.
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you made --
12∑∑∑∑∑∑THE REPORTER:∑One person at a time, please.
13∑∑∑∑A.∑That's -- that's gonna get you into a lot of
14∑∑trouble with the FBI.∑I wouldn't do that.∑That's a
15∑∑mistake on your part.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever made any
17∑∑statements like that?∑Have you ever made any
18∑∑statements --
19∑∑∑∑A.∑No.
20∑∑∑∑Q.∑-- like that?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑That's very dangerous of you to say that.∑I'm
23∑∑just warning you.∑It's very dangerous.
24∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --


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∑1∑∑∑∑∑∑THE WITNESS:∑Make sure you get a copy of this
∑2∑∑transcript, please --
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- you've never made --
∑4∑∑∑∑∑∑THE WITNESS:∑-- and provide that.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You --
∑6∑∑∑∑∑∑THE REPORTER:∑Sorry --∑okay.
∑7∑∑∑∑A.∑I would stop if I were you.∑I would stop
∑8∑∑right now if I were you.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, please.∑I'm
10∑∑asking the questions.∑Okay?
11∑∑∑∑A.∑Yeah, you are.
12∑∑∑∑Q.∑Have you met with Anthony Gill or Kenneth
13∑∑Shaitelman?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑I'm not gonna --
16∑∑∑∑∑∑(Crosstalk)
17∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct you not
18∑∑to answer.∑That has nothing to do with the proof of
19∑∑claim that was filed or the reason that we've offered
20∑∑to withdraw it, and therefore, I'm instructing not to
21∑∑answer.∑It exceeds the scope of the judge's order.
22∑∑∑∑∑∑So I object to the form of the question.
23∑∑∑∑A.∑I'm not answering.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, were you
25∑∑present on September 6, 2023, when Chris Wyatt, your


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∑1∑∑client, testified on the stand in Judge Manor's court?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I wasn't.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Were you present around
∑7∑∑September 2023 in front of Judge Manor regarding a
∑8∑∑case styled Naissance versus Zaheer?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑I don't even know if I was or not, but that's
11∑∑outside the scope of this purpose of this deposition,
12∑∑so move on.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you aware that Chris
14∑∑Wyatt, your client, testified that he has given you
15∑∑my -- Jetall Companies' hard drive?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑Not -- not in the -- within the scope of this
18∑∑conversation -- I mean this deposition.∑But if he
19∑∑testified to that, I'd have to look back and see.
20∑∑Maybe he did.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Chris Wyatt truthful?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑You hired him.∑What do you think?
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you hired --
25∑∑∑∑∑∑THE WITNESS:∑Look, I'm done, Michael.∑This


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∑1∑∑is it.∑This is getting into things --
∑2∑∑∑∑∑∑MR. BALLASES:∑Okay.
∑3∑∑∑∑∑∑THE WITNESS:∑-- that are unrelated.∑So we
∑4∑∑can --
∑5∑∑∑∑∑∑MR. BALLASES:∑And you've got to go see your
∑6∑∑family --
∑7∑∑∑∑∑∑THE WITNESS:∑I have to go see my family --
∑8∑∑∑∑∑∑MR. BALLASES:∑Then we'll take it up with a
∑9∑∑judge.
10∑∑∑∑∑∑THE WITNESS:∑Thank you.
11∑∑∑∑∑∑(Crosstalk)
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you going to walk out
13∑∑of this deposition?
14∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑No --
17∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a -- sorry.∑One
18∑∑at a time, please.∑Thank you.
19∑∑∑∑∑∑MR. CHOUDHRI:∑I am not done with my --
20∑∑∑∑∑∑THE WITNESS:∑I have a medical --
21∑∑∑∑∑∑MR. CHOUDHRI:∑-- questions.
22∑∑∑∑∑∑THE WITNESS:∑-- emergency.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑If you have a medical
24∑∑emergency, we can agree to a rescheduling.∑Your
25∑∑medical emergency, Mr. Khawaja, is you have a family


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∑1∑∑member in the hospital; correct?
∑2∑∑∑∑A.∑Yes, I do.
∑3∑∑∑∑∑∑MR. BALLASES:∑You don't need to answer any
∑4∑∑more questions.
∑5∑∑∑∑∑∑He has to get out of here.∑You took up enough
∑6∑∑time --
∑7∑∑∑∑∑∑THE WITNESS:∑We'll take it up with a judge.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
∑9∑∑∑∑∑∑MR. BALLASES:∑Do you want a five-minute
10∑∑break, or do you want to start?
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
12∑∑∑∑∑∑MR. BALLASES:∑You go.∑I got it.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- the deposition is still
14∑∑going.∑Are you going to get up and walk out?
15∑∑∑∑∑∑MR. CHOUDHRI:∑Madam Court Reporter --
16∑∑∑∑∑∑MR. BALLASES:∑Yes, he's got to --
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- would you --
18∑∑∑∑∑∑MS. HOOD:∑Okay.∑If I can weigh in here, I
19∑∑had some follow-up questions for him; very few, but I
20∑∑do have follow-up questions.
21∑∑∑∑∑∑MR. BALLASES:∑How much time?∑Like, how much
22∑∑would you estimate, Ms. Hood?
23∑∑∑∑∑∑MS. HOOD:∑Ten minutes.
24∑∑∑∑∑∑MR. BALLASES:∑It's up to you.∑If you've got
25∑∑to get out of here --


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     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  222

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑But I'm not done --
∑2∑∑∑∑∑∑MS. HOOD:∑But it's -- I need -- Mr. Choudhri
∑3∑∑hasn't passed the witness.∑But I did want to go on
∑4∑∑the record that I do have a few more questions for
∑5∑∑him.
∑6∑∑∑∑∑∑MR. BALLASES:∑Okay.∑Well --
∑7∑∑∑∑∑∑THE WITNESS:∑We'll take it up if we need to
∑8∑∑with a judge.
∑9∑∑∑∑∑∑MR. BALLASES:∑Okay.∑Then unless we're going
10∑∑to go directly to your ten minutes, then he's got to
11∑∑get to the hospital.
12∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, if he's got to go
13∑∑to the hospital, is there a mutually agreeable time
14∑∑before he leaves that we can agree to maybe --
15∑∑∑∑∑∑MR. BALLASES:∑No.
16∑∑∑∑∑∑MR. CHOUDHRI:∑-- pick this up?
17∑∑∑∑∑∑MR. BALLASES:∑No.
18∑∑∑∑∑∑MR. CHOUDHRI:∑Are you not agreeing to resume
19∑∑the deposition at a convenient time after his
20∑∑emergency for his visitor -- for his family member in
21∑∑the hospital?
22∑∑∑∑∑∑MR. BALLASES:∑I'm not right now.∑You've had
23∑∑plenty of time to ask questions.∑You've asked
24∑∑questions that had nothing to do with the limited
25∑∑scope of the deposition.∑I let you ask them. I


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∑1∑∑probably shouldn't have.∑And so you used your time as
∑2∑∑you saw fit.
∑3∑∑∑∑∑∑Do you all want to take a two-minute break or
∑4∑∑five-minute break before we start the next one, or no?
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, I am -- this is
∑6∑∑still my deposition that I'm asking questions on. I
∑7∑∑want the record to be clear.∑Have you instructed your
∑8∑∑witness to leave?∑Have you instructed the witness to
∑9∑∑leave --
10∑∑∑∑∑∑MR. BALLASES:∑He's gone.∑Yes, he is gone.
11∑∑He is gone.∑I've instructed him to leave because he
12∑∑has a family member who is dying.∑I don't know how
13∑∑much clearer I can make that.∑Stop repeating
14∑∑yourself.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Well, Mr. Ballases --
16∑∑∑∑∑∑MR. BALLASES:∑So you can either --
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- as you know -- can I finish
18∑∑talking, please, before you keep --
19∑∑∑∑∑∑MR. BALLASES:∑No --
20∑∑∑∑∑∑MR. CHOUDHRI:∑-- cutting me off?
21∑∑∑∑∑∑MR. BALLASES:∑-- you can't.∑You waste
22∑∑everybody's time.
23∑∑∑∑∑∑So we can start with the next deposition.
24∑∑∑∑∑∑It's clear that --
25∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --


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∑1∑∑∑∑∑∑MR. BALLASES:∑-- he's left, and it's clear
∑2∑∑you want to ask questions.
∑3∑∑∑∑∑∑So we can start with the next deposition now
∑4∑∑or in two minutes.∑Please make your decision.
∑5∑∑∑∑∑∑Stephen, if you want to make it because you're
∑6∑∑the lead, that's fine.
∑7∑∑∑∑∑∑MS. HOOD:∑Can I just say on the record that I
∑8∑∑would like to finish my questioning of the deponent
∑9∑∑when he has the next available opportunity that's
10∑∑convenient for everybody so I can ask my four
11∑∑questions.
12∑∑∑∑∑∑MR. BALLASES:∑And I would -- that's fine.
13∑∑You can take it up with the Court.∑He was on record
14∑∑for five hours.∑Take away maybe the 30 minutes where
15∑∑we argued about the judge's oral order.∑Four and a
16∑∑half hours, that's plenty of time for this deposition
17∑∑to go forward and for y'all to complete it.
18∑∑∑∑∑∑We have two more people here, and I have till
19∑∑4:30.∑I'd like to get started to go as fast as
20∑∑possible, but it's y'all's call.
21∑∑∑∑∑∑MS. HOOD:∑Okay.∑Well, I'll just --
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, the time is --
23∑∑the time is 3:30 p.m.∑Is that --
24∑∑∑∑∑∑Or, Court Reporter, would you just confirm
25∑∑what time we have right now?


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     TEXAS REIT LLC                                                                  225

∑1∑∑∑∑∑∑MR. BALLASES:∑No one needs to confirm the
∑2∑∑time.∑Do you want to get started with the next one or
∑3∑∑not?∑I mean, stop wasting everybody's time?
∑4∑∑∑∑∑∑MS. HOOD:∑I just want to -- for my part of
∑5∑∑this, I wasn't -- I didn't adjourn the deposition with
∑6∑∑regard to this deponent for my questioning.∑I was
∑7∑∑waiting for it to come back, to cycle around with me
∑8∑∑again.∑I have a few more questions for him, and I
∑9∑∑want to finish those.
10∑∑∑∑∑∑And I understand he's left, and I understand
11∑∑the basis for it, and I wish all Godspeed to his
12∑∑family member.∑And I don't want to get involved in
13∑∑any sort of issue about whether someone needs to
14∑∑leave, doesn't need to leave, that sort of thing,
15∑∑right?∑I just -- and if we have to go back to the
16∑∑judge for my four questions, I'm happy to do it.
17∑∑∑∑∑∑I just want that on the record for me.∑What
18∑∑the other lawyer does and what Mr. Choudhri does --
19∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
20∑∑∑∑∑∑MS. HOOD:∑-- I'm not in control of that.
21∑∑∑∑∑∑MR. BALLASES:∑I understand.∑You've made
22∑∑it -- you've put it on the record twice.∑That's fine.
23∑∑I understand, and I'll stipulate that you do have more
24∑∑questions.
25∑∑∑∑∑∑Do we want to go to the next witness now?


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, would you at
∑2∑∑least provide, subject to your client's availability,
∑3∑∑times you're available to resume the deposition of
∑4∑∑Omar Khawaja?
∑5∑∑∑∑∑∑MR. BALLASES:∑No.∑No, I will not.∑I've said
∑6∑∑that twice now.
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Are you not --
∑8∑∑∑∑∑∑MR. BALLASES:∑Do we want to move to the next
∑9∑∑deposition?
10∑∑∑∑∑∑MR. CHOUDHRI:∑Are you going to refuse to make
11∑∑him available --
12∑∑∑∑∑∑MR. BALLASES:∑Stop wasting time.∑I'm not
13∑∑going to provide it unless we have an order from a
14∑∑judge.∑Do you understand?∑Stop wasting time.∑We've
15∑∑got a limited amount --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Well, I just want to --
17∑∑∑∑∑∑MR. BALLASES:∑-- of time --
18∑∑∑∑∑∑MR. CHOUDHRI:∑-- get this on the --
19∑∑∑∑∑∑(Crosstalk)
20∑∑∑∑∑∑MR. BALLASES:∑-- basis to take a deposition.
21∑∑∑∑∑∑Do we want to move to the next person or not?
22∑∑Please tell me.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Before --
24∑∑∑∑∑∑MR. BALLASES:∑I would say, Stephen, it's your
25∑∑job to say it.


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∑1∑∑∑∑∑∑MR. SATHER:∑Yeah, I'm prepared --
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
∑3∑∑∑∑∑∑MR. SATHER:∑-- to move to the next --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
∑5∑∑∑∑∑∑MR. SATHER:∑-- witness --
∑6∑∑∑∑∑∑MR. BALLASES:∑All right.∑Let's go.
∑7∑∑∑∑∑∑MR. SATHER:∑Who do you have --
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
∑9∑∑∑∑∑∑MR. SATHER:∑-- up next?
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
11∑∑∑∑∑∑MR. BALLASES:∑Osama.
12∑∑∑∑∑∑THE REPORTER:∑Okay.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
14∑∑∑∑∑∑MR. BALLASES:∑Osama's ready to go.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Time out.∑I just want to get
16∑∑this on the record very clearly, Mr. Ballases.
17∑∑∑∑∑∑MR. BALLASES:∑Oh, Jesus.
18∑∑∑∑∑∑MR. CHOUDHRI:∑I just want to make it --
19∑∑∑∑∑∑MR. BALLASES:∑It's on the record clearly.
20∑∑Stop wasting time.
21∑∑∑∑∑∑MR. CHOUDHRI:∑You are not willing to
22∑∑cooperate to resume the deposition of Omar Khawaja
23∑∑absent a court order.∑Is that your position?
24∑∑∑∑∑∑MR. BALLASES:∑I've stated my position.∑Let's
25∑∑move forward.


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∑1∑∑∑∑∑∑Let's take a two-minute break, and then
∑2∑∑Osama's going to be in this chair.
∑3∑∑∑∑∑∑THE REPORTER:∑Okay.∑So I am going off the
∑4∑∑record.
∑5∑∑∑∑∑∑(End of proceedings at 3:31 p.m.)
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                               EXHIBIT 6




                                                                           000408
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                   THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


                                            )
                                            )
In re:                                      )            Chapter 11
                                            )
GALLERIA 2425 OWNER, LLC,                   )            Case No. 23-34815
                                            )
                              Debtor.       )
                                            )
                ________________________________________________

   ORDER GRANTNG MOTION TO COMPLY WITH THE GATEKEEPING
        PROVISIONS OF THE CONFIRMED CHAPTER 11 PLAN
          _________________________________________________

       BEFORE THE COURT is the Motion to Comply with the Gatekeeping Provisions
of the Confirmed Chapter 11 Plan.

         The Court hereby GRANTS the motion.

      IT IS THEREFORE HEREBY ORDERED that the claims raised by Ali Choudhri
and Naissance Galleria, LLC against the Bank can proceed in the following cases:

               Naissance Galleria, LLC v. Zaheer, et al., Cause No. 2023-
               43755, pending in the 80th District Court of Harris County,
               Texas;

               Galleria 2425, LLC, Naissance Galleria, LLC and Choudhri
               v. NBK, Adversary Case No. 23-06009, pending in this Court;
               and

               Choudhri v. NBK and Zaheer, Adversary Case No. 23-03263,
               pending in this Court.



Dated:                      ______________________________________

                            UNITED STATES BANKRUPTCY COURT




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                               EXHIBIT 7




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               IN RE GALLERIA 2425 OWNER, LLC, CASE NO. 23-34815
                         SERVICE LIST (a/o July 2, 2024)

Debtor:                                   Twenty Largest Creditors:
Galleria 2425 Owner, LLC                  Caz Creek Lending
1001 West Loop South Ste 700              118 Vintage Park Blvd No. W
Houston, TX 77027                         Houston, TX 77070

Debtor’s Counsel:                         Cirro Electric
Reese W. Baker                            P O Box 60004
Baker & Associates                        Dallas, TX 75266
950 Echo Lane Ste 300
Houston, TX 77024                         City of Houston
                                          P O Box 1560
James Q. Pope                             Houston, TX 77251-1560
The Pope Law Firm
616 Savoy Drive Ste 1125                  City of Houston Water Department
Houston, TX 77036                         P O Box 1560
                                          Houston, TX 77251-1560
U.S. Trustee:
Office of United States Trustee           Datawatch Systems
Attn: Jana Smith Whitworth                Suite 200
515 Rusk Street Suite 3516                4520 East West Highway
Houston, TX 77002                         Bethesda, MD 20814

Chapter 11 Trustee:                       Firetron
Christopher R. Murray                     10101A Stafford Centre Dr.
602 Sawyer Street Ste 400                 Stafford, TX 77477
Houston, TX 77007
                                          First Insurance Funding
Chapter 11 Trustee’s Counsel:             450 Skokie Blvd
R. J. Shannon                             Northbrook, IL 60062
Shannon & Lee LLP
2100 Travis Street Ste 1525               Gulfstream Legal Group
Houston, TX 77002                         1300 Texas Street
                                          Houston, TX 77002
Governmental Entities:                    (Returned to Sender / Unable to Forward)
Harris County Tax Assessor
P O Box 4622                              Gulfstream Legal Group
Houston, TX 77210                         720 N Post Oak Rd Ste 355
                                          Houston, TX 77024
Harris County, et al.
P O Box 2928                              Hayward PLLC
Houston, TX 77252-2928                    10501 N Central Expy Ste 106
                                          Dallas, TX 75231-2203




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HNB Construction, LLC                          ADT
521 Woodhaven                                  P O Box 382109
Ingleside, TX 78362                            Pittsburgh, PA 15251

Houston Community College System               Ali Choudhri
c/o Tara Grundemeier                           1001 West Loop South 700
Linebarger, Groggan, Blair & Sampson           Houston, TX 77027
P O Box 3064
Houston, TX 77253-3064                         Ash Automated Control Systems, LLC
                                               P O Box 1113
Houston Independent School District            Fulshear, TX 77441
P O Box 4668
Houston, TX 77210                              CFI Mechanical, Inc.
(Returned to Sender / Unable to Forward)       6109 Brittmoore Rd
                                               Houston, TX 77041
Lexitas
P O Box 734298 Dept 2012                       CNA Insurance Company
Dallas, TX 75373                               P O Box 74007619
                                               Chicago, IL 60674
Nationwide Security
2425 W Loop South Ste 300                      Comcast
Houston, TX 77027                              P O Box 60533
(Returned to Sender / Unable to Forward)       City of Industry, CA 91716

Nichamoff Law Firm                             Environmental Coalition Inc.
2444 Times Blvd Ste 270                        P O Box 1568
Houston, TX 77005                              Stafford, TX 77497

T&R Mechanical                                 Ferguson Facilities Supplies
21710 White Oak Drive                          P O Box 200184
Conroe, TX 77306-8848                          San Antonio, TX 78220
(Returned to Sender / Unable to Forward)
                                               Jetall Companies Inc.
TKE                                            2425 West Loop South Ste 1100
3100 Interstate North Cir SE 500               Houston, TX 77027-4210
Atlanta, GA 30339
                                               Kings 111 Emergency Communications
Zindler Cleaning Service Co.                   751 Canyon Drive Suite 100
2450 Fondren Ste 113                           Coppell, TX 75019
Houston, TX 77063
                                               Logix Fiber Networks
Other Creditors / Interest Holders:            P O Box 734120
2425 WL, LLC                                   Dallas, TX 75373
60 West 2nd Street
Freeport, NY 11746



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Mueller Water Treatment                        Executory Contract Counterparties:
1500 Sherwood Forest Dr                        2425 West Loop LLC dba Metwall Design
Houston, TX 77043                              Solutions LLC
                                               2425 West Loop South Ste 800
Smart Office Solutions                         Houston, TX 77027-4214
6623 Theall Road                               (Returned to Sender / Unable to Forward)
Houston, TX 77066-1213
(Returned to Sender / Unable to Forward)       2425 WL, LLC
                                               13498 Pond Springs Rd
Waste Management                               Austin, TX 78729-442
P O Box 660345                                 (Returned to Sender / Unable to Forward)
Dallas, TX 75266
                                               2425 WL, LLC
Metwall Design Solutions LLC                   700 Lavaca Street Ste 1401
10931 Day Road                                 Austin, TX 78701
Houston, TX 77043-4901                         (Returned to Sender / Unable to Forward)

US Retailers LLC d/b/a Cirro Energy            Bankable Equities
Attn: Bankruptcy Department                    2425 West Loop South Ste 600
P O Box 3606                                   Houston, TX 77027-4203
Houston, TX 77253-3606
                                               Boho Lounge
Naissance Galleria, LLC                        2425 West Loop South Ste 100
c/o Law Office of Nima Taherian                Houston, TX 77027-4205
701 N Post Oak Rd Ste 216                      (Returned to Sender / Unable to Forward)
Houston, TX 77024
                                               CNA Insurance Company
H.N.B. Construction, LLC                       P O Box 74007619
c/o Malcolm D. Dishongh                        Chicago, IL 60674
P O Box 2347
Humble, TX 77347-2347                          Eyebrows 4UTX LLC
                                               2425 West Loop South Ste 340b
CC2 TX, LLC                                    Houston, TX 77027-4205
14800 Landmark Blvd Ste 400
Dallas, TX 75254                               First Insurance Funding
                                               450 Skokie Blvd
MacGeorge Law Firm                             Northbrook, IL 60062
2921 E 17th St Bldg D Ste 6
Austin, TX 78702                               G3 Global Services LLC
(Returned to Sender / Unable to Forward)       2425 West Loop South Ste 310
                                               Houston, TX 77027-4208
MacGeorge Law Firm
701 Tillery Street Ste 12                      Galloworks
Austin, TX 78702                               2425 West Loop South Ste 400
                                               Houston, TX 77027-4205



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Jetall Companies Inc.                           Parties Requesting Notice:
2425 West Loop South Ste 1100                   Jeannie Lee Andressen
Houston, TX 77027-4210                          Tara Grundemeier
                                                Linebarger Goggan Blair & Sampson LLP
Kudrath Enterprises PLLC                        P O Box 3064
2425 West Loop South Ste 350                    Houston, TX 77253-3064
Houston, TX 77027-4208                          Counsel for City of Houston, Houston
                                                Community College System, and Houston
Nationwide Investigations & Security Inc.       ISD
2425 West Loop South Ste 300
Houston, TX 77027-4207                          Rodney Lee Drinnon
(Returned to Sender / Unable to Forward)        McCathern Houston
                                                2000 West Loop South Ste 1850
Shah Sloan LLC                                  Houston, TX 77027
2425 West Loop South Ste 501, 503 and 523       Counsel for Rodney Drinnon
Houston, TX 77027-4205
(Returned to Sender / Unable to Forward)        Susan Fuertes
                                                Harris County Attorney’s Office
SIBS International Inc.                         P O Box 2928
2425 West Loop South Ste 900                    Houston, TX 77252-2928
Houston, TX 77027-4205                          Counsel for Harris County, Attn: Property
(Returned to Sender / Unable to Forward)        Tax Division

SIBS International Inc.                         James Robert MacNaughton
2425 West Loop South Ste 350                    Porter & Powers PLLC
Houston, TX 77027                               5900 Memorial Drive Ste 305
(Returned to Sender / Unable to Forward)        Houston, TX 77027
                                                Counsel for 2425 West Loop, LLC
SprintCom Inc.                                  (Returned to Sender / Unable to Forward)
2425 West Loop South, Rooftop
Houston, TX 77027-4205                          James Robert MacNaughton
(Returned to Sender / Unable to Forward)        Porter & Powers PLLC
                                                1776 Yorktown St Ste 300
St. Christopher Holdings GP LLC                 Houston, TX 77056
2425 West Loop South Ste 700                    Counsel for 2425 West Loop, LLC
Houston, TX 77027-4205                          (Returned to Sender / Unable to Forward)

UL Therapy                                      James Robert MacNaughton
2425 West Loop South Ste 315                    Porter Firm, PLLC
Houston, TX 77027-4211                          2221 S. Voss Road, Suite 200
(Returned to Sender / Unable to Forward)        Houston, TX 77057
                                                Counsel for 2425 West Loop, LLC
Uptown Cosmetic and Implant Dentistry
2425 West Loop South Ste 333
Houston, TX 77027-4211



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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                                          November 01, 2024
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                   HOUSTON DIVISION

IN RE:                                                    §
                                                          §        CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                                 §
                                                          §
          Debtor.                                         §
                                                          §
                                                          §        CHAPTER 11

                                       ORDER DENYING MOTION

         This matter is before the Court on the Motion to Comply with the Gatekeeping Provisions
of the Confirmed Chapter 11 Plan (ECF No. 802) filed by Ali Choudhri. The movant incorrectly
set this matter for hearing for a date that is not available for self-calendaring. Available dates are
listed on the Court’s website.1 Additionally, Bankruptcy Local Rule 9013-1(c) requires pleadings
that may be self-calendared, such as this one, to contain language identifying the time and place
of the hearing after the required notice language.2
         THEREFORE, IT IS ORDERED that the Motion to Comply with the Gatekeeping
Provisions of the Confirmed Chapter 11 Plan is denied without prejudice.
          SIGNED 11/01/2024


                                                              ___________________________________
                                                              Jeffrey Norman
                                                              United States Bankruptcy Judge




1
  The Court’s website is located at: http://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-jeffrey-p-
norman.
2
  “If the motion may be self-calendared, this language must be added at the end of the notice: There will be a hearing
on this motion on [date] at [time] in courtroom _____, [address].”
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               THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION


                                     )
                                     )
In re:                               )           Chapter 11
                                     )
GALLERIA 2425 OWNER, LLC,            )           Case No. 23-34815
                                     )
                         Debtor.     )
                                     )
             ________________________________________________

 MOTION TO COMPLY WITH THE GATEKEEPING PROVISIONS OF THE
                  CONFIRMED CHAPTER 11 PLAN
         _________________________________________________

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU.
IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE
MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE
GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY
BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

THERE WILL BE A HEARING ON THIS MOTION ON DECEMBER 18, 2024
AT 11:00 AM IN COURTROOM 403 AT 515 RUSK ST., HOUSTON, TEXAS
77002.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR RESPECTIVE
ATTORNEYS.




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To the Honorable Court:

       Ali Choudhri 1 hereby files this motion to comply with the gatekeeping provisions

of the confirmed Chapter 11 Plan (Dkt. No. 566) (the “Plan”) and would respectfully show

as follows:

       1.      When the National Bank of Kuwait, S.A.K.B., New York Branch (“NBK”

or the “Bank”) proposed a plan of reorganization in this case (Dkt. No. 194), the Bank

snuck several provisions into its proposed plan that exist solely for its own benefit. The

Bank included itself among the “Exculpated Parties” that enjoy the Plan’s exculpation

provision, and among the “Released Parties” covered by the Plan’s third-party release, even

though the Bank is not a debtor in bankruptcy and has no connection to the Debtor, Galleria

2425 WL Owner, LLC or the bankruptcy estate other than as a lender. (See Plan arts.

I(A)(39) & (78); id. IX(C) & (D)) The Bank also granted itself the benefit of the Plan’s

gatekeeping provision, requiring parties to any litigation against the Bank bearing a

relationship to this bankruptcy—pending in any court, anywhere—to receive approval

from this Court before that litigation can continue. And the parties must obtain that

approval according to a procedure and standards appearing nowhere in the Bankruptcy

Code or the rules of state or federal procedure requiring them to demonstrate those claims



1
  Naissance Galleria, LLC has also raised claims against the Bank, but as the result of an injunction
entered in state court which is presently on appeal, Choudhri is not currently permitted to take
action on Naissance’s behalf. See Appellant’s Opening Br. at 12, Naissance Galleria, LLC v.
Zaheer, No. 01-23-00727-CV (Tex. App. Dec. 18, 2023) For that reason, Choudhri is filing this
motion solely on his own behalf but provides information on the claims brought by Naissance
Galleria, LLC for informational purposes. And because of the factually intertwined nature of the
claims asserted by Choudhri and Naissance, the Court should give Naissance’s claims the same
treatment as Choudhri’s for purposes of satisfying the gatekeeping provision.

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are “colorable.” No legitimate bankruptcy purpose is furthered by extending this

gatekeeping provision to the Bank. And the litigation subjected to the gatekeeping

provision has no connection to, or effect on, the Debtor, the estate, or the Plan’s

consummation. Instead, extending the gatekeeping provision to the Bank is simply the

Bank’s reward for proposing the plan that the Court approved, a plan that already richly

rewards the Bank with the right to credit bid on the valuable asset at the center of this

bankruptcy—at a foreclosure sale the Bank itself arranged.

       2.      The Bank now demands that the Court enforce the terms of the Plan’s

gatekeeping provision and invites the Court to dismiss claims against the Bank in the

following three pending cases (the “Challenged Litigation”):

              Naissance Galleria, LLC v. Zaheer, et al., Cause No. 2023-
              43755, pending in the 80th District Court of Harris County,
              Texas;

              Galleria 2425, LLC, Naissance Galleria, LLC and Choudhri
              v. NBK, Adversary Case No. 23-06009, pending in this Court;
              and

              Choudhri v. NBK and Zaheer, Adversary Case No. 23-03263,
              pending in this Court.


(See Dkt. No. 758 at 2-3; Dkt. No. 771)

       3.     But the Court should reject the Bank’s invitation. Gatekeeper provisions

certainly have their uses. And the Plan’s gatekeeping provision may have some legitimate

use in protecting the Trustee in this case. But the Bank’s demand to invoke that protection

for itself is a bridge too far. This Court’s gatekeeping services are not a party favor that the

Bank can obtain simply by participating in the bankruptcy. Nor are they a convenience

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whereby the Bank can shed liabilities simply because it would like to be rid of them. The

only legitimate purposes for a gatekeeping order include protecting the Debtor, the estate,

and the implementation of a bankruptcy plan. None of those purposes are served here.

Allowing the Bank to make use of the Plan’s gatekeeping provision would therefore

contravene longstanding precedent, exceed the confines of the Bankruptcy Code, and

violate fundamental limits on bankruptcy courts’ jurisdiction. Accordingly, the Plaintiffs

should not be forced to satisfy the Plan’s gatekeeping provision before proceeding.

       4.     But even if the Court did stretch its gatekeeping powers to protect the Bank,

there should be no doubt that each of the cases among the Challenged Litigation satisfies

the gatekeeping provision’s requirements. This Court has already declined to exercise

jurisdiction over one of these cases—finding that it would not “affect assets of the

bankruptcy estate”—and the Court should not revisit that decision to exercise jurisdiction

over that case now. (Order, Adv. No. 23-03259 (Bankr. S.D. Tex. Jan. 11, 2024) [Dkt No.

24]) All three cases concern a core set of operative facts regarding uncontroversial lender-

liability claims that are colorable under any standard, which is why no other court has

dismissed them. This Court should not be the first. The Challenged Litigation should be

permitted to proceed.

                                      BACKGROUND

       5.     The plan of reorganization that the Bank proposed (Dkt. No. 194) and the

Court confirmed (Dkt. No. 566) contains several provisions that protect the Bank and other

non-debtors from claims against other non-debtors. The Plan’s “Exculpation” provision

covers specified “Exculpated Parties,” which are defined to include the Bank (Plan art.

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I(A)(39)), protecting them from liability arising from conduct relating to the bankruptcy

itself, including such actions as “filing, negotiating, prosecuting, administering,

formulating, implementing, soliciting support or acceptance of, confirming or

consummating” the Plan, the Purchase Agreement, or the property to be distributed under

the Plan (id. art. IX(C)).

         6.   The Plan’s “Estate Releases” covers certain “Released Parties,” which are

also defined to include the Bank (Plan, art. I(A)(78)), granting them protection from claims

by “the Debtor” or the “Estate” concerning “the money borrowed by the Debtor” (id. art.

IX(D).

         7.   By their terms, neither of these provisions apply to the Challenged Claims.

While the Bank is both an Exculpated Party and a Released Party, neither of the Plaintiffs

in those cases, Ali Choudhri and Naissance Galleria, LLC (see Dkt. 758 at 2) qualify as

“the Debtor” or part of the “Estate.” Ali is the “Debtor’s principal.” (Id.) And Naissance is

provided mezzanine financing for the Debtors’ purchase of the property at issue. So the

Plan’s Estate Release provision does not apply to these claims. The Exculpation provision

does not apply either, because these claims arose before the bankruptcy and therefore do

not concern any Released Party’s conduct during the bankruptcy.

         8.   Yet oddly, the Plan’s gatekeeper provision provides protection that is broader

than both the Estate Releases and Exculpation provisions. That gatekeeping provision

pertains to any “Person who has held, holds, or may hold Claims” that are “in any way

related to the Debtor,” so long as they are brought “against any Released Party”—even if

the claims themselves are not released under the Estate Releases. (Plan, Art. IX(E)) And

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the gatekeeper provision does not merely apply to claims challenging conduct occurring

during the bankruptcy but covers claims that “arose before the Petition Date.” (Id.) For

these claims, the parties must seek “notice and a hearing” wherein the parties must

demonstrate to the Court that the claims asserted are valid before they can proceed. (Plan,

Art. IX(E)) And to demonstrate the validity of that claim, the party must demonstrate that

the claim is “colorable” and that the party “has standing and is otherwise entitled to assert”

it. (Id.)

        9.    The gatekeeper provision therefore purports to convey to the Bankruptcy

Court the authority to approve, control, adjudicate, and ultimately terminate claims in

pending litigation—including cases pending in other courts—merely because that litigation

is “related to the Debtor,” according to a test and a procedure appearing nowhere in the

Code or the federal rules. It allows the Bank to make use of this power to have the Court

dismiss claims that are not even released under the Plan. And the Bank now invokes this

provision to have the Court terminate all the Plaintiffs’ litigation against the Bank—even

when the courts where that litigation is pending would allow that litigation to proceed, and

even where the litigation at issue would not have any effect on the bankruptcy estate itself.

That is not something the Court can do—nor is it something the Court should do.

                                        ARGUMENT

I.      The Bank cannot invoke the Plan’s gatekeeping provision to dismiss any of the
        claims against the Bank in the Challenged Litigation.

        10.   The Court should not dismiss any of the claims asserted against the Bank in

the Challenged Litigation because none of those claims can properly be subject to the

Plan’s gatekeeping provision. So the Plaintiffs are not required to obtain the Court’s
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approval before pursuing them. And even if the Plaintiffs are required to obtain the Court’s

gatekeeping approval to proceed on these claims, Plaintiffs can readily make the showing

required to obtain that approval, because Plaintiffs’ claims are grounded in theories of

lender liability personal to them that have long been recognized under Texas law. That

makes them colorable by any standard.

       A.     Bankruptcy courts’ gatekeeping powers can only be invoked to
              protect trustees and other court-appointees—not private
              parties serving in no official bankruptcy capacity like the Bank.

       11.    The first problem with the Bank’s invocation of the Court’s gatekeeping

authority is that the Bank’s demand exceeds the limited authority that bankruptcy courts

possess to approve, control, adjudicate, or terminate claims in pending litigation. There is

nothing in the Bankruptcy Code that conveys such gatekeeping power to bankruptcy courts.

Instead, that power is derived from the century-old Supreme Court case, Barton v.

Barbour, 104 U.S. 126 (1881). “Under the ‘Barton doctrine,’ the bankruptcy court may

require a party to ‘obtain leave of the bankruptcy court before initiating [or maintaining]

an action in district court when the action is against the trustee or other bankruptcy-court-

appointed officer, for acts done in the actor’s official capacity.’” NexPoint Advisors, L.P.

v. Highland Capital Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 48 F.4th 419, 439 (5th

Cir. 2022) (quoting Villegas v. Schmidt, 788 F.3d 156, 159 (5th Cir. 2015) (emphasis

added)). The Barton doctrine was created to “prevent trustees from being subject to legal

proceedings that interfere with their ability to administer the estate.” In re Cir. City Stores,

Inc., 557 B.R. 443, 447 (Bankr. E.D. Va. 2016); see also generally COLLIER ON

BANKRUPTCY ¶ 10.01 (16th ed. 2023) (citing and discussing cases). The doctrine therefore

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serves to protect trustees and other bankruptcy-court appointees from vexatious and

harassing litigation that could drain the estate and hamper bankruptcy plan implementation.

       12.     There are several reasons why the Bank cannot legitimately invoke the

Barton doctrine to have the Court terminate any claims against the Bank in the Challenged

Litigation. For one thing, because the Barton doctrine exists only to protect trustees and

other bankruptcy-court appointees, it cannot be invoked by private parties like the Bank

that are not serving in any official court-appointed capacity. Indeed, in Highland Capital,

the Fifth Circuit refused to “extend gatekeeping protections to non-debtors,” including

Highland’s interim CEO. Matter of Highland Cap., 48 F.4th at 435–39 (vacating

gatekeeping provision “as to all parties except Highland Capital, the Committee and its

members, and the Independent Directors for conduct within the scope of their duties”). And

the Fifth Circuit’s only recent opinion that actually applies the Barton doctrine did so in

the context of a trustee, not a private corporation with no official bankruptcy role. See In

re Foster, No. 22-10310, 2023 WL 20872, at *5–*6 (5th Cir. Jan. 3, 2023). For this reason

alone, the Bank is not entitled to invoke the Bankruptcy Court’s gatekeeping authority.

       13.     Furthermore, not only are Barton’s gatekeeping protections reserved for

actors appointed to serve in official bankruptcy capacities, they only protect those actors

for actions taken within the scope of their “official duties.” 2 But the Bank has no official




2
  In re Ondova Ltd. Co., 914 F.3d 990, 993 (5th Cir. 2019); see also In re Christensen, 598 B.R.
658, 665 (Bankr. D. Utah 2019); Phoenician Mediterranean Villa, LLC v. Swope (In re J & S
Props., LLC), 545 B.R. 91, 105 (Bankr. W.D. Pa. 2015). A typical example is litigation against a
receiver who seizes or otherwise attempts to administer property that is not receivership property,

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duties in implementing the Plan or overseeing the Debtor’s dissolution. The foreclosure

sale at the center of the bankruptcy will be conducted and overseen by the Liquidation

Trustee. (See Plan, art. VI(A)) The only duties that the Plan specifically assigns to the Bank

are purely ministerial. And the only substantive right that the Plan provides to the Bank is

the completely voluntary (and unofficial) right to credit bid the amount of its debt at the

foreclosure sale for its own private benefit, which comes with a contractual promise to pay

certain junior claims if its bid is successful. (See Plan, Introduction) The Challenged

Litigation does not contest the Bank’s exercise of any of these powers, rights, or

responsibilities conveyed under the Plan. That litigation pertains only to the Bank’s pre-

bankruptcy conduct that arose long before the Plan was ever proposed. For this additional

reason, Barton does not apply.

       14.   Indeed, the only reason the Plan contains gatekeeping protections for the Bank

is that the Bank proposed the Plan—and thus snuck that protection into the Plan for itself,

demanding it as a condition to undertaking its minimal responsibilities in implementing the

Plan. And the Bank did not seek this protection to benefit the estate, but simply to allow it

to escape litigation it would rather not face. That is not a legitimate use of Barton

gatekeeping powers. The Fifth Circuit has held that even when private parties face

“exposure” to truly “vexatious” and frivolous litigation, bankruptcy courts are not

empowered to use gatekeeping powers to halt it. See Highland Capital Mgmt., 48 F.4th at




but actually belongs to a third party. See In re DMW Marine, LLC, 509 B.R. 497, 506 (Bankr. E.D.
Pa. 2014) (citations omitted).

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430, 440 n.19. And as explained below—the Challenged Litigation is neither vexatious nor

frivolous.

       B.     Bankruptcy courts’ gatekeeping powers have been significantly
              constrained by the Supreme Court’s decision in Purdue
              Pharma.

       15.    In any event, whatever gatekeeping powers bankruptcy courts possess have

been significantly constrained by the Supreme Court’s recent decision in Harrington v.

Purdue Pharma L.P., 144 S. Ct. 2071 (2024) (“Purdue Pharma”), which held that “[t]he

bankruptcy code does not authorize a release and injunction that, as part of a plan of

reorganization under Chapter 11, effectively seek to discharge claims against a nondebtor

without the consent of affected claimants.” Id. A bankruptcy court’s exercise of its

gatekeeping authority to dismiss litigation against non-debtors is the functional equivalent

of the non-consensual releases outlawed by Purdue Pharma—especially when used to

dismiss litigation pending in other courts. Both involve exercises of authority to control,

adjudicate, and ultimately terminate claims in litigation without consent, and without

consideration—and Purdue Pharma confirms that this something that bankruptcy courts

are not empowered to do.

       16.   For all these reasons, allowing the Bank to terminate the Challenged

Litigation would exceed the Court’s legitimate authority to impose gatekeeping conditions

under Barton. If the Bank wants to halt this litigation, it can do so through established

procedural mechanisms in the Challenged Litigation.

       C.     The Court would exceed its jurisdiction by dismissing the
              Challenged Litigation.

       17.    The Court would also exceed its jurisdiction by using the gatekeeping powers
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provided under the Plan to adjudicate and dismiss the Challenged Litigation. The Bank

seeks only to dismiss litigation against itself, and dismissing that litigation affects only the

Bank—having no conceivable effect on the Debtor or the estate. Indeed, on January 11,

2024, this Court remanded one of the proceedings among the Challenged Litigation—

Cause No. 2023-43755—back to the 80th District Court of Harris County because it

determined that “all the causes of action constitute claims rooted in Texas state law,” “there

are no bankruptcy issues or claims in the state court litigation,” and “there has been no

showing that the remand would affect assets of the bankruptcy estate.” (Case No. 23-03259

[Dkt No. 24] (Bankr. S.D. Tex. Jan. 11, 2024)) The same is true of the other cases in the

Challenged Litigation—because, as the Bank insists, these cases all share the same “basic

facts and claims.” (Dkt. No. 758 at 4) But that shared lack of connection to the estate

deprives the Court of jurisdiction to resolve any of these cases through its gatekeeping

powers.

       18.    As the Fifth Circuit recognized in Highland Capital, the question of whether

a claim may be resolved by a bankruptcy court through exercise of gatekeeping powers

under Barton is entirely separate from the question of whether the Court has jurisdiction

to resolve that litigation. 48 F.4d at 439 (holding, after approving of a gatekeeping

provision to protect certain court-appointed officials, that “the bankruptcy court, faced with

pre-approval of a claim” on remand, would still have “to determine whether it had subject

matter jurisdiction over that claim in the first instance.”). That makes sense, because the

mere fact that the Plan contains a gatekeeping provision does not confer jurisdiction to

resolve claims under that gatekeeping power: “[P]arties cannot confer subject matter

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jurisdiction on federal courts,” including through a bankruptcy plan. Randall & Blake Inc.

v. Evans, 196 F.3d 579 (5th Cir. 1999).

       19.    Instead, “[j]urisdiction for bankruptcy cases is rooted in the provisions of 28

U.S.C. § 1334.” Matter of Walker, 51 F.3d 562, 568 (5th Cir. 1995) (citing Celotex Corp.

v. Edwards, 514 U.S. 300, 303 (U.S.1995) (stating that “[t]he jurisdiction of the bankruptcy

courts ... is grounded in and limited by statute”)). And a “third-party action” between two

non-debtors “does not create ‘related to’ jurisdiction” under section 1334 “when the asset

in question is not property of the estate and the dispute has no effect on the estate.” Feld v.

Zale Corp. (In re Zale Corp.), 62 F.3d 746, 753 (5th Cir. 1995). Accordingly, because the

claims against the Bank asserted in the Challenged Litigation do not have any effect on the

estate, the Court lacks jurisdiction to hear them—much less dismiss them.

       20.    It does not matter that the Plan’s gatekeeper provision requires that the

dispute must be “related to the Debtor” to fall within its scope. (Plan, art. IX(E)). Mere

“shared facts between the third-party action and a debtor-creditor conflict do not in and of

themselves suffice to make the third-party action ‘related to’ the bankruptcy.” In re Zale

Corp., 62 F.3d at 753. Accordingly, a mere factual interrelationship between the

Challenged Litigation and the arguments asserted in the bankruptcy does not convey

jurisdiction to the Court to resolve that litigation.

       21.    The Bankruptcy Court therefore lacks the power to require the Plaintiffs to

comply with the gatekeeping orders to maintain that litigation, and the Plaintiffs in the

Challenged Litigation are not required to obtain this Court’s permission before maintaining

it. See Tufts v. Hay, 977 F.3d 1204, 1210-11 (11th Cir. 2020) (“Thus, under the

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‘conceivable effects’ test for section 1334(b), the Bankruptcy Court did not have

jurisdiction to consider Tufts’s action, and Tufts counsel were not required to obtain leave

from that court before filing this action in the District Court.”).

II.    The claims raised against the Bank satisfy the Plan’s gatekeeping provision
       because they raise colorable lender-liability claims that the Plaintiffs have
       standing to pursue.

       22.    Yet even if the Plaintiffs’ claims against the Bank in the Challenged

Litigation may be properly subjected to the Plan’s gatekeeping provision, those claims

satisfy the gatekeeping provision’s standard for obtaining this Court’s permission to

maintain those claims.

       23.    The remaining two actions include claims against the Bank, but these claims

easily satisfy the gatekeeping provision’s low threshold for maintaining a claim. Two of

these cases originated in state court, and one was remanded in January. (Case No. 23-03259

[Dkt No. 24] (Bankr. S.D. Tex. Jan. 11, 2024)) The final case is an adversary proceeding

that the Debtor filed in this court in conjunction with its original bankruptcy. See Exhibit

1 (Original Complaint, No. 23-06009 (Bankr. S.D. Tex. Sept. 19, 2023) [Dkt. No. 1]) And

the claims raised against the Bank in both cases are “colorable.”

       24.    The term “colorable” is not defined in the Plan or in the gatekeeping

provision, but it nevertheless invokes the exceptionally low standard for determining

whether a defendant has been fraudulently joined to avoid diversity jurisdiction. See

Overholt v. Purina Animal Nutrition LLC, Case No. 1:14-CV-1216, 2015 WL 1631855, at

*2 (W.D. Mich. Apr. 13, 2015) (“Under the fraudulent joinder rule, courts may disregard

the citizenship of parties against whom there is no ‘colorable’ cause of action.”). This

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standard is “similar to, but more lenient than, the analysis applicable to a Rule 12(b)(6)

motion to dismiss.” Casias v. Wal-Mart Stores, Inc., 695 F.3d 428, 433 (6th Cir. 2012).

And even under a Rule 12(b)(6) analysis, the standard that courts apply is decidedly lenient

and plaintiff-friendly, requiring a court to evaluate the sufficiency of plaintiff’s complaint

by accept[ing] all well-pleaded facts as true, viewing them in the light most favorable to

the plaintiff.” In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir.

2007) (internal quotation marks and alteration omitted). The Court must resolve all

disputed questions of fact and ambiguities in the controlling state law in favor of the non-

removing party. Coyne, 183 F.3d at 493. And to be “colorable,” a claim need not meet “the

stricter 12(b)(6) pleadings under Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) and

Ashcroft v. Iqbal, 556 U.S. 662 (2009).” Overholt, 2015 WL 1631855, at *7-8.

       25.    Plaintiffs’ remaining claims against the Bank readily meet this lenient

standard. The cases concern a common core of operative facts underlying all three cases in

the Challenged Litigation relating to the Bank’s efforts to foreclose on the Debtor’s

property so it could obtain that property for itself. See The Bank loaned the Debtor over

$50 million to purchase the property (Dkt. No. 565 at 4), but throughout the life of the loan,

the Bank made it progressively more difficult for the Debtor to pay that loan back. As

Plaintiffs have alleged in the state court proceedings, the Bank inserted itself directly into

the Debtor’s business operations, interfering with those business operations in numerous

unjustified ways. Exhibit 2 (Plaintiff’s Sixth Amended Petition, No, 2023-22748 (Harris

County Dist. Ct. Dec. 18, 2023). And the pleadings in Case No. 23-6009, the adversary

proceeding which remains pending in this Court, contains similar allegations of

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interference by the Bank. (Ex. 1, ¶¶9-21)

       26.       For example, the Bank thwarted the Debtor’s efforts on at least five different

occasions to sell interests in the building that would have cleared the Bank’s debt—often

through strategic declarations of defaults or foreclosure postings designed to discourage

prospective buyers. (See Ex. 2, ¶¶ 22, 31- 33) The Bank likewise refused to approve or

ignored at least nine different offers to lease space in the building, thereby preventing the

Debtor from raising funds to pay off the loan, eventually forcing the Debtor to bring suit.

(Id. ¶¶23, 27)

       27.       After the parties settled their litigation through a Confidential Settlement

Agreement (Dkt. No. 403-4) hat reduced the principal amount due under the loan, Plaintiff

alleged that the Bank improperly disclosed the terms of the Confidential Settlement

Agreement in direct violation of its express confidentiality obligations by disclosing the

new loan balance to potential purchasers of the property, thereby revealing the Debtor’s

financial struggles, improperly impacting these prospective buyers’ evaluation of the

property’s market value, “chill[ing] the market” for the property, and converting these

potential buyers who would have negotiated a sale with the Debtor into potential purchasers

of the Bank’s note. (See Ex. 2, ¶¶28-29, 63-64)

       28.       The Bank also actively attempted to wrest control of the Debtor and its

property from Choudhri by interfering with Choudhri’s control of Naissance. The Bank

worked in league with Azeema Zaheer, Choudhri’s ex-girlfriend, who acted as his agent in

running Naissance until Ali exercised his right to take over control of the company from

her. (See Ex. 2, ¶¶ 36-46) And these efforts by the Bank and Zaheer were all part of a larger

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effort by Choudhri’s disgruntled business partner, Osama Abdullatif, to seize Choudhri’s

business interests by brute force and fraud. Abdullatif has arranged to have hard drives

seized from Choudhri’s companies (Exhibit 3 at 1 [Declaration of Quanell X Farrakhan

No. 1]) He has also even arranged for Choudhri to be accused of a murder-for-hire plot to

kill Abdullatif himself, which authorities dismissed as “a hoax.” (Id.; see also Exhibit 4

[Quanell X Farrakhan Aff. No. 2]) And Omar Khawaja, an attorney and close business

associate of Abdullatif, admits to representing Abdullatif and Zaheer in furtherance of

Abdullatif’s avowed goal of seizing all of Choudhri’s business interests through

litigation—under their theory: “If [Ali] own[s] it, we own it.” (Exhibit 5 [Deposition of

Omar Khawaja] at 23: 30: 17-21; 163:8-165:2; 194:3-6)

      29.    Plaintiffs supported these allegations with voluminous documentary

evidence, including examples of lease proposals that were rejected or ignored and elicit

communications between Bank representatives and Zaheer. (See Ex. 2, pp. 6-7, 8, 9)

Indeed, Plaintiffs produced a key document in their pleadings in which the Bank

encouraged Zaheer to “stay on” until the Bank could find a “suitable replacement for her,”

even after Choudhri had exercised his right to regain control over the company, thereby

demonstrating the Bank’s intentional efforts to interfere with Choudhri’s management of

Naissance. (See Dkt. No. 88-29 at 1-2) The operative pleadings in these actions raise

numerous claims against the Bank, including breach of contract, tortious interference,

fraud, business disparagement, breach of the duty of good faith and fair dealing, unjust

enrichment, and conspiracy. See Ex. 2, ¶¶ 62, 104)

      30.    The Plaintiffs have also alleged how the Debtor, Naissance, and Choudhri all

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experienced independent injuries from the Bank’s conduct: While the Debtor was deprived

of its right to survive and thrive as an ongoing business, Naissance and Choudhri suffered

their own loss of a significant asset. And this establishes that Naissance and Choudhri each

have standing to pursue claims against the Bank independently.

       31.    While the facts alleged in the Challenged Litigation paint an extraordinary

factual picture, they nevertheless present classic lender liability claims that have long been

recognized under Texas law. Such lender-liability claims frequently involve both breach-

of-contract and tort claims. See Williams v. National Mortg. Co., 903 S.W.2d 398, 404

(Tex. Ct. App. 1995); Jones v. First Nat’l Bank of Anson, 846 S.W.2d 107, 109 (Tex. Ct.

App. 1992, no writ) (concerning causes of action for breach of duty of good faith and fair

dealing, breach of fiduciary duty, negligent misrepresentation, conversion, estoppel, and

violations of the Deceptive Trade Practices Act); Lamar Sav. Ass’n v. White, 731 S.W.2d

715, 717-18 (Tex. Ct. App. 1987) (causes of action for breach of contract, breach of

fiduciary duty, usury, duress, estoppel, and tortious interference).

       32.    And courts have found such lender-liability claims to be viable under factual

circumstances that are virtually identical to those at issue in this case. Texas courts have

found that lenders can be held liable for wrongful defaults and wrongful acceleration. See,

e.g., Rey v. Acosta, 860 S.W.2d 654 (Tex. Ct. App. 1993); Dixon v. Brooks, 604 S.W.2d

330, 334 (Tex. Ct. App. 1980). Courts also routinely permit lenders to be held liable in the




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context of improper refusals to approve leases. 3 And courts have even allowed borrowers

to maintain claims that banks have conspired with others to interfere with their borrowers’

businesses. See, e.g., State Nat’l Bank v. Farah Mfg. Co., 678 S.W.2d 661 (Tex. Ct. App.

1984). Indeed, the Bankruptcy Court for the Northern District of Texas recently found a

lender liable under factual circumstances that are equally extreme to this case. See Bailey

Tool & Mfg. Co., et al. v. Republic Bus. Credit (In re Bailey Tool & Mfg. Co.), Adv. No.

16-03025-SGJ (Bankr. N.D. Tex. December 23, 2021) (holding lender liable under

numerous theories for, among other things, taking aggressive action to protect its interests,

impacting the company’s liquidity, and communicating in secret with the company’s

customers to have them pay the bank instead of the company). These cases demonstrate

that the legal theories that Plaintiffs have asserted are well-founded in Texas law, and the

allegations, while extraordinary, are hardly implausible. And that is why no court has ever

dismissed them. That makes them colorable.

       33.    And while, during plan confirmation, the Court concluded that these claims

were “implausible” and “not viable” (Dkt. No. 565 at 17), Plaintiffs respectfully submit

that these determinations should not be the Court’s final word on the matter. During plan

confirmation, the Plaintiffs were not permitted to present, and the Court was not permitted

to hear, a full airing of the evidence to support the Plaintiffs’ claims. It heard a mere

summary. But even in that limited summary, the Court heard testimony from two of the




3
 See, e.g., Metropolitan Corporate Counsel, Liability Awaits the Unwary: Lenders and Leasing
Decisions (Dec. 13, 2004), https://bit.ly/4e6fGe7.

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state’s most respected attorneys, Tom Phillips, former Chief Justice of the Texas Supreme

Court, and Jerry Alexander, both of whom felt the claims were so strong that they were

both willing to take the case on contingency. (See Dkt. No. 570) While the Court discounted

that testimony because the lawyers explained only that the Debtor “had claims” but never

“explained how or why these claims arose,” those questions are answered by the operative

pleadings in the pending litigation, which provide extensive factual detail and evidence

regarding the origin and basis for these claims. (Dkt. No. 565 at 17)

       34.    The Court made barely any mention of the factual or legal merits of those

claims. Instead, the Court simply found the claims incredible, questioning why the Debtor

had “never been able” to pay the note, determining that it was unlikely likely that the Bank

had “breached” the Settlement Agreement first, excusing the Debtor’s own failure to pay,

and challenging Choudhri’s credibility as a witness. (Dkt. No. 565 at 17) But the first of

these holdings ignore the Plaintiffs’ factual allegations—which the Court must accept as

true—that the Bank interfered with the Debtor’s ability to pay the note. And the latter two

should not weigh in the balance in determining whether Plaintiffs’ claims against the Bank

are “colorable,” which requires examining solely the allegations pleaded and setting aside

questions of witness credibility. Indeed, the fact that two well-respected Texas attorneys

are willing to pursue the litigation on a contingency basis provides ample evidence that the

claims are in fact “colorable.”

       35.    Finally, while the Court expressed concern about the motivations behind

these various pieces of litigation, concluding that they were primarily meant “to postpone

a real estate foreclosure” (Dkt. No. 565 at 16), those concerns are unfounded. Lender

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liability claims are frequently asserted in efforts to halt foreclosure. See, e.g.,

Williams, 903 S.W.2d at 404; Jones, 846 S.W.2d at 109. And the factual context in which

those claims arose does not undercut their viability.

                                       CONCLUSION

       For these reasons, Ali Choudhri respectfully requests that this Motion to Comply

with the Gatekeeping Provisions of the Confirmed Chapter 11 Plan be granted, and that

none of the claims in the challenged litigation should be dismissed.

                                               Respectfully submitted,

                                               /s/ J. Carl Cecere

                                               J. Carl Cecere
                                                State Bar No. 13268300
                                                (admitted pro hac vice)
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                                                  Counsel for 2425 WL, LLC and Ali
                                                  Choudhri




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                             CERTIFICATE OF SERVICE

       The undersigned certifies that on October 30, 2024, a true and correct copy of
the foregoing was served via the Court’s CM/ECF system to all parties who
are deemed to have consented to ECF electronic service, and via U S
mail, including to each of the parties listed below.

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                                              J. Carl Cecere


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                               EXHIBIT 1




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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

                                                   §
In re:
                                                   §
                                                   §     Case No. 23-60036
GALLERIA 2425 OWNER, LLC
                                                   §     (Chapter 11)
                                                   §
         Debtor,
                                                   §
                                                   §
GALLERIA 2425 OWNER, LLC,                          §
NAISSANCE GALLERIA, LLC, AND                       §
ALI CHOUDHRI                                       §
                                                   §
         Plaintiffs,                               §     Adversary No. ________
                                                   §
v.                                                 §     CONTAINS JURY DEMAND
                                                   §
NATIONAL BANK OF KUWAIT, S.A.K.P.,                 §
NEW YORK BRANCH                                    §
                                                   §
         Defendant.                                §

              GALLERIA 2425 OWNER, LLC, NAISSANCE GALLERIA, LLC,
               AND ALI CHOUDHRI’S ORIGINAL COMPLAINT AGAINST
              NATIONAL BANK OF KUWAIT, S.A.K.P., NEW YORK BRANCH

         COME NOW Galleria 2425 Owner, LLC, Naissance Galleria, LLC, and Ali Choudhri

(“Plaintiffs”), and make and file this their Original Complaint against National Bank of Kuwait,

S.A.K.P., New York Branch (“Defendant”), and for same show the Court as follows:

                                           I.
                                 JURISDICTION AND VENUE

         1.      This Court has personal jurisdiction over the Defendant named in this Complaint

due to the fact that the Defendant transacts business in the State of Texas, including entering into

a contract with a resident of the State of Texas performable in whole or in part within the State of

Texas, or have committed a tort in whole or in part in Texas and are thus subject to the Texas Long



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Arm Statute, Section 17.042 of the Texas Civil Practice and Remedies Code. The Court also has

personal jurisdiction over the Defendants pursuant to 29 U.S.C. §1132(f).

       2.      The Court has subject matter jurisdiction of this Adversary Proceeding pursuant to

28 U.S.C. § 1334.

       3.      This adversary proceeding constitutes a core proceeding under 28 U.S.C. §

157(b)(2)(A), (B), (C), (D), (H), and (O) because it will determine the amount of NBK’s claim

against the Debtor. To the extent the Court determines that any of the claims asserted herein are

not core, the Plaintiffs hereby request and demand a trial by jury.

       4.      Venue of the Bankruptcy Case and the Adversary Proceeding is appropriate in this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                              II.
                                            PARTIES

A.     Galleria 2425 Owner, LLC.

       5.      Galleria 2425 Owner, LLC (“Debtor”) is a limited liability company doing business

in Texas and is the owner of the building located at 2425 West Loop S., Houston, Texas (“2425

Building”). It is the Debtor in the bankruptcy case in which this Adversary is filed.

       6.      Naissance Galleria, LLC is a limited liability company doing business in Harris

County, Houston, Texas.

       7.      Ali Choudhri is an individual residing in Harris County, Texas.

       8.      Defendant National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) is a

banking corporation organized under the laws of Kuwait, acting through its New York Branch.

Defendant has not designated a registered agent for service of process in the State of Texas, but

under Rule 7004(a)(8) of the Federal Rules of Bankruptcy Procedure, NBK may be served by

mailing a copy of the Complaint to Corporation Service Company, 299 Park Avenue, New York,


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New York 10171. Plaintiff requests that the clerk issue citation at this time. NBK has also filed a

motion to dismiss the bankruptcy of Debtor and it and its counsel will be served by ECF in that

proceeding.

                                          III.
                                   FACTUAL BACKGROUND

       9.      In 2018, Defendant NBK loaned certain funds to Debtor. There have been various

disputes between the Debtor and NBK about the timeliness of payments and the extent and validity

of Defendant’s security, but the gravamen of Debtor’s Complaint is NBK has continually

interfered with the Debtor’s ability to lease the 2425 Building to produce revenue and Debtor’s

ability to sell the 2425 Building to pay NBK off. Every time NBK has so interfered, it has then

blamed the Debtor for its inability supposedly to meet some of the loan terms.

       10.     For example, in January 2021, Plaintiff Ali Choudhri, who is vilified by NBK in

various pleadings, had the building at 2425 West Loop South, Houston, Texas, the asset of the

Debtor, sold for a purchase price of $85 million, more than enough to clear NBK’s debt. Attached

hereto as Exhibit 1 is a letter dated January 15, 2021 from SIBS International and two purchase

contracts which would have paid off not only NBK, but left the Debtor and the other Plaintiffs

with a great deal of value. NBK, rather than facilitate this sale, issued a formal notice of default

to the Debtor and its intent to accelerate the loan on June 29, 2021, while the SIBS International

deal was in progress, killing that deal.

       11.     The same was true with regard to NBK’s interference with the Debtor’s attempt to

lease space in the building to provide revenue so it could operate and make loan payments. By

August 2021, this situation had become untenable due to NBK’s refusal to approve new tenants

and new leases, prompting the Debtor on August 13, 2021 to send NBK a detailed letter regarding

lease-up and renewal prospects for discussions, none of which, it seemed NBK would approve.


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            Healthcare Service Organization

               ▪    Size: 130,000+ RSF – large client requirement in their preliminary planning stages:
                    Industry: Healthcare Service Organization Type of use: Administration Offices
                    Direct/Sublease Commencement date: Q3/2023 Term:5-10 yrs.                They are
                    specifically VERY interested in amenities available, for example: deli, gym, day care,
                    conference center (# of seats), training center (# of seats).

            Invesco

               ▪    We met with the team twice and are actively pursuing them for 2425. They are
                    interested in a 157-month lease term for 208,830 SF of Net Rental Area.

            Financial Services Firm

               ▪    Office AREA: West Houston (610 West, Hwy 290, Beltway 8) SPACE: Open Concept
                    SIZE: Approximately 20,000 – 25,000 rsf PARKING: 5/1000 ratio OCCUPANCY:
                    Late 2Q22/Early3Q22 TERM: 36-60 months with renewal options This tenant is
                    currently at 24 Greenway on their top floor and have been looking at other A buildings.

            Beyond Finance

               ▪    We are discussing a 68-month lease term for +/- 40,000 rentable SF.

            Banco Affirme

               ▪    We submitted a 64-month lease term for 4,545 SF of Net Rental Area.

            Walls Bank (existing tenant)

               ▪    Renew 3,054 SF of rental space for 60-month term starting January 1, 2022.

            Others (working directly with ownership)

               ▪    ResMed (https://www.resmed.com/en-us/), interested in the entire building, working
                    directly with Dr. Peter Farrell, Founder and Chairman

               ▪    Healthstore Holdings (https://www.healthstore.com/), interested in a 15-year term with
                    80,000 SF in phase 1 and 75,000 SF in 12 months as phase 2

               ▪    Immunicom (https://immunicom.com/), interested in at least two full floors, moving HQ
                    from San Diego, CA

       12.      Reproduced below is an August 16, 2021 email from counsel for the Debtor to NBK

forwarding multiple leases for approval that NBK had failed to approve or even respond to.




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This lack of approval, or finding obstacles to approve, was not new. In September 2019, Related

Group had reached out to lease the parking garage located at the 2425 Building to be used for

overflow, for parking up to 110 spaces. NBK’s authorized representative Michael Carter would

not approve this lease (note “nbkny” email address below– i.e. National Bank of Kuwait, New

York Branch), which would have generated a great deal of revenue for the Debtor.




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       13.     The situation became so untenable that in September 2021, Debtor initiated a

lawsuit against NBK.

       14.     In good faith, even during the pendency of this litigation, the Debtor was still trying

to get tenants into the building and get NBK’s approval to do so, so it would not claim additional

breaches of loan agreements. On July 2, 2022, the Debtor sent NBK five leases for approval,

which NBK did not approve.

       15.     The parties litigated for eleven (11) months until August 22, 2022, when they

entered into a Confidential Settlement Agreement. The entire Confidential Settlement Agreement

will be submitted to the Court in camera at the appropriate time, and the Debtor should be allowed

to use it in this Adversary since the breach of that Settlement Agreement by NBK is not only

actionable, but was also devastating to Debtor. Because NBK has a way of interpreting any action

of the Debtor as one to breach or avoid some purported contractual obligation or other, when the

reverse is entirely true, the Confidential Settlement Agreement has not been attached. NBK has

prevented Debtor’s successful performance under any and all agreements it has with NBK,

including the Confidential Settlement Agreement.



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       16.     The Confidential Settlement Agreement permitted a timeframe in which Debtor

could sell the 2425 Building, and Debtor was successful in receiving a hard Letter of Intent dated

January 17, 2023 to purchase the building from Caldwell Soames. A true and correct copy of that

hard Letter of Intent is attached hereto as Exhibit 2. Again, while these negotiations were ongoing,

NBK took actions which interfered with the continuation and closing of that transaction, including

issuing a notice of foreclosure on March 29, 2023 in breach of the Confidential Settlement

Agreement, which Debtor believes was done intentionally to prevent the sale. The sale would

have cleared the Bank of Kuwait debt as it stood at that time and left great value for the other

Plaintiffs. Debtor believes that Bank of Kuwait recognized that greater value and wanted to take

it for itself by foreclosure in a “loan to own” gambit.

       17.     There are tremendous factual inaccuracies that NBK represents to courts and

continues into these proceedings. For example, in its Motion to Dismiss the Debtor’s Bankruptcy,

while it is absolutely true that temporary restraining orders were filed to attempt to prevent a

foreclosure by NBK and its takeover of the 2425 Building, they were also granted. The facts

presented that NBK had not allowed the Debtor to lease up the building to generate revenue and

had killed two transactions that Debtor was working on that would have cleared NBK and left

value for the Debtor and the other Plaintiffs.

       18.     Additionally, NBK posted for foreclosure in 2023 early, and against an extended

grace period that a State Court had given Debtor, which chilled the bidding process and interest in

the 2425 Building completely. No one wants to buy a building posted for foreclosure. Debtor

believes that NBK knew this and did it on purpose to prevent the Debtor from successfully selling

the property and paying off the loan, so NBK could foreclose and become the owner of the 2425

Building.



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       19.     Not the least of the misstatements that NBK makes about the Debtor are those hard

statements that the Debtor has not made any payments to NBK since March 6, 2021. This is stated

both in paragraph 13 of NBK’s Motion to Dismiss Debtor’s Bankruptcy, and in NBK’s Mr.

Carter’s Declaration (paragraph 8 of Declaration of Michael Carter).

       20.     The absolute opposite is true. Representatives of NBK have admitted in writing

that the following substantial payments have been made to NBK well after March 6, 2021:

               a)      $801,509.42 paid by Debtor to NBK on August 27, 2022;

               b)      $80,000 paid by Debtor to NBK on April 18, 2023;

               c)      $80,000 paid by Debtor to NBK on May 10, 2023.

This is almost One Million Dollars ($1,000,000) that not only does NBK not give credit to the

Debtor for having made the payments, but again, it vilifies it, saying exactly the opposite that no

payments (zero) have been made since March 6, 2021.

       21.     After NBK’s disclosures of the situation created by the Confidential Settlement and

the wrongful posting for foreclosure during an extension of that agreement, potential buyers of the

property who would otherwise become good prospects to negotiate a sale with Debtor, became

potential purchasers of the NBK Note and began negotiating with NBK. NBK materially breached

the Confidential Settlement Agreement and interfered with these potential purchases and with

these business relationships.

                                          IV.
                                     CAUSES OF ACTION

      COUNT 1: BREACHES OF CONFIDENTIAL SETTLEMENT AGREEMENT

       22.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.




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       23.       Debtor and the other two Plaintiffs and Defendant reached a valid and enforceable

agreement expressly set forth in the Confidential Settlement Agreement.           Pursuant to the

Confidential Settlement Agreement, Defendant agreed to keep the contents and terms of the

parties’ agreement completely confidential. Debtor dismissed its very good claims in the Lawsuit

against Defendant in reliance upon Defendant’s promises, including but not limited to,

Defendant’s promise to uphold the confidentiality obligations set forth in the Confidential

Settlement Agreement.

       24.       Defendant breached the Confidential Settlement Agreement by disclosing its

contents and terms to third parties in violation of the agreement’s express confidentiality

provisions. These disclosures prevented Debtor from closing on the sale of the 2425 Building and

chilled the market for other buyers for Debtor’s property. The same is true for NBK’s wrongful,

early filing of a notice of foreclosure on the 2425 Building, also in violation of the Confidential

Settlement Agreement.

       25.       Debtor and all Plaintiffs hereby sue NBK for these breaches of the Confidential

Settlement Agreement. The damages for these breaches are the amounts of money that the Debtor

would have made from the contemplated transaction, which is in excess of Fifty Million Dollars

($50,000,000).

              COUNT 2: TORTIOUS INTERFERENCE WITH CONTRACT

       26.       Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       27.       As alleged, NBK tortiously interfered with the SIBS International contract

(Exhibit 1) and the Caldwell Soames Inc. contract (Exhibit 2), causing damages to the Debtor and

the other two Plaintiffs in the net amounts of the contracts which, but for NBK’s interference,



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would have been paid to the Debtor and the other two Plaintiffs. These damages are excess of

Fifty Million Dollars ($50,000,000), for which the Debtor hereby sues NBK.

       COUNT 3: TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS

       28.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       29.     After NBK’s disclosures of the situation created by the confidential settlement and

the wrongful posting for foreclosure during a judicial extension of the grace period contained in

that agreement, potential buyers of the property who would otherwise have become good prospects

to negotiate a sale with Debtor, became instead potential purchasers from NBK of the NBK note

and began contacting and negotiating or attempting to negotiate with NBK instead of the Debtor.

       30.     This interference by NBK damaged Debtor in amounts to be determined after

discovery, but which exceed the minimum jurisdictional limits of this Honorable Court.

    COUNT 4: FRAUD AND FRAUDULENT INDUCEMENT/LENDER LIABILITY

       31.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       32.     NBK never had any intention of living up to the Confidential Settlement

Agreement. The Debtor was winning the lawsuit against NBK, so NBK induced the Debtor into

dismissing its lawsuit and entering into the Confidential Settlement Agreement which NBK had

no intention of living up to.      This fraud works an estoppel against NBK (see Count 6,

“ESTOPPEL”). Plaintiffs hereby sue NBK for the fraud and fraudulent inducement and alleges it

constitutes the basis for an action for Lender Liability.

       33.     NBK knew at the time it entered into the Confidential Settlement Agreement it

would deflect and tortiously interfere with the Debtor’s attempts to sell the 2425 Building so NBK



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would be able to foreclose on the building and take all of the value instead of just the value of the

amounts otherwise owed at the time. The fraud, fraud in the inducement, lender liability, and

subsequent interference for all of which Plaintiffs hereby sue NBK. These actions by NBK have

damaged the Debtor and the other two Plaintiffs in an amount of at least Thirty Million Dollars

($30,000,000).

                         COUNT 5: FRAUDULENT CONVEYANCE

       34.       Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       35.       The funds paid by the Debtor to NBK:

                 a)     $801,509.42 paid Debtor to NBK on August 27, 2022;

                 b)     $80,000 paid by Debtor to NBK on April 18, 2023; and

                 c)     $80,000 paid by Debtor to NBK on May 10, 2023

were fraudulently induced by NBK and were payments for which the Debtor received nothing in

return and constitute fraudulent conveyances in violation of U.S.C. § 544, 548, and 550 and TEX.

BUS. & COMM. CODE §§ 24.001, et seq., for which the Debtor hereby sues NBK to recover all such

amounts.

                                     COUNT 6: ESTOPPEL

       36.       Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       37.       NBK is estopped from claiming Debtor owes any more than the amount stated and

agreed to in the Confidential Settlement Agreement because of its fraud and fraudulent inducement

alleged previously.




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                         COUNT 7: BUSINESS DISPARAGEMENT

       38.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       39.     The posting of the 2425 Building during any negotiation periods and/or the

extended grace period when actual buyers were moving toward concluding a deal and when other

potential buyers were expressing interest in the 2425 Building, constituted business disparagement

against the Debtor for which Debtor hereby sues NBK. The damages are the net amount of money

the Debtor would have received in the sales had they occurred.

              COUNT 8: BREACH OF GOOD FAITH AND FAIR DEALING

       40.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       41.     Every contract has a duty of good faith and fair dealing engrafted upon it, especially

in a lender/borrower relationship, and even more so when the lender is based in the State of New

York as NBK is.

       42.     NBK breached its duty of good faith and fair dealing by:

               a)      Inducing Plaintiffs to dismiss their State Court lawsuit;

               b)      Inducing Plaintiffs to enter into the Confidential Settlement Agreement;

               c)      Tortiously interfering with Debtor’s performance under the Confidential
                       Settlement Agreement;

               d)      Tortiously interfering with third-party contracts;

               e)      Not approving tenant leases or contracts for sale; and

               f)      deflecting buyers so Debtor could not sell the 2425 Building.




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       43.     Plaintiffs hereby sue NBK for breach of duty of good faith and fair dealing. The

damages are for the value of the amounts that would have been recovered in the state court

litigation and/or the value of the deals lost for leases and/or sales of the 2425 Building.

                             COUNT 9: UNJUST ENRICHMENT

       44.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       45.     If NBK is allowed to foreclose on the 2425 Building it will make an unconscionable

profit and succeed in its “loan to own” gambit. The amount of its unjust enrichment for which

Plaintiffs hereby sue NBK is the difference between what NBK would have been owed (but for its

breaches of the Confidential Settlement Agreement) under the Confidential Settlement Agreement

and the true value of the building, for which Plaintiffs hereby sue NBK.

                               COUNT 10: ATTORNEYS’ FEES

       46.     Plaintiffs repeat and reallege the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       47.     Plaintiffs hereby sue NBK for their reasonable and necessary attorneys’ fees under

breach of contract and under any statutory or common law right to recover same.

                                             PRAYER

       WHEREFORE, premises considered, Plaintiffs pray that Defendants be cited to appear

herein as provided by law and that upon hearing:

       1.      NBK not be allowed to foreclose on the 2425 Galleria Building;

       2.      Plaintiffs recover their damages and attorneys’ fees as alleged.



Dated: September 19, 2023



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                                            Respectfully submitted,

                                            HAYWARD PLLC

                                            By: /s/ Melissa S. Hayward
                                                Melissa S. Hayward
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                                            PROPOSED COUNSEL FOR THE DEBTOR


                                            By: /s/ James Q. Pope
                                               James Q. Pope
                                                 State Bar No. 24048738
                                                 jamesp@thepopelawfirm.com
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                                            6161 Savoy Drive, Suite 1125
                                            Houston, Texas 77036
                                            (713) 449-4481 Telephone
                                            (281) 657-9693 Facsimile
                                            COUNSEL FOR PLAINTIFFS ALI CHOUDHRI AND
                                            NAISSANCE GALLERIA LLC




                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing was filed with the Court and served via
the Court’s CM/ECF system upon all of the parties registered to receive such notice on
September 19, 2023.


                                            /s/ Melissa S. Hayward
                                            Melissa S. Hayward




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                               EXHIBIT 2




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                                    CAUSE NO. 2023-22748

GALLERIA 2425 OWNER, LLC,                       §           IN THE DISTRICT COURT OF
                                                §
                  Plaintiff,                    §
v.                                              §                HARRIS COUNTY, TEXAS
                                                §
NATIONAL BANK OF KUWAIT,                        §
S.A.K.P., NEW YORK BRANCH,                      §
                                                §
                Defendant.                      §              281ST JUDICIAL DISTRICT


                        PLAINTIFF’S SIXTH AMENDED PETITION

        Galleria 2425 Owner, LLC (“Plaintiff”) files this Sixth Amended Petition against

 Defendant National Bank of Kuwait S.A.K.P., New York Branch (individually as “NBK”, or

 collectively as “Defendants”), and Azeemeh Zaheer (individually as “Zaheer”, or collectively as

 “Defendants”) and, in support, submit the following:

                                           I.
                                     DISCOVERY PLAN

        1.     Discovery should be conducted pursuant to Level 2 of Rule 190.3 of the Texas

 Rules of Civil Procedure.

                                              II.
                                            PARTIES

        2.     Galleria 2425 Owner, LLC (“Plaintiff”) is a limited liability company doing

 business in Texas and is the owner of the building located at 2425 West Loop S., Houston, Texas

 (“2425 Building”).




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         3.    National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) is a banking

corporation organized under the laws of Kuwait, acting through its New York Branch. NBK HAS

APPEARED WITH COUNSEL.

         4.    Azeemeh Zaheer (“Zaheer”), is an individual who resides, and may be personally

served at 5513 Kansas Street, Houston, Texas 77007.

                                            III.
                                        INTRODUCTION

         5.    This suit was originally filed against NBK, a party who has been shown to be

willing to engage in bad faith actions, and who repeatedly attempts to make outside deals with

third parties, specifically to deprive the plaintiff of its ownership interest in the 2425 Building in

any way it can.

         6.    Plaintiff, Galleria 2425 Owner, LLC, filed bankruptcy to preserve the asset, which

NBK vehemently opposed, and fought to have dismissed from the bankruptcy court. However, at

the hearing on NBK’s motion to dismiss, Plaintiff was successful in defending against dismissal,

and the bankruptcy case moved forward.

         7.    Plaintiff promptly proposed a plan in the bankruptcy court, which was characterized

as a “really smart” plan that “check[ed] all the boxes” for plan confirmation, according to Judge

Lopez.

         8.    Then, after NBK lost its motion to dismiss, it filed a letter in the bankruptcy case

(Document 77) which made the bankruptcy court aware of litigation that was irrelevant to Galleria

2425 Owner, LLC’s pursuit of its ongoing bankruptcy case. The state court litigation referenced

by NBK is, in the words of Judge Lopez “an unrelated case involving Ms. Zahire [sic] and

Naissance and Mr. Choudhri”. The case is about a dispute over control of an entity called


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Naissance Galleria, LLC, which is an entity that provided a mezzanine loan to Galleria 2425

Owner, LLC’s sole member and is party to an intercreditor agreement with NBK.                  Upon

information and belief, certain of the investors in Naissance Galleria LLC are substantial clients

of or investors in NBK. Naissance Galleria LLC was also a party to the very settlement agreement

with NBK at issue in this suit.        Importantly, Naissance Galleria, LLC does not have any

membership in, or control over Galleria 2425 Owner, LLC, or any of its members or managers.

       9.      Notably, the state court, in the litigation referenced in NBK’s letter to Judge Lopez,

did issue a Temporary Injunction, which maintained the status quo of Choudhri’s management and

control of Naissance Galleria, LLC, but limited any actions that could be taken by Choudhri on

behalf of Naissance Galleria, LLC to only those which are also approved by Zaheer, until a trial

resolves the issue once and for all.

       10.     After the Temporary Injunction was in place establishing Choudhri’s control of

Naissance Galleria, LLC, Zaheer directed her counsel, while purporting to act for Naissance

Galleria, LLC, to appear at two separate hearings in the bankruptcy court, on or about October 12,

2023 and November 1, 2023, and on the eve of a November 1 status conference filed an emergency

motion in the bankruptcy court, requesting for Judge Lopez to rule against the state court and find

that Zaheer had control of, and could act for Naissance Galleria, LLC. Judge Lopez thereafter sua

sponte dismissed the bankruptcy case during the November 1, 2023 status conference.

       11.     When the parties to the state court litigation returned to appear before Judge Manor

on November 13, 2023, Judge Manor confirmed that her Temporary Injunction did not give Zaheer

any right to act as the manager of Naissance Galleria, LLC, and confirmed that Choudhri was in

control, subject to Zaheer’s approval during the pendency of trial.



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       12.     All of these actions, gave rise to Judge Lopez’s serious concerns about the ability

to move forward with the bankruptcy case without resolution in the state court action. Judge Lopez

stated, in the Status Conference held on November 1, 2023, the following:

       “I don’t have anything to qualify it in state court issues. I don’t know. There’s just a lot of

       confusing stuff, and my gut tells me that I need to dismiss this case and let you all go figure

       this out in State Court, because there’s not enough here, and there’s real concerns that I

       have…”.

       13.     However, since Naissance Galleria, LLC has no ownership or control over the

Plaintiff or any of its members or managers, these filings and appearances are just a smoke screen.

The fact that they were also filed in violation of the Temporary Injunction not only makes these

actions unlawful, but there could be no other purpose aside from attempting to cause the dismissal

of the bankruptcy case brought by Galleria 2425 Owner, LLC, which is an action that, logically,

would be counter to the company’s interests.

       14.     In its letter inviting the Naissance dispute and Ms. Zaheer’s counsel into the

bankruptcy proceedings, NBK cleverly attempts to confuse the court by implying that Ms. Zaheer

had control of Naissance Galleria, LLC because the order says that management decisions could

not be made without her approval. Ms. Zaheer’s counsel then accepted NBK’s invitation to create

confusion and disruption, appearing at the October 13 emergency status conference purporting to

represent Naissance Capital LLC.

       15.     As this Court has handled cases related to Galleria 2425 Owner, LLC for years, it

is well aware that Ms. Zaheer has been entirely absent from any of these proceedings until on or

about July 5th, 2023, when Naissance Galleria, LLC appeared, allegedly controlled by Azeemeh



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Zaheer, before this Court’s ancillary docket, attempting to stop the foreclosure by NBK, at which

hearing this Court itself questioned the absence of Ms. Zaheer over the last several years.

       16.     Ms. Zaheer signed the assignment giving control over Naissance Galleria, LLC to

Mr. Choudhri on July 3rd, 2020. Ms. Zaheer did not make any claims of control over Naissance

Galleria, LLC, did not attempt to object to Mr. Choudhri’s management of the company for three

(3) years. These allegations are absurd, as Ms. Zaheer has been entirely absent from the company’s

management for years.

       17.     As a result of this conspiracy by the defendants, the emergency status conference

requested by NBK resulted in the dismissal of the bankruptcy case.

       18.     What’s interesting is that, if Ms. Zaheer was sincerely the manager of Naissance

Galleria, LLC, she would not have worked to have the bankruptcy case dismissed.

       19.     Such actions, if they had been taken by a legitimate manager for Naissance Galleria,

LLC, would be a breach of fiduciary duty to the company, unless there was a back room deal

NBK.

       20.     Now that NBK has re-posted the 2425 Building for foreclosure, Plaintiff will suffer

irreparable harm as a result of the defendants’ actions.

                                         IV.
                                  FACTUAL BACKGROUND

       21.     In 2018, NBK loaned certain funds to Plaintiff. NBK has continually interfered

with the Plaintiff’s ability to lease the 2425 Building to produce revenue and Plaintiff’s ability to

sell the 2425 Building to pay NBK off. Every time NBK has so interfered, it has then blamed the

Plaintiff for its inability supposedly to meet some of the loan terms.




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        22.       For example, in January 2021, Plaintiff Ali Choudhri, who is vilified by NBK in

various pleadings, had serious parties interested in acquiring interests in the building more than

enough to clear NBK’s debt. A letter dated January 15, 2021, from SIBS International, and two

purchase contracts would have paid off not only NBK, but left the Plaintiff with a great deal of

value. NBK, rather than facilitate this sale, issued a formal notice of default to the Plaintiff

and its intent to accelerate the loan on June 29, 2021, while the SIBS International deal was in

progress, killing that deal.

        23.       The same was true with regard to NBK’s interference with the Plaintiff’s

attempt to lease space in the building to provide revenue so it could operate and make loan

payments. By August 2021, this situation had become untenable due to NBK’s refusal to approve

new tenants and new leases, prompting the Plaintiff, on August 13, 2021, to send NBK a detailed

letter regarding lease-up and renewal prospects for discussions, none of which, it seemed NBK

would approve.

         Healthcare Service Organization

              ▪      Size: 130,000+ RSF – large client requirement in their preliminary planning
                     stages: Industry: Healthcare Service Organization Type of use:
                     Administration Offices Direct/Sublease Commencement date: Q3/2023
                     Term:5-10 yrs. They are specifically VERY interested in amenities available,
                     for example: deli, gym, day care, conference center (# of seats), training center
                     (# of seats).

         Invesco

              ▪      We met with the team twice and are actively pursuing them for 2425. They are
                     interested in a 157-month lease term for 208,830 SF of Net Rental Area.

         Financial Services Firm

              ▪      Office AREA: West Houston (610 West, Hwy 290, Beltway 8) SPACE:
                     Open Concept SIZE: Approximately 20,000 – 25,000 rsf PARKING: 5/1000
                     ratio OCCUPANCY: Late 2Q22/Early3Q22 TERM: 36-60 months with

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                    renewal options This tenant is currently at 24 Greenway on their top floor and
                    have been looking at other A buildings.

        Beyond Finance

             ▪      We are discussing a 68-month lease term for +/- 40,000 rentable SF.

        Banco Affirme

             ▪      We submitted a 64-month lease term for 4,545 SF of Net Rental Area.

        Walls Bank (existing tenant)

             ▪      Renew 3,054 SF of rental space for 60-month term starting January 1, 2022.

        Others (working directly with ownership)

             ▪      ResMed (https://www.resmed.com/en-us/), interested in the entire building,
                    working directly with Dr. Peter Farrell, Founder and Chairman

             ▪      Healthstore Holdings (https://www.healthstore.com/), interested in a 15-year
                    term with 80,000 SF in phase 1 and 75,000 SF in 12 months as phase 2.

             ▪      Immunicom (https://immunicom.com/), interested in at least two full floors,
                    moving HQ from San Diego, CA

       24.       Below is an August 16, 2021 email from counsel for the Plaintiff to NBK

forwarding multiple leases for approval that NBK had failed to approve or even respond to.




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       25.    This lack of approval, or finding obstacles to approve, was not new. In September

2019, Related Group had reached out to lease the parking garage located at the 2425 Building to

be used for overflow, for parking up to 110 spaces. NBK’s authorized representative Michael

Carter would not approve this lease (note “nbkny” email address below– i.e. National Bank of

Kuwait, New York Branch), which would have generated a great deal of revenue for the Plaintiff.




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       26.     The situation became so untenable that in September 2021, Plaintiff initiated a

lawsuit against NBK.

       27.     In good faith, even during the pendency of this litigation, the Plaintiff was still

trying to get tenants into the building and get NBK’s approval to do so, so it would not claim

additional breaches of loan agreements. On July 2, 2022, the Plaintiff sent NBK five leases for

approval, which NBK did not approve.

       28.     The parties litigated for eleven (11) months until August 22, 2022, when they

entered into a Confidential Settlement Agreement. NBK has prevented Plaintiff’s successful

performance under any and all agreements it has with NBK, including the Confidential

Settlement Agreement.

       29.     The Confidential Settlement Agreement permitted a timeframe in which Plaintiff

could sell the 2425 Building, or seek refinancing, and Plaintiff was successful in obtaining a buyer

for the building. Upon closing this transaction, Plaintiff would have retained a forty-five (45%)

ownership interest in the 2425 Building. However, NBK again took actions which interfered

with the continuation and closing of that transaction, including issuing a notice of foreclosure

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on March 29, 2023 in breach of the Confidential Settlement Agreement, which Plaintiff

believes was done intentionally to prevent the sale. The sale would have cleared the NBK debt

as it stood at that time and left great value for the Plaintiff. Plaintiff believes that NBK recognized

that greater value and wanted to take it for itself by foreclosure in a “loan to own” gambit.

       30.       There are tremendous factual inaccuracies that NBK represents to state and federal

courts and they continue into these proceedings. For example, in its Motion to Dismiss the

Plaintiff’s Bankruptcy, while it is absolutely true that temporary restraining orders were filed to

attempt to prevent a foreclosure by NBK and its takeover of the 2425 Building, NBK fails to note

that such requests were also granted by this Court based upon showings that NBK had not

allowed the Plaintiff to lease up the building to generate revenue, and had killed at least two

transactions that Plaintiff was working on that would have cleared NBK and left value for

the Plaintiff.

       31.       Additionally, NBK posted for foreclosure in 2023 early, and against an extended

grace period that this Court had given Plaintiff, which silenced the bidding process and interest in

the 2425 Building completely. No one wants to buy a building posted for foreclosure. Plaintiff

believes that NBK knew this and did it on purpose to prevent the Plaintiff from successfully

selling the property and paying off the loan, so NBK could foreclose and take the 2425

Building for itself so it can open a Houston location.

       32.       After NBK’s disclosures of the situation created by the Confidential Settlement and

the wrongful posting for foreclosure during an extension of that agreement, potential buyers of the

property who would otherwise become good prospects to negotiate a sale with Plaintiff, became

potential purchasers of the NBK Note and began negotiating with NBK. NBK interfered with



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these potential purchases and with these business relationships. At least the following were

interfered with in this fashion:

                a)     Globix Investment,

                b)     Ironwood Commercial Realty,

                c)     Shah Firm, LLC, and

                d)     Jeb Brown Law.


B.        Azeemeh Zaheer Decides She Wants the Building.

          33.   On June 26, 2023, Zaheer, filed a lawsuit in the name of Naissance Galleria, LLC

(“Naissance”), despite having assigned control over such entity several years prior., in the 157th

Judicial District Court in Harris County, Texas referenced by case number 2023-39006 against

Brad Parker (“Parker”) as an initial step in Zaheer’s pursuit of a hostile takeover of the 2425

Building.

          34.   On July 5, 2023, Zaheer, again acting in the name of Naissance, filed a second

lawsuit in the 129th Judicial District Court in Harris County, Texas referenced by case number

2023-41091 against Parker and NBK, to further her hostile takeover attempt of the 2425 Building.

Zaheer sought injunctive relief, but that request for an emergency temporary restraining order was

denied.

          35.   On or about July 5, 2023, Plaintiff commenced a Chapter 11 bankruptcy proceeding

in the Southern District of Texas, referenced by case number 23-60036. NBK sought to dismiss

the bankruptcy proceeding, but after a full day evidentiary hearing its motion to dismiss was denied

on September 26, 2023. The Chapter 11 Plan could have been approved and would have

substantially reduced the value of NBK’s secured debt. So, after its motion to dismiss was denied,


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NBK changed tactics and decided to invite Ms. Zaheer and her counsel into the bankruptcy case

to cause confusion and disruption. NBK decided it could not allow its debt to be restructured

under the bankruptcy code, just as it had decided it could not allow the prior sales of the building

that had been lined up by Plaintiff.

C.     Azeemeh Zaheer is a False Representative of Naissance.

       36.     Azeemeh Zaheer at one time had a business and personal relationship with Ali

Choudhri, both of which appeared to have ended mutually for a time. Azeemeh Zaheer sought

injunctive relief in the 80th Judicial District Court for Harris County against Naissance Galleria,

LLC, which was a mezzanine lender to an LLC (“LLC”) two steps up in the chain.

       37.     Azeemeh Zaheer had signed, as the authorized representative of the Managing

Member of Naissance Galleria, LLC an Assignment of the management rights of that LLC to Ali

Choudhri. In response, Mr. Choudhri stepped into Naissance’s shoes, covered its expenses, and

did a miraculous job of negotiating the aforementioned settlement with NBK after the Assignment.

Azeemeh Zaheer made this assignment for a number of reasons, but most of them stemmed from

her ineffective management of the building and her fear of exposure to NBK and certain

individuals affiliated with NBK because of her poor performance.

       38.     After Mr. Choudhri received the Assignment and had negotiated the successful

settlement with NBK and the building looked as if it might succeed (a period of years), Azeemeh

Zaheer decided she wanted to misappropriate the value that Mr. Choudhri had just preserved and

to an extent had just created. First, she claimed the Assignment was invalid and sought and

received a Temporary Injunction, on September 21, 2023, from the 80th Judicial District Court in

Harris County. This Temporary Injunction basically only created a stalemate with respect to the

management of Naissance Galleria, LLC to preserve the status quo until a trial in January. Mr.
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Choudhri is still the manager of Naissance Galleria, LLC, not Azeemeh Zaheer, although she did

have some approval rights under the injunction. Mr. Choudhri, as the manager of Naissance

Galleria LLC and is only required to obtain approval from Zaheer for his actions. Zaheer DOES

NOT have any control of the entity. Moreover, this was confirmed at a hearing on November 13,

2023 before Judge Manor in the 80th Judicial District Court.

D.      Azeemeh Decides to Conspire with NBK So It Could Foreclose On the Building.

        39.     After the September 21, 2023 entry of the Temporary Injunction, some ironic, if

not strange, events start taking place with respect to Ms. Zaheer and the Plaintiff. First, it is against

Azeemeh Zaheer and Naissance’s financial interests if NBK forecloses.

        40.     Second, on information and belief, Zaheer caused a copy of the Temporary

Injunction Entered on September 21, 2023 by the 80th Judicial District Court in Harris County to

be sent to counsel for NBK, who used it to interfere with the Plaintiff’s ability to reorganize under

the bankruptcy code and confirm a chapter 11 plan.

        41.     Third, Zaheer’s directed her counsel to appear without any forewarning at the

October 12, 2023 status conference, in the Bankruptcy Court about the plan, claiming Azeemeh

Zaheer now is the manager of Naissance Galleria, LLC and they have been hired by her to represent

Naissance Galleria, LLC, all by virtue of the Temporary Injunction.




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E.         Zaheer Changes Sides to Make a Deal with the NBK

           42.     Progressively, Azeemeh Zaheer’s behavior becomes more inexplicable as she: (1)

takes the position that the Temporary Injunction put her in charge of Naissance (it did not);1 (2)

that Naissance Galleria, LLC could or had already become the owner of the Debtor building (2425

Galleria Owner, LLC, Plaintiff herein) and as the new owner, they did not wish to pursue claims

asserted in the bankruptcy case against NBK by Plaintiff and Naissance for breaching the

settlement agreement and would want to take the bankruptcy in another direction.

           43.     This created an environment of confusion for the Bankruptcy Court, which was by

Defendants’ design, and it was a concerted effort by the Defendants to have the bankruptcy case

dismissed, allowing NBK to foreclose. Defendant NBK would not be impeded by the bankruptcy

and Zaheer could tell Mr. Choudhri: “I will not go along with your reorganization plan unless you

pay me millions of dollars” while making a deal with NBK to block the Plan of Reorganization in

the event no payment was received from Mr. Choudhri.

           44.     The Defendants are working in concert, to achieve the same end. Specifically, the

Defendants have devised, and intended to devise, a scheme or artifice to seize the 2425 Building

by any means necessary. Defendants will stop at nothing to see the Plaintiff lose possession of the

2425 Building, and upon information and belief, the driving force behind their efforts is Osama

Abdullatif (“Abdullatif”).




1
    At a hearing had in the issuing court (the 80th Judicial District Court) on Monday, November 13, 2023, the Court

confirmed her Temporary Injunction Order had not turned control of Naissance over to Zaheer and Zaheer had no

authority to authorize attorneys to make the filing and take the action they had on behalf of Naissance Galleria, LLC

in the Bankruptcy.

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        45.     Defendants’ scheme has involved false representations of material information,

including but not limited to misrepresentations concerning the Plaintiff and the purpose and effects

of the Temporary Injunction.

        46.     On November 29, 2023, Azeemeh appeared, through counsel, at an emergency

hearing where Naissance Galleria, LLC’s Application for Temporary Restraining Order was being

heard before the Harris County District Court Ancillary Judge. Naissance Galleria, LLC sought

an emergency temporary restraining order, to enjoin NBK from proceeding with the foreclosure

sale scheduled for December 5, 2023, in an effort to protect its interests in the 2425 Building.

However, Azeemeh, through counsel, argued against entry of the temporary restraining order, and

worked alongside NBK to ensure its denial, leaving the 2425 Building subject to foreclosure.

Azeemeh’s stance is bizarre, considering Azeemeh, improperly acting as manager for Naissance

Galleria, LLC, sought an emergency temporary restraining order to stop NBK from foreclosing on

the 2425 Building in July 20232.

F.      False Representations by Zaheer’s Agents are Successful in Getting Plaintiff’s
        Bankruptcy Dismissed.

        47.     The Bankruptcy Court scheduled a Status Conference for the Plaintiff’s Bankruptcy

Case for November 1, 2023. Azeemeh’s agents, on October 31, 2023, only hours before the Status

Conference, filed an Emergency Motion. This Motion contained many misrepresentations, some

of which follow:

                a)      Even though Zaheer had no right to or standing necessary to file anything
                        on behalf of Naissance, and the Temporary Injunction gave Zaheer no such
                        rights, statements were made in their Emergency Motion directly to the
                        contrary, stating Azeemeh Zaheer was in, Choudhri was out.



2
  See Cause No. 2023-41091: Naissance Galleria LLC v. National Bank of Kuwait S.A.K.P., New York Branch,
transcript from the July 5, 2023 Temporary Restraining Order hearing is attached.
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               b)      The filing stated flatly at one point that the Assignment had been found to
                       be forged – it had not.

               c)      The filing stated that, because of the Temporary Injunction, Naissance was
                       now controlled exclusively by Zaheer, who could make Naissance become
                       the Owner of the Bankrupt. (The issuing court on Monday, November 13,
                       2023, ruled from the bench it said no such thing.)

These misrepresentations had the desired effect, and the Bankruptcy Court dismissed the

Bankruptcy, green-lighting NBK to foreclose.

G.     Abdullatif is Choudhri’s Competitor and Wants to Ruin Him.

       48.     Choudhri has been in the real estate investment and management business for the

last 20 years. The regular course of Choudhri’s business involves numerous aspects of real estate

development. These activities include real estate and business acquisitions and dispositions,

seeking and obtaining financing, and developing and managing commercial and residential

properties. He regularly raises capital for these activities through the issuance of equity and/or

debt. It is also within his normal course of business to enter into transactions with borrowers,

lenders, and investors to support the purchase, development, and operations of real estate

properties.

       49.     Choudhri at times conducts his real estate investment and management business

through the use of special purpose entities, such as Plaintiff Galleria Owner 2425, LLC. Choudhri

runs a management company, Jetall (“Jetall”), to provide employees and management services to

entities for purposes of operating real estate investments.

       50.     Abdullatif has provided financing for numerous third-party claims against

Choudhri, including interfering with Choudhri’s final divorce proceedings in both Pakistan

Supreme Court and Harris County District Court by soliciting Choudhri’s ex-wife for her legal

claims against Choudhri and/or his entities and to gain access to Choudhri’s protected financial

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disclosures. Abdullatif has filed several dozen Lis Pendens against Choudhri, and his properties,

and has sponsored litigation against Choudhri in several dozen cases.

       51.     Upon information and belief, Abdullatif is also financing the litigation expenses of

Zaheer against Choudhri in the dispute over the building owned by Plaintiff. Abdullatif, Zaheer,

and others have all agreed to the enterprise course of action aimed at destroying Choudhri’s

business, including taking possession of the 2425 Building.

       52.     On more than one occasion, Abdullatif resorted to violence and threats against

Choudhri and/or his family, friends, and associates. Mr. Choudhri had another real estate venture

involving an entity called Dalio. Abdullatif was present at Dalio’s foreclosure proceeding, where

a friend accompanying him assaulted one of Choudhri’s lawyers. On another occasion, Abdullatif

and his associates used firearms to hold Choudhri, and his associates, hostage.

       53.     Abdullatif also formed an association with others in his illegal efforts to destroy

Choudhri’s business. These individuals include but are not limited to Chris Wyatt, former

paralegal of Jetall (“Wyatt”).

       54.     Wyatt was hired by Jetall in 2019. In the course of his employment, Wyatt oversaw

legal and litigation matters for Jetall. He was provided confidential information concerning Jetall’s

and its client’s real estate transactions, finances and debt leverage on properties, and litigation

management strategies. As a Jetall representative, Wyatt was regularly involved in and provided

access to privileged information and communications, including information subject to attorney-

client and work product privileges. Wyatt signed a non-disclosure agreement at the beginning of

his employment prohibiting him from disclosing confidential information and requiring him to

return all files upon his termination.



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         55.   Wyatt’s employment at Jetall ended in December 2020. When he left Jetall, Wyatt

stole corporate files including electronic communications and secretly recorded privileged phone

communications between Choudhri and his attorneys.

         56.   Jetall obtained a restraining order in January 2021 enjoining Wyatt from disclosing

or divulging confidential information obtained through his course of employment with Jetall.

         57.   Abdullatif met with Wyatt before, during and after Wyatt’s departure from Jetall.

Abdullatif, directly and through his lawyers, received confidential and privileged information from

Wyatt.     This information included but is not limited to illegal recordings of Choudhri’s

conversations with attorneys.

         58.   Upon information and belief, Abdullatif and his lawyers were aware that Wyatt was

a former employee of Jetall who was involved in confidential and privileged communications and

that a restraining order was entered enjoining Wyatt from disclosing confidential information.

         59.   Abdullatif and his agents have used the illegally obtained information and

recordings as part of Abdullatif’s scheme to destroy Choudhri’s business. Abdullatif retained

Wayne Dolcefino (“Dolcefino”) as a “consultant” to publish on the internet a series of hit pieces

on Choudhri. Dolcefino advertises that his services included “litigation support,” and Abdullatif

has utilized Dolcefino in the course of his numerous lawsuits asserted against Choudhri and his

businesses.

         60.   Information illegally obtained from Wyatt is included in many of Dolcefino’s hit

pieces. Dolcefino continues to publish these hit pieces on the internet, including videos posted in

May 2023.

         61.   Abdullatif has made several false claims against his competitor, Choudhri, in many

ways, two of the most egregious being:
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               a)      Hiring Dolcefino to create video “hit pieces” about Choudhri, his business,
                       his marital status, and inappropriate character based upon his actions during
                       that marital status. This video contained “over the top” falsehoods, e.g. that
                       he was still married and had been for years. It was commercial speech
                       designed to designate a competitor (Choudhri) and give Abdullatif a
                       competitive advantage, and was introduced into interstate commerce by
                       release to major television (broadcast and cable) networks and by placing
                       on the internet where it still resides today, making it available to the
                       potential customers and lenders that are competed for; and

               b)      Placing multiple improper Lis Pendens on the record title to properties
                       owned by Choudhri or his business entities, which created a double negative
                       effect on Choudhri’s ability to conduct business by hampering his ability to
                       find new lenders or renewing existing loans because the security for them
                       was impaired and making it impossible to sell those properties to raise new
                       capital on his own. These Lis Pendens were “over the top”
                       misrepresentations because they were illegal and did not assert valid
                       interests in the subject properties. The Lis Pendens were also introduced
                       into interstate commerce because they were filed of record and were
                       available “online” over the internet to any potential customer for
                       commercial real estate in the Houston area.



                                           V.
                                     CAUSES OF ACTION

      COUNT 1: BREACHES OF CONFIDENTIAL SETTLEMENT AGREEMENT

       62.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       63.     Plaintiff and NBK reached a valid and enforceable agreement expressly set forth in

the Confidential Settlement Agreement. Pursuant to the Confidential Settlement Agreement, NBK

agreed to keep the contents and terms of the parties’ agreement completely confidential. Plaintiff

dismissed its very good claims in the Lawsuit against NBK in reliance upon NBK’s promise to

uphold the confidentiality obligations set forth in the Confidential Settlement Agreement.

       64.     NBK breached the Confidential Settlement Agreement by disclosing its contents

and terms to third parties in violation of the agreement’s express confidentiality provisions. These
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disclosures prevented Plaintiff from closing on the sale of the 2425 Building and chilled the market

for other buyers for Plaintiff’s property. The same is true for NBK’s wrongful, early filing of a

notice of foreclosure on the 2425 Building, also in violation of the Confidential Settlement

Agreement.

          65.   Plaintiff hereby sues NBK for these breaches of the Confidential Settlement

Agreement, including monetary damages for such breaches and injunctive relief preventing NBK

from foreclosing on the building because Civil Practices & Remedies Code Section 65.011

authorizes injunction relief when: 1) the applicant is entitled to a writ of injunction under the

principles of equity and the laws of Texas relating to injunctions. Texas Civil Practices &

Remedies Code Section 65.011(3); See Butnaru v. Ford Motor Co., 84 S.W.3rd 198, 210 (Tex.

20002); and 2) when irreparable injury to real or personal is threatened, irrespective of any remedy

of law. Tex. Civ. Practice & Remedies Code Section 65.011(5).

          66.   Plaintiff requests injunctive relief as allowed pursuant to CytoGenix, Inc. v.

Waldroff, 213 S.W.3d 479, 487 (Tex.App.—Houston, [1st Dist.] 2006, pet. denied), and L Series,

L.L.C. v. Holt, 571 S.W.3d 864, 876 (Tex.App.—Fort Worth 2019, pet. denied) due to Defendant’s

breach.

                COUNT 2: TORTIOUS INTERFERENCE WITH CONTRACT

          67.   Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

          68.   As alleged, NBK tortiously interfered with the SIBS International contract and the

Caldwell Soames Inc. contract, causing damages to the Plaintiff in the net amounts of the contracts

which, but for NBK’s interference, would have been paid to the Plaintiff.



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       69.     Zaheer has tortiously interfered with Plaintiff’s contract with NBK, and abused

process by interfering in Plaintiff’s bankruptcy proceeding.

    COUNT 3: TORTIOUS INTERFERENCE WITH PROSPECTIVE RELATIONS

       70.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       71.     After NBK’s disclosures of the situation created by the confidential settlement and

the wrongful posting for foreclosure during a judicial extension of the grace period contained in

that agreement, potential buyers of the property who would otherwise have become good prospects

to negotiate a sale with Plaintiff, became instead potential purchasers from NBK of the NBK note

and began contacting and negotiating or attempting to negotiate with NBK instead of the Plaintiff.

NBK interfered with these potential purchasers and with these potential business relationships. At

least the following were interfered with in this fashion:

               a)      Globix Investment,
               b)      Ironwood Commercial Realty,
               c)      Shah Firm, LLC, and
               d)      Jeb Brown Law.

       72.     Zaheer have interfered with the Plaintiff’s relationship with NBK and/or entered

into a relationship with Zaheer and their antics caused the dismissal of Plaintiff’s Chapter 11

bankruptcy proceeding, which was otherwise proceeding to a cram-down restructuring under

Chapter 11 of the bankruptcy code

       73.     This interference by the Defendants damaged Plaintiff in amounts to be determined

after discovery, but which exceed the minimum jurisdictional limits of this Honorable Court.




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                COUNT 4: COMMON LAW FRAUD/LENDER LIABILITY

       74.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       75.     NBK never had any intention of living up to the Confidential Settlement

Agreement. The Plaintiff was winning the lawsuit against NBK, so NBK induced the Plaintiff

into dismissing its lawsuit and entering into the Confidential Settlement Agreement which NBK

had no intention of living up to. This fraud works an estoppel against NBK (see Count 6,

“ESTOPPEL”). Plaintiff hereby sues NBK for fraud and fraudulent inducement and alleges it

constitutes the basis for an action for Lender Liability.

       76.     NBK knew at the time it entered into the Confidential Settlement Agreement it

would deflect and tortiously interfere with the Plaintiff’s attempts to sell the 2425 Building so

NBK would be able to foreclose on the building and take all of the value instead of just the value

of the amounts otherwise owed at the time. Plaintiff accordingly sues NBK for its fraud, fraud in

the inducement, lender liability, and subsequent interference with the settlement agreement.

Plaintiff seeks benefit of the bargain damages for the fraud related to the enforceable contract.

Plaintiff requests injunctive relief as allowed pursuant to CytoGenix, Inc. v. Waldroff, 213 S.W.3d

479, 487 (Tex.App.—Houston, [1st Dist.] 2006, pet. denied), and L Series, L.L.C. v. Holt, 571

S.W.3d 864, 876 (Tex.App.—Fort Worth 2019, pet. denied) due to Defendant’s breach.

                           COUNT 5: FRAUDULENT TRANSFER

       77.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       78.     The funds paid by the Plaintiff to NBK:

               a)      $801,509.42 paid Plaintiff to NBK on August 27, 2022;

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               b)      $80,000 paid by Plaintiff to NBK on April 18, 2023; and

               c)      $80,000 paid by Plaintiff to NBK on May 10, 2023

were fraudulently induced by NBK and were payments for which the Plaintiff received nothing in

return and constitute fraudulent conveyances in violation of U.S.C. § 544, 548, and 550 and TEX.

BUS. & COMM. CODE §§ 24.001, et seq., for which the Plaintiff hereby sues NBK to recover all

such amounts. In addition, the Loan Agreement between NBK and Plaintiff set aside reserve funds

to cover certain events of default related to the anchor tenant. Due to COVID-19, this provision of

the Loan Agreement activated, and Plaintiff’s loan payments were being drawn down from the

reserve funds. However, NBK intentionally depleted Plaintiff’s reserve funds, and transferred

Plaintiff’s funds to itself prior to the time when they were actually due. Plaintiff requests an

injunction pursuant to Sec. 24.008.

                                      COUNT 6: ESTOPPEL

       79.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       80.     NBK is estopped from claiming Plaintiff owes any more than the amount stated and

agreed to in the Confidential Settlement Agreement because of its fraud and fraudulent inducement

alleged previously.

                         COUNT 7: BUSINESS DISPARAGEMENT

       81.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       82.     The posting of the 2425 Building during any negotiation periods and/or the

extended grace period when actual buyers were moving toward concluding a deal and when other



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potential buyers were expressing interest in the 2425 Building, constituted business disparagement

against the Plaintiff for which Plaintiff hereby sues NBK.

         83.   The efforts of Zaheer to make false accusations and representations about the

Plaintiff’s ownership interests, management, and decision-making abilities constituted business

disparagement against the Plaintiff for which the Plaintiff hereby sues Zaheer.

         84.   The business disparagement by the Defendants damaged Plaintiff in amounts to be

determined after discovery, but which exceed the minimum jurisdictional limits of this Honorable

Court.

               COUNT 8: BREACH OF GOOD FAITH AND FAIR DEALING

         85.   Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

         86.   Every contract has a duty of good faith and fair dealing engrafted upon it, especially

in a lender/borrower relationship, and even more so when the lender is based in the State of New

York as NBK is.

         87.   NBK breached its duty of good faith and fair dealing by:

               a)      Inducing Plaintiff to dismiss their State Court lawsuit;

               b)      Inducing Plaintiff to enter into the Confidential Settlement Agreement;

               c)      Tortiously interfering with Plaintiff’s performance under the Confidential
                       Settlement Agreement;

               d)      Tortiously interfering with third-party contracts;

               e)      Not approving tenant leases or contracts for sale; and

               f)      deflecting buyers so Plaintiff could not sell the 2425 Building.




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       88.     Plaintiff hereby sues NBK for breach of duty of good faith and fair dealing. The

damages are for the value of the amounts that would have been recovered in the state court

litigation and/or the value of the deals lost for leases and/or sales of the 2425 Building.

                             COUNT 9: UNJUST ENRICHMENT

       89.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       90.     If NBK is allowed to foreclose on the 2425 Building it will make an unconscionable

profit and succeed in its “loan to own” gambit. The amount of its unjust enrichment for which

Plaintiff hereby sues NBK is the difference between what NBK would have been owed (but for its

breaches of the Confidential Settlement Agreement) under the Confidential Settlement Agreement

and the true value of the building, for which Plaintiff hereby sue NBK.

                                  COUNT 10: CONSPIRACY

       91.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       92.     Defendants agreed to work in concert with each other in order to interfere with

Plaintiff’s bankruptcy case, and to have it dismissed by making fraudulently claiming Azeemeh

had control over Naissance Galleria, LLC.

       93.     Defendants acted with the intent to harm plaintiff by disrupting its bankruptcy

proceedings and ultimately obtaining a sua-sponte dismissal of such proceeding based upon their

allegations

       94.     To accomplish the object of their agreement Defendants intentionally or negligently

mischaracterized the effect of the state court temporary injunction, in order to confuse and disrupt

Plaintiff’s bankruptcy case, which resulted in dismissal.

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       95.     The agreement to engage in this conduct proximately caused injury to plaintiff.

Plaintiff’s sole asset and its ability to reorganize its affairs under Chapter 11 of the bankruptcy

code, has now been posted for foreclosure on December 5th, 2023, instead of being protected

through its reorganization proceedings. A foreclosure will irreparably harm Plaintiff.

        COUNT 11: FEDERAL MISREPRESENTATION OF SERVICES AND UNFAIR

                                   COMPETITION UNDER THE LANHAM ACT

       96.     Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       97.     Section 43 of the Lanhan Act provides civil relief to any person damaged by the

acts of another with connection to “any goods or services,” who uses any “false designation of

origin, false, or misleading description of fact, or false or misleading representation of fact” that

either is either “likely to cause confusion, or to cause mistake, or to deceive as to the affiliation,

connection, or association of such person with another person, or as to the origin, sponsorship, or

approval of his or her goods, services, or commercial activities by another person,” or “in

commercial advertising or promotion, misrepresents the nature, characteristics, qualities, or

geographic origin of his or her or another person’s goods, services, or commercial activities.” 41

U.S.C. § 1125(a)(1).

       98.     To establish a prima facie claim under § 43 of the Lanham Act of 1946, a plaintiff

must establish that: (1) the defendant made a “false or misleading statement of fact,” (2) the

statement “either deceived or had the capacity to deceive a substantial segment of potential

consumers,” (3) the deception was “material, in that it is likely to influence the consumer’s

purchasing decision,” (4) the goods, services, or commercial activities must be “in interstate

commerce,” and finally, (5) “as a result of the statement at issue,” there was injury to the plaintiff
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or the plaintiff “is likely to be injured.” IQ Prod. Co. v. Pennzoil Prod. Co., 305 F.3d 368, 375

(5th Cir. 2002).

       99.     NBK and the Plaintiff entered into a settlement agreement in the spring of

2023. The settlement agreement was confidential. Thereafter, NBK made misleading statements

about the confidential settlement agreement that deceived others, the actions were material, the

actions were in interstate commerce and resulted in injury to the Plaintiff. Since the settlement

agreement was and may still be confidential, further information about the actions could be argued

to be a breach of the confidentiality provisions.

       100.    Further, NBK made misleading statements on the potential leases in the building

owned by the Plaintiff. The Plaintiff had numerous potential leases, NBK refused to approve the

leases, the actions of NBK were misleading, the actions were deceptive as to both the Plaintiff and

the potential leases, the actions were material in influencing the potential tenants in future relations

with the Plaintiff, many of the larger proposed tenants were or are national companies in interstate

commerce and the actions caused injury to the Plaintiff.

       101.    Further, the Plaintiff and principally its owner purchase liens on properties and to

purchase properties oftentimes at foreclosure sales, but other times as purchasers from willing

sellers. Many of these properties are worth millions of dollars. Buying properties worth millions

of dollars is a very capital-intensive business. Consequently, Choudhri must maintain good

reputations to assure that lenders will lend him money and buyers will enter into contracts to

purchase their properties since the primary sources of capital necessary to keep this business

functioning are capital from lenders and proceeds from the sales of their existing properties.

       102.    The capital utilized in the leases and businesses comes from and flows through

interstate commerce and at times through international commerce, and the purchasers or some of
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their members are oftentimes citizens of states other than Texas or countries other than the United

States of America.

       103.    NBK has engaged in false advertising in violation of Section 43(a) of the Lanham

Act as described above and possibly in other ways.

       104.    These acts and others were in violation of 15 USC § 1125(a), Section 43a of the

Lanham Act.

                               COUNT 12: ATTORNEYS’ FEES

       105.    Plaintiff repeats and realleges the allegations set forth in all preceding and

subsequent paragraphs of this Complaint, as if fully set forth herein.

       106.    Plaintiff hereby sues Defendants for its reasonable and necessary attorneys’ fees

under breach of a written contract under Civil Practice and Remedies Code §38.001, under the fee

shifting agreement of the contract, and under any statutory or common law right to recover same.

                                    VI. JURY DEMAND

       107.    Plaintiff demands a jury trial and tenders the appropriate fee with this petition.

                                          VII. PRAYER

       108.    For the reasons set forth above, Plaintiff asks that the Court enter a judgment relief

in the following manners:

               a)      Actual damages including economic injuries & consequential damages;

               b)      Attorney’s fees;

               c)      Exemplary damages;

               d)      Prejudgment and post judgment interest;

               e)      Court costs; and

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               f)      All other relief to which Plaintiff is entitled under both law and equity.

                                              Respectfully submitted,

                                              The Pope Law Firm
                                              6161 Savoy Drive, Suite 1125
                                              Houston, Texas 77036
                                              Ph: 713-449-4481
                                              Fx: 281-657-9693
                                              jamesp@thepopelawfirm.com

                                              By: /s/ James Q. Pope
                                                   James Q. Pope
                                                   TBN: 24048738
                                                   Attorney for Plaintiff




                                 CERTIFICATE OF SERVICE

       I certify that on December 17, 2023, a copy of the foregoing was served on interested

parties by electronic service using the court’s electronic noticing system.

                                              By: /s/ James Q. Pope
                                                   James Q. Pope




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James Pope on behalf of James Pope
Bar No. 24048738
jamesp@thepopelawfirm.com
Envelope ID: 82647538
Filing Code Description: Amended Filing
Filing Description: Plaintiff Sixth Amended Petition
Status as of 12/18/2023 9:54 AM CST

Case Contacts

Name                       BarNumber   Email                                TimestampSubmitted        Status

Jerry CAlexander                       alexanderj@passmanjones.com          12/17/2023 7:53:14 PM     SENT

Ruth NVera                             verar@passmanjones.com               12/17/2023 7:53:14 PM     SENT

Sheryl Chandler                        chandlers@passmanjones.com           12/17/2023 7:53:14 PM     SENT

James Pope                             jamesp@thepopelawfirm.com            12/17/2023 7:53:14 PM     SENT

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Rodney Lee Drinnon         24047841    rdrinnon@mccathernlaw.com            12/17/2023 7:53:14 PM     SENT

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Nancy Jones                            nancy.jones@pillsburylaw.com         12/17/2023 7:53:14 PM     SENT

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Ryan Steinbrunner                      ryan.steinbrunner@pillsburylaw.com   12/17/2023 7:53:14 PM     SENT

Elizabeth Klingensmith                 liz.klingensmith@pillsburylaw.com    12/17/2023 7:53:14 PM     SENT


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James Pope on behalf of James Pope
Bar No. 24048738
jamesp@thepopelawfirm.com
Envelope ID: 82647538
Filing Code Description: Amended Filing
Filing Description: Plaintiff Sixth Amended Petition
Status as of 12/18/2023 9:54 AM CST

Case Contacts

Elizabeth Klingensmith                   liz.klingensmith@pillsburylaw.com     12/17/2023 7:53:14 PM     SENT

Angela McGinnis                          angela.mcginnis@pillsburylaw.com      12/17/2023 7:53:14 PM     SENT

Ali Choudhri                             ali@jetallcompanies.com               12/17/2023 7:53:14 PM     SENT



Associated Case Party: Ali Choudhri

Name           BarNumber   Email                       TimestampSubmitted      Status

Ali Choudhri               legal@jetallcompanies.com   12/17/2023 7:53:14 PM   SENT




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                               EXHIBIT 3




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                               EXHIBIT 4




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                               EXHIBIT 5




                                                                           000491
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                                    In the Matter Of:

                                    TEXAS REIT LLC
                                         24-10120-smr




                               OMAR KHAWAJA

                                September 11, 2024




                                                                            000492
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       OMAR KHAWAJA                                                  September 11, 2024
       TEXAS REIT LLC                                                                 1

∑1∑∑∑∑∑∑IN THE UNITED STATES BANKRUPTCY COURT

∑2∑∑∑∑∑∑∑FOR THE WESTERN DISTRICT OF TEXAS

∑3∑∑∑∑∑∑∑∑∑∑∑∑AUSTIN DIVISION

∑4

∑5∑∑In re:∑∑∑∑∑∑∑∑∑∑∑∑∑∑Chapter 11

∑6∑∑TEXAS REIT, LLC∑∑∑∑∑∑∑∑∑Case No.

∑7∑∑Debtor∑∑∑∑∑∑∑∑∑∑∑∑∑∑24-10120-smr

∑8

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10

11∑∑∑∑∑∑∑∑∑∑REMOTE DEPOSITION OF

12∑∑∑∑∑∑∑∑∑∑∑∑OMAR KHAWAJA

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16∑∑∑∑∑∑∑∑∑∑∑September 11, 2024
∑∑∑∑∑∑∑∑∑∑∑∑∑∑10:15 a.m.
17

18

19∑∑∑∑∑∑∑∑∑5051 Westheimer, Suite 1200
∑∑∑∑∑∑∑∑∑∑∑∑∑Houston, Texas
20

21

22

23

24
∑∑∑∑∑∑∑Cheryl Madriaga, Shorthand Reporter
25


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     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                  2

∑1∑∑∑∑∑∑∑∑∑∑APPEARANCES OF COUNSEL:

∑2
∑∑∑On behalf of Debtor, Texas Reit, LLC:
∑3
∑∑∑∑STEPHEN W. SATHER, ESQ.
∑4∑∑∑BARRON & NEWBURGER, P.C.
∑∑∑∑7320 N. Mopac Expy, Suite 400
∑5∑∑∑Austin, TX 78731
∑∑∑∑(512) 476-9103
∑6∑∑∑ssather@bn-lawyers.com

∑7
∑∑∑On behalf of Deponent, Omar Khawaja:
∑8
∑∑∑∑MICHAEL BALLASES, ESQ.
∑9∑∑∑HOOVER SLOVACEK, LLP
∑∑∑∑5051 Westheimer, Suite 1200
10∑∑∑Houston, Texas 77056
∑∑∑∑(713) 977-8686
11∑∑∑ballases@hooverslovacek.com

12
∑∑∑On behalf of Dalio Holdings I and II, LLC:
13
∑∑∑∑LORI A. HOOD, ESQ.
14∑∑∑SHACKELFORD, MCKINLEY & NORTON, LLP
∑∑∑∑717 Texas Avenue, 27th Floor
15∑∑∑Houston, TX 77002
∑∑∑∑(832) 669-6081
16∑∑∑lhood@shackelford.law

17
∑∑∑Also Present:
18
∑∑∑∑Dwayne Mason, Esq., Greenberg Traurig, LLP -
19∑∑∑prospective counsel for Dalio Holdings I and II, LLC

20∑∑∑Ali Chouhdri, pro se - in his individual capacity

21∑∑∑Gene McCubbin - assistant to Lori Hood

22∑∑∑Tammy Luu - assistant to Ali Choudhri

23∑∑∑Osama Abdullatif - noticed deponent

24∑∑∑John Quinlan - noticed deponent

25


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       OMAR KHAWAJA                                                  September 11, 2024
       TEXAS REIT LLC                                                                 3

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     OMAR KHAWAJA                                                 September 11, 2024
     TEXAS REIT LLC                                                                4

∑1∑∑∑∑∑∑∑∑∑∑P R O C E E D I N G S
∑2∑∑∑∑∑∑THE REPORTER:∑We are on the record.∑The date
∑3∑∑is September 11th, 2024.∑This begins the deposition
∑4∑∑of Omar Khawaja.
∑5∑∑∑∑∑∑My name is Cheryl Madriaga, representing
∑6∑∑Esquire Deposition Solutions.
∑7∑∑∑∑∑∑Will counsel please state their name on the
∑8∑∑record and whom they represent?
∑9∑∑∑∑∑∑MR. SATHER:∑Stephen Sather --
10∑∑∑∑∑∑MR. BALLASES:∑Michael Ballases --
11∑∑∑∑∑∑MR. SATHER:∑-- attorney for --
12∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) Khawaja --
13∑∑∑∑∑∑THE REPORTER:∑Sorry --
14∑∑∑∑∑∑MR. BALLASES:∑-- John Quinlan, and Osama
15∑∑Abdullatif.
16∑∑∑∑∑∑THE REPORTER:∑Okay.∑Sorry.∑I just had two
17∑∑people speaking at once.∑Could I start with one
18∑∑counsel, please?
19∑∑∑∑∑∑MR. BALLASES:∑Sure.∑Michael Ballases,
20∑∑counsel of record for the deponent, Omar Khawaja, also
21∑∑John Quinlan, also Osama Abdullatif.
22∑∑∑∑∑∑THE REPORTER:∑Thank you.
23∑∑∑∑∑∑MR. SATHER:∑Stephen Sather --
24∑∑∑∑∑∑MR. BALLASES:∑You're welcome.
25∑∑∑∑∑∑MR. SATHER:∑-- for Texas REIT, LLC, the


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     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                    5

∑1∑∑debtor in this case.
∑2∑∑∑∑∑∑MS. HOOD:∑Lori Hood of Dalio Holdings, a
∑3∑∑creditor in the case.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Ali Choudhri, a creditor in the
∑5∑∑case.
∑6∑∑∑∑∑∑THE REPORTER:∑Okay.∑Is there anything else,
∑7∑∑or are we ready to have me swear in the witness?
∑8∑∑∑∑∑∑MR. BALLASES:∑Now, there are other people on
∑9∑∑the call.∑They need to make an appearance.
10∑∑∑∑∑∑MR. MASON:∑This is Dwayne Mason, prospective
11∑∑counsel for Dalio with Greenberg Traurig.
12∑∑∑∑∑∑MR. MCCUBBIN:∑Gene McCubbin, assistant to
13∑∑Lori Hood.
14∑∑∑∑∑∑MR. BALLASES:∑Okay.∑I'm going to object --
15∑∑this is Michael Ballases.∑I'm going to object to Lori
16∑∑Hood, her assistant, Ali Choudhri, and Dwayne Mason
17∑∑being present on the call.∑They're not -- they don't
18∑∑represent Texas REIT.∑They're not parties, they don't
19∑∑have standing, and they cannot participate.∑And this
20∑∑is not a creditors' meeting.∑So I want that to be on
21∑∑the record.
22∑∑∑∑∑∑MR. SATHER:∑All right.∑Your objection is
23∑∑noted.∑Let's proceed.
24∑∑∑∑∑∑THE REPORTER:∑Okay.∑And just before we go on
25∑∑the record, I just ask that we please do our best not


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     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                     6

∑1∑∑to speak over one another.
∑2∑∑∑∑∑∑Mr. Khawaja, please keep your voice nice and
∑3∑∑loud, allow counsel to finish his completely before
∑4∑∑you begin your answer, and all answers must be verbal.
∑5∑∑Thank you.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑Just confirming, Madam Court
∑7∑∑Reporter, we are on the record; right?
∑8∑∑∑∑∑∑THE REPORTER:∑Yes, we are.
∑9∑∑∑∑∑∑MR. SATHER:∑All right.
10∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.
11∑∑∑∑∑∑MR. SATHER:∑If you would swear in the
12∑∑witness, please.
13∑∑∑∑∑∑∑∑∑∑∑∑OMAR KHAWAJA,
14∑∑having been first duly sworn, was examined and
15∑∑testified as follows:
16∑∑∑∑∑∑∑∑∑∑∑∑EXAMINATION
17∑∑∑∑∑∑MR. BALLASES:∑Real quick before we get
18∑∑started -- this is Michael Ballases -- I assume we
19∑∑have an agreement to take this deposition by the
20∑∑Federal Rules of Civil Procedure and also the Court's
21∑∑limiting instruction.
22∑∑∑∑∑∑MR. SATHER:∑Yes.
23∑∑∑∑∑∑MR. BALLASES:∑Okay.
24∑∑BY MR. SATHER:
25∑∑∑∑Q.∑All right.∑Mr. Khawaja, have you ever given a


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     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                  7

∑1∑∑deposition before?
∑2∑∑∑∑A.∑I don't think so, no.
∑3∑∑∑∑Q.∑All right.∑But are you familiar with the
∑4∑∑process for taking a deposition, sir?
∑5∑∑∑∑A.∑Yes.∑Yes, I am.
∑6∑∑∑∑Q.∑And do you understand that your testimony
∑7∑∑today is under oath?
∑8∑∑∑∑A.∑Yes, I do.
∑9∑∑∑∑Q.∑And is there anyone present in the room with
10∑∑you where you are giving your testimony?
11∑∑∑∑A.∑Yes, my attorney, Michael Ballases, and the
12∑∑other two parties, Osama Abdullatif and John Quinlan.
13∑∑∑∑Q.∑All right.∑And, Mr. Khawaja, do you
14∑∑understand that you cannot confer with any of the
15∑∑parties in the room with respect to your answers?
16∑∑∑∑A.∑Yes, I do.
17∑∑∑∑Q.∑Tell me what you do for a living.
18∑∑∑∑A.∑I'm an attorney.
19∑∑∑∑Q.∑And are you familiar with a company called
20∑∑Texas REIT, LLC?
21∑∑∑∑A.∑Yes, I am.
22∑∑∑∑Q.∑And how are you familiar with Texas REIT, LLC?
23∑∑∑∑A.∑So an entity that Ali Choudhri owns.
24∑∑∑∑Q.∑Okay.
25∑∑∑∑A.∑Or controls.


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     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                  8

∑1∑∑∑∑Q.∑And have you ever entered into a business
∑2∑∑transaction with Texas REIT, LLC?
∑3∑∑∑∑A.∑No, I have not.
∑4∑∑∑∑Q.∑Do you claim to be an owner of Texas REIT,
∑5∑∑LLC?
∑6∑∑∑∑A.∑No, I don't.
∑7∑∑∑∑Q.∑Have you ever filed a notice of lis pendens on
∑8∑∑behalf of any party against Texas REIT, LLC?
∑9∑∑∑∑A.∑I may have, yes.
10∑∑∑∑Q.∑Okay.∑And are you familiar with what a notice
11∑∑of lis pendens is?
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑Are you familiar with Ali Choudhri, who is
14∑∑present here today?
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And how are you familiar with Mr. Choudhri?
17∑∑∑∑A.∑I have litigation against him.∑He's defrauded
18∑∑me.∑He's defrauded people I know.∑I represent people
19∑∑against him.∑And, you know, we're sitting here in
20∑∑this case today, so I know him because I am a party in
21∑∑this case.
22∑∑∑∑Q.∑All right.∑Are you familiar with Jetall
23∑∑Companies?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑And how are you familiar with Jetall


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     TEXAS REIT LLC                                                                    9

∑1∑∑Companies?
∑2∑∑∑∑A.∑It's an entity that Ali Choudhri controls or
∑3∑∑owns, and I have judgments against them.
∑4∑∑∑∑∑∑MR. SATHER:∑All right.∑I'm going to share my
∑5∑∑screen and show Exhibit 1.
∑6∑∑∑∑∑∑(Debtor's Exhibit No. 1 was marked for
∑7∑∑identification.)
∑8∑∑∑∑Q.∑(BY MR. SATHER)∑I have previously provided
∑9∑∑this document to the court reporter and your counsel.
10∑∑∑∑∑∑And so can you see Exhibit Number 1 on the
11∑∑screen, sir?
12∑∑∑∑A.∑Yes, I do.
13∑∑∑∑∑∑THE WITNESS:∑Do you have a physical copy too,
14∑∑Michael?
15∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑Now, are you
16∑∑familiar -- are you aware that this is a proof of
17∑∑claim filed with the United States Bankruptcy Court?
18∑∑∑∑A.∑Yes, I am.
19∑∑∑∑Q.∑And are you one of the claimants listed on
20∑∑this proof of claim?
21∑∑∑∑A.∑I am.
22∑∑∑∑Q.∑And as I read the proof of claim, there are
23∑∑three individuals who are listed as the current
24∑∑creditor:∑John Quinlan, Omar Khawaja, and Osama
25∑∑Abdullatif.∑What is the relationship between the


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∑1∑∑three individuals with respect to the proof of claim?
∑2∑∑∑∑A.∑They're just judgment orders.
∑3∑∑∑∑Q.∑Okay.∑But do each of you assert the claim
∑4∑∑jointly and severally, or do each of you have
∑5∑∑different pieces of the claim?
∑6∑∑∑∑A.∑You know, jointly and severally.
∑7∑∑∑∑Q.∑All right.∑Now, do you have an agreement
∑8∑∑between the three of you as to how any monies received
∑9∑∑on the claim will be divided?
10∑∑∑∑A.∑Not particularly.∑I mean, you know, we don't
11∑∑have a written agreement, from my understanding.
12∑∑∑∑Q.∑Okay.∑Now, if I could go --
13∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) Ballases.∑I'm
14∑∑going to object.∑You're violating -- you're being
15∑∑harassing and oppressive and that you're violating the
16∑∑Court's limiting instruction.
17∑∑∑∑∑∑I'm going to give you a little bit of leeway
18∑∑to get into all this just because it's background, but
19∑∑the purpose of this deposition is for you to ascertain
20∑∑why my clients filed the proof of claim and why they
21∑∑now want to withdraw it.∑And so I'll give you some
22∑∑leeway, but I'm just letting you know.
23∑∑∑∑∑∑MR. SATHER:∑All right.∑I disagree with that
24∑∑contention.∑I've listened to Judge Robinson's ruling.
25∑∑I think it's broader.∑But I'm going to continue on,


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∑1∑∑and if we run into a problem, we may have to take that
∑2∑∑up with the Court.∑But let me move on with my
∑3∑∑questions.
∑4∑∑∑∑Q.∑(BY MR. SATHER)∑Mr. Khawaja, did you sign the
∑5∑∑proof of claim?
∑6∑∑∑∑A.∑I don't recall signing it.∑I may have. I
∑7∑∑don't know.
∑8∑∑∑∑Q.∑Okay.∑Did you authorize filing the proof of
∑9∑∑claim?
10∑∑∑∑A.∑Yes, I did.
11∑∑∑∑Q.∑Did you read the proof of claim before it was
12∑∑filed?
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑What steps did you take to ensure that the
15∑∑proof of claim was accurate?
16∑∑∑∑A.∑I read it.
17∑∑∑∑Q.∑All right.∑Now, I'm going to go down to Box 7
18∑∑on the claim, and that has a dollar amount.∑Do you
19∑∑see that?
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑And do you know how that number was
22∑∑calculated?
23∑∑∑∑A.∑I don't recall.
24∑∑∑∑Q.∑Going to page 8 of 54, there is a summary of
25∑∑damages.∑Does that refresh your recollection as to


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∑1∑∑how the proof of claim numbers were calculated?
∑2∑∑∑∑A.∑Can you enlarge it just a little bit so I can
∑3∑∑look at it carefully?
∑4∑∑∑∑Q.∑Sure I can.∑It does depend on my ability to
∑5∑∑work this.∑Does that help?
∑6∑∑∑∑A.∑Yeah, that -- that helps.∑Thank you.
∑7∑∑∑∑Q.∑And so do you know where -- and let me scroll
∑8∑∑up here.
∑9∑∑∑∑A.∑Sure.
10∑∑∑∑Q.∑Do you know where these numbers came from?
11∑∑∑∑A.∑This appears to be numbers that my counsel
12∑∑provided.
13∑∑∑∑Q.∑And for the record, who is your counsel who
14∑∑provided the numbers?
15∑∑∑∑A.∑Michael Ballases with Hoover Slovacek.
16∑∑∑∑Q.∑And have you taken any steps personally to
17∑∑verify that these amounts are correct?
18∑∑∑∑A.∑I mean, I looked at the judgments before we
19∑∑filed them.
20∑∑∑∑Q.∑Anything else?
21∑∑∑∑A.∑That's it.
22∑∑∑∑Q.∑Now I'm going to go to Box 9 and -- now, on
23∑∑this page, it asks:∑Is any -- all or any part of the
24∑∑claim secured?∑And it's not checked, but I'd like to
25∑∑go to a subsequent page.∑It may be a prior page.


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∑1∑∑Excuse me.
∑2∑∑∑∑∑∑Okay.∑Here we go.∑Looking at Box 9, do you
∑3∑∑see where the box of, Is the claim secured, checked
∑4∑∑"Yes."∑Do you see that, sir?
∑5∑∑∑∑A.∑I do see that.
∑6∑∑∑∑Q.∑What is the basis for the claim being secured
∑7∑∑according to the proof of claim?
∑8∑∑∑∑A.∑I mean, I'd have to ask my attorney.
∑9∑∑∑∑Q.∑Okay.∑But it says -- and I believe this is
10∑∑probably a typo, but it says "les pendens."∑You think
11∑∑that's a reference to filing of a notice of lis
12∑∑pendens?
13∑∑∑∑A.∑It could be.
14∑∑∑∑Q.∑And is it your contention that filing a notice
15∑∑of lis pendens creates an interest in property?
16∑∑∑∑A.∑It doesn't create -- it doesn't create an
17∑∑interest in property.
18∑∑∑∑Q.∑All right.∑What do you believe that it does?
19∑∑∑∑A.∑It secures a potential claim against property.
20∑∑∑∑Q.∑Okay.∑Now, it's my understanding that the
21∑∑proof of claim is based upon three separate judgments.
22∑∑Is that your understanding?
23∑∑∑∑A.∑I think that's accurate.
24∑∑∑∑Q.∑Now, would you agree with me that none of
25∑∑these judgments were taken against Texas REIT, LLC,


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∑1∑∑the debtor in this case?
∑2∑∑∑∑A.∑I believe that's correct.
∑3∑∑∑∑Q.∑Now, I'm going to go down and look at the
∑4∑∑different judgments, and I'm going to ask you some
∑5∑∑questions about them.∑And actually I'm just going to
∑6∑∑start with the summary here.
∑7∑∑∑∑∑∑Number 1 is -- Judgment 1 is called the "Davy
∑8∑∑and Heil Judgment."∑Do you see that?
∑9∑∑∑∑A.∑I do.
10∑∑∑∑Q.∑And this appears to be -- actually, I am going
11∑∑to go to the judgment.∑I apologize.∑This appears to
12∑∑be a judgment in a case from the Court of Appeal
13∑∑styled Jetall Companies, Inc., Appellant, versus
14∑∑Richard Heil, Todd Oakum, and Renee Davy, formerly
15∑∑known as Renee Davy, formally known as Renee Oakum.
16∑∑∑∑∑∑Do you see that?
17∑∑∑∑A.∑I do.
18∑∑∑∑Q.∑Now, you were not a party to this judgment,
19∑∑were you, sir?
20∑∑∑∑A.∑I was not.
21∑∑∑∑Q.∑And what is your connection to the judgment
22∑∑that would give you the authority to submit a proof of
23∑∑claim in this case?
24∑∑∑∑A.∑The judgment was assigned to me.
25∑∑∑∑Q.∑Okay.∑And is that -- was that a written


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∑1∑∑assignment of judgment?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And I will represent to you that the
∑4∑∑assignment of judgment is not part of the proof of
∑5∑∑claim.∑Do you know why that assignment was not
∑6∑∑included?
∑7∑∑∑∑A.∑I don't know why.
∑8∑∑∑∑Q.∑And if we were to look at the assignment of
∑9∑∑the judgment, would the assignee be just Omar Khawaja,
10∑∑or would it be someone else?
11∑∑∑∑A.∑I believe my assignment would have my name on
12∑∑it.∑I'm not sure about the other assignments.
13∑∑∑∑Q.∑Okay.∑So for this particular judgment, it was
14∑∑assigned to you, Omar Khawaja?
15∑∑∑∑A.∑I don't have it in front of me.∑It's possible
16∑∑that Mr. Abdullatif and Mr. Quinlan's name are on the
17∑∑assignment.
18∑∑∑∑Q.∑All right.∑How much did you pay to have the
19∑∑judgment assigned to you?
20∑∑∑∑A.∑I don't recall.
21∑∑∑∑Q.∑And did you pay anything to acquire the
22∑∑judgment?
23∑∑∑∑A.∑Yes, I did.
24∑∑∑∑Q.∑Now, do you agree with me that this judgment
25∑∑is against Jetall Companies and not Texas REIT?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑This particular judgment is against Jetall;
∑3∑∑that is correct.
∑4∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑And so do you
∑5∑∑contend that Texas REIT, LLC, is liable for a judgment
∑6∑∑against Jetall Companies, Inc.?
∑7∑∑∑∑A.∑Yes, I do.
∑8∑∑∑∑Q.∑And why do you contend that, sir?
∑9∑∑∑∑A.∑Because all of the entities that Mr. Choudhri
10∑∑either controls or is involved in are essentially
11∑∑shell companies for his own personal finances, so
12∑∑any --
13∑∑∑∑Q.∑(Unintelligible)
14∑∑∑∑A.∑Any company are -- I'm sorry.∑Would you like
15∑∑me to continue, or --
16∑∑∑∑Q.∑Yes, please.
17∑∑∑∑A.∑-- do you want to --
18∑∑∑∑Q.∑I did not mean to cut you off.
19∑∑∑∑A.∑Sorry.∑I was saying any entity that
20∑∑Mr. Choudhri controls or owns is treated as if it is
21∑∑his own personal asset with no respect for the
22∑∑corporate form and, I believe, is responsible for --
23∑∑one entity is responsible for the other entity's
24∑∑conduct.
25∑∑∑∑Q.∑Now I'd like to scroll down to the second


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∑1∑∑judgment.∑And this document says it's a judgment from
∑2∑∑the 14th Court of Appeals in Jetall Companies, Inc.
∑3∑∑Versus Hoover Slovacek, LLP.∑Are you familiar with
∑4∑∑this judgment?
∑5∑∑∑∑A.∑Yes, I am.
∑6∑∑∑∑Q.∑Is Hoover Slovacek the law firm that is
∑7∑∑representing you today in connection with this
∑8∑∑deposition?
∑9∑∑∑∑A.∑Yes, it is.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MR. SATHER)∑You can answer.
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑What is your connection to -- your connection,
14∑∑if any, to this judgment?
15∑∑∑∑A.∑I believe I acquired it.
16∑∑∑∑Q.∑Did you acquire it by way of a written
17∑∑assignment?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑And did you pay any consideration to Hoover
20∑∑Slovacek to acquire their judgment?
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑And how much did you pay them to acquire this
23∑∑judgment?
24∑∑∑∑A.∑I don't recall how much I paid.
25∑∑∑∑Q.∑And is it a regular part of your business to


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∑1∑∑purchase judgments?
∑2∑∑∑∑A.∑Yes, it is.
∑3∑∑∑∑Q.∑Now, I may have asked this already, in which
∑4∑∑case I apologize, but do you have a written assignment
∑5∑∑of judgment?
∑6∑∑∑∑A.∑Yes -- yes, I believe there is one.∑I don't
∑7∑∑have it in front of me.
∑8∑∑∑∑Q.∑Is there a reason that assignment was not
∑9∑∑included with the proof of claim?
10∑∑∑∑A.∑I don't know.
11∑∑∑∑Q.∑And do you know whether the assignment would
12∑∑have been in favor of you, John Quinlan, Osama
13∑∑Abdullatif, or some combination of the three of you?
14∑∑∑∑A.∑I believe all three of us.∑It was assigned to
15∑∑all three of us on the same instrument.
16∑∑∑∑Q.∑Now, do you agree with me that this judgment
17∑∑is against Jetall Companies and not Texas REIT, LLC?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑And why do you contend that Texas REIT, LLC,
20∑∑is liable for a judgment against Jetall Companies?
21∑∑∑∑A.∑Because Texas REIT, LLC, is an alter ego of
22∑∑Jetall Companies, Inc.
23∑∑∑∑Q.∑Now I'm going to go to the third judgment.
24∑∑And this is a judgment in a case -- well, first of
25∑∑all, do you see the judgment that I have up on the


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∑1∑∑screen?
∑2∑∑∑∑A.∑I do.
∑3∑∑∑∑Q.∑And that appears to be a judgment in a case,
∑4∑∑Osama Abdullatif, individually, and Abdullatif &
∑5∑∑Company, LLC, versus Ali Choudhri and Houston Real
∑6∑∑Estate Properties, LLC; is that correct?
∑7∑∑∑∑A.∑That's correct.
∑8∑∑∑∑Q.∑And do you have an interest in this judgment,
∑9∑∑or is this just Mr. Abdullatif's judgment?
10∑∑∑∑A.∑This particular judgment is Mr. Abdullatif's
11∑∑judgment.
12∑∑∑∑Q.∑All right.∑So do you have any interest in
13∑∑this judgment whatsoever?
14∑∑∑∑A.∑No, I do not.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑Do you assert an
17∑∑interest in the judgment in Cause Number 2013-41273?
18∑∑∑∑A.∑No.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑Q.∑(BY MR. SATHER)∑Now, of the three judgments
21∑∑we went through, you assert an interest in the first
22∑∑two, but not the third; is that correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑That's correct.
25∑∑∑∑Q.∑(BY MR. SATHER)∑Now, continuing down in the


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∑1∑∑claim, there is a copy of an adversary proceeding that
∑2∑∑was filed in the United States Bankruptcy Court for
∑3∑∑the Southern District of Texas.∑Are you familiar with
∑4∑∑this adversary proceeding?
∑5∑∑∑∑A.∑Vaguely.
∑6∑∑∑∑Q.∑Okay.∑And I see that you are named as one of
∑7∑∑the movants in the adversary proceeding.∑Do you see
∑8∑∑that?
∑9∑∑∑∑A.∑Yes, I do.
10∑∑∑∑Q.∑Did you authorize the adversary proceeding to
11∑∑be filed listing you as one of the participants?
12∑∑∑∑A.∑Yes, I did.
13∑∑∑∑Q.∑Did you read it before it was signed?
14∑∑∑∑A.∑Yes, I did.
15∑∑∑∑Q.∑Now, so what is your understanding of the role
16∑∑that this adver -- or that this original complaint
17∑∑plays with respect to the proof of claim that was
18∑∑filed on your behalf?
19∑∑∑∑A.∑I mean, I'm not a bankruptcy attorney.∑We're
20∑∑doing whatever we need to do to try to collect our
21∑∑judgment.
22∑∑∑∑Q.∑So you're an attorney; right?
23∑∑∑∑A.∑Yes.
24∑∑∑∑Q.∑And you -- when you represent clients, you
25∑∑file pleadings on their behalf; correct?


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∑1∑∑∑∑A.∑That's correct.
∑2∑∑∑∑Q.∑And -- but your clients need to understand
∑3∑∑what you're filing for them, don't they?∑Isn't that
∑4∑∑part of the rules regarding filing lawsuits?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑What steps did you take to familiarize
∑7∑∑yourself with the allegations in this adversary
∑8∑∑proceeding?
∑9∑∑∑∑A.∑I reviewed the judgments, and I reviewed the
10∑∑complaint.
11∑∑∑∑Q.∑And after reviewing them, did you conclude
12∑∑that the allegations were true and correct?
13∑∑∑∑A.∑Yes, I did.
14∑∑∑∑Q.∑Now I'm going to read you a statement in
15∑∑paragraph 1 of the adversary proceeding, which says:
16∑∑∑∑∑∑This lawsuit shall prove that Jetall
17∑∑∑∑∑∑Companies, Inc., Arabella PH 3201, LLC,
18∑∑∑∑∑∑9201 Memorial Drive, LLC, 2727 Kirby 26L,
19∑∑∑∑∑∑LLC, Texas REIT, LLC, Dalio Holdings I,
20∑∑∑∑∑∑LLC, Dalio Holdings II, LLC, Houston Real
21∑∑∑∑∑∑Estate Properties, LLC, Shahnaz Choudhri,
22∑∑∑∑∑∑Ali Choudhri, Shepherd-Huldy
23∑∑∑∑∑∑Development I, LLC, Shepherd-Huldy
24∑∑∑∑∑∑Development II, LLC, and Galleria Loop
25∑∑∑∑∑∑Note Holder, LLC, (collectively the


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∑1∑∑∑∑∑∑Choudhri defendants) are alter egos of
∑2∑∑∑∑∑∑each other and intentionally acting in a
∑3∑∑∑∑∑∑manner to defraud creditors and evade
∑4∑∑∑∑∑∑legal obligations through a series of
∑5∑∑∑∑∑∑fraudulent transfers.∑The evidence will
∑6∑∑∑∑∑∑demonstrate that Ali Choudhri is the
∑7∑∑∑∑∑∑puppeteer controlling his web of business
∑8∑∑∑∑∑∑entities, which hold his various
∑9∑∑∑∑∑∑properties and other assets.∑This web
10∑∑∑∑∑∑includes Houston Real Estate Properties,
11∑∑∑∑∑∑LLC, and Jetall Companies, Inc., as well
12∑∑∑∑∑∑as the other named defendants.
13∑∑Did I read that correctly?
14∑∑∑∑A.∑Yes, you did.
15∑∑∑∑Q.∑Do you have an understanding of what it means
16∑∑to say that one person or company is the alter ego of
17∑∑another person or company?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑And what is your understanding?
20∑∑∑∑A.∑That one entity pays the debts or obligations
21∑∑of another.∑They commingle funds, commingle assets.
22∑∑One principal is taking actions on behalf of any of
23∑∑the various alter egos at any given time with no
24∑∑respect for the corporate form.∑Yeah, that's my --
25∑∑that's my understanding.


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∑1∑∑∑∑Q.∑All right.∑Now, is it your contention that
∑2∑∑each of the 13 persons and companies named as
∑3∑∑defendants is the alter ego of every other one of the
∑4∑∑persons and companies named?
∑5∑∑∑∑A.∑That's what --
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑(BY MR. SATHER)∑So are you contending that
∑9∑∑Texas REIT is the alter ego of Jetall Companies?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑That's what it says.∑Yes.
12∑∑∑∑Q.∑(BY MR. SATHER)∑And are you alleging that
13∑∑Texas REIT is the alter ego of Arabella PH 3201, LLC?
14∑∑∑∑A.∑Yes.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑Q.∑(BY MR. SATHER)∑Are you alleging that Texas
17∑∑REIT is the alter ego of Dalio I Holdings (sic), LLC?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑A.∑Yes.
20∑∑∑∑Q.∑(BY MR. SATHER)∑And would your answers be the
21∑∑same if I went through all of the rest of the names of
22∑∑the defendants in this case?
23∑∑∑∑A.∑Yes, because Ali Choudhri controls all of
24∑∑them.
25∑∑∑∑Q.∑All right.∑And so are you alleging that Ali


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∑1∑∑Choudhri and Shahnaz Choudhri are alter egos of each
∑2∑∑other?
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑Q.∑(BY MR. SATHER)∑So are you -- it's your
∑6∑∑contention that any company or entity in which Ali
∑7∑∑Choudhri has an interest is an alter ego of Ali
∑8∑∑Choudhri?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑I don't know if there's any.∑I mean, are
11∑∑there entities that I don't know about?∑I don't know.
12∑∑∑∑Q.∑(BY MR. SATHER)∑Were you aware that there was
13∑∑an amended complaint filed that names 17 defendants?
14∑∑∑∑A.∑I believe --
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I believe so.
17∑∑∑∑Q.∑(BY MR. SATHER)∑And is it your contention
18∑∑that each of the 17 defendants is the alter ego of
19∑∑each of the other 17 defendants?
20∑∑∑∑A.∑If that's what the petition says, yes, that's
21∑∑my contention.
22∑∑∑∑Q.∑The complaint alleges that each of the claimed
23∑∑alter egos were, quote (Reading:)∑...intentionally
24∑∑acting in a manner to defraud creditors and evade
25∑∑legal obligations through a series of fraudulent


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∑1∑∑transfers.
∑2∑∑∑∑∑∑Did I read that right?
∑3∑∑∑∑A.∑Yes, you did.
∑4∑∑∑∑Q.∑So are you claiming that every one of these 13
∑5∑∑or 17 persons and companies listed made fraudulent
∑6∑∑transfers to each and every other one of the persons
∑7∑∑and companies listed?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑So, for example, are you claiming that Shahnaz
10∑∑Choudhri made fraudulent transfers to 2727 Kirby 26L,
11∑∑LLC?
12∑∑∑∑A.∑I don't know about that.
13∑∑∑∑Q.∑As we sit here today, do you know of any
14∑∑fraudulent transfers that any of these defendants made
15∑∑to Texas REIT, LLC, the debtor in this case?
16∑∑∑∑A.∑I don't.
17∑∑∑∑Q.∑And so with respect to that particular
18∑∑allegation about making fraudulent transfers, you're
19∑∑not aware of any involving the debtor in this case;
20∑∑correct?
21∑∑∑∑A.∑I'm not aware of any sitting as -- as I'm
22∑∑sitting here right now.∑But any specific one?∑No.
23∑∑∑∑Q.∑And what would you need to do --
24∑∑∑∑∑∑THE WITNESS:∑Oh, Mr. Sather, I'm sorry. I
25∑∑need to just take a quick restroom break if you don't


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∑1∑∑mind.
∑2∑∑∑∑∑∑MR. SATHER:∑All right --
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑No.∑No.∑No.∑Hold on.∑Let's
∑4∑∑finish this line of questioning.∑Please ask your
∑5∑∑question --
∑6∑∑∑∑∑∑MR. SATHER:∑Mr. Choudhri -- Mr. Choudhri,
∑7∑∑it's my questions.∑I decide whether we're going to
∑8∑∑take a bathroom break or not.
∑9∑∑∑∑∑∑I don't have a problem with taking a break,
10∑∑but do not discuss your testimony with your attorney
11∑∑while we're off the record.
12∑∑∑∑∑∑THE WITNESS:∑Not a problem.
13∑∑∑∑∑∑MR. SATHER:∑All right.∑And so five minutes?
14∑∑∑∑∑∑THE WITNESS:∑Five minutes should be good.
15∑∑∑∑∑∑MR. SATHER:∑All right.∑Madam Reporter, we
16∑∑will be off the record for five minutes.
17∑∑∑∑∑∑THE REPORTER:∑Off the record.
18∑∑∑∑∑∑(A recess was taken.)
19∑∑∑∑∑∑THE REPORTER:∑All right.∑We are back on the
20∑∑record.
21∑∑∑∑Q.∑(BY MR. SATHER)∑And, Mr. Khawaja, I want to
22∑∑follow up on something I asked you earlier.∑When I
23∑∑asked you how you knew Ali Choudhri, you said that he
24∑∑defrauded you.∑Can you tell me what transaction that
25∑∑he defrauded you with regard to?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑It was an apartment complex that my family
∑3∑∑owned.
∑4∑∑∑∑Q.∑(BY MR. SATHER)∑And was it you personally, or
∑5∑∑was it your family?
∑6∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct the
∑7∑∑witness not to answer.∑He's here to answer the basis
∑8∑∑for his proof of claim and why he wants to withdraw
∑9∑∑it.∑That's not a part of his claim.∑It's not alleged
10∑∑in any of the documents, and therefore, it's outside
11∑∑the scope of the judge's limiting instruction.
12∑∑∑∑Q.∑(BY MR. SATHER)∑Is this prior transaction --
13∑∑have anything to do with this case?
14∑∑∑∑A.∑I'm sorry.∑Can you repeat that question?
15∑∑∑∑Q.∑Yes.∑Does the prior transaction where you say
16∑∑Mr. Choudhri defrauded you or your family -- does that
17∑∑have anything to do with the proof of claim against
18∑∑Texas REIT?
19∑∑∑∑A.∑No.
20∑∑∑∑Q.∑Now, earlier I asked you about whether your
21∑∑business involved purchasing judgments, and I also --
22∑∑you also testified that you're an attorney.∑Are those
23∑∑separate businesses that you're involved in?
24∑∑∑∑A.∑No.
25∑∑∑∑Q.∑And so do you purchase judgments through your


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∑1∑∑law firm?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And about how many judgments have you
∑4∑∑purchased in, say, the last five years?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑I don't know.∑I'm not sure, to be honest with
∑7∑∑you.
∑8∑∑∑∑Q.∑(BY MR. SATHER)∑More than ten?
∑9∑∑∑∑A.∑No, probably not more than ten.
10∑∑∑∑Q.∑And --
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. SATHER)∑-- have you -- do you
13∑∑purchase judgments against anyone other than entities
14∑∑related to Ali Choudhri?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑Not that I can recall.
17∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑So when we talk
18∑∑about your purchase of judgments, that -- at least as
19∑∑you recall today, those relate to your dealings with
20∑∑Ali Choudhri.
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑And how would you describe your relationship
23∑∑with Mr. Choudhri?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑What do you -- what do you mean?


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∑1∑∑∑∑Q.∑(BY MR. SATHER)∑Is it cordial?∑Unpleasant?
∑2∑∑Adversarial?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑He owes me money.∑I mean, that's about it.
∑5∑∑∑∑Q.∑(BY MR. SATHER)∑Going back to the adversary
∑6∑∑proceeding that's part of the proof of claim, I'm
∑7∑∑going to go to paragraph 22.∑And it's kind of a long
∑8∑∑paragraph, so I'm just going to read you some
∑9∑∑sentences towards the end where it says, quote
10∑∑(Reading:)∑Choudhri views HREP, Jetall, and himself,
11∑∑as well as the other named defendants, as one and the
12∑∑same and utilizes them in such a fashion.∑In other
13∑∑words, there is unity between Choudhri, HREP, Jetall,
14∑∑and his other business entities such that the
15∑∑separateness of the business entities has ceased, and
16∑∑thus this Court should treat the Choudhri defendants
17∑∑accordingly to protect plaintiffs/the creditors.∑And
18∑∑this is where the lawsuit begins.
19∑∑∑∑∑∑So did I read that correctly?
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑And so what is the basis for your statement
22∑∑that Mr. Choudhri views all of the Choudhri defendants
23∑∑as one and the same?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑It's in the petition, Counsel.∑All of the


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∑1∑∑bases that we have are listed out in very clear, you
∑2∑∑know, language, just like you read.
∑3∑∑∑∑Q.∑(BY MR. SATHER)∑Can you articulate what any
∑4∑∑of those bases are?
∑5∑∑∑∑A.∑It's -- I mean --
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑-- do you want me to -- do you want me to
∑8∑∑start reading the petition for you?∑I'm happy to read
∑9∑∑it for you, but it's in the petition.
10∑∑∑∑Q.∑(BY MR. SATHER)∑I'm asking you -- I mean,
11∑∑without reading the petition, do you know what the
12∑∑basis for the allegations is?
13∑∑∑∑A.∑I mean the -- without reading the petition,
14∑∑the purpose of the petition was to articulate the
15∑∑basis of the petition.∑So it's in the petition
16∑∑itself.∑I'm happy to read through the petition for
17∑∑you if you'd like me to, but in -- in plain language,
18∑∑he treats every entity that he controls or owns as a
19∑∑personal piggy bank, just like the petition states.
20∑∑And that's the basis of the alter ego claim that we're
21∑∑making.
22∑∑∑∑Q.∑All right.∑And so your allegation is also
23∑∑that he views his mother as one and the same with
24∑∑himself?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑(BY MR. SATHER)∑Now, you obviously don't
∑3∑∑contend that they're the same person; right?∑You --
∑4∑∑they are different human beings.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑∑∑(Crosstalk)
∑7∑∑∑∑A.∑Sorry.∑Is that a -- was that -- do you really
∑8∑∑want me to answer that question?∑I'm not sure.
∑9∑∑∑∑Q.∑(BY MR. SATHER)∑Yes, I do.∑I wouldn't have
10∑∑asked it if I --
11∑∑∑∑A.∑You mean like Norman Bates, that kind of thing
12∑∑or -- is that what -- I'm sorry.∑It's just a
13∑∑stupid --
14∑∑∑∑Q.∑(BY MR. SATHER)∑I just want you to
15∑∑acknowledge that these are two different human beings,
16∑∑sir.
17∑∑∑∑A.∑Yes, sir.∑Yes, they're two different human
18∑∑beings.
19∑∑∑∑Q.∑And so is it your contention that there's no
20∑∑separateness between, say, Houston Real Estate
21∑∑Properties, LLC, and Texas REIT, LLC?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Again, I'm gonna -- I'm gonna refer you back,
24∑∑Mr. Sather, to the petition.∑That's what the petition
25∑∑states.


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∑1∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑And you contend
∑2∑∑that -- and you stand by the allegations in the
∑3∑∑petition.
∑4∑∑∑∑A.∑Yes, sir.∑I stand by each and every
∑5∑∑allegation in the petition.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. SATHER)∑And so is everything that you
∑8∑∑know about this allegation of alter ego contained in
∑9∑∑the petition?
10∑∑∑∑A.∑I mean, we don't -- I don't believe we
11∑∑finished discovering the process, sir, so we're -- I'm
12∑∑sure we're gonna get to learn a lot more about the
13∑∑alter-ego basis on which Mr. Choudhri operates and the
14∑∑other defendants.
15∑∑∑∑Q.∑And so did the petition set forth all of the
16∑∑bases that you knew about at the time it was filed?
17∑∑∑∑A.∑In a good faith manner, yes.
18∑∑∑∑Q.∑All right.∑What does that mean, "in a good
19∑∑faith manner"?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑To the best of our ability, right, on some --
22∑∑on some evidence that we've been able to muster.
23∑∑∑∑Q.∑(BY MR. SATHER)∑Did you intentionally omit
24∑∑any bases for making an allegation of alter ego?
25∑∑∑∑A.∑No.


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∑1∑∑∑∑∑∑MR. BALLASES:∑No, I instruct the client not
∑2∑∑to answer, simply because you're invading attorney
∑3∑∑work product, legal privileges.∑What we decided to
∑4∑∑put in or not in our petition is subject to work
∑5∑∑product and privilege.∑Don't invade our privilege,
∑6∑∑please.
∑7∑∑∑∑Q.∑(BY MR. SATHER)∑All right.∑Do you know of
∑8∑∑any evidence that you decided not to include in the
∑9∑∑petition?
10∑∑∑∑∑∑MR. BALLASES:∑Same assertion of privilege.
11∑∑∑∑Q.∑(BY MR. SATHER)∑You can answer, sir.
12∑∑∑∑∑∑MR. BALLASES:∑It's work product and
13∑∑privilege.∑I'm instructing him not to answer.∑It's
14∑∑invading a legal privilege that he enjoys.
15∑∑∑∑∑∑THE REPORTER:∑And I'm sorry.∑Counsel, if I
16∑∑could just get you to just speak up a little bit as
17∑∑well.∑You're just sounding a little bit muffled.
18∑∑∑∑∑∑MR. BALLASES:∑Yes, ma'am.
19∑∑∑∑∑∑THE REPORTER:∑Thank you.
20∑∑∑∑Q.∑(BY MR. SATHER)∑I'd like to go to
21∑∑paragraph 23 where it says (Reading:)∑Plaintiffs are
22∑∑upstanding, honest, and respectable businessmen, real
23∑∑estate developers, attorneys, and/or a combination of
24∑∑all.
25∑∑∑∑∑∑Which of those categories do you fall into,


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∑1∑∑sir?
∑2∑∑∑∑A.∑(Reading:)∑Plaintiffs are upstanding, honest,
∑3∑∑respectable businessmen, attorneys --
∑4∑∑∑∑∑∑A combination.
∑5∑∑∑∑Q.∑Okay.∑A combination of what?
∑6∑∑∑∑A.∑Of all.
∑7∑∑∑∑Q.∑Okay.∑So you're a businessman, real estate
∑8∑∑developer, and attorney?
∑9∑∑∑∑A.∑But I'm also upstanding, honest, and
10∑∑respectable.
11∑∑∑∑Q.∑Okay.∑Now, was it upstanding, honest, and
12∑∑respectable for you to sponsor Mr. Choudhri's ex-wife
13∑∑to claim to still be married to him and file notices
14∑∑of lis pendens against all of his properties?
15∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct the
16∑∑client not to answer.∑You are violating the Court's
17∑∑limiting instruction as to this deposition, and the
18∑∑purpose of this deposition is to find the basis for
19∑∑the filing of the proof of claim and why we are
20∑∑willing to withdraw it now.∑I'll let you go on and
21∑∑get past that, but I'm going to start putting stops to
22∑∑it if this is the kind of stuff we're going to have.
23∑∑∑∑Q.∑(BY MR. SATHER)∑Okay.∑But it's your
24∑∑contention that you are, in fact, an upstanding,
25∑∑honest, and respectable businessman, real estate


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∑1∑∑developer, and attorney, sir.
∑2∑∑∑∑A.∑Yes --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑MR. SATHER:∑Now, I'm going to move on to a
∑5∑∑different exhibit, Exhibit Number 2, assuming I can
∑6∑∑bring it up on the screen.
∑7∑∑∑∑∑∑(Debtor's Exhibit No. 2 was marked for
∑8∑∑identification.)
∑9∑∑∑∑Q.∑(BY MR. SATHER)∑Actually, one thing I didn't
10∑∑ask you, Mr. Khawaja:∑How old of a man are you?
11∑∑∑∑A.∑46.
12∑∑∑∑Q.∑And are you licensed to practice law in the
13∑∑state of Texas?
14∑∑∑∑A.∑Yes, I am.
15∑∑∑∑Q.∑And when were you licensed?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑2010.
18∑∑∑∑Q.∑(BY MR. SATHER)∑I've brought up on the screen
19∑∑what we've marked as Exhibit 2, which is titled
20∑∑"Supplemental Notice of Lis Pendens."∑Are you
21∑∑familiar with this document?
22∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather, we don't have
23∑∑copies of that.∑Could you please e-mail that to
24∑∑myself and Steve Leyh and any other exhibits you'd
25∑∑like to use?


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∑1∑∑∑∑∑∑MR. SATHER:∑Sure.∑Those should've been
∑2∑∑provided to you in a ShareFile yesterday.
∑3∑∑∑∑∑∑MR. BALLASES:∑Could you resend them?
∑4∑∑∑∑∑∑MR. SATHER:∑I will -- yes, I will resend
∑5∑∑those --
∑6∑∑∑∑∑∑MR. BALLASES:∑Please send them to Steve and
∑7∑∑myself.
∑8∑∑∑∑∑∑MR. SATHER:∑My computer is lagging just a
∑9∑∑little bit, so it'll take a second for them to load.
10∑∑But I had tried to provide these to you ahead of time
11∑∑so we could avoid this.
12∑∑∑∑∑∑Okay.∑And as you can see from the screen
13∑∑share, I have sent the e-mail to you.
14∑∑∑∑∑∑THE WITNESS:∑Michael, I think he's addressing
15∑∑you on the e-mail.
16∑∑∑∑∑∑MR. BALLASES:∑That's fine.
17∑∑∑∑Q.∑(BY MR. SATHER)∑Now, what we've marked as
18∑∑Exhibit Number 2 is a supplemental notice of lis
19∑∑pendens.∑And I'm going to scroll down to the end of
20∑∑it, and do you see the real property description
21∑∑there?
22∑∑∑∑A.∑I do, yes.
23∑∑∑∑Q.∑And are you aware that that is real property
24∑∑owned by Texas REIT, LLC?
25∑∑∑∑A.∑Yes.


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∑1∑∑∑∑Q.∑And are you familiar with this notice of
∑2∑∑lis pendens?
∑3∑∑∑∑A.∑I believe I looked at it before it was filed,
∑4∑∑yes.
∑5∑∑∑∑Q.∑And it looks like it's filed by
∑6∑∑Mr. Abdullatif, and he is one of the parties to the
∑7∑∑proof of claim; correct?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MR. SATHER)∑And did you approve of the
11∑∑filing of this notice?
12∑∑∑∑A.∑I must have if it was filed.
13∑∑∑∑Q.∑And what's your understanding of the purpose
14∑∑of this notice?
15∑∑∑∑A.∑To make sure that we secure any proceeds that
16∑∑could potentially come to Ali Choudhri or his entities
17∑∑that he owes to us.
18∑∑∑∑Q.∑And do you know why it was filed?
19∑∑∑∑A.∑For that reason.
20∑∑∑∑∑∑MR. SATHER:∑I'm going to show you another lis
21∑∑pendens which we have marked as Exhibit Number 3.
22∑∑∑∑∑∑(Debtor's Exhibit No. 3 was marked for
23∑∑identification.)
24∑∑∑∑Q.∑(BY MR. SATHER)∑And are you familiar with
25∑∑this document?


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∑1∑∑∑∑A.∑Exhibit Number 3.∑Sorry.∑Yes.
∑2∑∑∑∑Q.∑And I see this was signed by Osama Abdullatif
∑3∑∑as well.
∑4∑∑∑∑A.∑Yes.
∑5∑∑∑∑Q.∑And would your questions be the same -- or
∑6∑∑your answers be the same with regard to this notice of
∑7∑∑lis pendens as with the prior one?
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. SATHER:∑I'm going to switch gears now and
10∑∑go to Exhibit Number 4, which is an adversary
11∑∑complaint filed by George Lee against Texas REIT, LLC,
12∑∑and Ali Choudhri -- or at Exhibit 4.∑Excuse me.
13∑∑∑∑∑∑(Debtor's Exhibit No. 4 was marked for
14∑∑identification.)
15∑∑∑∑Q.∑(BY MR. SATHER)∑Do you know George Lee?
16∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to this
17∑∑line of questioning and instruct the witness not to
18∑∑answer as it exceeds the scope of the limited
19∑∑deposition the judge granted you.∑This has nothing to
20∑∑do with our proof of claim or adversary proceeding.
21∑∑∑∑Q.∑(BY MR. SATHER)∑Are you going to take your
22∑∑counsel's advice?
23∑∑∑∑A.∑I am.
24∑∑∑∑Q.∑So let me just ask you by way of background.
25∑∑Do you know George Lee?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Same -- same
∑2∑∑instruction.
∑3∑∑∑∑Q.∑(BY MR. SATHER)∑Are you refusing --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑So (unintelligible) --
∑5∑∑∑∑Q.∑(BY MR. SATHER)∑-- to answer that you know
∑6∑∑George Lee?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection to form.∑Same
∑8∑∑objection; this has nothing to do with our claim, and
∑9∑∑you're exceeding the scope of the limited deposition
10∑∑the judge granted.
11∑∑∑∑A.∑I'm taking my counsel's advice.
12∑∑∑∑∑∑MR. CHOUDHRI:∑I just want to make sure the
13∑∑record is clear.∑Are you instructing the witness not
14∑∑to answer?
15∑∑∑∑∑∑MR. SATHER:∑Mr. Choudhri, let me --
16∑∑∑∑∑∑MR. BALLASES:∑Mr. Choudhri, please be quiet.
17∑∑You're not a party involved in this.∑You have no
18∑∑standing to be here.
19∑∑∑∑∑∑MR. SATHER:∑He actually does under the
20∑∑Court's ruling.∑But, Mr. Ballases --
21∑∑∑∑∑∑MR. CHOUDHRI:∑Wait a second.∑Wait -- wait --
22∑∑wait a second.∑I want to get this on the record.
23∑∑∑∑∑∑Mr. Ballases, I am here, and I have a standing
24∑∑to object.∑Okay?∑And so --
25∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑-- I have a standing to be
∑2∑∑here.∑So are you telling me on the record that you
∑3∑∑are not going to cooperate and allow me to ask
∑4∑∑questions on a deposition that I've cross-noticed?
∑5∑∑∑∑∑∑MR. BALLASES:∑That is correct.∑You have no
∑6∑∑party -- you're not a party in this proceeding.∑You
∑7∑∑have no standing.∑We've also objected to your
∑8∑∑cross-notice, so you better bet your bottom dollar.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Besides betting my
10∑∑bottom dollar, Mr. Ballases, you understand that the
11∑∑Honorable Judge Robinson made a ruling --
12∑∑∑∑∑∑MR. BALLASES:∑You're wasting your time --
13∑∑∑∑∑∑MR. CHOUDHRI:∑-- and said that --
14∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) with the
15∑∑judge's ruling.∑Why don't you let your counsel ask
16∑∑questions.
17∑∑∑∑∑∑MR. CHOUDHRI:∑No, no.∑I'm here representing
18∑∑myself pro se as a creditor.∑I have filed a proof of
19∑∑claim.∑I'm a creditor.∑I have standing.
20∑∑∑∑∑∑Are you saying on the record that you are
21∑∑going to instruct your client not to answer any of my
22∑∑questions?∑I just want to get this on the record so
23∑∑it's clear.∑Are you instructing your client not to
24∑∑answer any questions, and is your client going to take
25∑∑your advice?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Yeah, so the way this
∑2∑∑proceeding words, there's a court reporter who writes
∑3∑∑down everything we say.∑I've been clear in my speech
∑4∑∑and what I say in my objections.∑If you're confused,
∑5∑∑you can ask the court reporter to read it back, or you
∑6∑∑can just take better notes.∑Be quiet, and let your
∑7∑∑counsel ask questions.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑So just so the record is
∑9∑∑crystal clear, Mr. Ballases, you are instructing your
10∑∑client, Omar Khawaja, who is a deponent today, to not
11∑∑answer any questions that I'm gonna have, and you're
12∑∑also obstructing my ability to object or make any
13∑∑objections in this deposition.∑Is that all correct?
14∑∑I just want to make sure the record is very crystal
15∑∑clear.
16∑∑∑∑∑∑MR. BALLASES:∑Let Mr. Sather ask his
17∑∑questions.∑Please be quiet.
18∑∑∑∑∑∑MR. CHOUDHRI:∑Sir, I just want to clarify,
19∑∑because I have a right to be here and object, and you
20∑∑are --
21∑∑∑∑∑∑MR. BALLASES:∑Let --
22∑∑∑∑∑∑MR. CHOUDHRI:∑-- telling me to be quiet.
23∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) questions.
24∑∑So let your counsel ask questions.∑You're wasting
25∑∑everybody's time.


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Just so the record is
∑2∑∑clear, you are refusing to allow me to participate and
∑3∑∑object and ask questions in this deposition that I've
∑4∑∑cross-noticed; is that correct?∑So we're clear, is
∑5∑∑that correct or not?
∑6∑∑∑∑∑∑MR. BALLASES:∑You are not a party.∑You do
∑7∑∑not --
∑8∑∑∑∑∑∑THE REPORTER:∑I'm --
∑9∑∑∑∑∑∑MR. BALLASES:∑Let me make it very clear for
10∑∑you.∑You are not a party to this dispute.∑You are
11∑∑not an attorney.∑You lack standing.∑This is not a
12∑∑creditors' meeting.∑We've objected to your
13∑∑cross-notice.∑Is that clear enough for you, buddy?
14∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Sather, please proceed.
15∑∑We'll -- we'll deal with this on the record later and
16∑∑deal with the Court.
17∑∑∑∑∑∑And -- and as you know, Mr. Ballases, counsel
18∑∑for Dalio is also on the line.∑Are you also objecting
19∑∑for them -- for Dalio's counsel to ask questions?∑Is
20∑∑that your --
21∑∑∑∑∑∑MR. BALLASES:∑Yeah.
22∑∑∑∑∑∑MR. CHOUDHRI:∑-- position?
23∑∑∑∑∑∑MR. BALLASES:∑Yeah.
24∑∑∑∑∑∑MR. CHOUDHRI:∑And you're gonna instruct your
25∑∑client, Omar Khawaja, to not answer questions --


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∑1∑∑∑∑∑∑MR. BALLASES:∑Mr. Choudhri, my point is you
∑2∑∑like to play attorney, but you're not an attorney, and
∑3∑∑you don't know the legal procedure or the rules or
∑4∑∑regulations of court.∑So please be quiet and let the
∑5∑∑deposition proceed.∑You're wasting everybody's time.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑Okay, Mr. Ballases.∑You don't
∑7∑∑have to be disrespectful.∑I was -- you know, the
∑8∑∑rules apply to all of us.∑If I'm pro se or if -- or
∑9∑∑if you're a lawyer, the rules apply equally.∑And I
10∑∑have to follow the rules, just like you have to follow
11∑∑the rules.∑And when a judge makes a ruling, it
12∑∑applies, and it says what it says.∑We all got to
13∑∑honor it.∑But you're refusing to honor the judge's
14∑∑ruling.∑I understand that.∑You're refusing to honor
15∑∑what --
16∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- Judge Robinson said on his
18∑∑oral order.
19∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just one person at a
20∑∑time.
21∑∑∑∑∑∑Mr. Ballases, I can hear you speaking in the
22∑∑background, but I can't hear what you're saying while
23∑∑Mr. Choudhri is speaking.
24∑∑∑∑∑∑So just one person at a time if you'd like
25∑∑this on the record, please.


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∑1∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather, please continue.
∑2∑∑∑∑Q.∑(BY MR. SATHER)∑Mr. Khawaja, I have brought
∑3∑∑back up Exhibit Number 1, the proof of claim.∑When
∑4∑∑you authorized the proof of claim to be filed, did you
∑5∑∑understand that it was being filed under penalty of
∑6∑∑perjury?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑And as a lawyer, do you know what penalty of
∑9∑∑perjury means?
10∑∑∑∑A.∑Yes.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. SATHER)∑Now, what was your purpose in
13∑∑filing the proof of claim?
14∑∑∑∑A.∑The purpose in filing the proof of claim? I
15∑∑mean, it's to collect monies that are owed to us.
16∑∑∑∑Q.∑Any other purpose?
17∑∑∑∑A.∑No, that's it.
18∑∑∑∑Q.∑Now, I'm going to show you Exhibit Number 5,
19∑∑and I'm going to try to make it bigger.
20∑∑∑∑∑∑(Debtor's Exhibit No. 5 was marked for
21∑∑identification.)
22∑∑∑∑Q.∑(BY MR. SATHER)∑Were you aware that Texas
23∑∑REIT, LLC, filed an objection to the proof of claim?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑And were you aware that you have not filed a


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∑1∑∑response to this objection to proof of claim?
∑2∑∑∑∑A.∑No.
∑3∑∑∑∑Q.∑And do you see that this was filed with
∑4∑∑negative notice language?
∑5∑∑∑∑A.∑I'm not sure what that means, sir.
∑6∑∑∑∑Q.∑Okay.∑Fair question.
∑7∑∑∑∑∑∑Next, I'd like to show you what we've marked
∑8∑∑as Exhibit Number 6, which is --
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑Q.∑-- a motion for leave to withdraw Claim
11∑∑Number 9.
12∑∑∑∑∑∑(Debtor's Exhibit No. 6 was marked for
13∑∑identification.)
14∑∑∑∑Q.∑(BY MR. SATHER)∑Do you see that?
15∑∑∑∑A.∑Yes, sir, I do.
16∑∑∑∑Q.∑And what is your understanding of the reason
17∑∑why you filed a -- well, let me ask you this:∑Did you
18∑∑authorize the motion for leave to withdraw Claim
19∑∑Number 9?
20∑∑∑∑A.∑I did.
21∑∑∑∑Q.∑And why did you authorize the claim to be
22∑∑withdrawn?
23∑∑∑∑A.∑It appears there's no money in Texas REIT,
24∑∑LLC.
25∑∑∑∑Q.∑Any other reason?


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∑1∑∑∑∑A.∑No, sir.∑That's it.
∑2∑∑∑∑Q.∑And do you understand that the consequence of
∑3∑∑withdrawing the claim means that you're not able to
∑4∑∑assert a claim to any of the property in the Texas
∑5∑∑REIT bankruptcy estate?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑You're going
∑7∑∑beyond the scope of the limited purpose of this
∑8∑∑deposition.
∑9∑∑∑∑∑∑MR. SATHER:∑I don't believe so.
10∑∑∑∑Q.∑(BY MR. SATHER)∑Are you aware that Texas REIT
11∑∑has objected to withdrawal of the proof of claim
12∑∑unless it is withdrawn with prejudice?
13∑∑∑∑A.∑I wasn't aware of that, no.
14∑∑∑∑Q.∑All right.∑Do you know what "with prejudice"
15∑∑means?
16∑∑∑∑A.∑Yes, I do.
17∑∑∑∑Q.∑And you understand that if the claim is
18∑∑withdrawn with prejudice, you can never make these
19∑∑allegations against Texas REIT again.
20∑∑∑∑A.∑Yes, I understand that.
21∑∑∑∑∑∑MR. SATHER:∑All right.∑At this point I will
22∑∑pass the witness.∑I know there are other counsel
23∑∑present who wish to ask questions, and so I'm not
24∑∑concluding the deposition.∑I'm giving the other
25∑∑parties present an opportunity to ask their questions.


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∑1∑∑BY MS. HOOD:
∑2∑∑∑∑Q.∑Mr. Khawaja, my name is Lori Hood, and I
∑3∑∑represent Dalio Holdings.∑Nice to meet you.
∑4∑∑∑∑∑∑MR. BALLASES:∑Ms. Hood --
∑5∑∑∑∑A.∑Nice to meet you.
∑6∑∑∑∑∑∑MR. BALLASES:∑-- I'm going to go ahead and
∑7∑∑just object.∑I'm not going to let you ask questions.
∑8∑∑You're not a party to this dispute, and you lack
∑9∑∑standing to be here.∑This isn't a creditors' meeting,
10∑∑and so -- and of course, your notice was just filed
11∑∑this morning, which we're going to object to.∑So I'm
12∑∑not going to let you ask questions.
13∑∑∑∑∑∑MS. HOOD:∑All right.∑Mr. Ballases, my notice
14∑∑was this morning because you failed to give notice to
15∑∑all the creditors that this was taking place.
16∑∑∑∑∑∑In my understanding -- and my client is a
17∑∑creditor.∑In my understanding of the judge's ruling,
18∑∑it allows for creditors to be in attendance at this
19∑∑deposition and to ask questions of your clients as to
20∑∑the basis and motivation of their filing the proof of
21∑∑claim.∑We can argue all day long about whether you
22∑∑agree with that or not.∑If you don't allow me to take
23∑∑questions -- ask questions today, then we're going to
24∑∑have a do-over because we're going to go back to the
25∑∑Court and seek a motion to compel your client's


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∑1∑∑attendance at a deposition where I will ask my
∑2∑∑questions.
∑3∑∑∑∑∑∑MR. BALLASES:∑So that's not the Court's
∑4∑∑order.∑The Court's order was to allow Mr. Sather to
∑5∑∑take questions -- or to ask questions to determine the
∑6∑∑basis to -- as to why we filed the proof of claim and
∑7∑∑why it has been requested to be withdrawn.
∑8∑∑∑∑∑∑It is not for creditors to ask questions.∑The
∑9∑∑creditors -- this isn't a creditors' meeting, and so
10∑∑I'm not going to let you ask -- I mean, you can ask
11∑∑him, but I'm going to instruct him not to answer
12∑∑because I think you're violating the Court's ruling,
13∑∑and I'm going to abide by the Court's ruling.
14∑∑∑∑∑∑MS. HOOD:∑So you're -- no matter what
15∑∑question I ask him, you're going to tell him not to
16∑∑answer me?
17∑∑∑∑∑∑MR. BALLASES:∑Yes, ma'am.
18∑∑∑∑∑∑MS. HOOD:∑Okay.∑And that's --
19∑∑∑∑∑∑MR. BALLASES:∑You're violating the Court's
20∑∑ruling, and I want to abide by it.
21∑∑∑∑∑∑MS. HOOD:∑All right.∑So you want to abide by
22∑∑the Court's ruling, and we have a difference of
23∑∑opinion as to the impact and the breadth of the
24∑∑Court's ruling.
25∑∑∑∑∑∑I'm going to tell you I'm going to file a


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∑1∑∑motion to compel your client's attendance at a
∑2∑∑deposition where I'm going to be allowed to ask
∑3∑∑questions.∑And when I do so, I'm going to ask for
∑4∑∑compensation of my attorney's fees.∑Do you understand
∑5∑∑that?
∑6∑∑∑∑∑∑MR. BALLASES:∑I understand.
∑7∑∑∑∑∑∑MS. HOOD:∑All right.∑And just to be clear on
∑8∑∑the record, Madam Court Reporter, Mr. Ballases is
∑9∑∑stating to me on the record that he's going to
10∑∑instruct his client not to answer any of my questions
11∑∑that I have prepared for today, all relating to the
12∑∑filing of the proof of claim and the motivation for
13∑∑filing the proof of claim and the motivation for
14∑∑withdrawing the proof of claim, all of which go into
15∑∑the merits of the judge's order.
16∑∑∑∑∑∑And I'm objecting to Mr. Ballases' refusal to
17∑∑allow me to take questions -- or ask questions of his
18∑∑client and putting him on notice that I am going to
19∑∑seek my attorney's fees as compensation for me having
20∑∑to do a do-over with his client.
21∑∑∑∑∑∑MR. BALLASES:∑For the record -- so again,
22∑∑this is Michael Ballases -- I believe Ms. Hood is
23∑∑misinterpreting the judge's ruling.∑She's not a party
24∑∑to this -- her client is not a party to this dispute.
25∑∑They lack standing.∑This is not a creditors' meeting.


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∑1∑∑The basis of this deposition was for a limited purpose
∑2∑∑to allow the debtor to inquire as to why we filed the
∑3∑∑proof of claim and why we now want to withdraw it.∑We
∑4∑∑are abiding by the judge's ruling, and we will not
∑5∑∑deviate from it.
∑6∑∑∑∑∑∑MS. HOOD:∑Mr. Ballases, please don't put
∑7∑∑words in my mouth.∑And just because, you know, we're
∑8∑∑here taking a deposition doesn't mean you always have
∑9∑∑to get the last word in.∑We are in a disagreement
10∑∑about your statements.∑You're not going to allow --
11∑∑you're going to instruct your client not to answer my
12∑∑questions.∑There's not much I can do about it if he's
13∑∑going to sit here and not answer my questions.
14∑∑∑∑∑∑I will go back to the Court and ask for him to
15∑∑reappear and answer my questions related to the
16∑∑subject of this deposition of which I represent a
17∑∑creditor, and we are entitled to ask questions.
18∑∑∑∑∑∑Your client's proof of claim has unnecessarily
19∑∑complicated the underlying chapter proceeding and
20∑∑gummed up a lot of other issues with regard to the
21∑∑debtor's property, and even today they haven't
22∑∑withdrawn their -- or released their lis pendens.∑So
23∑∑there's a lot to talk to him about with regard to the
24∑∑filing of the proof of claim, the motivation, and
25∑∑everything else.∑And I've read the judge's


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∑1∑∑instructions on this issue, and I believe I'm
∑2∑∑completely within my rights to ask these questions.
∑3∑∑∑∑∑∑And you really don't have to answer, because I
∑4∑∑don't need you to answer.∑We're in a disagreement,
∑5∑∑and I'm going to file the motion to compel.∑So I
∑6∑∑do --
∑7∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑8∑∑∑∑∑∑MS. HOOD:∑I do not -- I do not pass the
∑9∑∑witness.∑I reserve my rights.
10∑∑∑∑∑∑MR. CHOUDHRI:∑And --
11∑∑∑∑∑∑MR. BALLASES:∑Thank you for telling me --
12∑∑∑∑∑∑MR. CHOUDHRI:∑-- I would like to make the
13∑∑record -- I would also like to make the record very
14∑∑clear.
15∑∑∑∑∑∑So the record is clear, Mr. Khawaja, are you
16∑∑taking your attorney's -- are you following your
17∑∑attorney's instructions, and are you going to refuse
18∑∑to answer any questions asked by Lori Hood or by my --
19∑∑or any questions that I may ask you?
20∑∑∑∑∑∑MR. BALLASES:∑So no question's on the table,
21∑∑Mr. Choudhri, so I think you're confused --
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases -- Mr. Ballases,
23∑∑please --
24∑∑∑∑∑∑(Crosstalk)
25∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just --


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Hang on a second.∑I just
∑2∑∑want --
∑3∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
∑4∑∑Thank you.
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑I just want to make sure that,
∑6∑∑Mr. Ballases, your client can affirm that he's taking
∑7∑∑your instructions, and he's not going to answer any
∑8∑∑questions, so we don't have to sit here and ask
∑9∑∑questions if your instructions are going to be for him
10∑∑to not answer any of my questions that I've properly
11∑∑cross-noticed this deposition on pursuant to the
12∑∑Court's order.∑I just want to make sure the record is
13∑∑clear that your client's not answering any questions
14∑∑that I may ask.
15∑∑∑∑∑∑MR. BALLASES:∑For the record, the record is
16∑∑clear.∑I made the same objection that I made to
17∑∑Ms. Hood as to you.∑You are not a party.∑You do not
18∑∑have standing.∑You're not an attorney.∑This isn't a
19∑∑creditors' meeting.∑We are here to answer --
20∑∑∑∑∑∑MR. CHOUDHRI:∑Okay --
21∑∑∑∑∑∑MR. BALLASES:∑-- the debtor's questions about
22∑∑the proof of claim --
23∑∑∑∑∑∑MR. CHOUDHRI:∑I'm --
24∑∑∑∑∑∑MR. BALLASES:∑-- and that's it.
25∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑We have the audio of the


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∑1∑∑order, oral ruling of Judge Robinson.∑I would like to
∑2∑∑play that at this point for the record.∑So, please,
∑3∑∑if we can play that for the record --
∑4∑∑∑∑∑∑MR. BALLASES:∑That's not --
∑5∑∑∑∑∑∑(Crosstalk)
∑6∑∑∑∑∑∑THE REPORTER:∑I'm --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Tammy or Gene, can y'all play
∑8∑∑that?
∑9∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry.∑I have two
10∑∑people speaking at once.∑I can hear Mr. Ballases, and
11∑∑I can hear Mr. Choudhri.∑Could I please just get one
12∑∑speaker on the record at a time.
13∑∑∑∑∑∑MR. CHOUDHRI:∑So I was speaking --
14∑∑∑∑∑∑MR. BALLASES:∑That's not --
15∑∑∑∑∑∑MR. CHOUDHRI:∑-- and --
16∑∑∑∑∑∑(Crosstalk)
17∑∑∑∑∑∑THE REPORTER:∑Sorry.
18∑∑∑∑∑∑MR. CHOUDHRI:∑So the quote from the ruling
19∑∑is -- and I'm quoting the judge (Reading:)∑I'm going
20∑∑to grant the motion as to the date and time of the
21∑∑examinations, and my order is going to be very simple.
22∑∑It's going to say that.∑It's also going to further
23∑∑order that the debtor and any creditor -- any other
24∑∑creditor, for that matter, that cross-noticed this
25∑∑deposition is permitted to take a deposition --


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∑1∑∑∑∑∑∑-- participate.∑So I just want to be clear,
∑2∑∑Mr. Ballases.∑I want to give you one more chance so
∑3∑∑we can conclude --
∑4∑∑∑∑∑∑MR. BALLASES:∑It's not unclear --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑-- and complete the deposition.
∑6∑∑∑∑∑∑(Crosstalk)
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Can I finish?
∑8∑∑∑∑∑∑MR. BALLASES:∑You're being --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
10∑∑∑∑∑∑MR. BALLASES:∑You're being investigated
11∑∑(unintelligible).∑You're being investigated by the
12∑∑Department of Justice.∑You've been found by courts to
13∑∑file lawsuits for improper purposes and harassment.
14∑∑You're founded by courts and juries to have committed
15∑∑fraud and libel, and you were just, on Monday, held by
16∑∑Judge Norman to be a forger and a liar.∑So anything
17∑∑you say, I don't believe --
18∑∑∑∑∑∑MS. HOOD:∑How about if I -- how about if I
19∑∑say it?
20∑∑∑∑∑∑(Crosstalk)
21∑∑∑∑∑∑THE REPORTER:∑Sorry.∑I'm sorry.∑No --
22∑∑sorry.∑Sorry.∑I need one person speaking at a time.
23∑∑The record is not clear when I have multiple speakers.
24∑∑Thank you.
25∑∑∑∑∑∑MR. CHOUDHRI:∑So let me just respond,


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∑1∑∑Mr. Ballases.∑First of all, you are supporting
∑2∑∑perjury.∑Okay?∑Mr. Ballases, your client has
∑3∑∑solicited --
∑4∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑-- solicited people -- so,
∑6∑∑please, all of this is all supported and solicited by
∑7∑∑your client, and we'll get to the bottom of it --
∑8∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑-- which is why your client
10∑∑doesn't want to answer questions.∑I understand that.
11∑∑∑∑∑∑THE WITNESS:∑You'll be a great jailhouse
12∑∑lawyer.
13∑∑∑∑∑∑MR. CHOUDHRI:∑This is proper --
14∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
15∑∑∑∑∑∑MR. BALLASES:∑Can we start the next --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Sorry?
17∑∑∑∑∑∑MR. BALLASES:∑-- deposition?∑Can we start --
18∑∑∑∑∑∑MR. CHOUDHRI:∑Hold on.
19∑∑∑∑∑∑MR. BALLASES:∑-- the next deposition --
20∑∑∑∑∑∑THE WITNESS:∑You're going to be a great
21∑∑lawyer --
22∑∑∑∑∑∑MR. BALLASES:∑-- if Mr. Sather doesn't have
23∑∑any more questions?
24∑∑∑∑∑∑THE WITNESS:∑You'll be a great lawyer in
25∑∑jail, man.


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑So -- so that's your
∑2∑∑goal --
∑3∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑-- going around telling
∑5∑∑people --
∑6∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
∑7∑∑∑∑∑∑MR. BALLASES:∑-- let's jump to the next
∑8∑∑witness --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Please --
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry.∑Sorry. I
11∑∑am not getting Mr. Ballases' words on the record.
12∑∑∑∑∑∑Mr. Ballases, if you have something to say, I
13∑∑need just one speaker at a time.∑I'm not getting
14∑∑anything you're saying at this point.
15∑∑∑∑∑∑MR. BALLASES:∑Okay.∑What I'm saying is --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Please, Mr. Ballases, go ahead.
17∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) remains the
18∑∑same.∑And if Mr. Sather has more questions, we're
19∑∑happy to answer them.∑If he doesn't, then let's go to
20∑∑the next witness.
21∑∑∑∑∑∑MR. CHOUDHRI:∑No, no.∑We're -- we're not --
22∑∑we're not playing any games here.∑Please play the
23∑∑audio from the Court's ruling.∑Let's do that right
24∑∑now --
25∑∑∑∑∑∑MR. BALLASES:∑Okay (unintelligible) --


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑-- so the record is crystal
∑2∑∑clear.
∑3∑∑∑∑∑∑THE WITNESS:∑This is getting ridiculous.
∑4∑∑∑∑∑∑MR. BALLASES:∑I'm going to end the deposition
∑5∑∑if Mr. Sather doesn't have any more questions, and we
∑6∑∑can jump to --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑You can't end the deposition --
∑8∑∑∑∑∑∑(Crosstalk)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Unless all parties agree to go
10∑∑off the record, we stay on the record.∑That's the
11∑∑rule, Mr. Ballases.∑The rule applies to everyone.
12∑∑∑∑∑∑Please play --
13∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
14∑∑∑∑∑∑MR. CHOUDHRI:∑-- the audio --
15∑∑∑∑∑∑(Crosstalk)
16∑∑∑∑∑∑MR. CHOUDHRI:∑Please play the audio --
17∑∑∑∑∑∑MR. BALLASES:∑I'm going to shut it down if
18∑∑you don't take control of your client in the
19∑∑deposition.∑Your choice, Mr. Sather.
20∑∑∑∑∑∑MR. CHOUDHRI:∑I'm here as a creditor.∑We're
21∑∑going to play the audio --
22∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) Okay.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
24∑∑∑∑∑∑MR. BALLASES:∑We're going to -- we're all
25∑∑ready to go forward with the next witness.∑We're


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∑1∑∑here, and we're ready to go forward.
∑2∑∑∑∑∑∑Mr. Sather, if you have more questions, let me
∑3∑∑know, and he will stay and answer them.
∑4∑∑∑∑∑∑MR. SATHER:∑I am adjourning the deposition --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑I have the floor.∑I have the
∑6∑∑floor.∑I'm a creditor.∑I've cross-noticed this
∑7∑∑deposition.∑Please play --
∑8∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑-- the oral ruling from the
10∑∑Court right now.∑Go ahead.
11∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather --
12∑∑∑∑∑∑(Crosstalk)
13∑∑∑∑∑∑(Audio file played.)
14∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry.∑I -- I'm
15∑∑sorry.∑Mr. McCubbin, I cannot hear anybody when I
16∑∑have multiple speakers at once.∑I don't know if you
17∑∑want this on the record, but it's going in as
18∑∑crosstalk because it's not coming through clearly.
19∑∑∑∑∑∑MR. CHOUDHRI:∑Yes, Madam Court Reporter.
20∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather --
21∑∑∑∑∑∑MR. CHOUDHRI:∑I have the floor.
22∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) the
23∑∑questioning --
24∑∑∑∑∑∑MR. CHOUDHRI:∑Please stop interrupting,
25∑∑Mr. Ballases.


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∑1∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) not going
∑2∑∑to the next witness.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑I am -- I am making the record.
∑4∑∑Mr. Ballases, please let me speak, and please don't
∑5∑∑interrupt me.∑Okay?∑Please --
∑6∑∑∑∑∑∑MR. BALLASES:∑Okay --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑-- play the audio ruling of
∑8∑∑Judge Robinson --
∑9∑∑∑∑∑∑MR. BALLASES:∑We're going to --
10∑∑∑∑∑∑MR. CHOUDHRI:∑-- so it's clear on the record.
11∑∑Go ahead.
12∑∑∑∑∑∑(Audio file played.)
13∑∑∑∑∑∑MR. CHOUDHRI:∑No, we're -- we're --
14∑∑∑∑∑∑(Audio file continues playing.)
15∑∑∑∑∑∑MR. MCCUBBIN:∑He just said any other
16∑∑creditor (unintelligible) --
17∑∑∑∑∑∑THE REPORTER:∑I'm sorry, Mr. McCubbin.∑You
18∑∑just cut out for a second.
19∑∑∑∑∑∑MR. MCCUBBIN:∑He just said --
20∑∑∑∑∑∑MR. CHOUDHRI:∑Go and play that,
21∑∑Mr. McCubbin --
22∑∑∑∑∑∑MR. MCCUBBIN:∑-- any other creditor --
23∑∑∑∑∑∑MR. CHOUDHRI:∑-- just so the record is clear.
24∑∑Please go ahead --
25∑∑∑∑∑∑MR. MCCUBBIN:∑The judge just stated any other


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∑1∑∑creditor.∑I can replay it.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Please replay it for the record
∑3∑∑so the record is crystal clear, and it's the judge --
∑4∑∑∑∑∑∑So, Madam Court Reporter, so the record is
∑5∑∑clear, we are about to begin playing the oral ruling
∑6∑∑of Judge Robinson.
∑7∑∑∑∑∑∑THE REPORTER:∑Okay.∑So are you wanting me to
∑8∑∑transcribe --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Yes.
10∑∑∑∑∑∑THE REPORTER:∑-- this audio into the record?
11∑∑∑∑∑∑MR. CHOUDHRI:∑Yes.∑Yes, Madam Court
12∑∑Reporter.∑He's about -- we're about to play the
13∑∑judge's ruling -- oral ruling on the record so that
14∑∑way we can have a simple and clean completion of this
15∑∑deposition and end this shenanigan and argument with
16∑∑Mr. Ballases.
17∑∑∑∑∑∑Please, Mr. -- please, sir, please proceed
18∑∑with the record -- the audio ruling of Judge Robinson.
19∑∑Go ahead.
20∑∑∑∑∑∑(Audio file played.)
21∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Sorry --
22∑∑∑∑∑∑(Audio file continues playing.)
23∑∑∑∑∑∑THE REPORTER:∑Sorry.∑The audio is not clear.
24∑∑The audio is not crystal clear.∑I hear Mr. Sather
25∑∑responding on the audio, and it's not clear.


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∑1∑∑∑∑∑∑Typically in a transcript, we do not
∑2∑∑transcribe audio played.
∑3∑∑∑∑∑∑MR. BALLASES:∑And I'm going to object --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Time out.
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm objecting --
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑We're going to e-mail you --
∑7∑∑Court Reporter, we're going to e-mail you this audio
∑8∑∑right now, and he's going to adjust the volume and
∑9∑∑play it again.
10∑∑∑∑∑∑Go ahead.∑Play it again, please.
11∑∑∑∑∑∑And, Court Reporter, let us know if you're
12∑∑getting a clear --
13∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather --
14∑∑∑∑∑∑MR. CHOUDHRI:∑-- read on it.∑Okay?
15∑∑∑∑∑∑MR. BALLASES:∑-- take control of the depo.
16∑∑This is a waste of time.∑It's a waste of the client's
17∑∑time --
18∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please -- please
19∑∑stop talking.
20∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) control of
21∑∑the deposition --
22∑∑∑∑∑∑MR. CHOUDHRI:∑I have the floor --
23∑∑∑∑∑∑MR. SATHER:∑You don't have it yet,
24∑∑Mr. Choudhri.
25∑∑∑∑∑∑(Crosstalk)


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∑1∑∑∑∑∑∑MR. BALLASES:∑Let's just jump to the next
∑2∑∑witness.∑I'm not allowing the questions to be asked.
∑3∑∑So it's not going to change.∑We're just wasting
∑4∑∑time --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑We're playing the oral ruling
∑6∑∑of Judge Robinson.∑Please, Mr. Ballases, be quiet so
∑7∑∑we can play the ruling of Judge --
∑8∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑-- Judge Robinson's ruling.
10∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) we're not
11∑∑going to play -- we're not -- that's not how
12∑∑depositions work, Mr. Choudhri.∑I'm sorry you like to
13∑∑play an attorney --
14∑∑∑∑∑∑MR. CHOUDHRI:∑Well, please --
15∑∑∑∑∑∑MR. BALLASES:∑-- but that's not how this
16∑∑works.∑So either I'm going to --
17∑∑∑∑∑∑MR. CHOUDHRI:∑No.∑No, no.∑Please stop.
18∑∑∑∑∑∑MR. BALLASES:∑Again, I'm going to get off --
19∑∑if you'd like to have another -- if you'd like to ask
20∑∑questions of my other clients, I'm happy to do that,
21∑∑and you're happy to ask questions, Mr. Sather.∑But
22∑∑these shenanigans are not --
23∑∑∑∑∑∑MR. CHOUDHRI:∑If your --
24∑∑∑∑∑∑MR. BALLASES:∑-- going to happen.
25∑∑∑∑∑∑MR. CHOUDHRI:∑-- responses, Mr. Ballases, is


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∑1∑∑gonna -- the shenanigans are yours, Mr. Ballases.∑If
∑2∑∑your responses are gonna be the same and you're not
∑3∑∑going to allow cross-notice creditors who are here,
∑4∑∑want to ask questions, then let's clarify this right
∑5∑∑now so we can complete the deposition properly,
∑6∑∑Mr. Ballases.∑Please don't obstruct the discovery
∑7∑∑right now.
∑8∑∑∑∑∑∑Go ahead and play the oral ruling of Judge
∑9∑∑Robinson.
10∑∑∑∑∑∑MR. BALLASES:∑I'm going to object --
11∑∑∑∑∑∑(Audio file played.)
12∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I'm sorry. I
13∑∑cannot hear when Mr. Ballases is speaking --
14∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
15∑∑∑∑∑∑THE REPORTER:∑I need one person --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
17∑∑∑∑∑∑THE REPORTER:∑-- at a time.
18∑∑∑∑∑∑MR. CHOUDHRI:∑-- intentionally --
19∑∑Mr. Ballases intentionally interferes, interrupts when
20∑∑we play the ruling of Judge Robinson that is gonna
21∑∑clarify this issue that cross-notice creditors are not
22∑∑allowed to participate and ask questions.
23∑∑∑∑∑∑So please play the ruling of Judge Robinson.
24∑∑∑∑∑∑And, Mr. Ballases, please refrain and be
25∑∑quiet, because the court reporter cannot take


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∑1∑∑different people talking at the same time.
∑2∑∑∑∑∑∑So please play the audio of Judge Robinson.
∑3∑∑∑∑∑∑THE REPORTER:∑Sorry --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Go ahead.
∑5∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One second, please,
∑6∑∑before you play it.
∑7∑∑∑∑∑∑Mr. Sather, this is your deposition
∑8∑∑transcript.∑Normally if I can't hear, I can't
∑9∑∑transcribe what's being said.∑It would need to be
10∑∑transcribed separately, because I'm not transcribing
11∑∑this on the record right now if I cannot hear it
12∑∑clearly.
13∑∑∑∑∑∑MR. SATHER:∑All right.∑If you're unable to
14∑∑hear it clearly, I suggest that we move on.∑The judge
15∑∑said what he said.∑I do have one more question for --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Hold on, Mr. Sather.∑Just one
17∑∑second, please, before we conclude anything here. I
18∑∑do want to take a break before we do conclude
19∑∑anything, but I want to play this, and I think he can
20∑∑do it a little bit louder.
21∑∑∑∑∑∑Let's try if you can hear it again.∑Ms. Court
22∑∑Reporter, let's try one more time.
23∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
24∑∑∑∑∑∑MR. CHOUDHRI:∑Go ahead.∑Play the recording.
25∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Mr. Ballases --


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∑1∑∑∑∑∑∑MR. BALLASES:∑The court reporter is saying
∑2∑∑(unintelligible).
∑3∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Mr. Ballases, could
∑4∑∑you please repeat that?
∑5∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just was telling
∑6∑∑Mr. Choudhri that you have instructed him you cannot
∑7∑∑take it down in this manner, and so I'm just trying to
∑8∑∑tell him that he's wasting more time.
∑9∑∑∑∑∑∑Mr. Sather --
10∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, that's not what
11∑∑she said.
12∑∑∑∑∑∑MR. BALLASES:∑-- if you want to go --
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, we're going to
14∑∑try for her to hear it.∑Okay?
15∑∑∑∑∑∑MR. BALLASES:∑Okay.∑Call us when you're
16∑∑ready --
17∑∑∑∑∑∑MR. CHOUDHRI:∑So she's being very cooperative
18∑∑and polite.
19∑∑∑∑∑∑Please, Mr. Ballases, be quiet.
20∑∑∑∑∑∑Go ahead, Mr. -- sir.∑Please play the -- play
21∑∑the audio for the judge's ruling.
22∑∑∑∑∑∑(Audio file played.)
23∑∑∑∑∑∑MR. MCCUBBIN:∑He said, And any other
24∑∑creditor.
25∑∑∑∑∑∑MR. CHOUDHRI:∑Can you please --


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∑1∑∑∑∑∑∑MR. SATHER:∑Madam Reporter --
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Please play the -- please play
∑3∑∑the whole recording.
∑4∑∑∑∑∑∑MR. MCCUBBIN:∑The recording is starting --
∑5∑∑∑∑∑∑MR. SATHER:∑Okay.∑Stop.∑Stop.
∑6∑∑∑∑∑∑Madam Reporter, were you able to get the last
∑7∑∑excerpt?
∑8∑∑∑∑∑∑MR. BALLASES:∑Ms. Court Reporter, you told us
∑9∑∑you couldn't take anything down in that manner.∑It'd
10∑∑have to be transcribed by the person who noticed the
11∑∑deposition, Mr. Sather.∑I assume you're going to
12∑∑stick by what you stated earlier.
13∑∑∑∑∑∑THE REPORTER:∑Okay.∑It's not crystal clear.
14∑∑And because it's being played, I'm not sure where the
15∑∑audio and where it is stopping.
16∑∑∑∑∑∑MR. CHOUDHRI:∑Well, let's take a five-,
17∑∑ten-minute break.∑Let's e-mail it to you, Madam Court
18∑∑Reporter, and so we can be efficient, and that way we
19∑∑don't have to interrupt the deposition and come back a
20∑∑different day and go seek court intervention.∑We can
21∑∑save the Court's time and not bother the Court.
22∑∑∑∑∑∑But if Mr. Ballases insists that we have to
23∑∑bother the Court, then we'll seek emergency relief
24∑∑from the Court.∑But why don't we go ahead and e-mail
25∑∑you right now.


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∑1∑∑∑∑∑∑And let's not allow anybody to bully anybody
∑2∑∑here.∑So, Mr. Ballases, please don't put words in her
∑3∑∑mouth.
∑4∑∑∑∑∑∑So let's go ahead and take -- because at this
∑5∑∑point, this is -- I've cross-noticed the depo, and I
∑6∑∑want the record to be clear.∑If Mr. Ballases is going
∑7∑∑to continue to not allow questions despite the order
∑8∑∑by the judge being shown and heard for him -- so the
∑9∑∑record is clear.∑But we'll go ahead and take a --
10∑∑let's go and take a ten-minute break.
11∑∑∑∑∑∑Madam Court Reporter, we're going to e-mail
12∑∑you the audio oral ruling of Judge Robinson so we can
13∑∑have a smooth deposition and complete discovery, and
14∑∑no one can obstruct this process.∑Okay?∑So can you
15∑∑provide your e-mail address, Madam Court Reporter,
16∑∑just so I have it?
17∑∑∑∑∑∑MR. BALLASES:∑Mr. Sather, are we moving on to
18∑∑the next witness?
19∑∑∑∑∑∑MR. SATHER:∑Yeah, I don't think this is
20∑∑productive.∑Mr. Ballases has indicated that he is not
21∑∑going to allow you to ask questions regardless of what
22∑∑the Court ruled, and so it is my intent at this time
23∑∑to adjourn the deposition subject to any future
24∑∑rulings from Judge Robinson.∑If Judge Robinson
25∑∑allows --


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Well --
∑2∑∑∑∑∑∑MR. SATHER:∑-- the other parties to ask
∑3∑∑questions, I may have -- I reserve the right to ask
∑4∑∑follow-up questions.
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑So -- so I --
∑6∑∑∑∑∑∑MR. BALLASES:∑Would you like to ask --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑No, no.∑Hold --
∑8∑∑∑∑∑∑MR. BALLASES:∑Would you like to proceed --
∑9∑∑∑∑∑∑(Crosstalk)
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I can't --
11∑∑∑∑∑∑MR. BALLASES:∑-- with Osama Abdullatif or
12∑∑John Quinlan next?
13∑∑∑∑∑∑THE REPORTER:∑Mr. Ballases -- sorry --
14∑∑∑∑∑∑MR. CHOUDHRI:∑Hang on a second.
15∑∑∑∑∑∑THE REPORTER:∑-- Mr. Ballases --
16∑∑∑∑∑∑MR. CHOUDHRI:∑I have --
17∑∑∑∑∑∑THE REPORTER:∑-- could you --
18∑∑∑∑∑∑MR. CHOUDHRI:∑-- contacted the Court.∑I'll
19∑∑be e-mailing the Court right now.∑We are not
20∑∑suspending this deposition.∑I want to go ahead and
21∑∑pause the deposition.∑We are going to contact the
22∑∑Court.∑Okay?
23∑∑∑∑∑∑Madam Court Reporter, would you give us your
24∑∑e-mail address, please?
25∑∑∑∑∑∑THE REPORTER:∑And I just want to note,


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∑1∑∑Mr. Ballases, I did not get anything you just said as
∑2∑∑you were speaking at the same time as Mr. Choudhri.
∑3∑∑So do you have anything to put on the record?
∑4∑∑∑∑∑∑MR. BALLASES:∑Myself, me?
∑5∑∑∑∑∑∑THE REPORTER:∑Yes.∑I did not get what you
∑6∑∑were saying while -- after what Mr. Sather said.
∑7∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just asked Mr. Sather
∑8∑∑if we're ready to move to the next witness.∑I think
∑9∑∑he indicated he was before Mr. Choudhri interrupted.
10∑∑And so that's all I'm asking.
11∑∑∑∑∑∑MR. CHOUDHRI:∑So --
12∑∑∑∑∑∑MR. BALLASES:∑Do we want to move to the next
13∑∑witness, Steve?
14∑∑∑∑∑∑MR. CHOUDHRI:∑So this part is -- at this
15∑∑moment, I'd like to e-mail the court reporter the
16∑∑judge's oral ruling, and let's take a 15-minute break.
17∑∑And I've already reached out to the Court.∑The Court
18∑∑has asked for us to e-mail the Court for relief so we
19∑∑can complete the deposition and not waste the Court's
20∑∑time or disrupt the deposition and have to come back a
21∑∑different day.∑Everybody's schedules are -- are very
22∑∑important.
23∑∑∑∑∑∑Mr. Ballases, in the event we are able to
24∑∑resume or reschedule the deposition, can you provide
25∑∑us dates?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Steve, can we move on?∑Can you
∑2∑∑control your client to any degree?∑I mean --
∑3∑∑∑∑∑∑MR. SATHER:∑Mr. Choudhri --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑I'm not his client.
∑5∑∑∑∑∑∑MR. SATHER:∑-- is not my client in his
∑6∑∑individual capacity, and therefore --
∑7∑∑∑∑∑∑MR. BALLASES:∑I understand he's a principal
∑8∑∑of Texas REIT, the debtor.
∑9∑∑∑∑∑∑MR. SATHER:∑He's also asserting his right to
10∑∑appear as a pro se creditor and that I do not have any
11∑∑control over that capacity.∑If he wishes to contact
12∑∑the Court, that is his business.
13∑∑∑∑∑∑MR. BALLASES:∑I understand that, but you've
14∑∑noticed the deposition.∑Do we want to proceed with
15∑∑the next witness?∑I've got my --
16∑∑∑∑∑∑MR. CHOUDHRI:∑And we --
17∑∑∑∑∑∑MR. BALLASES:∑-- clients here.∑We've
18∑∑rearranged our schedules for you.∑Do you want to take
19∑∑the deposition or not?∑It's up to you, Steve.
20∑∑∑∑∑∑MR. SATHER:∑I want to proceed --
21∑∑∑∑∑∑MR. CHOUDHRI:∑We are resuming.∑We are
22∑∑pausing the deposition, and we're going to have a
23∑∑conversation, and we'll come back in 15 minutes on the
24∑∑record.
25∑∑∑∑∑∑But in the meantime, Court Reporter, can I


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∑1∑∑have your e-mail address so we can e-mail you the
∑2∑∑audio ruling of the judge?∑And I think that'll solve
∑3∑∑any issues and resolve the -- the objection or
∑4∑∑position that Mr. Ballases is taking that the judge
∑5∑∑said something the judge didn't say, so it's clear.
∑6∑∑If I can get your e-mail address, we can e-mail you
∑7∑∑the audio right now, and we can resume.
∑8∑∑∑∑∑∑Let's -- let's resume the deposition at noon.
∑9∑∑It's 11:40 right now.
10∑∑∑∑∑∑THE REPORTER:∑Okay.∑May I go off the record,
11∑∑please?∑If we're pausing?
12∑∑∑∑∑∑MR. CHOUDHRI:∑Please.
13∑∑∑∑∑∑MR. SATHER:∑Yes, you may.∑Yes.
14∑∑∑∑∑∑MR. BALLASES:∑Yes, you can go off the record.
15∑∑∑∑∑∑THE REPORTER:∑Okay.∑So I am off the record.
16∑∑∑∑∑∑(Discussion held off the record.)
17∑∑∑∑∑∑(A recess was taken.)
18∑∑∑∑∑∑THE REPORTER:∑Back on the record.
19∑∑∑∑∑∑MR. BALLASES:∑So this is Michael Ballases,
20∑∑counsel for John Quinlan, Omar Khawaja, and Osama
21∑∑Abdullatif.∑There is no written order, but I did
22∑∑listen to the recording, and it appears he did say
23∑∑"creditors."∑And so I was mistaken, and so I will
24∑∑allow creditors to ask questions, however, in the
25∑∑limited capacity that he stated in the oral hearing.


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∑1∑∑So we can go forth with Mr. Khawaja.
∑2∑∑∑∑∑∑Ms. Hood, if you want to ask questions, go for
∑3∑∑it.
∑4∑∑∑∑∑∑MS. HOOD:∑Thanks.∑Okay.∑Steve, I may use
∑5∑∑your exhibits, so if you can have those by the --
∑6∑∑∑∑∑∑MR. SATHER:∑I'm happy to --
∑7∑∑∑∑∑∑MS. HOOD:∑-- by the ready for me, I
∑8∑∑appreciate it.
∑9∑∑∑∑∑∑MR. SATHER:∑-- put them up on the screen if
10∑∑you need them.
11∑∑∑∑∑∑MS. HOOD:∑Thank you.
12∑∑BY MS. HOOD:
13∑∑∑∑Q.∑Mr. Khawaja, my name is Lori Hood.∑We've
14∑∑never met before; correct?
15∑∑∑∑A.∑That's correct.
16∑∑∑∑Q.∑And I understand that you are an attorney
17∑∑licensed in the state of Texas; correct?
18∑∑∑∑A.∑That's also correct.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑Q.∑(BY MS. HOOD)∑And do you practice law?
21∑∑∑∑A.∑Yes, ma'am.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑Q.∑(BY MS. HOOD)∑And do you have -- where do you
24∑∑practice law?
25∑∑∑∑∑∑MR. BALLASES:∑Objection --


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∑1∑∑∑∑A.∑At my own law firm.
∑2∑∑∑∑Q.∑(BY MS. HOOD)∑And what is the name of that
∑3∑∑law firm?
∑4∑∑∑∑A.∑The Law Offices of -- and my name.
∑5∑∑∑∑Q.∑And where is that?∑Where are your offices
∑6∑∑located?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑On Richmond and Sage.
∑9∑∑∑∑∑∑MS. HOOD:∑If you'll -- thanks, Steve.∑Can
10∑∑you scroll down, Steve?
11∑∑∑∑∑∑MR. SATHER:∑Certainly.
12∑∑∑∑Q.∑(BY MS. HOOD)∑In the proof -- if I understand
13∑∑your testimony correctly, you stated that your proof
14∑∑of claim is based upon some judgments that you had
15∑∑assigned to you by virtue of purchasing those
16∑∑judgments from third parties; is that correct?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑Yes.
19∑∑∑∑∑∑MS. HOOD:∑Mr. Ballases, what is the basis of
20∑∑your objection?
21∑∑∑∑∑∑MR. BALLASES:∑Asked and answered.∑We've gone
22∑∑through all this.
23∑∑∑∑∑∑MS. HOOD:∑And I understand that,
24∑∑Mr. Ballases, but you were objecting quite frequently
25∑∑to Mr. Sather's questions, and I just want to make


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∑1∑∑sure that the record is clear with regard to what your
∑2∑∑objection is.∑I didn't know what your objection was
∑3∑∑during his questioning, and so I'm just trying to make
∑4∑∑sure that if the question needs to be rephrased or has
∑5∑∑come out at a different angle, that the question is
∑6∑∑clear to your client and that we're not going to deal
∑7∑∑with objections in the transcript later on.∑Is that
∑8∑∑fair?
∑9∑∑∑∑∑∑MR. BALLASES:∑I'm going to make my objections
10∑∑according to the rules.∑You can respond how you think
11∑∑appropriate pursuant to the rules.
12∑∑∑∑∑∑MS. HOOD:∑Okay.∑I appreciate that.
13∑∑∑∑∑∑Oops.∑What's that?∑No, take that down.
14∑∑∑∑∑∑MR. SATHER:∑Sorry.
15∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑So -- okay.∑So
16∑∑this proof of claim is your individual proof of claim;
17∑∑is that correct?
18∑∑∑∑A.∑My individual proof of claim?∑It looks like
19∑∑my name is on there as well as Mr. Quinlan's and
20∑∑Mr. Abdullatif's.
21∑∑∑∑Q.∑Right.∑But this isn't a proof of claim you
22∑∑filed on behalf of your law office; correct?
23∑∑∑∑A.∑Oh, yeah.∑Yeah, that's filed on my behalf,
24∑∑correct.∑Mm-hmm.
25∑∑∑∑Q.∑And if I understand your testimony, the value


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∑1∑∑of the property that is included in Section 9 consists
∑2∑∑of the total of the three judgments that form the
∑3∑∑basis of your proof of claim; correct?
∑4∑∑∑∑A.∑That's right.
∑5∑∑∑∑Q.∑And you've used these three judgments as the
∑6∑∑basis for filing an adversary action in the Southern
∑7∑∑District but also attached the adversary action to
∑8∑∑your proof of claim; is that correct?
∑9∑∑∑∑A.∑That sounds correct.
10∑∑∑∑Q.∑Okay.∑So if I can drill down, we've got --
11∑∑the basis for your proof of claim was, one, three
12∑∑judgments and, two, an adversary action; is that
13∑∑correct?
14∑∑∑∑A.∑That sounds correct.
15∑∑∑∑Q.∑All right.∑And the basis of the adversary
16∑∑action were the three judgments; is that correct?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑Sorry.∑Can you repeat the question?
19∑∑∑∑Q.∑(BY MS. HOOD)∑Yeah.∑The basis of your
20∑∑adversary action is the three judgments that you claim
21∑∑you're unable to collect; is that correct?
22∑∑∑∑A.∑That's correct.
23∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to form.
24∑∑∑∑∑∑MS. HOOD:∑And what is the basis of your
25∑∑objection?


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∑1∑∑∑∑∑∑MR. BALLASES:∑I think it's vague and
∑2∑∑ambiguous and misstates the evidence.∑I mean, the
∑3∑∑petition or the complaint speaks for itself.
∑4∑∑∑∑∑∑MS. HOOD:∑So last time I checked, documents
∑5∑∑don't talk.∑So let me correct my question just to
∑6∑∑make it clear.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, in your adversary
∑8∑∑action which is attached to your proof of claim, you
∑9∑∑reference three judgments; is that correct?
10∑∑∑∑A.∑Yes.
11∑∑∑∑Q.∑And you testified earlier, when Mr. Sather was
12∑∑asking you questions, that the reason you brought the
13∑∑adversary action was your inability to collect on
14∑∑those judgments and that somehow all of these related
15∑∑entities are alter egos of Mr. Choudhri; correct?
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑Okay.∑Let me drill down on the judgments.
18∑∑∑∑∑∑You state that you're an assignee of two of
19∑∑these judgments; is that correct?
20∑∑∑∑A.∑That's correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑∑∑MS. HOOD:∑All right.∑What is the basis of
23∑∑your objection?
24∑∑∑∑∑∑MR. BALLASES:∑Asked and answered.∑This has
25∑∑been already discussed and answered clearly by


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∑1∑∑Mr. Sather.
∑2∑∑∑∑∑∑MS. HOOD:∑Okay.∑I disagree --
∑3∑∑∑∑∑∑MR. BALLASES:∑You're just rehashing --
∑4∑∑∑∑∑∑MS. HOOD:∑-- but -- okay.∑Let me finish.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑You have --
∑6∑∑∑∑∑∑MS. HOOD:∑Steve, can you go to the basis of
∑7∑∑the damages that were attached?∑And thank you for
∑8∑∑being my paralegal.∑I appreciate it.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑So Judgment
10∑∑Number 1, you have an assigned interest in; correct?
11∑∑∑∑A.∑Yes.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑Q.∑(BY MS. HOOD)∑Before you purchased your
14∑∑assignment, did you do any due diligence on the
15∑∑underlying pleadings in the case?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑(BY MS. HOOD)∑And because you did underlying
19∑∑due diligence in the case, you understand that nowhere
20∑∑in that case is there any allegation of fraudulent
21∑∑transfer; correct?
22∑∑∑∑A.∑In which case?
23∑∑∑∑Q.∑Judgment Number 1, Davy versus Heil.
24∑∑∑∑A.∑I mean, I didn't get into the facts of that
25∑∑case.∑There's a final judgment, I purchased it, and


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∑1∑∑it was assigned to me.∑Why do I care what happened in
∑2∑∑that case?
∑3∑∑∑∑Q.∑Okay.∑Well, I just asked you if you looked at
∑4∑∑the underlying pleadings in the case, and you said
∑5∑∑yes.∑So now your testimony is that you did not look
∑6∑∑at the underlying pleadings.
∑7∑∑∑∑A.∑I mean, I skimmed through them.
∑8∑∑∑∑Q.∑And as you were skimming through them, did you
∑9∑∑understand that there was no cause of action for
10∑∑fraudulent transfers?
11∑∑∑∑A.∑I don't recall.
12∑∑∑∑Q.∑Have you read the judgment?
13∑∑∑∑A.∑Yes, I have.
14∑∑∑∑Q.∑And did you read it before you purchased it?
15∑∑∑∑A.∑Yes, I did.
16∑∑∑∑Q.∑And do you understand that nowhere in that
17∑∑judgment is there a finding of fraudulent transfers?
18∑∑∑∑A.∑Okay.∑If you say so.
19∑∑∑∑Q.∑Well, no, I'm asking you if you've read it and
20∑∑if you understand that.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑I mean, if there isn't, I'm gonna take your
23∑∑word for it and say there isn't.
24∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.∑Well, take my word for
25∑∑it.∑There isn't.


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∑1∑∑∑∑∑∑Did you purchase this judgment at a discount?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑I don't recall.
∑4∑∑∑∑∑∑MS. HOOD:∑What's the basis for your
∑5∑∑objection?
∑6∑∑∑∑∑∑MR. BALLASES:∑Lacking relevance.∑The purpose
∑7∑∑of the deposition is to understand why the proof of
∑8∑∑claim was filed and why it is now being withdrawn.
∑9∑∑∑∑∑∑MS. HOOD:∑All right.∑Well, I think --
10∑∑∑∑∑∑(Crosstalk)
11∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) an underlying
12∑∑matter in the Southern District.
13∑∑∑∑∑∑MS. HOOD:∑All right.∑I disagree with your
14∑∑analysis, but we can argue that another day.
15∑∑∑∑Q.∑(BY MS. HOOD)∑So you don't recall how much
16∑∑you purchased the judgment for.
17∑∑∑∑A.∑Correct.
18∑∑∑∑Q.∑And you are one of three assignees of this
19∑∑judgment; correct?
20∑∑∑∑A.∑That's correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MS. HOOD)∑Before you purchased the
23∑∑judgment, did you have an agreement with the other two
24∑∑claimants, Mr. Quinlan and Mr. Abdullatif, as to why
25∑∑you were purchasing the judgment?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑Did I have an agreement as to why we were
∑3∑∑purchasing the judgment?∑I mean, the purpose of
∑4∑∑purchasing the judgment is to collect on a judgment,
∑5∑∑so that was the agreement.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑So you sat down with the other
∑7∑∑two gentlemen, and the three of you decided to
∑8∑∑purchase this judgment together.
∑9∑∑∑∑A.∑I don't recall if we sat down together
10∑∑anywhere and had that -- a sit-down discussion about
11∑∑what was gonna happen.∑I think maybe that did.
12∑∑∑∑Q.∑Maybe it did, or maybe it didn't?
13∑∑∑∑A.∑Yeah.∑Maybe it was a phone call; maybe it was
14∑∑a sit-down meeting.
15∑∑∑∑Q.∑When did you --
16∑∑∑∑∑∑MR. BALLASES:∑And just for the record --
17∑∑∑∑Q.∑(BY MS. HOOD)∑Can you tell us when the
18∑∑judgment --
19∑∑∑∑∑∑MR. BALLASES:∑Just so that I have --
20∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I'm sorry.
21∑∑∑∑∑∑MS. HOOD:∑Sorry.
22∑∑∑∑∑∑THE REPORTER:∑I hear somebody else speaking.
23∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just -- I wanted to
24∑∑caution Ms. Hood.
25∑∑∑∑∑∑You're getting real close to attorney-client


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∑1∑∑privilege and/or work product legal privilege.∑So I
∑2∑∑don't think you're there yet, but you're close, so I
∑3∑∑just wanted to warn you to keep that in mind.
∑4∑∑∑∑Q.∑(BY MS. HOOD)∑Sure.∑And, Mr. Khawaja, please
∑5∑∑understand that I don't want to know what you talked
∑6∑∑about with your lawyers, okay, ever, or what your
∑7∑∑lawyers have discussed with you regarding their
∑8∑∑strategy.∑Okay?∑So if you feel like you have to
∑9∑∑reveal that kind of information in response to my
10∑∑question, I don't want to know that stuff.∑Okay?
11∑∑∑∑∑∑And certainly you understand as a lawyer that
12∑∑you have the right to discuss this kind of response
13∑∑with your lawyer prior to answering; right?
14∑∑∑∑A.∑Yes.
15∑∑∑∑Q.∑Can you tell us when you -- when you purchased
16∑∑the judgment?
17∑∑∑∑A.∑Sometime before this proof of claim was filed.
18∑∑I don't recall exactly when, no.
19∑∑∑∑Q.∑Do you recall the year?
20∑∑∑∑A.∑I think it was --
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑I think it was 2023.
23∑∑∑∑Q.∑(BY MS. HOOD)∑And how did it come about that
24∑∑this judgment came across your desk to be purchased?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑You can answer.
∑2∑∑∑∑A.∑I mean, that's -- that's privileged
∑3∑∑information that I'm not gonna discuss.
∑4∑∑∑∑∑∑MR. BALLASES:∑I'll go ahead and assert the
∑5∑∑attorney work product, attorney-client privilege.∑I'm
∑6∑∑going to instruct him not to answer.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑How do you typically learn of
∑8∑∑judgments that are available for you to purchase?
∑9∑∑∑∑A.∑I would say typically it is something that's
10∑∑brought to my attention by a third party.
11∑∑∑∑Q.∑And which third party brought this particular
12∑∑judgment to your attention?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Assertion of
14∑∑attorney-client and work product legal privileges.
15∑∑Instruct client not to answer.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Did Mr. Abdullatif bring this
17∑∑judgment to your attention?
18∑∑∑∑∑∑MR. BALLASES:∑Same assertion of privilege,
19∑∑same instruction to the client not to answer.∑It
20∑∑violates attorney-client and attorney work product.
21∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, do you have any
22∑∑sort of agreement with Mr. Abdullatif or Mr. Quinlan
23∑∑regarding a joint prosecution of this proof of claim?
24∑∑∑∑A.∑We do.
25∑∑∑∑Q.∑And is that in writing?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Also joint litigation
∑2∑∑privilege, I'll assert.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.
∑4∑∑∑∑A.∑I'm not gonna answer.
∑5∑∑∑∑Q.∑Is your -- is your agreement in writing?
∑6∑∑∑∑∑∑MR. BALLASES:∑Instruct client not to answer.
∑7∑∑He doesn't need to give work product, attorney-client,
∑8∑∑or joint litigation privilege information away.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑Back to my question.
10∑∑Mr. Khawaja, do you have an agreement in writing with
11∑∑Mr. Abdullatif and Mr. Quinlan with regard to pursuing
12∑∑this proof of claim?
13∑∑∑∑∑∑MR. BALLASES:∑I'm going object again to the
14∑∑question and assert the legal privileges of
15∑∑attorney-client, work product, also joint litigation
16∑∑privilege and instruct the client not to answer.
17∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you adhering
18∑∑to your -- to your counsel's instruction?
19∑∑∑∑A.∑I am.
20∑∑∑∑Q.∑And refusing to answer my question?
21∑∑∑∑A.∑On advice of counsel, yes.
22∑∑∑∑Q.∑With regard to this particular Davy-Heil
23∑∑judgment, do you know Mr. Heil?
24∑∑∑∑A.∑I don't.
25∑∑∑∑Q.∑Do you know Mr. Oakum?


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∑1∑∑∑∑A.∑I don't.
∑2∑∑∑∑Q.∑Do you know Renee Davy?
∑3∑∑∑∑A.∑Not personally.
∑4∑∑∑∑Q.∑Not personally?∑How else would you know her?
∑5∑∑∑∑A.∑I've seen videos of her online.
∑6∑∑∑∑Q.∑Doing what?
∑7∑∑∑∑A.∑Stating that Mr. Choudhri's a fraud and a
∑8∑∑thief and shouldn't be trusted.
∑9∑∑∑∑Q.∑Have you ever spoken to her?
10∑∑∑∑A.∑I have not.
11∑∑∑∑Q.∑When you purchased this judgment, who did you
12∑∑pay?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑∑∑I'm going to also -- it's harassing and
15∑∑oppressive.∑I'm also going to assert the
16∑∑attorney-client, attorney work product, and joint
17∑∑litigation privilege and instruct the client not to
18∑∑answer.
19∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
20∑∑follow your attorney's instruction and not answer my
21∑∑question?
22∑∑∑∑A.∑I am.
23∑∑∑∑Q.∑When you guys purchased your assignment of
24∑∑this judgment, the Davy-Heil judgment, did you each
25∑∑provide separate payment, or did it come from one


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∑1∑∑source?
∑2∑∑∑∑∑∑MR. BALLASES:∑I'm going to assert the same
∑3∑∑objection and the same assertions of legal privilege
∑4∑∑and instruct the client not to answer, as I did to the
∑5∑∑question before.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
∑7∑∑follow your counsel's instruction and refuse to answer
∑8∑∑my question?
∑9∑∑∑∑A.∑I am.
10∑∑∑∑Q.∑Mr. Khawaja, when you purchased your interest
11∑∑in this judgment, did you purchase it via wire
12∑∑transfer or a check?∑Cash?∑How did you purchase it?
13∑∑∑∑∑∑MR. BALLASES:∑I'm going to assert the same
14∑∑legal objections and the same assertions of legal
15∑∑privilege and instruct client not to answer, as I did
16∑∑with the previous question.
17∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
18∑∑adhere to your client's (sic) instruction and refuse
19∑∑to answer my question?
20∑∑∑∑A.∑My counsel's.∑Yes, I am.
21∑∑∑∑Q.∑Mr. Khawaja, do you know a gentleman by the
22∑∑name of Wayne Dolcefino?
23∑∑∑∑A.∑I've seen him online.
24∑∑∑∑Q.∑And was it one of Mr. Dolcefino's videos in
25∑∑which Ms. Davy appeared?


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∑1∑∑∑∑A.∑I think so, yes.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Have you ever met
∑4∑∑Mr. Dolcefino?
∑5∑∑∑∑A.∑I've met him, yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑In connection with any of your
∑8∑∑cases related to Mr. Choudhri?
∑9∑∑∑∑A.∑No.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MS. HOOD)∑With regard to this Judgment
12∑∑Number 1 that was assigned to you, how much of -- how
13∑∑much do you own of this judgment?
14∑∑∑∑∑∑THE WITNESS:∑I think that goes to the
15∑∑privilege again.
16∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
17∑∑question as being oppressive and harassing and assert
18∑∑the attorney-client, attorney work product, and joint
19∑∑litigation privilege and instruct him not to answer.
20∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
21∑∑adhere to your lawyer's instruction not to answer my
22∑∑question?
23∑∑∑∑A.∑I am.
24∑∑∑∑Q.∑As you sit here today, you're not going to
25∑∑tell me how much of this $501,513.85 judgment that you


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∑1∑∑own.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑On advice of counsel, I will not answer that
∑4∑∑question.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑And you testified that you
∑6∑∑purchased this judgment sometime last year; correct?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑I believe so, yes.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.∑And what have you done
10∑∑to try and collect this judgment?
11∑∑∑∑A.∑Well, we filed --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑-- in Bankruptcy Court or, I guess, in our
14∑∑proof of claims.∑And I think -- I think that's it at
15∑∑this stage.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Have you filed any
17∑∑post-judgment discovery in the underlying lawsuit in
18∑∑the 152nd?
19∑∑∑∑A.∑I don't -- I don't -- I'm not aware of that.
20∑∑∑∑Q.∑Have you hired a lawyer to pursue
21∑∑post-judgment discovery or collection of this
22∑∑judgment?
23∑∑∑∑A.∑The only lawyer I've hired is Mr. Ballases.
24∑∑∑∑Q.∑And you're certainly not aware of Mr. Ballases
25∑∑doing anything to try to collect this judgment outside


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∑1∑∑of the bankruptcy action; correct?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑You can answer.
∑4∑∑∑∑A.∑I'm not aware.
∑5∑∑∑∑Q.∑As an attorney in the state of Texas,
∑6∑∑certainly you're aware of the fact that, as a judgment
∑7∑∑creditor, you have the right to pursue post-judgment
∑8∑∑collection efforts within the confines of the Court
∑9∑∑that issued the judgment; correct?
10∑∑∑∑A.∑Sure.
11∑∑∑∑Q.∑And you've chosen not to avail yourselves of
12∑∑those opportunities; correct?
13∑∑∑∑∑∑MR. BALLASES:∑I'm going to go ahead and
14∑∑object to the question as misleading, also oppressive
15∑∑and harassing, and assert attorney-client, attorney
16∑∑work product, and joint litigation privilege.
17∑∑∑∑∑∑What we do for collection, you do not get to
18∑∑ask about to aid Mr. Choudhri and Jetall and his
19∑∑companies to hide assets any further.∑So we're not
20∑∑going to answer that.
21∑∑∑∑∑∑MS. HOOD:∑All right.∑I object to any
22∑∑commentary about me helping anybody do anything.∑All
23∑∑right?∑I'm here representing a creditor, and I'm
24∑∑trying to determine the basis for the filing of this
25∑∑proof of claim.∑And part of that issue is any attempt


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∑1∑∑by the judgment creditor to collect the judgment
∑2∑∑outside of filing a proof of claim in a bankruptcy
∑3∑∑action, that has nothing to do with the underlying
∑4∑∑judgment.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, do you personally
∑6∑∑know of any action taken in the public forum by you to
∑7∑∑collect this judgment outside of this bankruptcy
∑8∑∑action?
∑9∑∑∑∑A.∑I'm not aware of any.
10∑∑∑∑∑∑MR. BALLASES:∑I'm further going to instruct
11∑∑you:∑Don't answer any more questions regarding what
12∑∑we've done to collect because that gets into attorney
13∑∑work product, also attorney-client, and joint
14∑∑litigation privilege.
15∑∑∑∑∑∑THE WITNESS:∑I understand.
16∑∑∑∑∑∑MS. HOOD:∑And certainly, Mr. Ballases, I
17∑∑appreciate the nuances and everything else.∑And
18∑∑again, I don't want to know anything about your
19∑∑strategy or anything else.∑That's why I asked for
20∑∑public record, because I can't find anything in the
21∑∑public record that shows any attempt to try to collect
22∑∑this judgment.∑And so I'm just trying to clarify and
23∑∑get commentary and testimony from your client
24∑∑confirming that.
25∑∑∑∑∑∑MR. BALLASES:∑I appreciate that, but we don't


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∑1∑∑need to get into anything that could aid your client
∑2∑∑or the principal who owns your client to hide assets
∑3∑∑any further.
∑4∑∑∑∑∑∑MS. HOOD:∑I'm going to object to the sidebar
∑5∑∑commentary there.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑The judgment that you bought,
∑7∑∑the judgment debtor is Jetall Companies, Inc.;
∑8∑∑correct?
∑9∑∑∑∑A.∑Correct.
10∑∑∑∑Q.∑Certainly that judgment does not include my
11∑∑client as a judgment debtor; correct?
12∑∑∑∑A.∑Yeah, it's not -- does not include?∑Correct.
13∑∑∑∑Q.∑It certainly doesn't include Mrs. Choudhri as
14∑∑a judgment debtor; correct?
15∑∑∑∑A.∑It does not include them as a judgment debtor,
16∑∑correct.
17∑∑∑∑Q.∑It doesn't include Texas REIT as a judgment
18∑∑debtor either; right?
19∑∑∑∑A.∑Correct.
20∑∑∑∑Q.∑On Judgment Number 2, I think you testified
21∑∑that you don't own any part of that judgment; correct?
22∑∑∑∑A.∑Judgment Number 2, I believe I do own part of
23∑∑it.
24∑∑∑∑Q.∑The Abdullatif judgment?
25∑∑∑∑A.∑Okay.∑No, I do not.∑Sorry.


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∑1∑∑∑∑Q.∑Okay.∑Are you aware of the fact that that
∑2∑∑judgment has been bonded around?
∑3∑∑∑∑A.∑I'm not aware of --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I'm not aware of that.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑And when you filed the proof of
∑7∑∑claim that included Judgment Number 2, did you do any
∑8∑∑due diligence on that judgment in order to satisfy
∑9∑∑yourself that that judgment was not bonded around?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑I -- minimally, not -- minimally.
12∑∑∑∑Q.∑(BY MS. HOOD)∑What do you mean "minimally"?
13∑∑∑∑A.∑Meaning it was a final judgment, and that's
14∑∑how I -- that was what I understood it to be.
15∑∑∑∑Q.∑Certainly as a lawyer in the state of Texas,
16∑∑you understand that when a judgment is superceded,
17∑∑that that stays any collection activities; correct?
18∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
19∑∑question as misleading and harassing and oppressive.
20∑∑∑∑Q.∑(BY MS. HOOD)∑You can answer --
21∑∑∑∑A.∑I'm not aware of that --
22∑∑∑∑Q.∑You're not aware of that?
23∑∑∑∑A.∑I'm not aware of that being -- I'm not aware
24∑∑of the judgment being superceded.
25∑∑∑∑Q.∑And did you take any independent actions to


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∑1∑∑determine whether or not this judgment, which is on
∑2∑∑appeal, had been superceded?
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑Q.∑Judgment Number 3, this HSLLP judgment.
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑All right.∑That judgment, when did you
∑7∑∑purchase that judgment?
∑8∑∑∑∑A.∑I think 2023, if I recall correctly.
∑9∑∑∑∑Q.∑And how did you become aware that that
10∑∑judgment was available to purchase?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Harassing
12∑∑and oppressive.∑I'm also going to assert
13∑∑attorney-client, attorney work product, and joint
14∑∑litigation privilege and instruct the client not to
15∑∑answer.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
17∑∑adhere to your client's -- excuse me -- to your
18∑∑lawyer's instructions?
19∑∑∑∑A.∑I am.
20∑∑∑∑Q.∑And if I understand your testimony, you are
21∑∑one of three owners also of this judgment; is that
22∑∑correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑That's correct.
25∑∑∑∑Q.∑(BY MS. HOOD)∑And can you tell me how you


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∑1∑∑paid for the purchase of this judgment?
∑2∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
∑3∑∑question again as harassing and oppressive, assert the
∑4∑∑attorney-client legal privilege, the work product
∑5∑∑legal privilege, and the joint litigation legal
∑6∑∑privilege and instruct the client not to answer.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
∑8∑∑adhere to your lawyer's instruction?
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑Q.∑Mr. Khawaja, can you tell me whether you paid
11∑∑for -- excuse me.∑Strike that.
12∑∑∑∑∑∑Can you tell me who you paid when you
13∑∑purchased this assignment of this judgment?
14∑∑∑∑∑∑MR. BALLASES:∑I'm going to assert the same
15∑∑objection I just levied to the prior question as well
16∑∑as the same assertion of legal privileges to the prior
17∑∑question and instruct the client not to answer, just
18∑∑like the prior question.
19∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
20∑∑adhere to your lawyer's instruction and not answer my
21∑∑question as to who you paid for the purchase of this
22∑∑judgment?
23∑∑∑∑A.∑I am.
24∑∑∑∑Q.∑I see that this judgment -- the judgment
25∑∑creditor is Hoover Slovacek; correct?


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∑1∑∑∑∑A.∑That appears correct.
∑2∑∑∑∑Q.∑And that's the same law firm that is
∑3∑∑representing you here today; correct?
∑4∑∑∑∑A.∑That's correct.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Do you have any joint defense
∑7∑∑agreements with Hoover Slovacek?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑I think --
∑9∑∑well, objection.∑Form.
10∑∑∑∑A.∑I'm not aware.
11∑∑∑∑Q.∑(BY MS. HOOD)∑Do you have any prosecution
12∑∑agreements with Hoover Slovacek?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I'm not aware of any.
15∑∑∑∑Q.∑(BY MS. HOOD)∑At the time that you purchased
16∑∑this judgment, were you represented by Hoover
17∑∑Slovacek?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑A.∑At the time I purchased the judgment, I was
20∑∑represented by nobody.
21∑∑∑∑Q.∑(BY MS. HOOD)∑So you were representing
22∑∑yourself?
23∑∑∑∑A.∑Correct.
24∑∑∑∑Q.∑Who drafted the assignments?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑A.∑I think that's a privileged answer.
∑2∑∑∑∑∑∑MR. BALLASES:∑Also assert the same legal
∑3∑∑privileges we asserted in the previous questions,
∑4∑∑which would be attorney-client, attorney work product,
∑5∑∑and joint litigation and instruct the client not to
∑6∑∑answer.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
∑8∑∑adhere to your lawyer's instructions and not answer my
∑9∑∑question?
10∑∑∑∑A.∑Yes.
11∑∑∑∑Q.∑When you purchased the assignment of this
12∑∑judgment and the other two also purchased their
13∑∑portion of the judgment, was it all done at one time?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑∑∑I'm also going to assert the same legal
16∑∑privileges and instruct the client not to answer, as I
17∑∑did with the previous question.
18∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
19∑∑adhere to your client's instruction and not answer my
20∑∑question as to the timing of the purchase of the
21∑∑assignment by the three of you?
22∑∑∑∑A.∑Yes.
23∑∑∑∑Q.∑Did you purchase the assignment of this
24∑∑judgment from Mr. Abdullatif?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑Same


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∑1∑∑objections, same assertions of legal privilege, same
∑2∑∑instruction not to answer based on those legal
∑3∑∑privileges as the question before.
∑4∑∑∑∑Q.∑(BY MS. HOOD)∑Are you going to follow your
∑5∑∑lawyer's instruction and not answer my question as to
∑6∑∑who you purchased the assignment from?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑When you purchased the assignment and you were
∑9∑∑representing yourself, what lawyers did you deal with
10∑∑for the other purchasers?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑I'm also
12∑∑going to assert the same attorney work product and
13∑∑attorney -- joint litigation legal privilege and
14∑∑instruct the client not to answer.
15∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
16∑∑adhere to your lawyer's instructions and not answer my
17∑∑questions?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑Okay.∑When you purchased your assignment, was
20∑∑Mr. Abdullatif represented by counsel?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑∑∑Asserting the same legal privileges as the
23∑∑previous question and instructing client not to answer
24∑∑as I did with the previous question.
25∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to


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∑1∑∑adhere to your client's instruction -- or to your
∑2∑∑lawyer's instruction and not answer my question as to
∑3∑∑whether or not Mr. Abdullatif had a lawyer at the time
∑4∑∑of the purchase?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑Q.∑At the time you purchased your assignment of
∑7∑∑this judgment, was Mr. Quinlan represented by counsel?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑∑∑I'm also going to assert the same legal
10∑∑privileges as I did before and instruct the client not
11∑∑to answer.
12∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you adhering
13∑∑to your counsel's instructions and not answering my
14∑∑question as to whether or not Mr. Quinlan was
15∑∑represented by counsel at the time of the assignment
16∑∑of the judgment?
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑Does your assignment include just your
19∑∑signature, or is it an assignment that includes the
20∑∑other purchasers' signatures?
21∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
22∑∑question -- object to the form of the question.
23∑∑Excuse me.
24∑∑∑∑A.∑I don't -- I don't recall.
25∑∑∑∑Q.∑(BY MS. HOOD)∑Do you have a physical copy, or


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∑1∑∑do you have the original of this assignment?
∑2∑∑∑∑A.∑I believe I do somewhere, not with me today.
∑3∑∑I'm sure it was provided to me.
∑4∑∑∑∑Q.∑The copy or the original?
∑5∑∑∑∑A.∑The copy.
∑6∑∑∑∑Q.∑Do you know who holds the original of the
∑7∑∑assignment?
∑8∑∑∑∑A.∑I don't.
∑9∑∑∑∑Q.∑Because you don't know who holds the original
10∑∑of the assignment, you can't tell us whether or not
11∑∑the assignment has been paid; correct?
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑∑∑I'm going to assert the attorney-client and
14∑∑attorney work product and attorney joint -- or excuse
15∑∑me -- joint litigation privilege and instruct the
16∑∑client not to answer.
17∑∑∑∑A.∑I'm going to follow advice of counsel.
18∑∑∑∑Q.∑(BY MS. HOOD)∑And as you sit here today, you
19∑∑can't tell us who holds the original of this
20∑∑assignment.
21∑∑∑∑A.∑I can't.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑Q.∑(BY MS. HOOD)∑You can't?
24∑∑∑∑A.∑I cannot.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Can you tell me why you didn't
∑2∑∑include a copy of the assignment with your proof of
∑3∑∑claim?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑∑∑Just -- and I'm -- and I apologize because I
∑6∑∑know I'm not supposed to talk right now, but it's
∑7∑∑attached to the actual complaint in the Southern
∑8∑∑District, so you can pull it up.∑It's public record.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
10∑∑coaching the witness.
11∑∑∑∑∑∑MR. BALLASES:∑Be quiet.
12∑∑∑∑∑∑MR. CHOUDHRI:∑I'm sorry.∑Mr. Khawaja, did
13∑∑you say something?
14∑∑∑∑∑∑MS. HOOD:∑Okay --
15∑∑∑∑∑∑MR. BALLASES:∑No, I told you to be quiet.
16∑∑This is Mr. Ballases.
17∑∑∑∑∑∑MS. HOOD:∑Okay.∑This is my time.∑Okay?∑You
18∑∑guys can bicker and do your little boy thing when I'm
19∑∑not talking.
20∑∑∑∑Q.∑(BY MS. HOOD)∑So if I understand correctly,
21∑∑this adversary action, which is based upon two
22∑∑judgments that you claim to have an assignment in, was
23∑∑originally filed in the Southern District of Texas; is
24∑∑that correct?
25∑∑∑∑A.∑That's correct.


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∑1∑∑∑∑Q.∑And then you took that adversary and used it
∑2∑∑as -- as an exhibit to your proof of claim that you
∑3∑∑then filed in this action; correct?
∑4∑∑∑∑A.∑That's correct.
∑5∑∑∑∑Q.∑And if I understand your testimony, along with
∑6∑∑this adversary action, you filed lis pendens against
∑7∑∑the debtor's property in this action; correct?
∑8∑∑∑∑A.∑That's correct.
∑9∑∑∑∑Q.∑And if I remember the lis pendens, you did not
10∑∑sign that lis pendens; correct?
11∑∑∑∑A.∑Correct.
12∑∑∑∑Q.∑Did Mr. Abdullatif have your permission to
13∑∑sign that lis pendens that was filed against the
14∑∑debtor's property in this action?
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And when did you give him permission to file
17∑∑that lis pendens?
18∑∑∑∑A.∑I'm not sure.∑I'm assuming sometime before it
19∑∑was filed.
20∑∑∑∑Q.∑Was it done prior to the time that you brought
21∑∑the adversary action in the Southern District of
22∑∑Texas?
23∑∑∑∑A.∑I don't know.
24∑∑∑∑∑∑MS. HOOD:∑Steve, my trustee paralegal, can
25∑∑you bring up the first lis pendens, the supplemental


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∑1∑∑lis pendens, which I think is Exhibit -- yeah --
∑2∑∑Exhibit 2, yeah.∑Can you go down to the signature
∑3∑∑page?
∑4∑∑∑∑∑∑MR. SATHER:∑Yes.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑So Exhibit 2 is the
∑6∑∑supplemental lis pendens that you authorized
∑7∑∑Mr. Abdullatif to file against the debtor's property
∑8∑∑in this action; correct?
∑9∑∑∑∑A.∑That's correct.
10∑∑∑∑Q.∑All right.∑And the date of that says
11∑∑August 22nd, 2023.∑Do you agree with me?
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑Okay.∑And would it be fair to say that you
14∑∑gave Mr. Abdullatif your authority to sign on your
15∑∑behalf somewhere around August 22nd, 2023?
16∑∑∑∑A.∑It could've been before that, but it sounds
17∑∑correct.
18∑∑∑∑Q.∑Did you have a conversation with
19∑∑Mr. Abdullatif about the filing of the lis pendens?
20∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
21∑∑question.∑I'm also going to assert the
22∑∑attorney-client, attorney work product, and joint
23∑∑litigation privilege and instruct the client not to
24∑∑answer.
25∑∑∑∑A.∑On advice of counsel, I'm not answering any


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∑1∑∑questions regarding my conversations with
∑2∑∑Mr. Abdullatif or Mr. Quinlan.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Did you prov -- the authority
∑4∑∑that you provided to Mr. Abdullatif for you -- for him
∑5∑∑to sign on your behalf this lis pendens, was that
∑6∑∑given verbally or in writing?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑∑∑Same assertion of legal privilege, same
∑9∑∑instruction not to answer.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, are you going to
11∑∑adhere to your client's (sic) instructions and not
12∑∑answer my question about how you gave permission to
13∑∑Mr. Abdullatif --
14∑∑∑∑A.∑Yes, I am.
15∑∑∑∑∑∑MS. HOOD:∑Steve, can you bring up the --
16∑∑Exhibit Number 3?
17∑∑∑∑Q.∑(BY MS. HOOD)∑Exhibit Number 3 is the second
18∑∑supplemental lis pendens that was filed also on the
19∑∑debtor's property, and it looks to me that that also
20∑∑is dated August 22nd, 2023.∑Is that accurate?
21∑∑∑∑A.∑That looks accurate.
22∑∑∑∑Q.∑All right.∑And is it fair to say that you
23∑∑again gave Mr. Abdullatif permission or authorized him
24∑∑to sign on your behalf somewhere around August 22nd of
25∑∑2023?


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∑1∑∑∑∑A.∑Or prior to that, yes.
∑2∑∑∑∑Q.∑Certainly you didn't give him permission to
∑3∑∑file it before you actually were an owner in the
∑4∑∑judgment; correct?
∑5∑∑∑∑A.∑That's correct.
∑6∑∑∑∑Q.∑And again, just to summarize your testimony,
∑7∑∑you think you recall purchasing your assignment in
∑8∑∑this judgment sometime in 2023; correct?
∑9∑∑∑∑A.∑That's correct.
10∑∑∑∑Q.∑So we've got somewhere between January and
11∑∑August 22nd that you purchased your interest in this
12∑∑judgment; correct?
13∑∑∑∑A.∑That sounds right.
14∑∑∑∑∑∑MR. BALLASES:∑Ms. Hood, I don't mean to
15∑∑derail your testimony, but if you look at the
16∑∑complaint itself, it says when he obtained the
17∑∑assignment.∑It's February 17th, 2023.∑You can read
18∑∑it for yourself.∑It's Exhibit 1.
19∑∑∑∑∑∑MS. HOOD:∑So I appreciate that, Mr. Ballases.
20∑∑I'm trying to get your client's testimony on these
21∑∑issues, not what's in a document that you wrote. I
22∑∑want his testimony, but I appreciate it.∑He said he
23∑∑couldn't recall, and that's fine with me.
24∑∑∑∑Q.∑(BY MS. HOOD)∑On this judgment that you
25∑∑purchased from Hoover Slovacek, prior -- prior --


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∑1∑∑sorry; my mouth is not working -- prior to your
∑2∑∑purchase of the assignment, did you review the
∑3∑∑underlying pleadings related to the lawsuit?
∑4∑∑∑∑A.∑Not really.
∑5∑∑∑∑Q.∑Can you be more specific than "not really"?
∑6∑∑Is that you didn't look at them at all, or you kind of
∑7∑∑looked at them?
∑8∑∑∑∑A.∑I may have briefly skimmed through them.
∑9∑∑∑∑Q.∑And by skimming through them, were you aware
10∑∑that there were no causes of action for fraudulent
11∑∑transfer, et cetera, against Jetall?
12∑∑∑∑A.∑No, I wasn't, but I'll take your word for it
13∑∑that there were not.
14∑∑∑∑Q.∑And would you agree with me that the judgment
15∑∑debtor in Judgment Number 3 is Jetall Companies, Inc.?
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑And the judgment debtor is not Arabella PH
18∑∑3201; correct?
19∑∑∑∑A.∑No, they're an alter ego of Jetall Companies.
20∑∑∑∑∑∑MS. HOOD:∑Objection.∑Non-responsive.
21∑∑∑∑Q.∑(BY MS. HOOD)∑Arabella PH 3201 is not a
22∑∑judgment debtor; correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑That's correct.
25∑∑∑∑Q.∑(BY MS. HOOD)∑9201 Memorial Drive is not a


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∑1∑∑judgment creditor; correct?
∑2∑∑∑∑A.∑Correct.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MS. HOOD)∑2727 Kirby 26L, LLC, is not a
∑5∑∑judgment debtor; correct?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑Correct.
∑8∑∑∑∑Q.∑(BY MS. HOOD)∑Texas REIT, LLC, is not a
∑9∑∑judgment debtor; correct?
10∑∑∑∑A.∑Correct.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MS. HOOD)∑Dalio Holdings I is not a
13∑∑judgment debtor; correct?
14∑∑∑∑A.∑Correct.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Dalio Holdings II is not a
17∑∑judgment debtor; correct?
18∑∑∑∑A.∑Correct.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑Q.∑(BY MS. HOOD)∑Houston Real Estate Properties,
21∑∑LLC, is not a judgment debtor; correct?
22∑∑∑∑A.∑(Unintelligible)
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Was that "correct"?
25∑∑∑∑Q.∑(BY MS. HOOD)∑What was your -- yeah, I didn't


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∑1∑∑hear your --
∑2∑∑∑∑A.∑That's correct.
∑3∑∑∑∑Q.∑-- answer either.∑Yeah.
∑4∑∑∑∑A.∑Correct.∑Correct.
∑5∑∑∑∑∑∑MR. BALLASES:∑And I object to the form.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Shahnaz Choudhri is not a
∑7∑∑judgment debtor; correct?
∑8∑∑∑∑A.∑Correct.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Ali Choudhri is not a judgment
11∑∑debtor; correct?
12∑∑∑∑A.∑Correct.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑Q.∑(BY MS. HOOD)∑Shepherd-Huldy Development I is
15∑∑not a judgment debtor; correct?
16∑∑∑∑A.∑Correct.
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑Q.∑(BY MS. HOOD)∑Shepherd-Huldy Development II
19∑∑is not a judgment debtor; correct?
20∑∑∑∑A.∑Correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MS. HOOD)∑Galleria Loop Note Holder, LLC,
23∑∑is not a judgment debtor; correct?
24∑∑∑∑A.∑Correct.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑What due diligence did you do,
∑2∑∑if any, before you alleged in this adversary action,
∑3∑∑which forms the basis of your proof of claim, that my
∑4∑∑client, Dalio Holdings, LLC, is the alter ego of
∑5∑∑Houston Real Estate Properties?
∑6∑∑∑∑A.∑What due diligence did I do personally?
∑7∑∑∑∑Q.∑Yeah.
∑8∑∑∑∑A.∑I mean, I think it's stated pretty clearly in
∑9∑∑the petition what evidence we have.∑There's a whole
10∑∑court history of fraudulent transfers, commingling of
11∑∑assets; you know, fraudulent, unethical conduct that
12∑∑we have available as public record as to Mr. Choudhri
13∑∑and, by extension, your client's conduct.∑And that's
14∑∑the due diligence I did to make these claims.
15∑∑∑∑Q.∑Okay.∑So you based your due diligence off
16∑∑your allegation that this is all public record.
17∑∑∑∑A.∑That's correct.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MS. HOOD)∑What public records did you
20∑∑look at?
21∑∑∑∑A.∑Well, if you -- everything that's stated in
22∑∑the petition.∑If you look at Lawsuit 2013-41273,
23∑∑Harris County District Court, he was found to have
24∑∑committed fraud, filed a fraudulent lien, and there
25∑∑was no promissory note, and that was an entity that he


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∑1∑∑controlled, HREP.∑If you look at -- on February 16th,
∑2∑∑2017, in Case Number 2017-1 --
∑3∑∑∑∑Q.∑Let's go -- let's go back to the first one.
∑4∑∑You --
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm going to --
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑-- said that there was a --
∑7∑∑∑∑∑∑THE REPORTER:∑I'm sorry.
∑8∑∑∑∑Q.∑(BY MS. HOOD)∑You claim to have a finding --
∑9∑∑∑∑∑∑(Crosstalk)
10∑∑∑∑Q.∑(BY MS. HOOD)∑You claim there's a finding of
11∑∑fraud --
12∑∑∑∑∑∑MR. BALLASES:∑Ms. Hood --
13∑∑∑∑∑∑THE REPORTER:∑Sorry --
14∑∑∑∑∑∑MR. BALLASES:∑-- can you let my client answer
15∑∑the question, please?
16∑∑∑∑∑∑MS. HOOD:∑I -- it's my question-and-answer,
17∑∑and if I want to cut him off, I can.
18∑∑∑∑∑∑MR. BALLASES:∑Okay.∑So you want to --
19∑∑∑∑∑∑MS. HOOD:∑I want to -- I want to drill down
20∑∑on the first one.∑Well, he's referencing a pleading
21∑∑that I'm assuming that you wrote, so I just want to
22∑∑find out what he knows personally about some of this
23∑∑stuff.
24∑∑∑∑∑∑MR. BALLASES:∑Objection (unintelligible).
25∑∑∑∑Q.∑(BY MS. HOOD)∑So you reference a lawsuit --


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∑1∑∑hang on.∑Let me find it.
∑2∑∑∑∑∑∑Is that the lawsuit involving HREP?
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑Q.∑Okay.∑And were you involved in that lawsuit?
∑5∑∑∑∑A.∑I was not.
∑6∑∑∑∑Q.∑So everything you know about that lawsuit, you
∑7∑∑read as a matter of public record.
∑8∑∑∑∑A.∑That's correct.
∑9∑∑∑∑Q.∑Was there a finding of fraudulent transfers in
10∑∑that case?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑Other fraud, but I don't know if fraudulent
13∑∑transfer was part of that.
14∑∑∑∑Q.∑(BY MS. HOOD)∑I didn't see it.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
16∑∑∑∑Q.∑(BY MS. HOOD)∑All right.∑That's the first
17∑∑lawsuit that you said you looked at for public record
18∑∑in order to determine that my client is somehow the
19∑∑alter ego of all these other things; correct?
20∑∑∑∑A.∑That's correct.
21∑∑∑∑Q.∑Okay.∑What other -- what other public records
22∑∑did you review?
23∑∑∑∑A.∑There's also these videos by a guy named Wayne
24∑∑Dolcefino I saw.
25∑∑∑∑Q.∑So you looked at videos.


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∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑Anything else you reviewed?
∑3∑∑∑∑A.∑I think just generally people in the community
∑4∑∑know that your client commits fraud.∑He's known as a
∑5∑∑fraudster.
∑6∑∑∑∑Q.∑Who are these --
∑7∑∑∑∑A.∑So many people have approached me.
∑8∑∑∑∑Q.∑Okay.∑Who are these people?
∑9∑∑∑∑A.∑Yeah, I can't -- many people that he's
10∑∑defrauded over the years.
11∑∑∑∑Q.∑Name one.
12∑∑∑∑A.∑Well, Judge Norman is one.∑I don't know if
13∑∑you know him.∑He's in the Southern District.
14∑∑∑∑Q.∑Okay.∑Who else?
15∑∑∑∑A.∑Let's see.∑Who else in the community have
16∑∑called him a fraudster?
17∑∑∑∑∑∑Judge Landrum, Judge Michael Landrum in the
18∑∑Harris County District Court, 164th District Court.
19∑∑He considers your client a fraud.
20∑∑∑∑Q.∑And is that in relation to the HREP case?
21∑∑∑∑A.∑I just think generally.
22∑∑∑∑Q.∑Okay.∑So Judge Landrum has spoken to you
23∑∑about Mr. Choudhri being a fraudster?
24∑∑∑∑A.∑It's in a final judgment.∑I can read that for
25∑∑you if you'd like.


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∑1∑∑∑∑Q.∑No, I'm asking --
∑2∑∑∑∑A.∑Do you want me to read it to you?
∑3∑∑∑∑Q.∑No, no, no.∑I'm asking you.∑You said people
∑4∑∑have told you; many people have told you.∑So I'm
∑5∑∑asking who --
∑6∑∑∑∑A.∑Yes.
∑7∑∑∑∑Q.∑-- who's had a conversation with you about
∑8∑∑Mr. Choudhri being a fraudster?∑And you've said Judge
∑9∑∑Norman, and I'm assuming you didn't --
10∑∑∑∑A.∑Yes.
11∑∑∑∑Q.∑-- talk personally with Judge Norman.∑That's
12∑∑out of an opinion; right?
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑Okay.∑The same as --
15∑∑∑∑A.∑Members of the community --
16∑∑∑∑Q.∑Okay.∑So who --
17∑∑∑∑A.∑I'm sorry --
18∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
19∑∑Thank you.
20∑∑∑∑Q.∑(BY MS. HOOD)∑What community?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑The real estate community, the Pakistani
23∑∑community, basically anyone Mr. Choudhri has come in
24∑∑contact with and done business with, people from those
25∑∑communities.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Okay.∑So we've got the real
∑2∑∑estate community.∑We've got the Pakistani community.
∑3∑∑∑∑A.∑His family members.∑His own family members
∑4∑∑have said the same.
∑5∑∑∑∑Q.∑Family members.
∑6∑∑∑∑∑∑All right.∑So who in the real estate
∑7∑∑community have you had a specific conversation with
∑8∑∑that have informed you that he's -- that he -- that my
∑9∑∑client fraudulently -- my client, Dalio, is -- has
10∑∑been the recipient or the instigator of fraudulent
11∑∑transfers such that they're the alter ego of
12∑∑Mr. Choudhri?
13∑∑∑∑A.∑Harold Polk.
14∑∑∑∑Q.∑Who?
15∑∑∑∑A.∑So just a -- Harold Polk.
16∑∑∑∑Q.∑And who is Mr. Polk?
17∑∑∑∑A.∑Somebody that your client knows that he ripped
18∑∑off, I guess.
19∑∑∑∑Q.∑Well, how do you know him?
20∑∑∑∑A.∑He came to me and told me that your client
21∑∑ripped him off.
22∑∑∑∑Q.∑Okay.∑He came to you just out of the blue?
23∑∑∑∑A.∑Yeah.∑I mean, you know, I don't know why he
24∑∑came to me, but yeah, he did.
25∑∑∑∑Q.∑When did you have this --


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∑1∑∑∑∑A.∑He probably saw the --
∑2∑∑∑∑Q.∑When did you have this conversation with
∑3∑∑Mr. Polk?
∑4∑∑∑∑A.∑Years ago.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑I can't remember.
∑7∑∑∑∑Q.∑(BY MS. HOOD)∑Years ago?∑Okay.
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑Okay.∑Who else?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑I don't -- I can't recall.∑I mean, a lot of
12∑∑people.∑A lot of people.
13∑∑∑∑∑∑MR. BALLASES:∑I'm going to object to the
14∑∑question as exceeding the scope of the judge's
15∑∑limiting order.
16∑∑∑∑∑∑Can we please just stick to the basis for the
17∑∑proof of claim and why we are willing to withdraw it?
18∑∑∑∑∑∑MS. HOOD:∑Objection.∑Sidebar.
19∑∑∑∑∑∑I've asked him, what due diligence did he do
20∑∑in order to craft together the adversary proceeding,
21∑∑which was attached to the proof of claim as evidence
22∑∑supporting his proof of claim.∑And I've got, so far,
23∑∑two public lawsuits and some people in the community
24∑∑that have spoken to him, one of whose name is Harold
25∑∑Polk.∑And he can't remember anybody else's name


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∑1∑∑because there's just so many over so many years.
∑2∑∑∑∑Q.∑(BY MS. HOOD)∑Is that correct?
∑3∑∑∑∑∑∑MR. BALLASES:∑No, he's identified several
∑4∑∑people.
∑5∑∑∑∑∑∑I'm going to object to sidebar.
∑6∑∑∑∑∑∑If you want to engage in discovery in the
∑7∑∑Southern District, we can do that, but right now we're
∑8∑∑just trying to understand why we filed the proof of
∑9∑∑claim and why we're willing to withdraw it.
10∑∑∑∑∑∑MS. HOOD:∑Yeah, I understand.
11∑∑∑∑∑∑And I object to your sidebar.
12∑∑∑∑Q.∑(BY MS. HOOD)∑Mr. Khawaja, certainly your
13∑∑lawyer and Mr. Abdullatif had your permission to file
14∑∑this proof of claim; correct?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑(BY MS. HOOD)∑And you understand the proof of
18∑∑claim was filed under penalty of perjury.
19∑∑∑∑A.∑Yes.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MS. HOOD)∑And you understand that the
22∑∑amount in the proof of claim is based upon these three
23∑∑judgments; correct?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑And we've run through the three judgments, and


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∑1∑∑one of which you don't even have an interest in;
∑2∑∑correct?
∑3∑∑∑∑A.∑Yes, that's correct.
∑4∑∑∑∑Q.∑And you don't know anything about the
∑5∑∑substance of that judgment; correct?
∑6∑∑∑∑A.∑That's (unintelligible).
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑∑∑MS. HOOD:∑Excuse me.∑What was the answer?
∑9∑∑∑∑A.∑That was correct.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Do you own an assigned interest
11∑∑in any other judgment related to any of these entities
12∑∑that you claim are alter egos of Mr. Choudhri?
13∑∑∑∑A.∑I don't think so.
14∑∑∑∑∑∑MR. BALLASES:∑I object to the form of the
15∑∑question.
16∑∑∑∑Q.∑(BY MS. HOOD)∑Is it your habit to -- strike
17∑∑that.
18∑∑∑∑∑∑If one of these judgments became available to
19∑∑purchase, would you buy it?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑I don't know.∑I don't know how much money
22∑∑your client has.∑It just depends.∑Collectibility
23∑∑matters, so...
24∑∑∑∑Q.∑(BY MS. HOOD)∑Collectibility matters?
25∑∑∑∑A.∑Yes.


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∑1∑∑∑∑Q.∑Did collectibility matter to you when you
∑2∑∑purchased the assignment of the judgments that form
∑3∑∑the basis of your proof of claim?
∑4∑∑∑∑A.∑Yes.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Did you do any due diligence
∑7∑∑prior to filing your proof of claim in this lawsuit as
∑8∑∑to the debtor's ability to pay these judgments?
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MS. HOOD)∑What due diligence did you do?
12∑∑∑∑A.∑Reviewed public documents, spoke to people,
13∑∑watched videos of Wayne Dolcefino online.
14∑∑∑∑Q.∑Okay.∑So the public documents that you
15∑∑reviewed prior to filing your proof of claim in this
16∑∑lawsuit --
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑-- that -- let me finish -- that supported
19∑∑your proof of claim regarding collectibility were
20∑∑public records and the --
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑-- Dolcefino videos.
23∑∑∑∑A.∑That's correct.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑Q.∑(BY MS. HOOD)∑When did you learn that your


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∑1∑∑proof of claim was uncollectible?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑I think the Texas REIT judge in that case said
∑4∑∑that there wasn't enough money in the Texas REIT
∑5∑∑matter to pay us.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑When you filed your proof of
∑7∑∑claim, how much money was in Texas REIT?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑A.∑I'm not sure.∑No idea.
10∑∑∑∑Q.∑(BY MS. HOOD)∑If I understand correctly,
11∑∑bankrupt debtors have to file documents that outline
12∑∑their assets; correct?
13∑∑∑∑A.∑Yes.
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑Q.∑(BY MS. HOOD)∑Did you look at any of those
16∑∑filings by the debtor?
17∑∑∑∑A.∑I believe I did, but a lot of what your client
18∑∑files is fraudulent, so -- or the debtor in this case.
19∑∑So it's hard to trust those documents.
20∑∑∑∑∑∑MS. HOOD:∑Objection.∑Non-responsive.
21∑∑∑∑Q.∑(BY MS. HOOD)∑Did you look at any of the
22∑∑documents filed by the debtor, the accounting
23∑∑documents, prior to filing your proof of claim?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑Yes.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Which documents did you look
∑2∑∑at?
∑3∑∑∑∑A.∑I'm sure I reviewed the schedules.∑I don't --
∑4∑∑I can't recall specifically what I looked at.
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm going to go ahead on this
∑6∑∑line of questioning and instruct him not to answer
∑7∑∑because it gets into attorney work product.
∑8∑∑∑∑∑∑MS. HOOD:∑I'm just asking what he looked at.
∑9∑∑I don't want to know what you looked at or what you
10∑∑talked to him about.
11∑∑∑∑∑∑MR. BALLASES:∑I understand.
12∑∑∑∑∑∑MR. CHOUDHRI:∑I'm gonna object.
13∑∑∑∑∑∑Mr. Ballases, you continue to coach the
14∑∑witness, so I'm gonna object.∑Please stop coaching
15∑∑the witness.
16∑∑∑∑∑∑MR. BALLASES:∑What's your legal basis, sir,
17∑∑for your objection?
18∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, because you're
19∑∑making sidebar, coaching the witness.∑Keep your
20∑∑objections limited.∑Don't coach the witness.∑You've
21∑∑been doing it throughout the whole depo, and you're
22∑∑also objecting on a frivolous basis.∑But regardless,
23∑∑please stop coaching the witness.
24∑∑∑∑∑∑MR. BALLASES:∑Okay.∑So what's your formal
25∑∑objection for the record?


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑For the record, you're
∑2∑∑improperly coaching the witness.∑Refrain your
∑3∑∑objections --
∑4∑∑∑∑∑∑MR. BALLASES:∑Okay.
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑-- to just objections.
∑6∑∑∑∑∑∑MR. BALLASES:∑I want to make sure.∑Okay. I
∑7∑∑just want to make sure your formal objection was on
∑8∑∑the record.
∑9∑∑∑∑∑∑THE WITNESS:∑He's just buying time for his
10∑∑lawyer to make up questions.
11∑∑∑∑∑∑MS. HOOD:∑What?∑Mr. --
12∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Khawaja, what did you say?
13∑∑∑∑∑∑MS. HOOD:∑Yeah.∑Excuse me, Mr. Choudhri.
14∑∑This is my time.
15∑∑∑∑Q.∑(BY MS. HOOD)∑First of all, there's no
16∑∑requirement that I pepper you incessantly directly.
17∑∑I'm going through my notes.∑I don't need time to come
18∑∑up with questions for you.
19∑∑∑∑∑∑I'd actually like it if you would answer my
20∑∑questions, but you've chosen not to do that.∑So I'm
21∑∑going through my notes to see if I can actually ask
22∑∑some questions that you would be kind enough to answer
23∑∑relating to your proof of claim and why you filed it.
24∑∑So when you --
25∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible) and what


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∑1∑∑you're doing, okay, or your sidebar.∑And we are
∑2∑∑answering questions.∑I'm sorry you don't like them.
∑3∑∑∑∑∑∑MS. HOOD:∑You're not answering them.∑You're
∑4∑∑objecting.
∑5∑∑∑∑Q.∑(BY MS. HOOD)∑At the time that you filed your
∑6∑∑proof of claim, you had satisfied yourself that you'd
∑7∑∑be able to collect your judgments through this debtor.
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MS. HOOD)∑Do you understand that in order
11∑∑to collect your judgments through this debtor, you
12∑∑would have to win on your adversary claim regarding
13∑∑the alter egos?
14∑∑∑∑A.∑Yes.
15∑∑∑∑Q.∑And if I read your adversary complaint, it's
16∑∑your assertion that Mr. Choudhri keeps his entities
17∑∑devoid of assets in order to keep creditors from
18∑∑collecting their judgments.∑Is that a fair statement?
19∑∑∑∑A.∑I mean, I think that's one of many tactics
20∑∑that he uses, but yes.
21∑∑∑∑Q.∑And certainly you have these judgments at your
22∑∑ready; correct?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑Yeah.∑I'm sorry.∑I didn't -- I didn't quite
25∑∑understand the question.


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∑1∑∑∑∑Q.∑(BY MS. HOOD)∑Yeah, bad question.
∑2∑∑∑∑∑∑You have these judgments that you own that you
∑3∑∑could go out and try to collect absent filing
∑4∑∑documents in Bankruptcy Court; correct?
∑5∑∑∑∑A.∑I guess.
∑6∑∑∑∑Q.∑And you've not chosen to pursue any
∑7∑∑post-judgment collection of these judgments in Texas
∑8∑∑State Court; correct?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑∑∑I'm going to instruct the client not to
11∑∑answer.
12∑∑∑∑∑∑You're invading attorney-client, work
13∑∑privilege -- attorney-client, and you're also getting
14∑∑into joint litigation privilege.∑We're not going to
15∑∑help Mr. Choudhri hide more assets.
16∑∑∑∑A.∑On advice of counsel, I will not answer that
17∑∑question.
18∑∑∑∑Q.∑(BY MS. HOOD)∑It's not -- okay.∑The question
19∑∑is this.∑Okay?∑Based upon public records, I find no
20∑∑activity by you to collect these judgments in Texas
21∑∑State Courts; is that an accurate statement?
22∑∑∑∑A.∑Yes.
23∑∑∑∑∑∑MR. BALLASES:∑I object to the form.
24∑∑∑∑Q.∑(BY MS. HOOD)∑And rather than pursue
25∑∑opportunities in State Court, you and your co-owners


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∑1∑∑have chosen to pursue unrelated third parties in
∑2∑∑Bankruptcy Court; correct?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑No, that's not correct.∑"Unrelated"?∑What do
∑5∑∑you mean "unrelated"?∑What is that supposed to mean?
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑Texas (sic) Real Estate
∑7∑∑Properties, LLC, is not a judgment debtor; correct?
∑8∑∑You've already admitted this.
∑9∑∑∑∑A.∑Does that mean -- you said "unrelated."
10∑∑That's not -- they're very related.
11∑∑∑∑Q.∑In your mind, but they don't -- they're not a
12∑∑party to the judgment; correct?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
14∑∑∑∑A.∑In reality and on public record.
15∑∑∑∑Q.∑(BY MS. HOOD)∑The debtor in this case is not
16∑∑a judgment debtor; correct?
17∑∑∑∑A.∑Asked and answered.
18∑∑∑∑Q.∑Okay.∑Now you're objecting to your own
19∑∑questions?∑Are you a lawyer or a witness?
20∑∑∑∑A.∑I am a lawyer, but I mean --
21∑∑∑∑Q.∑Okay.∑Answer my question.
22∑∑∑∑A.∑-- just answering --
23∑∑∑∑Q.∑Answer my question.
24∑∑∑∑A.∑No, I'm not gonna answer that question.
25∑∑∑∑Q.∑This debtor is not a judgment debtor to you;


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∑1∑∑correct?
∑2∑∑∑∑∑∑THE WITNESS:∑Do you want me to answer?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑You can answer.
∑5∑∑∑∑A.∑No.
∑6∑∑∑∑Q.∑(BY MS. HOOD)∑And yet you chose to pursue
∑7∑∑this debtor to try to collect your judgments that are
∑8∑∑in the name of others; correct?
∑9∑∑∑∑A.∑This -- yes.∑This debtor is an alter ego of
10∑∑all the other debtor -- all the other defendants in
11∑∑this case.
12∑∑∑∑Q.∑Tell me where there's a finding by a court of
13∑∑law that this debtor is the alter ego of one of the
14∑∑two entities in which you hold an assigned interest.
15∑∑∑∑A.∑We will prove it in this case.
16∑∑∑∑Q.∑Okay.∑That's not my question.∑Tell me where
17∑∑I can find as a matter of law that Ali Choudhri and
18∑∑Houston Real Estate Properties, LLC, are one and the
19∑∑same.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑We don't have that.
22∑∑∑∑Q.∑(BY MS. HOOD)∑Tell me where I can find as a
23∑∑matter of public record that Jetall is one and the
24∑∑same with this debtor.
25∑∑∑∑∑∑MR. BALLASES:∑Objection --


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∑1∑∑∑∑A.∑Based on his testimony in multiple cases.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MS. HOOD)∑Tell me where I can find as a
∑4∑∑matter of public record a finding by a trier of fact
∑5∑∑that Jetall Companies is one and the same as this
∑6∑∑debtor.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑I don't -- I'm not sure if we'll find that.
∑9∑∑∑∑Q.∑(BY MS. HOOD)∑There isn't one, is there?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑We have multiple public record documents
12∑∑indicating that Ali Choudhri is one and the same as
13∑∑all of his entities.
14∑∑∑∑Q.∑(BY MS. HOOD)∑And there's not a finding by a
15∑∑trier of fact that this debtor is one and the same
16∑∑with Jetall Companies, is there?
17∑∑∑∑A.∑Only admissions by your client.∑That's it.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MS. HOOD)∑There's no finding by a trier
20∑∑of fact that this debtor is one and the same as Jetall
21∑∑Companies; correct?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑(Phone ringing.)
24∑∑∑∑A.∑(Unintelligible)
25∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑I'm sorry. I


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∑1∑∑did -- sorry.∑I did not hear your answer.∑Could you
∑2∑∑please restate your answer?
∑3∑∑∑∑A.∑I said -- I said, Correct, not by a trier of
∑4∑∑fact, but by admissions through your client.
∑5∑∑∑∑∑∑MS. HOOD:∑Objection.∑After "correct" --
∑6∑∑objection.∑Non-responsive after "correct."
∑7∑∑∑∑∑∑Mr. Khawaja, I fully expect to go back to the
∑8∑∑Court and try to get him to compel you to answer some
∑9∑∑of my questions that I think were improperly objected
10∑∑to, and so I can go through that with your lawyer
11∑∑through motion practice.∑I appreciate your time
12∑∑today.∑Based upon whether or not the other lawyers
13∑∑and Mr. Choudhri have questions, I may or may not get
14∑∑another pass at you, and I appreciate your time.
15∑∑∑∑∑∑THE WITNESS:∑Thank you.
16∑∑∑∑∑∑MS. HOOD:∑I'm going to pass the witness to
17∑∑the next creditor in line, and I reserve my right to
18∑∑come back and ask questions -- follow-up questions if
19∑∑I deem necessary.
20∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just before we go to
21∑∑Mr. Choudhri, would it be possible to just take two
22∑∑minutes to go to the bathroom?
23∑∑∑∑∑∑MS. HOOD:∑Oh, absolutely.∑You're in charge.
24∑∑You're the one doing the hard work.
25∑∑∑∑∑∑THE REPORTER:∑Thank you.∑Just two minutes.


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∑1∑∑Thanks.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Absolutely, Cheryl.∑Take your
∑3∑∑time.
∑4∑∑∑∑∑∑THE REPORTER:∑Thank you.
∑5∑∑∑∑∑∑(A recess was taken.)
∑6∑∑BY MR. CHOUDHRI:
∑7∑∑∑∑Q.∑Mr. Khawaja, good afternoon.∑How are you?
∑8∑∑∑∑A.∑I'm good, man.∑Just -- let's get to your
∑9∑∑questions.∑I don't -- we don't have time for
10∑∑formalities.∑Thank you.
11∑∑∑∑Q.∑Mr. Khawaja, you're not looking at -- first of
12∑∑all, who is present with you in the room there?
13∑∑∑∑∑∑MR. BALLASES:∑We've already answered that.
14∑∑∑∑∑∑Objection.∑Form.
15∑∑∑∑∑∑We're also having trouble hearing you, so you
16∑∑might want to turn up your volume --
17∑∑∑∑A.∑Yeah, you need to turn your speaker up.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, can you hear
19∑∑me now?
20∑∑∑∑A.∑Better, but you still need to speak up a
21∑∑little bit.
22∑∑∑∑Q.∑So can you identify who's in the room there
23∑∑with you, Mr. Khawaja?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑Mr. Quinlan is here; my attorney, Michael


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∑1∑∑Ballases.
∑2∑∑∑∑Q.∑Is Osama Abdullatif in the room with you?
∑3∑∑∑∑A.∑He has --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑He's not in the room, like, at this minute.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But throughout this
∑7∑∑deposition, you've had Osama Abdullatif and John
∑8∑∑Quinlan sitting in the room with you, present;
∑9∑∑correct?
10∑∑∑∑A.∑Yes.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑∑∑We've already answered that and said that.
13∑∑Quit wasting everybody's time.
14∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, I would ask you
15∑∑to please calm down and allow me to ask my questions.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you had -- as
18∑∑we started this deposition, you had said that I had
19∑∑defrauded you?
20∑∑∑∑A.∑Ali, I'm sorry.∑You're really going to have
21∑∑to turn up your sound because I can't hear you and
22∑∑neither can the people in the room.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Is everybody -- can everybody
24∑∑hear me okay?
25∑∑∑∑∑∑Cheryl, can you hear me?


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∑1∑∑∑∑∑∑THE REPORTER:∑I can hear you.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Maybe it's only
∑3∑∑Mr. Khawaja who can't hear me, then.
∑4∑∑∑∑∑∑THE WITNESS:∑Osama, can you hear him?
∑5∑∑∑∑∑∑MR. BALLASES:∑It's difficult to hear you.
∑6∑∑∑∑∑∑MR. ABDULLATIF:∑No, I can't hear him without
∑7∑∑hearing aid.
∑8∑∑∑∑A.∑Mr. Quinlan can't hear you and neither can
∑9∑∑Osama, and they need to hear you.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, the court reporter
11∑∑can hear me.∑If they want me to come closer, they
12∑∑can.∑I would actually object to them even being there
13∑∑and handing you notes, but we'll try to --
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
15∑∑∑∑∑∑MR. CHOUDHRI:∑-- get on with the deposition.
16∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
17∑∑∑∑∑∑MR. CHOUDHRI:∑The court reporter could hear
18∑∑me just fine.
19∑∑∑∑∑∑THE WITNESS:∑Okay.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, how do you
21∑∑know John Quinlan?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑I'm not gonna answer that question.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're not gonna answer the
25∑∑question of how you know John Quinlan?


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∑1∑∑∑∑A.∑I -- I met him in the real estate community.
∑2∑∑∑∑Q.∑When did you meet Mr. Quinlan?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.
∑4∑∑∑∑∑∑Ali, can you show yourself?∑If you're going
∑5∑∑to be asking questions, you need to show yourself.
∑6∑∑∑∑∑∑THE WITNESS:∑Yes.
∑7∑∑∑∑∑∑MR. BALLASES:∑Thank you.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Can you all see me now?
∑9∑∑Is that okay?
10∑∑∑∑∑∑MR. BALLASES:∑Yes.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑Mr. Khawaja, you
12∑∑were present earlier during the deposition when you
13∑∑were being asked questions.∑Did you happen to listen
14∑∑to Judge Robinson's oral ruling?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I don't know what that has to do with
17∑∑anything.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑The deposition that we're
19∑∑here on, Mr. Khawaja, is --
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑-- subject to a court order.∑Do you
22∑∑understand that?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑∑∑This has nothing to do with the proof of
25∑∑claim.∑Move on.


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∑1∑∑∑∑A.∑Please get to the proof of claim,
∑2∑∑Mr. Choudhri.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, this is my
∑4∑∑deposition.∑I get to ask you questions, and you can
∑5∑∑answer them.∑This is my opportunity.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑And so, again, Court Reporter,
∑7∑∑would you please repeat the question?
∑8∑∑∑∑∑∑THE REPORTER:∑The question is (Reading:)∑The
∑9∑∑deposition that we're here on, Mr. Khawaja, is subject
10∑∑to a court order.∑Do you understand that?
11∑∑∑∑A.∑I didn't -- I have not seen a court order.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you aware, earlier
13∑∑today, that an oral ruling on an audio from the Court
14∑∑was sent to your attorney, Michael Ballases?
15∑∑∑∑A.∑It -- it may have been.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And are you aware, whether
18∑∑written or oral, we are here pursuant to a court
19∑∑order?∑Are you aware of that?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Might -- that might be the case.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But you're not aware that
23∑∑we're here pursuant to a court order.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑It could possibly be the case.


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∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But you don't know?
∑2∑∑∑∑A.∑I don't know.
∑3∑∑∑∑Q.∑And I've asked you earlier as how you know
∑4∑∑Mr. Quinlan, and your answer was you're not going to
∑5∑∑answer that; is that correct?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I think I told you after -- after that that I
∑8∑∑met him in the real estate community.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And when did you meet him?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑∑∑Are you going to ask every question two or
12∑∑three times?∑Ask good questions.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
14∑∑∑∑A.∑I can't remember.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases -- Mr. Ballases,
16∑∑for the record, I would ask you to please stop
17∑∑interfering and obstructing the deposition.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
19∑∑∑∑∑∑So I would just request that you comply with
20∑∑the judge's instruction to tailor the questions
21∑∑narrowly to the reasons why the proof of claim was
22∑∑filed and why it was withdrawn and not ask why he
23∑∑knows people and who he knows people and not ask
24∑∑things three times.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is John Quinlan a


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∑1∑∑co-claimant on the proof of claim?
∑2∑∑∑∑A.∑I believe so.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Osama Abdullatif a
∑5∑∑co-claimant on the proof of claim?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I believe so, yes.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑When did you meet Osama
∑9∑∑Abdullatif?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Maybe 2010.∑2009 or '10, something like that.
12∑∑I'm not sure.∑Around the time you deprived me of my
13∑∑property, I think.
14∑∑∑∑Q.∑Which property is that, Mr. Khawaja?
15∑∑∑∑A.∑The Avondale property.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Can you tell us a little
18∑∑bit about that, because you've mentioned it several
19∑∑times in this deposition, and so I'd like you to tell
20∑∑us a little more about the Avondale property.
21∑∑∑∑A.∑No --
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑I'm going to instruct him not to answer
24∑∑because you're violating the judge's instruction as to
25∑∑this limited deposition.


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∑1∑∑∑∑∑∑Please stick to the proof of claim and the
∑2∑∑reason why it's being withdrawn.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, he's opening the
∑4∑∑door.∑He's answering my questions.∑I have a right to
∑5∑∑ask him questions.∑Okay?
∑6∑∑∑∑∑∑MR. BALLASES:∑Yeah, so you're not a lawyer.
∑7∑∑You don't know what you're talking about.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please be
∑9∑∑respectful, sir.∑I know it's difficult, but please be
10∑∑respectful.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
12∑∑∑∑∑∑MR. BALLASES:∑I am.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- are you going to answer
14∑∑my --
15∑∑∑∑∑∑MR. BALLASES:∑I'm respecting my client --
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- questions --
17∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
18∑∑disrupting the deposition.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you said you
20∑∑met Mr. Osama Abdullatif when I deprived you of your
21∑∑property.∑Is that -- did I hear that correct?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Yes.
24∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct you not
25∑∑to answer.


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∑1∑∑∑∑∑∑We're not going to talk about this.
∑2∑∑∑∑∑∑THE WITNESS:∑Okay.∑Sorry.
∑3∑∑∑∑∑∑MR. BALLASES:∑It has nothing to do with the
∑4∑∑proof of claim.∑It has nothing to do for the reason
∑5∑∑for filing it.∑It has nothing --
∑6∑∑∑∑A.∑Ali, we can grab a cup of coffee afterwards.
∑7∑∑You can ask me all about that.∑Let's please stick to
∑8∑∑the purpose of this.∑Okay?
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Let's have some decorum,
10∑∑gentlemen.∑This is a formal deposition.∑I'm asking
11∑∑the questions.∑Mr. Khawaja just said yes, so why the
12∑∑proof of claim was filed is very relevant.∑And
13∑∑Mr. Khawaja just answered that, so I have an
14∑∑opportunity to explore that.
15∑∑∑∑∑∑Mr. Ballases, you have a law license.∑You
16∑∑have to follow the creed that you've been licensed by,
17∑∑so please don't frivolously object and coach the
18∑∑witness.∑Okay?∑I --
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
20∑∑∑∑∑∑MR. CHOUDHRI:∑-- would like -- if everybody
21∑∑wants, I'm happy to play the audio of the judge's oral
22∑∑ruling so Mr. Khawaja is aware -- and so are you,
23∑∑Mr. Ballases -- and we don't have to waste more time
24∑∑like we did this morning about what the scope of the
25∑∑deposition is about.∑Would you like me to do that,


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∑1∑∑Mr. Ballases, so you can stop --
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar --
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑-- interfering --
∑4∑∑∑∑∑∑MR. BALLASES:∑The only reason you're asking
∑5∑∑questions is because I heard it.∑So why don't you be
∑6∑∑quiet and focus on asking questions if it's relevant
∑7∑∑to the judge's scope.∑Thank you.
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Madam Court Reporter, do you
∑9∑∑have a -- do you have an ability to play at a certain
10∑∑point of the audio?∑Is that something you're able to
11∑∑do for us?
12∑∑∑∑∑∑THE REPORTER:∑I am actually not authorized to
13∑∑be playing audio or sharing exhibits during the
14∑∑deposition.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Well, maybe we can then
16∑∑play the audio at 23 minutes and 14 seconds, and then
17∑∑we'll play it at 28 minutes and 12 seconds.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you -- you
19∑∑have indicated that you have not heard the oral
20∑∑ruling, why we're here, by Judge Robinson; is that
21∑∑correct?
22∑∑∑∑A.∑Let's assume for purposes of this question I
23∑∑have.∑What would you like me to answer?
24∑∑∑∑Q.∑Well, I just want to clarify because you keep
25∑∑not answering, and Mr. Ballases keeps interfering and


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∑1∑∑interrupting, so I want to go ahead and get the
∑2∑∑judge's ruling on the record, so --
∑3∑∑∑∑A.∑Just ask me the questions that you want the
∑4∑∑answers to.∑I'm happy to answer the questions.
∑5∑∑∑∑Q.∑Were you present or on the phone when the
∑6∑∑hearing took place with Judge Robinson?
∑7∑∑∑∑A.∑I was not.
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Let's go ahead and play at
10∑∑23 minutes and 14 seconds.
11∑∑∑∑∑∑Gene, can you play that right now?
12∑∑∑∑∑∑MR. BALLASES:∑So just for the record, we --
13∑∑as I've told your counsel, we have to cut if off at
14∑∑4:30.∑If this is how you want to use your time, by
15∑∑all means.∑It's your dime.
16∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, you've been
17∑∑interfering with the depo all day, and we're going to
18∑∑do this by the rules and what the rules -- the federal
19∑∑rules are and the timing.∑So if you want to walk out
20∑∑of a depo, that's really your choice --
21∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
22∑∑∑∑∑∑MR. CHOUDHRI:∑-- and you'll suffer the
23∑∑consequences.
24∑∑∑∑∑∑THE REPORTER:∑Okay.∑So just before we play
25∑∑the audio, as I let everybody know in the e-mail, I


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∑1∑∑cannot transcribe anything I cannot clearly hear.∑If
∑2∑∑you would like a separate transcription of this audio,
∑3∑∑then you can contact our office.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑No -- no problem, Cheryl.
∑5∑∑We'll do the best we can.
∑6∑∑∑∑∑∑THE REPORTER:∑Okay.∑Thank you.
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑And I'm sure you will too.∑And
∑8∑∑if it works, great.
∑9∑∑∑∑∑∑THE REPORTER:∑Thank you.
10∑∑∑∑∑∑MR. CHOUDHRI:∑So while we're getting ready to
11∑∑do that -- go ahead, Gene.∑Are you ready?
12∑∑∑∑∑∑MR. MCCUBBIN:∑Yeah.∑You said 23:14.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Correct, at 23 minutes and
14∑∑14 seconds.∑Let's start there.
15∑∑∑∑∑∑MR. MCCUBBIN:∑Yeah, this is, I think, 23:10.
16∑∑Here we go.
17∑∑∑∑∑∑(Audio file played.)
18∑∑∑∑∑∑MR. MCCUBBIN:∑There you go.
19∑∑∑∑∑∑MR. CHOUDHRI:∑Would you go to 23 minutes and
20∑∑18 -- 28 minutes and 12 seconds, please?
21∑∑∑∑∑∑MR. MCCUBBIN:∑Yeah, give me a second.
22∑∑∑∑∑∑MR. CHOUDHRI:∑28 minutes and 12 seconds.
23∑∑Let's get that on the record.∑Go ahead.
24∑∑∑∑∑∑MR. MCCUBBIN:∑Okay.
25∑∑∑∑∑∑(Audio file played.)


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∑1∑∑∑∑∑∑MR. MCCUBBIN:∑There you go.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, were you able
∑3∑∑to hear the judge, Robinson?
∑4∑∑∑∑A.∑Yes.
∑5∑∑∑∑Q.∑Does that help you understand a little more
∑6∑∑about what we're here about?
∑7∑∑∑∑A.∑What's your question?
∑8∑∑∑∑Q.∑Did you --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection (unintelligible) --
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- hear him say motivations
11∑∑of filing the proof of claim?∑Do you understand what
12∑∑that means, motivations of filing the proof --
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑-- of claim?∑Okay.
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑So again, I want to go back to some of my
17∑∑questions, Mr. Khawaja.∑You said that I defrauded you
18∑∑of your property.
19∑∑∑∑A.∑Yes.
20∑∑∑∑Q.∑So can you explain how I defrauded you of your
21∑∑property?∑I want to understand the motivations here.
22∑∑∑∑A.∑I think we got a trial --
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑-- on that case coming up in a month.∑Let's
25∑∑wait till trial.∑Let's wait till we get to trial on


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∑1∑∑that.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, Mr. Khawaja, you
∑3∑∑filed this proof of claim in the Texas REIT bankruptcy
∑4∑∑case; correct?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so your motivation,
∑8∑∑when I asked you earlier -- and we can go back and
∑9∑∑have the court reporter reread some of your answers
10∑∑earlier in the deposition.∑I've taken notes as well.
11∑∑I just want to make sure the record is good and clear;
12∑∑there's no confusion.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑∑∑Objection.∑Sidebar.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, I just want to
16∑∑understand today; you're under no medication.∑Right?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're here and able to
20∑∑answer truthfully under oath?
21∑∑∑∑A.∑Yes.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Yes.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you understand you're
25∑∑under oath as if you were in a courtroom; correct?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑Like I'm in front of a jury, yes.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Or a judge.
∑4∑∑∑∑A.∑Or a judge.
∑5∑∑∑∑Q.∑Okay.∑So, Mr. Khawaja, can you tell us about
∑6∑∑when you say, You defrauded me of my property, and you
∑7∑∑said Avondale.∑Did I hear that correctly?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑9∑∑∑∑A.∑Mr. Choudhri, here's the thing --
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑∑∑I'm going to instruct my client not to answer
12∑∑because it exceeds the scope of the deposition as to
13∑∑what -- the judge's order.
14∑∑∑∑∑∑Plus, as I understand it, based on what was
15∑∑just said --
16∑∑∑∑∑∑THE WITNESS:∑There's a trial coming.
17∑∑∑∑∑∑MR. BALLASES:∑-- he got a trial coming up,
18∑∑and I'm not going to let you ask him -- get a second
19∑∑deposition of him in a wholly separate matter that's
20∑∑irrelevant to our proof of claim.∑Move along, please,
21∑∑sir.
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, you have been
23∑∑disrupting this deposition the entire time.∑You
24∑∑refused to let me answer -- ask questions, Ms. Lori
25∑∑Hood.∑We had to send you the audio.∑You misstated


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∑1∑∑what the judge said.∑You continue to disrupt the
∑2∑∑deposition.∑We're allowed -- I played the audio
∑3∑∑ruling.∑The judge says the motivation of filing the
∑4∑∑proof of claim, and he says, Because you defrauded me
∑5∑∑of my property, Avondale.∑So I have a right to get
∑6∑∑into that.
∑7∑∑∑∑∑∑When he answers a question, Mr. Ballases, I
∑8∑∑have a right to explore that because that's his
∑9∑∑answer.∑He opened the door.∑Throughout this depo, he
10∑∑opened the door, Mr. Ballases, so I am entitled to ask
11∑∑those questions.∑And if you're going to continue --
12∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
13∑∑∑∑∑∑MR. CHOUDHRI:∑-- to instruct him wrongfully
14∑∑to not answer that, then just instruct him, but stop
15∑∑doing what you're doing and making talking objections.
16∑∑Either object or instruct him not to answer, and we'll
17∑∑keep moving on.∑But keep your objections limited to
18∑∑what's correct and not frivolous --
19∑∑∑∑∑∑MR. BALLASES:∑What's your legal objection,
20∑∑sir -- what's your legal objection, sir, because I
21∑∑didn't hear it.
22∑∑∑∑∑∑MR. CHOUDHRI:∑You continue to do sidebars
23∑∑throughout the deposition and disrupt and frustrate
24∑∑the deposition.∑We're trying to have a smooth
25∑∑deposition; you continue to have sidebars.∑So please


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∑1∑∑refrain from that, Mr. Ballases.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, when you
∑3∑∑said --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- you -- Mr. Khawaja, what
∑6∑∑is the Avondale property?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑∑∑This has nothing do to with the proof of claim
∑9∑∑or the withdrawal --
10∑∑∑∑∑∑(Crosstalk)
11∑∑∑∑A.∑We're getting ready to stop this depo -- you
12∑∑need to get to your questions.∑We're not talking
13∑∑about cases that are going to trial.∑You know better
14∑∑than that.∑I'm not doing it.∑So get to the questions
15∑∑you have about this proof of claim.∑I'm happy to
16∑∑answer those, or we're done.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, are you going
18∑∑to comply with the Court's order on this --
19∑∑∑∑A.∑Yes.
20∑∑∑∑Q.∑-- now getting into motivations for filing the
21∑∑claim?∑And when asked, you said, Because you
22∑∑defrauded me of my property.
23∑∑∑∑A.∑No, I didn't.∑That's not true.∑You asked
24∑∑me --
25∑∑∑∑Q.∑That's not --


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∑1∑∑∑∑A.∑-- when did I meet Osama -- you asked me when
∑2∑∑did I meet Osama Abdullatif, and I said, Around the
∑3∑∑time you defrauded me of my property.
∑4∑∑∑∑Q.∑And when I -- when you said "my property,"
∑5∑∑you're defining your property as Avondale; is that
∑6∑∑correct?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑Yeah, I'm not going to -- again, we're getting
∑9∑∑ready to shut the depo down, so it's up to you.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So you're refusing to
11∑∑answer these questions; correct?
12∑∑∑∑A.∑I'm refusing to answer questions that are
13∑∑outside the scope of what you're permitted to ask,
14∑∑correct.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑You're not an attorney.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So because I'm not an
18∑∑attorney, I can't ask you questions per the Court's
19∑∑ruling --
20∑∑∑∑A.∑Outside --
21∑∑∑∑Q.∑-- is your objection?
22∑∑∑∑A.∑-- of the scope -- outside of the scope,
23∑∑you're not.∑That's correct.
24∑∑∑∑Q.∑So are you saying motivations for filing the
25∑∑claim and you opening the door is outside the scope?


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∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑Okay.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're gonna refuse --
∑5∑∑you're gonna refuse to answer any of those questions;
∑6∑∑correct?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑You've only asked me one that I'm not gonna
∑9∑∑talk about because there's a trial coming up.∑I think
10∑∑the judge will understand that.∑Your -- if your --
11∑∑any of the attorneys that you're paying that are here
12∑∑with you would care to speak up, they'll tell you,
13∑∑Mr. Choudhri, you can't ask those questions.∑So you
14∑∑should ask them too.
15∑∑∑∑∑∑MR. BALLASES:∑I object to the form of the
16∑∑question.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, did you -- you
18∑∑mentioned Wayne Dolcefino; correct?
19∑∑∑∑A.∑Yes.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And, Mr. Khawaja, is
22∑∑somebody in the room coaching you?∑Because you keep
23∑∑looking at somebody else and talking and -- who's in
24∑∑front of you right now that you keep looking at and
25∑∑talking --


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∑1∑∑∑∑A.∑I don't need to be coached to answer your
∑2∑∑silly questions, no.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑4∑∑∑∑A.∑I can answer them with my eyes closed.∑Do you
∑5∑∑want me to do that?
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you can answer
∑7∑∑them however you want.∑I just want you to answer them
∑8∑∑truthfully --
∑9∑∑∑∑A.∑Yes.
10∑∑∑∑Q.∑-- and honestly.
11∑∑∑∑A.∑Yes.
12∑∑∑∑Q.∑When did you meet Mr. Ballases?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I don't know, to be hon -- but, you know, you
15∑∑understand he's my attorney, and this is all --
16∑∑anything I discussed with him, ever, including when I
17∑∑met him or where I met him, is protected by
18∑∑attorney-client privilege.∑You can't ask me those
19∑∑questions.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So are you going to refuse
21∑∑to answer my question on when you met Mr. Ballases?
22∑∑∑∑A.∑Yes, I am.
23∑∑∑∑Q.∑Mr. Khawaja, are you aware -- let's --
24∑∑∑∑∑∑MR. CHOUDHRI:∑Steve, are you there?∑Would
25∑∑you pull up that proof of claim, Steve?


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∑1∑∑∑∑∑∑MR. SATHER:∑Just give me just a moment. I
∑2∑∑need to turn my sharing back on.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑No problem.
∑4∑∑∑∑∑∑THE REPORTER:∑And just while he's doing that,
∑5∑∑Mr. Khawaja, could you spell Avondale for me, please?
∑6∑∑∑∑∑∑THE WITNESS:∑A-V-O-N-D-A-L-E.
∑7∑∑∑∑∑∑THE REPORTER:∑Thank you.
∑8∑∑∑∑∑∑MR. SATHER:∑Okay.∑I'm there.
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑Would you go down, Mr. Sather?
10∑∑Just scroll down a little bit, please.∑Keep going.
11∑∑Go to paragraph 9.∑Stop right there.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what does
13∑∑Number 9 say on the proof of claim?
14∑∑∑∑A.∑9 --
15∑∑∑∑∑∑MR. CHOUDHRI:∑Time out.∑Time out.∑Before we
16∑∑go there, Mr. Sather, would you scroll up just for a
17∑∑second a little bit?∑Stop right there.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what does that
19∑∑captioning say?∑It starts at "24-10120."∑Would you
20∑∑read that, please, into the record?
21∑∑∑∑A.∑24-1010 (sic), and this is at Number 4?∑Oops.
22∑∑Sorry.∑One second here.
23∑∑∑∑∑∑MR. BALLASES:∑Steve, would you mind -- this
24∑∑is Michael Ballases.∑Will you make it bigger? I
25∑∑can't read it on the screen.∑Please.


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∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, my question is
∑2∑∑to you.
∑3∑∑∑∑∑∑MR. BALLASES:∑Thank you.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Stop, please.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What does it say?∑Claim
∑6∑∑Number -- what exactly does that say?∑Would you read
∑7∑∑that -- that entire header --
∑8∑∑∑∑A.∑(Reading:)∑Read the --
∑9∑∑∑∑Q.∑-- into the record?
10∑∑∑∑A.∑(Reading:)∑Read the instructions before
11∑∑filling out this form.∑This form is for making a --
12∑∑∑∑Q.∑No --
13∑∑∑∑A.∑(Reading:)∑-- claim for payment in a
14∑∑bankruptcy case --
15∑∑∑∑Q.∑No.
16∑∑∑∑A.∑Which one?
17∑∑∑∑Q.∑No, Mr. Khawaja.∑No, Mr. Khawaja.∑Look on
18∑∑top where it says -- where it has a case number,
19∑∑starts off with a case number.∑And then --
20∑∑∑∑A.∑Yes.
21∑∑∑∑Q.∑-- that's what -- would you read what's
22∑∑highlighted, Mr. Khawaja, into the record?
23∑∑∑∑A.∑Yeah, twenty -- okay.∑(Reading:)
24∑∑24-10120-smr, Claim Number 9-1, filed 06/04/24, Main
25∑∑Document page 1 of 3.


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∑1∑∑∑∑Q.∑Yes.∑Is that what you authorized to be filed?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Scroll down, Mr. Sather.
∑5∑∑Scroll down, Mr. Sather.∑Okay.∑Stop right there.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what does it
∑7∑∑say on paragraph 9?
∑8∑∑∑∑A.∑(Reading:)∑Is all or part of the claim
∑9∑∑secured?∑Yes.∑The claim is secured by a lien on
10∑∑property.
11∑∑∑∑∑∑Is that what you're referring to?
12∑∑∑∑Q.∑Yes.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Stop right there.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So it's your contention
15∑∑that your claim is secured by a lien on the property;
16∑∑is that correct?
17∑∑∑∑A.∑I believe so, if that's what we filed.
18∑∑∑∑Q.∑Okay.∑And you understand -- at least what
19∑∑you're representing here is that a lis pendens is a
20∑∑lien on property; correct?
21∑∑∑∑A.∑I'm assuming that's what we're referring to,
22∑∑yes.
23∑∑∑∑Q.∑Okay.∑Mr. Khawaja, you're familiar with the
24∑∑property Texas REIT that --
25∑∑∑∑A.∑Yes.


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∑1∑∑∑∑Q.∑Let me strike that.∑Let me strike that.∑It's
∑2∑∑a bad question.∑Let me clear the record here.∑Okay?
∑3∑∑∑∑∑∑Mr. Khawaja, you're aware that debtor, Texas
∑4∑∑REIT, LLC, is in the Western District of the
∑5∑∑Bankruptcy Court.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I guess.∑I mean, that's -- if that's where
∑8∑∑you chose to file it.∑I'm not sure.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You understand --
10∑∑∑∑A.∑The property's located here in Houston, Harris
11∑∑County.
12∑∑∑∑Q.∑So my question, Mr. Khawaja, is that you are
13∑∑aware that Texas REIT is the debtor that's in
14∑∑bankruptcy in the Western District.
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And Texas REIT owns a property.∑Are you
17∑∑familiar with the property that Texas REIT owns?
18∑∑∑∑A.∑Yes.
19∑∑∑∑Q.∑What do you know about the property that Texas
20∑∑REIT owns?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑That you have defrauded your partners out of
23∑∑money in that property, that it's -- Walgreens left.
24∑∑It's falling apart; a lot of homeless, a lot of crack
25∑∑addicts in the area now.∑It's not maintained


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∑1∑∑properly.∑It's part of this case, that there's a
∑2∑∑judgment against you on it, and it's basically -- and
∑3∑∑it's in Houston, yeah.∑It's in Houston, Texas, too.
∑4∑∑∑∑Q.∑Anything else that you want to add to it?
∑5∑∑∑∑A.∑No, that's it.
∑6∑∑∑∑Q.∑When did you become familiar with this
∑7∑∑property?
∑8∑∑∑∑A.∑I think in the course of just monitoring
∑9∑∑litigation against you.
10∑∑∑∑Q.∑And remind me what kind of lawyer you are,
11∑∑Mr. Khawaja.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑I do plaintiff's work.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that personal injury
15∑∑mainly, what your --
16∑∑∑∑A.∑Yes.
17∑∑∑∑Q.∑-- focus is?
18∑∑∑∑A.∑Yes, correct.
19∑∑∑∑Q.∑Personal injury attorney?
20∑∑∑∑A.∑Yes, correct.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And, Mr. Khawaja, so you
23∑∑became familiar with this property through the course
24∑∑of litigation, you said?
25∑∑∑∑A.∑Yes, just monitoring litigation.


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∑1∑∑∑∑Q.∑When did you first become familiar with this
∑2∑∑property?
∑3∑∑∑∑A.∑I couldn't say --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I couldn't say when.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Were you involved in any
∑7∑∑way, shape, or form of filing any lis pendenses (sic)
∑8∑∑on this property?
∑9∑∑∑∑A.∑No.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You've never been involved
12∑∑of filing any lis pendenses on this property?
13∑∑∑∑A.∑You mean --
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑You mean other than the one that's in this --
16∑∑or is part of the bankruptcy case?
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, my question is
18∑∑very simple.∑Are you or have you ever been involved
19∑∑in filing, directly or indirectly, lis pendenses
20∑∑against the property that the debtor owns?
21∑∑∑∑A.∑Not to my -- not to my understanding, no.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑I'm not sure what that has to do with the
24∑∑scope of this deposition either, by the way.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know what a


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∑1∑∑bankruptcy stay is, Mr. Khawaja?∑Do you know what an
∑2∑∑automatic --
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑Q.∑-- stay is?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Do you know what
∑7∑∑a --
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑∑∑THE REPORTER:∑-- what is?∑I'm sorry.∑Mr. --
10∑∑∑∑∑∑MR. CHOUDHRI:∑An automatic -- an automatic
11∑∑stay.
12∑∑∑∑∑∑THE REPORTER:∑Okay.∑Thank you.
13∑∑∑∑A.∑You have more experience than I do on that,
14∑∑but I do know what it is, yes.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you violated any
16∑∑automatic stays?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑No, absolutely not.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you believe filing --
20∑∑okay.∑Who is Hira Azhar?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑And instruct
22∑∑the client not to answer --
23∑∑∑∑∑∑THE WITNESS:∑(Unintelligible)
24∑∑∑∑∑∑MR. BALLASES:∑-- because it has nothing to
25∑∑do --


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∑1∑∑∑∑A.∑It's not --
∑2∑∑∑∑∑∑MR. BALLASES:∑-- with our proof of claim or
∑3∑∑the withdrawal of it, and it exceeds the judge's
∑4∑∑limitations on this depo.∑So I'm going to object to
∑5∑∑the question as harassing and oppressive and instruct
∑6∑∑the client not to answer.
∑7∑∑∑∑∑∑THE WITNESS:∑Thank you.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Did you participate with
∑9∑∑Hira Azhar of filing a lis pendens against the subject
10∑∑property?
11∑∑∑∑∑∑MR. BALLASES:∑Same objection, same assertions
12∑∑of privilege, same assertions of -- same objections
13∑∑and same instruction not to answer.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You can answer,
15∑∑Mr. Khawaja.∑What's your answer?
16∑∑∑∑A.∑I will not answer on advice of counsel.
17∑∑∑∑Q.∑Are you aware of any lis pendenses filed by
18∑∑Hira Azhar against the debtor's property?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Same objections,
20∑∑same assertions of privilege, same instruction not to
21∑∑answer.∑This has nothing to do with the proof of
22∑∑claim in this matter or the reason for withdrawal.
23∑∑∑∑A.∑I'm not going to answer.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, has it been
25∑∑your motivation to prevent me or any of my entities


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∑1∑∑from transacting business?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is it your -- is it your
∑5∑∑habit to contact people that me or my entities are
∑6∑∑doing business with and tell them not to do business
∑7∑∑with me?
∑8∑∑∑∑A.∑Never --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑Never done that.
11∑∑∑∑∑∑MR. BALLASES:∑Can we please ask questions
12∑∑about the purpose for the deposition today, the reason
13∑∑for the filing of the proof of claim and the reason
14∑∑for the withdrawal, sir?
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, stop wasting
16∑∑time.∑Keep it to objections.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you -- what
18∑∑is your phone number?
19∑∑∑∑∑∑MR. BALLASES:∑Object -- don't answer that.
20∑∑Objection --
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Your cell --
22∑∑∑∑A.∑You know my number.∑You've called me.
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Stop.∑Stop.
24∑∑∑∑∑∑I'm going to instruct you not to answer.∑Your
25∑∑cell phone is not relevant to this proceeding today.


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∑1∑∑You don't need to give it on the record.
∑2∑∑∑∑∑∑It's oppressive -- objection of oppressive and
∑3∑∑harassing.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, are you not
∑5∑∑gonna answer the question about what your cell phone
∑6∑∑is on the record today --
∑7∑∑∑∑A.∑Correct.
∑8∑∑∑∑Q.∑You refuse to answer --
∑9∑∑∑∑A.∑Yeah, on advice of counsel --
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
11∑∑∑∑A.∑On advice of counsel --
12∑∑∑∑∑∑THE REPORTER:∑Just --
13∑∑∑∑A.∑On advice of counsel --
14∑∑∑∑∑∑THE REPORTER:∑-- one person --
15∑∑∑∑∑∑THE WITNESS:∑Sorry.
16∑∑∑∑∑∑THE REPORTER:∑-- at a time, please.∑Thank
17∑∑you.
18∑∑∑∑∑∑THE WITNESS:∑On answering the question that
19∑∑Mr. Choudhri just asked, on advice of counsel, I will
20∑∑not answer that question.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Isn't it true that you've
22∑∑been involved with over 50 lis pendenses relating to
23∑∑Texas REIT or any other entity that I have ownership
24∑∑or control of?
25∑∑∑∑A.∑No --


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑-- not true.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You have not participated
∑4∑∑in any slander of title or fraudulent liens or
∑5∑∑lis pendenses on any properties that Texas REIT or I
∑6∑∑own or control.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑Correct.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You've not participated or
10∑∑been involved with any filing of any lis pendenses
11∑∑relating to the debtor's property.
12∑∑∑∑A.∑That's correct.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑∑∑Are you referring to -- aside from the lis
15∑∑pendens filed --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Sir -- no, Mr. Ballases.∑Stop.
17∑∑Stop.∑Stop coaching the witness.
18∑∑∑∑∑∑I'm going to object to you, your sidebar.
19∑∑∑∑∑∑You're continually coaching the witness.
20∑∑Please stop.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you use --
22∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- text messaging as a form
24∑∑of communication --
25∑∑∑∑∑∑(Crosstalk)


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∑1∑∑∑∑∑∑THE REPORTER:∑Sorry.∑I'm sorry.∑I'm getting
∑2∑∑two speakers again.
∑3∑∑∑∑∑∑MR. BALLASES:∑Sure.∑I just -- I'm just
∑4∑∑trying to help Mr. Choudhri answer questions --
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑No, please don't help.
∑6∑∑∑∑∑∑MR. BALLASES:∑-- on our --
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Please don't help me.∑I don't
∑8∑∑need your help, Mr. Ballases.∑Please stop talking.
∑9∑∑Object and limit your objections.∑Stop talking.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you use
11∑∑text messaging as a form of communication?
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑Occasionally, sure.∑I think we all do.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you texted Wayne
15∑∑Dolcefino?
16∑∑∑∑A.∑No.
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you received any text
19∑∑messages from Wayne Dolcefino?
20∑∑∑∑A.∑No.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What's your answer,
23∑∑Mr. Khawaja?
24∑∑∑∑A.∑No.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever paid Wayne
∑2∑∑Dolcefino directly or indirectly, in any way?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑(Unintelligible) no.
∑5∑∑∑∑∑∑MR. BALLASES:∑I'm going to -- your answer is
∑6∑∑what?
∑7∑∑∑∑∑∑THE WITNESS:∑My answer is no.
∑8∑∑∑∑∑∑MR. BALLASES:∑The answer is no, but I'm going
∑9∑∑to instruct him not to answer any more questions that
10∑∑have nothing to do with the scope and purpose of this
11∑∑deposition pursuant to the judge's instruction.
12∑∑∑∑∑∑MR. CHOUDHRI:∑Stop frivolously objecting,
13∑∑Mr. Ballases.∑He said he learned based on Wayne
14∑∑Dolcefino's videos, so I definitely have an
15∑∑opportunity to get into the line of questions that I
16∑∑need to get into, and you're going to continue to
17∑∑object and instruct him not to answer.∑Is that what
18∑∑you're going to say on the record?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, just so the
21∑∑record is clear, you have not ever, in any way, shape,
22∑∑or form, paid Wayne Dolcefino any amount of money or
23∑∑consideration?
24∑∑∑∑A.∑I'm not answering that question.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑∑∑I'm going to instruct the client --
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑I --
∑3∑∑∑∑∑∑MR. BALLASES:∑-- not to answer because it is
∑4∑∑oppressive and harassing and has nothing to do with
∑5∑∑the limited scope of the deposition, and he's already
∑6∑∑answered it.
∑7∑∑∑∑∑∑Move along.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you not going to answer
∑9∑∑any questions relating to Wayne Dolcefino?
10∑∑∑∑A.∑That means, yes, I'm not going to answer any
11∑∑questions relating to Wayne Dolcefino.∑He has nothing
12∑∑to do with this case at all.
13∑∑∑∑Q.∑Well, can I ask you why?∑When Ms. Hood was
14∑∑asking you, you mentioned that you -- you mentioned
15∑∑Wayne Dolcefino and how you --
16∑∑∑∑A.∑He --
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑∑∑(Crosstalk)
19∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑One at a time,
20∑∑please.
21∑∑∑∑∑∑THE WITNESS:∑I'm sorry.∑Go ahead.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form, for the
23∑∑record.
24∑∑∑∑A.∑Well, can I answer?∑You asked very -- she
25∑∑asked me very specifically where did I learn about the


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∑1∑∑potential for the claims that -- the basis of the
∑2∑∑claims that we filed against you in this case, and I
∑3∑∑answered, Through multiple sources, including Wayne
∑4∑∑Dolcefino.∑That's a factual answer.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And have you paid Wayne
∑6∑∑Dolcefino any amount of money --
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- or consideration,
∑9∑∑directly or indirectly --
10∑∑∑∑∑∑(Crosstalk)
11∑∑∑∑∑∑MR. BALLASES:∑-- (unintelligible) not to
12∑∑answer your question.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
14∑∑∑∑∑∑THE REPORTER:∑I'm --
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, would you please
16∑∑let the court reporter take her turn -- please take
17∑∑turns.∑When I'm asking the question, wait till my
18∑∑question is over before you need to --
19∑∑∑∑∑∑MR. BALLASES:∑So you've asked -- you've asked
20∑∑this question three times, and he's answered it three
21∑∑times.∑And all three times, I've told him -- I've
22∑∑objected and told him not to answer.∑So you don't
23∑∑need to ask it a fourth time.
24∑∑∑∑∑∑It's on the record clear.∑I know you're not
25∑∑an attorney, and you're not familiar with this, but


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∑1∑∑it's on the record and it's clear, I promise.∑Move
∑2∑∑along.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So the record is clear,
∑4∑∑when I've asked you, Have you been -- have you paid
∑5∑∑Wayne Dolcefino any amount of money, directly or
∑6∑∑indirectly, or any consideration, your answer is:∑I'm
∑7∑∑not going to answer that question.∑Is that -- is that
∑8∑∑clear --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection --
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- for the record?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.∑I've --
12∑∑∑∑A.∑I'm not going to answer that question.
13∑∑∑∑∑∑MR. BALLASES:∑-- objected --
14∑∑∑∑A.∑I've already asked it -- answered.
15∑∑∑∑∑∑MR. BALLASES:∑-- to the form.∑It's
16∑∑oppressive and harassing.∑The client's already
17∑∑answered it.∑I'm instructing him not to answer
18∑∑because it's exceeding the scope of the deposition,
19∑∑and it's oppressive and harassing, and it's asked and
20∑∑answered.
21∑∑∑∑∑∑Did you hear me, Mr. Choudhri?
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, throughout today,
23∑∑you have been frustrating this deposition.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
25∑∑∑∑∑∑MR. CHOUDHRI:∑You have been disrupting -- so


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∑1∑∑please refrain from your -- your sidebar and your
∑2∑∑objections.∑Limit to your objections as form.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- have you paid --
∑6∑∑Mr. Khawaja, have you paid -- no, let me back up.
∑7∑∑∑∑∑∑Mr. Khawaja, who is Wayne Dolcefino?∑What
∑8∑∑does he do?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection --
10∑∑∑∑A.∑I'm not going to answer these questions.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑I'm sorry.∑You've got to move on to the
13∑∑claim -- claim questions, Ali, or we're gonna end
14∑∑this.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, are you
16∑∑going to tell me that you're not going to describe --
17∑∑∑∑A.∑Yes.
18∑∑∑∑Q.∑-- who Wayne --
19∑∑∑∑A.∑I'm not going to.
20∑∑∑∑Q.∑-- Dolcefino is, and you're not --
21∑∑∑∑A.∑Correct.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑I'm going to instruct him not to answer
24∑∑because your questions are oppressive and harassing,
25∑∑and they exceed the scope of the limited deposition.


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∑1∑∑∑∑∑∑I'm instructing him not to answer.∑I'm doing
∑2∑∑it, Mr. Ballases.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you taking his
∑4∑∑instructions and not answering any questions as it
∑5∑∑relates to Wayne Dolcefino, Mr. Khawaja?
∑6∑∑∑∑A.∑Yes, sir.∑Yes.∑I'm not.∑I will follow
∑7∑∑advice of counsel.
∑8∑∑∑∑Q.∑Who is Chris Wyatt, Mr. Khawaja?
∑9∑∑∑∑A.∑Again, that has nothing to do with this case.
10∑∑∑∑Q.∑So Chris Wyatt has nothing to do with this
11∑∑case.∑So -- I want the record clear.
12∑∑∑∑A.∑I -- Chris Wyatt is a witness, and he is a --
13∑∑he was your former chief financial officer, and that's
14∑∑how I know him -- or chief operating officer.
15∑∑∑∑Q.∑Has he ever given you documents from the
16∑∑Jetall server?
17∑∑∑∑A.∑From the Jetall server?∑I don't -- I don't
18∑∑know that.∑I don't know the answer to that question.
19∑∑∑∑Q.∑Has Mr. Wyatt --
20∑∑∑∑A.∑I don't know what the Jetall server is.
21∑∑∑∑Q.∑Has Mr. Wyatt ever given you any documents?
22∑∑∑∑A.∑No.
23∑∑∑∑Q.∑Mr. Chris Wyatt has never given you any
24∑∑documents; that's a true statement?
25∑∑∑∑A.∑I cannot discuss anything pertaining to Chris


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∑1∑∑Wyatt because of attorney-client privilege, so we're
∑2∑∑not talking about Chris Wyatt.
∑3∑∑∑∑Q.∑What is the privilege, Mr. Khawaja, with you
∑4∑∑and Chris Wyatt?
∑5∑∑∑∑A.∑Attorney-client privilege.
∑6∑∑∑∑Q.∑Is Chris Wyatt an attorney?
∑7∑∑∑∑A.∑No, no.∑I'm the attorney; he's the client.
∑8∑∑He sought counsel from me, which I provided,
∑9∑∑pertaining to this case, and I will not discuss
10∑∑anything further regarding him.
11∑∑∑∑Q.∑Pertaining to this case, the case we're here
12∑∑for today.
13∑∑∑∑A.∑No, pertaining to other matters involving you
14∑∑and him.
15∑∑∑∑Q.∑So Chris Wyatt is your client; is that
16∑∑correct?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection --
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Hira Azhar is your
20∑∑client; correct?
21∑∑∑∑A.∑Yes.
22∑∑∑∑Q.∑And Azeemah Zaheer is your client; correct?
23∑∑∑∑A.∑Yes.
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Osama -- and Osama


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∑1∑∑Abdullatif is your client; correct?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is David Tang your client?
∑5∑∑∑∑A.∑No.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑He's just a friend.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Rodney Drinnon your
∑9∑∑client?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑No.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Harold Polk --
13∑∑∑∑A.∑He's an attorney.
14∑∑∑∑Q.∑-- your client?∑Is Harold Polk your client?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑No, he's not.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Harold Polk is not your
18∑∑client.
19∑∑∑∑A.∑Correct.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑How did you meet Chris
22∑∑Wyatt?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑Yeah, I can't talk about that.∑I'm sorry.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Why can't you talk about


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∑1∑∑how you met Chris Wyatt?
∑2∑∑∑∑A.∑That's protected.
∑3∑∑∑∑Q.∑By what?
∑4∑∑∑∑A.∑Attorney-client privilege.
∑5∑∑∑∑Q.∑Are you refusing to answer when you met Chris
∑6∑∑Wyatt?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑When did the attorney-client privilege start
∑9∑∑with Chris Wyatt?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Since I met him.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And when did you meet him?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑Sometime after he left your employment.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You never met him while he
16∑∑was employed as a paralegal for me?
17∑∑∑∑A.∑No.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You never saw him come to
20∑∑court in the divorce case when you were representing
21∑∑the -- Hira Azhar?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑No, I didn't, actually, to be honest with you.
24∑∑No.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're not aware that


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∑1∑∑Chris Wyatt worked on the case that Jetall has against
∑2∑∑Khawaja?
∑3∑∑∑∑A.∑No --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑-- I'm not aware of that.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're not aware of that --
∑7∑∑∑∑A.∑If he --
∑8∑∑∑∑Q.∑-- is that correct?
∑9∑∑∑∑A.∑Correct.∑If he did, he never discussed it
10∑∑with me.
11∑∑∑∑Q.∑So you're not aware that Chris Wyatt did legal
12∑∑work for me while he was employed for me.
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑No.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Isn't it true that Jetall
16∑∑Companies has a judgment against Khawaja?
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑"Against Khawaja," what does that mean?
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Against Khawaja Partners.
20∑∑∑∑A.∑Possibly.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And that judgment has not
23∑∑been appealed and not been superceded.
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑Is that one --


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- of your motivations,
∑3∑∑Mr. Khawaja?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑No.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So Jetall owns an asset --
∑7∑∑Jetall Companies owns an asset, and that's a judgment
∑8∑∑against Khawaja Partners; correct?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑I don't know if Jetall owns an asset or --
11∑∑Jetall doesn't seem to be doing too well right now.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And how do you know that?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I mean, there was a great article about you
15∑∑the other day in The Real Deal.∑I don't know if you
16∑∑saw that.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you spoken to The Real
18∑∑Deal?
19∑∑∑∑A.∑I haven't --
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑-- but I read that article.
22∑∑∑∑∑∑THE REPORTER:∑Sorry --
23∑∑∑∑A.∑It's not a good look.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You haven't spoken --
25∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Sorry.∑Just one at a


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∑1∑∑time, please.∑Thank you.
∑2∑∑∑∑A.∑I haven't, no.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Has anybody on your behalf,
∑4∑∑indirectly or directly, spoken to The Real Deal?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑No, but a lot of people sent me that article,
∑7∑∑like real estate -- people in real estate, legal. A
∑8∑∑lot of people sent it to me.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Chris Wyatt testified
10∑∑at the that hearing; correct?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑I don't --
13∑∑∑∑∑∑MR. BALLASES:∑What hearing are you talking
14∑∑about, sir?∑I mean, come on.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
16∑∑∑∑A.∑You're all over the place.
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- can you --
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, The Real Deal
19∑∑quotes an order and mentions Chris Wyatt.
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Okay.∑Anything else you want to share with me
22∑∑about the article?∑I mean, that's fine.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so have you paid Chris
24∑∑Wyatt any money?
25∑∑∑∑A.∑No.


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you had
∑3∑∑mentioned that you're in the business of buying
∑4∑∑judgments.∑Do you recall that line of testimony
∑5∑∑earlier?
∑6∑∑∑∑A.∑Yes.
∑7∑∑∑∑Q.∑And you've bought less than ten judgments; is
∑8∑∑that correct?
∑9∑∑∑∑A.∑I think so.
10∑∑∑∑Q.∑And your answers earlier were -- and I just
11∑∑want to make sure the record is clear --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- that the only --
14∑∑Mr. Khawaja, are you done looking at your phone?
15∑∑∑∑A.∑Yes.∑Sorry.∑Go ahead.
16∑∑∑∑∑∑MR. CHOUDHRI:∑Just for the record, throughout
17∑∑the deposition, Mr. Khawaja has been continuing to
18∑∑look at his phone and make communications with other
19∑∑people in the room and has constantly looked at his
20∑∑phone throughout the entire duration of this
21∑∑deposition.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, I just ask
23∑∑you to please refrain from looking at your phone.
24∑∑Okay?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.


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∑1∑∑∑∑∑∑Don't instruct my client anything, and you are
∑2∑∑incorrect with your assertions.
∑3∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
∑4∑∑talking.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, can you please
∑6∑∑stop looking at your phone?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑8∑∑∑∑A.∑I've got a sick relative in the hospital right
∑9∑∑now.∑That's what I'm worried about, so...
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, I'm sorry about your
11∑∑relative.∑I hope they get better.
12∑∑∑∑∑∑Mr. Khawaja, which judgments -- strike that.
13∑∑∑∑∑∑Mr. Khawaja, it's your contention that any
14∑∑entity that I -- at least if I heard your testimony
15∑∑correctly earlier, that any entity that Ali Choudhri
16∑∑has ownership or control in is an alter ego.∑Is that
17∑∑your contention --
18∑∑∑∑A.∑Of Ali --
19∑∑∑∑Q.∑-- Mr. Khawaja?
20∑∑∑∑A.∑Yes, it is.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So any entity that Ali
23∑∑Choudhri has any ownership or control of is an alter
24∑∑ego of Ali Choudhri; correct?
25∑∑∑∑A.∑I believe that -- I believe that to be the


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∑1∑∑case, yes.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑Mr. Khawaja, which
∑4∑∑judgments have you acquired?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑You mean other than yours?∑Other than the
∑7∑∑Jetall judgments?
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Again, Mr. Khawaja --
∑9∑∑∑∑A.∑Are you there?
10∑∑∑∑Q.∑-- I believe your answers earlier were that
11∑∑you have not acquired any judgments other than
12∑∑judgments relating to Jetall or Ali Choudhri.
13∑∑∑∑A.∑I think that's --
14∑∑∑∑Q.∑Is that true?
15∑∑∑∑A.∑-- correct.∑That's true.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So what I want to do is I
18∑∑want to go down, because your contention is Texas REIT
19∑∑is an alter ego of Ali Choudhri; correct?
20∑∑∑∑A.∑Yes.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So basically what you're
23∑∑saying is any obligations of Ali Choudhri or any of
24∑∑Ali Choudhri's entities are the obligations of Texas
25∑∑REIT; is that correct?


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∑1∑∑∑∑A.∑Yes.∑That's correct, yes.
∑2∑∑∑∑Q.∑So it's just basically one big pot.
∑3∑∑∑∑A.∑That's the way you've treated them, yes.
∑4∑∑∑∑Q.∑And that's your contention, and that's the --
∑5∑∑∑∑A.∑I believe the evidence will show that.∑Yes.
∑6∑∑∑∑Q.∑And outside what's in your pleading, you don't
∑7∑∑have any other evidence that --
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑A.∑Well, we've got to do discovery -- we have to
10∑∑do discovery, sir, which you're obstructing, but yes.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑So the record is
12∑∑clear, outside your pleading, there's no other
13∑∑evidence other than the discovery you're yet to do.
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that correct?
16∑∑∑∑A.∑We're in the -- we're in the middle of
17∑∑discovery.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that correct?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Outside the pleading?∑The pleading contains a
22∑∑lot of evidence.∑I don't know if you've seen the
23∑∑attachments or not, but there's a lot.∑There's a lot
24∑∑more that will have to be done.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so you're refusing to


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∑1∑∑answer any questions relating to Chris Wyatt; correct?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑That's -- that encompasses attorney-client
∑5∑∑privilege.∑Correct.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So anything I would ask you
∑7∑∑today about Chris Wyatt, you would refuse to answer.
∑8∑∑∑∑A.∑That's correct.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Who drafted the affidavit
11∑∑that was attached to the petition that's attached to
12∑∑this proof of claim that Chris Wyatt signed?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑I have no idea.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You don't know --
16∑∑∑∑A.∑It wasn't me.
17∑∑∑∑Q.∑-- who drafted -- it wasn't you.∑Was it
18∑∑Mr. Ballases?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑∑∑Instructing not to answer.∑It violates
21∑∑attorney work product, attorney-client privilege.
22∑∑∑∑A.∑I'm not answering on advice of counsel.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Does Mr. Ballases or Hoover
24∑∑Slovacek represent Chris Wyatt?
25∑∑∑∑A.∑I don't think so.


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∑1∑∑∑∑Q.∑Does Ashish Mahendru represent Chris Wyatt?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑I don't know.∑I mean, ask Ashish.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Did you refer Chris Wyatt
∑5∑∑to Ashish Mahendru?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I mean, again, I just told you I'm not
∑8∑∑answering any questions about Chris Wyatt.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So can you explain to me
10∑∑why the adversary where you claim alter ego and
11∑∑fraudulent transfer has an attachment of Chris Wyatt
12∑∑as a declaration?
13∑∑∑∑A.∑I mean, he had some evidence that you are an
14∑∑alter ego, that you have alter egos that operate under
15∑∑you, so he provided it.∑It's evidence.
16∑∑∑∑Q.∑Do you hold any -- do you hold any contingency
17∑∑claims or rights of any adverse parties to Ali
18∑∑Choudhri or any of his related entities?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Do I hold any -- I mean, if I did, it's
21∑∑attorney-client privilege, so I'm not answering that.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So any contingency claims
23∑∑you hold against --
24∑∑∑∑A.∑Right.
25∑∑∑∑Q.∑-- Texas REIT or any other entity --


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∑1∑∑∑∑A.∑Yes.
∑2∑∑∑∑Q.∑-- or party relating to Ali Choudhri is --
∑3∑∑you're not going to answer because it's
∑4∑∑attorney-client privilege?
∑5∑∑∑∑A.∑Yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑And outside the scope of what you're allowed
∑8∑∑to ask me about.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, do you have
10∑∑surveillance on me or any of my entities or companies?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑∑∑I'm going to instruct you not to answer.∑It's
13∑∑harassing and oppressive.∑It has nothing to do with
14∑∑the limited scope of this deposition.
15∑∑∑∑A.∑I'm not answering that.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you have any agreement
17∑∑with George Lee?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑A.∑I don't.
20∑∑∑∑∑∑MR. BALLASES:∑It's not relevant to the
21∑∑limited scope of this deposition; therefore, I'm going
22∑∑to instruct him not to answer.
23∑∑∑∑A.∑I should be asking you that question.∑It's
24∑∑gonna come up in trial.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you have any text


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∑1∑∑messages between you and George Lee?
∑2∑∑∑∑∑∑MR. BALLASES:∑Object --
∑3∑∑∑∑A.∑No --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑-- I'm not gonna talk about that.
∑6∑∑∑∑∑∑MR. BALLASES:∑And I'm going to instruct
∑7∑∑him not to --
∑8∑∑∑∑A.∑It has nothing to do with this.
∑9∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct you not
10∑∑to answer.∑It violates the scope of this deposition
11∑∑that the judge indicated.∑It's harassing and
12∑∑oppressive.∑This isn't a free-for-all discovery.
13∑∑∑∑∑∑THE WITNESS:∑Yeah.
14∑∑∑∑∑∑MR. BALLASES:∑It's just about why the proof
15∑∑of claim was filed or why it's being withdrawn.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So is it your contention
17∑∑that you have information you've received from Chris
18∑∑Wyatt that has to do with the basis of your claim?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑I mean, he provided an affidavit in this case,
21∑∑so...
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So again, when did he
23∑∑become your client, and when did you establish that
24∑∑attorney-client privilege?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑A.∑I'm not sure when.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you have text messages
∑3∑∑between you and Chris Wyatt?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I mean, if I did, I wouldn't disclose them to
∑6∑∑you, and nor would a court compel me to.∑It's
∑7∑∑attorney-client privilege.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, here's the thing,
∑9∑∑Mr. Khawaja.∑Here's the thing.∑There's something
10∑∑called a privilege log, right?∑I'm entitled to know
11∑∑if you have communications.∑I'm not asking you --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- about the content of
14∑∑your communications.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop
16∑∑interrupting.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, I'm not asking
18∑∑you about the contents of your --
19∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Let me finish my question
21∑∑before you answer.∑Okay?
22∑∑∑∑∑∑I'm asking you not about -- so we're very
23∑∑clear, I'm not eliciting or asking you for privileged
24∑∑information.∑I'm asking you if there are
25∑∑communications, not the contents.∑Do you have --


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∑1∑∑∑∑A.∑Even if it existed --
∑2∑∑∑∑Q.∑-- communications with Chris -- can I finish?
∑3∑∑∑∑∑∑Do you have communications with Chris Wyatt,
∑4∑∑yes or no?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑Even if it existed, I would not disclose that
∑7∑∑to you, nor would I be compelled to, nor is it a part
∑8∑∑of this case.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So why are you adding the
10∑∑declaration of Chris Wyatt as a part of this case?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑It's evidence.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Well, do you understand
14∑∑what a sword --
15∑∑∑∑A.∑It's evidence of the alter (unintelligible).
16∑∑∑∑Q.∑-- and shield is?
17∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑It's evidence of the alter
19∑∑ego?
20∑∑∑∑∑∑I'm sorry.∑Finish your question -- your
21∑∑answer, Mr. Khawaja.∑It's --
22∑∑∑∑A.∑It's evidence --
23∑∑∑∑Q.∑-- evidence of what?
24∑∑∑∑A.∑-- of the alter ego.∑It's evidence of the
25∑∑alter ego.


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∑1∑∑∑∑Q.∑So Chris Wyatt has evidence of the alter ego.
∑2∑∑That's your answer?
∑3∑∑∑∑A.∑Yes.
∑4∑∑∑∑Q.∑And you're refusing to answer any questions
∑5∑∑about Chris Wyatt.
∑6∑∑∑∑A.∑I'm not gonna talk about any attorney-client
∑7∑∑privileged communications.∑Correct.
∑8∑∑∑∑Q.∑So do you have any communications with Chris
∑9∑∑Wyatt, yes or no?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑I'm not gonna talk about it.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, being emphatic on
14∑∑your objection doesn't change the objection.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- are you refusing to --
18∑∑are you refusing to answer the mere fact that
19∑∑communications exist between you and Chris Wyatt?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑I'm telling you that if they do exist -- I'm
22∑∑not confirming that they do or don't, but they would
23∑∑be privileged.∑That's it.∑And this is not the
24∑∑case --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So how did --


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∑1∑∑∑∑A.∑This is not the case that you're going to get
∑2∑∑any of that information.
∑3∑∑∑∑Q.∑Now, you'll agree with me that Chris Wyatt --
∑4∑∑that in your petition in adversary that you've
∑5∑∑attached to this proof of claim, you've attached a
∑6∑∑declaration of Chris Wyatt, true or false?
∑7∑∑∑∑A.∑True.
∑8∑∑∑∑Q.∑And you're refusing to provide me any
∑9∑∑communications or the fact that any communications
10∑∑even exist between you and Chris Wyatt, true?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑True.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, would you
14∑∑please stop looking at your phone?
15∑∑∑∑A.∑I'm not looking at my phone.∑I'm looking at
16∑∑the petition that you just asked me about, the
17∑∑adversary.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
19∑∑∑∑∑∑Don't instruct my client again.
20∑∑∑∑A.∑This is the adversary petition I'm reading.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, what
22∑∑contingency claims, if any, do you hold, indirectly or
23∑∑directly, against me or any of my entities?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑Outside the scope of this discussion.∑I'm not


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∑1∑∑answering.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, it's your
∑3∑∑contention that Texas REIT is an alter ego of every
∑4∑∑one of those entities that I have interest in;
∑5∑∑correct?∑That's your contention.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're refusing to answer
∑8∑∑what claims -- so is your statement or answer here,
∑9∑∑under oath, that you're refusing to answer what
10∑∑motivations and rights or claims or contingencies you
11∑∑have against Texas REIT?∑Now, when I --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- say "Texas REIT," that
14∑∑applies to any and all entities that I have ownership
15∑∑in, directly or indirectly; correct?
16∑∑∑∑A.∑Yes, based on alter ego.∑Yeah, I'm not gonna
17∑∑give you any -- whether I have any contingency-related
18∑∑litigation against you on that.∑If I do, you'll find
19∑∑out about it at some point.
20∑∑∑∑Q.∑So you're refusing to disclose any claims you
21∑∑have against the debtor.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑Any claims I have against the debtor?∑I don't
24∑∑have any claims against the debtor other than the ones
25∑∑I presented in this case.


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∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So when you have
∑2∑∑contingencies or claims against me, under your theory,
∑3∑∑those would be claims against the debtor as well.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I don't know about that.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you use WhatsApp?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you communicated --
10∑∑∑∑A.∑We're in some group -- we're in some groups
11∑∑together on WhatsApp, I think.∑Yes.
12∑∑∑∑Q.∑Mr. Khawaja, did you come to me for a job?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
14∑∑∑∑A.∑A job?∑I'm not talking about that, no.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You never came to me for a
16∑∑job.
17∑∑∑∑A.∑No.∑Look, that's outside the scope of this
18∑∑conversation.
19∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Osama Abdullatif needs to
20∑∑stop talking in the background and coaching the
21∑∑witness.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, please stop.
24∑∑Control Mr. Osama --
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑-- (unintelligible) your
∑2∑∑witnesses.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- would you mind sharing
∑6∑∑the camera around your office there?
∑7∑∑∑∑A.∑We're not gonna do that.
∑8∑∑∑∑Q.∑You're not gonna do that?∑Okay.∑You're
∑9∑∑refusing to do that.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
11∑∑∑∑∑∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, did you ever
13∑∑seek employment from Jetall Companies?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑∑∑I'm going to instruct the client not to
16∑∑answer.∑It's harassing and oppressive.∑It exceeds
17∑∑the limited scope of this deposition per the judge's
18∑∑instructions.
19∑∑∑∑∑∑Stop wasting time, sir.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You can answer,
21∑∑Mr. Khawaja.
22∑∑∑∑A.∑On advice of counsel, I'm not gonna answer
23∑∑that question.∑Sorry.
24∑∑∑∑Q.∑Are you upset at Jetall Companies in any way,
25∑∑shape, or form?


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∑1∑∑∑∑A.∑No.
∑2∑∑∑∑Q.∑Are you upset at Ali Choudhri in any shape,
∑3∑∑way, or form?
∑4∑∑∑∑A.∑I mean, I want the money that I'm owed.∑Just
∑5∑∑pay me the money that you owe.∑This will -- this will
∑6∑∑go away.∑It's nothing personal.
∑7∑∑∑∑Q.∑And how much money would it take to make this
∑8∑∑go away?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑∑∑We're not -- I'm going to instruct my client
11∑∑not to answer.∑It has nothing do with the limited
12∑∑scope of this deposition and exceeds what the judge's
13∑∑orders were.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you going to answer the
15∑∑question, Mr. Khawaja?
16∑∑∑∑A.∑I'm gonna follow the advice of counsel and not
17∑∑answer.
18∑∑∑∑Q.∑So you say this is about money; Just pay me
19∑∑the money you owe me, and I'll go away.∑But you won't
20∑∑tell me what that amount is.∑Is that your answer?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑Yeah, we're not --
23∑∑∑∑∑∑MR. CHOUDHRI:∑Is Osama Abdullatif --
24∑∑∑∑A.∑-- in a settlement --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑No, this is not a


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∑1∑∑settlement.∑I'm asking you -- again, this is not
∑2∑∑settlement discussion.∑This is a deposition under
∑3∑∑oath on the record.
∑4∑∑∑∑∑∑I'm asking you a follow-up to your answer that
∑5∑∑this is not personal; it's about money.∑That's all
∑6∑∑you want.∑You want money, and you'll go away.∑That's
∑7∑∑what you said.∑Did I hear -- did I hear your
∑8∑∑answer --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection --
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- incorrectly, or do we
11∑∑need the court reporter to repeat your answer?
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑∑∑Objection.∑Sidebar.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you answering the
15∑∑question --
16∑∑∑∑A.∑You need to move along, sir.∑I'm not going to
17∑∑answer that question.
18∑∑∑∑∑∑MR. CHOUDHRI:∑Ms. Court Reporter, would you
19∑∑read back his statement or his answer earlier:∑This
20∑∑is not personal; it's just money; if you pay me the
21∑∑money you owe me, I'll go away.
22∑∑∑∑∑∑Would you read that back into the record so
23∑∑it's clear?∑There's been a lot of objections, and
24∑∑I've been distracted.
25∑∑∑∑∑∑THE REPORTER:∑I'll need a minute to go


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∑1∑∑through and find that answer.
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Take your time.∑No problem.
∑3∑∑∑∑∑∑Mr. Khawaja is not on the screen any longer,
∑4∑∑for the record.
∑5∑∑∑∑∑∑MR. BALLASES:∑Yeah, he is.
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
∑7∑∑∑∑∑∑THE REPORTER:∑Sorry.∑Just off the record. I
∑8∑∑just need to go off the record because I can't type
∑9∑∑and look for the testimony at the same time.
10∑∑∑∑∑∑MR. CHOUDHRI:∑So why don't we take a five --
11∑∑∑∑∑∑THE WITNESS:∑Can you see me?
12∑∑∑∑∑∑MR. CHOUDHRI:∑I'll tell you what.∑Why don't
13∑∑we do this, Ms. Court Reporter.∑It looks like we've
14∑∑been going for a little bit here.∑So it's 2:42.∑Why
15∑∑don't we come back in 15 minutes at 3:00.
16∑∑∑∑∑∑MR. BALLASES:∑No, we'll take a five-minute
17∑∑break.
18∑∑∑∑∑∑THE WITNESS:∑We'll take a five-minute break,
19∑∑and that's it.∑We're done.
20∑∑∑∑∑∑MR. CHOUDHRI:∑Again, Mr. Khawaja, this is my
21∑∑deposition.∑I get to ask questions.∑And with all due
22∑∑respect, you really don't dictate the -- but if you
23∑∑need to take a break, I'm happy to let you take a
24∑∑break --
25∑∑∑∑∑∑THE WITNESS:∑I'll take a five-minute break,


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∑1∑∑and that's it.
∑2∑∑∑∑∑∑No?∑Okay.∑No, we don't need a break.∑Thank
∑3∑∑you.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑So, Court Reporter, while
∑5∑∑you're looking for the answer, let's go and take a
∑6∑∑five-minute break.∑We'll come back in five minutes.
∑7∑∑We're off the record.
∑8∑∑∑∑∑∑(A recess was taken.)
∑9∑∑∑∑∑∑THE REPORTER:∑So we are back on the record.
10∑∑And I just please ask everybody, in order to keep the
11∑∑record clear, please, one speaker at a time.
12∑∑∑∑∑∑And, Mr. Khawaja, if your counsel does have an
13∑∑objection, just please allow him to make the objection
14∑∑and then answer afterwards, just so I don't have both
15∑∑of you speaking.∑Thank you.
16∑∑∑∑∑∑THE WITNESS:∑All right.∑Thank you.
17∑∑∑∑∑∑MR. BALLASES:∑So just for the record,
18∑∑Ms. Court Reporter, we've looked at the live schedule
19∑∑that was filed by the debtor under declaration of
20∑∑penalty and was signed by Mr. Ali Choudhri, and it
21∑∑does not list Mr. Choudhri as a debtor anywhere on
22∑∑here, and therefore -- or excuse me -- as a creditor
23∑∑anywhere on here.∑And so, therefore, him not being a
24∑∑creditor based upon his own sworn document, he has no
25∑∑legal basis to continue to ask questions here today.


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∑1∑∑∑∑∑∑So I'd like to have -- if Ms. Hood or
∑2∑∑Mr. Sather have any more questions, I'd like to finish
∑3∑∑it up.∑Mr. Khawaja does have to go because he has a
∑4∑∑relative who is probably passing away relatively soon
∑5∑∑in the hospital.∑We can then move on --
∑6∑∑∑∑∑∑MR. CHOUDHRI:∑So --
∑7∑∑∑∑∑∑MR. BALLASES:∑-- with the next deponents.
∑8∑∑∑∑∑∑MS. HOOD:∑So --
∑9∑∑∑∑∑∑MR. CHOUDHRI:∑So, Mr. Ballases --
10∑∑Mr. Ballases, this is my deposition.∑If you want --
11∑∑if there is a life/death situation, I'm not -- I'm
12∑∑happy to work with you and Mr. Khawaja on schedules.
13∑∑I have no problem doing that.∑Family's important.∑So
14∑∑if we need to reset this deposition to tomorrow or
15∑∑another day, I'm happy to accommodate that.
16∑∑∑∑∑∑But what I don't want to do is have you
17∑∑control the deposition and who can ask questions and
18∑∑who can't, because I'm in the middle of my questioning
19∑∑of Mr. Ballases (sic).∑So --
20∑∑∑∑∑∑MR. BALLASES:∑Okay.∑So --
21∑∑∑∑∑∑MR. CHOUDHRI:∑-- let's continue on with the
22∑∑questions.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, are you ready
24∑∑to answer more questions?
25∑∑∑∑∑∑THE WITNESS:∑What do you think, Michael?


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∑1∑∑∑∑∑∑MR. BALLASES:∑It's up to you.∑If you've got
∑2∑∑to go to the hospital, then --
∑3∑∑∑∑A.∑Okay.∑I can go for a little bit longer.
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Okay.∑Madam Court Reporter,
∑5∑∑would you please read the answer back while we took a
∑6∑∑break?
∑7∑∑∑∑∑∑THE REPORTER:∑Okay.∑One second.∑Okay.∑So
∑8∑∑the question and answer was (Reading:)∑Question:∑Are
∑9∑∑you upset at Ali Choudhri in any way, shape, or form?
10∑∑∑∑∑∑Answer:∑I mean, I want the money that I'm
11∑∑owed.∑Just pay me the money that you owe.∑This will
12∑∑go away.∑It's nothing personal.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, did she read
14∑∑your answer correctly and accurately?
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑And so to follow up on that answer, what is
17∑∑the amount of the money that you claim you're owed?
18∑∑∑∑A.∑Well, there's a certain amount of -- there's a
19∑∑certain amount that's claimed in the judgment that
20∑∑probably has gone up since we filed it.∑And, you
21∑∑know, you can go through that.∑Your attorney can
22∑∑discuss that with my attorney if you want to make an
23∑∑offer.∑Someone will --
24∑∑∑∑Q.∑I'm not asking about a settlement,
25∑∑Mr. Khawaja.∑I'm just asking about how much money


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∑1∑∑you're owed, because I can go to the oral ruling
∑2∑∑that -- from Judge Robinson about how you came up with
∑3∑∑the number, how you calculated it, and what that
∑4∑∑number is.∑And that's what we're here today to ask
∑5∑∑you questions about on your proof of claim.
∑6∑∑∑∑∑∑So you said, Owe me -- pay me the money you
∑7∑∑owe, so my question is --
∑8∑∑∑∑A.∑Right.
∑9∑∑∑∑Q.∑-- what are you claiming you're owed?
10∑∑∑∑A.∑Do you have a copy of the adversary?
11∑∑∑∑Q.∑Go ahead, Mr. Khawaja.∑What is the amount of
12∑∑money you're owed?∑That's my question.∑Do you know?
13∑∑∑∑A.∑Yeah, it's somewhere north of $500,000.∑Give
14∑∑me one second here.
15∑∑∑∑∑∑The total amount is $4,847,894.68.
16∑∑∑∑Q.∑I'm sorry.∑Would you repeat that again?∑The
17∑∑total amount that you're owed is what?
18∑∑∑∑A.∑$4,847,894.68.
19∑∑∑∑Q.∑Sorry.∑There's somebody talking in the
20∑∑background.∑I think Osama's helping you and talking,
21∑∑so --
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So what is the total amount
24∑∑that you need to be paid so you can go away?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑A.∑$4,847,894.68.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑Thank you for your
∑3∑∑answer, Mr. Khawaja.
∑4∑∑∑∑∑∑And you stand behind that number as being
∑5∑∑truthful, accurate with all lawful offsets?
∑6∑∑∑∑A.∑I mean, I don't -- I don't know what that
∑7∑∑means, but yeah, it's truthful, for sure.
∑8∑∑∑∑Q.∑Okay.
∑9∑∑∑∑A.∑There are no offsets.
10∑∑∑∑Q.∑There are no offsets?
11∑∑∑∑A.∑No.
12∑∑∑∑Q.∑Is that what you said?
13∑∑∑∑∑∑Okay.∑So there are no offsets; is that
14∑∑correct?
15∑∑∑∑A.∑That's correct.
16∑∑∑∑Q.∑Okay.∑Mr. Khawaja, is that the basis of -- so
17∑∑let me just kind of set the table for a second.
18∑∑∑∑∑∑So we said this earlier, and I just want to
19∑∑make sure that I don't have to go through a list of,
20∑∑you know, all these entities and all these other
21∑∑parties.
22∑∑∑∑∑∑So when we talk about Texas REIT, when you
23∑∑answer the question that -- against Texas REIT, your
24∑∑position is that any entity that I have ownership,
25∑∑directly in or indirectly, is an alter ego of Texas


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∑1∑∑REIT; correct?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑A.∑Alter ego of Ali Choudhri.∑Yes.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Okay.∑So --
∑5∑∑∑∑A.∑And Jetall Companies.
∑6∑∑∑∑Q.∑-- that's the basis?
∑7∑∑∑∑∑∑THE REPORTER:∑I'm sorry?
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Jetall.∑So when the --
∑9∑∑∑∑∑∑THE REPORTER:∑And who?∑Sorry.
10∑∑∑∑∑∑THE WITNESS:∑Sorry.∑Of Ali Choudhri and
11∑∑Jetall Companies.
12∑∑∑∑∑∑THE REPORTER:∑Thank you.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so that is the basis of
14∑∑several lis pendenses that have been filed; is that
15∑∑correct?
16∑∑∑∑A.∑I don't know about several.∑There's one
17∑∑that's filed in this case.
18∑∑∑∑Q.∑Well, if you contend that any and all
19∑∑liabilities and assets of Texas REIT's are alter egos
20∑∑of Ali Choudhri, you have -- in this adversary that is
21∑∑the basis of your proof of claim -- back up.
22∑∑∑∑∑∑This proof -- the adversary is the basis of
23∑∑your proof of claim; correct?
24∑∑∑∑A.∑Yes.
25∑∑∑∑Q.∑So in that adversary, you have filed many lis


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∑1∑∑pendenses on various properties, true or false?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And what real property interest do you contend
∑4∑∑that you own in any of these properties?
∑5∑∑∑∑A.∑We're a judgment creditor.∑So if you own it,
∑6∑∑we own it.
∑7∑∑∑∑Q.∑So it's your contention that -- again, I just
∑8∑∑want to get the whole scope here.∑It's your
∑9∑∑contention that, based on the fact that you're a
10∑∑judgment creditor, you have real property interest in
11∑∑all these various properties, true or false?
12∑∑∑∑A.∑Yes.
13∑∑∑∑Q.∑Is that true?
14∑∑∑∑A.∑True.
15∑∑∑∑Q.∑Outside of that, do you have any other real
16∑∑property interest that you contend you own in any of
17∑∑these properties?
18∑∑∑∑A.∑No.
19∑∑∑∑Q.∑And do you know where I live?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑I think you live in 9201 Arabella.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑9201 Arabella?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑Let me see here.∑Ninety -- sorry -- 9201.
25∑∑You live at Arabella PH, whatever property Arabella PH


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∑1∑∑3201, LLC, owns.∑At the Arabella, I think, unless you
∑2∑∑moved.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you have knowledge that
∑4∑∑I've lived there for how long?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑I mean, I guess at least a few years.∑Maybe
∑7∑∑two.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And are you aware that --
∑9∑∑∑∑A.∑You sold your house and then -- I think so. I
10∑∑mean, look, I -- I'm not sure, to be honest with you.
11∑∑I think you live there.∑I can find out if you want me
12∑∑to.
13∑∑∑∑Q.∑So you said I sold my house?
14∑∑∑∑∑∑MR. BALLASES:∑Ali, can -- Mr. Choudhri, can
15∑∑you put yourself on the screen again so we know it's
16∑∑you asking questions?
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So you said --
18∑∑∑∑∑∑MR. BALLASES:∑Thank you.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- I sold my house,
20∑∑Mr. Khawaja, that you know I sold my house?
21∑∑∑∑A.∑Yeah.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑You sold the River Oaks house; right?
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑I'm asking you,
25∑∑Mr. Khawaja.∑You said I sold my house.∑What do you


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∑1∑∑mean by that?
∑2∑∑∑∑A.∑Yes.∑I think you sold your River --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑I think you sold the River Oaks house, and
∑5∑∑then you moved.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And how do you know that?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑I think -- I mean, that's just -- that's the
∑9∑∑rumors.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And who told you that?
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑A.∑I think it was in The Real Deal.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that where you -- are
14∑∑you saying that's where you know about it?
15∑∑∑∑A.∑Possibly.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑I don't know, to be honest with you.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who Kevin
19∑∑Powers is?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑He's an attorney.∑Yes.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you communicated with
23∑∑Kevin Powers?
24∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
25∑∑∑∑A.∑I think he called me once or twice, but no


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∑1∑∑real communication with him.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever texted him or
∑3∑∑received texts from him?
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑Not that I recall.∑I don't think so.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who WCW is?
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑A.∑Some entity that you owe money, I think.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who Steven Wu
10∑∑is?
11∑∑∑∑A.∑Another guy that you --
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑A.∑-- that you owe money to.
14∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And your contention is I
15∑∑owe money to Steven Wu?
16∑∑∑∑A.∑You owe money --
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑A.∑-- to a lot of people, including me, but yes.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And what do you know about
20∑∑what I owe to Steven Wu?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑That you defrauded him, and they have --
23∑∑they're seeking to recover the money that you owe them
24∑∑and --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And how much money is


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∑1∑∑that --
∑2∑∑∑∑A.∑-- defrauded them in the Texas REIT --
∑3∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑I defrauded in the Texas
∑5∑∑REIT case, you said?
∑6∑∑∑∑A.∑Yes.∑I think some Texas REIT case.∑I'm not
∑7∑∑sure which one, but it's millions of dollars.
∑8∑∑∑∑Q.∑And so is it Steven Wu that you contend that I
∑9∑∑defrauded?
10∑∑∑∑A.∑Yes.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And Steven Wu is owed money
13∑∑by Texas REIT is your contention?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑Yes, and there's probably many other creditors
16∑∑out there I'm not aware of.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Which creditors are you
18∑∑aware of?
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Only the ones that I would know.∑I mean, I'm
21∑∑one of them.∑So, I mean, whoever's listed in these
22∑∑schedules, I guess.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted TIG
24∑∑Romspen?∑Do you know who Romspen is?
25∑∑∑∑A.∑No.


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑I know who they are, but I have not -- I read
∑3∑∑about them in The Real Deal, but I've not contacted
∑4∑∑them.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know who Mansoor
∑6∑∑Chaudhry is?
∑7∑∑∑∑A.∑Yes.
∑8∑∑∑∑Q.∑Do you have an attorney-client privilege with
∑9∑∑him?
10∑∑∑∑A.∑No, I don't.
11∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever texted him or
13∑∑received texts from him?
14∑∑∑∑A.∑No.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I mean, yes, he's texted me.∑Yes, he has.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So when did you meet
18∑∑Mansoor Chaudhry?
19∑∑∑∑A.∑Maybe two years --
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Under what circumstance?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑He's a -- he has a title company, and I've
24∑∑done some title work with him.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So you do some title work


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∑1∑∑with him?
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What is the name of his
∑5∑∑title company?
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑A.∑I think it's called Transact Title.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And is Transact Title a
∑9∑∑tenant at 1001 West Loop?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Yes.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And have you filed a lis
13∑∑pendens against 1001 West Loop?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑If it's an alter ego of yours -- no, I don't
16∑∑think so.∑Maybe not.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're looking at Osama to
18∑∑answer the questions.∑Do you understand this
19∑∑deposition is me asking you, not Osama answering the
20∑∑questions?∑You understand that; right?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
22∑∑∑∑∑∑Don't pretend like you know what's happening
23∑∑over here.
24∑∑∑∑∑∑Objection.∑Sidebar.
25∑∑∑∑A.∑I'm not looking at anybody.∑But I don't know.


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∑1∑∑Do you want me to file a lis pendens on 1001 West
∑2∑∑Loop?
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑As we sit here today, are
∑4∑∑you telling me that you have not caused any lis
∑5∑∑pendens to be filed on 1001?
∑6∑∑∑∑A.∑No.∑I don't know.∑I don't think so.
∑7∑∑∑∑Q.∑Do you contend 1001, the property, 1001, or
∑8∑∑the entity that owns 1001, is an alter ego of Ali
∑9∑∑Choudhri or Texas REIT?
10∑∑∑∑A.∑Yes.∑Yes, it is.
11∑∑∑∑Q.∑Do you contend --
12∑∑∑∑A.∑Even if it's not listed by -- even if it's not
13∑∑here, it is -- anything that you control or own is an
14∑∑alter ego, because that's how you operate.
15∑∑∑∑Q.∑Okay.∑Do you know who BridgeCo is,
16∑∑Mr. Khawaja?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you spoken to anybody
20∑∑at BridgeCo?
21∑∑∑∑A.∑No.
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But you've sued BridgeCo;
24∑∑correct?
25∑∑∑∑A.∑Yes.


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And are you aware that
∑3∑∑BridgeCo made six loans?
∑4∑∑∑∑A.∑Yeah.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you know which
∑7∑∑properties BridgeCo made loans on?
∑8∑∑∑∑A.∑There were --
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑-- some properties in Austin and some
11∑∑properties in Houston, but I don't know -- I couldn't
12∑∑tell you it's this one or that one.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you contend those
14∑∑properties are alter egos of Ali Choudhri or Texas
15∑∑REIT.
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑I mean, they would be.∑If you own them, they
18∑∑would be.∑But I don't know if we're making that claim
19∑∑in this case anymore.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you sued Cypress
21∑∑BridgeCo and Magnolia BridgeCo in this case?
22∑∑∑∑A.∑I think we did.∑And I'm not sure if we still
23∑∑have maintained those claims.∑But I know they
24∑∑foreclosed on their interest.
25∑∑∑∑Q.∑So you're aware that BridgeCo foreclosed on


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∑1∑∑the properties that you filed lis pendenses on.
∑2∑∑∑∑A.∑Yes.
∑3∑∑∑∑Q.∑And you realize that a lis pendens frustrates
∑4∑∑and interferes with the sale of a property.
∑5∑∑∑∑∑∑Please don't look at Osama for an answer. I
∑6∑∑know you really want to.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑But, Mr. Abdullatif, would you
∑9∑∑please stop helping Mr. Khawaja?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
11∑∑∑∑∑∑You don't know what you're talking about.
12∑∑∑∑∑∑(Crosstalk)
13∑∑∑∑∑∑MR. CHOUDHRI:∑Madam Court Reporter, did you
14∑∑get -- did --
15∑∑∑∑∑∑(Crosstalk)
16∑∑∑∑∑∑THE REPORTER:∑Sorry.∑What is your question,
17∑∑Mr. Choudhri?
18∑∑∑∑∑∑MR. CHOUDHRI:∑What did Osama say?∑I couldn't
19∑∑hear him.
20∑∑∑∑∑∑THE REPORTER:∑I couldn't hear him either.∑If
21∑∑I can't hear him, I can't transcribe him.∑And he's
22∑∑not on the record.∑Like, he's not --
23∑∑∑∑A.∑Let's please continue with the deposition.
24∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Osama Abdullatif, I can
25∑∑hear you in the background calling me a liar.∑That's


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∑1∑∑unprofessional.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑3∑∑∑∑∑∑Ask your question, or I'll --
∑4∑∑∑∑A.∑Or we're gonna cut this -- or we're gonna shut
∑5∑∑this thing down.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, you're
∑7∑∑aware -- let me back up.
∑8∑∑∑∑∑∑You're in the real estate business as well;
∑9∑∑right?
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Not really.∑A little bit.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you own real estate
13∑∑outside of your home?
14∑∑∑∑A.∑Yes.
15∑∑∑∑Q.∑Which real estate?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑I'm not gonna get -- I'm not gonna get into
18∑∑that.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you refusing to answer
20∑∑the question about what real estate you own --
21∑∑∑∑A.∑Yes, I'm --
22∑∑∑∑Q.∑-- outside of your house?
23∑∑∑∑A.∑I am -- I am refusing to answer that.
24∑∑∑∑∑∑MR. BALLASES:∑I'm instructing him not to
25∑∑answer because it's outside the scope of the limited


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∑1∑∑deposition that the judge ordered.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So, Mr. Khawaja, we've
∑3∑∑already established many, many, many times it's your
∑4∑∑contention that any entity I own or control is an
∑5∑∑alter ego of Texas REIT; correct?
∑6∑∑∑∑A.∑Yes.
∑7∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so you're also aware,
∑9∑∑Mr. Khawaja, that when you file a lis pendens on a
10∑∑piece of property, you have to meet certain elements
11∑∑to have a lis pendens on a piece of property.∑Are you
12∑∑aware of that?
13∑∑∑∑A.∑Yes.
14∑∑∑∑Q.∑And do you know what those elements are?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I don't.
17∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're unaware what the
18∑∑elements are to file a lis pendens against real
19∑∑property.
20∑∑∑∑A.∑I'm not sure.
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're unaware, or you're
23∑∑aware?
24∑∑∑∑A.∑I'm not aware.
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, it doesn't change
∑2∑∑by you yelling on the objection, so --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, how many
∑5∑∑lawsuits have you been involved in where you have
∑6∑∑instructed, sponsored litigation against Texas REIT or
∑7∑∑any other entity that I own or control?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑9∑∑∑∑A.∑I don't know.∑I don't -- I don't think many
10∑∑at all.∑Not as many as I could.∑That's for sure.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so you have filed a lis
12∑∑pendens against a property at 2232 Swift Boulevard.
13∑∑Are you aware of that?
14∑∑∑∑A.∑Yes.∑Yes.
15∑∑∑∑Q.∑And you contend 2232 Swift Boulevard -- that
16∑∑property and any interest in that property is an alter
17∑∑ego of Texas REIT?
18∑∑∑∑A.∑Or Ali Choudhri.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Or Ali Choudhri.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Texas REIT or Ali --
22∑∑∑∑A.∑Or Jetall.
23∑∑∑∑Q.∑-- Choudhri; correct?
24∑∑∑∑A.∑Or Jetall.
25∑∑∑∑Q.∑Sorry?


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∑1∑∑∑∑A.∑Or Jetall Companies, Inc.
∑2∑∑∑∑Q.∑Okay.∑So basically any and all entities that
∑3∑∑I have any ownership in -- directly, indirectly --
∑4∑∑it's an alter ego, and that's what you believe.
∑5∑∑∑∑A.∑I believe the evidence will show that, yes.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑But as we sit here today,
∑8∑∑you don't have any evidence --
∑9∑∑∑∑A.∑No, we have plenty --
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑We've been talking about it all day.
12∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So outside of whatever we
14∑∑talked about today, you don't have any other evidence.
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑Not until we get into the discovery, which
17∑∑you're obstructing, but yes.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So this is your opportunity
19∑∑to tell --
20∑∑∑∑A.∑You'll find out more after you and, I think,
21∑∑your mom's deposition coming up.
22∑∑∑∑Q.∑Oh, okay.∑So you've sued my mom; correct?
23∑∑∑∑A.∑Yes.∑Don't try to get out of that deposition
24∑∑either.∑I'm gonna have a court reporter, translator,
25∑∑everything.∑So don't try to get out of that.


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∑1∑∑∑∑Q.∑Mr. Khawaja, have you -- let me pull this up.
∑2∑∑Hold on.
∑3∑∑∑∑∑∑Have you contacted anybody related to QB Loop
∑4∑∑Property?
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑No.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted --
∑8∑∑∑∑A.∑What's going on with that?
∑9∑∑∑∑∑∑THE WITNESS:∑Sorry.∑Sorry.
10∑∑∑∑A.∑I have not.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted -- would
12∑∑you dispute if third parties made statements that you
13∑∑contacted them and told them not to do business with
14∑∑me?
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑I would dispute that, yeah.∑I mean, tell
17∑∑them -- who said that I said that?
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever contacted
20∑∑anybody who I do business with, or any of my related
21∑∑entities, and told them not to do business with me?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑I mean, that's outside the scope of what we're
24∑∑talking about, but no, unless I was specifically
25∑∑asked.


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∑1∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted Anwar
∑2∑∑Qadeer (phonetic) in relation to --
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑No.∑Are you trying to sue Anwar now?∑No.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you contacted Qasim --
∑7∑∑Abdul Qasim (phonetic)?
∑8∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑9∑∑∑∑A.∑Abdul Qasim?
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Abdul Qasim.
11∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
12∑∑∑∑A.∑I never contacted -- no, he's a friend of --
13∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a time, please.
14∑∑∑∑∑∑Mr. Khawaja, could you please repeat your
15∑∑answer?
16∑∑∑∑A.∑I have not.
17∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
18∑∑∑∑∑∑Please stick to the limited purpose of this
19∑∑deposition.
20∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And --
21∑∑∑∑A.∑Don't get those guys in trouble.
22∑∑∑∑Q.∑-- Mr. Khawaja, are you -- are you -- are you
23∑∑done laughing?
24∑∑∑∑A.∑Yes.∑Yes.
25∑∑∑∑Q.∑Thank you.∑You understand this is a serious


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∑1∑∑situation we're here, right?∑This is a deposition.
∑2∑∑It's not a joke --
∑3∑∑∑∑A.∑Oh, very much.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑5∑∑∑∑A.∑Very much.∑Very much so.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And, Mr. Khawaja, you're
∑7∑∑taking this serious; correct?
∑8∑∑∑∑A.∑Oh, yeah, absolutely.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
10∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, can you tell
11∑∑me why -- you know, why you believe that the BridgeCo
12∑∑entities are an alter ego of Texas REIT?
13∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
14∑∑∑∑∑∑No, excuse me.∑I'm gonna go ahead, and I'm
15∑∑gonna actually object to this exceeding the scope of
16∑∑the deposition that the judge ordered and instruct him
17∑∑not to answer.
18∑∑∑∑A.∑I'm gonna take the advice of counsel.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you're not
20∑∑going to answer the question, I understand; is that
21∑∑correct?
22∑∑∑∑A.∑Yes.
23∑∑∑∑Q.∑Mr. Khawaja, are you aware that when a lis
24∑∑pendens is filed on a property, a property -- the
25∑∑title is clouded, and it interferes with the ability


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∑1∑∑for the property to be sold or refinanced?
∑2∑∑∑∑A.∑I mean --
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑A.∑-- you filed many of those, so you're pretty
∑5∑∑aware of what it does, so yes.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And besides whatever we've
∑7∑∑covered today, you don't have any other -- are you --
∑8∑∑∑∑A.∑Plans?
∑9∑∑∑∑Q.∑-- familiar with the -- sorry?
10∑∑∑∑A.∑Other plans?∑I don't know.∑I'm just trying
11∑∑to guess what you were gonna say.
12∑∑∑∑Q.∑I'm sorry, Mr. Khawaja.∑What was your
13∑∑statement?
14∑∑∑∑A.∑I said -- you said, You don't have any other,
15∑∑and then you just trailed off.∑So I said, What,
16∑∑plans?
17∑∑∑∑Q.∑What -- so I think I've asked this earlier,
18∑∑and you've refused to answer.∑I just want to make
19∑∑sure the record is clear.∑You're refusing to answer
20∑∑any contingency claims or any claims you own or hold,
21∑∑indirectly or directly, against me or any of my
22∑∑entities.∑You're refusing to answer any of those
23∑∑questions.
24∑∑∑∑A.∑Yes --
25∑∑∑∑∑∑MR. BALLASES:∑Objection --


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∑1∑∑∑∑A.∑-- that's correct.
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're aware that
∑4∑∑2727 Kirby was foreclosed on.
∑5∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑6∑∑∑∑A.∑That's what I understand.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And you're aware that
∑8∑∑that's one of the properties you filed a lis pendens
∑9∑∑on.
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
11∑∑∑∑A.∑Sure.∑You owe a lot of money on it.
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is there money owed to you
13∑∑on 2727 Kirby?
14∑∑∑∑A.∑I mean, it's an alter --
15∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
16∑∑∑∑A.∑-- ego of Jetall Companies, so yeah, we
17∑∑should've gotten something out of it.
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is that why you filed a
19∑∑lis pendens, so you could get something out of it?
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑To prevent you from committing fraudulent
22∑∑transfers and defrauding people like you do.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And so let's elaborate.
24∑∑How do I defraud people?
25∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.


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∑1∑∑∑∑A.∑I mean -- I mean, come on.
∑2∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑I just want to --
∑3∑∑∑∑∑∑(Crosstalk)
∑4∑∑∑∑A.∑You really want me to answer that question?
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Absolutely.∑Go ahead.
∑6∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑7∑∑∑∑∑∑It's not the opportunity to ask an improper
∑8∑∑question.
∑9∑∑∑∑∑∑THE WITNESS:∑No.
10∑∑∑∑∑∑MR. BALLASES:∑It is your opportunity to ask
11∑∑about why a proof of claim was filed and why it was
12∑∑withdrawn.∑You are mistaken, and you're exceeding the
13∑∑Court's order.∑Please stick to the Court's limited
14∑∑deposition order.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you going to refuse to
16∑∑answer the question, Mr. Khawaja?
17∑∑∑∑A.∑Yes.
18∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
19∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, you're aware
20∑∑that following the filing of lis pendenses on various
21∑∑properties, those properties were foreclosed after you
22∑∑filed those lis pendenses, true or false?
23∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
24∑∑∑∑A.∑After -- I mean, what does that mean, after I
25∑∑filed those lis pendenses?∑You lost those properties


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∑1∑∑because you refused to pay on them, like you've done
∑2∑∑on so many properties throughout your entire life.
∑3∑∑∑∑∑∑So, you know, you excel at losing properties.
∑4∑∑That's what happened.∑That's what happened to
∑5∑∑2425 West Loop.∑Don't try to put that on me unless
∑6∑∑you want more lawsuits.∑We're happy to oblige.
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you --
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
10∑∑∑∑A.∑No, I'm not done.∑I'm just getting started.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So continue on.∑I'm
12∑∑listening.
13∑∑∑∑∑∑MR. BALLASES:∑There's no question on the
14∑∑table.
15∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You're just getting
16∑∑started?
17∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
18∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑What do you mean by "just
19∑∑getting started" --
20∑∑∑∑∑∑THE REPORTER:∑I'm sorry.∑Mr. Ballases, what
21∑∑was your objection or your comment?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑∑∑There was no question on the table.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Go ahead, Mr. Khawaja.∑If
25∑∑you want to talk, you can talk.∑You said you're just


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∑1∑∑getting started --
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
∑3∑∑∑∑A.∑Stick --
∑4∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Do you want to --
∑5∑∑∑∑A.∑Stick to the questions, please.∑Stick to the
∑6∑∑questions.
∑7∑∑∑∑Q.∑You're answering -- you're answering the
∑8∑∑questions, so I'm allowing you to finish your answers.
∑9∑∑And you said --
10∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Sidebar.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- you're just getting
12∑∑started.∑What do you mean by, "I'm just getting
13∑∑started"?∑That was your answer.
14∑∑∑∑A.∑Yes.∑We have --
15∑∑∑∑Q.∑(Unintelligible)
16∑∑∑∑A.∑We have a lot of -- we have discovery to
17∑∑complete in this case.
18∑∑∑∑Q.∑And so what do you mean, "I'm just getting
19∑∑started"?∑Elaborate on that --
20∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
21∑∑∑∑A.∑Yeah, we need -- we have to complete
22∑∑discovery.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑And what evidence or
24∑∑information do you have that my mom is an alter ego of
25∑∑Texas REIT?


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∑1∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑2∑∑∑∑A.∑Have you reviewed the -- have you reviewed our
∑3∑∑evidence in this case?∑Have you looked at what we've
∑4∑∑been able to uncover, or no?∑I hope your attorneys
∑5∑∑are sharing it with you.∑There's a lot.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑So what evidence do you
∑7∑∑have that Shahnaz Choudhri is an alter ego --
∑8∑∑∑∑A.∑Yes.
∑9∑∑∑∑Q.∑-- of Texas REIT?
10∑∑∑∑A.∑There's money flowing through bank accounts.
11∑∑There's checks that she's written to entities that you
12∑∑control.∑There's personal payments going out to her
13∑∑from entities that you control.∑I mean, there's a
14∑∑lot.∑There's a lot.∑We're gonna get into all of
15∑∑that.
16∑∑∑∑Q.∑And so the evidence is all within your
17∑∑pleadings.∑Is that --
18∑∑∑∑A.∑Not all of it.
19∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
20∑∑∑∑A.∑Not all of it.∑There's just something --
21∑∑there's discovery.∑There's subpoenas.∑There's --
22∑∑there's things.∑There's a deposition coming up that
23∑∑you're aware of that you're gonna try to get out of.
24∑∑We're not gonna let you.
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you made statements to


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∑1∑∑third parties that Judge Norman is gonna do whatever
∑2∑∑you ask him to do because you have him on payroll?
∑3∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑4∑∑∑∑∑∑And objection.∑Sidebar.
∑5∑∑∑∑A.∑Man, come on.∑Don't do stuff like that.
∑6∑∑That's gonna get you --
∑7∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you made a
∑8∑∑statement to anybody --
∑9∑∑∑∑A.∑-- in a lot of trouble.
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry.
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you made --
12∑∑∑∑∑∑THE REPORTER:∑One person at a time, please.
13∑∑∑∑A.∑That's -- that's gonna get you into a lot of
14∑∑trouble with the FBI.∑I wouldn't do that.∑That's a
15∑∑mistake on your part.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you ever made any
17∑∑statements like that?∑Have you ever made any
18∑∑statements --
19∑∑∑∑A.∑No.
20∑∑∑∑Q.∑-- like that?
21∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
22∑∑∑∑A.∑That's very dangerous of you to say that.∑I'm
23∑∑just warning you.∑It's very dangerous.
24∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
25∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --


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∑1∑∑∑∑∑∑THE WITNESS:∑Make sure you get a copy of this
∑2∑∑transcript, please --
∑3∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- you've never made --
∑4∑∑∑∑∑∑THE WITNESS:∑-- and provide that.
∑5∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑You --
∑6∑∑∑∑∑∑THE REPORTER:∑Sorry --∑okay.
∑7∑∑∑∑A.∑I would stop if I were you.∑I would stop
∑8∑∑right now if I were you.
∑9∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, please.∑I'm
10∑∑asking the questions.∑Okay?
11∑∑∑∑A.∑Yeah, you are.
12∑∑∑∑Q.∑Have you met with Anthony Gill or Kenneth
13∑∑Shaitelman?
14∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
15∑∑∑∑A.∑I'm not gonna --
16∑∑∑∑∑∑(Crosstalk)
17∑∑∑∑∑∑MR. BALLASES:∑I'm going to instruct you not
18∑∑to answer.∑That has nothing to do with the proof of
19∑∑claim that was filed or the reason that we've offered
20∑∑to withdraw it, and therefore, I'm instructing not to
21∑∑answer.∑It exceeds the scope of the judge's order.
22∑∑∑∑∑∑So I object to the form of the question.
23∑∑∑∑A.∑I'm not answering.
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja, were you
25∑∑present on September 6, 2023, when Chris Wyatt, your


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∑1∑∑client, testified on the stand in Judge Manor's court?
∑2∑∑∑∑∑∑MR. BALLASES:∑Objection --
∑3∑∑∑∑A.∑No.
∑4∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
∑5∑∑∑∑A.∑I wasn't.
∑6∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Were you present around
∑7∑∑September 2023 in front of Judge Manor regarding a
∑8∑∑case styled Naissance versus Zaheer?
∑9∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
10∑∑∑∑A.∑I don't even know if I was or not, but that's
11∑∑outside the scope of this purpose of this deposition,
12∑∑so move on.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you aware that Chris
14∑∑Wyatt, your client, testified that he has given you
15∑∑my -- Jetall Companies' hard drive?
16∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
17∑∑∑∑A.∑Not -- not in the -- within the scope of this
18∑∑conversation -- I mean this deposition.∑But if he
19∑∑testified to that, I'd have to look back and see.
20∑∑Maybe he did.
21∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Is Chris Wyatt truthful?
22∑∑∑∑∑∑MR. BALLASES:∑Objection.∑Form.
23∑∑∑∑A.∑You hired him.∑What do you think?
24∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Have you hired --
25∑∑∑∑∑∑THE WITNESS:∑Look, I'm done, Michael.∑This


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∑1∑∑is it.∑This is getting into things --
∑2∑∑∑∑∑∑MR. BALLASES:∑Okay.
∑3∑∑∑∑∑∑THE WITNESS:∑-- that are unrelated.∑So we
∑4∑∑can --
∑5∑∑∑∑∑∑MR. BALLASES:∑And you've got to go see your
∑6∑∑family --
∑7∑∑∑∑∑∑THE WITNESS:∑I have to go see my family --
∑8∑∑∑∑∑∑MR. BALLASES:∑Then we'll take it up with a
∑9∑∑judge.
10∑∑∑∑∑∑THE WITNESS:∑Thank you.
11∑∑∑∑∑∑(Crosstalk)
12∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Are you going to walk out
13∑∑of this deposition?
14∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
15∑∑∑∑A.∑Yes.
16∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑No --
17∑∑∑∑∑∑THE REPORTER:∑Sorry.∑One at a -- sorry.∑One
18∑∑at a time, please.∑Thank you.
19∑∑∑∑∑∑MR. CHOUDHRI:∑I am not done with my --
20∑∑∑∑∑∑THE WITNESS:∑I have a medical --
21∑∑∑∑∑∑MR. CHOUDHRI:∑-- questions.
22∑∑∑∑∑∑THE WITNESS:∑-- emergency.
23∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑If you have a medical
24∑∑emergency, we can agree to a rescheduling.∑Your
25∑∑medical emergency, Mr. Khawaja, is you have a family


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∑1∑∑member in the hospital; correct?
∑2∑∑∑∑A.∑Yes, I do.
∑3∑∑∑∑∑∑MR. BALLASES:∑You don't need to answer any
∑4∑∑more questions.
∑5∑∑∑∑∑∑He has to get out of here.∑You took up enough
∑6∑∑time --
∑7∑∑∑∑∑∑THE WITNESS:∑We'll take it up with a judge.
∑8∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
∑9∑∑∑∑∑∑MR. BALLASES:∑Do you want a five-minute
10∑∑break, or do you want to start?
11∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑Mr. Khawaja --
12∑∑∑∑∑∑MR. BALLASES:∑You go.∑I got it.
13∑∑∑∑Q.∑(BY MR. CHOUDHRI)∑-- the deposition is still
14∑∑going.∑Are you going to get up and walk out?
15∑∑∑∑∑∑MR. CHOUDHRI:∑Madam Court Reporter --
16∑∑∑∑∑∑MR. BALLASES:∑Yes, he's got to --
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- would you --
18∑∑∑∑∑∑MS. HOOD:∑Okay.∑If I can weigh in here, I
19∑∑had some follow-up questions for him; very few, but I
20∑∑do have follow-up questions.
21∑∑∑∑∑∑MR. BALLASES:∑How much time?∑Like, how much
22∑∑would you estimate, Ms. Hood?
23∑∑∑∑∑∑MS. HOOD:∑Ten minutes.
24∑∑∑∑∑∑MR. BALLASES:∑It's up to you.∑If you've got
25∑∑to get out of here --


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∑1∑∑∑∑∑∑MR. CHOUDHRI:∑But I'm not done --
∑2∑∑∑∑∑∑MS. HOOD:∑But it's -- I need -- Mr. Choudhri
∑3∑∑hasn't passed the witness.∑But I did want to go on
∑4∑∑the record that I do have a few more questions for
∑5∑∑him.
∑6∑∑∑∑∑∑MR. BALLASES:∑Okay.∑Well --
∑7∑∑∑∑∑∑THE WITNESS:∑We'll take it up if we need to
∑8∑∑with a judge.
∑9∑∑∑∑∑∑MR. BALLASES:∑Okay.∑Then unless we're going
10∑∑to go directly to your ten minutes, then he's got to
11∑∑get to the hospital.
12∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, if he's got to go
13∑∑to the hospital, is there a mutually agreeable time
14∑∑before he leaves that we can agree to maybe --
15∑∑∑∑∑∑MR. BALLASES:∑No.
16∑∑∑∑∑∑MR. CHOUDHRI:∑-- pick this up?
17∑∑∑∑∑∑MR. BALLASES:∑No.
18∑∑∑∑∑∑MR. CHOUDHRI:∑Are you not agreeing to resume
19∑∑the deposition at a convenient time after his
20∑∑emergency for his visitor -- for his family member in
21∑∑the hospital?
22∑∑∑∑∑∑MR. BALLASES:∑I'm not right now.∑You've had
23∑∑plenty of time to ask questions.∑You've asked
24∑∑questions that had nothing to do with the limited
25∑∑scope of the deposition.∑I let you ask them. I


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∑1∑∑probably shouldn't have.∑And so you used your time as
∑2∑∑you saw fit.
∑3∑∑∑∑∑∑Do you all want to take a two-minute break or
∑4∑∑five-minute break before we start the next one, or no?
∑5∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, I am -- this is
∑6∑∑still my deposition that I'm asking questions on. I
∑7∑∑want the record to be clear.∑Have you instructed your
∑8∑∑witness to leave?∑Have you instructed the witness to
∑9∑∑leave --
10∑∑∑∑∑∑MR. BALLASES:∑He's gone.∑Yes, he is gone.
11∑∑He is gone.∑I've instructed him to leave because he
12∑∑has a family member who is dying.∑I don't know how
13∑∑much clearer I can make that.∑Stop repeating
14∑∑yourself.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Well, Mr. Ballases --
16∑∑∑∑∑∑MR. BALLASES:∑So you can either --
17∑∑∑∑∑∑MR. CHOUDHRI:∑-- as you know -- can I finish
18∑∑talking, please, before you keep --
19∑∑∑∑∑∑MR. BALLASES:∑No --
20∑∑∑∑∑∑MR. CHOUDHRI:∑-- cutting me off?
21∑∑∑∑∑∑MR. BALLASES:∑-- you can't.∑You waste
22∑∑everybody's time.
23∑∑∑∑∑∑So we can start with the next deposition.
24∑∑∑∑∑∑It's clear that --
25∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --


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∑1∑∑∑∑∑∑MR. BALLASES:∑-- he's left, and it's clear
∑2∑∑you want to ask questions.
∑3∑∑∑∑∑∑So we can start with the next deposition now
∑4∑∑or in two minutes.∑Please make your decision.
∑5∑∑∑∑∑∑Stephen, if you want to make it because you're
∑6∑∑the lead, that's fine.
∑7∑∑∑∑∑∑MS. HOOD:∑Can I just say on the record that I
∑8∑∑would like to finish my questioning of the deponent
∑9∑∑when he has the next available opportunity that's
10∑∑convenient for everybody so I can ask my four
11∑∑questions.
12∑∑∑∑∑∑MR. BALLASES:∑And I would -- that's fine.
13∑∑You can take it up with the Court.∑He was on record
14∑∑for five hours.∑Take away maybe the 30 minutes where
15∑∑we argued about the judge's oral order.∑Four and a
16∑∑half hours, that's plenty of time for this deposition
17∑∑to go forward and for y'all to complete it.
18∑∑∑∑∑∑We have two more people here, and I have till
19∑∑4:30.∑I'd like to get started to go as fast as
20∑∑possible, but it's y'all's call.
21∑∑∑∑∑∑MS. HOOD:∑Okay.∑Well, I'll just --
22∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, the time is --
23∑∑the time is 3:30 p.m.∑Is that --
24∑∑∑∑∑∑Or, Court Reporter, would you just confirm
25∑∑what time we have right now?


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     OMAR KHAWAJA                                                     September 11, 2024
     TEXAS REIT LLC                                                                  225

∑1∑∑∑∑∑∑MR. BALLASES:∑No one needs to confirm the
∑2∑∑time.∑Do you want to get started with the next one or
∑3∑∑not?∑I mean, stop wasting everybody's time?
∑4∑∑∑∑∑∑MS. HOOD:∑I just want to -- for my part of
∑5∑∑this, I wasn't -- I didn't adjourn the deposition with
∑6∑∑regard to this deponent for my questioning.∑I was
∑7∑∑waiting for it to come back, to cycle around with me
∑8∑∑again.∑I have a few more questions for him, and I
∑9∑∑want to finish those.
10∑∑∑∑∑∑And I understand he's left, and I understand
11∑∑the basis for it, and I wish all Godspeed to his
12∑∑family member.∑And I don't want to get involved in
13∑∑any sort of issue about whether someone needs to
14∑∑leave, doesn't need to leave, that sort of thing,
15∑∑right?∑I just -- and if we have to go back to the
16∑∑judge for my four questions, I'm happy to do it.
17∑∑∑∑∑∑I just want that on the record for me.∑What
18∑∑the other lawyer does and what Mr. Choudhri does --
19∑∑∑∑∑∑MR. BALLASES:∑(Unintelligible)
20∑∑∑∑∑∑MS. HOOD:∑-- I'm not in control of that.
21∑∑∑∑∑∑MR. BALLASES:∑I understand.∑You've made
22∑∑it -- you've put it on the record twice.∑That's fine.
23∑∑I understand, and I'll stipulate that you do have more
24∑∑questions.
25∑∑∑∑∑∑Do we want to go to the next witness now?


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     OMAR KHAWAJA                                                      September 11, 2024
     TEXAS REIT LLC                                                                   226

∑1∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases, would you at
∑2∑∑least provide, subject to your client's availability,
∑3∑∑times you're available to resume the deposition of
∑4∑∑Omar Khawaja?
∑5∑∑∑∑∑∑MR. BALLASES:∑No.∑No, I will not.∑I've said
∑6∑∑that twice now.
∑7∑∑∑∑∑∑MR. CHOUDHRI:∑Are you not --
∑8∑∑∑∑∑∑MR. BALLASES:∑Do we want to move to the next
∑9∑∑deposition?
10∑∑∑∑∑∑MR. CHOUDHRI:∑Are you going to refuse to make
11∑∑him available --
12∑∑∑∑∑∑MR. BALLASES:∑Stop wasting time.∑I'm not
13∑∑going to provide it unless we have an order from a
14∑∑judge.∑Do you understand?∑Stop wasting time.∑We've
15∑∑got a limited amount --
16∑∑∑∑∑∑MR. CHOUDHRI:∑Well, I just want to --
17∑∑∑∑∑∑MR. BALLASES:∑-- of time --
18∑∑∑∑∑∑MR. CHOUDHRI:∑-- get this on the --
19∑∑∑∑∑∑(Crosstalk)
20∑∑∑∑∑∑MR. BALLASES:∑-- basis to take a deposition.
21∑∑∑∑∑∑Do we want to move to the next person or not?
22∑∑Please tell me.
23∑∑∑∑∑∑MR. CHOUDHRI:∑Before --
24∑∑∑∑∑∑MR. BALLASES:∑I would say, Stephen, it's your
25∑∑job to say it.


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     OMAR KHAWAJA                                                   September 11, 2024
     TEXAS REIT LLC                                                                227

∑1∑∑∑∑∑∑MR. SATHER:∑Yeah, I'm prepared --
∑2∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. --
∑3∑∑∑∑∑∑MR. SATHER:∑-- to move to the next --
∑4∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
∑5∑∑∑∑∑∑MR. SATHER:∑-- witness --
∑6∑∑∑∑∑∑MR. BALLASES:∑All right.∑Let's go.
∑7∑∑∑∑∑∑MR. SATHER:∑Who do you have --
∑8∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
∑9∑∑∑∑∑∑MR. SATHER:∑-- up next?
10∑∑∑∑∑∑THE REPORTER:∑I'm sorry --
11∑∑∑∑∑∑MR. BALLASES:∑Osama.
12∑∑∑∑∑∑THE REPORTER:∑Okay.
13∑∑∑∑∑∑MR. CHOUDHRI:∑Mr. Ballases --
14∑∑∑∑∑∑MR. BALLASES:∑Osama's ready to go.
15∑∑∑∑∑∑MR. CHOUDHRI:∑Time out.∑I just want to get
16∑∑this on the record very clearly, Mr. Ballases.
17∑∑∑∑∑∑MR. BALLASES:∑Oh, Jesus.
18∑∑∑∑∑∑MR. CHOUDHRI:∑I just want to make it --
19∑∑∑∑∑∑MR. BALLASES:∑It's on the record clearly.
20∑∑Stop wasting time.
21∑∑∑∑∑∑MR. CHOUDHRI:∑You are not willing to
22∑∑cooperate to resume the deposition of Omar Khawaja
23∑∑absent a court order.∑Is that your position?
24∑∑∑∑∑∑MR. BALLASES:∑I've stated my position.∑Let's
25∑∑move forward.


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       OMAR KHAWAJA                                                  September 11, 2024
       TEXAS REIT LLC                                                               228

∑1∑∑∑∑∑∑Let's take a two-minute break, and then
∑2∑∑Osama's going to be in this chair.
∑3∑∑∑∑∑∑THE REPORTER:∑Okay.∑So I am going off the
∑4∑∑record.
∑5∑∑∑∑∑∑(End of proceedings at 3:31 p.m.)
∑6
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                               EXHIBIT 6




                                                                           000721
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                   THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


                                            )
                                            )
In re:                                      )            Chapter 11
                                            )
GALLERIA 2425 OWNER, LLC,                   )            Case No. 23-34815
                                            )
                              Debtor.       )
                                            )
                ________________________________________________

   ORDER GRANTNG MOTION TO COMPLY WITH THE GATEKEEPING
        PROVISIONS OF THE CONFIRMED CHAPTER 11 PLAN
          _________________________________________________

       BEFORE THE COURT is the Motion to Comply with the Gatekeeping Provisions
of the Confirmed Chapter 11 Plan.

         The Court hereby GRANTS the motion.

      IT IS THEREFORE HEREBY ORDERED that the claims raised by Ali Choudhri
and Naissance Galleria, LLC against the Bank can proceed in the following cases:

               Naissance Galleria, LLC v. Zaheer, et al., Cause No. 2023-
               43755, pending in the 80th District Court of Harris County,
               Texas;

               Galleria 2425, LLC, Naissance Galleria, LLC and Choudhri
               v. NBK, Adversary Case No. 23-06009, pending in this Court;
               and

               Choudhri v. NBK and Zaheer, Adversary Case No. 23-03263,
               pending in this Court.



Dated:                      ______________________________________

                            UNITED STATES BANKRUPTCY COURT




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                               EXHIBIT 7




                                                                           000723
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               IN RE GALLERIA 2425 OWNER, LLC, CASE NO. 23-34815
                         SERVICE LIST (a/o July 2, 2024)

Debtor:                                   Twenty Largest Creditors:
Galleria 2425 Owner, LLC                  Caz Creek Lending
1001 West Loop South Ste 700              118 Vintage Park Blvd No. W
Houston, TX 77027                         Houston, TX 77070

Debtor’s Counsel:                         Cirro Electric
Reese W. Baker                            P O Box 60004
Baker & Associates                        Dallas, TX 75266
950 Echo Lane Ste 300
Houston, TX 77024                         City of Houston
                                          P O Box 1560
James Q. Pope                             Houston, TX 77251-1560
The Pope Law Firm
616 Savoy Drive Ste 1125                  City of Houston Water Department
Houston, TX 77036                         P O Box 1560
                                          Houston, TX 77251-1560
U.S. Trustee:
Office of United States Trustee           Datawatch Systems
Attn: Jana Smith Whitworth                Suite 200
515 Rusk Street Suite 3516                4520 East West Highway
Houston, TX 77002                         Bethesda, MD 20814

Chapter 11 Trustee:                       Firetron
Christopher R. Murray                     10101A Stafford Centre Dr.
602 Sawyer Street Ste 400                 Stafford, TX 77477
Houston, TX 77007
                                          First Insurance Funding
Chapter 11 Trustee’s Counsel:             450 Skokie Blvd
R. J. Shannon                             Northbrook, IL 60062
Shannon & Lee LLP
2100 Travis Street Ste 1525               Gulfstream Legal Group
Houston, TX 77002                         1300 Texas Street
                                          Houston, TX 77002
Governmental Entities:                    (Returned to Sender / Unable to Forward)
Harris County Tax Assessor
P O Box 4622                              Gulfstream Legal Group
Houston, TX 77210                         720 N Post Oak Rd Ste 355
                                          Houston, TX 77024
Harris County, et al.
P O Box 2928                              Hayward PLLC
Houston, TX 77252-2928                    10501 N Central Expy Ste 106
                                          Dallas, TX 75231-2203




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HNB Construction, LLC                          ADT
521 Woodhaven                                  P O Box 382109
Ingleside, TX 78362                            Pittsburgh, PA 15251

Houston Community College System               Ali Choudhri
c/o Tara Grundemeier                           1001 West Loop South 700
Linebarger, Groggan, Blair & Sampson           Houston, TX 77027
P O Box 3064
Houston, TX 77253-3064                         Ash Automated Control Systems, LLC
                                               P O Box 1113
Houston Independent School District            Fulshear, TX 77441
P O Box 4668
Houston, TX 77210                              CFI Mechanical, Inc.
(Returned to Sender / Unable to Forward)       6109 Brittmoore Rd
                                               Houston, TX 77041
Lexitas
P O Box 734298 Dept 2012                       CNA Insurance Company
Dallas, TX 75373                               P O Box 74007619
                                               Chicago, IL 60674
Nationwide Security
2425 W Loop South Ste 300                      Comcast
Houston, TX 77027                              P O Box 60533
(Returned to Sender / Unable to Forward)       City of Industry, CA 91716

Nichamoff Law Firm                             Environmental Coalition Inc.
2444 Times Blvd Ste 270                        P O Box 1568
Houston, TX 77005                              Stafford, TX 77497

T&R Mechanical                                 Ferguson Facilities Supplies
21710 White Oak Drive                          P O Box 200184
Conroe, TX 77306-8848                          San Antonio, TX 78220
(Returned to Sender / Unable to Forward)
                                               Jetall Companies Inc.
TKE                                            2425 West Loop South Ste 1100
3100 Interstate North Cir SE 500               Houston, TX 77027-4210
Atlanta, GA 30339
                                               Kings 111 Emergency Communications
Zindler Cleaning Service Co.                   751 Canyon Drive Suite 100
2450 Fondren Ste 113                           Coppell, TX 75019
Houston, TX 77063
                                               Logix Fiber Networks
Other Creditors / Interest Holders:            P O Box 734120
2425 WL, LLC                                   Dallas, TX 75373
60 West 2nd Street
Freeport, NY 11746



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Mueller Water Treatment                        Executory Contract Counterparties:
1500 Sherwood Forest Dr                        2425 West Loop LLC dba Metwall Design
Houston, TX 77043                              Solutions LLC
                                               2425 West Loop South Ste 800
Smart Office Solutions                         Houston, TX 77027-4214
6623 Theall Road                               (Returned to Sender / Unable to Forward)
Houston, TX 77066-1213
(Returned to Sender / Unable to Forward)       2425 WL, LLC
                                               13498 Pond Springs Rd
Waste Management                               Austin, TX 78729-442
P O Box 660345                                 (Returned to Sender / Unable to Forward)
Dallas, TX 75266
                                               2425 WL, LLC
Metwall Design Solutions LLC                   700 Lavaca Street Ste 1401
10931 Day Road                                 Austin, TX 78701
Houston, TX 77043-4901                         (Returned to Sender / Unable to Forward)

US Retailers LLC d/b/a Cirro Energy            Bankable Equities
Attn: Bankruptcy Department                    2425 West Loop South Ste 600
P O Box 3606                                   Houston, TX 77027-4203
Houston, TX 77253-3606
                                               Boho Lounge
Naissance Galleria, LLC                        2425 West Loop South Ste 100
c/o Law Office of Nima Taherian                Houston, TX 77027-4205
701 N Post Oak Rd Ste 216                      (Returned to Sender / Unable to Forward)
Houston, TX 77024
                                               CNA Insurance Company
H.N.B. Construction, LLC                       P O Box 74007619
c/o Malcolm D. Dishongh                        Chicago, IL 60674
P O Box 2347
Humble, TX 77347-2347                          Eyebrows 4UTX LLC
                                               2425 West Loop South Ste 340b
CC2 TX, LLC                                    Houston, TX 77027-4205
14800 Landmark Blvd Ste 400
Dallas, TX 75254                               First Insurance Funding
                                               450 Skokie Blvd
MacGeorge Law Firm                             Northbrook, IL 60062
2921 E 17th St Bldg D Ste 6
Austin, TX 78702                               G3 Global Services LLC
(Returned to Sender / Unable to Forward)       2425 West Loop South Ste 310
                                               Houston, TX 77027-4208
MacGeorge Law Firm
701 Tillery Street Ste 12                      Galloworks
Austin, TX 78702                               2425 West Loop South Ste 400
                                               Houston, TX 77027-4205



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Jetall Companies Inc.                           Parties Requesting Notice:
2425 West Loop South Ste 1100                   Jeannie Lee Andressen
Houston, TX 77027-4210                          Tara Grundemeier
                                                Linebarger Goggan Blair & Sampson LLP
Kudrath Enterprises PLLC                        P O Box 3064
2425 West Loop South Ste 350                    Houston, TX 77253-3064
Houston, TX 77027-4208                          Counsel for City of Houston, Houston
                                                Community College System, and Houston
Nationwide Investigations & Security Inc.       ISD
2425 West Loop South Ste 300
Houston, TX 77027-4207                          Rodney Lee Drinnon
(Returned to Sender / Unable to Forward)        McCathern Houston
                                                2000 West Loop South Ste 1850
Shah Sloan LLC                                  Houston, TX 77027
2425 West Loop South Ste 501, 503 and 523       Counsel for Rodney Drinnon
Houston, TX 77027-4205
(Returned to Sender / Unable to Forward)        Susan Fuertes
                                                Harris County Attorney’s Office
SIBS International Inc.                         P O Box 2928
2425 West Loop South Ste 900                    Houston, TX 77252-2928
Houston, TX 77027-4205                          Counsel for Harris County, Attn: Property
(Returned to Sender / Unable to Forward)        Tax Division

SIBS International Inc.                         James Robert MacNaughton
2425 West Loop South Ste 350                    Porter & Powers PLLC
Houston, TX 77027                               5900 Memorial Drive Ste 305
(Returned to Sender / Unable to Forward)        Houston, TX 77027
                                                Counsel for 2425 West Loop, LLC
SprintCom Inc.                                  (Returned to Sender / Unable to Forward)
2425 West Loop South, Rooftop
Houston, TX 77027-4205                          James Robert MacNaughton
(Returned to Sender / Unable to Forward)        Porter & Powers PLLC
                                                1776 Yorktown St Ste 300
St. Christopher Holdings GP LLC                 Houston, TX 77056
2425 West Loop South Ste 700                    Counsel for 2425 West Loop, LLC
Houston, TX 77027-4205                          (Returned to Sender / Unable to Forward)

UL Therapy                                      James Robert MacNaughton
2425 West Loop South Ste 315                    Porter Firm, PLLC
Houston, TX 77027-4211                          2221 S. Voss Road, Suite 200
(Returned to Sender / Unable to Forward)        Houston, TX 77057
                                                Counsel for 2425 West Loop, LLC
Uptown Cosmetic and Implant Dentistry
2425 West Loop South Ste 333
Houston, TX 77027-4211



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Stephen Wayne Sather
Mark E. Smith
Barron Newburger, P.C.
7320 N Mopac Expy Ste 400
Austin, TX 78731
Counsel for 2425 WL, LLC

Howard Marc Spector
Spector & Cox, PLLC
12770 Coit Road Ste 850
Dallas, TX 75251
Counsel for CC2 TX, LLC

Broocks Wilson
Kean Miller LLP
711 Louisiana Suite 1800
Houston, TX 77002
Counsel for Sonder USA Inc.

Ali Choudhri
2425 West Loop South 11th Floor
Houston, TX 77027

David Tang
6711 Stella Link #343
West University Place, TX 77005
Counsel for Azeemeh Zaheer

Omar Khawaja
5177 Richmond Ave Ste 1065
Houston, TX 77056
Counsel for Azeemeh Zaheer




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                                                                                           United States Bankruptcy Court
                                                                                               Southern District of Texas

                                                                                                  ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                November 05, 2024
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

IN RE:                                                    §
                                                          §        CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                                 §
                                                          §
            Debtor.                                       §
                                                          §        CHAPTER 11

                                     ORDER RESETTING HEARING

       Hearing is reset on the Motion to Comply with the Gatekeeping Provisions of
the Confirmed Chapter 11 Plan (ECF No. 810) at 9:00 a.m. on December 3, 2024, in Courtroom
403, United States Courthouse, 515 Rusk St., Houston, Texas. The response deadline is 5:00
p.m. on November 22, 2024. Requested relief that is unopposed by written response prior to the
response deadline may be ruled on without the necessity of a hearing. The Court may grant or
deny any relief sought in any motion/application or objection without hearing based on
responsive pleadings. The movant shall serve a copy of this order on all affected parties within
24 hours and file a certificate of service; or file and serve a hearing notice within 24 hours,
which must include the response deadline.

      Parties should reference the Court’s website for in person hearing requirements and
connection instructions for virtual appearances.1

           SO ORDERED.

            SIGNED 11/05/2024


                                                              ___________________________________
                                                              Jeffrey Norman
                                                              United States Bankruptcy Judge




1
    https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-jeffrey-p-norman

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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

    In re:                                                   §
                                                             §        Case No. 23-34815 (JPN)
    GALLERIA 2425 OWNER, LLC                                 §
                                                             §        Chapter 11
             Debtor.                                         §

       NBK’S RESPONSE TO ALI CHOUDHRI’S MOTION TO COMPLY WITH THE
        GATEKEEPING PROVISIONS OF THE CONFIRMED CHAPTER 11 PLAN
                           [Relates to Docket No. 810]

TO THE HONORABLE JEFFREY P. NORMAN,
UNITED STATES BANKRUPTCY JUDGE:

             National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”), files this response (the

“Response”) to Ali Choudhri’s Motion to Comply with the Gatekeeping Provisions of the

Confirmed Chapter 11 Plan [Docket No. 810] (“Choudhri’s Motion”) 1 and represents follows:

                                        PRELIMINARY STATEMENT

             1.        The Court has provided Mr. Choudhri with every opportunity to participate in this

case and be heard. When attorneys for companies he owns were unwilling to make arguments to

the Court or pursue various lines of questioning with witnesses, the Court permitted Mr. Choudhri

to examine witnesses and make arguments, which were ultimately found to be nonsense. 2

             2.        Now, after three plus years of litigation involving two bankruptcy cases and several

state court lawsuits and bankruptcy adversary proceedings that have not gone his way,

Mr. Choudhri, rather than simply comply with the unstayed provisions of the confirmed Plan,


1
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in National Bank of Kuwait,
     S.A.K.P, New York Branch’s Emergency Motion to Enforce the Gate-Keeping Provisions of the Confirmed
     Chapter 11 Plan [Docket No. 758] (“NBK’s Motion”).
2
     “This Court having spent considerable time attempting to evaluate the actions and testimony of Ali Choudhri in
     this case both as a witness and as a pro se litigant. The Court, based on this analysis, holds that Choudhri must at
     times believe what he is telling the Court. Unfortunately, what he has told the Court, often in broad terms, is not
     supported by rational facts or any documentary evidence. It additionally often is totally untrue.” [Docket No. 565
     at 17-18] (the “Memorandum Opinion”).


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seeks to challenge its gatekeeping provisions, so that he can continue to harass NBK, arguing that

the Supreme Court “significantly constrained” this Court’s gatekeeping powers. That argument

fails for two reasons. First, Purdue Pharma did nothing to alter existing Fifth Circuit law, 3 so

nothing in Purdue Pharma requires this Court to reconsider the propriety of the Plan’s gatekeeping

provisions.

          3.       Second, Mr. Choudhri is barred from challenging the Plan’s gatekeeping

provisions. Although a company owned by Mr. Choudhri challenged and appealed the Plan’s

gatekeeping provisions, Mr. Choudhri did not. 4 As explained below, fourteen years ago the

Supreme Court foreclosed an after-the-fact attack on a confirmed plan by a party that never

objected or appealed, even if the challenged provisions contravene the Bankruptcy Code. United

Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 130 S.Ct. 1367, 176 L.Ed.2d 158 (2010). 5

          4.       Because there is neither a basis to challenge the Plan’s gatekeeping provisions nor

can Mr. Choudhri pursue a challenge given his failure to object to those provisions in the first

place, the next step for the Court would be to determine whether Mr. Choudhri has colorable claims

against NBK. But, as Mr. Choudhri himself acknowledges, 6 the Court has already made that

determination. Nevertheless, Mr. Choudhri asks the Court to reconsider because “the Plaintiffs

were not permitted to present, and the Court was not permitted to hear, a full airing of the evidence




3
    Non-consensual third-party releases have long been prohibited in the Fifth Circuit. See, e.g., Feld v. Zale Corp. (In
    re Zale Corp.), 62 F.3d 746, 760 (5th Cir. 1995) (overturing an injunction that effectively discharged a non-debtor).
4
    The only party to appeal the Confirmation Order was 2425 WL, LLC (“2425 WL”) [Docket No. 603].
5
    Any effort by Mr. Choudhri to even suggest that 2425 WL’s appeal should be treated like he appealed, or he should
    get some benefit here from that appeal should be rejected out of hand. Mr. Choudhri is currently opposing efforts
    to hold him and various of his entities alter egos of each other in other litigation pending before this Court, arguing
    each are distinct. See John Quinlan, et al. v. Jetall Companies, Inc., et al., Adversary No. 23-03141 (Bankr. S.D.
    Tex.). He cannot have it both ways.
6
    See Choudhri’s Motion at ¶ 33.

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to support the Plaintiffs’ claims,” 7 as though the Court must conduct a full trial before it can

determine whether a claim is colorable.

        5.       Then, instead of describing the unheard evidence and explaining how it would

affect the Court’s ruling, Mr. Choudhri points to (a) testimony the Court already heard and did not

believe, and (b) the pleadings in the Pending Actions, without identifying a single factual

allegation that the Court has not heard or that would (or even might) persuade the Court to reverse

its determination that Mr. Choudhri’s claims are “dubious,” “of limited value,” “primarily nuisance

litigation,” “not viable,” and “implausible.” 8 That is because there are none.

        6.       Additionally, Mr. Choudhri invokes the wrong legal standard for determining

whether his claims against NBK are colorable and asks the Court to accept his allegations as true. 9

This matter does not concern the fraudulent joinder rule, and the appropriate test is not “more

lenient” than the analysis applicable to a FED. R. CIV. P. 12(b)(6) motion. As explained below, the

Gatekeeper Colorability Test from Highland Capital is broader and requires an additional level of

review. The test permits a court to take into consideration its knowledge of the bankruptcy case

and the parties and any additional evidence and places the burden on Mr. Choudhri to make a

prima facie showing that his proposed claims are (a) not without foundation, (b) not without merit,

and (c) not being pursued for any improper purpose such as harassment.

        7.       The Court ordered Mr. Choudhri to show why the claims asserted in the Pending

Actions are colorable. 10 He has failed to do so. It is time for Mr. Choudhri’s vexatious litigation

against NBK to end, and he should be sanctioned.



7
   Id.
8
   Memorandum Opinion at 16-17.
9
   See Choudhri’s Motion ¶ 24.
10
   See Docket No. 779 at 2. The Court also ordered Naissance Galleria to show cause, but it has not. Accordingly,
   pursuant to the Court’s prior order, its claims against NBK must be dismissed. Id.

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                                               BACKGROUND

         8.       This Court previously entered a Memorandum Opinion in which the Court

determined that claims asserted by the Debtor and its principal Mr. Choudhri against NBK “are

not viable” based on evidence presented during the confirmation hearing, “especially the

documentary evidence.” 11 The Court found the disputes raised by the Debtor, primarily through

Mr. Choudhri, to be “dubious and of limited value that includes primarily nuisance litigation to

avoid foreclosure of the subject real estate.” 12 The Court also noted “two distinct facts (1) that the

Debtor via his principal has never been able to pay the original note, or his Confidential Settlement

Payment or his extended Confidential Settlement Payment which was a sizable discount on the

original amount of the Note; [and] (2) the record in this case does not support his sizable but

implausible claims.” 13 In rendering its opinion, the Court stated “Choudhri must at times believe

what he is telling the Court. Unfortunately, what he has told the Court, often in broad terms, is not

supported by rational facts or any documentary evidence. It additionally often is totally untrue.”14

         9.       During the confirmation hearing, the chapter 11 trustee testified that in the course

of his duties he investigated the Debtor’s claims against NBK. 15 He testified that (a) the releases

in favor of NBK in the Confidential Settlement Agreement (“CSA”) were likely enforceable; 16

(b) the Debtor and Mr. Choudhri failed to provide any documentary evidence to support its claims




11
   Memorandum Opinion at 16.
12
   Id.
13
   Id. at 17 (emphasis added).
14
   Id. at 17-18.
15
   See June 19, 2024 confirmation hearing transcript, attached as Exhibit A, at 122:4-9.
16
   See id. at 127:9-15.

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for events following the execution of the CSA; 17 and (c) any factual support for those claims was

“weak to non-existent.” 18

         10.      The claims evaluated by the Trustee and the Court during the confirmation hearing

included a litany of claims and alleged facts duplicated in multiple lawsuits by Mr. Choudhri,

whether in his own name or via various of his entities including the Debtor, Naissance Galleria,

LLC (“Naissance”), or 2425 WL. 19 For ease of reference, attached as Exhibit B, is a chart of the

pending claims asserted by the Debtor, Naissance, and Mr. Choudhri.

         11.      Specifically, the Court noted in its Memorandum Opinion that the claims asserted

by the Debtor, Naissance, and Mr. Choudhri against NBK in Adversary No. 23-03263 (“Choudhri

Intervention Action”), 20 commenced under this bankruptcy case, are the same as those asserted in

Adversary No. 23-06009 (“Galleria I Adversary”), commenced under the Debtor’s prior

bankruptcy case – namely “breach of the [CSA], tortious interference with contract, tortious

interference with business relations, fraud and fraudulent inducement/lender liability, fraudulent

conveyance, estoppel, breach of good faith and fair dealing, and unjust enrichment.” 21 The claims

in the Choudhri Intervention Action also include causes of action for conspiracy and federal

misrepresentation of services and unfair competition under the Lanham Act. 22 The Choudhri



17
   See id. at 129:22-130:8.
18
   See id. at 130:9-13.
19
   See Memorandum Opinion at 2. These claims included a number of causes of action previously nonsuited with
   prejudice by Debtor as to NBK in Cause No. 2021-63370, Galleria 2425 Owner, LLC v. NBK, et al. pending in the
   District Court of Harris County, Texas, 281st Judicial District, including claims for breach of the loan agreement
   in allegedly failing to approve leases or sale of the property, common law fraud in allegedly fraudulently inducing
   Debtor to enter the loan agreements, tortious interference with prospective relations and existing contracts including
   tenant leases, breach of fiduciary duty, and general good faith duty in allegedly failing to approve tenant leases.
   Plaintiffs’ Second Amended Petition attached as Exhibit C; Order on Plaintiffs’ Notice of Nonsuit as to Defendant
   National Bank of Kuwait, S.A.K.P. attached as Exhibit D.
20
   The Court referenced Adversary No. 23-34815 in its Memorandum Opinion. However, the removed case is
   Adversary No. 23-03263.
21
   See Memorandum Opinion at 2-3.
22
   See id. at 3.

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Intervention Action includes his Second Amended Petition in Intervention in which Choudhri

asserts claims for fraud, promissory estoppel, and equitable estoppel. 23 Although Mr. Choudhri

offers scant facts to support his claims in his Second Amended Petition, they appear to arise from

the CSA to the extent asserted against NBK. The Court dismissed with prejudice the Debtor’s

causes of action against NBK in the Choudhri Intervention Action. 24

        12.      Naissance also filed Cause No. 2023-43755, Naissance Galleria, LLC v. Azeemeh

Zaheer, Cause No. 2023-43755, in the 80th Judicial District Court of Harris County, Texas,

(“Naissance I”) and in that action filed Plaintiff’s Second Amended Petition & Emergency

Application for Temporary Restraining Order against NBK. 25 Naissance asserts the same claims

against NBK as those asserted in the Choudhri Intervention Action including breach of the CSA,

tortious interference with contract, tortious interference with business relations, fraud and

fraudulent inducement, business disparagement, and unjust enrichment. In support of the petition

in Naissance I, Mr. Choudhri declared under penalty of perjury that the facts and events set forth

in Plaintiff’s Second Amended Petition & Emergency Application for Temporary Restraining

Order against NBK were within his personal knowledge and true and correct. 26 As noted in

footnote 10, although it was ordered to show cause why its claims can be pursued consistent with

the Plan’s gatekeeping provisions, Naissance did not do so. Its claim against NBK, therefore, must

be dismissed. See Docket No. 779 at 2 (“The failure to timely file a Show Cause Motion by a

plaintiff shall be deemed to be an admission by that plaintiff that its Pending Action is an estate




23
   Adversary No. 23-03263, Docket No. 1-2 at 907.
24
   Adversary No. 23-03263, Docket No. 26.
25
   Attached as Exhibit E.
26
   Id. at 29.

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claim, or is not a colorable, non-estate claim, and the appropriate Pending Action shall be

permanently stayed, removed if necessary to this Court, and dismissed with prejudice.”).

                               ARGUMENT & AUTHORITIES

       A.      Mr. Choudhri Is Prohibited from Collaterally Attacking Confirmed Plan
               Provisions That He Did Not Object to or Appeal

       13.     “The Supreme Court has held that a confirmed plan may bind parties in interest

even if a plan provision contravenes the Bankruptcy Code.” In re Sanchez Energy Corp., 631 B.R.

847, 857 (Bankr. S.D. Tex. 2021).

       In United Student Aid Funds, Inc. v. Espinosa, a bankruptcy court confirmed a
       chapter 13 plan which improperly discharged a portion of the debtor’s student loan
       debt. 559 U.S. 260, 130 S.Ct. 1367, 176 L.Ed.2d 158 (2010). Like Occidental, the
       creditor received notice of the plan, but did not object to or appeal confirmation.
       Although the bankruptcy court confirmed the plan in error, the Supreme Court
       found that the confirmation order was “enforceable and binding on [the creditor]
       because [the creditor] had notice of the error and failed to object or timely appeal.”
       Id. at 275, 130 S.Ct. 1367.

       ...

       “An Order confirming a plan of reorganization is entitled to res judicata effect.” In
       re Wildwood Prop. Owners Ass’n, 2017 WL 3189874, at *7 (Bankr. S.D. Tex. July
       25, 2017) (citing Stoll v. Gottlieb, 305 U.S. 165, 170-71, 59 S.Ct. 134, 83 L.Ed. 104
       (1938)). “Federal courts have consistently applied res judicata principles to bar a
       party from asserting a legal position after failing, without reason, to object to the
       relevant proposed plan of reorganization or to appeal the confirmation order.” Id.

Id. 857-59.

       14.     “Espinosa makes clear that parties and the Court must adhere to the terms of a

confirmed plan. This is so even if the Court committed a legal error by confirming the plan.” In re

Sanchez, 631 B.R. at 857. Even if the scope of the gatekeeping provisions in the confirmed Plan

runs afoul of any requirement imposed by the Fifth Circuit’s Highland Capital opinion (which




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they do not), 27 there can be no question that the Court must apply them here as set forth in the

confirmed Plan.

           15.     Additionally, implicit in Choudhri’s Motion is an argument that, but for the

gatekeeping provisions, the Court would not have jurisdiction over the Pending Actions. But that

implicit argument is wrong.

           16.     There can be no question that this Court has related-to jurisdiction over the Pending

Actions. As this Court has held:

           The Supreme Court has noted “related to” bankruptcy proceedings include
           “(1) causes of action owned by the debtor which become property of the estate
           pursuant to 11 U.S.C. § 541, and (2) suits between third parties which have an effect
           on the bankruptcy estate.” Arnold v. Garlock, 278 F.3d 426, 434 (5th Cir.2001)
           (citing Celotex Corp. v. Edwards, 514 U.S. 300, 308 n.5, 115 S.Ct. 1493, 131
           L.Ed.2d 403 (1995)). The Fifth Circuit has stated that a matter is related to a case
           under title 11 if “the outcome of that proceeding could conceivably have any effect
           on the estate being administered in bankruptcy.” Wood, 825 F.2d at 93 (citing Pacor,
           Inc. v. Higgins, 743 F.2d 984, 994 (3rd Cir.1984)). Even when there is a possibility
           a suit may ultimately have no effect on the estate, this possibility is not enough to
           conclude there would be no conceivable effect. Id. “Certainty or even likelihood of
           such an effect is not a requirement.” Arnold, 278 F.3d at 434 (citing In re Canion,
           196 F.3d 579, 588 (5th Cir.1999)).

In re Mugica, 362 B.R. 782, 788 (Bankr. S.D. Tex. 2007) (emphasis added).

           17.     The Fifth Circuit has also held that related-to jurisdiction may extend to non-

debtors’ state-law disputes after the plan is confirmed. Feld v. Zale Corp. (In re Zale), 62 F.3d

746, 757-59 (5th Cir. 1995).

           18.     With respect to the “lender liability” claims cited throughout Choudhri’s Motion,

the Debtor was the borrower, and the estate released all of its claims against NBK under the Plan.




27
     Matter of Highland Cap. Mgmt., L.P., 48 F.4th 419 (5th Cir. 2022), cert. denied sub nom. Highland Cap. Mgmt.,
     L.P. v. Nex-Point Advisors, L.P., 144 S. Ct. 2714 (2024), and cert. denied sub nom. NexPoint Advisors, L.P. v.
     Highland Cap. Mgmt., L.P., 144 S. Ct. 2715 (2024).

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Nearly identical claims were asserted by Naissance in Naissance I, and the Galleria I Adversary

and Choudhri Intervention Action each of which are already pending in this Court.

          19.      Under these circumstances, there is no doubt that post-confirmation related-to

jurisdiction exists.

          20.      Furthermore, post-confirmation core jurisdiction also exists, and the evaluation by

this Court of the various claims asserted by Mr. Choudhri necessarily means comparing the

identical nature of those claims to the released estate claims. Mr. Choudhri has not established that

the claims he asserts are his direct claims against NBK, and not just repackaged estate claims that

have been released or dismissed altogether. If they are just repackaged estate claims, it is well

within this Court’s core jurisdiction to prohibit their prosecution in aid of confirmation of the Plan

and in the exercise of its inherent power to enforce its own order confirming the Plan and approving

the releases of estate claims against NBK. 28

          B.       The Appropriate Standard Is the Highland Capital Gatekeeper Colorability
                   Test

          21.      In Highland Capital, United States Bankruptcy Judge Jernigan undertook the most

comprehensive analysis of the proper standard to apply when determining the “colorability” of a

claim in the context of gatekeeping provisions in a chapter 11 plan.

          The court concludes that the appropriate standard to be applied in making its
          “colorability” determination in this bankruptcy case, in the exercise of its
          gatekeeping function pursuant to the two Gatekeeper Orders and the Gatekeeper
          Provision in this Plan, is a broader standard than the “plausibility” standard applied
          to Rule 12(b)(6) motions to dismiss. It is, rather, a standard that involves an
          additional level of review—one that places on the proposed plaintiff a burden of
          making a prima facie case that its proposed claims are not without foundation, are
          not without merit, and are not being pursued for any improper purpose such as
          harassment. Additionally, this court may, and should, take into consideration its
          knowledge of the bankruptcy proceedings and the parties and any additional
          evidence presented at the hearing on the Motion for Leave. For ease of reference,

28
     See Defendant National Bank of Kuwait, S.A.K.P., New York Branch’s Objection to Emergency Motion to Remand
     of Ali Choudhri [Adversary No. 03120, Docket No. 9].

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          the court will refer to this standard of “colorability” as the “Gatekeeper Colorability
          Test.” The court considers this test as a sort of hybrid of what the Barton doctrine
          contemplates and what courts have applied when considering motions to file suit
          when a vexatious litigant bar order is in place.

In re Highland Cap. Mgmt., L.P., No. 19-34054-SGJ-11, 2023 WL 5523949, at *41 (Bankr. N.D.

Tex. Aug. 25, 2023) (emphasis in original). Judge Jernigan emphasized “this bankruptcy case”

and “this Plan” because “[i]n determining what appropriate legal standard applies here in the

‘colorability’ analysis, the context in which the Gatekeeper Provision of the Plan was approved

seems very relevant.” Id. at *38.

          22.     To the extent that the FED. R. CIV. P. 12(b)(6) plausibility standard is applicable, a

court is not just permitted, but is required, to rely upon its judicial experience and common sense

in its application.

          The plausibility standard is not akin to a probability requirement, but it asks for
          more than a sheer possibility that a defendant has acted unlawfully. Factual
          allegations that are merely consistent with a defendant’s liability, stop short of the
          line between possibility and plausibility of entitlement to relief, and thus are
          inadequate. Accordingly, the requisite facial plausibility exists when the plaintiff
          pleads factual content that allows the court to draw the reasonable inference that
          the defendant is liable for the misconduct alleged. Determining whether a complaint
          states a plausible claim for relief is a context-specific task that requires the
          reviewing court to draw on its judicial experience and common sense.

Inclusive Communities Project, Inc. v. Lincoln Prop. Co., 920 F.3d 890, 899 (5th Cir. 2019)

(quotations and citations omitted) (emphasis added).

          23.     Thus, it is entirely appropriate for the Court to view Mr. Choudhri’s claims through

the lens of its knowledge of the bankruptcy proceedings and the parties, including the time “spent

over two days June 17 and 19, 2024, hearing specific evidence regarding the disputes between the

Debtor, its principal and the NBK,” 29 and any party’s credibility deficit resulting therefrom.




29
     Memorandum Opinion at 16.

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          C.      Mr. Choudhri’s Claims Do Not Satisfy Any of the Requirements Under the
                  Gatekeeper Colorability Test

          24.     As stated in NBK’s Motion, the Pending Actions assert the same basic facts and

claims that this Court found lacked foundation and merit. The lender liability claims in the Pending

Actions hinge upon an alleged breach by NBK of the CSA. These claims and NBK’s alleged

breach of the CSA were explored on several occasions in this case, including in the motion to

prohibit credit bidding, 30 at the hearing on NBK’s motion to convert, and – most thoroughly – at

the confirmation hearing.

          25.     The CSA was a key evidentiary document evaluated by the Court at the

confirmation hearing, including the following provisions whereby Mr. Choudhri waived claims

against NBK.

          (a) Acknowledgement of the Indebtedness. As of the Effective Date, Choudhri,
          Galleria and Naissance acknowledge and agree that NBK is owed $60,212,816.90
          under the Loan Documents, without defenses, setoffs, claims, counterclaims or
          deductions of any nature whatsoever, all of which are hereby expressly waived;

          (b) Acknowledgment of Existing Defaults. Galleria, Choudhri and Naissance
          further acknowledges and agrees that: (i) an Event of Default exists under the Loan
          Documents, (ii) any cure period with respect thereto has expired, (iii) all principal,
          interest, fees, costs and other charges due under the Loan Documents are fully
          accelerated and immediately due and owing to NBK without defenses, setoffs,
          claims or counterclaims or deductions of any nature whatsoever all of which
          are hereby expressly waived, . . . .

Memorandum Opinion at 5 (emphasis in original).

          26.     A cursory review of the Pending Actions makes clear that they allege claims based

on conduct that allegedly occurred before the CSA was executed. These claims have been

expressly released by Mr. Choudhri, and he presents no credible argument or fact that would

support vitiating Mr. Choudhri’s release.



30
     Docket No. 353.

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       27.      Furthermore, to the extent that Mr. Choudhri contends that there was a post-

execution breach of the CSA that should void the releases, or that gives rise to new post-execution

claims for breach, the Court found no evidence NBK breached the CSA, after evaluating the

documentary evidence and Mr. Choudhri’s own allegations.

       The Debtor’s principal strongly feels that he is a victim of unusual circumstance,
       COVID but mostly the actions of NBK. He strongly complains that the actions of
       NBK have caused him to default, face foreclosure and that it should pay for its
       actions [whatever they may be]. However, this totally ignores two distinct facts
       (1) that the Debtor via his principal has never been able to pay the original note, or
       his Confidential Settlement Payment or his extended Confidential Settlement
       Payment which was a sizable discount on the original amount of the Note; (2) the
       record in this case does not support his sizable but implausible claims. The Court
       notes two specific allegations. First, the allegation that NBK faces a large lender
       liability claim based on the CSA and second, that NBK breached that agreement
       first and therefore the Debtor’s breach of the CSA by not paying over $26 million
       dollars was somehow acceptable. The Court invites the parties to examine the
       record to find any evidence that either of these facts are true. Yes, the Debtor had
       lawyers testify that the Debtor had claims but they never explained how or why
       these claims arose, just that they existed. Additionally, the Court notes that the
       Chapter 11 Trustee interviewed these attorneys and discounted their claims. Their
       testimony was incomplete and not believable given the lack of documentary
       evidence. Just because a lawyer tells this Court or any Court that its client or
       potential client has a great claim for damages does not make it so or the presentation
       of evidence in hearings would become superfluous.

Memorandum Opinion at 17 (footnotes omitted) (emphasis added).

       28.      Because the Court found that NBK did not breach the CSA, Mr. Choudhri’s express

waiver of claims against NBK under the CSA remains in effect, and there is no claim for a post-

CSA breach. The claims asserted, therefore, are neither colorable nor viable.

       29.      Moreover, Choudhri’s Motion altogether fails to introduce any new documentary

evidence supporting the argument that the Court has not heard “a full airing of the evidence” before

concluding that Mr. Choudhri’s claims lack merit. Mr. Choudhri’s evidence has been presented

and found wanting. For example:

       •     Exhibit 3 to Choudhri’s Motion is attached to support the allegation Osama Abdullatif
             “arranged to have hard drives seized from Choudhri’s companies.” This allegation was

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              raised in the Motion to Disqualify Rodney Drinnon as Counsel [Adversary. No. 23-
              03259, Docket No. 10].

        •     Exhibit 4 to Choudhri’s Motion is attached to support the allegation that Abdullatif
              “arranged for Choudhri to be accused of a murder-for-hire plot to kill Abdullatif
              himself, which authorities dismissed as ‘a hoax.’” This allegation was raised in 2425
              WL, LLC’s Motion for Reconsideration and Relief from Judgment [Docket No. 740]
              concerning the disallowance of Proof of Claim No. 7, which the Court denied [Docket
              No. 743]

        •     Exhibit 5 to Choudhri’s Motion is attached to support the allegation that Abdullatif’s
              attorney “admits to representing Abdullatif and Zaheer in furtherance of Abdullatif’s
              avowed goal of seizing all of Choudhri’s business interests through litigation—under
              their theory: ‘If [Ali] own[s] it, we own it.’” This allegation was also raised in the
              Motion for Reconsideration and Relief from Judgment.

        30.      Leaving aside that none of these allegations involve alleged conduct by NBK, there

simply is nothing in Choudhri’s Motion that the Court has not already considered in assessing the

foundation and merit of the claims at issue. Furthermore, the Court has had ample opportunity to

assess Mr. Choudhri’s purpose for pursuing these claims and likewise found them to be improper.

Therefore, although the Gatekeeper Colorability Test requires that all three prongs – foundation,

merit, and purpose – be satisfied, Mr. Choudhri’s claims fail to satisfy a single component of the

test.

                                          CONCLUSION

        For the foregoing reasons, NBK respectfully requests that this Court deny Choudhri’s

Motion, enforce the Plan’s gatekeeping provisions by requiring the Pending Actions to be

dismissed, and sanction Mr. Choudhri for his continued pursuit, without any new evidence, of

claims this Court has already found to be meritless.




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DATED: November 20, 2024                PILLSBURY WINTHROP SHAW PITTMAN LLP

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                                        Counsel for National Bank of Kuwait, S.A.K.P., New
                                        York Branch


                              CERTIFICATE OF SERVICE

       I hereby certify that, on November 20, 2024, a true and correct copy of the forgoing
Objection was served via the Court’s CM/ECF system on all counsel of record who are deemed to
have consented to electronic service.

                                                    /s/ Charles C. Conrad
                                                      Charles C. Conrad




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                             EXHIBIT A




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   1                       UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
   2                              HOUSTON DIVISION

   3     In re                         )          CASE NO: 23-34815 (JPN)
                                       )
   4     GALLERIA 2425 Owner, LLC,     )          Houston, Texas
                                       )
   5               Debtor.             )          Wednesday, June 19, 2024
                                       )
   6                                   )          9:00 a.m. to 4:54 p.m.
         ------------------------------)
   7

   8                                      TRIAL

   9                   BEFORE THE HONORABLE JEFFREY P. NORMAN
                           UNITED STATES BANKRUPTCY JUDGE
  10

  11     APPEARANCES:

  12     For Debtor:                   REESE W. BAKER, ESQ.
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  14
         For 2425 WL, LLC:             H. GRAY BURKS, IV, ESQ.
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                                                                          000745
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         Proceedings recorded by electronic sound recording;
  25     Transcript produced by transcription service.

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   1          HOUSTON, TEXAS; WEDNESDAY, JUNE 19, 2024; 9:00 a.m.

   2                                (Call to Order)

   3                 CLERK:    All rise.

   4                 THE COURT:     Please be seated.      So we are on the

   5     record for Wednesday, June 19th, 2024.           It’s 9:00 a.m.

   6     There is one matter set on the docket.

   7                 I apologize for the air conditioning situation.

   8     We are working diligently to correct it, but sometimes I

   9     can’t control what goes on at the courthouse, and this is

  10     one of those situations.       All right.

  11                 23-34815, Galleria 2425 Owner, LLC.           Let me take

  12     appearances first please and we’ll just go around the room.

  13     Go ahead.

  14                 MR. TROOP:     I’m standing up here, Your Honor.

  15     Good morning, Your Honor.         Andrew Troop from Pillsbury

  16     Winthrop Shaw Pittman on behalf of National Bank of Kuwait.

  17     I am here today with my colleagues, Charles Conrad, Thomas

  18     Morris, and Kwame Akuffo.         We have some people on the line

  19     as well.

  20                 As a quick aside, Your Honor, thank you.           I meant

  21     to thank you on Monday.       But we actually had summer

  22     associates observing the hearing on Monday and taking up

  23     your bandwidth.      And we appreciate that.

  24                 Our corporate representative and a witness,

  25     Michael Carter, is also here today, Your Honor.

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   1                 THE COURT:     All right.    Thank you.     All right.

   2     The objecting parties.

   3                 MR. BAKER:     Reese Baker on behalf of the Debtor.

   4                 THE COURT:     Thank you, Mr. Baker.

   5                 MR. BURKS:     Good morning.     It’s Gray Burks, B-U-R-

   6     K-S, on behalf of 2425 WL.       Good morning.

   7                 THE COURT:     Thank you.    Good morning.

   8                 MR. SATHER:     Stephen Sather, also appearing on

   9     behalf of 2425 WL, LLC, Your Honor.

  10                 THE COURT:     Thank you so much.

  11                 MR. SHANNON:     Your Honor, just for the record

  12     since we’re here, RJ Shannon on behalf of the Chapter 7

  13     Trustee, Christopher Murray.

  14                 THE COURT:     Mr. Shannon, does the Trustee intend

  15     to take a position relative to plan confirmation?

  16                 MR. SHANNON:     The trustee supports confirmation,

  17     although we did not file anything in support.             But we do

  18     support the confirmation, Your Honor.

  19                 THE COURT:     You want to be involved in the witness

  20     process at all?

  21                 MR. SHANNON:     Not unless it’s the trustee being

  22     questioned, Your Honor.

  23                 THE COURT:     Okay, that’s fine.      All right.     Thank

  24     you.

  25                 All right, Mr. Troop, I think your client is the

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   1     plan proponent.     So you have the burden.         So I’ll let you

   2     make an opening statement if you want to make one.

   3                 MR. TROOP:     Sure, Your Honor.       First I would like

   4     to -- I do have a short opening statement where I suggest to

   5     you how I think the day should go, talk about where we are

   6     on a few things.

   7                 First, Your Honor, let’s just sort of lay the land

   8     in terms of what’s in play today.         Right?       There were

   9     several objections filed, mostly taxing authorities --

  10                 THE COURT:     Which both were withdrawn.

  11                 MR. TROOP:     They’ve been withdrawn.

  12                 THE COURT:     There are two pending objections right

  13     now I’m aware of though.

  14                 MR. TROOP:     Exactly.    That’s it.       Just two

  15     pending.    You speak much faster than I do, Your Honor.               So

  16     maybe Mr. Burks (indiscernible).

  17                 Your Honor, yesterday we spent some time with Mr.

  18     Burks about some things at the hearing.            So let me tell you

  19     what we have been able to agree to and what we haven’t been

  20     able to agree to.

  21                 We have agreed that between us there should only

  22     be three witnesses today.

  23                 THE COURT:     Okay.

  24                 MR. TROOP:     Michael Carter, the trustee, Chris

  25     Murray, and Mr. Choudhri.

                                                                             000750
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   1                  We also agreed to the admission of all the

   2     exhibits on our respective exhibits lists save two.

   3                  THE COURT:    So let’s go ahead and do that now so

   4     that it’s on the record and we can just basically deal with

   5     it.

   6                  So there’s an exhibit list from 531.          Is that the

   7     one you were making reference to?

   8                  MR. FITZMAURICE:     Your Honor, the bank’s exhibit

   9     list at 501.

  10                  THE COURT:    501.   We’re going way, way back, huh?

  11     Okay, so 501.     Any of the exhibit at 501 are exhibits that

  12     we are not admitting?

  13                  MR. FITZMAURICE:     Yes.   We understand that 2425

  14     objects to Exhibit 23, which is Mr. Carter’s declaration,

  15     and Exhibit 18, which we call on the list evidence of the

  16     bank’s ability to make its required plan payments.             But

  17     that’s the annual report.

  18                  THE COURT:    All right.    And so let’s do one thing

  19     at a time.     So as to 501, Mr. Burks, do you have any

  20     objection to any of the exhibits save and except 23 and 18

  21     which we’ll deal with in due course?

  22                  MR. BURKS:    Only half of 2425 WL -- and I’m

  23     looking at 501 Exhibits 1 through...

  24                  THE COURT:    501 actually only goes to 22 is what

  25     I’m seeing.

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   1                 MR. BURKS:     I have through 26.

   2                 MR. FITZSIMMONS:       So I think,    Your Honor, on the

   3     list there are some that are to be filed.              And they were

   4     filed in the future.       So they may actually have different

   5     ECF references when they actually hit the docket.

   6                 THE COURT:     Okay.    So let me just make sure the

   7     record is clear.     So I’m looking at the docket right now.

   8     And I’ll just show it to you.         It makes it easier.       Okay?

   9                 501 starts at Exhibit 1 and then goes through 21.

  10     But 21 references Exhibit 22.

  11                 MR. FITZSIMMONS:       So I think for these, Your

  12     Honor, as I understand the agreement it’s all of these save

  13     for, except for number 18.

  14                 MR. BURKS:     So at this point then from the

  15     exhibits that Your Honor has called, to make the record

  16     straight, Exhibits 1 through 17 --

  17                 THE COURT:     And again the problem with that, Mr.

  18     Burks, is Exhibit 1 through 17 doesn’t work electronically.

  19     It’s got to be by ECF number.         So that’s the reason I’m

  20     going ECF 501-1, dash two, dash three.           They don’t

  21     apparently match, which is part of the problem.              Yeah.

  22     Maybe whoever is on the record.

  23                 MR. BURKS:     And what am I stipulating to?         Do I

  24     have to look at each on the docket?

  25                 THE COURT:     Well, I haven’t looked at 501.            I

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   1     don’t know.     I mean -- but so you get to Exhibit --

   2                  MR. BURKS:    May I have a moment?         I see what

   3     you’re doing.     May I have a moment?

   4                  THE COURT:    Yeah.    Uh-huh.

   5                  MR. BURKS:    Mr. Troop will help me.

   6                  THE COURT:    And if you want to look -- I can pull

   7     them up and show you what they are if you want to know.

   8                  MR. BURKS:    The way I understand it works is for

   9     501 for the ECF numbers, Exhibit 1 is 501.1.

  10                  THE COURT:    That’s correct.

  11                  MR. BURKS:    Exhibit 2 is --

  12                  THE COURT:    So the docket is going to reflect that

  13     I admit exhibits by ECF number.         ECF 501-1, 501-2, 501-3.

  14     The exhibit numbers mean nothing to me.

  15                  MR. TROOP:    Right.    So for your --

  16                  MR. BURKS:    I’m with you.

  17                  MR. TROOP:    Okay.

  18                  MR. BURKS:    May I see, Your Honor, will you click

  19     on 501-18?

  20                  THE COURT:    Sure.

  21                  MR. BURKS:    And maybe scroll down?

  22                  THE COURT:    It’s going to come.         It just takes a

  23     minute to download.

  24                  MR. BURKS:    All right.

  25                  THE COURT:    That is 501-18.

                                                                           000753
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   1                 MR. BURKS:     Can you scroll up?

   2                 THE COURT:     That’s the top of the document.         If

   3     you want to look at the top, it says 501-18.

   4                 MR. BURKS:     So what I stipulated to was 501-19.

   5     May I see 17?

   6                 THE COURT:     Sure.   Hold on for one second.        Did

   7     you say 17?

   8                 MR. BURKS:     Yes, please.

   9                 THE COURT:     Seventeen looks like it’s marked

  10     Exhibit 18.

  11                 MR. TROOP:     Your Honor, I can help clear this up.

  12     Okay?

  13                 MR. BURKS:     Because I don’t know...

  14                 MR. TROOP:     There is a disconnect in terms of

  15     between this exhibit list and what actually got filed.               The

  16     document that Mr. Burks wants to object to is the document

  17     that is entitled Evidence of Feasibility, Your Honor.              And

  18     we’ll look for that exact ECF number for you and bring it up

  19     and make it clear on the record that Mr. Burks has not

  20     agreed to the admission of that exhibit.

  21                 THE COURT:     So let’s just do this.       I’ll

  22     conditionally admit everything in 501 except whatever comes

  23     up that we’re not going to stipulate to.           Okay?

  24                 And Mr. Burks is grimacing, and I understand his

  25     grimace.

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   1                  MR. BURKS:    I don’t know what I’ve just stipulated

   2     to.     So I’m looking at a list that’s apparently on the right

   3     list.

   4                  THE COURT:    Well, I think it’s the right list.              I

   5     think it’s just the way it’s been filed.           And the problem is

   6     how we’re going to refer to it on the record.             So why don’t

   7     we --

   8                  MR. BURKS:    All right.     Let’s try this.

   9                  THE COURT:    Okay.

  10                  MR. BURKS:    We can stipulate to everything except

  11     in the exhibit entitled Evidence of NBK’s Ability to Make

  12     its Required Plan Payments and an exhibit called Carter’s

  13     Declaration.

  14                  With that said --

  15                  THE COURT:    Hold on.

  16                  MR. BURKS:    I know.    With that said, may I reserve

  17     the right when I see an exhibit that I --

  18                  THE COURT:    To object to it.

  19                  MR. BURKS:    I didn’t know that I was stipulating

  20     to that I object to, that I may object to it.             Because this

  21     is a little awkward because I don’t know what I’m -- I don’t

  22     know what I’m stipulating to.

  23                  THE COURT:    That’s fine.

  24                  MR. TROOP:    We’re fine with that, Your Honor.           I

  25     think conceptually we all understand that (indiscernible)

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   1     been reserved.

   2                 THE COURT:     All right.     Mr. Sather, do you have

   3     something you want to say?

   4                 MR. SATHER:     I was just going to say that those

   5     two documents were filed as one document at 514-2 as an

   6     attachment to the bank’s brief.

   7                 THE COURT:     Okay.     All right.     So the record is

   8     clear, I am going to admit Exhibits 501-1 to 501-22 with the

   9     exception of anything that references the evidence of NBK’s

  10     ability to make plan payments and then the Carter

  11     Declaration plus Mr. Burks reserves the right to object to

  12     any other document that basically comes up during testimony.

  13                 MR. BURKS:     Because 1 through 22 may include --

  14     I’m looking at --

  15                 THE COURT:     I understand.     And I reserve your

  16     right to object to it.       Okay?     So those are now done.

  17                 Is there other exhibits that Mr. Burks has that

  18     we’re going to stipulate to admissibility?

  19                 MR. TROOP:     Your Honor, we will stipulate to the

  20     admissibility of all of the documents.             With respect to some

  21     of them, Your Honor, that were filed yesterday, we

  22     understand that they were intended to be used to address

  23     some question as to whether or not the sale was going to

  24     include furniture (indiscernible) equipment that it is

  25     alleged that the trustee doesn’t own.             And I believe that we

                                                                           000756
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   1     agreed yesterday that the asset purchase agreement is

   2     intended only to purchase that which the Trustee can

   3     transfer to us.     If the Trustee can’t transfer to us --

   4                  THE COURT:    Which is the rule of law anyway.

   5                  MR. TROOP:    Exactly.

   6                  THE COURT:    So --

   7                  MR. TROOP:    No skin off our nose, Your Honor.           I’m

   8     not -- I’m just saying I think --

   9                  THE COURT:    Mr. Burks, do you have exhibits that

  10     you want me to put into evidence right now given the

  11     stipulation?

  12                  MR. BURKS:    Yes, Your Honor.      I don’t know the ECF

  13     numbers.

  14                  MR. SATHER:    We’ve been using 499, which was

  15     Reese’s set.     And it would be 1 through 93.         Before we get

  16     into all the supplemental ones.

  17                  MR. BURKS:    Yes, Your Honor.      At this point I

  18     offer into evidence 2425 WL’s Exhibits 499-1, 499-2, 499-3,

  19     499-5, 499-6, 499-7, 499-8, 499-9, 499-10, 499-12, 499-34,

  20     546 -- may see the Docket 541 -- 546.           So I understand what

  21     you’re doing.     And I just want to make sure that I’m

  22     referring to the correct ECF numbers, Your Honor.

  23                  THE COURT:    It’s the exhibit list you filed

  24     yesterday.

  25                  MR. BURKS:    So what I called Exhibit 96, is that

                                                                           000757
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   1     546-1?

   2                 THE COURT:     I don’t know without looking.         Bear

   3     with me for one second.

   4                 MR. BURKS:     And, Mr. Troop, you’re following along

   5     with me so I can make sure our stipulation is accurate?

   6                 MR. TROOP:     We are keeping up.

   7                 MR. BURKS:     Thank you.

   8                 THE COURT:     That’s it right there?

   9                 MR. BURKS:     Yes.   That is -- and that’s 546-1?

  10                 THE COURT:     Mm-hmm.

  11                 MR. BURKS:     All right.     So offer into evidence

  12     546-1, 546-2, 546-3, 546-4, 546-5, and 546-6.             May I see 6

  13     on the screen just so I know that I’ve got this right?

  14     That’s what I offer at this time, Judge.

  15                 THE COURT:     All right.     Then I will admit based on

  16     the lack of objection by Mr. Troop 499-1 through 10, 499-12,

  17     499-34, 546-1, 546-2, 546-3, 546-4, 546-5, and 546-6.

  18                 MR. BURKS:     Reserve the right to of course call --

  19     offer any rebuttal exhibits, Judge.

  20                 THE COURT:     That’s fine.

  21                 MR. BURKS:     Thank you.

  22                 THE COURT:     Mr. Troop, back to you.

  23                 MR. TROOP:     Mr. Baker.     I’m sorry.

  24                 MR. BAKER:     On behalf of the Debtor, we would like

  25     to also have the same exhibits that 2425 WL is offering.

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   1                 THE COURT:     They are admitted on the record and

   2     you can use them for whatever purpose you would like, Mr.

   3     Baker.

   4                 MR. BAKER:     Thank you.

   5                 THE COURT:     Thank you.

   6                 MAN 1:    Your Honor, there are a number of people

   7     on GoToMeeting who I don’t believe had an opportunity to

   8     announce their appearance, including the U.S. Trustee.

   9                 THE COURT:     The only person that I’m currently

  10     seeing is Mr. Choudhri, and I am taking notice of his

  11     position.    So we’re good to go.        Thank you.      Ms. Whitworth,

  12     do you want to make an appearance?

  13                 MR. CHOUDHRI:     Your Honor?

  14                 THE COURT:     Mr. Choudhri, hold on for one second.

  15     Ms. Whitworth, do you want to make an appearance?

  16                 MS. WHITWORTH:     Yes.     Good morning, Judge.       Jana

  17     Whitworth on behalf of the United States Trustee.               Thank

  18     you.

  19                 THE COURT:     All right.     Thank you.

  20                 MR. TROOP:     Thank you.

  21                 THE COURT:     Mr. Choudhuri, I note your appearance

  22     for the record.      Do you have something else you want to say?

  23                 MR. CHOUDHRI:     Yes, Your Honor.         I would like to

  24     make (indiscernible) and I would like to --

  25                 THE COURT:     Excuse me, sir.      I didn’t -- go ahead.

                                                                            000759
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   1                   MR. CHOUDHRI:     Yes, Your Honor.         I would like to

   2     make an appearance and I would like to announce my

   3     appearance and I would like to make an oral motion right

   4     now, Your Honor, for continuance.           I have felt very, very

   5     ill yesterday.      I’m not in good condition.            And I would

   6     refer to ECF number document 442-1, which I presented for a

   7     continuance that I believe was denied, Your Honor.                 But

   8     since then I have felt very, very ill yesterday and I am not

   9     in good condition.         And so I don’t want to be forced to go

  10     forward.      So I would ask for a very short continuance, Your

  11     Honor.      So I would like to make an oral motion of that due

  12     to my stroke that I am -- that I suffered from.

  13                   And then second, the doctor on the 6th and 7th of

  14     June and I was advised by the cardiologist that I should not

  15     take on any stress or work until July 7th.                I’ve been in the

  16     hospital fighting for my health, I’m fighting for my

  17     finances.      So I would urge for -- an oral motion here for an

  18     emergency continuance of this hearing.             That’s my first oral

  19     motion, Your Honor.

  20                   THE COURT:     All right.    Mr. Choudhri, let me rule

  21     on your oral motion.         And let me be clear for the record.

  22                   The first problem you have, Mr. Choudhri, is the

  23     fact that we have at this point in time one, two, three,

  24     four, five, six, seven, eight, nine lawyers in the courtroom

  25     who are all billing at very, very high rates.                And for you

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   1     to come in at the last minute and ask for a continuance I

   2     think is unfortunately too little too late.

   3                  I also will state for the record, Mr. Choudhri,

   4     that you are a little bit like the boy who cries wolf.

   5     Okay?   I’ve seen an emergency motion to continue this

   6     hearing based on a stroke.       Two days later you appeared at a

   7     hearing.     You appeared at a nine-hour hearing the other day

   8     where you appeared to do just fine where counsel got up and

   9     said that you were suffering so badly that you couldn’t even

  10     participate and you participated a great deal.             Okay?

  11                  I hold all those things against you, Mr. Choudhri.

  12     I am going to deny your motion.         Thank you.

  13                  Do you have another motion you want to make?

  14                  MR. CHOUDHRI:    I do, Your Honor.        I would like to

  15     make a motion because when the motion for continuance was

  16     made by 2425 WL, as I walked in the courtroom, I was asking

  17     to make a motion for a continuance.          Your Honor would not

  18     hear it --

  19                  THE COURT:    I am denying any sort of request for a

  20     continuance at this point in time, Mr. Choudhri.             If that’s

  21     what you intend to argue or make a motion for, I’m not going

  22     to hear it.     Do you have some other motion you want to make?

  23                  MR. CHOUDHRI:    I do, Your Honor.        I would make a

  24     motion based on the fact that after that motion for

  25     continuance was filed, Your Honor went outside the record to

                                                                            000761
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   1     investigate the motion.       And I believe Your Honor is biased

   2     against me and investigating the case outside of the record

   3     that was before you.       You had made some comments, Your

   4     Honor, that you had spoken to maybe --

   5                 THE COURT:     I did speak to Judge Isgur about your

   6     appearance in front of him.        That’s correct.      I don’t

   7     consider that to be improper our outside the record or

   8     create any sort of problem for me hearing your case.

   9                 MR. CHOUDHRI:     Right, well --

  10                 THE COURT:     And so I will acknowledge on the

  11     record, I did do that.

  12                 MR. CHOUDHRI:     So my mental abilities are limited

  13     --

  14                 THE COURT:     Mr. Choudhri, I’m going to cut you

  15     off.    I’ve ruled on your motion.       We’re done.      All right?

  16     You may participate in this hearing.          I’m willing to let you

  17     participate.     I’m willing to let you make whatever arguments

  18     you want to make.     I’m not continuing this hearing.            Mr.

  19     Troop, back to you.

  20                 MR. CHOUDHRI:     Your Honor --

  21                 MR. TROOP:     Thank you.

  22                 MR. CHOUDHRI:     -- are you denying the motion --

  23                 THE COURT:     Mr. Choudhri, no.      I already denied it

  24     on the record, Mr. Choudhri, for all the reasons I just

  25     said.    Okay?   Thank you.    Thank you.

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   1                 MR. CHOUDHRI:     The motion for -- excuse me, Your

   2     Honor.

   3                 THE COURT:     It’s denied.     Thank you.

   4                 Mr. Troop?

   5                 MR. TROOP:     Thank you, Your Honor.        Why don’t we

   6     stay on some procedural housekeeping matters.

   7                 THE COURT:     Sure.

   8                 MR. TROOP:     This morning,     Your Honor, there was a

   9     witness list and exhibit list filed by Jetall, which is an

  10     affiliate of Mr. Choudhri.         They have not objected.        They

  11     don’t have an objection on file.          And as far as I can tell -

  12     - I mean, I don’t know whether they have a lawyer on the

  13     phone or not, but there are entities, Your Honor.              That

  14     strikes me as late, inappropriate ambush and the like.                And

  15     I would move that that witness list and exhibit list be

  16     stricken.

  17                 THE COURT:     And is that -- I’m not seeing that on

  18     the record.    Is it just -- I mean...

  19                 MR. TROOP:     Try 548, Your Honor.        ECF 548.

  20                 THE COURT:     Okay.    Bear with me for one second.

  21     So let me just be clear.       I came in the courtroom at 8:00

  22     and set up my computer system.         All right?      It loads the

  23     docket at that point in time.         So the record is clear, this

  24     is what the docket reflects.         It reflects only the 547,

  25     which means it was filed after 8:00 this morning.              All

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   1     right?

   2                 MR. TROOP:     Yes, Your Honor.

   3                 THE COURT:     I’m going to refresh now and look at

   4     it.

   5                 There is an exhibit witness list followed by

   6     Jetall Companies on -- after 8:00 this morning at 548.                I’m

   7     going to find that it’s untimely, that it’s late, that the

   8     objection deadline for objections to confirmation have

   9     passed and that Jetall Companies Inc. can’t participate in

  10     the confirmation hearing.       And so the record is clear, the

  11     Court spent a great deal of time preparing for this hearing.

  12     There were at the time of my review after the objection

  13     deadline four objections to confirmation.              286, which is the

  14     City of Houston objection that has been withdrawn; an

  15     objection by CC2 which was filed late, which I was going to

  16     disallow but was also withdrawn; an objection by the debtor

  17     at ECF 409 and an objection by 2425 WL LLC at 401.               Those

  18     are the two objections I plan to hear.           All right?      Thank

  19     you.

  20                 MR. TROOP:     In that regard, Your Honor, just again

  21     to make the record clear, 2425 WL filed a supplemental

  22     objection on Friday, on 5/26.        We have filed a response to

  23     that saying it’s both untimely, the three new objections

  24     that were raised, the reasons given, which were we

  25     identified them after the deadline, we identified clearly

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   1     how there’s nothing in there that wasn’t known by the

   2     original deadline --

   3                  THE COURT:     Hold on one second.         Let me mute

   4     everybody on the line.        Just mute everybody.         Thank you so

   5     much.

   6                  MR. TROOP:     I’m sorry, Your Honor.

   7                  THE COURT:     I’ll come back to the parties online.

   8     Go ahead.

   9                  MR. TROOP:     And, Your Honor, we identified that it

  10     was all -- everything they needed to know they knew by the

  11     time the original June 3rd objection.            They will argue on

  12     one of them with regard to voting that the summary of votes

  13     wasn’t filed until June 7th -- on Friday the 10th as I

  14     recall.     But it was perfectly clear that the NBK votes were

  15     being voted in favor of the plan.          There was no reason to

  16     wait ten days, to the Friday before the original hearing

  17     that was scheduled to file at the end of the day

  18     supplemental objections on things that were at least well

  19     known for ten days.        That’s just unfair, Your Honor.            It is

  20     additional ambush.

  21                  But I can address the merits as well of that

  22     particular one when you’d like.          But effectively I think --

  23                  THE COURT:     So let me just make this ruling on the

  24     record.     The deadline for filing objections to the plan was

  25     June 3rd, 2024.     All right?      If it truly is a supplemental

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   1     response that simply basically amplifies what’s previously

   2     been filed, I am more than happy to hear it.              To the extent

   3     that it raises new objections, I’m not going to hear it.

   4     It's not timely.     Thank you.

   5                 MR. TROOP:     And again, Your Honor, I misspoke.

   6     That supplemental objection was filed on Sunday, the day

   7     before the hearing and not the Friday before the hearing.

   8     The record will show what it shows, Your Honor.

   9                 THE COURT:     It shows what it shows.         But again

  10     what’s important is the reason the Court sets deadlines is

  11     because it then enforces those deadlines.              Thank you.

  12                 MR. TROOP:     Thank you, Your Honor.         So with that,

  13     Your Honor, the way I think I would like -- I propose we

  14     proceed today --

  15                 THE COURT:     Go ahead.

  16                 MR. TROOP:     -- is that I’m going to give a very

  17     high-level overview of what we’re here for today and what I

  18     at least see as the significant issues for you to decide.                    I

  19     would yield to the objecting parties and ask them to do the

  20     same at the high level.       (indiscernible) witnesses at the

  21     end.   Mr. Akuffo, our colleague, will go through the

  22     confirmation requirements and discuss how they’ve been

  23     satisfied to sort of wrap it up.         Then I will probably

  24     address any other issues that have been raised during the

  25     course of the day.       Although I guess we have to go last as

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   1     the moving party.      So right before we talk, they get to talk

   2     about what they think about confirmation.               Sorry about that,

   3     Your Honor.

   4                   THE COURT:    All right.

   5                   MR. TROOP:    Sorry about that.

   6                   Your Honor, at a very high level we are here today

   7     on the confirmation of the liquidating proposed by NBK

   8     today.      There is -- there is no other alternative available

   9     and all of the confirmation requirements have been

  10     satisfied.

  11                   Your Honor, you have made perfectly clear that the

  12     issue that appears to be foremost in the Court’s mind and

  13     the parties’ minds based upon what’s been filed so far today

  14     is whether this plan has been proposed in good faith.

  15                   And in that regard, Your Honor, I think there’s

  16     really no dispute about the background here that led to this

  17     case.    A loan that wasn’t paid, an effort to foreclose.

  18     Multiple, multiple pieces of litigation in state court, a

  19     Chapter 11 filing on the eve of a foreclosure, a dismissal

  20     by Judge Lopez, a refiling again on the eve of the

  21     foreclosure, a motion by NBK to convert the case because it

  22     was very clear that this case, this asset required an

  23     independent fiduciary to manage its going-forward basis.

  24                   At that hearing, you decided not to appoint -- not

  25     to convert the case, but rather to appoint a Chapter 11

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   1     Trustee.      Mr. Murray became the independent fiduciary.               We

   2     were the secured creditor.         We are the secured creditor, the

   3     largest secured creditor.         Exclusivity terminated and we

   4     needed a plan -- and this is in the colloquial sense -- to

   5     move this case forward to conclusion.             And the viable way to

   6     do that was to propose a plan of reorganization since we

   7     were in Chapter 11.         We have the right to do so, and we did.

   8     And it is a fair plan, Your Honor.            It was proposed in good

   9     faith.      You’ll hear testimony that as the fiduciary for the

  10     estate, we negotiated with Mr. Murray about the plan.                The

  11     plan terms were changed to accommodate some, not all of its

  12     requests, like you would expect in any negotiation.                And

  13     then we move forward in a transparent and open manner.

  14                   We have proposed a plan in good faith that, yes,

  15     provides NBK with releases of estate claims and we have

  16     proposed a plan of reorganization which enforces that

  17     release both through injunctions and a gatekeeping

  18     provision.      But the gatekeeping provision, Your Honor, is

  19     not at all implicated by Highland Capital in the decision by

  20     the Fifth Circuit where the issue was whether or not

  21     gatekeeping could be used in that case to protect someone

  22     who was arguably not on the narrow list but nonetheless was

  23     sort of a quasi-fiduciary in a third-party release kind of

  24     way.     All claims, any claims related to the Debtor or the

  25     estate were typically post-petition exculpation claims.

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   1     Emphasize that, Your Honor.        The issue in Highland was

   2     exculpation.

   3                 The plan has been modified to make it clear that

   4     the only party receiving exculpation is the Chapter 11

   5     trustee.    I don’t think there can be any dispute that the

   6     Chapter 11 Trustee is a fiduciary covered by (indiscernible)

   7     entitled to be exculpated and protected both by injunctions

   8     and by gatekeeping.

   9                 So the only question is whether on the facts of

  10     this case, which are not dissimilar in some ways to

  11     Highland, having a non-debtor who is very litigious and

  12     arguably trying to pursue estate claims cabined in some way

  13     in terms of this conduct or the company’s conduct.               Similar

  14     there, but dissimilar because the gatekeeping function as it

  15     relates to NBK is only with respect to released claims.

  16     Released claims against NBK are only estate claims.

  17                 And the alternative, Your Honor, is that every

  18     time NBK would get sued, they would remove the case to this

  19     Court and seek to enforce the injunction.              And here the

  20     process is that parties around the table, around the video,

  21     around anywhere, have to come here and say to you I am

  22     pursuing something that’s not an estate claim, not

  23     frivolous, and I get to pursue it.          And we can argue in

  24     front of you, and you decide.        But at the end of the day

  25     it’s only estate claims.

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   1                   And in that regard,     Your Honor, doesn’t impact

   2     the good faith nature of the plan, doesn’t impact anything

   3     else.

   4                   And back on good faith, Your Honor, the issue is

   5     whether the plan was proposed in good faith.             The focus on

   6     that is predominantly on conduct during the Chapter 11 and

   7     in connection with preparing the plan and proposing the

   8     plan.    It’s not the things that you heard on Monday.             It’s

   9     not the things that you heard about prepetition conduct.

  10                   Embedded in here is a settlement of those claims.

  11     And the Trustee testified on Monday and we expect he will

  12     testify again today that in his independent reasonable

  13     judgement, that’s a good settlement for the estate.               But I

  14     note, Your Honor, and I hope we are careful today, subject

  15     to your rulings of course, that we don’t retread a

  16     tremendous amount of ground that was addressed on Monday.

  17     They are two different motions.          I understand there were

  18     objections sustained that pushed certain issues to here.

  19     Those issues should absolutely be addressed here.

  20                   But the fundamental question, which you ruled on,

  21     the Court holds that there must be some sufficient dispute

  22     between the parties.        And all the parties are here, Your

  23     Honor.      There’s no one here who wasn’t there who didn’t have

  24     a full opportunity that it can find cause for disallowing or

  25     limiting credit bidding.        Here it does not find any such

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   1     cause and denies the motion in its entirety.

   2                 But you went on, Your Honor, and you also found

   3     the movants, and especially (indiscernible) go to great

   4     lengths to pass blame for their nonpayment to NBK.               The

   5     settlement payment.        In effect, that he or others could not

   6     pay due to the actions of NBK.           You found that on a review

   7     of the documentary evidence, and you could take judicial

   8     notice of all the documentary evidence in this case, does

   9     not believe -- does not believe these allegations.               Does not

  10     believe these allegations.        There’s no credible claim there

  11     to waste our time on today.

  12                 And so, Your Honor, you may hear us object.                A lot

  13     of it moves into that.        And we hope now that you will --

  14     just a preview in terms of what our thinking on that would

  15     be.

  16                 Those seem to us to be the big issues.            There

  17     can’t be an issue about feasibility, there can’t be an issue

  18     about classification -- that is that there are classes.

  19     There are so many things in that list that there cannot be

  20     issues about, Your Honor.        So I hope that we focus today on

  21     the ones that are important and legitimately

  22     (indiscernible).

  23                 THE COURT:      All right.     Let me hear from the

  24     debtor first.    Mr. Baker?

  25                 MR. BAKER:      Your Honor, we would request that you

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   1     allow 2425 and Mr. Burks to go forward first at this point

   2     in time.     We are generally filing along with what he is

   3     doing at this point in time.

   4                  THE COURT:     I’m happy to do that if you want to

   5     waive your opening argument.         If not, I want to hear it.

   6                  MR. BAKER:     I’ll waive my opening argument.

   7                  THE COURT:     Thank you.    Mr. Burks?

   8                  MR. BURKS:     That was interesting.       To borrow from

   9     a line from a movie, almost everything that that man said I

  10     disagree with.      And here’s why.

  11                  We don’t have the burden of proof of confirmation.

  12     The proponent, NBK, does.        There are 16 elements that

  13     they’re going to have to prove up in 1129.              Maybe this plan

  14     conceptually could have been confirmed.            Technically, it’s

  15     flawed.      So flawed that it can’t possibly meet the 16

  16     elements of 1129.      We talk about what the scope of the

  17     objections are.      I think the objection of 2425 WL is pretty

  18     clear.      The objection of the Debtor is pretty clear on some

  19     of the technical faults.

  20                   The first thing that counsel for NBK said was this

  21     is the only option before the Court as far as the Chapter 11

  22     plan.     Well, first of all, that was NBK’s choice as to what

  23     was in the plan or not in the plan.           It’s an aggressive plan

  24     with respect to classification, it’s an aggressive plan with

  25     respect to releases, and it’s an aggressive plan in that he

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   1     only ballot accepting the plan is by the plan proponent.

   2     And we’ll get to that in a minute when we talk about

   3     1129(a)(10).

   4                   I don’t have the burden to prove that there is one

   5     accepting class; NBK does.        And the proponent is the only

   6     one who accepted it.        And so we have the gatekeeping issue

   7     of do you even have one accepting class within the

   8     definition of 1129(a)(10).        The answer is a resounding no.

   9                   Surprisingly no.    Don’t know why we don’t, but we

  10     don’t.      Maybe if the balloting had been -- the solicitation

  11     had been different, I’m not saying you can’t get an

  12     accepting class other than the proponent.               But as we stand

  13     here today right now -- or more accurately as of 8:00 a.m.

  14     today -- we don’t have an accepting class for two reasons.

  15     Here's why.

  16                   The proof of claim on file by NBK has been

  17     objected to.      It has not been allowed.        It has not been

  18     estimated.      No motion on notice and hearing has been filed.

  19     Judge Rodriguez in In re Bressler said that’s fatal to

  20     confirmation as we stand here right now.            Can it be fixed

  21     later?      I don’t know.    I don’t know why they didn’t file the

  22     motion to estimate the claim.         But we don’t have a creditor

  23     with an allowed for voting purposes claim on file.                That

  24     wasn’t my choice.      There’s a lot of counsel in this room

  25     that know how to practice bankruptcy law.               I can’t

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   1     substitute for them.       And I can’t relieve them of the burden

   2     of proof of showing that there’s one allowed correct.              But

   3     there’s something else that’s happening here.             Of course we

   4     research whether or not the proponent of the plan can be the

   5     one -- could be if it has an allowed claim or an allowable

   6     or an estimated claim -- of course we’ll research whether

   7     they could be.       And the answer in all the six cases we found

   8     is they could be.       But here we have a problem.        We have NBK

   9     who has a note, has a proof of claim.            And in that proof of

  10     claim, they can do really whatever they want with the debt.

  11     They can reduce it, they can eliminate some of it, they can

  12     do anything they want with their lien.            And as the proponent

  13     of the plan, they’ve chosen to do just that.            They’ve

  14     changed their rights.       They’ve exercised their rights under

  15     the note and said here’s how we are going to be treated.

  16     That’s not an impaired claim.        They’ve exercised their note

  17     rights and set forth in this plan how they will accept and

  18     agree to be paid.       They’ve exercised their note rights.

  19                  Is it a novel argument?      Yes.     But is it a

  20     gatekeeping argument that they have the burden of proof to

  21     overcome?     Yes.    And here’s why it’s important.        They didn’t

  22     get any other votes for the plan.         That’s why it’s

  23     important.     I don’t know if they tried.         I don’t know why

  24     they didn’t.     But you’re sitting here right now with a plan

  25     that can’t satisfy 1129(a)(10).         We wish it could maybe.

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   1                 Let’s go back to the first thing he told you; it’s

   2     the only option you have.       Not true.     There’s nothing that

   3     prevents you from converting this case to Chapter 7.              And

   4     that would take care of a lot of the issues here.              When we

   5     get to the issues of what’s the value of the claims being

   6     released, when we get to the issues, the technical issues of

   7     the plan, all will go away.        No one is ever going to be able

   8     to prove that in between the time of today and the time this

   9     case may be converted that the value of the property is

  10     going to go down.     It’s not going to be able to be put into

  11     evidence.

  12                 Can another party file a plan?         Can NBK file an

  13     amended plan?     My point today is if what you had as of 8:00

  14     a.m. today is technically not (indiscernible).              There’s more

  15     to this.    You bet it’s an aggressive release.           And it’s not

  16     just a release...

  17                 THE COURT:     Go ahead.

  18                 MR. BURKS:     It’s not a release of just -- or an

  19     exculpation of just the trustee.         On Page 8 of the plan,

  20     Paragraph 78, it says released parties means, A, the Chapter

  21     11 Trustee.     But it doesn’t stop there.        B, NBK.     C, the

  22     liquidation trustee.       D, each related party of each entity

  23     in Clause A through D.       Former and current equity holders

  24     and their affiliates and related parties are not released

  25     parties.    In other words, Mr. Choudhri or anybody else.

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   1                 So I didn’t write the definition of released

   2     parties.    And I’m not going to mince words on the Fifth

   3     Circuit caselaw on exculpation versus gatekeeping versus

   4     released parties because a creditor has never been -- a

   5     creditor who is not participating in the reorganization of a

   6     debtor has never been gatekept.         I don’t know if that’s a

   7     word or a phrase.     Maybe it is now.       Can you be gatekeep or

   8     gatekept if you have absolutely nothing to do with the

   9     reorganization?     No.

  10                 Maybe the Purdue Pharma case might change that

  11     under certain circumstances.        The facts of that case are so

  12     different than the facts of this case that there’s no way

  13     that that’s going to be precedent here.

  14                 What’s happened is, Judge, the exculpation or

  15     release or gatekeeping provision is a technical bar to

  16     confirmation.     Can this plan go forward and be confirmed

  17     without it?     Sure it can.    If the proponent chooses to.           But

  18     what they want you to do is not only to confirm a plan, but

  19     to adjudicate today, right now here, three sets of claims

  20     where with all respect certainly we didn’t put on evidence,

  21     we weren’t trying those cases two days ago.            Couldn’t have

  22     if we tried.     You wouldn’t have let us because you ruled

  23     properly on the evidence as to what the issue was before us

  24     two days ago.

  25                 But today they want you to rule on the merits of

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   1     all pending litigation against NBK.          And if they disagree

   2     with my point, then simply put in the confirmation order

   3     that any limited liability claim against NBK and any pending

   4     adversary proceedings removed or otherwise against NBK are

   5     not included in any injunctions, releases, or exculpations.

   6     If they’re not, they’re not.        We can just say it.         And we

   7     may be over very quickly here.          If their intent is not to

   8     have this broad, overreaching release, make it clear.               If

   9     their intent is to get a plan confirmed by the

  10     classification issues by including classifying claims the

  11     way Mr. Sather says are technically flawed, one vote, one

  12     party, then we’ve got a problem.          We have a technical

  13     problem.     I didn’t write 1129, but they have to follow 1129.

  14     And they didn’t do it here.        Thank you.

  15                  THE COURT:    Thank you.     All right, Mr. Troop, back

  16     to you.     I’ll hear your first witness.

  17                  MR. TROOP:    I was just going to say I don’t think

  18     you expect me to respond, Your Honor.

  19                  THE COURT:    No, I don’t.     I just expect you to

  20     call a witness.

  21                  MR. TROOP:    So we’ll call the witness and I’ll

  22     turn this over to Mr. Fitzmaurice, Your Honor.

  23                  THE COURT:    Thank you.

  24                  Mr. Carter, do you want to come forward, please?

  25     Again, if you’ll stand at the microphone.              I know we just

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   1     did this the other day.       I’ll swear you in and then you can

   2     be seated.     And I apologize to you for the lack of air

   3     conditioning.

   4                  Please raise your right hand to be sworn.           Do you

   5     swear or affirm to tell the truth, the whole truth, and

   6     nothing but the truth, so help you God?

   7                  MR. CARTER:    Yes, I do.

   8                  THE COURT:    All right.     Please be seated.      Sir,

   9     you know, the drill.       Please speak into the microphone.

  10                  Mr. Fitzmaurice, I’ll turn on the podium if you

  11     want to present from there.

  12                  MR. BURKS:    Excuse me, Judge?

  13                  THE COURT:    Yes.

  14                  MR. BURKS:    Mr. Choudhri had his hand raise.          I

  15     don’t know if he’s muted or not or --

  16                  THE COURT:    He is muted.     And I don’t know why he

  17     would be trying to speak at this point in time.

  18                  MR. BURKS:    Yes, Your Honor.      I just wanted to

  19     make sure you saw it.

  20                  THE COURT:    I saw it, yeah.

  21                  MR. BURKS:    Yes, Your Honor.

  22                  THE COURT:    Thank you.

  23                    DIRECT EXAMINATION OF MICHAEL CARTER

  24     BY MR. FITZMAURICE:

  25     Q     Good morning, Mr. Carter.         Mr. Carter, are you

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   1     currently employed at National Bank of Kuwait?

   2     A     Yes.

   3     Q     When did you join the bank?

   4     A     At the end of May of 2018.

   5     Q     Was that after the bank’s loan to the Debtor was made?

   6     A     Yes.

   7     Q     I’m not trying to be obnoxious with this question, but

   8     is this your first job out of college?            Is your job at the

   9     bank your first job since you graduated from college?

  10     A     No.

  11     Q     Have you worked in banking for most of your career?

  12     A     Yes.

  13     Q     About how long have you worked in banking?

  14     A     Since 1988.

  15     Q     During the course of your career in banking, have you

  16     focused on any particular industry?

  17     A     Real estate.

  18     Q     And has that focus on real estate continued during your

  19     time at the National Bank of Kuwait?

  20     A     Yes.

  21     Q     Are you generally familiar with the bank’s loan to the

  22     Debtor?

  23     A     Yes.

  24     Q     And how are you familiar with the bank’s loan to the

  25     Debtor?

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   1     A     I am the RM for the loan, Relationship Manager.

   2     Q     Thank you.     When did you assume that role as

   3     Relationship Manager?

   4     A     Around the end of 2018.

   5     Q     So from the time that you assumed that role as

   6     relationship manager up until today, have you maintained

   7     that role during that entire period?

   8     A     Yes.

   9     Q     And during that period of time is there anybody else at

  10     the bank who serves as relationship manager?

  11     A     Not as relationship manager, no.

  12     Q     Can you generally describe for the Court what your

  13     responsibilities are as relationship manager for the loan to

  14     the debtor?

  15     A     To do annual reviews on the status of the loan and

  16     provide those to the credit committees, monitor the interest

  17     payments and other conforming covenants that are in the loan

  18     agreement.

  19     Q     You mentioned credit committee.          Do you sit on the

  20     credit committee?

  21     A     No.

  22     Q     In your capacity as a relationship manager, do you make

  23     recommendations to the credit committee?

  24     A     Yes.

  25     Q     Do you prepare reports that are submitted to the credit

                                                                            000780
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   1     committee?

   2     A      Yes.

   3     Q      As far as you are aware, since the time that you became

   4     the relationship manager for the loan to the Debtor, have

   5     there been any reports concerning the loan submitted to the

   6     correct committee that you weren’t involved in preparing?

   7                   MR. BURKS:     Objection.    There is no way that he

   8     can know what he hasn’t done.          Calls for hearsay.        Calls for

   9     speculation.      He doesn’t know -- he is not a member of the

  10     credit committee.       He doesn’t know what the credit committee

  11     has received, Your Honor.

  12                   THE COURT:     I’ll sustain the objection and let you

  13     rephrase it and see if you can get it in another way.                Thank

  14     you.

  15     BY MR. FITZMAURICE:

  16     Q      In the course of your duties as relationship manager

  17     for the bank, when a credit committee makes a decision

  18     relating to the loan, are you generally informed of that

  19     decision?

  20     A      Yes.

  21     Q      Has there ever been a decision that you’ve been

  22     informed of where you were not involved previously in

  23     preparing some kind of submission to the credit committee?

  24     A      No.

  25     Q      So has there ever been a decision by the credit

                                                                             000781
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   1     committee that you were informed of that you were surprised

   2     about or you had no idea that was happening?

   3     A     No.

   4     Q     Have you issued any reports to the credit committee

   5     concerning this bankruptcy case?

   6     A     Yes.

   7     Q     Have you made any recommendations to the credit

   8     committee concerning this bankruptcy case?

   9                  MR. BURKS:     Objection.    Best evidence rule.       If

  10     the recommendations or if the reports are oral, hearsay.                    If

  11     they are written, I would like to see them in evidence,

  12     please.

  13                  THE COURT:     If they are oral, I don’t think they

  14     are hearsay.     If they are written, then I think there is

  15     best evidence.      I’ll sustain the objection on that

  16     particular part.      But I’ll let him flesh it out.          He hasn’t

  17     said whether they were written or not.

  18                  MR. BURKS:     Yes, Judge.

  19                  THE COURT:     Thank you.

  20     BY MR. FITZMAURICE:

  21     Q     Have you had any discussions with the credit committee

  22     concerning this bankruptcy case?

  23     A     It has been mentioned in credit reviews.             We do monthly

  24     credit reviews for troubled loans.

  25     Q     Is the loan to the Debtor classified as a troubled

                                                                            000782
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   1     loan?

   2     A       Yes.

   3                    MR. BURKS:     Objection.    At this point he is

   4     getting into an area of questioning where he needs a credit

   5     committee member who has got personal knowledge of the

   6     reports that he’s talking about right now, Judge.

   7                    THE COURT:     I’ll overrule that objection.         Go

   8     ahead.

   9     BY MR. FITZMAURICE:

  10     Q       I think you answered the question, but there was a

  11     pending objection so --

  12                    THE COURT:     It doesn’t make a difference.         I heard

  13     it.     I overruled the objection.         Go ahead.

  14     BY MR. FITZMAURICE:

  15     Q       Is the bank’s loan to the Debtor in default?

  16     A       Yes.

  17     Q       Was the filing of the bankruptcy case an event of

  18     default?

  19     A       Yes.

  20     Q       Are you aware of any other defaults under the loan

  21     agreement?

  22     A       Yes.

  23     Q       Can you describe any of them for me?

  24     A       Principally failure to pay interest.

  25     Q       Let me ask you about that.         Did the loan documents call

                                                                              000783
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   1     for the payment of principal and interest during the term of

   2     the loan?

   3                   MR. BURKS:    Objection.    I don’t have enough

   4     foundation to know what this gentleman had analyzed in terms

   5     of the loan documents or this account history.              We are

   6     assuming he has looked at the loan documents and the account

   7     history, but he hasn’t told us he has.            Objection,

   8     foundation.

   9                   THE COURT:    I will sustain the objection as to

  10     foundation.      Let’s lay a better foundation for the record,

  11     please.      Thank you.

  12     BY MR. FITZMAURICE:

  13     Q     Mr. Carter, are you familiar with the loan documents

  14     for the loan -- are you familiar with the loan documents

  15     relating to the bank’s loan to the Debtor?

  16     A     Yes.

  17     Q     Have you reviewed those loan documents?

  18     A     Yes.

  19     Q     Have you reviewed them during the course of your

  20     employment as the relationship manager for the bank’s loan

  21     to the Debtor?

  22     A     Yes.

  23     Q     Are you generally familiar with the terms of those loan

  24     documents?

  25     A     Yes.

                                                                            000784
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   1     Q       Do you know when the loan was made?

   2     A       It was mid-May 2018.

   3     Q       Do you know what the original term of the loan is?

   4     A       So five years.

   5     Q       So if my math is right, mid-May 2018 plus five years is

   6     May of 2023.       Does that sound right to you?

   7     A       Yes.

   8     Q       Do you have an understanding of as to whether or not by

   9     its terms the loan matured in May of 2023?

  10     A       Yes.

  11     Q       And did it in fact mature in May of 2023?

  12     A       Yes.

  13     Q       Do you know whether the loan documents call for the

  14     payment of principal and interest during the term of the

  15     loan?

  16     A       It was an interest-only loan.

  17     Q       And how was principal to be repaid under the loan

  18     documents?

  19     A       The loan amount was $51,675,000.

  20     Q       And when was that due under the loan documents?

  21     A       Mid-May 2023.

  22     Q       So the full principal balance was due at maturity.                Is

  23     that right?

  24     A       Yes.

  25     Q       And how frequently was the Debtor required to make the

                                                                              000785
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   1     interest-only payments?

   2     A     Monthly.

   3     Q     Did the Debtor make all those required payments?

   4     A     No.    They stopped in mid-2020.        And then there was an

   5     interest reserve that had been established at closing, for a

   6     years’ worth of interest.        So that was tapped for the

   7     following year until mid-2021.

   8     Q     And at some point was the interest reserve exhausted?

   9     A     Yes, mid-2021.

  10     Q     Do you know if the loan agreement generally required

  11     the Debtor to pay real estate taxes when they were due?

  12     A     Yes.

  13     Q     And it in fact required those taxes to be paid?

  14     A     Yes.

  15     Q     And in an event of default during the loan agreement

  16     were those taxes not to be paid?

  17     A     Yes.

  18     Q     Are you aware of whether the Debtor in fact paid real

  19     estate taxes?

  20     A     It did not make the 2019 tax payment and made no

  21     further tax payments since then.          But it did borrow the

  22     money from a lender to pay those taxes.

  23     Q     Just to make sure that I understand, did the Debtor pay

  24     real estate taxes due for the year 2019?

  25     A     No.

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   1     Q       Do you know whether a lien was recorded against the pt

   2     relating to those taxes that were not paid?

   3     A       Yes.

   4     Q       Is the filing of that lien an event of default under

   5     the loan agreement?

   6     A       Yes.

   7     Q       Were real estate taxes paid for the year 2020?

   8     A       Not by the borrower.

   9     Q       Was ultimately a lien recorded against the property for

  10     the tax year 2020 as a result of the failure to pay the tax

  11     -- I mean -- let me start over again.

  12             As a result of the debtor’s failure to pay real estate

  13     taxes in 2020, was a lien filed against the property?

  14     A       Yes.

  15     Q       Do you know if the Debtor paid real estate taxes for

  16     the year 2021?

  17     A       Similarly they borrowed the money from a tax lender and

  18     assigned the county tax lien to that lender.

  19     Q       And did the Debtor pay real estate taxes for the year

  20     2022?

  21     A       Same situation.

  22     Q       2023?

  23     A       Same.

  24     Q       And each one of those failure to pay, are they separate

  25     events of default under the loan agreement?

                                                                              000787
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   1     A     Yes.

   2     Q     After the bank exhausted the funds in the interest

   3     reserve, did it do anything to attempt to enforce its

   4     rights?

   5     A     Filed for foreclosure.

   6     Q     Was it successful in completing that foreclosure?

   7     A     No.

   8     Q     Why not?

   9     A     The borrower filed for a TRO, temporary restraining

  10     order.

  11     Q     Did the bank ultimately attempt to resolve these

  12     disputes with the borrower?

  13     A     We entered into a settlement agreement with the

  14     borrower.

  15     Q     And are you generally familiar with that settlement

  16     agreement?

  17     A     Yes.

  18     Q     I’m going to show you what’s -- what was filed at ECF

  19     508-7.      I think this document is -- was entered into

  20     evidence on Monday and we neglected to include it in our

  21     discussions earlier this morning, so we’ll look at it now.

  22                   MR. BURKS:    Well, excuse me.      For the record, it’s

  23     been entered into evidence today.          I don’t -- we’re not

  24     going back -- the record on Monday I assume does not apply

  25     to the record here, Judge.        It’s been admitted into evidence

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   1     today.

   2                   MR. FITZMAURICE:     And I’m not disputing -- my only

   3     point was if I had remembered, I would have asked you to

   4     stipulate to this this morning when we talked about

   5     stipulations for today.         And I didn’t.      So that’s why I’m

   6     showing it to him now.

   7                   MR. BURKS:     I thought I stipulated to the

   8     admission of this.         And if I haven’t --

   9                   MR. FITZMAURICE:     I’m happy to take that

  10     stipulation now.

  11                   MR. BURKS:     Stipulate into evidence admission for

  12     the document what is at ECF 508-7?

  13                   MR. FITZMAURICE:     Yes, that’s right.

  14                   MR. BURKS:     Stipulated that it’s admissible,

  15     Judge, for whatever it says.

  16                   THE COURT:     I’ll admit 508-7 on stipulation.

  17     Thank you.

  18                   (Exhibit 508-7 admitted into evidence)

  19     BY MR. FITZMAURICE:

  20     Q     Is this document, 508-7, is this the settlement

  21     agreement that the bank entered into with the Debtor and Mr.

  22     Choudhri and (indiscernible) Galleria LLC?

  23     A     Yes, I believe so.

  24     Q     Okay.     Who is (indiscernible) Galleria LLC?

  25     A     That was the mezzanine lender.

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   1                   MR. FITZMAURICE:    Your Honor, my (indiscernible)

   2     have disappeared and I’m going to ask if my colleague could

   3     open up the document.        I am not sure why it’s not

   4     projecting.

   5                   THE COURT:    It’s the way the PDF is trying to

   6     write.      But I can move it over here if you want to move it

   7     to that table.      (indiscernible) plug in.

   8     BY MR. FITZMAURICE:

   9     Q     While we’re doing that, let me ask you an unrelated

  10     question while we get those organized.            You know what?      Mr.

  11     Akuffo is faster than I am.

  12                   MR. FITZMAURICE:    Kwame, you can go to Section

  13     3.1A, please.

  14                   THE COURT:    Go ahead.

  15     BY MR. FITZMAURICE:

  16     Q     Mr. Carer, I’m showing you Section 3.1A of the

  17     settlement agreement.        Do you see that in front of you?

  18     A     Yes.

  19     Q     And do you see that in the settlement agreement that as

  20     of the effective date of the settlement agreement, the

  21     borrower acknowledges the debt that was owed to NBK?

  22     A     Yes.

  23     Q     And it acknowledged that that was owed without the

  24     setoff claim, counterclaim, or deduction of any nature

  25     whatsoever?

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   1     A     Yes.

   2     Q     And all of those things I just asked you about, all of

   3     those were expressly weighed by the settlement agreement.

   4     Is that right?

   5     A     Yes.

   6     Q     Okay.     Can you scroll down just a bit?         Thank you.

   7           And in the settlement agreement you see that in Section

   8     3.1B the Debtor and Mr. Choudhri and the mezzanine lender

   9     acknowledged existing events of default under the loan

  10     documents?

  11     A     Yes.

  12     Q     And that all of those events of default existed, again,

  13     without defendant’s setoff -- you can read the language for

  14     yourself.

  15     A     Mm-hmm.

  16     Q     Is that right?

  17     A     Yes.

  18     Q     Okay.

  19                   MR. BURKS:    Your Honor, at this point I object to

  20     the testimony of this witness.          To the extent that he’s

  21     reading from what the terms of the settlement terms are.

  22     That’s best evidence rule.        It says what it says.

  23                   To the extent that he’s testifying as to the legal

  24     effect or the current legal status of this settlement

  25     agreement, he is not the qualified witness for that.               There

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   1     is a litigation on file.        He can certainly say what they

   2     intend.      He can certainly say what it says.         But if he’s

   3     giving legal conclusions as to what the current status of

   4     these settlement terms are and the effect of the settlement

   5     agreement as we stand here today, this is a non-qualified

   6     witness.      And I object --

   7                   THE COURT:    I think all of your objections, Mr.

   8     Burks, go to weight, which I am very, very aware of.               And

   9     we’ve covered this more than once.           So I’m going to overrule

  10     your objection.      Thank you.

  11     BY MR. FITZMAURICE:

  12     Q     In the settlement agreement, did the bank agree to

  13     compromise the amount of the debt that was owed?

  14     A     Yes.

  15     Q     And did it agree to accept a discounted amount in

  16     exchange for release of the loan (indiscernible)?

  17     A     Yes.

  18     Q     What was that?

  19     A     $27 million.

  20     Q     And was the Debtor and Mr. Choudhri’s other parties,

  21     were they given a period of time within which to make that

  22     payment?

  23     A     210 days.

  24     Q     Okay.     Did they?    Did they make that payment?

  25     A     No, they did not.

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   1     Q     Do you know what the settlement provides happens if the

   2     payment is not made?

   3     A     It allows for the filing of foreclosure.

   4     Q     After the Debtor and Mr. Choudhri’s other entities

   5     failed to make the payment, did the bank -- what did the

   6     bank do?

   7     A     We filed for foreclosure again.

   8     Q     And was that foreclosure successful?

   9     A     No.

  10     Q     Why not?

  11     A     The court allowed extension of the payment for 90 days

  12     provided the borrower paid $80,000 each month toward the

  13     payment.

  14     Q     Did the borrower make those payments?

  15     A     Only two of the three payments were made.

  16     Q     Did the bank proceed with its foreclosure at the end of

  17     that 90-day period?

  18     A     It filed again, yes.

  19     Q     And was that foreclosure successful?

  20     A     No.

  21     Q     Why not?

  22     A     The borrower filed bankruptcy.

  23     Q     Do you know what happened in that bankruptcy case?

  24     A     It was eventually dismissed.

  25     Q     And after the dismissal of that bankruptcy case, did

                                                                           000793
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   1     the bank seek to exercise its rights under the loan

   2     documents?

   3     A     Yes.

   4     Q     Was it successful?

   5     A     No.    There was a second bankruptcy filed.

   6     Q     Was that this one?

   7     A     Yes.

   8     Q     Have you ever heard of an entity called 2425 WL, LLC?

   9     A     Yes.

  10     Q     How have you heard about it?

  11     A     They filed a subordinate mortgage claim about -- it was

  12     three years after the loan originally closed.

  13                  MR. BURKS:     Objection.    Subordinate mortgage claim

  14     is a legal conclusion, Judge.         I would ask that you strike

  15     that sentence.

  16                  THE COURT:     I’ll overrule that objection.         Go

  17     ahead.

  18     BY MR. FITZMAURICE:

  19     Q     Is 2425 WL’s mortgage, the filing of that mortgage, is

  20     that an event of default under the loan documents?

  21     A     Yes.

  22     Q     Has the bank proposed a plan in this case?

  23     A     Yes.

  24     Q     Can you tell me generally what the plan provides for?

  25     A     It provides for payment of outstanding real estate

                                                                            000794
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   1     claims.      It also includes payment of administrative fees and

   2     partial payment of trade creditors.

   3     Q     Dop you know what the plan provides for with respect to

   4     the Debtor’s building?

   5     A     Yes.     There’s a credit bid allowed in the plan.            And a

   6     deficiency is also one of the categories in the plan.

   7     Q     Do you know if there’s going to be a sale of the

   8     Debtor’s building?

   9     A     Well, there’s an auction.           That’s the process by which

  10     either credit bid or third party bids take place.

  11     Q     Do you know when that auction is scheduled to take

  12     place?

  13     A     Friday.

  14     Q     Has the bank made a bid in connection with that

  15     auction?

  16     A     Yes.

  17     Q     And what’s the amount of that bid?

  18     A     $18,600,000.

  19     Q     Do you know if there are any other bids?

  20     A     My understanding is there was another bid.

  21     Q     Do you know what the amount of that other bid is?

  22     A     I believe it’s --

  23                   MR. BURKS:     Objection.     This is hearsay, Judge.

  24                   THE WITNESS:     $20 million --

  25                   THE COURT:     Bear with me.

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   1                   MR. BURKS:     There’s no basis for him knowing what

   2     the bids are.

   3                   THE COURT:     I’ll sustain the objection.          The

   4     trustee can testify as to what the bids are.                Go ahead.

   5     BY MR. FITZMAURICE:

   6     Q      Does the plan provide for the bank being paid

   7     everything it is owed?

   8     A      No.

   9                   MR. BURKS:     Objection, legal conclusion.          That is

  10     a legal conclusion, what is it owed.

  11                   THE COURT:     I’ll overrule that objection.          Thank

  12     you.

  13     BY MR. FITZMAURICE:

  14     Q      If there was a third party who purchases the property

  15     at auction, do you know what the plan provides as to who

  16     gets paid for that money?

  17     A      Payments go first to the real estate tax liens.                  And

  18     there is also portions that go to the administrative fees.

  19     And there is a portion that goes to the liquidation trust

  20     for the trustee.       The balance then goes to our note.

  21     Q      You mentioned the real estate taxes.              Do you know

  22     whether the plan pays those in full?

  23     A      Yes.    Whatever is legally owed.

  24     Q      And you said something about administrative expenses.

  25     Do you know whether the plan pays those in full?

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   1     A       Yes.

   2     Q       And does it?

   3     A       Yes.

   4     Q       Is it your understanding that the plan does not --

   5     withdrawn.       Does the plan pay anything to general unsecured

   6     creditors?

   7     A       Well, the plan pays some to trade plans.             You know,

   8     contractors who provided work on the building at the 70

   9     percent.

  10     Q       Does it pay those creditors cash?

  11     A       Yes.

  12     Q       Are there other unsecured creditors who --

  13     A       There’s another group of third-party creditors that are

  14     in the class along with our deficiency -- 90 percent of our

  15     deficiency claim (indiscernible).

  16     Q       And so does that class of creditors receive anything

  17     under the plan?

  18     A       Well, they would get pro rata share of any recoveries

  19     that the trustee gets that goes into the liquidation trust.

  20     Q       You mentioned the word class in the context of the

  21     plan.     Do you know what that is?         Do you know what that

  22     means?

  23     A       Well, yes.     There are eight classes of creditors to the

  24     borrower.       And they are each identified and each have

  25     different rights, different recoveries under the plan.

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   1     Q     Does the plan attempt to group creditors together in

   2     those classes?

   3     A     Yes.

   4     Q     Do you know as the plan proponent how the bank chose

   5     which creditors go in which class?

   6     A     Based on their legal status and claim status.

   7     Q     Are there some creditors who don’t get a recovery under

   8     the plan?

   9     A     Yes.

  10     Q     And who are those?

  11     A     Those tend to be subordinate claims by related parties

  12     to the borrower.

  13     Q     Do you know if the borrower’s equity holders receive

  14     anything under the plan?

  15     A     They don’t.

  16     Q     Why not?

  17     A     There’s insufficient value in the property to pay the

  18     primary secured claim of our loan.

  19     Q     We talked before about 2425 WL.          Do you recall that?

  20     A     Yes.

  21     Q     Do you know whether the plan treats 2425 WL as having a

  22     secured claim or an unsecured claim?

  23     A     Well, unsecured because there’s insufficient funds to

  24     cover the first mortgage, which is our mortgage.

  25     Q     Do you know what the plan provides for if the bank is

                                                                            000798
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   1     the successful bidder at the auction?            And let me withdraw

   2     that question and I’ll ask a different one.

   3           In terms of payments to creditors, do you know what the

   4     plan provides for if the bank is the successful bidder at

   5     the auction?

   6     A     The bank will pay cash to the real estate tax claims,

   7     the administrative costs, and that portion to the trade

   8     creditors as well as a contribution to the liquidation

   9     trust.

  10     Q     And do you know approximately the amount of the cash

  11     that’s required to make all of those payments?

  12     A     It’s approximately $3.7 million.

  13     Q     And has the bank committed to make those payments?

  14     A     Yes.

  15     Q     And if it turns out those required payments are a

  16     little higher, has the bank committed to make those higher

  17     payments?

  18     A     Yes.

  19     Q     Does the bank have the financial ability to make those

  20     payments?

  21     A     Yes.

  22     Q     Well, let’s assume that the bank is not the successful

  23     bidder at the auction.       Do you know in that instance what

  24     the plan provides by way of payments to creditors?

  25     A     The payments are similar.         They get deducted from the

                                                                            000799
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   1     amount of the winning bid.

   2     Q     And what happens to the bank’s claim in that instance?

   3     A     Well, after those other amounts are paid, the remainder

   4     goes to cover the bank’s claim.

   5     Q     And similarly if those expenses are a little higher

   6     than anticipated, the bank understands it’s going to take --

   7     it’s going to receive a little bit less.            Is that right?

   8     A     Yes.

   9     Q     And the bank has accepted that?

  10     A     Yes.

  11     Q     That’s what the plan provides?

  12     A     Yes.

  13     Q     Do you know whether the plan that’s on file with the

  14     court is the first draft of the plan that was prepared for

  15     the bank?

  16                  MR. BURKS:     Objection, foundation.

  17                  THE COURT:     I’ll overrule the objection.         Go

  18     ahead.

  19     BY MR. FITZMAURICE:

  20     A     There was negotiations between the trustee and NBK’s

  21     lawyers on the features of the plan.

  22                  MR. BURKS:     Objection.    Question called for

  23     hearsay.     Answer is hearsay.      This is the wrong witness for

  24     this, Judge.

  25                  THE COURT:     I’ll overrule the objection.         Thank

                                                                            000800
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   1     you.

   2                 MAN 1:   Your Honor, may I (indiscernible)?

   3                 THE COURT:     Sure.    I just need to change the

   4     connection over here.       Hold on for one second.         There you

   5     go.

   6     BY MR. FITZMAURICE:

   7     Q      It’s difficult to see on the top of the page given

   8     several layers of blue text, but I’m showing you the

   9     document that’s at ECF 501-01 titled Chapter 11 Plan of

  10     Liquidation of the Debtor by National Bank of Kuwait

  11     S.A.K.P. New York Branch.

  12                 MR. BURKS:     Judge, for clarification and as part

  13     of what I didn’t understand on the stipulations, is this the

  14     plan that’s being proposed?         Is this the final form of plan

  15     that we are here on today?

  16                 MR. FITZMAURICE:       Yes, it is.

  17                 MR. BURKS:     Thank you, Judge.

  18                 THE COURT:     Thank you.

  19                 MR. FITZMAURICE:       So again, Your Honor, I’m having

  20     --

  21                 THE COURT:     (indiscernible).      Do you want me to go

  22     back over to the --

  23                 MR. FITZMAURICE:       I do, please.       So 501-1.

  24                 MR. BAKER:     And, Your Honor, it doesn’t seem like

  25     that’s projecting on GoToMeeting.

                                                                            000801
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   1                    THE COURT:     It’s not.     And I’m aware of that.

   2                    MR. FITZMAURICE:        Your Honor, I see it here, but I

   3     don’t -- just for...

   4                    THE COURT:     I’m seeing it on my screen here, which

   5     means it should be projecting there.             But for some reason --

   6                    MR. FITZMAURICE:        I see it on the tables, I just

   7     don’t see it on these back here.

   8                    THE COURT:     I’m not sure why it’s doing that.

   9                    MR. FITZMAURICE:        May I just ask the witness?        Do

  10     you see the document?

  11                    THE WITNESS:     Yes.

  12                    THE COURT:     It’s on.     For some reason it’s not

  13     working.       We’ll see if we can fix it.         Go ahead.

  14     BY MR. FITZMAURICE:

  15     Q       Is that your signature?

  16     A       Yes.

  17     Q       And did you sign the plan of liquidation that the bank

  18     is proposing?

  19     A       Yes.

  20     Q       And is this in fact a copy of that plan?

  21     A       Yes.

  22                    MR. FITZMAURICE:        Your Honor, I think we’ve done

  23     this.     But nevertheless, move to formally admit into

  24     evidence ECF 501-01, a copy of the plan of liquidation for

  25     the Debtor submitted by National Bank of Kuwait.

                                                                              000802
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   1                 THE COURT:     All right.    Any objection to the

   2     admission of 501-01, Mr. Burks?

   3                 MR. BURKS:     I’m sorry, Judge.      What?

   4                 THE COURT:     Do you have any objection to 501-01?

   5                 MR. BURKS:     Yes, no objection.

   6                 THE COURT:     It’s admitted.     Thank you.

   7                 (Exhibit 501-01 admitted into evidence)

   8                 MR. TROOP:     Excuse me, Your Honor.         And I

   9     apologize for interfering.         But on a procedural matter, our

  10     witnesses is our corporate rep, gets to be in here as a

  11     trustee.    He gets to be in here.       I didn’t ask are there any

  12     witnesses in the courtroom for 2425?

  13                 We invoke the rule, Your Honor.

  14                 THE COURT:     All right.    So at this point in time

  15     the rule has been invoked.         So you just need to go outside,

  16     sir.   Maybe Ms. Conrad will give you a place to sit.

  17                 There are a number of people on the line.             I think

  18     the only person who you’ve told me -- I mean, you’ve told me

  19     there are going to be three witnesses.           And I don’t think

  20     that person is on the list that we talked about.              All right.

  21     So you may be excused, sir.         We’ll give you a place to sit.

  22                 Mr. Choudhri is on the phone.         I’m assuming you

  23     have no objection to him listening?

  24                 MR. TROOP:     Your Honor, I don’t.

  25                 THE COURT:     Okay.

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   1                  MR. TROOP:    I do not assert an objection.         I

   2     believe he is a corporate rep.

   3                  THE COURT:    How are you?     Good to see you.         Yeah,

   4     tell him to bring him up.       He can come up.

   5                  Mr. Choudhri is waiting to be in the courtroom so

   6     I’m going to bring him up.       All right, that’s fine.

   7                  MR. TROOP:    And I would suspect they would say he

   8     is the corporate rep for both of them.

   9                  MR. BURKS:    He is the corporate representative of

  10     my client.     He is the corporate representative of the

  11     debtor.

  12                  THE COURT:    That’s fine.

  13                  MR. TROOP:    And I don’t think I can invoke the

  14     rule with respect to him, Your Honor.

  15                  THE COURT:    All right.     Then, Ms. Conrad, do you

  16     want to go open a room?       Or you want to get the testimony

  17     going and then you can do it?

  18                  CLERK:   Give me one second.

  19                  MR. BURKS:    And, Judge, do we need -- do you want

  20     for the record to name this witness as being excluded?

  21                  THE COURT:    We’ll do it when you call him as a

  22     rebuttal witness.      Thank you.

  23                  MR. BURKS:    Yes, Judge.

  24                  THE COURT:    Thank you.     All right.

  25                  MR. BURKS:    Excuse me, Judge.      Is now an okay time

                                                                           000804
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   1     for me to take a restroom break?          I am struggling with a

   2     stomach issue.

   3                 THE COURT:     I typically break every two hours.                 I

   4     was planning a break at 11:00.          But, Mr. Burks, if you need

   5     to go to the bathroom, I don’t want to stop you from doing

   6     that.

   7                 MR. BURKS:     That’s not the way I would have put it

   8     on the record, but thank you for putting it that way.

   9                 THE COURT:     That’s basically what you said.            All

  10     right, but we’ll stand down.          We’ll stand down for ten

  11     minutes.    This will be our 11:00 break.             Thank you.

  12                 CLERK:     All rise.

  13                 (Recess)

  14                 CLERK:     All rise.

  15                 THE COURT:     Please be seated.

  16                 MR. FITZMAURICE:        Your Honor, can Mr. Burks take

  17     one other thing to the witness stand?

  18                 THE COURT:     Mr. Carter?        Sure.    No problem.

  19                 MR. FITZMAURICE:        And Mr. Burks can do whatever he

  20     wants.

  21                 MR. BURKS:     You're calling me?

  22                 MR. FITZMAURICE:        No, no.

  23                 THE COURT:     I did exactly the same thing, so my

  24     water's here as well.

  25                 CLERK:     It's okay.

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   1                  THE COURT:     Again.     All right, Mr. Carter.      I'll

   2     remind you that you're still under oath.            Go ahead, sir.

   3                  MR. FITZMAURICE:        Thank you, Your Honor.

   4                  BY MR. FITZMAURICE:

   5     Q     Mr. Carter, what kind of building is the property owned

   6     by the debtor?

   7     A     It's an office building.

   8     Q     Thank you.     Are you aware of whether the building has

   9     tenants?

  10     A     I'm not aware of the actual situation.

  11     Q     Well, whether or not the building has any tenants, do

  12     you know what the plan does with respect to any leases those

  13     tenants have?

  14     A     It vacates all the leases so we can then review after

  15     and decide whether or not we want them, and any third-party

  16     bidder can decide which ones they would like to retain.

  17     Q     You testified earlier concerning litigation that was

  18     brought by the debtor.        Do you know if the plan does

  19     anything with respect to that litigation?

  20     A     Litigation by the?

  21     Q     By the debtor.

  22     A     The debtor is released.

  23     Q     Do you know whether the -- under the plan the bank

  24     receives a release of claims by the estate?

  25     A     Yes.    It does.

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   1     Q      And if the bank did not receive that release, would it

   2     fund the amounts it's paying under the plan?

   3     A      No.

   4     Q      Can you remind me again what the banks -- what

   5     approximate amount the bank is owed as of the filing of the

   6     bankruptcy case?

   7     A      I believe it's around 61 or 2 million.

   8     Q      And in connection with the auction, the bank made a

   9     bid.    The bank made a credit bid.         Is that correct?

  10     A      Yes.

  11     Q      And what was the amount of that credit bid?

  12     A      18 million 6.

  13     Q      And if the property sold to the bank at that credit bid

  14     in a foreclosure, would there be any money that was left for

  15     unsecured creditors?

  16     A      No.

  17     Q      But the bank is paying unsecured creditors something

  18     under the plan, right?

  19     A      Yes.

  20     Q      In your view, is the bank making those payments

  21     essentially in exchange for the release and getting of

  22     estate claims?

  23     A      No, we're making those payments because we think it's

  24     fair to those parties.

  25     Q      Is the bank asking for the estate to pay any legal fees

                                                                             000807
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   1     the bank has incurred in connection with the bankruptcy

   2     case?

   3     A       No.

   4     Q       Is the bank asking the estate to pay any expenses the

   5     bank has incurred in connection with the bankruptcy case?

   6     A       No.

   7     Q       I want to go back to the settlement agreement for a

   8     moment, 508-7.

   9                    THE COURT:     Do you have a copy of the exhibit?

  10                    MR. FITZMAURICE:     It's on the screen.

  11                    THE COURT:     Let me try something.       I'm going to --

  12     I'm just going to see if I can get the screens to come back

  13     so it's on the big ones.          I'm sorry.     I'm not able to do

  14     that.     Go ahead.

  15                    BY MR. FITZMAURICE:

  16     Q       Under the settlement agreement, in general terms, the

  17     bank agreed to accept less than it was owed.               Is that right?

  18     A       Yes.

  19     Q       And does the settlement agreement provide what happens

  20     concerning the amount owed to the bank by the debtor if the

  21     debtor fails to perform under the settlement agreement?

  22     A       Could you ask that again?

  23     Q       I'll try to ask it better.         Do you know if the

  24     settlement agreement says what happens to the amount owed to

  25     the bank if the Choudhri parties fail to make the payment

                                                                              000808
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   1     required under the settlement agreement?

   2     A     They acknowledge the original full amount due.

   3     Q     And in that instance, is -- do you know if the

   4     settlement agreement allows the bank to exercise all of its

   5     rights under the loan documents?

   6     A     Yes.

   7     Q     And to collect the full amount that's owed?

   8     A     Yes.

   9                  MR. FITZMAURICE:     Excuse me one moment, Your

  10     Honor.

  11                  THE COURT:     All right.    Go ahead.

  12                  MR. FITZMAURICE:     Your Honor, I think we've

  13     addressed this issue, but just for clarity, I move for

  14     admission of document at ECF 508-7, which is the settlement

  15     agreement.     I think we've done it, but I just want to...

  16                  MR. BURKS:     So for clarification, I --

  17                  THE COURT:     It was admitted.      I admitted it back

  18     originally.

  19                  MR. BURKS:     Is it that?    Is it 508-7 or do we have

  20     now two copies of it?

  21                  MR. FITZMAURICE:     No, it's -- 508-7 is the -- is

  22     what I had showed him earlier and that was the version that

  23     we referenced earlier.        So it's the same one.

  24                  THE COURT:     It's on the record.         It's been

  25     admitted.     I'm pulling it up to make sure it is 508-7.

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   1     Thank you.

   2     BY MR. FITZMAURICE:

   3     Q      Mr. Carter, do you know whether the bank voted in

   4     connection with the plan?

   5     A      Yes.

   6     Q      Did the bank vote in favor or against?

   7     A      In favor.

   8     Q      Do you know how many claims the bank had?

   9     A      I'm not sure I understand the question.

  10     Q      Does the bank have one claim in this case or more than

  11     one?

  12     A      Oh, you mean in terms of the categories.             Yes, it has

  13     three.

  14     Q      However many claims it had that are entitled to vote,

  15     did it vote all of those claims the same way?

  16     A      No, I believe just two of the three are voting.

  17     Q      So two of the three claims are voting claims?

  18     A      Yes.

  19     Q      And were those two claims voted in favor or against?

  20     A      In favor.

  21                   MR. FITZMAURICE:       Your Honor, I know that we just

  22     came back.      May I have a short time to confer?

  23                   THE COURT:     Yeah.    Take your time.

  24                   MR. FITZMAURICE:       Thank you.

  25                   MR. TROOP:     We're going to step away from the mic,

                                                                             000810
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   1     aren't we?

   2                   THE COURT:    That's probably a wise idea.

   3                   MR. FITZMAURICE:    Your Honor, I'm happy to report

   4     this is one instance where a short break hopefully saves

   5     some time.      Pass the witness.

   6                   THE COURT:    All right.    Mr. Baker, you made the

   7     first appearance, but I realize you may not want to go

   8     first.

   9                   MR. BAKER:    I'd like Mr. Burks to go first.

  10                   THE COURT:    Then I'll call on Mr. Burks for cross.

  11                   MR. BURKS:    Thank you, Judge.

  12                   THE COURT:    Mr. Burks, are you going to project?

  13     Where are you going to project from?

  14                   MR. BURKS:    I'm going to project from Mr. Baker.

  15                   THE COURT:    All right.    Then I'll go to the right

  16     table.      Mr. Burks -- Baker can connect at his leisure.

  17                   MR. BAKER:    Fixed it.

  18                   MR. BURKS:    He did it.

  19                   MR. BAKER:    I'm multi-talented, Mr. Burks.

  20                   MR. BURKS:    Who am I to disagree, Your Honor?

  21                     CROSS-EXAMINATION OF MICHAEL CARTER

  22     BY MR. BURKS:

  23     Q     Hi, Mr. Carter.       How are you, sir?

  24     A     Good.     How are you?

  25     Q     I'm doing all right, thanks.         Feeling a little better,

                                                                            000811
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   1     thanks.     All right.     So let's go over the provisions of the

   2     plan, and let's start with what you gave your testimony on,

   3     the note in the -- the note.         And you testified what exactly

   4     your opinion was as to the terms of the note, correct?                Did

   5     the settlement agreement modify the terms of that original

   6     note?

   7                  MR. FITZMAURICE:     Objection, Your Honor.         Calls

   8     for a legal conclusion.

   9                  MR. BURKS:     This door is really wide open at this

  10     point.

  11                  THE COURT:     I'll give you a little bit of leeway.

  12     I think the agreement speaks for itself, Mr. Burks.               What he

  13     thinks may or may not have any relevance to me, but if you

  14     want to ask the questions and put it on the record, I'm more

  15     than happy to do that.

  16                  MR. BURKS:     Thank you, Judge.      I made the same

  17     objections, frankly.

  18     BY MR. BURKS:

  19     Q       In your opinion, did the settlement agreement modify

  20     the original terms of the note?

  21                  MR. FITZMAURICE:     So objection, Your Honor.

  22     Question calls for speculation and the witness' opinion.                    He

  23     is not here as an opinion witness, as an expert.              He's here

  24     to offer factual testimony.

  25                  MR. BURKS:     He gets to answer that.

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   1                  THE COURT:     I'll let him answer that question.

   2     Thank you.     Go ahead.

   3     BY MR. BURKS:

   4     A     Could you say that again?

   5                  THE COURT:     Let me be clear.      Mr. Burks may be

   6     asking you questions that you do not know, and if you do not

   7     know --

   8                  THE WITNESS:     Mm hm.

   9                  THE COURT:     -- the correct responses, you don't

  10     know, okay?     But if you do know or you have an opinion, I'd

  11     like to hear it.      Go ahead.

  12                  MR. BURKS:     Thank you, Judge.

  13     BY MR. BURKS:

  14     Q     You testified as to the terms of the note and whether

  15     or not the note was in default and whether or not the

  16     borrower had performed.        Do you remember that testimony?

  17     A     Yes.

  18     Q     All right.     Was your -- and you testified that there

  19     was a settlement agreement, correct?

  20     A     Yes.

  21     Q     You testified that you understood and you were familiar

  22     with the terms of that settlement agreement, correct?

  23     A     Yes.

  24     Q     All right.     Did the settlement agreement modify or

  25     change any terms of the original note?

                                                                            000813
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   1     A     Well, because it's a settlement, it made some changes

   2     to the amount that was due.

   3     Q     Did it cure all the defaults up to and effective as of

   4     August 22, 2022?

   5                   MR. FITZMAURICE:    Objection, Your Honor.          Calls

   6     for a legal conclusion.        And also, the document and its

   7     terms speak for themselves.

   8                   MR. BURKS:    Let's see what he knows, Your Honor.

   9     You gave him an awful lot of leeway on direct.              I'm

  10     certainly within the scope of direct here.

  11                   THE COURT:    I'll let -- again, and I'll say it

  12     again for the record, the document says that it says, Mr.

  13     Burks, but I don't have any objection to you asking that

  14     question.

  15                   MR. BURKS:    I'm eventually going to -- the only --

  16                   THE COURT:    The question.     You don't need to tell

  17     me what you're going to do.         I'm happy to hear the

  18     testimony.      Go ahead.

  19                   MR. BURKS:    You've ruled.     Thank you, Judge.

  20     BY MR. BURKS:

  21     Q     Do you need the question again, sir?

  22     A     Could you ask it again?

  23     Q     Sure.     By the terms of the confidential settlement

  24     agreement, did all the defaults leading up to the settlement

  25     agreement date of August 22, 2022, were those cured?                Were

                                                                            000814
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   1     those brought current by the settlement agreement?

   2     A     Yes.    The borrower properly behaved under the

   3     settlement agreement and those claims were waived.

   4     Q     All right.     So let's go to what the settlement

   5     agreement required.         The first requirement was a payment of

   6     --

   7                  MR. BURKS:      Scroll down, please.

   8     BY MR. BURKS:

   9     Q     -- $800,000.     And I -- I'm telling you that so we can

  10     get to the agreement, sir.

  11                  MR. BAKER:      Where is it?

  12                  MR. BURKS:      Until you see (indiscernible).         Keep

  13     going down.

  14     BY MR. BURKS:

  15     Q     So the settlement payment of $801 -- 509 --

  16     $801,509.42, was that received by NBK?

  17                  MR. FITZMAURICE:      So objection, Your Honor, to the

  18     extent that counsel described that as the settlement payment

  19     and mischaracterizes the evidence.

  20                  MR. BURKS:      Actually, I said "was the payment of"

  21     in terms of the settlement payment.            We all see what the

  22     settlement payments are.         I'm asking was the 801,509.42

  23     received.     That's a simple question.

  24     BY MR. BURKS:

  25     A     Yes.

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   1     Q     The Judge has to rule on the objection.            One moment.

   2                  THE COURT:     What?   Was there an objection?        I

   3     didn't hear it.

   4                  MR. BURKS:     Okay.

   5     BY MR. BURKS:

   6     Q     So the 801,509.42 was received by the bank, correct?

   7     A     Yes.

   8     Q     All right.     The settlement payments also include...

   9                  MR. BURKS:     (indiscernible).      Wherever.     Go back

  10     up.   Go ahead and put the three payments of $80,000.

  11                  THE COURT:     I think that's part of the state court

  12     litigation.

  13                  MR. BURKS:     Okay.   Freeze there.

  14     BY MR. BURKS:

  15     Q     Were any other payments due to the bank under this

  16     settlement agreement?

  17     A     There was a total settlement of 27 million.

  18     Q     And when was that due?

  19     A     That was due within 210 days.

  20     Q     Did the bank receive 27 million with the

  21     (indiscernible) balance due within 210 days?

  22     A     No.

  23     Q     So what did the bank do?        Did the bank extend the time

  24     or make any sort of agreement?

  25     A     We proceeded to file for foreclosure.

                                                                            000816
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   1     Q     Did you make an agreement to extend the time to receive

   2     the money?

   3     A     The borrower made a request to the court to extend it.

   4     And there was an agreement to extend it for 90 days with a

   5     payment of $80,000 a month.

   6     Q     Mm hm.

   7     A     Of which only two of the three months were paid.

   8     Q     So was the first month paid?

   9     A     Yes.

  10     Q     Was the second month paid?

  11     A     Yes.

  12     Q     Was the third month paid?

  13     A     No.

  14     Q     At what point did the bank take the position that the

  15     borrower was in default on the settlement agreement?               On

  16     what date or what time?

  17     A     When they failed to make the third payment.

  18     Q     And what date was that?

  19     A     I don't remember specifically.

  20     Q     All right.     Are you aware that there was a lawsuit

  21     filed?      The lawsuit's been admitted into evidence, not for

  22     voracity of the claims, but for the fact that the lawsuit

  23     exists and the claims exist.         Are you aware of that lawsuit?

  24     A     No.

  25     Q     So you're not aware that NBK is a defendant in a

                                                                            000817
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   1     lawsuit regarding the enforceability and terms of this

   2     settlement agreement.

   3                  MR. FITZMAURICE:     So objection, Your Honor.         Lacks

   4     foundation.     And if there's a lawsuit, we can look at it.

   5                  THE COURT:     Yeah, I'll sustain the objection.

   6                  MR. BURKS:     Well, I'm asking him if he's aware.

   7     An objection's sustained.        I'll reask it.

   8     BY MR. BURKS:

   9     Q     When you stated that the debtor or the borrower was in

  10     default of the settlement agreement, were you under the --

  11     were you making the assumption that the bank had not first

  12     been in breach of the settlement agreement?

  13     A     Yes.

  14     Q     If I told you, and it's purely hypothetical, but if I

  15     told you as a hypothetical in your experience as a banker,

  16     in your experience as -- dealing with loans that if there

  17     was an agreement that the bank breached first, would you

  18     take the position that the borrower was still in default of

  19     that agreement?

  20                  MR. FITZMAURICE:     Objection, Your Honor.         Calls

  21     for speculation.

  22                  THE COURT:     I'll sustain the objection.

  23     BY MR. BURKS:

  24     Q     The tax liens that the bank claims are going to be paid

  25     to the bank by -- in terms of the plan.            Is that correct?

                                                                            000818
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   1                  MR. FITZMAURICE:     Objection, Your Honor.        The plan

   2     speaks for itself.

   3                  THE COURT:    I'll sustain the objection as to what

   4     the plan says.     And it's in evidence.        If you want to show

   5     him and have him read it you can.

   6                  MR. BURKS:    Yes, Your Honor.

   7     BY MR. BURKS:

   8     Q       Does the settlement agreement affect the rights of the

   9     borrower or NBK with respect to the tax liens?

  10                  MR. FITZMAURICE:     Objection, Your Honor.        Calls

  11     for a legal conclusion.

  12                  MR. BURKS:    Your Honor -- response, Your Honor.

  13     This door is so wide open regarding what he understands the

  14     effects of the settlement agreement --

  15                  MR. FITZMAURICE:     If he doesn’t know, he doesn't

  16     know.

  17                  THE COURT:    Here's my problem.      I struggle for the

  18     relevance of what he thinks because what he thinks really

  19     isn't that important to me.        It's what I think and how I

  20     rule.     It's in evidence.     If you want to make an argument

  21     that it does some particular thing for the debtor, that's

  22     fine.     But I don't really care what he thinks.          How's it

  23     relevant?

  24                  MR. BURKS:    He's declaring the loan in default and

  25     he's testifying as to the validity of the claim, Judge.

                                                                           000819
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   1                    THE COURT:     And so your point is what?        You're

   2     going to cross-examine him on that issue?

   3                    MR. BURKS:     And I want -- I think it goes to

   4     weight in the documents.

   5                    THE COURT:     Okay.   Thank you.

   6     BY MR. BURKS:

   7     Q       I want to talk about classification, which is something

   8     you talked about.        Do you remember talking to your attorney

   9     about classification of claims?            Sort of the grouping.         You

  10     described it, I believe, as the grouping of the claims.

  11     A       Yes.

  12     Q       You said that 2425 WL filed a second lien on the

  13     property.       Is that correct?

  14     A       Yes.

  15     Q       You stated that WL is getting zero under the plan.                Is

  16     that correct?

  17     A       Yes.

  18     Q       And why is WL getting zero under the plan?

  19     A       They have a subordinated claim and mine is insufficient

  20     to cover the first claim.

  21     Q       Why is the plan -- if that is true if -- after the

  22     auction if that is true, why does the plan not provide for a

  23     general unsecured claim on WL's second -- 2425 WL's second

  24     lien?     Why does it not provide for that as an unsecured

  25     claim?

                                                                              000820
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   1     A       They are a Category 6.

   2     Q       So it's because of the way they were classified.              Let

   3     me ask it differently.

   4     A       Okay.

   5     Q       Is the unsecured portion of 2425 WL's claim in the same

   6     class as the under-secured or unsecured portion of NBK's

   7     lien?

   8     A       No.

   9     Q       But NBK's lien is mixed with some other unsecured

  10     creditors, isn't it?

  11     A       It's mixed with some third-party claimants.

  12     Q       Okay.    Let's assume under your math, you told your

  13     attorney that the value -- you believe the value is

  14     somewhere around 60 -- or excuse me, you said today that the

  15     amount due on the note was about 60, 61.              Correct me if I'm

  16     mischaracterizing.        Is that what you said?

  17     A       Say that again?       That the...

  18     Q       What is the current amount due on the first lien note

  19     of NBK?

  20     A       It's a little over 60 million.

  21     Q       All right.     Let's say -- and you said that the credit

  22     bid was for 18 what?

  23     A       Six.

  24     Q       All right.     So let's say you have a 41,000 --

  25     $41,400,000 unsecured claim, okay?

                                                                              000821
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   1     A     Yes.

   2     Q     That's mixed in with -- in the plan, that's classified

   3     and mixed in with unsecured -- of an unsecured claim in the

   4     total amount of what?

   5     A     I don't know the total amount of those other unsecured

   6     claims.

   7     Q     Small, deminimis compared to NBK's claim?

   8     A     Yes, they are small.

   9     Q     What would happen if you took the $26 million unsecured

  10     claim that you believe that exists of WL on its second lien

  11     and mixed it in with NBK's lien?          What would happen?

  12                  MR. FITZMAURICE:     Objection, Your Honor.         Vague as

  13     to what would happen.        Also relevance if -- to the current

  14     plan and whether it would be the confirmation standards,

  15     whether there was some other set of facts that doesn't

  16     exist.

  17                  THE COURT:     I think the question is vague.         Tell

  18     me how it affects me confirming this plan or not.

  19                  MR. BURKS:     Classification -- unfair

  20     discrimination classification, Judge.

  21                  THE COURT:     I think you can ask that question a

  22     different way rather than the way you're asking it.               So

  23     rephrase your question please.

  24     BY MR. BURKS:

  25     Q     Would a $26 million claim classified in the same group

                                                                            000822
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   1     as NBK's probable approximately $43 million claim, would

   2     that dilute substantially the distribution on that unsecured

   3     claim?

   4                  MR. FITZMAURICE:     Objection.      Vague as to

   5     "dilute".     Vague as to "that claim".

   6                  THE COURT:     I'll overrule the objection.         You can

   7     answer the question.

   8     BY MR. BURKS:

   9     A     Well, all of the -- all of that junior subordinate

  10     claim is subordinate to NBK's claim.

  11     Q     So your position is, is that the unsecured claim

  12     portion of the junior lien is subordinate to the unsecured

  13     portion of the first lien.        Is that what you're saying?

  14     A     Yes.

  15     Q     All right.     Let's talk about leases for a minute.            What

  16     happens to the current tenants' leases?            You said they were

  17     being rejected, correct?

  18     A     Yes.

  19     Q     And where -- how much are the rejection lease claims

  20     being paid?

  21     A     They don't get a payment.

  22                  MR. FITZMAURICE:     Objection, Your Honor.         The plan

  23     speaks for itself as to the treatment that the creditors

  24     receive.

  25                  MR. BURKS:     I can't tell.

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   1                    THE COURT:     If he knows he can testify to it.           If

   2     he doesn't know, he'll tell you he doesn't know.

   3     BY MR. BURKS:

   4     A       The tenants don't get a payment.

   5     Q       They don't get one dime, do they?

   6     A       No.

   7     Q       All right.     Trade creditors, are those trade creditors,

   8     do they hold liens on the property?

   9     A       They are various contractors who were doing work on the

  10     property that haven't been paid by the borrower.

  11     Q       My question is for purposes of this plan.             Do they hold

  12     liens?

  13     A       I don't know.

  14     Q       And they're getting paid .70 cents on the dollar,

  15     correct?

  16     A       Yes.

  17     Q       And how much are general unsecured creditors being

  18     paid?

  19     A       The general unsecured ones get the pro rata share of

  20     all the claims in that category.

  21     Q       And is the approximately $40 million claim of NBK in

  22     that same class?

  23     A       Yeah, it's 90 percent of it.

  24     Q       So the general unsecured claims are mixed in with NBK's

  25     claim, correct?

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   1                  MR. FITZMAURICE:     Objection, Your Honor.

   2     Mischaracterizes the plan.

   3                  MR. BURKS:     Oh, I doubt it.      It's a --

   4                  THE COURT:     Well, let's show him the plan then.

   5                  MR. BURKS:     All right.    Let's have the plan.

   6     Paragraph 12.     Page 12, Paragraph G, please.

   7     BY MR. BURKS:

   8     Q     Sir, you recognize this as the plan you've testified

   9     you're familiar with?        Or do you need the first page of it?

  10     A     Yes.

  11     Q     That is the plan that you're testifying about that

  12     you're familiar with?

  13     A     Yes.

  14     Q     To you, what does -- on Page 12, what does Paragraph G

  15     Classified B of the general unsecured claims -- what does it

  16     mean when it says, "Pro rata distribution of general

  17     unsecured claims, provided, however, NBK should be deemed to

  18     have another general unsecured claim equal to 90 percent of

  19     its deficiency"?      What does that mean to you?

  20     A     Pro rata means that whatever is recovered through the

  21     liquidation trust, it would then be divided up based on the

  22     size of the claim.        But NBK's claim is reduced to 90 percent

  23     of its unpaid claim at that point.

  24     Q     So the other general unsecured claims are mixed in with

  25     that 90 percent.

                                                                            000825
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   1     A     Yes.

   2     Q     All right.

   3     A     They're at 100 percent.

   4                  MR. TROOP:     Objection, Your Honor.       That

   5     mischaracterizes the plan.          The plan doesn't say general

   6     unsecured claims.      It says --

   7                  MR. CHOUDHRI:     Objection.     One --

   8                  MR. TROOP:     It says other.     Other general

   9     unsecured claims.      And there's only so much misleading that

  10     counsel ought to be able to do through his testimony because

  11     the plan's pretty clear.        5(a) is trade creditors, trade

  12     general unsecured creditors.

  13                  MR. CHOUDHRI:     Objection.

  14                  MR. TROOP:     There's a definition of other general

  15     unsecured creditors, and then there's Class 6.

  16                  THE COURT:     Okay.    And so let's be clear to

  17     everyone.     I can read the plan.       I could take what this

  18     witness says in light of what the plan says, and it goes

  19     greatly to weight, okay?        So Mr. Burks' questions, I don't

  20     see any problems with them.          You may have some disagreement

  21     with the form of the question, but I take that answer in

  22     context of the plan that I'm going to review, and it doesn't

  23     bother me in the least.        Mr. Choudhri, you may sit down.

  24     You don't get to object.        Go ahead.

  25     BY MR. BURKS:

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   1     Q       Paragraph B, treatment of classes of claims in

   2     interest, Paragraph B(g), the second -- just to be clear,

   3     the second lien claim of WL to the extent there's no value

   4     to that lien, it is excluded from B(g), correct?

   5                  MR. FITZMAURICE:      Objection, Your Honor.        Is

   6     counsel asking about Classified B in Subsection G of this

   7     section?

   8                  MR. BURKS:     Yes.

   9                  THE COURT:     You can answer the question, sir.

  10                  THE WITNESS:     Okay.

  11     BY MR. BURKS:

  12     A       Could you repeat that question?

  13     Q       The (indiscernible) -- the second lien claim of WL is

  14     excluded from Page 12, Paragraph B(g).

  15                  MR. FITZMAURICE:      Objection, Your Honor.        There is

  16     no Paragraph B(g).        Misleading.

  17                  MR. BURKS:     Well, (indiscernible) claims is

  18     Capital B and then little (g) is Class B5.              I'm looking at

  19     it.     The witness is looking at it.        We're all looking at it.

  20                  THE COURT:     Go ahead.    Ask the question and answer

  21     it.     I mean, I'm looking at the same thing and I'm taking it

  22     in light of what the plan says.          And I -- Mr. Burks, I

  23     wonder why -- the questions you're asking seem to be

  24     undisputed facts, okay?        I mean, I'm aware of what the plan

  25     says.     I'm aware of the claim classification.           I'm really

                                                                            000827
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   1     worried about disputed facts.         This appears not to be a

   2     disputed fact as to what's in the claims and how they're

   3     being paid.

   4                 MR. BURKS:     I'll answer the question, Judge.          This

   5     witness said that this is a fair, equitable, and permittable

   6     plan.

   7                 THE COURT:     Well, why don't you ask him questions

   8     about whether it's fair and equitable rather than how claims

   9     are classified?     Because I can tell how claims are

  10     classified.     It's in the plan, okay?       If you have an

  11     argument to make, you have evidence that relates to fair and

  12     equitable, how the claims are classified perhaps, but I know

  13     how they're classified.       Go ahead.

  14                 MR. BURKS:     All right.     I'm going to ask him one

  15     more question about classification and then I'll move on.

  16     May I, Judge?

  17                 THE COURT:     Yeah, you can.

  18                 MR. BURKS:     Thank you.     Turn to trade creditor.

  19     (indiscernible).

  20                 MR. BAKER:     In the (indiscernible)?

  21                 MR. BURKS:     Mm hm.    Go backwards.

  22                 MR. BAKER:     Wait.    Do you want me to go back to

  23     definitions?

  24                 MR. BURKS:     No, I want you to go -- I'd like you

  25     to go, Mr. Baker, to trade creditors.

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   1                    MR. BAKER:     Which section?

   2                    MR. BURKS:     It's what I'm looking for, treatment

   3     of trade creditors.

   4                    MR. BAKER:     I'm almost there.

   5                    MR. BURKS:     (indiscernible).      I'm looking for it.

   6     Scroll up and look for it (indiscernible).                It's on the same

   7     page.

   8     BY MR. BURKS:

   9     Q       The plan provides, as the judge has said -- and we can

  10     all read it, the plan provides for trade creditors to

  11     receive 70 percent of their allowed claims, correct?

  12     A       Yes.

  13     Q       Under any test, do you believe that the creditors, the

  14     other general unsecured claimants in Subclass G will receive

  15     70 percent of their allowed claims?

  16                    MR. FITZMAURICE:     Objection, Your Honor.

  17     Mischaracterizes the document.            There is no Subclass G.

  18     It's the --

  19                    MR. BURKS:     Paragraphs -- Paragraph G, Class 5B of

  20     the general unsecured claims.

  21     BY MR. BURKS:

  22     Q       Do you believe that there is any way that they will

  23     receive .70 cents on the dollar?

  24                    MR. FITZMAURICE:     Objection, Your Honor.         Calls --

  25     the question is misleading.           Counsel is making the legal

                                                                              000829
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   1     argument about whether that's required in order for the plan

   2     to be fair and equitable.

   3                 THE COURT:     I think he's asking a question that I

   4     already know the answer, but I'll ask you to answer the

   5     question, sir.     And then I may ask the questions which I

   6     think you should be asking because I don't think you're

   7     getting there.     But go ahead.       Answer the question.

   8     BY MR. BURKS:

   9     A     It's unlikely.

  10     Q     All right.

  11                 MR. BURKS:     Am I deferring to you now or --

  12                 THE COURT:     You are.

  13                 MR. BURKS:     -- am I proceeding?

  14                 THE COURT:     So if we look at the plan, Mr. Carter,

  15     there are two general unsecured classifications, Class A and

  16     Class 5B.    And what I'd like to know is the rationale of why

  17     those claims are split into two separate classes of claims.

  18     If you know, tell me what the rationale is.

  19                 THE WITNESS:     The general rationale is that the 5A

  20     category was third-party contractors that were doing work on

  21     the building and didn't get paid by the borrower at the time

  22     of the bankruptcy filing.          While the 5B is entities that

  23     were doing work for the borrower but not the building.

  24                 THE COURT:     Okay.     So you're basically --

  25                 THE WITNESS:     Essentially most of them were law

                                                                           000830
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   1     firms that were doing claim work on behalf of the borrower.

   2                    THE COURT:     All right.    So your rationale is --

   3                    THE WITNESS:     It goes in a different category.

   4                    THE COURT:     And in your mind, that separate

   5     classification is fair and equitable.

   6                    THE WITNESS:     Yes.

   7                    THE COURT:     Okay.    Let me ask about Class 7, which

   8     is the subordinated claims.            They're not getting paid

   9     anything.       What's the rationale for not paying the

  10     subordinated claims anything?

  11                    THE WITNESS:     Well, Class 6, 7, and 8 are all

  12     related entities to the borrower.

  13                    THE COURT:     So in effect, you're saying their

  14     insider claims, they shouldn't be paid.

  15                    THE WITNESS:     Not that they shouldn't be paid, but

  16     there are insufficient funds or value in the property to pay

  17     them.

  18                    THE COURT:     Okay.    Go ahead, Mr. Burks.

  19                    MR. BURKS:     Thank you, Judge.      I forget sometimes

  20     you were a debtors' attorney.

  21                    BY MR. BURKS:

  22     Q       Sir, you stated that there would be -- you stated that

  23     the bank anticipates paying $3.7 million cash into the plan,

  24     correct?

  25     A       Yes.

                                                                              000831
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   1     Q     And you stated that you were -- if you did not receive

   2     the release, if NBK did not receive the release in the plan

   3     -- that's provided in the plan, did I understand you

   4     correctly to say that you would not pay the -- the bank

   5     would not pay the $3.7 million?

   6     A     Some of that 3.7 is administrative fees that would need

   7     to be paid anyway.         But some parts of it are for trade

   8     creditors, etcetera, that would be voluntary.

   9     Q     Well, I don't think I asked the question clearly.                If

  10     the --

  11     A     Yeah.

  12     Q     If the judge rules that he cannot grant a release in

  13     this plan -- and I'm not saying he will or won't, but if the

  14     judge rules he can't grant NBK the release that's in the

  15     plan, will NBK pay the $3.7 million if the plan's otherwise

  16     confirmed?

  17                   MR. FITZMAURICE:     Objection, Your Honor.         Calls

  18     for speculation.

  19                   THE COURT:     I'll sustain that objection.

  20     BY MR. BURKS:

  21     Q     In the plan, is the $3.7 million payment tied to the

  22     release?

  23                   MR. FITZMAURICE:     Objection, Your Honor.         The plan

  24     speaks for itself.

  25                   MR. BURKS:     No, he --

                                                                             000832
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   1                  THE COURT:     I'll sustain the objection.

   2                  MR. BURKS:     All right.

   3     BY MR. BURKS:

   4     Q     Have you or -- have you made a determination what is

   5     the value against NBK of all the litigation that's pending

   6     that you're aware of?        Have you made a valuation of that?

   7                  MR. FITZMAURICE:     Objection.      The witness

   8     personally?

   9                  MR. BURKS:     That's where I'm going as my initial

  10     question, yes.

  11                  MR. FITZMAURICE:     So then I'll object to the

  12     extent the witness -- the question would ask the witness to

  13     reveal the contents of the attorney-client communications.

  14     I instruct the witness not to do so.

  15                  THE COURT:     I'll sustain the objection.         I think

  16     that question's better directed to the trustee anyway.

  17     BY MR. BURKS:

  18     Q     Has NBK's loan committee -- did they approve the

  19     payment of 3.7?      Did they approve the payment of $3.7

  20     million through the plan if it's confirmed?

  21     A     Yes.

  22     Q     Did they do so on the expectation of the full release

  23     from litigation?

  24     A     Yes.

  25     Q     In doing so, did they assign a value to the litigation

                                                                            000833
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   1     that they're being released from?

   2                 MR. FITZMAURICE:     Objection, Your Honor.         Calls

   3     for speculation and again (indiscernible).

   4                 THE COURT:     I'll sustain the objection.

   5     BY MR. BURKS:

   6     Q     Is this plan being confirmed or proposed with the bank

   7     assigning no valuation to the litigation (indiscernible)?

   8                 MR. FITZMAURICE:     Objection, Your Honor.         It's the

   9     version of the same question that we've been at here a

  10     little while.

  11                 THE COURT:     And I sustained the objection for the

  12     first time, and I'll sustain it again.           Thank you.

  13                 MR. BURKS:     Yes, Your Honor.      So your ruling is

  14     that I don't get to know what the value -- the bank's value

  15     of the litigation is?

  16                 THE COURT:     I just said I think that question is

  17     better asked of the trustee.        He's probably in a much better

  18     position to make an evaluation of what it's worth and not

  19     worth.

  20                 MR. BURKS:     Yes, Your Honor.      I understand.     I'm

  21     going to ask the Court to take judicial notice that in the

  22     case the proponent in this plan and the trustee is not.

  23                 THE COURT:     That's fine.

  24                 MR. BURKS:     Thank you, Judge.

  25                 THE COURT:     Thank you.

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   1                   MR. BURKS:   May I have a moment with my notes,

   2     Judge?

   3                   THE COURT:   Certainly.

   4                   MR. BURKS:   Thank you.    Thank you, Your Honor.

   5                   MAN 1:   May I borrow a tissue from the court?

   6                   THE COURT:   Yeah, sure.

   7                   MAN 1:   And (indiscernible) I will not return it.

   8                   MR. BURKS:   Mr. Baker, will you turn to Page 11 of

   9     the plan, please?       May I proceed?

  10                   MR. FITZMAURICE:   Oh, yes.     Thank you, yes.

  11     BY MR. BURKS:

  12     Q     Mr. Carter, will you look on Page 11 of the plan?

  13     There's a summary of classification.          I want to know what

  14     other secured claims in Class 1 are.          Who are they, please?

  15     A     Class 1 is the outstanding tax claims.

  16     Q     Are you aware of proof of claim at ECF Docket 496-1

  17     filed by Arin-Air Inc.?

  18     A     No.

  19     Q     Never heard of it?

  20     A     No.

  21     Q     Okay.     Do you know whether or not the claim of Arin-Air

  22     Inc. is being paid in the plan?

  23     A     I don't know what that claim is.

  24     Q     Okay.     Let's put it up on the screen and see.          Docket

  25     ECF 496-1.

                                                                           000835
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   1                  MR. BURKS:    Mr. Baker, will you slowly scroll

   2     down?

   3     BY MR. BURKS:

   4     Q       And Mr. Carter, I'm doing this so -- I'm trying to see

   5     if you can identify this claim.         It purports to be from

   6     Arin-Air Inc. and it purports to have a mechanic

   7     (indiscernible) on it.

   8                  MR. BURKS:    All the way down (indiscernible).

   9     BY MR. BURKS:

  10     Q       Have you seen this proof of claim, Mr. Carter, before?

  11     A       I don't recall this one.

  12     Q       It purports to be, certainly on its face --

  13                  MR. BURKS:    Go to Page 1, please.

  14     BY MR. BURKS:

  15     Q       -- a secured claim.     Isn't that the definition of Class

  16     1, other secured claims?

  17                  MR. FITZMAURICE:     Objection, Your Honor.        The plan

  18     speaks for itself in how it defines numbers of the classes.

  19                  THE COURT:    I'll sustain the objection.         Thank

  20     you.

  21     BY MR. BURKS:

  22     Q       Do you know what class Arin-Air Inc. is included in?

  23     A       Given that it appears to be a construction company,

  24     it's like in the 5A group.        If it's there.       I don't know

  25     that one particularly.

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   1     Q       And which group is that?

   2     A       That's the one that gets 70 percent.

   3     Q       The date of the lien purports to be 8/11/2023.            Do you

   4     recall the date of the second lien filed by 2425 WL?

   5                  MR. FITZMAURICE:     So objection, Your Honor.         Calls

   6     for a legal conclusion as to whether or not the -- if there

   7     is a lien that is actually valid and perfected as of that

   8     date.

   9                  THE COURT:     Ask the question again, Mr. Burks.

  10     BY MR. BURKS:

  11     Q       We see that Arin-Air Inc.'s lien affidavit by order or

  12     not was filed on 8/11/2023.         Do you recall when the lien of

  13     2425 WL, valid or not, do you recall when that was filed?

  14                  MR. FITZMAURICE:     So objection, Your Honor.         Lacks

  15     foundation as to the date of the filing.            I don't know if

  16     the witness knows what any of the markings on this document

  17     mean.

  18                  MR. BURKS:     I asked him when it was filed.

  19                  THE COURT:     I'll overrule the objection.         You can

  20     answer the question.        If you recall.

  21                  THE WITNESS:     I don't recall it --

  22                  THE COURT:     If you don't recall --

  23                  THE WITNESS:     -- when it was filed.

  24     BY MR. BURKS:

  25     Q       All right, sir.     Well, I have a question about that,

                                                                            000837
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   1     and I'm going to pull up the proof of claim, which has been

   2     previously admitted into evidence so you can take a look at

   3     it.   (indiscernible) one moment, sir.          I understand that you

   4     don’t remember all the claims.

   5                 MR. BURKS:     Is this you (indiscernible)?           Let's do

   6     some work on it.

   7                 MR. BAKER:     FR claim?

   8                 MR. BURKS:     Of the (indiscernible).

   9                 MR. BAKER:     Yeah.     I would have to look there.

  10                 MR. BURKS:     (indiscernible).

  11                 MR. BAKER:     He's there.     Go up.      Keep going up.

  12                 MR. BURKS:     And on a slightly lighter note, I do

  13     miss the days of paper a little bit.

  14                 MR. BAKER:     12.     No, I'm sorry.      (indiscernible).

  15     Here it is.

  16                 MR. BURKS:     Yeah, there it is.       7.    Go down to the

  17     middle of the page.

  18     BY MR. BURKS:

  19     Q     So the date of the lien affidavit of Arin-Air was

  20     8/11/23 irrespective of this enforceability.              And the --

  21                 MR. TROOP:     Object -- I'm sorry, Your Honor.

  22                 MR. BURKS:     Can I ask the question?

  23                 MR. TROOP:     Well, no, because it's about what

  24     you're talking about.       It's not admissible.

  25                 MR. SATHER:     Your Honor, this --

                                                                             000838
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   1                   THE COURT:    Whoa, whoa, whoa.      One at a time.       One

   2     at a time.      I'll let you go, Mr. Sather, but let him talk

   3     first.      Don't interrupt him.     Thank you.     Go ahead.

   4                   MR. TROOP:    Your Honor, I do not believe that the

   5     Arin-Air proof of claim has been admitted into evidence.                    If

   6     it's not been admitted into evidence, you're entitled to

   7     take judicial notice of the fact that it is on the claims

   8     register, but you can't take anything about it as being true

   9     for a fact that's been asserted.          There's no foundation for

  10     that.    And therefore to the extent that this line of

  11     questioning is trying to elicit something between the truth

  12     of a document that is not admitted for the truth, it can't

  13     be admitted for the truth of it and another document.               But

  14     the line of questioning should be prohibited, Your Honor.

  15                   THE COURT:    Mr. Burks, I'll let you respond to

  16     that.    Go ahead.     And I'll let Mr. Sather respond as well.

  17                   MR. BURKS:    So you can do -- I'm asking the Court

  18     to take judicial notice of Docket Number 496-1, which is the

  19     proof of -- excuse me.

  20                   THE COURT:    I'll take judicial notice of the

  21     claims register in 2334815 Galleria 2425 (indiscernible).

  22                   MR. BURKS:    And all I'm asking is the Court to

  23     take judicial notice that the claim includes (indiscernible)

  24     with the date.       Whether it's valid or not is for you to

  25     decide when you write your opinion on this (indiscernible).

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   1                  THE COURT:    Okay.   So what's your question to this

   2     witness then?

   3                  MR. BURKS:    My question is comparing the date of

   4     lien on (indiscernible) for Arin-Air from 8/11/2023, whether

   5     valid or not, is it before or after the trust date, whether

   6     valid or not, in 2425 WL from Proof of Claim 7.

   7                  THE COURT:    Mr. Burks, that has so much

   8     speculation in it, it's not even that funny.            So I'm not

   9     going to allow that question.        But I can look at the claims

  10     here to strike and compare dates.         Thank you.

  11                  MR. BURKS:    All right.    I ask -- hold on, please.

  12     Your Honor, I ask the Court to take judicial notice of Claim

  13     7-1 --

  14                  THE COURT:    I've already taken judicial notice of

  15     the entire claims register, Mr. Burks.

  16                  MR. BURKS:    I ask the Court to take judicial

  17     notice that the date of trust purports to be recorded on

  18     8/11/2021.

  19                  THE COURT:    Scrolling down, that's an official

  20     copy, right?

  21                  MR. BURKS:    Yes, Your Honor.

  22                  THE COURT:    It's unofficial.

  23                  MR. BURKS:    On the proof of claim it purports to

  24     be recorded on 8/11/2021.

  25                  THE COURT:    What claim is that, Mr. Burks?

                                                                           000840
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   1                 MR. BURKS:     This is Claim 7, the claim on 2425 WL.

   2     Go to the first page where it says the date on it.

   3                 THE COURT:     Bear with me for one second.         I'm

   4     looking at it.     I'm pulling it off ECF.

   5                 MR. BURKS:     Let me see it (indiscernible).         You're

   6     going to put it on the screen, Judge?

   7                 THE COURT:     Yeah, I'm going to look at it.         But I

   8     can put it on the screen.       It's already on the screen.

   9                 MR. BURKS:     Mm hm.   All right.     Keep going.        Stop.

  10                 THE COURT:     You want me to take judicial notice of

  11     the fact that it was recorded on 5/11/2021?            Is that what

  12     you're asking?

  13                 MR. BURKS:     That the proof of claim purports to

  14     claim that it was recorded on 5/11/2021.

  15                 THE COURT:     The recording information seems to

  16     indicate that it was filed on 5/11/2021.           That's at the top

  17     of Page 5 of 18.     I'll take judicial notice that.

  18                 MR. BURKS:     Thank you, Your Honor.       May I ask the

  19     Court to take judicial notice of Docket Number 496-1, the

  20     proof of claim of Arin-Air Inc.?

  21                 THE COURT:     I've already taken judicial notice of

  22     the entire claims register, Mr. Burks.           I don't need to.

  23                 MR. BURKS:     Will you take judicial notice that the

  24     lien affidavit purports to be recorded on 8/11/2023?

  25                 THE COURT:     I'll take judicial notice of the

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   1     recording stamp dated 8/11/2023, Claim 17-1 on Page 4 of 9.

   2                 MR. BURKS:     Yes, Your Honor.      Thank you.

   3     BY MR. BURKS:

   4     Q     Mr. Carter, on that class of trade creditors, they are

   5     getting paid 70 percent of their allowed claims.              Are you

   6     aware of any of those claims that have recorded mechanic's

   7     and (indiscernible) liens?

   8     A     No.

   9                 MR. BURKS:     Your Honor, I may be complete with my

  10     cross of this witness.        May I -- Mr. Ali Choudhri did ask

  11     for me to speak to him.        May I take --

  12                 THE COURT:     That's fine.

  13                 MR. BURKS:     -- 60 seconds or more?       How much time

  14     may I have?     90 seconds?

  15                 THE COURT:     I'll give you as much time as you

  16     need, Mr. Burks.     I don't want to cut anyone off from asking

  17     questions as long as they're relevant.           So go ahead.

  18                 MR. BURKS:     Thank you, Judge.      I'd rather handle

  19     it this way.

  20     BY MR. BURKS:

  21     Q     Go back to the very beginning of the plan.            You talked

  22     a little with your client -- with your attorney, sorry.                 You

  23     talked with your attorney about the negotiation and proposal

  24     of the plan.     Did NBK negotiate the terms of this plan with

  25     the Chapter 11 trustee?

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   1     A     No.

   2     Q     Did NBK provide the terms of the plan to the Chapter 11

   3     trustee?

   4     A     Our lawyers did the initial draft.

   5     Q     Okay.     Do you know -- for purposes of this hearing, do

   6     you know if the Chapter 11 trustee asked for a cap on credit

   7     bidding?

   8     A     They did.

   9     Q     Excuse me?

  10     A     They did.

  11     Q     And was a cap on credit bidding provided in the plan?

  12     A     We declined that request.

  13     Q     All right.     Did the Chapter 11 trustee request more

  14     funds be paid in for the release of claims?

  15     A     That was a suggestion they made.

  16     Q     Is -- and did you?      Did you agree to provide more than

  17     the estimated 3.7 note?

  18                   MR. FITZMAURICE:   Objection, Your Honor.         The

  19     question is misleading.       The first question was what was

  20     initially requested, and now it's what is ultimately

  21     provided.      And counsel is asking whether what was initially

  22     requested -- there's a logical connection between the two,

  23     and he hasn't established that they're in fact --

  24                   THE COURT:   Let's ask a little more detail, Mr.

  25     Burks.

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   1                  MR. BURKS:     Fair enough.     I agree.    Sorry.

   2     BY MR. BURKS:

   3     Q     You're aware of the cash payments in the -- that are

   4     provided for -- required of the bank if they get a release

   5     and the plan's confirmed, correct?

   6     A     Yes.

   7     Q     And your estimation is that it was about -- it's going

   8     to be more or less $3.7 million.

   9     A     Yes.

  10     Q     And the board's approved that.

  11     A     Yes.

  12     Q     Did the trustee ask for more than that amount of $3.7

  13     million?

  14     A     I'm not aware of any specific request of an amount.

  15     Q     Did the trustee ask for more?          Not an amount, more than

  16     $3.7 million.

  17     A     Well, that's an estimate.         It could be more.

  18     Q     Did the trustee ask for more than $3.7 million?

  19                  MR. FITZMAURICE:     Objection.      Asked and answered.

  20                  THE COURT:     And I'll sustain the objection.

  21     BY MR. BURKS:

  22     Q     Has NBK's board approved more than $3.7 million?

  23                  MR. FITZMAURICE:     Objection, Your Honor.

  24     Mischaracterizes the witness' testimony.

  25                  THE COURT:     I'll sustain the objection.

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   1     BY MR. BURKS:

   2     Q       Do you know --

   3                    MR. SATHER:     Your Honor, if I may, I believe the

   4     two counsel from NBK are making objections.               I would request

   5     that they be limited to a single counsel per witness.

   6                    THE COURT:     Mr. Fitzmaurice will make objections.

   7     Go ahead.

   8     BY MR. BURKS:

   9     Q       Do you know how many negotiating sessions there were

  10     between NBK's attorneys and the Chapter 11 trustee or the

  11     Chapter 11 trustee's attorneys?            I'm not asking you for what

  12     was said, but do you know how many negotiation sessions were

  13     made?

  14     A       No.

  15                    MR. FITZMAURICE:     Objection, Your Honor.         Lacks

  16     foundation.

  17                    THE COURT:     He answered the question.        I don't

  18     need to rule on the objection.            Go ahead.

  19     BY MR. BURKS:

  20     Q       You negotiate deals and workouts on loans, don't you?

  21     A       Yes.

  22     Q       Isn't it true that NBK in its negotiations constantly

  23     told the Chapter 11 trustee if you want the cash, I got to

  24     have credit bidding?

  25                    MR. FITZMAURICE:     Objection, Your Honor.         Lacks

                                                                              000845
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   1     foundation.

   2                  MR. BURKS:     He either knows or he doesn't.

   3                  THE COURT:     I'll overrule the objection.

   4     BY MR. BURKS:

   5     Q      If you want the cash, we've got to have credit bidding.

   6     Was that a point that the bank made with the trustee?

   7                  MR. FITZMAURICE:     So objection, Your Honor, to the

   8     extent that the question calls for the witness to reveal the

   9     contents of attorney-client privileged communications for

  10     which I instruct him not to do so.

  11                  MR. BURKS:     I asked him what the bank's position

  12     was.    I was careful not to dance in between the bank and the

  13     attorneys.

  14                  MR. FITZMAURICE:     Well, what he asked was what did

  15     the bank's lawyers say to the trustee.

  16                  THE COURT:     I'll sustain the objection as to

  17     privilege.     Thank you.

  18     BY MR. BURKS:

  19     Q      Did the bank -- not the bank's lawyers, did the bank

  20     take the position that no credit bidding equals no $3.7

  21     million in the plan?

  22     A      We agree with that concept, yes.

  23     Q      Isn't it true that the bank said no release of claims,

  24     no release of liability, no $3.7 million?

  25     A      We agreed with that concept, yes.

                                                                            000846
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   1     Q     Is there any other plan on file right now for the

   2     Chapter 11 trustee to consider?

   3     A     Not that I know of.

   4     Q     So it's your plan or the highway, correct?

   5     A     From my understanding.

   6                 MR. FITZMAURICE:     Objection, Your Honor.

   7     Argumentative.

   8                 THE COURT:     That's argumentative, Mr. Burks.

   9                 MR. BURKS:     Yes, Your Honor.      Only 30 seconds to

  10     confer with counsel to make sure that --

  11                 THE COURT:     Go ahead.

  12                 MR. BURKS:     Your Honor, I'm checking my notes to

  13     make sure that I've asked what I need to ask and then I'll

  14     pass the witness.     Thank you, Your Honor.           Pass the witness.

  15                 THE COURT:     All right.     Mr. Baker?

  16                 MR. BAKER:     No additional questions, Your Honor.

  17                 THE COURT:     All right.     Thank you.      Mr.

  18     Fitzmaurice?

  19                 MAN 1:   Your Honor?       May I ask a few, Your Honor?

  20                 THE COURT:     No, you may not.      Thank you.

  21                 MAN 1:   I thought I misunderstood maybe in the

  22     beginning of the hearing you said that I would be able to

  23     ask --

  24                 THE COURT:     You may sit down, sir.         Thank you.        Go

  25     ahead.

                                                                            000847
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   1                  MR. FITZMAURICE:      Your Honor, briefly, before I

   2     begin, have we invoked the rule?           I just want to make sure I

   3     understand who the rest of the -- other than the marshals in

   4     the back, the -- I understand who the rest of the folks are

   5     in the courtroom who are sitting behind the bar.

   6                  THE COURT:     I --

   7                  MR. FITZMAURICE:      Mr. Steidley is counsel for

   8     2425.    I want to make sure he's here in that capacity, not

   9     as a witness given we've had lots of lawyers called as

  10     witnesses.

  11                  THE COURT:     The rule's --

  12                  MR. FITZMAURICE:      And he was previously a witness.

  13                  THE COURT:     The rule's been invoked.        If they

  14     violate the rule, it's on the people who are sitting at that

  15     table right over there.        They know what the rule is.         And if

  16     it's invoked and it's violated, then they don't get to

  17     testify.     It's simple.     Thank you.

  18                  MR. FITZMAURICE:      Thank you, Your Honor.

  19                   REDIRECT EXAMINATION OF MICHAEL CARTER

  20     BY MR. FITZMAURICE:

  21     Q       Mr. Carter, do you know whether the Chapter 11 trustee

  22     has filed an objection to 2425 WL's proof of claim?

  23                  MR. BURKS:     Excuse me, Your Honor.       I'm invoking

  24     the rule on Mr. Steidley.          Somebody might call him.

  25                  THE COURT:     He's already been in the witness --

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   1     he's already been -- he's already heard testimony.               He can't

   2     testify.

   3                   MR. BURKS:    All right.

   4                   THE COURT:     Thank you.

   5     BY MR. FITZMAURICE:

   6     Q     I'll repeat the question, Mr. Carter.             Do you know

   7     whether the Chapter 11 trustee has filed an objection to the

   8     2425 WL proof of claim?

   9     A     Not that I know of.

  10     Q     Okay.     Counsel was asking you questions about the

  11     classification of claims in the plan.            Do you recall that?

  12     A     Yes.

  13     Q     And one of those questions was about Class 7

  14     subordinated claims.        Do you recall that?

  15     A     Yes.

  16     Q     Just in general --

  17     A     Oh.

  18     Q     -- that he asked you questions about that topic.

  19     That's all I'm asking for now.

  20     A     Yes.

  21     Q     Okay.     Do you know whether there are in fact any

  22     creditors in Class 7?

  23     A     Not that I know of.

  24     Q     Okay.     Do you know whether the trustee has filed a

  25     complaint seeking to equitably subordinate certain claims

                                                                            000849
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   1     that have been filed in this case by affiliates of Mr.

   2     Choudhri?

   3     A     Not that I know of.

   4     Q     Okay.    There were some questions that were asked of you

   5     about a proof of claim filed by Arin-Air.               Do you recall

   6     those questions?

   7     A     Yes.

   8     Q     And do you recall that Mr. Burks was asking whether you

   9     knew anything about whether that claim was in fact secured?

  10     Do you recall those questions?

  11     A     Yes.

  12     Q     Okay.    Do you know whether that claim filed by Arin-

  13     Air, if it's allowed, is senior in priority to the bank's

  14     claim?

  15     A     Not that I know of.

  16     Q     Okay.    If it is senior in priority to the bank's claim,

  17     do you know what happens to it under the plan?

  18     A     I believe it goes into Category 2.

  19     Q     And do you know what -- do you recall what the

  20     treatment is to those claims?

  21     A     It's 100 percent payment.

  22     Q     Okay.    Do you know whether the period of time for the

  23     estate to object to claims, whether that period of time has

  24     passed?

  25     A     I don't know that specific.

                                                                             000850
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   1     Q     Did you specifically, you, Mr. Carter, did you

   2     negotiate any terms of the Chapter 11 plan of liquidation

   3     with the Chapter 11 trustee?

   4     A     No.

   5     Q     Do you know whether any other bank employee negotiated

   6     the terms of the plan on behalf of -- well, with the Chapter

   7     11 trustee?

   8     A     No.

   9     Q     Do you know whether counsel for NBK negotiated the

  10     terms of the Chapter 11 plan with the Chapter 11 trustee?

  11     A     That's my understanding, yes.

  12     Q     The bank has previously sought to foreclose its

  13     mortgage against the property.           Is that correct?

  14     A     Yes.

  15     Q     And in the event of a foreclosure, do you have an

  16     understanding as to what would happen to any lien that comes

  17     after the banks?

  18     A     They would be wiped out --

  19     Q     Would they --

  20     A     -- if the bank is not fully repaid.

  21     Q     And if there are any parties who hold any unsecured

  22     claims, would they receive any benefit in the event of a

  23     foreclosure?

  24     A     Not if the bank is not fully repaid.

  25                  MR. BURKS:     Objection.     Calls for speculation as

                                                                            000851
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   1     to what would be brought in at a foreclosure.

   2                   MR. FITZMAURICE:     The witness' answer I think

   3     resolves the question.         He said unless -- not if the bank

   4     wasn't fully repaid.

   5                   THE COURT:     I'll overrule the objection.         Thank

   6     you.     Based on the response.

   7     BY MR. FITZMAURICE:

   8     Q      Thank you, Mr. Carter.

   9                   MR. FITZMAURICE:     No further questions, Your

  10     Honor.

  11                   THE COURT:     Mr. Burks?

  12                   MR. BURKS:     Yes, Your Honor.

  13                     RECROSS-EXAMINATION OF MICHAEL CARTER

  14     BY MR. BURKS:

  15     Q      Mr. Carter --

  16                   MR. BURKS:     Put the plan up please.        It's 23.

  17     It's 194.

  18     BY MR. BURKS:

  19     Q      Bear with me, Mr. Carter.          I want to ask you a question

  20     about the plan without being -- I believe we're on page --

  21     the first page.       You're the representative of the bank,

  22     correct?

  23     A      Yes.

  24     Q      A deposition was taken of an officer of the bank who

  25     had knowledge of this case.          Within the scope of that

                                                                             000852
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   1     deposition -- and was that taken of you?

   2     A     Yes.

   3     Q     Are you --

   4                   MR. FITZMAURICE:        Your Honor, objection as beyond

   5     the scope.      I think he's limited to what the redirect was.

   6                   THE COURT:     It is.     He is limited, but he's asked

   7     about a deposition.         That could be impeachment.        I'll let

   8     him go.      But if it's beyond the scope you can raise your

   9     objection again.      Go ahead.

  10                   MR. BURKS:     I would never do that, Judge.

  11                   THE COURT:     I don't believe that for a minute, Mr.

  12     Burks.

  13                   MR. BURKS:     I tried to keep a straight face.

  14     BY MR. BURKS:

  15     Q     Mr. Carter, you recognize this document, correct?

  16     A     Yes.

  17     Q     All right.     Who signed this?

  18     A     Well, if you scroll down I could tell you.

  19     Q     Thank you.

  20     A     Yes, it's me.

  21     Q     And the National Bank of Kuwait signed it through its

  22     representative Michael Carter, correct?

  23     A     Yes.

  24                   MR. BURKS:     Mr. Baker, scroll down.

  25     BY MR. BURKS:

                                                                             000853
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   1     Q     Did the law firm sign it?         I don't see their signature.

   2     Did the law firm sign it?

   3                  MR. FITZMAURICE:    Your Honor, we'll stipulate that

   4     the bank signed and the law firms didn't.

   5                  THE COURT:    All right.     Thank you.    It's -- I'll

   6     take the stipulation.       Thank you.

   7     BY MR. BURKS:

   8     Q     Is your statement that you had no knowledge of the

   9     negotiation of the terms of this plan?

  10                  MR. FITZMAURICE:    Objection, Your Honor.

  11     Mischaracterizes the witness' testimony.

  12                  MR. BURKS:    I asked him if it was.

  13                  THE COURT:    I think it mischaracterizes his prior

  14     testimony.     Ask a different question.

  15                  MR. BURKS:    Yes, Your Honor.

  16     BY MR. BURKS:

  17     Q     Do you know the terms back and forth of the

  18     negotiations of this plan that you signed?

  19     A     Generally.    Generally, yes.

  20                  MR. BURKS:    Nothing further, Judge.

  21                  THE COURT:    All right.     Thank you.    Mr. Baker?

  22                  MR. BAKER:    Nothing further, Your Honor.

  23                  THE COURT:    All right.     Thank you.    Mr.

  24     Fitzmaurice?

  25                  MR. FITZMAURICE:    Nothing further for Mr. Carter,

                                                                           000854
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                                                                           Page



   1     Your Honor.

   2                   THE COURT:     Thank you.    Mr. Carter, you're

   3     excused.      You may step down.       Thank you.    All right.     Mr.

   4     Fitzmaurice, next witness.

   5                   MR. FITZMAURICE:     Your Honor, National Bank of

   6     Kuwait calls the Chapter 11 trustee Christopher Murray.

   7                   THE COURT:     All right.    Mr. Murray, come on

   8     forward.      I'll swear you in.       Please raise your right hand

   9     and be sworn.      Do you swear or affirm to tell the truth, the

  10     whole truth, and nothing but the truth so help you God?

  11                   THE WITNESS:     I do.

  12                   THE COURT:     Thank you.    Have a seat.

  13                   DIRECT EXAMINATION OF CHRISTOPHER MURRAY

  14     BY MR. FITZMAURICE:

  15     Q     Good morning, Mr. Murray.

  16     A     Good morning.

  17     Q     Were you in the courtroom earlier this morning when the

  18     Court took appearances?

  19     A     I was.

  20     Q     Did you hear Mr. Shannon tell the Court that the

  21     Chapter 11 trustee supports confirmation of the bank's plan?

  22     A     Yes, I did.

  23     Q     Do you support confirmation of the bank's plan?

  24     A     I do.

  25     Q     Why?

                                                                             000855
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   1     A     It is -- if confirmed, will lead to a superior outcome

   2     for unsecured creditors and other parties in interest than

   3     the alternative.

   4     Q     Is there presently an alternative?

   5     A     No.

   6     Q     Was there previously an alternative?

   7     A     There were other plans filed but ultimately withdrawn.

   8     Q     In your role as Chapter 11 trustee, did you evaluate

   9     the benefit to the estate from -- at the time when there

  10     were in fact competing plans?

  11     A     Yes.

  12     Q     And did you make a determination as to which of the

  13     competing plans was superior from the estate's purposes?

  14     A     Yes.

  15     Q     I should say from the estate's perspective.

  16     A     Yes.

  17     Q     Okay.    What was that determination?

  18     A     I determined that the NBK plan was more likely to be

  19     confirmed and therefore in the creditor's best interest.

  20     And in that sense, superior to the competing plans.

  21     Q     What factors did you consider in determining whether or

  22     not you thought -- that you thought the bank's plan was more

  23     likely to be confirmed than the plan proposed by the debtor?

  24     A     I considered feasibility in terms of ability to fund.

  25     That was critical.      I considered what -- whether there'd be

                                                                            000856
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   1     enough money for admins.        I considered permission to use

   2     cash collateral, which was essential to keep the business in

   3     an 11.      I considered what recovery to unsecured creditors

   4     might be.      I considered how causes of action would be

   5     preserved or not.      And I considered my assessment of

   6     confirmability of the plan.         There might be other things,

   7     but those are what come to mind right now.

   8     Q     And after consideration of all of those factors, you

   9     made the determination that the bank's plan was superior to

  10     the debtor's plan.      Is that right?

  11     A     Well, yeah.     I'd say that I think it was superior to

  12     not having a plan.

  13     Q     Did you make a determination as to whether you thought

  14     the debtor's plan was confirmable?

  15     A     I did.

  16     Q     Did you make a determination as to whether you thought

  17     the debtor's plan was feasible?

  18     A     Yes.

  19     Q     What was that determination?

  20     A     I didn't believe it was feasible.

  21     Q     Why did you believe the debtor's plan was not feasible?

  22     A     Lack of funding primarily, but also the de facto veto

  23     that the bank would have absent adequate assurance payments

  24     and adequate protection, which I didn't see the feasibility

  25     of.

                                                                            000857
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                                                                         Page



   1                  MR. FITZMAURICE:       Your Honor, may I project?

   2                  THE COURT:    Sure.

   3                  MAN 1:    (indiscernible)?

   4                  MR. FITZMAURICE:       Please.     Thank you.

   5                  MAN 1:    Thank you.

   6     BY MR. FITZMAURICE:

   7     Q       Mr. Murray, I'm showing you Document ECF 302.           Do you

   8     recognize this to be the third amended plan that was

   9     proposed by the debtor jointly with 2425 WL?

  10     A       Yeah, that's what it says.

  11     Q       Do you recall whether the funding source was for the

  12     payments that the debtor was required to make under this

  13     plan?

  14     A       I don't.   I don't remember.

  15                  MAN 1:    I think you're having your Adobe problem

  16     again.

  17                  MR. FITZMAURICE:       Oh, I am.     That's unfortunate.

  18     Here I was, Your Honor.       I thought I was organized.         I had

  19     all my documents open.       All my -- for my witnesses ready to

  20     go.     I apologize.

  21                  THE COURT:    There are reasons why we hate Adobe,

  22     and this is one of them.

  23                  MR. FITZMAURICE:       So Your Honor, I'm going to ask

  24     my colleague to open the document at ECF 302, which is the

  25     debtor's third amended plan.          I will unplug.     And I'm going

                                                                           000858
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                                                                             Page



   1     to ask you, Mr. Akuffo, to scroll down to the end.                  Yep.       Up

   2     a little bit to the first page of the term sheet.

   3     BY MR. FITZMAURICE:

   4     A       Okay.    I see that.

   5     Q       Do you recall reviewing this summary of key terms of

   6     and conditions for debtor-in-possession term loan facility?

   7     A       Yes.    Yes.

   8     Q       Do you know whether this was, in fact, the source of

   9     funding for the payments the debtor was required to make

  10     under its third amended plan?

  11     A       Yes, I think that's what they were proposing to fund

  12     their plan with.        Yes.    Yeah.

  13     Q       Did you make an assessment as to whether or not funding

  14     would in fact be available?

  15     A       Yes.

  16     Q       And what was that assessment?

  17     A       I doubted it would be.

  18     Q       And what were the factors that led to that conclusion?

  19     A       Well, the history of the debtor generally being unable

  20     to secure funding even for its settlement agreement, the

  21     inability to fund its first bankruptcy case, its inability

  22     to show a commitment to funding at any point during the

  23     case.     Those things generally, but also a proposed DIP

  24     lender term sheet is not a loan.

  25     Q       Do you know whether this term sheet contemplated a loan

                                                                               000859
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                                                                         Page



   1     that would prime the bank's lien?

   2                   MR. FITZMAURICE:   I'll ask you, Mr. Akuffo, to

   3     scroll --

   4     BY MR. FITZMAURICE:

   5     A     I don't remember this one specifically.           I remember

   6     thinking --

   7                   MR. FITZMAURICE:   Go up a little bit.

   8     BY MR. FITZMAURICE:

   9     A     Yeah.

  10                   MR. BURKS:   Your Honor, I object to any further

  11     answer.     The document speaks for itself and he has answered

  12     that he doesn't remember.

  13                   MR. FITZMAURICE:   Your Honor, I'm allowed to use

  14     essentially anything to try to refresh the witness'

  15     recollection, which is what I'm trying to do.

  16                   THE COURT:   That's fine.     I'll overrule the

  17     objection.

  18     BY MR. FITZMAURICE:

  19     Q     Mr. Murray, I'd ask you to look at the sort of middle

  20     portion of your screen.       Does that refresh your recollection

  21     as to whether or not --

  22     A     I see now it's a priming DIP.

  23     Q     Okay.     Did you make an assessment as to whether you

  24     thought a priming DIP would be available to the debtor in

  25     this case?

                                                                           000860
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                                                                          Page



   1     A     I did.

   2     Q     And what was that assessment?

   3     A     That they would not be able to meet the requirements to

   4     prime.

   5     Q     Do you know whether the debtor sought to support its

   6     payment obligations in connection with its fourth amended

   7     plan with this same term sheet?

   8     A     I don't remember.

   9                 MR. FITZMAURICE:      So I'm going to ask my colleague

  10     to pull up Document Number ECF 366.           Sorry, 366.

  11                 MAN 1:   365.

  12                 MR. FITZMAURICE:      366 is what I'm looking for.              Go

  13     to the first page, please.

  14                 MAN 1:   (indiscernible).

  15                 MR. FITZMAURICE:      I don't.     Thank you.

  16     BY MR. FITZMAURICE:

  17     Q     Mr. Murray, I'm showing you the document at ECF 366.

  18     Do you recognize this to be the disclosure statement the

  19     debtor filed in connection with its fourth amended joint

  20     plan with 2425 WL?

  21     A     Yes, I do.

  22                 MR. FITZMAURICE:      So I'll ask my colleague to move

  23     to Page 47 of 129.

  24                 MR. BURKS:      Is this the fourth amended

  25     (indiscernible)?     What's --

                                                                            000861
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   1     BY MR. FITZMAURICE:

   2     Q     Do you see there, Mr. Murray, the same summary key

   3     terms of the conditions for debtor-in-possession term loan

   4     facility?

   5     A     Yes, it looks like the one we just looked at.

   6     Q     All right.     And does this refresh your recollection as

   7     to whether the same contemplated financing from Legalist was

   8     used by the debtor to support the payments for

   9     (indiscernible) it made under its fourth amended plan?

  10     A     I mean, not this specifically, but I recall that the

  11     funding source in those plans was the same.             Or would've

  12     been the same had they had the funding.

  13     Q     Thank you.

  14                  MR. FITZMAURICE:     And Mr. Akuffo, if we could go

  15     to ECF Number 377 please.

  16     BY MR. FITZMAURICE:

  17     Q     Mr. Murray, do you recognize this to be the debtor's

  18     fifth amended plan?

  19     A     Yes.

  20     Q     And this was the last plan the debtor had on file?

  21     A     Yes.

  22     Q     And this is the plan that was ultimately withdrawn?

  23     A     That's my understanding, yes.

  24                  MR. FITZMAURICE:     I don't have the page number.

  25     Can you scroll down for me?

                                                                            000862
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                                                                          Page



   1                    MAN 1:   Yeah, he's looking for the term sheet.

   2                    MR. FITZMAURICE:   Thank you.

   3     BY MR. FITZMAURICE:

   4     Q      Mr. Murray, do you see again in the same May 3, 2024

   5     summary of key terms under the conditions for debtor-in-

   6     possession term loan facility?

   7     A      Yeah.     It looks like the same term sheet, yes.

   8     Q      So is it your understanding that the debtor was again

   9     contemplating using the same facility in support of the

  10     payments under the fifth amended plan?

  11     A      Yeah, it was the Legalist funding.          Yes.

  12     Q      Are you aware of whether Legalist ever approved its

  13     funding?

  14     A      No, I'm not.

  15     Q      Do you know of -- has anyone told you that Legalist did

  16     not in fact approve funding for the plan?

  17                    MR. BURKS:   Calls for hearsay.      Has anyone told

  18     you?

  19                    THE COURT:   I'll sustain the objection.

  20     BY MR. FITZMAURICE:

  21     Q      Do you know whether or not Legalist ever in fact

  22     approved funding contemplated by the debtor's plan?

  23                    MR. BURKS:   Objection.    Calls for hearsay.       He

  24     already stated that he's not aware.

  25                    MR. FITZMAURICE:   But the last question was

                                                                            000863
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   1     whether somebody told him.        This is whether he's aware.

   2                  MR. BURKS:     Two questions ago was, was he aware.

   3                  THE COURT:     I'll overrule the objection.         He can

   4     answer the question.        Thank you.    If you're aware.

   5     BY MR. FITZMAURICE:

   6     A       I know we had asked for information to confirm that --

   7     whether there was funding.        I never saw any kind of

   8     confirmation.       So...

   9                  MR. FITZMAURICE:     I'm going to ask my colleague to

  10     pull up a document at ECF 527-3.

  11     BY MR. FITZMAURICE:

  12     Q       Mr. Murray, you've got in front of you a document

  13     that's ECF 527-3, a June 13, 2024 email.            That purports to

  14     be an email from someone named Brian Rice to me.              Do you see

  15     that?

  16     A       I see it.

  17     Q       Reading this email, does that refresh your recollection

  18     as to whether or not Legalist ever approved the finance --

  19     the contemplated financing for the debtor?

  20                  MR. BURKS:     Objection.    The rules of evidence do

  21     not allow that witness' recollection to be refreshed by a

  22     hearsay document.

  23                  MR. FITZMAURICE:     In fact, they specifically do,

  24     Your Honor.     I'm allowed to show him anything.

  25                  THE COURT:     I'll overrule the objection.

                                                                            000864
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   1     BY MR. FITZMAURICE:

   2     A      I mean, it doesn’t refresh my recollection.              I don't

   3     think I've seen this email.

   4     Q      Okay.     Thank you.

   5                    MR. FITZMAURICE:     You can take that one down.

   6     Thank you.       Actually, sorry.      Just one more.      ECF Number

   7     474.

   8     BY MR. FITZMAURICE:

   9     Q      Mr. Murray, showing you what's -- the document that's

  10     been docketed at ECF Number 474.

  11                    MR. FITZMAURICE:     Just scroll up to the top so we

  12     can see that please.          Thank you.

  13     BY MR. FITZMAURICE:

  14     A      I recognize this.

  15     Q      And is this the debtor's withdrawal of its fifth

  16     amended plan?

  17     A      Yeah, right before a show-cause hearing on the plan,

  18     yes.

  19     Q      Do you know what that show-cause hearing was intended

  20     to address?

  21     A      I recall that the court ordered the disclosure of

  22     documents evidencing availability of funding.                Something

  23     like that.       And I remember waiting for that day.           Then it

  24     came and went and there was no proof of funding that was

  25     ever filed.

                                                                              000865
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   1                    MR. FITZMAURICE:     Okay.    You can take this one

   2     down.     Thank you.

   3     BY MR. FITZMAURICE:

   4     Q       Mr. Murray, are you aware of whether or not the debtor

   5     has asserted claims against the National Bank of Kuwait?

   6     A       Yes.

   7     Q       In the course of your duties in this case as the

   8     Chapter 11 trustee, have you investigated those claims?

   9     A       Yes.

  10                    MR. FITZMAURICE:     I'm just going to grab a

  11     document from the table if that's okay.

  12                    THE COURT:     That's fine.     Feel free.

  13                    MR. FITZMAURICE:     Always at the bottom of the

  14     pile.

  15     BY MR. FITZMAURICE:

  16     Q       So Mr. Murray, I'd like to discuss with you the things

  17     that you did to investigate the debtor's claims against the

  18     bank.     Did you discuss the nature of those claims with the

  19     debtor's counsel?

  20     A       Yes.

  21     Q       Now the debtor has more than one counsel.             Is there --

  22     can you let us know who you spoke to?

  23     A       At different points I spoke to Mr. Baker, I spoke to

  24     Mr. Choudhri personally, spoke to Ms. Hayward, spoke with

  25     Mr. Alexander.        At some point I think we spoke, but Mr.

                                                                              000866
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   1     Sather.     I don't think I discussed it ever with Mr. Burks.

   2     Might have discussed it with Ms. Brown, but I don't remember

   3     that.     But there were lots of discussions with the debtor

   4     and its representatives about the claims.

   5     Q       Do you have in your mind a rough estimate of the time

   6     that was spent by you having conversations with the debtor

   7     and/or its representatives relating to the claims asserted

   8     against the bank?

   9                  MR. BURKS:    Objection, Your Honor.       Ambiguous.         I

  10     need to know is he talking about his time personally or his

  11     counsel's time combined with his or his counsel's time.

  12                  THE COURT:    I understood the question to be his

  13     time, so I'll take it such.        Mr. Murray, go ahead.

  14     BY MR. FITZMAURICE:

  15     A       Personally probably a dozen hours.

  16     Q       Are you aware of whether or not your counsel had any

  17     separate conversations with any of those folks that you were

  18     not involved in?

  19     A       I believe they had lots of conversations, yes.

  20     Q       And do you know approximately how much time your

  21     counsel spent talking to those folks about the debtor's

  22     claims against the bank?

  23     A       I don't know.

  24     Q       Rough order of approximation more or less than -- of

  25     the time that you spent?       If you know.

                                                                           000867
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   1                    MR. BURKS:      Objection.    Asked and answered I don't

   2     know.

   3                    THE COURT:      I'll sustain the objection.         Thank

   4     you, Mr. Burks.

   5     BY MR. FITZMAURICE:

   6     Q       Did you discuss the claims with Mr. Choudhri?

   7     A       Yes.

   8     Q       On one occasion, more than one occasion?

   9     A       At least three in person and there were other

  10     communications too.           I don't know how many.

  11     Q       Did you review any pleadings filed by the debtor

  12     against the National Bank of Kuwait?

  13     A       Yes.

  14     Q       Did you review any pleadings relating to claims filed

  15     by Mr. Choudhri against the National Bank of Kuwait?

  16     A       Yes, I think so.

  17     Q       Did you review any pleadings relating to any claims

  18     filed by 2425 WL against the National Bank of Kuwait?

  19     A       Yes.

  20     Q       Mr. Murray, do you know who James Pope is?

  21     A       I don't know him personally.          I think he entered an

  22     appearance as debtor's counsel.

  23     Q       Did you talk to him at all about the claims against the

  24     bank?

  25     A       He might've been on one of the early phone calls, but I

                                                                               000868
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   1     don't remember specifically.

   2     Q     There was an attorney who testified here on Monday

   3     named Jim Wetwiska.         Do you recall that?

   4     A     Yes.    Yes.

   5     Q     Did you speak with Mr. Wetwiska about the claim against

   6     the bank?

   7     A     I did, yes.

   8     Q     There was another attorney who testified here on Monday

   9     named Jerry Alexander.         Do you recall that?

  10     A     Yes.

  11     Q     And did you speak with Mr. Alexander about the claims

  12     against the bank?

  13     A     Yes.

  14     Q     Did you speak with anyone -- so again, in the context

  15     of your investigation into the claims against the bank, did

  16     you speak with anyone that's not affiliated with the debtor?

  17     A     Yes.

  18     Q     Can you recall anyone that you spoke with who wasn't

  19     affiliated with the debtor?

  20     A     Well, I spoke with your team.           I know my counsel

  21     interviewed Mr. Cauldwell.         I and my counsel spoke with a

  22     woman named Azeemeh Zaheer and her counsel.              And that's who

  23     I can recall right now.

  24     Q     Without revealing anything that you discussed with the

  25     contents of any communications, the specific contents of any

                                                                             000869
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   1     communications you had with your attorneys, did you in

   2     general discuss counsel's meeting with Mr. Cauldwell with

   3     counsel?

   4     A     Yes.

   5     Q     And I apologize.      I don't recall whether you said you

   6     attended the meeting with Ms. Zaheer or not.

   7     A     I was at most of the meeting with Ms. Zaheer.              Then I

   8     had to leave.

   9     Q     Okay.    Again, without revealing the contents of any

  10     communications with counsel, did you discuss with them the

  11     portions of the meeting that you missed?

  12     A     Yes.

  13     Q     Whether formally or informally, did you request

  14     document production from the debtor?

  15     A     Yes, we did.

  16     Q     And were any documents provided?

  17     A     I don't think they ever produced anything in the formal

  18     discovery.

  19     Q     But informally did the debtor provide you with any

  20     information?     Withdrawn.     Informally, did the debtor provide

  21     you with any documents?

  22     A     Yes.

  23     Q     Do you recall what those were?

  24     A     I recall there was a letter and an email I think from

  25     Mr. Alexander.      There might've been a letter or email from

                                                                            000870
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   1     Mr. Wetwiska.     At some point there was a PowerPoint

   2     presentation I think.        I think that was about the claims

   3     against the bank that we paged through at Mr. Choudhri's

   4     desk early on.      There might've been some other papers, but

   5     that's all I remember was informally produced.

   6     Q     And that description of the discovery, is that the same

   7     if I ask you about Mr. Choudhri and the debtor and 2425 WL?

   8     A     Yes.    I don't the WL entity provided anything apart

   9     from what Mr. Choudhri provided.

  10     Q     In connection with assessing the estate's claims

  11     against the bank, did you review the settlement agreement?

  12     A     Yes.

  13     Q     In connection with assessing the estate's claims

  14     against the bank, did you form a view as to the

  15     enforceability of the settlement agreement?

  16     A     Yes.

  17     Q     And what was that view?

  18                  MR. BURKS:     Objection.    This is a multi-layered

  19     question based on his entire investigation.             The --

  20     everything that is attorney-client privilege with respect to

  21     NBK, unless the trustee has waived it, is privileged.               WL --

  22     these are settlement negotiations regarding the description

  23     of the settlement agreement, parties' views of them.               2425

  24     WL does not waive the settlement privilege.

  25                  MR. FITZMAURICE:     So I'm not asking about any of

                                                                            000871
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   1     that.    I'm asking about the confidential settlement

   2     agreement that was entered into between the debtor Mr.

   3     Choudhri, and Naissance Galleria on the one hand and the

   4     National Bank of Kuwait on the other hand.              The agreement

   5     that is in evidence, that's the agreement that I'm talking

   6     about.      And 2425 is not a party to that.        So I'm not sure

   7     what the basis of the objection is.

   8                   THE COURT:    Go ahead.     Make your objection again.

   9                   MR. BAKER:    Your Honor, the debtor does not waive

  10     -- agree to waive the privilege.           I'm going to object.

  11                   MR. FITZMAURICE:     Mr. Baker has no right to assert

  12     the debtor's privilege.        There's a Chapter 11 trustee in

  13     this case.

  14                   THE COURT:    Mr. Baker, you can't assert any

  15     privilege to the debtor.         That's clear.     You can't.     Okay?

  16     So Mr. Burks, tell me your objection one more time.

  17                   MR. BURKS:    Yes, Your Honor.      The -- NBK's

  18     attorney has gotten the trustee to state a wide variety of

  19     things in conversations and documents that he's looked at.

  20     And then based on his analysis of everything, he's being

  21     asked to form a legal conclusion as to the validity of the

  22     settlement agreement based on all the conversations, almost

  23     of which are privileged settlement communications, Judge.

  24                   THE COURT:    I disagree.     I really do.     You can

  25     answer the question.        I'll overrule the objection.

                                                                            000872
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   1                  MR. BURKS:     Based only his view of the settlement

   2     agreement?

   3                  THE COURT:     I overruled the objection, Mr. Burks.

   4     You don't get to reargue the objection.            Please sit down.

   5     Thank you.     Go ahead.     You can answer the question.

   6     BY MR. FITZMAURICE:

   7     Q     Do you recall the question?

   8     A     I think it was what my -- ask again.

   9     Q     Yes.    After -- as a result of the investigation that

  10     you performed in connection with reviewing the estate's

  11     claims against the bank, did you form a view as to the

  12     enforceability of the settlement agreement?

  13     A     Yes.

  14     Q     And what was that view?

  15     A     That it was likely enforceable.

  16     Q     In conducting your investigation, were you looking for

  17     factual support for the concept that the settlement

  18     agreement could be rescinded?

  19     A     Yes.

  20     Q     Did you find any?

  21     A     No.

  22     Q     Are you aware that Mr. Choudhri and the debtor assert

  23     claims against the bank that relate to events that occurred

  24     after August 22nd of 2022?

  25     A     Yes.

                                                                            000873
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   1     Q     And I'll just represent to you that's the date of the

   2     settlement agreement.       We can look at it, but the document's

   3     in evidence.     Did they provide you any factual support for

   4     those claims?

   5     A     They told me what their allegations were, yes.

   6     Q     Did they provide you with any documentary evidence in

   7     support of those claims?

   8     A     No.

   9     Q     Did you form a view as to the factual support for those

  10     claims?

  11     A     Yes.

  12     Q     What was that?

  13     A     That it was weak to non-existent.

  14     Q     In connection with your investigation into the estate's

  15     claims against the National Bank of Kuwait, did you form a

  16     view as to the voracity of Mr. Choudhri?

  17     A     Yes.

  18     Q     What was that?

  19     A     I did not think I could rely on the voracity of things

  20     Mr. Choudhri told me.

  21     Q     Have you read the plan that NBK has filed in this case?

  22     A     Yes.

  23     Q     Do you understand that the plan reflects a compromise

  24     or settlement of estate claims against the bank?

  25     A     Yes.

                                                                            000874
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   1     Q     Do you think that settlement should be approved?

   2     A     Yes.

   3     Q     Do you think that settlement is in the best interest of

   4     the estate?

   5     A     Yes, absolutely.

   6     Q     Do you think that the funding the bank is providing

   7     under the plan provides more benefit to the estate than

   8     pursuing those claims?

   9     A     Yes.

  10     Q     Have you -- during the course of your investigation,

  11     did you form an opinion as to the value of the estate's

  12     claims against the bank?

  13     A     Yes.

  14     Q     Did you form a view as to whether that value was more

  15     or less than the value the bank is providing under the plan?

  16     A     Yes.

  17     Q     Is it more or less?

  18     A     I'd say much less.

  19     Q     Mr. Murray, does the plan incorporate an auction of the

  20     property?

  21     A     Yes.

  22     Q     Is that auction going forward?

  23     A     Yes.

  24     Q     Does that mean that there's more than one qualified

  25     bidder?

                                                                            000875
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   1     A       Yes.

   2     Q       The bank is a qualified bidder?

   3     A       Yes, by definition.

   4     Q       Pursuant to the stalking horse agreement?

   5     A       Yes, and I think bid procedures motion to -- for order,

   6     yeah.

   7     Q       So I'm going to ask you questions about the auction.

   8     To the extent that there is confidential information that

   9     you feel you can't reveal, then please just tell me that.

  10     But other than the bank, how many qualified bidders are

  11     there?

  12     A       There is one other bidder.

  13     Q       And who is that?

  14     A       It is -- I always say it wrong.          I think it's QB Loop

  15     or QB Investments Loop.          It's an entity that's represented

  16     by Simon Mayer.

  17     Q       How much is their bid?

  18     A       Their bid is $21 million.

  19     Q       The property is -- was being marketed by Hilco.              Is

  20     that correct?

  21     A       I should say their qualifying bid is $21 million.                 We

  22     have not had the auction.

  23     Q       And the property is being marketed by Hilco.              Is that

  24     correct?

  25     A       Yes.

                                                                              000876
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   1     Q     You were here the other day and there was a lot of

   2     questions and testimony concerning the Hilco marketing

   3     process.      Do you recall that?

   4     A     Yes.

   5     Q     And there were questions and testimony concerning the

   6     Hilco brochure.      You recall that?

   7     A     I do.

   8     Q     And there was reference in the Hilco brochure to a

   9     minimum overbid amount?

  10     A     Yes.

  11     Q     What is the minimum overbid amount?

  12     A     It was 19,750,000 I think.         It starts with a 19.

  13     Q     And I apologize for the stupidity of this question, but

  14     21 million is more than 19,750,000, correct?

  15     A     Yes, it is.

  16     Q     Okay.     Do you know whether Mr. Choudhri has any

  17     connection to QB Loop?

  18     A     I do.

  19     Q     And does he?

  20     A     Yes.

  21     Q     And what is that?

  22     A     Mr. Mayer told me that Mr. Choudhri's mother is one of

  23     the participants in the investor group that that group

  24     represents.      Also, Mr. Anwar Qadeer, who I think organized

  25     that group, had told me -- I sense an objection coming.

                                                                            000877
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   1                  MR. BURKS:    Yeah, I'm --

   2                  MR. FITZMAURICE:    Hasn't come yet though.

   3                  MR. BURKS:    Objection.     No personal knowledge.

   4     Complete hearsay.      He has no personal knowledge of what the

   5     -- what, if any, connection there is between Mr. Choudhri

   6     and Q whatever.      And it's your role, frankly.

   7                  MR. FITZMAURICE:    I'd like to respond to that

   8     objection.

   9                  THE COURT:    Which one?

  10                  MR. FITZMAURICE:    The objection that it lacks

  11     personal knowledge.

  12                  MR. BURKS:    Hearsay and relevance.

  13                  THE COURT:    I think it's relevant.       I certainly

  14     think it's relevant.       I'll overrule that objection.         Whether

  15     it's hearsay or not is a different issue.

  16                  MR. FITZMAURICE:    I'll ask a different question,

  17     Your Honor.

  18                  THE COURT:    Thank you.

  19     BY MR. FITZMAURICE:

  20     Q     Did anyone tell you that Mr. Choudhri has a connection

  21     to QB Loop?

  22                  MR. BURKS:    Hearsay.

  23     BY MR. FITZMAURICE:

  24     A     Yes, he did.

  25     Q     Mr. Choudrhi did.

                                                                           000878
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   1     A       Yes.

   2                     MR. FITZMAURICE:    Statement by a party opponent,

   3     Your Honor.

   4                     THE COURT:    All right.    I'll overrule the

   5     objection.

   6                     MR. BURKS:    All right.

   7     BY MR. FITZMAURICE:

   8     Q       What did he tell you?

   9     A       During our lunch break on Monday --

  10                     MR. BURKS:    Objection, hearsay.

  11                     MR. FITZMAURICE:    It's --

  12                     THE COURT:    Again, it's -- I'll overrule the

  13     objection.        Go ahead.

  14     BY MR. FITZMAURICE:

  15     A       During our lunch break on Monday, he -- I forgot

  16     exactly what he said, but I said, "Why didn't you make a

  17     bid."     And he said, "I did.        QB Loop is me."

  18     Q       Mr. Murray, when the bank filed its proposed plan of

  19     liquidation on the docket, was that the first time you had

  20     seen it?

  21     A       I'm sorry.     Repeat the question.

  22     Q       Sure.     When the bank filed the proposed plan of

  23     liquidation of the debtor on the docket, was that the first

  24     time you had seen all that?

  25     A       No.

                                                                              000879
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   1     Q     So you had seen it prior to that.

   2     A     Yes.

   3     Q     Do you know whether bank's counsel provided your

   4     counsel with direct copies of the plan?

   5     A     Yes.

   6     Q     Do you know whether the respective counsel, yours on

   7     the one hand, the bank's on the other, discussed proposed

   8     revisions to the plan?

   9     A     Yes.

  10     Q     Do you know whether your counsel made suggested

  11     revisions to the plan?

  12     A     Yes.

  13     Q     Do you know whether the plan that’s on file reflects at

  14     least some of the suggestions that you or your counsel made?

  15     A     Not as many as I could like, but yes.             At least some.

  16     Q     Do you know if the original draft plan that you or your

  17     counsel received from the bank provided for a recovery from

  18     Choudhri's or the debtor's former counsel?

  19     A     I think initially --

  20                  MR. BURKS:     Go ahead.

  21     BY MR. FITZMAURICE:

  22     A     One of the drafts had debtor's former counsel not

  23     considered a trade creditor and I think maybe classified as

  24     an insider or otherwise subordinate to the trade class, but

  25     I don't remember exactly.

                                                                            000880
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   1     Q     Did you or your counsel ask the bank to classify those

   2     creditors in a manner that they would receive some value

   3     under the plan?

   4     A     Yes.

   5     Q     Does the plan so classify those creditors?

   6     A     Yeah.     I thought that exclusion of debtor's prior

   7     counsel from trade -- I didn't see how that was fair to that

   8     creditor group that they provided services for the debtor.

   9     And their side ultimately acquiesced and included them in

  10     the trade clause.

  11     Q     Do you know whether the debtor's former counsel are in

  12     the Class 5A trade class or if they are in another class?

  13     A     I don't.     I don't remember.

  14                   MR. FITZMAURICE:    Let's -- can we open the --

  15     let's look at the plan.

  16                   MAN 1:   It's the only number.       Sorry.

  17                   MR. FITZMAURICE:    You need to plug in I think.

  18     That's what I got.       It's all right.      Yeah, and just a little

  19     bit so we can see 5A.

  20     BY MR. FITZMAURICE:

  21     Q     So looking at the descriptions here, Mr. Murray, on

  22     Page 12 of the bank's plan, does this refresh your

  23     recollection as to where the debtor's former counsel are

  24     classified?

  25     A     No, I think I need the definition of trade general

                                                                            000881
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   1     unsecured.

   2                  MR. FITZMAURICE:    Can we scroll up, please, to

   3     definition of trade general unsecured?

   4                  MR. BURKS:    Objection to the answer to that

   5     question.     The witness has demonstrated that he does not

   6     know, and then the document speaks for itself under the Best

   7     Evidence Rule.

   8                  THE COURT:    I'll overrule that objection.

   9     BY MR. FITZMAURICE:

  10     Q     So Mr. Murray --

  11     A     I think you need to --

  12     Q     -- looking the definition of trade unsecured creditors

  13     -- excuse me, looking at the definition of trade unsecured

  14     claims --

  15                  MR. FITZMAURICE:    Keep going down so that the

  16     chart shows.

  17     BY MR. FITZMAURICE:

  18     A     I don't see her firm on here.         Can I see the --

  19     Q     Was it other general unsecured?

  20                  MR. FITZMAURICE:    Can we see the definition of

  21     general unsecured claims?

  22     BY MR. FITZMAURICE:

  23     A     Yeah, it must be that unless her firm is still listed

  24     on the insider claims that are subordinated.            Do you have

  25     that definition?     The --

                                                                           000882
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   1     Q     What's that?

   2     A     -- subordinated claims.         Yeah.   This -- yeah, I was

   3     misremembering.        It was originally subordinated and then it

   4     wasn’t I think was how we resolved that.

   5     Q     Okay.     So do you know whether debtor's former counsel

   6     is -- receives value under the plan?

   7     A     Yes.

   8     Q     And that's as a result of a request that you made to

   9     the bank?

  10     A     Yes, that's right.

  11     Q     In your work as the Chapter 11 trustee in this case,

  12     have you made an assessment of any claims that have been

  13     filed against the estate?

  14     A     Yes.

  15     Q     Did you make an assessment of the claim that was filed

  16     by 2425 WL?

  17     A     Yes.

  18     Q     You objected to that claim.

  19     A     I did.

  20     Q     What's the basis of that objection?

  21     A     I've got to look at the objection.           I don't remember.

  22     I'm pretty sure it was subordination.

  23                   MAN 1:    Page 402?

  24                   MR. FITZMAURICE:      Yeah, I'm not sure I've looked

  25     at that since we found it.

                                                                            000883
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   1     BY MR. FITZMAURICE:

   2     A     If you could just scroll down --

   3                   MR. FITZMAURICE:       Mr. Akuffo, I'll just ask you to

   4     scroll through --

   5     BY MR. FITZMAURICE:

   6     A     -- and I can try to read it.

   7                   MR. FITZMAURICE:       -- slowly please.

   8     BY MR. FITZMAURICE:

   9     A     Try to remember exactly what the basis (indiscernible).

  10                   MR. FITZMAURICE:       So let's stop there.

  11     BY MR. FITZMAURICE:

  12     A     Oh, right.       Okay.

  13     Q     So Mr. Murray, does reading the document here at ECF

  14     402 refresh your recollection as to the basis of the

  15     objection that you filed to the 2425 WL claim?

  16     A     Yeah.     I think we take the position that the asserted

  17     debt and its perfection and its security interest are not

  18     valid for enforcement.

  19     Q     Does the trustee take the position that there is in

  20     fact no debt owed by the estate to 2425 WL?

  21     A     Yes.     Yeah.    I think it was a fake debt.

  22     Q     I'm sorry.       It was a fake debt?

  23     A     Fake debt.

  24     Q     Thank you.       Have you objected to any other claims --

  25     A     Yes.

                                                                               000884
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   1     Q     -- so far?    Do you recall any other claims that you

   2     objected to?

   3     A     I think we -- that are filed.

   4     Q     That are -- and I'm only asking about the claim

   5     objections that have been filed as of the day, the 19th of -

   6     -

   7     A     Yeah.    I think -- of what we filed, I think we objected

   8     to Mr. Choudhri's personal claim by Jetall Capital, and then

   9     we filed an adversary against Jetall Companies.               Which I

  10     think also had filed a claim and the objection is in the

  11     adversary.

  12     Q     And do you recall what the basis of the adversary

  13     proceeding against Jetall Companies is?

  14     A     There's a few.       There's preferences, fraudulent

  15     transfers, breach of fiduciary duty I'm pretty sure.

  16     Q     Does the adversary seek equitable subordination?

  17     A     Yes, I think so.       To the extent there was a secured

  18     claim by Jetall Companies.

  19     Q     Mr. Murray, do you know whether the plan of disclosure

  20     statement filed -- withdrawn.         Do you know whether the

  21     voting procedures in connection with the (indiscernible)

  22     plan of liquidation of the debtor called for balance to be

  23     delivered to you or your counsel?

  24     A     I know I got a solicitation package.              I don't know

  25     where I was on the procedures there though.

                                                                             000885
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   1     Q      Do you know whether ballots were in fact delivered to

   2     you?    Whether completed ballots were delivered to you.

   3     A      Oh, yes.    I thought you were talking about the

   4     solicitation.      No, the completed ballots, yes.

   5     Q      Yes, apologize for my -- for the bad question.

   6     A      Well, not to me.       I think Mr. Shannon received those.

   7     Or at least he collected them.            I might've been copied on

   8     the email.

   9                   MR. FITZMAURICE:     So I'm going to ask Mr. Akuffo

  10     to pull up a document at ECF 428.

  11     BY MR. FITZMAURICE:

  12     Q      Did your counsel file this ballot summary?

  13     A      Yes.

  14                   MR. FITZMAURICE:     Can you scroll down please?             Go

  15     back to the -- yep, right there.

  16     BY MR. FITZMAURICE:

  17     Q      Does this reflect -- accurately reflect the votes, the

  18     ballots( that were received -- let me start again.                I

  19     apologize.      Does this accurately reflect the ballots that

  20     were received by your counsel?

  21     A      Yes.

  22                   MR. FITZMAURICE:     Your Honor, I'd ask the Court to

  23     accept into evidence the document at ECF Number 428.

  24                   THE COURT:     All right.     I'll take the ballot

  25     summary into evidence at 428.          Thank you.

                                                                               000886
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   1                  MR. FITZMAURICE:       Your Honor, might I take a

   2     moment and see --

   3                  THE COURT:     Sure.    Feel free.

   4                  MR. FITZMAURICE:       Thank you.

   5                  MR. BURKS:     Your Honor, may I be excused?         Just --

   6     I have --

   7                  THE COURT:     Sure.    I plan on breaking in just a

   8     minute.

   9                  MR. FITZMAURICE:       Your Honor, if it helps speed up

  10     the break, I have no further questions for Mr. Murray at

  11     this time.

  12                  THE COURT:     All right.    Mr. Murray, why don't you

  13     step down?     Now would be a good time to break.           Now here's

  14     my only concern.      I have someone checking on it as it is.               I

  15     don't know whether you want to break for lunch or not.                The

  16     problem is I can't guarantee that we can everyone rescreened

  17     to come back into the courthouse.          They're checking on that

  18     now.   Assuming that they can, and if you can go back out and

  19     then get rescreened coming back in, you guys want to break

  20     for lunch?

  21                  MR. SHANNON:     I think it makes sense.

  22                  MR. FITZMAURICE:       If we can, Your Honor, then yes.

  23     Otherwise I think we'll plow through.

  24                  CLERK:   He's going downstairs to check.

  25                  THE COURT:     Okay.    So we'll check.     In a just

                                                                            000887
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   1     minute we'll have Mr. Baker come back.           As long as you can

   2     rescreened I'm willing to give you a break.            At least you

   3     guys can go across the street and get in air conditioning.

   4     That would be a huge benefit I'm sure.           I don't have that

   5     ability unfortunately.       So let's see.      And what I'll do is

   6     I'll switch when we come back.         I'll come back out and I'll

   7     tell you what we're going to do relative to breaking.              I

   8     want to give you a lunch break.         I may be limited in what I

   9     can do based on screening, okay?         So I'll step down for a

  10     few minutes.

  11                 MR. FITZMAURICE:       Thank you, Your Honor.

  12                 MR. BURKS:     Thank you, Your Honor.

  13                 CLERK:     All rise.

  14                 (Recess)

  15                 CLERK:     All rise.

  16                 THE COURT:     Mr. Burks, I think that you are up.

  17                 MR. BURKS:     I think I'm up and I'm feeling very

  18     much better than I was before break.          Thank you, Judge.

  19                 THE COURT:     You're welcome.

  20                 MR. BURKS:     May I gather my notes and then take

  21     the podium?

  22                 MR. BAKER:     Mr. Burks, I'm disappointed you don't

  23     have a second Astros tie.

  24                 MR. BURKS:     I was thinking of you this morning and

  25     I almost … I have a close family member who works for the

                                                                           000888
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   1     Astros and I have plenty of ties.          I'm looking for my work

   2     copy of the plan and I'll be right at the podium, Judge.

   3     Got it.

   4                  THE COURT:     Mr. Burks, you want to project, you

   5     ever project from a particular placed podium?

   6                  MR. BURKS:     From the podium, Mr. Baker?

   7                  THE COURT:     Mr. Baker has to help.

   8                  MR. BURKS:     Should I wait for Mr. Troop, Your

   9     Honor?

  10                  THE COURT:     I think that Mr. Fitzmaurice is more

  11     than capable of handing the matter, so go ahead.

  12                  MR. BURKS:     All right, Judge.      Thank you, Your

  13     Honor.

  14                  CROSS EXAMINATION OF CHRISTOPHER MURRAY

  15     BY MR. BURKS:

  16     Q     Hi, how are you?       Still all right?

  17     A     Yes.    Glad you're feeling better too.

  18     Q     Thank you very much.       Let's go back a little bit.

  19     Starting with, I'm going to go last to first

  20     (indiscernible).      There's an auction coming up.          It's on

  21     Friday, correct?

  22     A     Yes.

  23     Q     How many qualified bids are there?

  24     A     There are two.

  25     Q     Who are they?

                                                                            000889
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   1     A     It's QB Loop Investments, I think that's their full

   2     name, and the bank.

   3     Q     All right.     QB Loop, there was a statement you said

   4     that Mr. Saunders said that is him, that is he, whatever

   5     your statement was.         Do you remember that?

   6     A     Yes.

   7     Q     Have you done any investigation as to who owns Q --

   8     what is QB Loop?

   9                   MR. FITZMAURICE:     Objection, compound?

  10                   THE COURT:     One question at a time.

  11     BY MR. BURKS:

  12     Q     Who owns QB Loop?

  13     A     I don't remember who all owns it.            It's a group of

  14     investors.

  15     Q     So, next question is, what is QB Loop?

  16     A     I think it's a group that was put together for the

  17     purpose of bidding on the building.

  18     Q     So, but you don't know that.          That's your surmise?

  19     A     No, that's what they told me, I mean in sum and

  20     substance.      I did have conversations with, first with Anwar

  21     Qadeer, who is an attorney who said he represented that

  22     group.      I'd also spoken with Leonard Simon at one point, who

  23     said he spoke on behalf of that group.             And most recently,

  24     Simon Mayer has been representing that group and I've spoken

  25     to him about it.

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   1     Q     But Mr. Ali is not an owner in this investment group?

   2     A     I don't know.

   3     Q     If you know whether or not Mr. (indiscernible) is an

   4     investor in that group?

   5     A     I don't think he is directly an investor.            I think Mr.

   6     Mayer told me that he was not directly an investor, but that

   7     his mom was.

   8     Q     That his who was?

   9     A     His mother.

  10     Q     His mother.     Did (indiscernible) comply with all the

  11     requirements so far with (indiscernible) instructions?

  12     A     I think so, yeah.

  13     Q     And can they put down earnest money?

  14     A     They did.

  15     Q     How much?

  16     A     There's $2.1 million in escrow.

  17     Q     All right.    So, irrespective of who they know or don't

  18     know, or who's involved in the group, they're a qualified

  19     bidder.     Cash?

  20     A     Oh, absolutely.

  21     Q     The auction was supposed to take place, I believe,

  22     initially, subject to (indiscernible) yesterday at one

  23     o'clock.     Is that correct?

  24     A     I think that's the earliest it could have happened.

  25     Q     And why did it not happen yesterday?

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   1     A       I wanted more time to evaluate this.

   2     Q       And --

   3     A       Well, I had -- that's not the full answer.             The other

   4     answer is I lost the entire day Monday doing the hearing.

   5     So, the time I would have spent on that was spent doing

   6     that.

   7     Q       (indiscernible)

   8     A       Yes.

   9     Q       So, are you taking anymore bids?

  10     A       Not at the present time, no.

  11     Q       Do you intend to take more bids at the (indiscernible)?

  12     A       I don't know.

  13     Q       When is the auction going to be held, where you sit

  14     now, what time and day?

  15     A       I've scheduled it for Friday at one o'clock, local

  16     time, Central.

  17     Q       And where is that taking place?

  18     A       We're going to do it virtually.

  19     Q       And who, who can sign in or link in to watch the

  20     bidding process?

  21     A       I don't think I've determined that yet, probably just

  22     the parties who are qualified.

  23     Q       All right.     So, for example, can Mr. Choudhri be muted

  24     and watch?

  25     A       I suppose anybody could watch the auction.             I don't

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   1     have a problem with that.       I, I don't want any interference

   2     with the auction.

   3     Q     Exactly.     So, you can, if you do it remotely, you can

   4     have a situation where no one can see Mr. Choudhri, no one

   5     can hear Mr. Choudhri, right?

   6     A     I suspect we could do that.        I know Hilco is going to

   7     handle the electronic logistics, so I don't know exactly

   8     what system they use.      But I imagine that's possible, and if

   9     so, I wouldn't mind anyone watching.

  10     Q     Thank you.     I think Mr. Choudhri would like to watch

  11     it.

  12     A     Yeah, I would have no problem with that.

  13     Q     I, personally, would rather watch the Astros game than

  14     that but … (indiscernible) still going backwards.              You made

  15     decisions regarding the validity of the Choudhri claims,

  16     correct?

  17     A     Are you talking about his proof of claims?

  18     Q     No, I'm talking proof of claims right now, yes.

  19     A     Okay, yes.

  20     Q     And you objected to it.

  21     A     Yes, I objected to -- yes.

  22     Q     And you made decisions regarding three sets, or three

  23     pieces of litigation also, correct?

  24     A     I think so.

  25     Q     Right.     And of those three pieces of litigation, is it

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   1     fair to say, or isn't it true, that you're basically

   2     releasing them to MPK for 3.7 million or less?

   3     A       Releasing the Choudhri claims or -- I misunderstand.

   4     Q       So, there are three pieces of litigation.             It's the two

   5     lawsuits that have been admitted into evidence, and it's the

   6     (indiscernible) claim, that (indiscernible) --

   7     A       Okay, you're saying the claims against the family?

   8     Q       Yes.

   9     A       Right, okay.

  10     Q       And you're releasing those to the extent you can,

  11     correct?

  12     A       If the plan is confirmed, they're released as part of

  13     the plan, yes.

  14     Q       Right.    And what is the consideration that the estate

  15     receives for those releases of those three actions?

  16     A       I consider it to be everything the estate gets from the

  17     plan.     So, that's the funding that comes in that will cover

  18     the admin expenses, the carveout, essentially, that funds

  19     the trade creditors and the money that's for the general

  20     unsecureds.       And also, there's some seed funding for the

  21     litigation trust.        That's the … most of it, yeah.

  22     Q       And Mr. Carter has testified that he thought that was

  23     about 3.7 million.        Is that your understanding?

  24     A       I think he said that's his estimate of how much cash

  25     the bank would have to put in if their credit bid of 18.6

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   1     prevailed.       That's what I understood him to stay.

   2     Q      And is that your understanding?

   3     A      Yeah.     I mean, I don't know exactly what the total

   4     admins will be, so it's just an estimate, but that sounds

   5     about right.

   6     Q      So, it's fair to say the bank gets the right to credit

   7     bid for 18.6, they've got a full release of everything

   8     that's out there, and (indiscernible) 3.7.

   9     A      Not everything.        They get a release of the claims the

  10     estate has; other parties might have claims.

  11     Q      Unless the release in the plan is written the way I

  12     read it, right?       I'm reading it as a full release.            Are you?

  13                    MR. FITZMAURICE:     Objection, Your Honor.         The plan

  14     speaks for itself.          Your Honor will interpret its breadth

  15     and scope and terms.

  16                    THE COURT:     I'll sustain the objection.         Thank

  17     you.

  18     BY MR. BURKS:

  19     Q      You said you spoke to Jerry Alexander, correct?

  20     A      Yes.

  21     Q      And what did you speak to him about?

  22     A      We spoke to him about the lender liability claims.

  23     Q      Did he tell you what his damages model was on that

  24     lender liability claim?

  25     A      I … numbers, I don't remember that, no.

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   1     Q     All right.     So, you don't know what he was assessing

   2     the value of his action?

   3     A     I mean, I know he thought it was potentially very

   4     valuable, big number, but I don't remember a number.

   5     Q     Thirty-five million?       Does that sound familiar?

   6     A     It doesn't, but it could be.

   7     Q     All right.     And have you ever tried a lender liability

   8     claim yourself?

   9     A     As an attorney?

  10     Q     Yes.

  11     A     No, no I …

  12     Q     Are you --?

  13     A     I've objected to bank claims before, but I've not …

  14     lender liability, no.

  15     Q     Fair enough.     Are you aware that … let's say it

  16     differently.     Isn't it true that Jerry Alexander has a

  17     reputation for being an accomplished lender liability claims

  18     attorney?

  19     A     Honestly, I had not heard of him before this case.

  20     Q     So, you don't know what his reputation is?

  21     A     That's right, I don't.

  22     Q     You now know.

  23     A     I've been told that people hold him in high regard and

  24     that he's succeeded in one lender liability case.               That's

  25     pretty much the extent of it.

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   1     Q     All right.    But that was after the plan was filed.

   2     A     I don't know when I came to know that, but that was

   3     certainly after I met him and tried to find out who he was.

   4     I don't remember chronologically, whether that was before or

   5     after the plan.

   6     Q     Did you speak with Jeff Steidley, an attorney?

   7     A     I don't think so.

   8     Q     All right.    Are you aware that Jeff Steidley is the

   9     attorney who has filed a State Court lawsuit that's been

  10     removed and subject to remand, regarding the enforceability

  11     and the settlement agreement?

  12     A     That sounds right, but I don't really remember one way

  13     or the other.

  14     Q     Have you spoken to -- you haven't spoken to him?

  15     A     I don't think so.

  16     Q     All right.

  17     A     Personally, I don't remember talking to him.

  18     Q     Do you know what his theories are on the lawsuit

  19     regarding enforceability and regarding damages on the

  20     settlement?     Do you know what his theories are?

  21     A     I'm not sure I understand them very well.

  22     Q     You don't understand them?

  23     A     No.

  24     Q     Okay.   James Wetwiska, have you spoken to him?

  25     A     Wetwiska?

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   1     Q     Is that how you pronounce his name?

   2     A     That's how you pronounce his name, Wetwiska.

   3     Q     Mr. Wetwiska, have you spoken to him?

   4     A     Yes.

   5     Q     And what did you speak to him about?

   6     A     Same thing.     Oh, no, I didn't speak to him about the

   7     theories of why the settlement agreement wouldn't be valid.

   8     I talked to him about the bank's conduct that might underlie

   9     claims.

  10     Q     And is there another claim that's currently on file

  11     against National Bank of Kuwait that the … is, in fact, on

  12     file, that you considered?

  13     A     I'm not sure what you're referring to.

  14     Q     All right.     Let me be less vague on that, because that

  15     was pretty vague.      Are you aware that Mr. (indiscernible)

  16     filed an adversary proceeding, pending in this Court, for

  17     the equitable subordination of MPK's lien to the purported

  18     second lien of 2425 WL?

  19     A     Yes, I remember.      Yes.

  20     Q     All right.     Well, that was the other action I was

  21     talking about.      Are you familiar with that action?

  22     A     As I sit here today, not in detail, no.

  23     Q     So, if I asked you what was the basis of that

  24     complaint, for that … for the claim of subordination, could

  25     you tell me?

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   1     A     Yeah, I can tell you my recollection generally.

   2     Q     Yes.

   3     A     It was that the bank behaved badly and their lien

   4     deserves to be subordinated because of that.

   5     Q     You stated that you concluded, and you objected to the

   6     claim of 2425 WL, of which that cause of action is

   7     predicated, obviously.       You objected to it, correct?

   8     A     Yes.

   9     Q     And you objected to it, as I understand, because, isn't

  10     it true that you think the lien is fictitious?

  11     A     I think (indiscernible) was fictitious?

  12     Q     And therefore the liens are fictitious.

  13     A     Yeah.

  14     Q     Right now, is that lien on file?

  15     A     I don't remember.

  16     Q     Has it been voided?

  17     A     I don't know.     I don't remember.

  18     Q     Okay.    And what was your basis for determining that the

  19     lien was voidable and/or the (indiscernible) debt was

  20     fictitious?     What did you base that on?

  21     A     It was based on some irregularities in the documents

  22     that appeared that the debt instruments were created after

  23     the debt would have existed, and it contradicted some other

  24     documents in the case, is my recollection.

  25     Q     And was the lien reported and is it still reported?

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   1     A     I don't know.        I don't remember that.

   2     Q     All right.     You spoke with Mr. Ali Choudhri, correct?

   3     A     Yes.

   4     Q     And I think you testified that you find him to be, in

   5     all ways, not credible.         Is that correct?

   6     A     I didn't say that.

   7     Q     How do you find him to be?          Do you find him to be

   8     credible?

   9     A     I was asked about the veracity of what he says, and I

  10     says, I said I do not think I can rely on the veracity of

  11     the things he says.         I don't know if he's lying all the

  12     time, none of the time.         But I have doubts when he says

  13     things, that they are true.

  14     Q     I understand.        Did you receive an email, personally, or

  15     from your counsel, where Mr. (indiscernible) or Mr. Choudhri

  16     figured -- and I'll let you answer yes or no; I'm using the

  17     word tendered on purpose -- when Mr. Choudhri tendered

  18     $700,000 cashier's check to buy claims from you against MPK?

  19                   MR. FITZMAURICE:     Objection to the use of the term

  20     tender.      It calls for a legal conclusion as to whether that

  21     standard has been satisfied.

  22                   THE COURT:     I'll let it be used in the generic

  23     sense of tender.      Go ahead, answer the question.

  24     BY MR. BURKS:

  25     A     I saw an email that had, as an image attached to it,

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   1     what looked like a cashier's check for $700,000.

   2     Q     All right.    And what did you do with that tender --

   3     that letter -- I'll re-ask.        What did you do with the email

   4     that had -- well, tell me what the email was.             It was a copy

   5     of, it was a copy of a cashier's check for how much?

   6     A     It was $700,000 was the amount on that image of a

   7     check.

   8     Q     And what else came to you with the image of the check?

   9     A     I think it was a proposal from Mr. Choudhri, or one of

  10     the entities, I don't remember, but to buy the claims of the

  11     estate against the bank.

  12     Q     For how much?

  13     A     It was an offer for $700,000.

  14     Q     Right.   Did you respond?

  15     A     I don't know if I responded definitely to it yet.              I

  16     mean, I haven't accepted that.

  17     Q     Have you rejected it?

  18     A     I don't know if I have.       I don't, actually don't think

  19     I have yet.

  20     Q     Do you believe that it's a valid tender of money?

  21     A     I don’t know.

  22     Q     If it was, would you be inclined to accept it?

  23                 MR. FITZMAURICE:     Objection, calls for

  24     speculation.

  25                 THE COURT:     I'll sustain the objection,

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   1     speculation.

   2                   MR. BURKS:   All right.    May I approach, please?

   3                   THE COURT:   No.    I mean, you want to tell me why -

   4     - typically, we don't approach the witness.

   5                   MR. BURKS:   I have the original check and I'm

   6     asking if (indiscernible) the original cashier's check --

   7                   THE COURT:   There's the ELMO right there, you can

   8     show it to me.      Thank you.     It's right there.

   9     BY MR. BURKS:

  10     Q     Sir, do you see on the screen what's in the projector,

  11     ELMO projector?

  12     A     Yes, and that's the image that was in the email.             I

  13     think the email image was black and white, but that looks

  14     like what I saw.

  15     Q     All right.     So, the document that I put down here, can

  16     we agree, that kind of looks like an official cashier's

  17     check, payable to you.

  18                   MR. FITZMAURICE:     Objection.    Objection to the use

  19     of the term cashier's check.         I think that lacks foundation.

  20                   THE COURT:   I'll sustain the objection.         It looks

  21     like a check, obviously.         You can ask the next question.

  22     BY MR. BURKS:

  23     Q     Does this appear to be an original official check

  24     written on, written by Metro City Bank?

  25     A     Yeah.     It looks like a check and that's what it says.

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   1     Q     Who is the payee?

   2     A     Me.

   3     Q     Yeah.     For how much?

   4     A     It's $700,000.

   5     Q     Purpose, it reads -- can you read the purpose?

   6     A     It says, "Purchase of estate claims against MPK."

   7     Q     You now -- dated June 14th, 2024, correct?

   8     A     I see that.

   9     Q     Now, do you believe now that Mr. Choudhri seriously

  10     intends to pay you, would like to pay you $700,000 for the

  11     purchase of the claims against MPK?

  12                   MR. FITZMAURICE:    Objection, Your Honor, lacks

  13     foundation as to Mr. Choudhri's intent.            His name appears

  14     nowhere on this image.

  15                   MR. BURKS:    I actually asked him does he now

  16     believe.

  17                   THE COURT:    Excuse me, Mr. Burks.       Ask the

  18     question again.

  19     BY MR. BURKS:

  20     Q     You stated (indiscernible), apparently I need more

  21     predicate, Judge.      You stated that this appears to be the

  22     document from which, the image you received, with that email

  23     offer.

  24     A     Yes.

  25     Q     All right.     Based on seeing this official check, right

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   1     now in Court, are you, do you now believe that Mr. Choudhri

   2     is serious about paying you $700,000 cash to buy the claims

   3     of MPK?

   4                 MR. FITZMAURICE:     Objection, Your Honor, lacks

   5     foundation as to official check and Mr. Choudhri.              I mean, I

   6     see the words on there, but I think counsel is using that

   7     for a different purpose.       And also, as to Mr. Choudhri,

   8     whose name does not appear anywhere on the image.

   9                 MR. BURKS:     Response.

  10                 THE COURT:     Go ahead.

  11                 MR. BURKS:     So, Mr. Murray just testified that

  12     this is the, appears to be the document from which the image

  13     included in this settlement offer from Mr. Choudhri, and

  14     he's testified to that; it was from Mr. Choudhri or one of

  15     his entities.    And this is the image that was included with

  16     it.

  17                 THE COURT:     I'll just note for the record, I'll

  18     let him answer the question, and I'll just note for the

  19     record that the remitter is not Mr. Choudhri but BPH

  20     Acquisition, LLC, whoever that happens to be.             All right?

  21     Go ahead.

  22     BY MR. BURKS:

  23     Q     Do you now believe that Mr. Choudhri is serious about

  24     paying you $700,000 for the claims against MPK?

  25     A     I believe he's serious about wanting the claims.             I

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   1     have no idea if this check is real or not.                I have no reason

   2     to think it's not, but until I deposit it and it appears in

   3     my account, I … I don't know how to answer the question

   4     other than that.

   5     Q       Sure, fair enough.       Is it your understanding that

   6     confirmation of the plan today would preclude you from

   7     accepting an offer of $700,000 to buy those claims?

   8     A       Yes.

   9     Q       Okay.

  10                     MR. BURKS:    Your Honor, may I take this off of the

  11     ELMO?

  12                     THE COURT:    Yeah sure.    It's off.      I turned it

  13     off.     Don't lose it.

  14     BY MR. BURKS:

  15     Q       Going back to your causative action, did Mr. Wetwiska

  16     tell you, or give you a damages model for the action, which

  17     is model for the action that he'd like to bring in terms of

  18     enforcing the suit, which is about the settlement agreement?

  19     A       I don't --

  20                     MR. FITZMAURICE:    Objection.      I think that lacks

  21     foundation.

  22                     THE COURT:    I'll let you answer the question, go

  23     ahead.

  24     BY MR. BURKS:

  25     A       I don't remember getting a damage model from Mr.

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   1     Wetwiska.

   2     Q     All right.     Do you have a general idea what he thinks

   3     of the claim after your conversation with him?

   4     A     No, no different from my recollection of what Mr.

   5     Alexander said.      Big damages, but I don't remember a number.

   6     Q     There he speaks in terms of huge damages, correct?                All

   7     right.      And let the record reflect that the witness nodded.

   8     A     In the affirmative.

   9     Q     Have you read the lawsuit, which is at ECF -- actually,

  10     if you've read it.      I don't want to ask you to testify

  11     (indiscernible) at this point.          Have you read the lawsuit

  12     which is at ECF … or maybe I lost it (indiscernible) … ECF

  13     502-6.      Is the second amended (indiscernible) petition, and

  14     it's the one that (indiscernible) talked to you about.                It's

  15     the one that Jeff Steidley talked to you about, correct?

  16     A     I don't remember talking to Mr. Steidley.             I'm pretty

  17     sure I reviewed that pleading though.

  18     Q     All right.     Are you aware that that complaint has two

  19     very distinct causes of action within it?

  20     A     I really don't remember the pleading.

  21     Q     All right, fair enough.

  22     A     I remember it exists, I don't remember it.

  23     Q     Are you aware, or do you know, that that pleading

  24     involves two tax liens?

  25     A     That sounds, I think that sounds right.

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   1     Q       All right.     Are you aware that the Plaintiffs' position

   2     is, is that if the settlement agreement failed, that the tax

   3     liens would be returned to Ali Choudhri?

   4     A       Yeah, my … yes.

   5     Q       All right.     Doesn't the claim, though, provide for the

   6     tax liens to be satisfied through the plan, and paid off?

   7     A       Yes.

   8     Q       If the tax liens are owned by Mr. Ali Choudhri, why

   9     isn't he entitled to the value of those tax liens?

  10                    MR. FITZMAURICE:     Objection, Your Honor, calls for

  11     speculation.       Also, calls for a legal conclusion as to the

  12     results of that lawsuit.

  13                    THE COURT:     I'll sustain the objection.

  14     BY MR. BURKS:

  15     Q       Does the lawsuit sue MPK for the value of those two tax

  16     liens?

  17     A       I don't remember the prayer in the lawsuit.

  18     Q       All right.     But it's of record.       (indiscernible) can

  19     just read it.        What's the amount owed on those two tax

  20     liens?

  21     A       Well, I'm a little confused because there's lots of tax

  22     liens (indiscernible).

  23     Q       There are two tax liens that are being paid through the

  24     plan.

  25                    MR. FITZMAURICE:     Objection, Your Honor,

                                                                              000907
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   1     mischaracterizes the plan.

   2                   THE COURT:    I'll sustain the objection.

   3     BY MR. BURKS:

   4     Q     The two tax liens that are the subject of the

   5     litigation, the complaint at ECF 502-6, what are the amounts

   6     of those two loans?

   7     A     I don't remember.

   8     Q     Would it surprise you if their face value of $4 million

   9     combined?

  10     A     Sure.

  11     Q     Okay.     Let me move along.      When you were negotiating

  12     with the bank, in the manner that you testified, did you

  13     have any other option than what the bank was offering and

  14     agreeing to?

  15     A     It depends on what point in time you're talking about.

  16     Q     The point in time in which the plan that's filed today,

  17     that we're considering, was filed.

  18     A     At that time, I recall somebody on the Debtor's side

  19     was also either talking about or had filed another plan.

  20     So, there was that.        I understand there was an exclusivity,

  21     so there might have been other plans.            I mean, early on I

  22     didn't know.

  23     Q     Were there?

  24     A     Other than the five or six filed by the Debtor's side,

  25     no.

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   1     Q      Right.   And you talked about -- and it's a big document

   2     (indiscernible).     And you said, hey, I want a cap on credit

   3     (indiscernible), correct?

   4     A      I know, I know I wanted one, and I know we talked about

   5     that with the bank and asked if they would do that.

   6     Q      Did you have any bargaining power to get that

   7     accomplished?

   8     A      Yeah, some.

   9     Q      So, why wasn't it accomplished?        Why wasn't there a

  10     cap?    You wanted it.

  11     A      I wanted all general unsecureds to get paid in full.                I

  12     didn't get that either.

  13     Q      Did you agree that … did you want more money for the

  14     release?

  15     A      I wanted as much money as I could get.          At different

  16     times I asked for more.

  17     Q      And what was your bargaining power, or leverage, to get

  18     you (indiscernible)?

  19     A      Well, a couple of things.       I mean, I have the claims

  20     against MPK, that if, for nothing else, has some nuisance

  21     value to the bank; no bank wanted a release, so they have to

  22     give you something for that.

  23     Q      Nuisance value?

  24     A      Yeah.

  25     Q      Nuisance value?

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   1     A     I said if nothing else.       I think they're worth more

   2     than nuisance value.       I don't think they're worthless

   3     claims.     I don't think they're worth as much as you think

   4     they're worth, or (indiscernible).

   5     Q     Did Mr. Alexander offer to try the case over on

   6     (indiscernible)?     Did he tell you he'd do it?

   7     A     He asked me to hire him, yes.

   8     Q     And what were the terms of his proposed engagement?

   9     A     He said he would do it on, I think, full contingency, I

  10     think a third.     But I don't … I think it was a third.

  11     Q     What about Mr. Steidley or Wetwiska?             Do you know what

  12     their terms of employment or engagement are?

  13     A     I don't remember anything about Steidley.             I'm pretty

  14     sure Wetwiska said he was uninterested in representing the

  15     estate.

  16     Q     All right.    Did Steidley, so you don't recall Steidley

  17     offering to represent the estate and do it for a full

  18     continency, no money down?

  19     A     I don't remember one way or the other.

  20     Q     Okay.    Now, the (indiscernible) subordination agreement

  21     case, there is a pending motion in front of Your Honor, Jeff

  22     Norman, I guess His Honor, Judge Norman, and that's filed by

  23     Mr. Steve Sather.

  24     A     That's the claim you were talking about earlier?

  25     Q     Right.

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   1     A     Okay.

   2     Q     And that's filed by my co-counsel for 2425 WL, correct?

   3     A     Yes.

   4     Q     And there's a motion pending to allow the Creditor,

   5     2425 WL, to bring this, correct?

   6     A     I don't know the current status of the motions

   7     (indiscernible).

   8     Q     Did you file the suit?

   9     A     Mr. Sather's suit?

  10     Q     Yes.

  11     A     No, I --

  12     Q     Did you file the cause of action?

  13     A     No.

  14     Q     All right, so you didn't file equitable subordination

  15     cause of action.

  16     A     Wait --

  17     Q     Did you file a complaint for equitable subordination?

  18     A     Which lien, against who?        There's a lot of liens in

  19     this case and there's a lot of claims that they should be

  20     subordinated.

  21     Q     Did you file a complaint for equitable subordination of

  22     the MPK lien, subordinate to 2425 WL?

  23     A     Did I file a claim to subordinate the bank's lien?                No,

  24     I don't think so.

  25     Q     But there's, my co-counsel for 2425 WL did, correct?

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   1     A     Right.

   2     Q     And do you oppose him bringing that lawsuit?

   3     A     No.

   4     Q     Will he be able to bring it if this plan is confirmed?

   5     A     I don't know.

   6     Q     It's your claim you're releasing, correct?

   7     A     If it's my claim and I'm releasing it, he can't bring

   8     it.   I think he has a theory that he has some sort of

   9     independent standing or independent claim, and I don't

  10     really care about it in our creditor dispute that is, you

  11     know, (indiscernible).

  12     Q     Right.    Fair enough.    What's the value of that

  13     subordination claim in your bid?

  14                  MR. FITZMAURICE:    Objection, foundation.

  15                  THE COURT:    I'll sustain it if it's foundation.

  16     If you want to lay a foundation, please do.

  17     BY MR. BURKS:

  18     Q     In approving this claim, and say that you approve this

  19     claim, that you formed a damages model or an effect, a model

  20     of the effect of this suit, against MPK, what's the value of

  21     that suit?

  22     A     I didn't approve of them.        I said, as I sit here today

  23     I supported it as the only plan that's available.              So, you

  24     want to know if I … an advantage model of the subordination

  25     claim?

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   1     Q     Or an effect model, yes, sir.

   2     A     I considered the effect but …

   3     Q     (indiscernible) wins MPK is subordinate to 2425 WL

   4     (indiscernible), right?

   5                 MR. FITZMAURICE:     Objection, calls for

   6     speculation.

   7                 THE COURT:     I'll sustain the objection.

   8     BY MR. BURKS:

   9     Q     Are you aware that the requested relief in the

  10     complaint is to put the 2425 WL lien ahead of the MPK lien?

  11     Are you aware of that?

  12     A     Not specifically, no, but it sounds like the goal of

  13     the subordination claim.

  14     Q     And did you consider that in determining whether to

  15     sell all your claims for $3.7 million?

  16                 MR. FITZMAURICE:     Objection, you know,

  17     mischaracterizes the witness's testimony --

  18                 MR. BURKS:     I actually asked him what he

  19     considered.

  20                 THE COURT:     I'll sustain their objection.         I think

  21     it does misclassify the testimony.          Ask another question.

  22     BY MR. BURKS:

  23     Q     Is the … so, how does the subordination suit filed by

  24     Mr. Sather, impact your decision to accept $3.7 million?

  25                 MR. FITZMAURICE:     Objection, lacks foundation.

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   1                   THE COURT:    I'll overrule the objection.

   2     BY MR. BURKS:

   3     A     I don't know.

   4     Q     Fair enough.     How many breach of contract cases have

   5     you personally tried?

   6                   MR. FITZMAURICE:     Objection, relevance, Your

   7     Honor.      It's a confirmation of the bank's plan.

   8                   MR. BURKS:    He's making a business decision and

   9     I'm trying to understand the foundation for the basis of

  10     that decision.      His business decision is to support the plan

  11     and his business decision was to agree --

  12                   THE COURT:    He's already testified as to why his

  13     business decision supports the plan.           If you want to attack

  14     that testimony, you can.         But I think that that's not a

  15     proper question and I'll sustain the objection.

  16     BY MR. BURKS:

  17     Q     You've read the second amended (indiscernible)

  18     petition; it's the one on the lawsuit involving the tax

  19     liens, and also the validity of the settlement agreement.

  20     You've read that, correct?

  21     A     Yeah, I'm sure at some point I've read it, I just

  22     wanted (indiscernible).

  23     Q     Sure.     And you testified as to the investigation and

  24     inquiry you made regarding that, right?

  25     A     Yes.

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   1     Q      Have you ever tried a case like that?

   2                   MR. FITZMAURICE:     Same objection, Your Honor.

   3                   THE COURT:     I'll sustain the objection.         Thank

   4     you.

   5                   MR. BURKS:     May I have a moment to make sure that

   6     I've asked all the questions I intended to ask?

   7                   THE COURT:     Certainly, Mr. Burks.

   8     BY MR. BURKS:

   9     Q      On the plan, you've been very forthright as to what's

  10     happening, I believe, on Friday, and I appreciate it,

  11     especially if you can have it muted, where people can

  12     actually, like Mr. Ali Choudhri, can watch the bidding

  13     process.      You've talked about the bidding, the auction

  14     that's going to occur on Friday, correct?

  15     A      Yes.

  16     Q      If the cash bid is higher than the highest credit bid,

  17     are you going to take the cash bid or the credit bid?

  18                   MR. FITZMAURICE:     Objection, Your Honor, calls for

  19     speculation about some event that theoretically might happen

  20     in the future.

  21                   THE COURT:     I'll overrule the objection.         Go

  22     ahead.

  23     BY MR. BURKS:

  24     A      Probably, but there's other things that might happen,

  25     so I can't say for sure, but generally speaking, yes, I'll

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   1     take the higher bid.

   2     Q     Any bid you accept, of course, is tradition

   3     (indiscernible).      They've only paid you $2 million.          So, if

   4     another bid is the highest bid, they'd still have to pay the

   5     balance and lose it, right?

   6     A     Oh, yeah.

   7     Q     Sure.

   8     A     They'd (indiscernible) close.

   9     Q     If the credit bid is not successful, what is your

  10     understanding regarding the bank's right to releases?              Do

  11     they still get the release?

  12     A     If the plan is confirmed, yes.         The releases come from

  13     the plan, is my understanding.

  14     Q     Right.     If their credit bid is unsuccessful, then they

  15     still owe you $3.7 million.

  16                   MR. FITZMAURICE:   Objection, Your Honor.         The plan

  17     speaks for itself, and "Owe you $3.7 million,"

  18     mischaracterizes the nature of the plan.

  19                   THE COURT:   I think it does.      Ask the question a

  20     different way, perhaps.

  21                   MR. BURKS:   Yeah, all right.

  22     BY MR. BURKS:

  23     Q     If the credit bid is not successful, does MPK still owe

  24     you (indiscernible) liquidating trust $3.7 million?

  25     A     Sort of.     And my --

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   1     Q     Go ahead, because I don't know the answer to this.

   2     A     There is money from the sale of the bank's collateral

   3     that some cash bidder will pay at closing.             And that money

   4     will, under the plan, go first to the tax liens, then to the

   5     admins.     And that's money that, in a sense, is the proceeds

   6     of the bank's collateral, so they are kind of paying it.

   7     That's why I say sort.      Do they have to come out of pocket?

   8     There might be some strange scenario where that happens,

   9     because I think they're backstopping the admins under the

  10     plan, whether there's a credit bid or not.             But that seems

  11     really unlikely, because their credit bid is high enough

  12     that the cash bid would recover those expenses.             That's how

  13     I understand the bid.

  14     Q     (indiscernible) isn't it true that you made a decision

  15     not to market test the value of those three lawsuits that

  16     I've been talking about in (indiscernible)?             (indiscernible)

  17     for sale (indiscernible).

  18     A     I have not pursued an auction of the causes of action.

  19     Q     Why not?

  20     A     Because the value I get from trading those for a

  21     release as part of the plan, in my view, is a much better

  22     and more solid outcome for the estate and its creditors.

  23     Q     But not (indiscernible) is right, correct?

  24                  MR. FITZMAURICE:    Objection, Your Honor, lacks

  25     foundation.

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   1                   THE COURT:     I'll sustain the objection.         Thank

   2     you.

   3     BY MR. BURKS:

   4     Q      If the damage models that you've testified to that you

   5     understand being huge -- and I did that so I can get back to

   6     it -- it's a huge … if the damage models are right though,

   7     wouldn't the amount you covered be considerably higher than

   8     $3.7 million?

   9                   MR. FITZMAURICE:     So, Your Honor, lacks foundation

  10     as to damage models, also mischaracterizes the witness's

  11     testimony and is otherwise misleading.

  12                   THE COURT:     Let's say what he did say.        He said he

  13     hadn't seen any damage models.           So, for you to ask him about

  14     damage models he hasn't seen, he didn't testify the way your

  15     question, basically, is formulated.            So, I'll sustain he

  16     objection.      If you ask in a different way you can.            I know

  17     what he testified to, but he testified that he hadn't seen

  18     any damage models; they weren't shared with him.

  19                   MR. BURKS:     Thank you, Judge.

  20     BY MR. BURKS:

  21     Q      You investigated the causes of action, correct?

  22     A      Yes.

  23     Q      You got to release them -- on the one hand, here we go,

  24     I'm holding my left hand out -- on the one hand, you're

  25     going to release them for $3.7 million, right?

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   1     A       Right.     I continue to disagree with the way you're

   2     describing this but --

   3     Q       How would you describe it?

   4     A       Under the plan, I'm releasing the claims.            What I get

   5     under the plan, is what I get under the plan.               Somebody said

   6     it, and likely to be 3.7 million; in a credit bid scenario

   7     it could be a different number, that's why -- but when you

   8     say 3.7, I understand you to mean what the estate gets out

   9     of this plan.        And yes, I'm releasing the claims under the

  10     plan.

  11     Q       In a credit bid scenario, will you actually get $3.7

  12     million cash, or will you get considerably less?

  13                     MR. FITZMAURICE:   Objection, Your Honor.         The plan

  14     speaks for itself.

  15                     THE COURT:   I'll sustain the objection, it speaks

  16     for itself.        We're don't have to argue what the plan says,

  17     because the plan is -- it says what it says, Mr. Burks, and

  18     I can read.

  19     BY MR. BURKS:

  20     Q       Whatever the plan says here, the alternative would be,

  21     though, to either try and market those causes of action

  22     independently, correct.         Would that be an alternative?

  23     A       I suppose that's possible, sure.

  24     Q       And what would you expect to get from that?

  25     A       Less.

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   1     Q     Why?

   2     A     Because I don't think the claims are worth much to

   3     anyone other than the party, because they're worth a lot,

   4     and that party made an offer.         That's why the claim was in

   5     an amount that was less than what I believe the estate gets

   6     out of the claim.

   7     Q     But there's another alternative sir, is there not?

   8     Don't release them and let these attorneys, who are offering

   9     to do it on a full contingency, try the case.              Isn't that an

  10     alternative?

  11     A     It is something else that could happen, yes.

  12     Q     What is the truest way to determine the validity of a

  13     piece of litigation?        Is it to try it?

  14     A     If the only thing you care about is rolling the dice

  15     and seeing if you hit snake eyes, that's a thing you can do.

  16     That's not what I'm doing here.          I'm trying to make

  17     decisions that are in the best interests of the estate.

  18     Q     If you don't sell it for $3.7 million, those three

  19     actions, have you formed an opinion, if you went forward

  20     with them, have you formed an opinion as to how much MPK

  21     would offer to settle?

  22                  MR. FITZMAURICE:     Objection, Your Honor,

  23     mischaracterizes the witness's testimony of the plan.

  24                  THE COURT:     I'll sustain he objection.

  25     BY MR. BURKS:

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   1     Q     Can you form a valid business decision without

   2     determining what you could get in settling if you brought

   3     the claims yourself?

   4                  MR. FITZMAURICE:     Objection, Your Honor,

   5     mischaracterizes the witness's testimony.              He's testified

   6     that he did, in fact do that.

   7                  THE COURT:    I'll sustain he objection.

   8     BY MR. BURKS:

   9     Q     So, based on the objections of MPK's counsel, the only

  10     thing that we have for your consideration, is that true, is

  11     releasing the claims to MPK for $3.7 million?              I mean,

  12     that's it.

  13                  MR. FITZMAURICE:     Objection, Your Honor, as to the

  14     predicate of the question, that it somehow benefits the

  15     estate and entirety gestalt of objections by MPK's

  16     (indiscernible).

  17                  MR. BURKS:    I'm going to ask him what his opinion

  18     is, because it's his judgment that he's testified about.

  19                  THE COURT:    I think he's testified as to what his

  20     judgment was and how he got there.          I think the question

  21     mischaracterizes his prior testimony.           So, if you want to

  22     ask another question, Mr. Burks, you can, but I've listened

  23     to all of his testimony.        I'm listening to your questions.

  24     I think your questions are not a true indication of what he

  25     previously testified to.        And I can read from my notes back

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   1     to you what I think he said, because they're right here, but

   2     I don't think that's my job, okay.

   3                  MR. BURKS:     It's not your job and (indiscernible).

   4                  THE COURT:     So, ask a question within the law.

   5     Thank you.

   6                  MR. BURKS:     I've asked all the questions in that

   7     area, Judge.     Thank you.

   8                  THE COURT:     Thank you.

   9     BY MR. BURKS:

  10     Q     So, the final question is, just so I understand, your

  11     business judgment is that there is no need to market test

  12     the sale or the litigation of these claims, because $3.7 is

  13     the most you think you can get.

  14                  MR. FITZMAURICE:     Objection, Your Honor,

  15     mischaracterizes the witness's testimony.

  16                  THE COURT:     It does mischaracterize the testimony.

  17     Ask another question.        He never testified to that.

  18                  MR. BURKS:     (indiscernible) no further questions,

  19     Your Honor.

  20                  THE COURT:     Thank you.    Mr. Baker?

  21                  MR. BAKER:     No questions.

  22                  THE COURT:     Mr. Shannon, I'll come to you, just

  23     because you said you might want to participate.

  24                  MR. SHANNON:     No questions, Your Honor.

  25                  THE COURT:     All right, thank you, Mr. Fitzmaurice.

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   1                  MR. FITZMAURICE:     Thank you, Your Honor.

   2                  REDIRECT EXAMINATION OF CHRISTOPHER MURRAY

   3     BY MR. FITZMAURICE:

   4     Q     Mr. Murray you were asked questions about the equitable

   5     subordination claim filed by 2425 WL against the bank.                Do

   6     you recall that?

   7     A     Yes.

   8     Q     Do you recall that the bank filed a motion to dismiss

   9     the complaint in that case?

  10     A     I don't.    But that sounds right, but I don't really

  11     remember what the status of that litigation is.

  12     Q     Similarly, do you not recall whether or not that motion

  13     to dismiss was granted?

  14     A     I just don't remember, no.

  15     Q     Do you know whether 2425 WL has filed a motion, has

  16     filed an application with the Court seeking to assert estate

  17     claims?

  18     A     Yes.

  19     Q     And you oppose that application, correct?

  20     A     Yes, I do oppose it.

  21                  MR. FITZMAURICE:     Your Honor, I'm going to give it

  22     another shot.

  23                  THE COURT:     Sure, go ahead, you're connected.

  24                  MR. FITZMAURICE:     Thank you.

  25     BY MR. FITZMAURICE:

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   1     Q     So, Mr. Murray is showing me the document at ECF 534.

   2     A     Yes.

   3     Q     That's the objection you filed to the 2425 WL

   4     application to pursue estate claims?

   5     A     Yeah, I recognize that.

   6     Q     Mr. Burks was asking you questions about a $700,000 --

   7     let's just call it a check for purposes of these questions -

   8     - do you recall those questions?

   9     A     Yes.

  10     Q     Do you know the amount of the tax liens that have been

  11     filed in this case?

  12     A     The ones filed, the ones by the taxing authorities, not

  13     the ones that were purchased or traded later, yes.

  14     Q     Do you know about the approximate amount of those?

  15     A     It's over two million.        I don't know exactly.

  16     Q     So, that's more than 700,000.

  17     A     Yes.

  18     Q     And does the indicated plan call for those tax liens to

  19     be paid in full?

  20     A     Yes.

  21     Q     Is there also a tax lien against the property that's

  22     currently held by … and we'll call it Caz Creek or

  23     (indiscernible)?

  24     A     Yes.

  25     Q     Do you know the approximate amount of that tax lien?

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   1     A     I don't.    It's more than 700,000, to be sure, but I

   2     don't remember.

   3     Q     And do you know if that tax lien is paid off in full

   4     under the bank's plan?

   5     A     Yes, it is.

   6     Q     The bank's plan also pays off administrative expenses

   7     in full, correct?

   8     A     Yes.

   9     Q     It makes a cash payment to a certain amount of secured

  10     creditors.     Is that right?

  11     A     Yes, to cash creditors.

  12     Q     And it funds a liquidation trust?

  13     A     Yeah, that was the second (indiscernible).

  14     Q     As compared to $700,000, do you have a sense of the

  15     magnitude, as a comparison, of the payments the bank is

  16     making under the plan?

  17     A     Yes.

  18     Q     Is it about five times as much?

  19     A     Well, it's 3.7 or more versus 700, so, yeah a little

  20     more than five times, at least.

  21     Q     Counsel was asking you whether you spoke to an attorney

  22     named Jeff Steidley.        Do you recall those questions?

  23     A     I do.

  24     Q     Did Mr. Choudhri or anyone on any side ask you to talk

  25     to Mr. Steidley?

                                                                            000925
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   1     A     I just don't remember.        I don't remember that name and

   2     those discussions.

   3     Q     In connection with the determinations that you've made

   4     in this case, without telling me the contents of it, have

   5     you sought legal advice?

   6     A     Yes.

   7     Q     And does the legal advice that you've received from

   8     your counsel form part of the basis for the conclusions that

   9     you've reached?

  10     A     Yes, very much.

  11                  MR. FITZMAURICE:     Nothing further.       Thank you.

  12                  THE COURT:     Mr. Burks?

  13                  RE-CROSS EXAMINATION OF CHRISTOPHER MURRAY BY

  14     BY MR. BURKS:

  15     Q     Just to be clear, the tax liens that he was talking

  16     about, the various liens he was talking about, if the

  17     property is sold, whether it's sold to a cash bidder or to a

  18     stalking horse, credit bearer, or another credit bearer,

  19     they still don't get paid, or do they?

  20                  MR. FITZMAURICE:     Objection, Your Honor, calls for

  21     speculation as to the results of, for example, negotiation

  22     that the bidder might, a successful bidder might have with

  23     the taxing authority.

  24                  THE COURT:     I'll overrule the objection.

  25     BY MR. BURKS:

                                                                            000926
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   1     A     Yeah, I think the tax liens have to get paid at a

   2     closing on the building regardless of whether it's sold a

   3     cash buyer or be accredited.

   4                  MR. BURKS:     Nothing further, Your Honor.

   5                  THE COURT:     Thank you.     Mr. Baker?

   6                  MR. BAKER:     No questions.

   7                  THE COURT:     Mr. Shannon?

   8                  MR. SHANNON:     No questions, Your Honor.

   9                  THE COURT:     Mr. Fitzmaurice?

  10                  MR. FITZMAURICE:     Nothing further, Your Honor.

  11     Thank you.

  12                  THE COURT:     Thank you, Mr. Murray.       Thank you for

  13     your patience.     You may step down.

  14                  MR. MURRAY:     Thank you, sir.

  15                  THE COURT:     Thank you.     Mr. Fitzmaurice.

  16                  MR. FITZMAURICE:     Thank you, you know, the bank

  17     rests.

  18                  THE COURT:     All right, thank you.       Mr. Baker, do

  19     you have witnesses?

  20                  MR. BAKER:     I defer to Mr. Burks.

  21                  THE COURT:     Mr. Burks, do you have a witness?

  22                  MR. BURKS:     Your Honor, at this time … Judge, at

  23     this time, 2425 WL calls Mr. Holliman.

  24                  THE COURT:     Is he the gentleman that's in the

  25     waiting room?

                                                                            000927
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   1                   MR. BURKS:    Yes.

   2                   THE COURT:    All right (indiscernible).        He's a

   3     rebuttal witness, I assume?

   4                   MR. BURKS:    Excuse me?

   5                   THE COURT:    He's a rebuttal witness, I assume?

   6                   MR. BURKS:    I'm putting on my case in chief.

   7                   THE COURT:    How come I was told that I only had

   8     three witnesses and now I've got someone else?

   9                   MR. BURKS:    He's a rebuttal witness for my case in

  10     chief.      I'm sorry.

  11                   MR. FITZMAURICE:      Your Honor, may we inquire,

  12     rebuttal as to what?

  13                   MR. BURKS:    So, it's been represented that the

  14     plan was noticed out and this is a creditor who received no

  15     notice and no (indiscernible) to vote on.

  16                   THE COURT:    Okay, fine.    Sir, if you'll come to

  17     the podium.      (indiscernible) I will swear you in.           Please

  18     raise your right hand to be sworn.           Do you swear or affirm

  19     to tell the truth, the whole truth and nothing but the

  20     truth, so help you God.

  21                   MR. HOLLIMAN 1:      Yes.

  22                   THE COURT:    All right.    Please be seated sir,

  23     right here.      Make sure you speak into the microphone.           Mr.

  24     Baker you may proceed at your leisure.

  25                   MR. BURKS:    Mr. Burks.

                                                                            000928
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   1                  THE COURT:     Mr. Burks, sorry.

   2                    DIRECT EXAMINATION OF ALLEN HOLLIMON

   3     BY MR. BURKS:

   4     Q     Hi, thanks for waiting.        I bet that was a lot of fun.

   5     A     Yes, sir.

   6     Q     What is your name, sir?

   7     A     My name is Allen Holliman.

   8     Q     And what do you do, sir?

   9     A     I am the owner of the(indiscernible) company that 2425

  10     (indiscernible).

  11                  THE COURT:     I didn't catch it, sir, so please say

  12     that answer again.        You are what?

  13                  THE WITNESS:     I am the owner and CEO of Nationwide

  14     Security, which is (indiscernible) 2425 (indiscernible),

  15     suite 300.

  16                  THE COURT:     Thank you.

  17     BY MR. BURKS:

  18     Q     Do you have any knowledge of a company called Galleria

  19     2425 Owner?

  20     A     Yes, I do.

  21     Q     And what knowledge do you have?          How do you know this

  22     company?     How do you know the company Galleria 2425 Owner?

  23     A     I provide security services for the building.

  24     Q     And do you have a contract with someone to do that?

  25     A     Yes, we do.

                                                                            000929
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   1     Q       With whom?

   2     A       With the Galleria 24.

   3     Q       With Galleria 2425 Owner?

   4     A       Correct.

   5     Q       Did you file a proof of claim in this case?

   6     A       We have not, as of yet.

   7     Q       All right.    Are you owned, in your mind, are you owed

   8     money by the estate?        By the creditor?

   9     A       Absolutely.

  10     Q       Did you receive a plan ballot voting … let me look …

  11     did you receive a notice regarding voting on the plan?

  12     A       Yes, from Galleria.

  13     Q       From Galleria.     And did you receive notice from anybody

  14     else?

  15     A       I have not.

  16     Q       Did you submit a ballot?

  17     A       No, I have not.

  18     Q       When did you receive the ballot from Galleria?

  19     A       Early May.

  20     Q       Early May?

  21     A       Early May, if I recall correct.

  22     Q       Did you receive anything in the mail from MPK or the

  23     chapter 11 trustee regarding this plan?

  24     A       Not that I recall.

  25                  MR. BURKS:     Pass the witness, Your Honor.

                                                                            000930
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   1                 THE COURT:     Bear with me for one second.

   2                 THE WITNESS:     Yes, Your Honor.

   3                 THE COURT:     Give me the full name of your company

   4     again, sir.

   5                 THE WITNESS:     Nationwide Investigations and

   6     Security Inc.

   7                 THE COURT:     So, Nationwide Security 2425 West Loop

   8     South 300, Houston, Texas 77027.

   9                 THE WITNESS:     That's correct.

  10                 THE COURT:     That's your mailing address.

  11                 THE WITNESS:     Correct.

  12                 THE COURT:     Go ahead.

  13                 MR. TROOP:     Thank you, Your Honor.

  14                    CROSS EXAMINATION OF ALLEN HOLLIMAN

  15     BY MR. TROOP:

  16     Q     Mr. Holliman, good afternoon.

  17     A     Good afternoon.

  18     Q     Mr. Holliman, I'm not sure I understood what you said.

  19     You said you received a package in early May, with regard to

  20     (indiscernible).     Correct?

  21     A     If I can recall, yes.

  22     Q     Early May.    And you said that that package that you

  23     received was from the Debtor, Galleria Owner 2425, not from

  24     National Bank of Kuwait?

  25     A     Yeah, I haven't heard from the Bank of Kuwait.

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   1                 MR. TROOP:     Your Honor, I'm going to bring up on

   2     the screen, through Mr. (indiscernible).

   3                 THE COURT:     Thank you (indiscernible).

   4                 MR. TROOP:     Your Honor, this is the -- go to the

   5     top, please, of the document …

   6                 MAN 1:   Sir, this is ECF 501 (indiscernible).

   7                 MR. TROOP:     ECF 501-15, Your Honor.

   8                 THE COURT:     All right.

   9     BY MR. TROOP:

  10     Q     Mr. Holliman, you said the name of your company is

  11     National Security?

  12     A     No, Nationwide.

  13     Q     Nationwide Security.

  14     A     Investigation.

  15     Q     Thank you.

  16                 MR. TROOP: Could you scroll down to the attachment

  17     with the addresses?

  18     BY MR. TROOP:

  19     Q     Do you see this highlighted in blue, sir?

  20     A     Yes, I do.

  21     Q     Is that your address, 2425 West Loop, Suite 300?

  22     A     That's my address.

  23     Q     Houston, Texas 77007.

  24     A     Correct.

  25     Q     And you said you received a package at the beginning of

                                                                           000932
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   1     May.    Correct?

   2     A      From my recollection.

   3                  MR. TROOP: Can you go to the top of the document,

   4     please?     Could you scroll down just a little bit.

   5     BY MR. TROOP:

   6     Q      Do you see that it was National Bank of Kuwait,

   7     paragraph three, that mailed the solicitation package in

   8     early May?       There, right there, number three?

   9     A      Three …

  10     Q      On May 6th.

  11     A      On May 6th, (indiscernible) National Bank, okay, yes, I

  12     see that.

  13                  THE COURT:    (indiscernible) down a little bit.

  14                  MR. TROOP:    I'm sorry.    Could you please bring up

  15     the plan, 2425 in the Debtor's certificate of services

  16     (indiscernible)?

  17                  THE COURT:    Who's doing it?

  18     BY MR. TROOP:

  19     Q      You said you received it in early June, right?            That's

  20     what you said?

  21     A      I said early May, from my recollection.

  22     Q      Actually, that's not what you said, sir.           Early May,

  23     that's right, that's correct, that was our plan.             I

  24     apologize.       Did you receive a second package in early June?

  25     A      I don't recall.

                                                                           000933
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   1     Q      You don't recall.     Do you see that this would have been

   2     service made by the Debtor, Galleria 2425 Owner LLC, and the

   3     other plan proponent, 2425 WL LLC?           The plan you said you

   4     got.    You said you go the Debtor's plan, right?

   5     A      I got the Debtor's plan.      Okay.

   6     Q      You see, this was mailed on May 30th, correct.

   7     A      Correct.

   8     Q      Like a month after you said you got the package, which

   9     would have been consistent with when MPK sent you a package.

  10     Correct?

  11     A      (indiscernible) MPK, I recall the Debtor's package but

  12     I don't recall (indiscernible).

  13     Q      And can that be because you looked at the name of the

  14     case and it said Galleria 2425 Owner at the top?

  15     A      That's what it says.

  16     Q      Do you have the package that you received with you?

  17     A      I don't have it with me, no.

  18     Q      But if you received a package in early May, did it have

  19     a ballot in it?

  20     A      I don't recall.

  21     Q      Could you tell me who asked you to come here to be a

  22     witness today?

  23     A      The attorneys from Choudhri (indiscernible).

  24     Q      And they asked you.     Did Mr. Choudhri talk to you about

  25     whether you received a package before you talked to the

                                                                           000934
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   1     attorneys?

   2     A       No.

   3     Q       No.   How did they get your name?

   4     A       They should have a name.        I operate the security in

   5     that building.

   6     Q       But how did they think to call you about whether you

   7     got this or not?

   8     A       I couldn't answer that question.

   9                   MR. TROOP:     Okay.    What else?    I don't think

  10     anything else, Your Honor.           No further questions for this

  11     witness.

  12                   THE COURT:     All right, (indiscernible).         Sir, when

  13     did you become aware of this bankruptcy filing the first

  14     time?

  15                   THE WITNESS:     I can't recall that.       It's been

  16     going on for a while, so probably, I think maybe a year ago

  17     (indiscernible) paperwork had come through.              But that's all

  18     that my office (indiscernible), from my attorney.

  19                   THE COURT:     Thank you.    Mr. Burks?

  20                   MR. BURKS:     Nothing further, Judge.

  21                   THE COURT:     All right, thank you, sir.        You may

  22     step down.      Mr. Burks, next witness.

  23                   MR. BURKS:     He's not here yet.      Let me see, my

  24     witness list because I'm constantly losing the damn thing.

  25     Put this up on the screen, please, 12.

                                                                             000935
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   1                  Your Honor, rather than call Mr. Choudhri at this

   2     time, what I think I would like to do, is put some

   3     documents, court filed documents, that have been admitted

   4     into evidence.

   5                  THE COURT:    I can let you do that in argument if

   6     it's already in the record.          But what I'd like to do is I'd

   7     like to conclude testimony.          So, if you want to rest that's

   8     fine.    But this is the time to call witnesses, live

   9     testimony.     That's what I would like for you to do.           I'm

  10     surprised we're not hearing from Mr. Choudhri.             I really

  11     wanted to hear from him.          But if you don't want to call him,

  12     that's fine.

  13                  MR. BURKS:    Well, I want to call him, but he's

  14     ill.    I don't know where he is.        He's on the screen, he's …

  15     I know that he is ill.       Excuse me.     I know that he has told

  16     me he is very ill.

  17                  THE COURT:    He is on the phone.

  18                  MR. BURKS:    All right.

  19                  THE COURT:    And if he'll show up on video, I'm

  20     happy to have you examine him.          If he doesn't want to show

  21     up or doesn't want to testify, that's fine too.             You can

  22     rest.    And I'm happy to give you a few minutes, if you would

  23     like, to try and contact him to get him by video.

  24                  MR. BURKS:    You've read my mind.        May I do so?

  25                  THE COURT:    Yes.     So, let's do this:     It is 2:42.

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   1     I'll come back at 2:50.           That gives you eight minutes to try

   2     and get (indiscernible).

   3                  MR. BURKS:     Thank you.

   4                  THE COURT:     All right, thank you.

   5                  CLERK:     All rise.

   6                  (Recess)

   7                  THE COURT:     All right, Mr. Burks, what’s the

   8     status?

   9                  MR. BURKS:     Your Honor, 2425 WL calls Mr. Ali

  10     Choudhri.

  11                  THE COURT:     He is not online or on the phone.           He

  12     was when I left the bench.           He’s left.   You should hear a

  13     ding if he calls in.

  14                  MR. BURKS:     Is he on the headphones?

  15                  THE COURT:     No.

  16                  MR. BURKS:     I will wait for him to come on for as

  17     long as --

  18                  THE COURT:     No, I’ll wait a few more minutes, and

  19     then he’s not going to testify.

  20                  MR. BURKS:     Yes, Your Honor.      Was that something

  21     (indiscernible), Judge?

  22                  THE COURT:     Excuse me?

  23                  MR. BURKS:     Was there --

  24                  THE COURT:     Oh, there’s a phone call.        There he

  25     is.   He’s been unmuted.          He needs to show up now by video.

                                                                            000937
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   1                   MR. CHOUDHRI:     Hello?

   2                   THE COURT:    Mr. Choudhri, I can hear you.         Can you

   3     hear me?

   4                   MR. CHOUDHRI:     Judge Norman?

   5                   THE COURT:    Yes.

   6                   MR. CHOUDHRI:     Yes, I can hear you.

   7                   THE COURT:    Okay, I need you to appear by video,

   8     and I’ll swear you in, sir, and you can testify.

   9                   MR. CHOUDHRI:     Okay, I’m having a problem with my

  10     video.      Can you give me just a minute?

  11                   THE COURT:    I’ll give you a few more minutes.

  12     I’ve already given you a few minutes, but I’ll give you a

  13     few more.

  14                   MR. BURKS:    Let me see.    Do we have

  15     (indiscernible) deposition?

  16                   MR. BAKER:    Yeah.

  17                   MR. BURKS:    Which one is it?

  18                   MR. BAKER:    It’s 49922 or 23.

  19                   MR. BURKS:    Yeah, all right, okay.

  20                   MR. CHOUDHRI:     Thanks for your patience.

  21                   THE COURT:    Just so the parties are aware, if you

  22     want to share documents with Mr. Choudhri, which I’m

  23     assuming that you are going to do, that will have to occur

  24     through GoTo Meeting.         So just be aware of that fact.

  25                   MR. BURKS:    Where’s our exhibit list?

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   1                 MR. BAKER:     (indiscernible).

   2                 MR. BURKS:     Yeah, it’s all the same.

   3                 THE COURT:     All right, Mr. Choudhri, can you hear

   4     me?   Mr. Choudhri, can you hear me?

   5                 MR. CHOUDHRI:     Yes.

   6                 THE COURT:     All right, I’m going to ask you to

   7     raise your right hand, sir, and be sworn.              Do you swear or

   8     affirm to tell the truth, the whole truth, and nothing but

   9     the truth, so help you God?

  10                 MR. CHOUDHRI:     Yes.

  11                 THE COURT:     All right, go ahead, Mr. Burks.

  12                     DIRECT EXAMINATION OF ALI CHOUDHRI

  13     BY MR. BURKS:

  14     Q     Sir, will you please state your -- state and spell your

  15     name for the record?

  16     A     Ali Choudhri.

  17     Q     And how do you spell your last name, sir?

  18     A     C-H-O-U-D-H-R-I.

  19     Q     Are you the -- what is your position in 2425 WL?

  20     A     Equity.

  21     Q     What is your position in Galleria 2425 Owner?

  22     A     Equity.

  23     Q     All right, I’m going to start with some housekeeping

  24     matters, Mr. Choudhri.       I’m going to put up ECF Docket

  25     Number 502-34.     And I’d like you to tell me when you can see

                                                                            000939
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   1     it, because I’m not sure what technological (indiscernible).

   2     There’s no 502-34, Hilco sale brochure.

   3     A      I’m sorry?

   4                  MR. FITZMAURICE:     One moment, sir.

   5                  MR. BURKS:     One moment, sir.      We’re putting up an

   6     exhibit for you to look at.         So the Exhibit 30 -- 499-34 is

   7     somewhere.

   8                  MR. FITZMAURICE:     Your Honor, I apologize.          Before

   9     we begin the questioning of Mr. Choudhri, looking at it on

  10     the screen, it’s not clear to me that that’s a real

  11     background or --

  12                  THE COURT:     It’s a virtual background.        Mr.

  13     Choudhri, will you turn off your virtual background?                You

  14     have to project your GoTo Meeting, Mr. Choudhri.              Anything

  15     you do internally, we can see in the courtroom, he can’t

  16     see.    You’ve got to be connected to GoTo meeting.             You’ve

  17     got to share through GoTo Meeting.           Because you can project

  18     it all over the courtroom, but he’s not going to see it.                     So

  19     Mr. Choudhri, in case you didn’t understand my instructions,

  20     any sort of virtual background blurring needs to be turned

  21     off.    Thank you.

  22                  THE WITNESS:     Can you see this?

  23                  THE COURT:     I can see you, yeah.        That’s fine, but

  24     you can’t --

  25                  THE WITNESS:     Okay, (indiscernible).

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   1                   THE COURT:     -- no virtual backgrounds.

   2                   THE WITNESS:     Yes, sir.

   3                   MR. BURKS:     And Mr. Choudhri, we’re waiting for

   4     ECF 499-34, the Hilco sale brochure, to come up, and then

   5     we’re going to go to 499-12 in one moment, sir.

   6                   MR. BAKER:     Your Honor, I apologize.        I’m

   7     connected and I’m clicking on it.           It says “Can’t share your

   8     screen.      We apologize, but we’re experiencing difficulties

   9     with the video contents and are unable to share your

  10     screen.”      I’ve never had that happen before.

  11                   THE COURT:     Yeah, it sometimes -- and that’s the

  12     reason why we -- okay, let’s see if I could make it work.

  13                   MR. BAKER:     You want me to try --

  14                   THE WITNESS:     I can’t see with these.

  15                   THE COURT:     Mr. Choudhri, we’ll be with you in a

  16     second.

  17                   THE WITNESS:     Okay, sorry.

  18                   THE COURT:     I get the same error message, Mr.

  19     Burks.      We can’t share documents.

  20                   MR. BURKS:     So we can see it, but he won’t.         Is

  21     that correct?

  22                   THE COURT:     That’s correct.

  23                   MR. BURKS:     Oh.

  24                   THE COURT:     Yeah, there we go.      All right, so I’ll

  25     try and pull up documents for you.            What do you want to pull

                                                                             000941
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   1     up?

   2                  MR. BURKS:     Thank you, Your Honor.       I apologize.

   3     I mean, I don’t know what I can do about it, but I do

   4     apologize.     Docket 499-34, Your Honor, ECF 499-34 and 36.

   5                  Mr. Choudhri, hang on there.         We’re about to,

   6     apparently, about to get this done.

   7                  Mr. Choudhri, the document, ECF 499-34, is on the

   8     screen.     Is it big enough for you to see it?

   9                  And Judge, I don’t know if you can click and open

  10     it bigger.     I just don’t know how it works.

  11                  THE COURT:     All I can do is this.

  12                  THE WITNESS:     Yeah, yeah, I see it.

  13                  THE COURT:     Mr. Choudhri, you can drag on your

  14     screen and basically make us very small and your exhibits

  15     very, very large.

  16                  THE WITNESS:     Okay, yes, sir.      I can.    Thank you,

  17     Your Honor.

  18                  MR. BURKS:     Let me know when you’ve got it to

  19     where you can read the document, Mr. Choudhri.

  20                  THE WITNESS:     I can’t scroll down, but I can zoom

  21     in and out.     I’m not able to scroll down.

  22                  THE COURT:     You can’t scroll?      All you can do is

  23     make it bigger or smaller?

  24                  THE WITNESS:     Yes, I see it.

  25     BY MR. BURKS:

                                                                            000942
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   1     Q     Mr. Choudhri, obviously, you’re aware --

   2     A     (indiscernible).

   3     Q     -- of the proceedings going on in the bankruptcy case

   4     of Galleria 2425 Owner.        Is that correct?

   5     A     Huh?     Say that again.

   6     Q     Are you aware that there’s an auction taking place this

   7     Friday regarding the --

   8     A     Yeah.     (indiscernible).

   9     Q     -- building in this bankruptcy case?              And do you know

  10     who marketed the property for auction?

  11     A     Yes.

  12     Q     Who?

  13     A     Hilco.

  14     Q     Look at what has been put on the screen as Docket

  15     Number 499-34.      It purports to be the Hilco Real Estate

  16     sales document.

  17     A     Yes, I see this.

  18     Q     All right, do you know whether or not Hilco is

  19     marketing the building or the building with all the --

  20     A     Can you speak up?

  21     Q     Sure, can you hear me now?

  22     A     Just if you can speak up a little, please.

  23                   THE COURT:    I don’t think he can get any louder,

  24     Mr. Choudhri.      You need to get off your speaker phone.             Hold

  25     your phone up to your ear.         Go.

                                                                             000943
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   1                  THE WITNESS:     Hello?

   2                  MR. BURKS:     Can you hear me now?

   3                  THE WITNESS:     Better.    Yeah, much better.

   4                  MR. BURKS:     All right, thank you.       And the judge

   5     has let you put the phone up to your face, so you’re in good

   6     shape, sir.

   7                  THE WITNESS:     Thank you, Your Honor.        Thank you,

   8     Judge.

   9     BY MR. BURKS:

  10     Q     Looking at the exhibit up on the screen, have you seen

  11     that whole document before?

  12                  THE COURT:     Do you want me to scroll through it?

  13                  MR. BURKS:     Please, so we can see.

  14                  THE WITNESS:     Yep, please.     I have -- that’s the

  15     one with an extra zero.        I think it’s got an extra zero on

  16     the 18.6 million.     That’s the one.        I’ve seen it.      Yeah,

  17     I’ve seen this.

  18     BY MR. BURKS:

  19     Q     Do you know whether this brochure is auctioning or

  20     offering for auction the building or the building and the

  21     furniture?

  22                  MR. FITZMAURICE:     Your Honor, objection.         The

  23     Trustee can only sell the things the estate owns.               That’s

  24     what’s going to be sold pursuant to the auction and approved

  25     or not by Your Honor at the sale hearing.

                                                                            000944
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   1                  MR. BURKS:     That’s not what I asked.

   2                  THE COURT:     Well, I’ll let you respond to the

   3     objection.     The objection basically is the Trustee can only

   4     sell, and you and I know that he can only sell whatever

   5     ownership interest he has.

   6                  MR. BURKS:     Right.

   7                  THE COURT:     So what’s --

   8                  MR. BURKS:     Well, what I want to make sure is, I’m

   9     going to establish what he has an ownership interest in or

  10     not, through Mr. Choudhri.

  11                  THE COURT:     Well, I -- why is that important to

  12     plan confirmation?

  13                  MR. BURKS:     Because the plan is offering the --

  14     whatever Hilco is advertising, and Hilco is advertising the

  15     building and the furniture.          I want to put on testimony that

  16     the furniture is not the estate.           It’s just Mr. Choudhri’s

  17     or one of his enemy’s.

  18                  THE COURT:     I’ll sustain the objection.         Thank

  19     you.

  20                  THE WITNESS:     I (indiscernible) --

  21                  THE COURT:     Mr. Choudhri, there’s no question for

  22     you, so you don’t get to talk.          Thank you.

  23                  MR. BURKS:     There’s no question.        There’s no

  24     question.

  25                  Put on 499 as well.

                                                                            000945
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   1                 THE COURT:     Are you asking me?      Because he can’t

   2     do it.

   3                 MR. BURKS:     I am asking you.      I apologize.       And he

   4     just gave me that look like “Don’t ask me.             Ask him.”

   5                 THE COURT:     We’re going to do it a different way.

   6     It’ll make things a little quicker.

   7                 MR. BURKS:     I’m used to the tap screen, so I’m not

   8     going to embarrass myself like I did the other day.                Judge

   9     said “Mr. Burks, you just tap that screen and expect a

  10     result?”

  11                 THE WITNESS:     I see the thing about

  12     (indiscernible).

  13                 THE COURT:     Hold on, Mr. Choudhri.        We’ll be with

  14     you in just a second.

  15                 THE WITNESS:     Sorry.

  16                 MR. BAKER:     Back, 2425.    Yes, 2425.

  17                 MR. BURKS:     Is that what we want?

  18                 MR. BAKER:     Yeah.

  19                 THE COURT:     All right, this should be easier.

  20     What is it that you want to look up, pick up, Mr. Burks?

  21                 MR. BURKS:     I appreciate what you’re doing.           499 -

  22     - well, Your Honor...

  23                 MR. FITZMAURICE:       So Your Honor, it appears that

  24     the witness has materials in front of him that he’s flipping

  25     through or otherwise looking at, so we would object to that.

                                                                            000946
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   1                 THE COURT:     All right, Mr. Choudhri, you may not

   2     look at anything other than what’s presented on the screen.

   3     Let me ask you two questions.          Do you have any paperwork in

   4     front of you?

   5                 You’re muted, Mr. Choudhri.

   6                 THE WITNESS:     Your Honor, I have a 499 --

   7                 THE COURT:     I need you to set that all aside,

   8     please.

   9                 THE WITNESS:     Okay.

  10                 THE COURT:     Okay?     Is there anyone else in the

  11     room with you?

  12                 THE WITNESS:     No, Your Honor.

  13                 THE COURT:     Okay, so I don’t want to see any

  14     paperwork in front of you, besides you.           Move it all away

  15     from you. Thank you.

  16                 I apologize.     When all my bandwidth is taken with

  17     GoTo Meeting, everything else becomes super slow for me,

  18     which is a reason we don’t typically present exhibits for

  19     parties.

  20                 MR. BURKS:     Makes sense.

  21                 THE COURT:     All right, 499-12, is that correct?

  22                 MR. BURKS:     Yes, Your Honor.

  23                 THE COURT:     That’s 499-12.     I’m not sure that’s

  24     what you want.

  25                 MR. BURKS:     Let me see.

                                                                           000947
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   1                   THE COURT:     Is it two pages?

   2                   MR. BURKS:     I think it is.

   3                   THE COURT:     Okay.

   4                   MR. BURKS:     I can’t read it, though.

   5                   MR. FITZMAURICE:       No, second page.

   6                   MR. BURKS:     Second page?

   7                   MR. FITZMAURICE:       On the second page.

   8                   MR. BURKS:     Mr. Choudhri, move onto the second

   9     page, please, on Page 2.

  10                   THE COURT:     What number do you want to go to that

  11     I can make it bigger for him?

  12                   MR. BAKER:     Very top.

  13                   MR. BURKS:     It’s very top --

  14                   THE WITNESS:     Yeah, I don’t see this.

  15                   MR. BURKS:     Very top of the second page.

  16     (indiscernible).

  17                   THE WITNESS:     Is this document (indiscernible)?

  18     Yeah.

  19     BY MR. BURKS:

  20     Q       Does the Debtor own any office equipment or

  21     furnishings?

  22     A       No.

  23                   MR. BURKS:     All right, Your Honor, you can take

  24     all these ones off, please.

  25     BY MR. BURKS:

                                                                             000948
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   1     Q     Mr. Choudhri, did you make an offer to buy the claims

   2     of the Chapter 11 Trustee against NBK?

   3     A     No.     Yes, on behalf of 2425 WL, LLC.

   4     Q     And what was the last amount of the offer you made to

   5     the Trustee?

   6                   MR. FITZMAURICE:     Objection, Your Honor.

   7                   THE WITNESS:     $700,000.

   8                   THE COURT:     Hold on, one second.        What’s the

   9     objection?

  10                   MR. FITZMAURICE:     There’s lack of predicate, lack

  11     of foundation as to the response of the -- of who the offer

  12     was on behalf of.       We’ve seen an offer of fifty.          The first

  13     offer on behalf of some other entity, not on -- nothing

  14     related to any of the -- like Mr. Choudhri has testified to.

  15                   THE COURT:     I’ll overrule the objection.         Go

  16     ahead.      I mean, I’ve seen the check.        Everyone’s seen the

  17     check.      Go ahead.

  18                   THE WITNESS:     I’m (indiscernible) it was on behalf

  19     of -- I made it on behalf of 2425 WL, LLC, Barron

  20     Newburger’s the law firm that Steve Sather’s with.                And Mr.

  21     Sather (indiscernible) while Mr. Sather (indiscernible) made

  22     the last offer for $700,000.

  23                   MR. BURKS:     Thank you.

  24                   THE COURT:     Mr. Choudhri, I’m going to ask you to

  25     do a couple of things.         I need to see your face when you’re

                                                                             000949
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   1     testifying.      I don’t have a problem with you doing it

   2     remotely, but you need to be looking at the camera.                Get

   3     your hand off your face.         Thank you so much.       Go ahead.

   4     BY MR. BURKS:

   5     Q     Have you received -- and is the phone -- have you

   6     received a rejection or an acceptance in that offer?

   7     A     Yes.

   8     Q     And what was it?

   9     A     Rejection.

  10     Q     I have in my pocket a check.          It’s a cashier’s check, a

  11     bank check.      It’s called a bank check.         Those are good

  12     funds.      Do you want me to return those to you now that

  13     you’ve received the rejection?

  14                   MR. FITZMAURICE:     Objection, Your Honor.         Lacks

  15     foundation.      Mischaracterizes the nature of the document we

  16     looked at earlier.         There’s no evidence as to whether the

  17     purported check represents “good funds.”

  18                   THE COURT:     I’ll sustain the objection.

  19                   THE WITNESS:     So --

  20                   THE COURT:     You don’t get to answer the question.

  21     There’s no question before you, Mr. Choudhri.               Thank you.

  22                   THE WITNESS:     All right.

  23                   MR. BURKS:     Is there a way for him to see...

  24     BY MR. BURKS:

  25     Q     So I’m holding what purports to be an original,

                                                                             000950
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   1     official check, written on the bank of Metro City Bank.

   2     What can you tell me about that check?

   3                 MR. BURKS:     And is there a way that he can...

   4                 THE COURT:     No, unfortunately not.

   5                 THE WITNESS:     I’m familiar with this check.

   6     BY MR. BURKS:

   7     Q     Can you see it?

   8     A     Yes, I’m familiar with this check.

   9     Q     All right, what is it?

  10     A     It’s a cashier’s check payable to Christopher Murray, a

  11     trustee.    And in the memo, it’s “purchase of claims

  12     (indiscernible) against NBK,” which is the latest -- or

  13     offers made with proof of funds.         And then, Mr. Shannon

  14     asked for proof of funds and provided them earlier, and then

  15     he -- and then to eliminate any further issues to the bank

  16     statement as holder that he had, which had $7 million in it.

  17     And then he got a cashier’s check payable to the trustee for

  18     $700,000.    And Mr. Shannon said Mr. Murray rejects this

  19     offer and he’s going to (indiscernible) Chapter 7 trustee as

  20     the Chapter 7 Trustee.       And the same reason that Mr. Shannon

  21     said that Mr. Murray rejects this offer, we asked why.               He

  22     said it was attorney/client privilege.

  23                 MR. FITZMAURICE:     Objection, Your Honor.         He went

  24     very, very far beyond the question.          It also appears that

  25     Mr. Choudhri’s looking off camera and perhaps reading

                                                                           000951
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   1     something.     (indiscernible) --

   2                  THE COURT:     I don’t think so, but I’m going to --

   3     first of all, bear with me --

   4                  THE WITNESS:     I’m not reading anything, Your

   5     Honor.

   6                  THE COURT:     -- Mr. Choudhri, bear with me.

   7     There’s a -- well, there’s a question in front you.                You can

   8     answer it.

   9                  So Mr. Burks, I want to make sure that I recall

  10     that that check is dated June 14th, 2024.               Is that correct?

  11                  MR. BURKS:     June 14, 2024, written on Metro City

  12     Bank.

  13                  THE COURT:     Okay, that’s fine.      I’ll strike the

  14     part of his testimony that basically asked whatever you

  15     asked him, because he went on for quite a while.

  16                  MR. BURKS:     Yes, Your Honor.

  17                  THE COURT:     Mr. Choudhri, I’m going to ask you to

  18     listen to the question and answer it succinctly.               You don’t

  19     get to give narratives.        Thank you.

  20                  THE WITNESS:     Yes, Your Honor.

  21     BY MR. BURKS:

  22     Q       Mr. Choudhri, who is QB Loop?

  23     A       QB Loop Property, LLC is a limited liability company

  24     that a number of investors and its general partners

  25     (indiscernible).

                                                                             000952
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   1     Q     Do you have any interest, ownership interest, in that

   2     entity?

   3     A     No.

   4     Q     Do you have anything invested in the funds personally,

   5     in that entity?

   6     A     No, other than verify the (indiscernible) who used the

   7     funds when I made the offer on behalf of myself to purchase

   8     the note and lien, and they’re the financier to advance the

   9     funds to acquire the note and lien.           And (indiscernible) had

  10     made offers to buy 2425.        They made offers (indiscernible) -

  11     -

  12                 THE COURT:      Mr. Choudhri, let me cut you off.           I’m

  13     going to strike anything after “no.”           Okay?

  14                 Go ahead.      Ask the next question.

  15                 MR. BURKS:      Am I the only one who’s having trouble

  16     understanding enough?

  17                 THE COURT:      I don’t think so.      Do want earphones?

  18                 MR. BURKS:      Do you understand him?

  19                 WOMAN 1:     He’s muffled.

  20                 THE COURT:      He’s muffled, but that’s because he’s

  21     on a speaker phone.

  22                 MR. BURKS:      Mr. Choudhri, will you please get off

  23     the speaker phone and hold the phone up?

  24                 THE WITNESS:      I’m sorry, I’m having a problem with

  25     my phone.    I’m having a problem with my -- I’m having a

                                                                            000953
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   1     problem with my phone.        I could come back to court if that’s

   2     easier.

   3                  MR. BURKS:     No, sir.    Were you here on the phone -

   4     - no.

   5     BY MR. BURKS:

   6     Q       Do you have an opinion as to whether -- are you aware

   7     that the cash -- final cash collateral order entered by this

   8     court is up on appeal?        Are you aware of that?

   9                  MR. FITZMAURICE:     Objection, Your Honor.         Calls

  10     for speculation.

  11                  THE WITNESS:     Can you repeat your question?

  12                  MR. BURKS:     I’m sorry, Mr. Choudhri, why don’t --

  13                  THE COURT:     Foundation?

  14                  MR. BURKS:     Foundation?

  15                  THE COURT:     Yeah, is he aware --

  16                  MR. FITZMAURICE:     And also relevance to

  17     confirmation, Your Honor.

  18                  MR. BURKS:     Well, it’s been (indiscernible).

  19                  THE COURT:     Is the appeal part of the exhibits

  20     have been admitted?

  21                  MR. BURKS:     Right, 546-98 and 99.

  22                  THE COURT:     All right, so what’s the relevance?

  23                  MR. BURKS:     The relevance is, is that is he aware

  24     that the cash collateral order is not final with respect to

  25     anything that may have an impact on the plan?

                                                                            000954
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   1                  MR. FITZMAURICE:      So Your Honor --

   2                  THE COURT:    I’ll sustain the objection as to

   3     relevance.     There’s no said pending appeal, so at this point

   4     in time, I’m not bound by anything the appeals court does.

   5                  MR. BURKS:    Right, that’s not why it was being

   6     offered.     I’m going to move along.

   7                  THE COURT:    Okay.

   8     BY MR. BURKS:

   9     Q     Mr. Choudhri, you’ve been here on the phone most of the

  10     day today, correct?

  11     A     Yes, I’ve been listening in.

  12     Q     All right, are there any concerns that you have right

  13     now about the confirmation process?

  14                  MR. FITZMAURICE:      Objection, Your Honor.

  15     Relevance to any concerns that Mr. Choudhri has.             What

  16     relevance do they have to confirmation?

  17                  THE COURT:    I’m more than happy to hear from Mr.

  18     Choudhri about his concerns.         Okay?   But to allow him to

  19     give a narrative about what his concerns are, Mr. Burks,

  20     doesn’t work for me.

  21                  MR. BURKS:    All right.

  22                  THE COURT:    Okay.    If you want to address specific

  23     concerns, I told Mr. Choudhri that I would listen to

  24     whatever sort of complaints he might have about the plan,

  25     about the plan proponents, about fairness, and I’m more than

                                                                           000955
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   1     happy to hear that.        I don’t want to hear him give a

   2     narrative.     Okay?   And part of it is what happened on

   3     Monday.     Okay?

   4                  MR. BURKS:     That’s what I’m balancing.

   5                  THE COURT:     So ask your questions.       Be specific.

   6     Get an answer to the questions, and I’m happy to hear it,

   7     and I’m happy to give you as much time as that takes.

   8                  MR. BURKS:     Thank you.    Subject to Your Honor

   9     cutting off any non-responsive answers.

  10                  THE COURT:     Well, we’ll get to a point where I’ll

  11     ask you to sit down, so just be warned.

  12                  MR. BURKS:     All right.

  13                  THE COURT:     Okay?

  14     BY MR. BURKS:

  15     Q     Mr. Choudhri, do you believe that $3.7 million for the

  16     causes of action that you believe the Debtor or 2425 WL or

  17     you -- do you believe that that is a fair purchase price for

  18     those three causes of action?

  19                  MR. FITZMAURICE:       So Your Honor, I think that

  20     mischaracterizes -- objection, I think that mischaracterizes

  21     the plan of what it does in its provisions.             I also think

  22     that Mr. Choudhri’s view is that issue is not relevant to

  23     whether or not the plan is confirmed --

  24                  THE COURT:     I’m going to give, in fairness to Mr.

  25     Choudhri, because I know that he already believes it, I

                                                                            000956
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   1     don’t like him, and then I’m prejudiced against him.              I’m

   2     going to give him a little bit of leeway.

   3                 So go ahead, answer the question, Mr. Choudhri.

   4                 THE WITNESS:     I believe it’s absolutely unfair.

   5     There’s no -- it’s -- I’ll stop.         I’m going to keep going,

   6     Your Honor.    I don’t want to upset you any more than I have

   7     already.

   8                 THE COURT:     No, Mr. Choudhri.      I want to know why

   9     you think it’s unfair.

  10                 THE WITNESS:     I’m telling you, Your Honor.         It’s

  11     unfair, because everything has been (indiscernible) in the

  12     whole process.     There’s been no transparency.          Mr. Murray

  13     has ignored me, not responded.         I’ve made multiple offers to

  14     buy the claims.     I’ve even drawn the litigation finance

  15     funds for $2 million.       (indiscernible) or there’s more than

  16     the debt, and you take claims.

  17                 NBK wants desperately out of -- they want to buy a

  18     (indiscernible), but they don’t want to market test it.                 It

  19     should -- just like the property should be market tested,

  20     the claims should be market tested.          I know people that are

  21     willing to buy the claims.       I know -- I have investors.            The

  22     claims are very, very valuable.         There’s a lot the bank has

  23     done, and what the bank has done is they they’ve given the

  24     Trustee an unlimited admin amount, unlimited.

  25                 (indiscernible) admin claims, so I could take hold

                                                                           000957
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   1     of the offer then, but the response in writing from Mr.

   2     Murray -- Mr. RJ was, “It’s irrelevant.             We’re not going to

   3     tell you that it’s unlimited.”           The -- these plans are

   4     originally, defenseless, completely defenseless, and you’re

   5     trading the biggest asset of the estate for one creditor,

   6     which is not appropriate.         It's not fair.

   7                   The reason we’re in bankruptcy is because of NBK.

   8     NBK (indiscernible).         They didn’t approve offers.         They

   9     didn’t respond to it.         The loan agreement says you’re

  10     supposed to provide SNDA.         The settlement agreement says

  11     you’re supposed to provide SNDA.           I worked hard day and

  12     night.      It is completely unfair.

  13                   Mr. Murray got on the stand today and told Your

  14     Honor that he so considered the offer (indiscernible)

  15     rejected.      (indiscernible) rejected it.         I have emails of

  16     them responding.      I have emails from Kyung Lee, who is Mr.

  17     Murray’s lawyer, saying “I don’t care if Mr. Choudhri lives

  18     or dies.”      I had a stroke because of the stress because of

  19     the stress here, Your Honor.          And it’s so unreal that the

  20     Bank of Kuwait, that the Trustee --

  21                   THE COURT:     Okay, I’m going to -- Mr. Choudhri,

  22     I’m going to cut you off now and go back to Mr. Burks --

  23                   THE WITNESS:     I’m sorry, I’m sorry, I’m --

  24                   THE COURT:     No, that’s fine.      I’m going to go back

  25     to Mr. Burks.

                                                                             000958
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   1                 THE WITNESS:     -- really sorry, Your Honor.

   2                 THE COURT:     No, I need you to stop.         Okay?     Just

   3     listen and stop.

   4                 THE WITNESS:     I’m sorry.

   5                 THE COURT:     I’m going to go back to Mr. Burks and

   6     let Mr. Burks ask you a follow-up question or questions

   7     about what you just said.

   8                 Mr. Burks?

   9                 MR. BURKS:     Thank you, Your Honor, very much.             Mr.

  10     Choudhri, please take a deep breath, sir.              Please, just take

  11     a deep breath.     Sit up --

  12                 THE WITNESS:     I’m really sorry.         (indiscernible) -

  13     -

  14                 MR. BURKS:     -- straight so we can see your face.

  15     You don’t have anything to apologize for.              You don’t.     Now,

  16     I’m going to ask the next question, all right?              All right.

  17     BY MR. BURKS:

  18     Q     Why do you think the causes of action should be market

  19     tested instead of simply sold for the amount that the

  20     Trustee thinks is a good price, whatever that price is?

  21     A     Because --

  22     Q     And limit your answer to why.         Why do you think that?

  23     A     -- because it maximizes the value to everybody, not

  24     just one Creditor, to all the Creditors, everybody.                 Instead

  25     of discriminating and just not a lot of due process to me or

                                                                             000959
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   1     my claim, if people got (indiscernible) not giving them due

   2     process and discriminating against them in the plan,

   3     allowing -- if a recovery can be made, let’s say

   4     (indiscernible) --

   5     Q     Wait a minute, if a recovery can be made, if a recovery

   6     can be made?

   7     A     I’m sorry, my blood pressure is my low -- my systolic

   8     is over 110.    And I’m sorry I’m not 100-percent myself.              So

   9     please forgive me.     If a recovery can be made against the

  10     Bank of Kuwait, whether it’s a contingency (indiscernible)

  11     like wasn’t -- just like with Baker Botts and just like with

  12     Jerry Alexander, the contingency was not a million at first,

  13     and the cash could be used for the estate to stabilize or

  14     maximize it.    In essence, sell the assets (indiscernible)

  15     for more, but the biggest asset of the estate is the lawsuit

  16     against the Bank of Kuwait.        It is the biggest asset.

  17           I had many conversations with large law firms that had

  18     evaluated these claims, and I believe the claims are very,

  19     very valuable, not just for me, but they have -- they’re an

  20     asset of the estate, and they should be market tested and

  21     auctioned, just like anything else.          It should be fair and

  22     open, and people should be able to bid on those things and

  23     value them.

  24     Q     All right, I’m going to ask you the next question.

  25     Thank you, sir.     That’s very lucid.       I’m going to give you

                                                                           000960
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   1     about 30 seconds just to -- please, breathe.              I’ve seen what

   2     happens when you get this excited right now.              Please, one

   3     moment, 15 seconds.         All right?    Just relax, please.

   4     A     Okay.

   5     Q     All right.     Did you hear the testimony of Mr. Carter

   6     this morning?

   7     A     Yes.

   8     Q     All right, when you -- did you sit in a deposition with

   9     Mr. Carter?

  10     A     Yes.

  11                   MR. BURKS:     All right, Mr. Baker, what is the ECF

  12     of that deposition, please?           Do we have it?

  13                   THE WITNESS:     I believe it is on 499-22 if I’m --

  14     if memory serves me correctly.

  15                   MR. BURKS:     Maybe it’s 499-22.

  16                   THE WITNESS:     I think so.     (indiscernible) a lot

  17     of these memorized.         I know Mr. Fitzmaurice may think I’m

  18     looking at something, but I actually know it by heart.

  19                   MR. FITZMAURICE:       And we’re going to have this

  20     (indiscernible).

  21                   MR. BURKS:     I don’t know why (indiscernible) so

  22     Mr. (indiscernible) and Mr. Choudhri can --

  23                   THE COURT:     The only way is for me to try and pull

  24     it up for you.

  25                   MR. BURKS:     Okay.    One moment, Mr. Choudhri.

                                                                             000961
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   1                 THE WITNESS:     Yeah.

   2                 THE COURT:     Mr. Burks, it’s --

   3                 MR. BURKS:     Mr. Choudhri, you just stated a moment

   4     ago that you listened to the --

   5                 THE WITNESS:     (indiscernible).

   6                 MR. BURKS:     -- testimony of the gentleman this

   7     morning.    You’ve also sat through the deposition.            I think

   8     it was one document.

   9     BY MR. BURKS:

  10     Q     Did you ask a lot of questions at that deposition?

  11     A     I did.

  12     Q     All right.    Subject to, and let the other side object

  13     before you start talking, do you believe that the testimony

  14     today was inconsistent with what you heard?            And this is a

  15     yes or no answer, inconsistent with what you heard at the

  16     deposition about ten days ago?

  17     A     Absolutely.    Absolutely.

  18                 MR. FITZMAURICE:     Your Honor, objection.

  19                 MR. BURKS:     All right, (indiscernible) objection.

  20                 THE COURT:     I think that’s so general, I can’t let

  21     that in.

  22                 MR. BURKS:     Yes or no?

  23                 THE COURT:     He can’t testify to that, no.

  24                 MR. BURKS:     All right.

  25                 THE COURT:     I’m giving -- willing to give him some

                                                                           000962
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   1     leeway.     I’m not willing to give him that much leeway.

   2                  MR. BURKS:     Yes, Your Honor.

   3     BY MR. BURKS:

   4     Q     So in the deposition, did, in your opinion, did Mr.

   5     Carter seem to know anything about the Chapter 11 plan?

   6                  MR. FITZMAURICE:       Objection, Your Honor.

   7     Relevance?     Mr. Carter?

   8                  THE COURT:     I’ll sustain the objection as to

   9     relevance.     I don’t want to hear that.         I want to hear what

  10     Mr. Choudhri thinks about the plan.           And I’ll give you some

  11     leeway for that to happen.          He’s expressed that it’s unfair,

  12     that it doesn’t evaluate claims properly, that it hasn’t

  13     been fair and open.        That’s what I want to hear, Mr. Burks,

  14     over their objections.        Okay?

  15                  MR. BURKS:     Understood.

  16                  THE COURT:     All right, now, if you have other

  17     evidence that will survive their objections, I want to hear

  18     that, too.

  19                  MR. BURKS:     Yes, Your Honor.

  20                  THE COURT:     Okay.

  21     BY MR. BURKS:

  22     Q     Mr. Choudhri, I want to turn to Exhibit 499-98.

  23     A     Eight, it’s very small.

  24                  THE COURT:     We’re not there yet, Mr. Choudhry.

  25     Bear with me.

                                                                            000963
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                                                                          Page



   1                  THE WITNESS:     (indiscernible).      Okay.

   2                  THE COURT:     You said 499-88?

   3                  MR. BURKS:     No, I did, but I meant 546-98, one of

   4     the exhibits amended this morning, Judge, 546.

   5                  THE COURT:     It doesn’t go to 98.        It’s got 1

   6     through 6.

   7                  MR. BURKS:     One, two, three, four, five, six,

   8     okay.

   9                  MR. FITZMAURICE:     Is that an order?

  10                  THE COURT:     That is the order granted, Trustee’s

  11     motions for an order.

  12                  MR. BURKS:     Okay, just so -- all right, Mr.

  13     Choudhri, when you have a -- when you can view that, if you

  14     wouldn’t tell me what it is, please.

  15                  THE WITNESS:     Right, this is the (indiscernible)’s

  16     order.

  17     BY MR. BURKS:

  18     Q       And is that the order we’re authorizing you to buy the

  19     claims against Sonder?

  20     A       Yeah, an entity, yes.     Not me personally.

  21     Q       All right.

  22     A       I know there’s confusion about it, so I just want to be

  23     clear when we say that.        That’s correct.      I think this is --

  24     yes, short answer, yes.        All right.

  25     Q       All right, and is it your understanding that the plan

                                                                            000964
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                                                                           Page



   1     was proposed and filed before you bought those claims or

   2     your entity bought those claims?

   3     A       Correct.

   4     Q       And is it your understanding that the plan currently

   5     provides that only the Trustee can pursue that claim, and

   6     that no other creditor or party in interest can pursue that

   7     claim?      Is that your understanding?

   8                   MR. FITZMAURICE:     Objection, Your Honor.         Mr.

   9     Choudhri’s understanding is not relevant to what --

  10                   THE WITNESS:     (indiscernible).

  11                   MR. FITZMAURICE:     -- the order actually provides.

  12     We dealt with this on Monday.

  13                   THE COURT:     I’ll sustain the objection.         What he

  14     believes really doesn’t make any difference to me as it

  15     relates to this order and the plan, Mr. Burks.

  16                   MR. BURKS:     All right, I have to find it in the

  17     plan.     One moment.      I think we’ve -- we all know about it.

  18     Counsel and I discussed it.          We need to exclude the Sonder

  19     claim from the plan, but one moment, and I’ll find it,

  20     Judge.

  21     BY MR. BURKS:

  22     Q       What is the entity that purchased the --

  23                   MR. TROOP:     Yeah, Your Honor, we’ll stipulate that

  24     the Sonder claim has been sold pursuant to a court order at

  25     this point.        It is not property of the estate that’s going

                                                                             000965
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   1     to be purchased by the APA or administered under the plan.

   2                 THE COURT:     I’ll take that stipulation, Mr. Burks.

   3     It’s not really an issue for me, based on what I’ve read.

   4                 MR. BURKS:     As long as we -- it’s in the plan

   5     paragraph, on Page 16, Paragraph J, causes of action and

   6     avoidance actions.       As long as any confirmation order, if

   7     you decide to confirm the plan, if the stipulation is that

   8     the confirmation will specifically exclude or reserve that

   9     Sonder claim pursuant to your order, then I can move on,

  10     Judge.

  11                 MR. FITZMAURICE:     Okay, Your Honor, we understand

  12     that the draft confirmation order we’ve submitted transfers

  13     claims that are owned by the estate into the liquidation

  14     trust by definition.

  15                 THE COURT:     It’s not a state claim anymore.

  16                 MR. BURKS:     Okay, I sure would like that to be as

  17     clear as possible, Judge.

  18                 THE COURT:     All right, go ahead.

  19                 MR. TROOP:     Okay, Your Honor.      We’ll stipulate to

  20     it for (indiscernible).

  21                 THE COURT:     That’s fine.

  22                 Go ahead.

  23     BY MR. BURKS:

  24     Q     Mr. Choudhri, do you understand what the plan would do

  25     -- first of all, did 2425 WL file a proof of claim?              Let’s

                                                                           000966
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   1     focus in.       This may be one of my last areas, sir.            Let’s

   2     focus in on the 2425 WL claim, okay?

   3     A       Yes.

   4                    MR. BURKS:     All right, Mr. Baker, will you put the

   5     proof of claim up?

   6                    (indiscernible).

   7                    MR. BAKER:     Claim 14.     I actually think 13 and 14

   8     -- 13 is tax claims, 14 is the big claim.

   9                    MR. BURKS:     499-4, Your Honor, please.        That’s 3,

  10     499-3.      Wait, these claims were not --

  11                    MR. BAKER:     That’s the amended objection.         Is that

  12     what you want?

  13                    MR. BURKS:     Yes, 3, Proof of Claim 14.

  14                    MR. BAKER:     You want the proof of claim?

  15                    MR. BURKS:     Yeah.

  16                    THE COURT:     What do you want to see, Mr. Burks?

  17                    MR. BAKER:     The tax claim or the big claim?         Okay,

  18     13 --

  19                    MR. FITZMAURICE:       You’re looking for the 2425

  20     proof of claim?        Proof of claim --

  21                    MR. BAKER:     Thirteen --

  22                    MR. BURKS:     The one with the lien on it.

  23                    MR. FITZMAURICE:       Proof of Claim Number 7 by your

  24     client?

  25                    THE COURT:     Either your claim’s registered or both

                                                                              000967
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   1     claim’s registered.        I can get that with you.        Is that

   2     easier?

   3                  MR. BAKER:     Here, look.

   4                  MR. BURKS:     The WL claim with the lien attached to

   5     it, the one (indiscernible).

   6                  MR. SATHER:     Seven.

   7                  MR. BURKS:     Seven, so Proof of Claim Number 7.              Do

   8     you have it?

   9                  (indiscernible).

  10                  MR. BURKS:     I feel so compromised.

  11                  THE COURT:     Well, this is just a horrible way to

  12     try a case.       Okay, and that’s the reason I enter the orders

  13     that I enter and say that technological problems are your

  14     problems.     They’re not my problems.        And I’m trying to be

  15     really, really nice, but my patience is about to wear real

  16     thin.     Okay?    So what do you want to do --

  17                  MR. BURKS:     Understood.

  18                  THE COURT:     You would pull up what?

  19                  MR. BURKS:     Proof of Claim Number 7.

  20                  THE COURT:     Do you want me to pull up the claims

  21     register and then look at the claim?

  22                  MR. BURKS:     Yes, please.

  23                  THE COURT:     Claim 7?

  24                  MR. BURKS:     Yes, please.     And thank you for

  25     (indiscernible).

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   1                  MR. FITZMAURICE:     What page do you want to go to?

   2                  MR. BURKS:     Mr. Choudhri, we’re here, and then

   3     we’ll just go to the deed of trust.

   4     BY MR. BURKS:

   5     Q     Mr. Choudhri, do you see this claim, proof of claim?

   6     Can you enlarge the screen so you can see it?

   7     A     Yes.

   8     Q     All right, the judge is scrolling down to the attached

   9     deed of trust.

  10     A     Yes.

  11     Q     It has been posited by one witness or more that that is

  12     a fictitious lien that has no underlying basis.              How do you

  13     respond to that?

  14     A     Mona Dajani with Pillsbury approved this transaction

  15     and the closing statement.        This transaction was initially

  16     supposed to be a refi, and then the Bank of Kuwait wanted it

  17     to be a sale because of the lis pendens sales by Osama

  18     Abdullatif during litigation.         And this is reflected on the

  19     closing statement from May 2020 -- May 2018.

  20     (indiscernible) --

  21     Q     How much money --

  22                  MR. FITZMAURICE:     Your Honor, Your Honor,

  23     objection.     The witness is testifying, first of all, far

  24     beyond the scope of the question, but also, the contents of

  25     documents that we haven’t seen and testifying -- I don’t

                                                                            000969
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   1     want to represent -- testifying to the contents of documents

   2     that are not in evidence and that need to be, if that’s what

   3     he’s -- that’s -- if he wants to testify about.

   4                 THE COURT:     I’m not going to let him testify about

   5     dockets that are not before the Court that I haven’t seen.

   6                 MR. BURKS:     Mr. Choudhri --

   7                 THE COURT:     He can answer your basic question as

   8     to why he disagrees with Mr. Murray’s claims.

   9                 MR. BURKS:     -- Mr. Choudhri, this is the last

  10     area, I believe, I’m going to ask you questions on, so I

  11     want -- the judge is going to scroll to show you what is

  12     attached to the proof of claim.

  13                 THE COURT:     I’m there, but do you want to go

  14     further down?     That’s the deed of trust.

  15                 MR. BURKS:     Right.

  16                 THE COURT:     You want me to go further?

  17                 MR. BURKS:     Yes, please.     I want to see what’s on

  18     this thing.     All right, what’s that?

  19                 THE COURT:     Property description.       Your list that

  20     they sent -- he’s -- because he can’t see it, but I can show

  21     it to you in a better way that you can tell me what you --

  22                 MR. BURKS:     There, thank you.

  23                 THE COURT:     He’s not seeing this, though --

  24                 MR. BURKS:     That’s okay, that’s okay.

  25                 THE COURT:     So that’s the end.

                                                                           000970
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   1                 MR. BURKS:     That’s the property description I’m

   2     saying, so we have a proof of claim and note and a deed of

   3     trust, right?

   4                 THE COURT:     Yes, proof of claim and the deed of

   5     trust is basically it.       It’s all that’s attached to it.            You

   6     tell me where you want me to go.         I’ll move it back over.

   7     Then he can see it.

   8                 MR. BURKS:     And is there anything above that?

   9                 THE COURT:     Just the proof of claim.

  10                 MR. BURKS:     Okay, that.

  11     BY MR. BURKS:

  12     Q     Mr. Choudhri, the judge is about to show you, and this

  13     is our last area, Mr. Choudhri, what happened in the

  14     transaction that’s reflected in the document directly in

  15     front of you with the numbers on it?          Was that real money?

  16     What happened?

  17     A     2425 WL was the seller, the grantor of this property

  18     that went to Gallery 2425 Owner, LLC in May 2018.              The --

  19     there was zero cash that came from the (indiscernible)

  20     Galleria 2425.     The funds went towards a seller carry of

  21     $14,780,000.     That’s reflected on the settlement statement

  22     in the closing of the underlying transaction, on the close.

  23     Q     So are you saying that before this transaction, the

  24     Debtor did not own 100 percent of the building?             Is that

  25     what you’re saying?

                                                                           000971
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   1     A     No, 2425 WL did.      2425 WL is the seller in -- as of May

   2     2018, and then the buyer is Galleria 2425 Owner

   3     (indiscernible).

   4     Q     Understood, and this is the claim, this is the note and

   5     deed of trust --

   6                 MR. FITZMAURICE:        Objection, Your Honor.      Lack of

   7     foundation.     There is no note.

   8                 THE COURT:     There is no note, yeah.        And he can’t

   9     talk about the settlement statement, either.

  10                 MR. BURKS:     Okay.     Now I’m in the deed of trust,

  11     please.

  12     BY MR. BURKS:

  13     Q     So don’t refer -- the judge doesn’t want you talking

  14     about documents that aren’t in evidence.           He’s heard, the

  15     judge has heard you, as to what the basis for that deed of

  16     trust is.     Is there anything else you want to say about that

  17     deed of trust, Mr. Choudhri?

  18                 MR. FITZMAURICE:        Yeah, objection, Your Honor.

  19     Witness can’t testify generically in the narrative just

  20     about whatever it is he wants to talk about a given topic.

  21                 MR. BURKS:     On the deed of trust?

  22                 THE COURT:     Again, I’m going to give him a little

  23     bit of leeway.     Go ahead.       Tell me, Mr. Choudhri.

  24                 THE WITNESS:     Yes, Your Honor.      It’s what

  25     (indiscernible) -- its own (indiscernible) file, and they’re

                                                                           000972
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   1     underlining, and there’s a one memo that they did

   2     (indiscernible), and I believe it’s one of the ECF numbers -

   3     -

   4                 THE COURT:     And again, you can’t testify as to

   5     stuff that’s not in front of me.

   6                 THE WITNESS:     (indiscernible).

   7                 THE COURT:     He asked a generic question, so ask --

   8     answer it if you can, and if you can’t, that’s fine, too.

   9                 MR. BURKS:     And speak as distinctly as you can,

  10     please, sir.

  11                 THE WITNESS:     I’m sorry, I apologize, Mr. Burks.

  12     Can you repeat the question so I can get it right?

  13                 MR. BURKS:     Right, so there’s a deed of trust.

  14     I’ve heard what you said so far.         I’m satisfied, but I don’t

  15     count.

  16     BY MR. BURKS:

  17     Q     Is there anybody -- is there anything else you want to

  18     say regarding a transaction, without referring to the

  19     documents, that underlies the granting of this deed of trust

  20     2425 WL?    I understand what you’ve already said.           Is there

  21     anything else?

  22     A     If I recall, it’s like something like -- it’s in one of

  23     the ECF numbers that are filed like 4 or 2 or something.

  24     (indiscernible) the objection.         It’s a settlement statement

  25     that the consideration (indiscernible) --

                                                                           000973
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   1                  MR. FITZMAURICE:      Objection, Your Honor.        He’s

   2     doing exactly --

   3                  THE COURT:     You’re doing exactly what I asked you

   4     not to do.

   5                  MR. BURKS:     I know, I know.

   6                  THE COURT:     So I’m going to cut you off.         Ask the

   7     next question.     I gave you leeway.

   8                  He blew it.

   9                  MR. BURKS:     No further questions, Judge.

  10                  THE COURT:     Thank you.

  11                  Mr. Fitzmaurice.      Okay, and I’ll offer you the

  12     same thing I offered Mr. Burks.          If you need me to put

  13     something on the screen for you, I’m happy to do that.

  14                  MR. FITZMAURICE:      Thank you, Your Honor.        Well,

  15     I’ve been challenged all day, so I was going to give it a

  16     shot.     If I lock into GoTo Meeting --

  17                  THE COURT:     You should be able to share your

  18     screen.

  19                  MR. FITZMAURICE:      And I can -- Mr. Choudhri will

  20     be able to hear me through this microphone or do I need to

  21     be on a phone?

  22                  THE COURT:     No.   No, no.    That’s everything.         So

  23     if you look -- just follow me on the screen --

  24                  THE WITNESS:     I can hear you very well.

  25                  THE COURT:     All right, there -- here it says

                                                                            000974
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   1     “share.”       You’ll click on “share.”        It’ll show “share

   2     screen,” and then you’ll just hit that button, and you’ll be

   3     able to share.

   4                    There you go.

   5                    MR. FITZMAURICE:     All right.

   6                    THE COURT:     You’re the wizard today of technology.

   7                    MR. FITZMAURICE:     Well, all evidence to the

   8     contrary this morning, Your Honor.

   9                    CROSS-EXAMINATION OF ALI CHOUDHRRI

  10     BY MR. FITZMAURICE:

  11     Q       Mr. Choudhri, I’m showing you a copy of the proof of

  12     claim for Claim 7-1.          Do you see that on the screen?

  13     A       Yes.

  14     Q       And this is a proof of claim that was filed by 2425 WL.

  15     Is that right?

  16     A       Yes.

  17     Q       So I’m going to scroll through the -- it looks like 18

  18     pages of this PDF.          And my question at the end is, I’m going

  19     to ask you if you’ve seen, in any of the documents that are

  20     here attached to the proof of claim, a promissory note.

  21     Okay?

  22     A       No.

  23     Q       I’ll keep going.       We’ll go all the way to the end.           And

  24     I’ll pause here for a second.           Is that your signature?

  25     A       Yes.

                                                                              000975
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   1     Q     At the time that -- at the time this proof of claim was

   2     signed by you, were you the manager of 2425 WL?

   3     A     Yes.

   4     Q     I’ll keep scrolling.        We’ll look for the note.

   5     A     I don’t believe the note is there.

   6     Q     So you think there’s no note attached to the deed of

   7     trust.      Is that right?

   8     A     There’s no note here on this proof of claim.

   9     Q     Okay.     So let me ask you another question about the

  10     deed of trust that’s attached to the proof of claim.                And I

  11     apologize.      I’m just going to scroll to the point that I’m

  12     allowed to show you.         Okay, is that your signature here, Mr.

  13     Choudhri, under grant -- ultimately under “grantor?”

  14     A     Yes.

  15     Q     Do you see here it says, the text on the document says

  16     “this instrument was acknowledged before me this,” blank,

  17     “day of,” blank, “2021?”         Do you see that?

  18     A     Yes.

  19     Q     And then it’s signed?

  20     A     Yes.

  21     Q     Is that because this group -- this deed of trust was

  22     executed in 2021?

  23     A     Yes, that’s why.

  24                   MR. FITZMAURICE:     Thank you, sir.       No further

  25     questions.

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   1                  THE COURT:     All right, thank you.

   2                  Mr. Burks?

   3                  RE-DIRECT EXAMINATION OF ALI CHOUDHRI

   4     BY MR. BURKS:

   5     Q     Mr. Choudhri, on that proof of claim, does the note

   6     exist?

   7     A     Yes.

   8     Q     Did you give a copy of it to Mr. Sather?

   9     A     Yes.

  10     Q     Did you give a copy of it to Mr. Sather in time to file

  11     the amended proof of claim?

  12                  MR. FITZMAURICE:     Objection, Your Honor.         Lack of

  13     foundation.     There is no amended proof of claim on file.

  14                  THE COURT:     I’ll sustain the objection.

  15                  THE WITNESS:     (indiscernible) --

  16     BY MR. BURKS:

  17     Q     Have you provided Mr. Sather a copy of the note to put

  18     forth as an exhibit in the proof of claim objection

  19     proceeding?

  20                  MR. FITZMAURICE:     Objection, Your Honor.         Lack of

  21     foundation.

  22                  THE COURT:     I’ll overrule the objection.

  23     BY MR. BURKS:

  24     Q     Have you provided a copy of the note to Mr. Sather for

  25     use in the objection of claim proceeding?

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   1     A     Yes.    Yes.

   2                  MR. BURKS:      Nothing further, Judge.

   3                  THE COURT:      All right, Mr. Fitzmaurice?

   4                  MR. FITZMAURICE:      Nothing, Your Honor.

   5                  THE COURT:      All right, thank you.

   6                  Mr. Burks, you have a witness.

   7                  MR. BURKS:      Who’s on the screen other than Mr. --

   8                  THE COURT:      Mr. Choudhri.

   9                  MR. BURKS:      And that’s it?

  10                  THE COURT:      That’s it.

  11                  MR. BURKS:      May I look in the hallway, please?

  12                  THE COURT:      No, I mean, I’ve been really, really

  13     patient.     Do you rest?

  14                  MR. BURKS:      I rest --

  15                  THE COURT:      Mr. Baker, do you rest?

  16                  MR. BURKS:      -- Your Honor.

  17                  MR. BAKER:      Nothing further, Your Honor.

  18                  THE COURT:      Thank you.    All right, I think that

  19     concludes at least the evidence, which allows me to give you

  20     some time to argue.         Mr. Troop and Mr. Fitzmaurice, he’s

  21     going to argue for --

  22                  MR. FITZMAURICE:      Your Honor, Mr. Troop will, I

  23     think, begin and Mr. Akuffo as well will present with

  24     respect to the confirmation standards.

  25                  THE COURT:      Okay, that’s fine.      I’d like to limit

                                                                             000978
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   1     argument.     I think I’ve heard what I need to hear, but I

   2     want to give you time.        I’m going to limit each side to 15

   3     minutes.     All right?

   4                  MR. BURKS:     Thank you.

   5                  THE COURT:     I’ll give you five minutes to close.

   6     All right?     Thank you.     So if you want to start now, you

   7     may, or do you want a few minutes?

   8                  MR. BURKS:     Wait, did you say 15 or five?

   9                  THE COURT:     Fifteen.

  10                  MR. BURKS:     Is there any way that we can take a

  11     very quick break that I need?          I --

  12                  THE COURT:     I’m fine breaking if you guys want to

  13     break.

  14                  MR. BURKS:     I just have to run to the restroom,

  15     frankly.

  16                  MR. TROOP:     I don’t mind, Your Honor, but I

  17     thought when we spoke this morning we decided that as the

  18     moving party I would go last.

  19                  THE COURT:     Mm hm, well, you can do that, or you

  20     can open and close if you want.          It’s your choice.

  21                  MR. TROOP:     Oh, that’s what you meant by open and

  22     close, by 15 and five?

  23                  THE COURT:     Yeah.

  24                  MR. TROOP:     And it won’t further (indiscernible).

  25                  THE COURT:     Okay, that’s fine.      And let’s do this,

                                                                            000979
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   1     it’s 3:53.     I’ll come back and four o’clock.           I’ll let Mr.

   2     Troop start, and then we’ll go from there.              Thank you.

   3                  CLERK:     All rise.

   4                  (Recess)

   5                  CLERK:     All rise.

   6                  THE COURT:     All right.     We're back on the record

   7     in 23-34815.     Mr. Troop, you may proceed.

   8                  MR. TROOP:     Thank you, Your Honor.        Again, Andrew

   9     Troop from Pillsbury on behalf of National Bank of Kuwait.

  10                  Your Honor, we're going to try to stick to three

  11     minutes and get Mr. Akuffo the first opportunity he's ever

  12     had to present a confirmation order.

  13                  THE COURT:     That's fine.     I'd be happy to have him

  14     present.

  15                  MR. TROOP:     Thank you.

  16                  THE COURT:     That said, it's always an exciting

  17     time when you do it for the first time.            Go ahead.

  18                  MR. TROOP:     He's getting an interesting case as

  19     well.

  20                  Your Honor, when we started this morning, I talked

  21     to you primarily about two things, the two things of focus.

  22     The first thing that I talked about is that I thought that

  23     there was an objection that was going -- that was being

  24     raised with regard to good faith.           And I don't think there's

  25     been any evidence presented with respect to a lack of good

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   1     faith, and -- to the contrary -- only evidence that supports

   2     a finding of good faith.

   3                   A plan was proposed in good faith.           It was not

   4     proposed in any means prohibited by law.            It was

   5     transparent.      It was negotiated with the Chapter 11 trustee.

   6     It was sent out to both -- it was sent out to both properly.

   7     The only witness with regard to notice, I believe it was

   8     clearly shown that he actually received our plan, not

   9     theirs.      Your Honor, nothing against him.           It's just -- Your

  10     Honor, it's a matter of circumstance.

  11                   Your Honor, the plan is in good faith because it

  12     seeks to maximize what would otherwise be a truly insolvent

  13     state.      And yes, are there things that NBK gets in exchange

  14     for that?      It's a release of estate claims.           It gets

  15     protection against anyone breaking estate claims.                The

  16     argument that their releases are broader than that, I

  17     disagree with, but if there's concern about that, Your

  18     Honor, we'll make it as crystal clear as you want it in the

  19     confirmation order.

  20                   Your Honor, there are also other objections

  21     raised, and I talked this morning about three that were made

  22     untimely.      One of the ones that was made untimely had to do

  23     with, indirectly, 1129(a)(10) and whether there is

  24     (indiscernible) impaired class.

  25                   Mr. Burks, I think, tried to make two points

                                                                             000981
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   1     today.      He tried to say that NBK's claim was not impaired

   2     because it accepts its treatment under the plan, but he'd be

   3     -- that's just nonsensical Your Honor.            You'd remember

   4     having an impaired accepting class.           You would never have an

   5     impaired accepting class.        And the fact that (indiscernible)

   6     doesn't change the fact that our legal rights are being

   7     altered under the plan.        Our payment rights are being

   8     altered under the plan.        (indiscernible) not we're impaired.

   9                   The second thing is there's no doubt that the

  10     votes were cast, and cast affirmatively and cast timely.                    So

  11     the argument is that there was an objection pending, which

  12     shouldn’t involve the case here, I if can call it that, is

  13     that there is a valid claim held by National Bank of Kuwait

  14     or you would not have allowed it to credit it on Monday.

  15                   To move forward, Your Honor, a proof of claim is

  16     prima facie evidence of the validity of the claim.               And yes,

  17     an objection raises that question, but it has to raise

  18     sufficient issues to rebut the prima facie validity of the

  19     claim.      And again on Monday, you effectively found it does

  20     not.     It does not.

  21                   A technical issue -- which it may be a technical

  22     issue at best -- to not stand in the way of confirmation of

  23     this plan.      But if you have any concern at the end, Your

  24     Honor, Bankruptcy Rule 3018 allows you to estimate for

  25     voting purposes the claims.         It is on notice in hearing, but

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   1     we all know the code says that notice in hearing -- it's

   2     notice in hearing justified by the circumstances.               Here

   3     there's no question that these parties, who are now more

   4     than two full days of trial, that tried to raise disputes

   5     about those claims.        And Your Honor, I think they did so

   6     unsuccessfully.

   7                  So if there's any concern, I believe you can just

   8     allow the claims for voting purposes in the form in which

   9     they were presented for the votes.           And then if you confirm

  10     the plan, the impact of the plan will be what it is with

  11     respect to those claims.

  12                  I went way over my three minutes, Your Honor.               I

  13     apologize.

  14                  THE COURT:     That's fine.

  15                  MR. TROOP:     Mr. Akuffo.

  16                  MR. AKUFFO:     Good afternoon, Your Honor.         Kwame

  17     Akuffo from Pillsbury on behalf of the National Bank of

  18     Kuwait.     (indiscernible) and secured lender to the debtor.

  19                  Mr. Troop already, you know, went through a couple

  20     of plan confirmation requirements, and so I'm going to be

  21     brief with my presentation and just focus on a couple of

  22     issues that were discussed today, one being clarification,

  23     the other being cram down with respect to whether or not

  24     there's unfair discrimination against the rejected classes,

  25     which include Class 6 and 8; and lastly the permissive

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   1     provisions that -- excuse me -- the permissive provisions

   2     related to Section 1123(b).

   3                 So first with respect to classification, our

   4     requirements, Your Honor, we believe that Section 1122's

   5     classification requirements are met because our Goal 3 of

   6     the plan designates a class of claims and interest under the

   7     plan.

   8                 Briefly, I'm just going to take us through these

   9     classes.    Again, Class 1 is other secured claims.            Class 2

  10     is other priority claims.       Class 3 is the NBK tax claim.

  11     Class 4 is NBK secure claim.        Class 5(a) and 5 -- Class 5(a)

  12     is general -- trade general unsecured claims.             Class 5(b) is

  13     other general unsecured claims.         Class 6 is insider claims.

  14     Class 7 is subordinated claims, and Class 8 is interest of

  15     the debtor.

  16                 We believe that the classifications in the plan is

  17     rational, and they're valid, legal, and factual reasons that

  18     justify classification.

  19                 With respect to Class 1, again, these classes hold

  20     secured claims against the estate, and particularly they

  21     cover secured real estate tax claims held by certain taxing

  22     authorities and (indiscernible).

  23                 Class 2 claims consist of non-administrative

  24     expense claims that I'll classify separately because they

  25     are priority claims under Section 507 of the bankruptcy

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   1     code.

   2                 And Class 3 advocates the sole holder of that

   3     claim and onto the plan.       NBK will receive -- will receive

   4     value for its claim under Class 3 if it's not the winning

   5     bidder of the property.       But to the extent that it is the

   6     winning bidder of the property at the auction on Friday,

   7     then it has agreed to waive its claim.

   8                 NBK is also the sole holder of our claim in Class

   9     4, which is based on unsecured claim under the loan

  10     documents that were -- under the loan documents between NBK

  11     and the debtor.

  12                 Class 5, as you've heard throughout today,

  13     consists of trade, unsecured claims arising from maintenance

  14     and related work.     We particularly classed 5 as claims

  15     separately because the trustee recommended that we do so,

  16     and these claims are, again, based on secure claims that

  17     were payable to trade to allow them to continue to provide

  18     services to the estate's main assets, which are other

  19     property.

  20                 With respect to Class 5(b), these are non-trade

  21     unsecured claims, and they consist of the debtor's former

  22     attorneys as well as NBK's deficiency claim based on its

  23     loan to the debtor.

  24                 With respect to Class 6, which has been a hot-

  25     button issue, they were separately classified because they

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   1     applied to the debtor's affiliates who are insiders,

   2     particularly 2425WL and general.

   3                 Your Honor, it makes no sense to place these

   4     entities into classes under the subclasses -- under the

   5     subclasses, meaning Classes 5(a) and 5(b), because these

   6     classes -- again, meaning 5(a) and 5(b) -- are going -- part

   7     of their recovery are pro rata share interests and

   8     litigation trust assets, and to the extent -- and they're

   9     litigation targets.        And to the extent that recovery -- to

  10     the extent that there are recoveries against these potential

  11     litigation targets -- again, meaning Jetall and 2425WL -- it

  12     makes no sense to recover money against them and then, you

  13     know, have them actually receive recovery from -- under

  14     those classes.

  15                 And so that's the basis because we separately

  16     classified them.     And as you've heard all throughout today,

  17     Your Honor, there are pending objections to these claims,

  18     which are highly suspect.        And those objections are found at

  19     ECF Number 402 and 404.

  20                 Moving on to Section 1129(d)'s cram down

  21     requirements, we believe that there's no inferred

  22     discrimination here against the rejecting classes,

  23     particularly Classes 6 and 8, again for the same reasons

  24     that we separately classified Class 6, there's no inferred

  25     discrimination against them.

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   1                  Again, these are -- this class covers -- this

   2     class includes Jetall and 2425WL's claims.             And again,

   3     placing these insiders in classes 5(b), for example, does

   4     not make sense because to the extent that there are

   5     recoveries against them through a litigation, they shouldn't

   6     be able to share those recoveries for that reason.

   7                  And in terms of distribution to creditors in Class

   8     5(a), it's not unfair to do so because, again, these Class

   9     5(a) trade creditors are receiving value because they

  10     provided critical services to the estate by helping maintain

  11     its -- by helping to maintain the value of the property.

  12                  And the bottom line here is that NBK can decide

  13     who gets to get paid under its plan, especially after the

  14     debtor failed to pay the loan back to NBK a couple of years

  15     ago.     That was the issue out of the loan documents, Your

  16     Honor.

  17                  I'm sorry if I'm moving too fast.

  18                  THE COURT:    That's fine.     You still have four

  19     minutes.     You're good to go.

  20                  MR. AKUFFO:    Okay.   With respect to fair and

  21     equitable, again, simply the plan is not for -- the plan is

  22     fair and equitable to holders of claims in Classes 6 and 8

  23     because there's no value available to make distributions to

  24     these creditors, and the plan does not provide for

  25     recoveries for claims or interests junior to Classes 6.

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   1                  Lastly, the permissive requirements of Section

   2     1123(b) are met, particularly with respect to Section

   3     1123(b)(3)(a), it requires that a plan may settle an action

   4     that belongs to the estate.

   5                  For the estate release, as you've heard today, the

   6     debtor commenced a loss against NBK in state court based on

   7     breach of a settlement agreement and has alleged tortious

   8     interference and lender liability claims agent NBK.              That

   9     state court lawsuit was removed -- excuse me.             That lawsuit

  10     was removed from state court to this court, and after the

  11     trustee was appointed in February, he was substituted as

  12     Plaintiff in this lawsuit.

  13                  Today, Your Honor, you heard testimony from the

  14     trustee that after you entered the cash collateral order

  15     that allowed him to investigate claims and challenge the

  16     amount in allowance of NBK's claims against the debtor under

  17     their own documents, he conducted an exhaustive

  18     investigation and assessment of claims against NBK.

  19                  For example, he spoke to Debtor's current and

  20     former counsel.     He spoke to other parties, including Mr.

  21     Caldwell, Ms. Azeemeh; and he requested documents from the

  22     debtor.     And I believe he mentioned that they did not

  23     produce certain documents.       And to the extent that they did

  24     produce certain documents, they did not provide any factual

  25     support to -- any factual support to support the lawsuit

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   1     that is pending against NBK.

   2                 And so after his exhaustive investigation of NBK

   3     into its -- into the debtor's claims against the bank as

   4     well as to determine whether or not NBK has a valid claim

   5     under the loan documents, he determined that there was no

   6     basis -- there was no -- excuse me -- he determined that

   7     there was -- the claims asserted by the debtor lacked any

   8     sufficient merit and that it was the best interest -- it was

   9     not in the best interest of the estate to pursue claims

  10     against the estate.

  11                 Now, even if the trustee had pursued litigation

  12     against NBK, he would've had to rely on testimony from Mr.

  13     Choudhri, and you've heard today that the trustee determined

  14     that any testimony by Mr. Choudhri is not truthful.

  15                 And so in return for the estate release, NBK has

  16     agreed to reduce its deficiency claim to 90 percent of -- 90

  17     percent of that amount in Class 5(b).           It has also agreed to

  18     pay administrative expenses -- expense claims in full, and

  19     has also agreed to fund the liquidation trust for, I

  20     believe, $150,000.

  21                 And lastly, based on the trustee's testimony

  22     today, he determined it's reasonable business judgment that

  23     the estate release is fair and equitable to the estate.                And

  24     again, it's in the best interest of the estate.             And for

  25     those reasons, Your Honor, we believe that the estate

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   1     release should be approved.

   2                  With respect to exculpation, we -- exculpation in

   3     our goal 9.C of the plan should be approved.            Again, today

   4     you heard that we received comments from the U.S. Trustee

   5     regarding the breadth of the exculpatory party definition

   6     under the plan that included NDK and related parties.              This

   7     exculpation definition has been modified to apply to the

   8     trustee and its related parties only, and that modification

   9     is reflected in Paragraph 59 of the revised proposed order

  10     filed at ECF Number 528.       So for that reason, Your Honor, we

  11     believe that the exculpation under the plan should be

  12     approved.

  13                  And lastly, the injunction and gatekeeper

  14     provision, we believe that these injunction provisions

  15     should be approved.

  16                  With respect to the gatekeeper provision, it

  17     simply requires that any party with a colorable claim come

  18     to this Court and confirm that that colorable claim --

  19     excuse me.     Let me retract.

  20                  The gatekeeping provision basically is designed to

  21     enforce the estate release that are being -- that is being -

  22     - the estate release under the plan, and to the extent that

  23     any party has a colorable claim, it requires that party to

  24     come to this court to determine whether or not there's a

  25     basis to go ahead and pursue that claim against a release

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   1     party.      And to the extent that those claims, again, are

   2     released under the plan, there's no reason to do so.

   3                   I also want to point out that the gatekeeper

   4     provision is not a third-party release.            The injunction and

   5     the gatekeeper provision is consistent with Fifth Circuit

   6     law.

   7                   And so for the brief reasons that I've explained

   8     on the record, Your Honor, I believe that -- excuse me --

   9     NKB believes that the plan should be confirmed.

  10                   THE COURT:    All right.    Thank you, sir.

  11                   All right.    Mr. Burks?

  12                   MR. TROOP:    Your Honor, we were asked to advise

  13     you that Ms. Whitworth, the U.S. Trustee, might want to

  14     speak.

  15                   THE COURT:    She's on the phone, and she's unmuted,

  16     and I'm sure she'll want to say something at the end, and

  17     I'm going to give her the opportunity.            Thank you.

  18                   MR. TROOP:    Thank you.

  19                   THE COURT:    Mr. Burks, they did run over by a few

  20     minutes.      If you run over by a few minutes, I'll give you

  21     the same courtesy.

  22                   MR. BURKS:    How much time do I have, Your Honor?

  23                   THE COURT:    15 minutes plus a couple of minutes

  24     grace.

  25                   MR. BURKS:    It's been a while since I heard an

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   1     accomplished bankruptcy attorney tell the Court that any

   2     requirement for confirmation is just technical.             It's not

   3     technical.     It's a requirement, 1129(a)(1) through (16) have

   4     to be met.     Period.

   5                  I don't know why.     I assume that Counsel had a

   6     reason for not estimating the claim.          I assume that they

   7     read In re Bressler, which is the only opinion in this

   8     district regarding whether or not -- not whether or not you

   9     credit bid, not whether or not you have standing, but

  10     whether your vote can be the sole accepting vote for

  11     purposes of 1129(a)(10).

  12                  It's more than a technicality here.          In re

  13     Bressler, which is written by Judge Rodriguez at 2021 Bankr.

  14     LEXIS 64, says, "Here's what you have to do if you have a

  15     claim -- proof of claim that is objected to."             You don't

  16     have to try the proof of claim.         You don't get to try the

  17     proof of claim.     It's an objected-to claim.         It's not a

  18     deemed-allowed claim.

  19                  Why they didn't come to you already and ask you to

  20     estimate it -- it's a strategy, I guess.           But to somehow

  21     deem the fact that they're entitled to credit bid to somehow

  22     mean that they are -- you know, one allowed claim for

  23     purposes of 1129(a)(10), that's going to be new law, and

  24     they're asking you to make new law.          It's not a

  25     technicality.     It's a requirement under 1129(a).

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   1                   THE COURT:     So let me understand your arguments

   2     first.      Your argument is that because the claim was objected

   3     to, they simply cannot go without me making some sort of

   4     claims estimation?

   5                   MR. BURKS:     After notice in hearing, they need an

   6     allowed -- they need an estimated claim in some amount after

   7     notice in hearing.         They make the motion.         We get a fair

   8     opportunity to object to that motion.             Yes, Your Honor.

   9                   THE COURT:     Okay.   Thank you.     Go ahead.

  10                   MR. BURKS:     Additionally, I was interested by

  11     Counsel's opening argument where he said that somehow, the

  12     fact that the proponent accepted the plan, somehow that

  13     makes them unimpaired.         I never argued that.         That would be

  14     an astonishing argument.

  15                   What I said was that if you only have one

  16     "impaired claim," and it's not that the bank accepted it --

  17     that's not what I'm talking about -- it's that they proposed

  18     their own treatment under the note, which they're allowed to

  19     do.     They can discount that note.        They can modify that

  20     note.     They can propose anything they want, and it's under

  21     the note that they're doing it.

  22                   So I'm not saying that there's a proponent who

  23     accepted it.      I'm saying the only accepting class is the

  24     proponent who's voluntarily pursued to the note, said,

  25     "Here's how we're going to get paid to the note," and I'm

                                                                              000993
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   1     saying that is not impairment.         That's -- that is somebody

   2     discounting the note just like anyone can -- the bank can

   3     settle the note.     You know, the bank can waive foreclosure.

   4     The bank can call off the auction.          They can do anything

   5     they want under that note and deed of trust, and they've

   6     done it.    That's not impairment.

   7                 Moving on to the next issues, I'm really

   8     interested by Counsel's portrayal of the abandonment.                He

   9     said, "Gee, they just haven't made any argument that it

  10     wasn't proposed in good faith."

  11                 To the contrary.     The entire plan is based on bad

  12     faith proposal, and here's why.         I don't know what the

  13     counsel here in this room or the Court thought the purpose

  14     of my questions to Mr. Carter and Chapter 11 trustee were

  15     regarding the -- were regarding the negotiation of the plan

  16     terms, but I'll tell you what it was.           We all read In re

  17     Cajun Electric.     We know what the three prongs from 9019,

  18     and we know what the Fifth Circuit said.           A balance to

  19     leverage negotiation, a balanced negotiation is critical for

  20     acceptance of any settlement.

  21                 This was a highly, highly leveraged negotiation

  22     where the trustee, frankly, didn't have a chance.              He

  23     bravely testified as to how he fought for things that he

  24     wanted to, but the bottom line was he had once choice, and

  25     one choice only for a plan.

                                                                             000994
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   1                  You talk about an uneven playing field.            It

   2     doesn't even come close.        He wanted different provisions for

   3     the settlement and the payment amount.            He wanted different

   4     provisions for the credit bid amount.            He even caved in, in

   5     terms of not testing the true market value of these three

   6     claims against the estate.        And we can all speculate whether

   7     or not it was reasonable for him to do so.

   8                  In this highly leveraged and charged situation

   9     that he was in, in negotiating the plan, reasonable or

  10     unreasonable, no choice.        No choice.     And that is one of the

  11     biggest arguments or problems that we have with this plan.

  12                  Look at the classifications.         Let's just

  13     understand what the classification problems here are.                 You

  14     have a WL lien -- second lien.          Well, first -- here's the

  15     first problem.     You have a lien from -- a second lien from

  16     2425WL.     You have proof of claim with a deed of trust

  17     attached.     It's filed.    Right now, you couldn't go to a

  18     closing -- a title company right now and sell that first

  19     lien if you tried because there's deed of trust on it.                  What

  20     would you do in state court?         You could only file a petition

  21     for quiet title.     Then the party would -- Mr. Choudhri

  22     would, on behalf of the entity, bring the note.              You'd have

  23     a jury trial as to the validity of the claim and liquidity

  24     of the lien, and whether or not you can quiet title.

  25                  In bankruptcy court, what do you do?           You file a

                                                                              000995
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   1     proof of claim.      It's deemed allowed until it's objected to.

   2     Then you have a trial.        You get to try it.        You try whether

   3     or not on all the evidence that's available, that's

   4     admissible, relevant evidence.          You get to determine whether

   5     or not that lien is valid, whether or not there's a debt

   6     owed, and then ultimately whether or not there's cause to

   7     subordinate it.      They want to pass all that.          They want to

   8     cut through all that in this plan.           No way.

   9                   But it goes more.     It goes further than that,

  10     Judge.      They don't want any unsecured claim allowed at all.

  11     We not only void the lien.        Void the claim, and don't dare

  12     put it in with a deficiency claim of the first lienholder

  13     because that will then actually split the pool that's

  14     available for the first lien deficiency.            That's unfair

  15     discrimination at its quintessential basis.              At least,

  16     that's my view of it.

  17                   Let's look at the trade creditors.          You have -- we

  18     have the claim of (indiscernible) Inc.            It was at Document

  19     Number 496-1.      We talked about the proof of claim.           It had a

  20     lien attached to it.        We talked about that that lien was

  21     filed after 2425WL's lien -- excuse me -- after the Bank of

  22     Kuwait's lien but before -- excuse me -- after both the

  23     first lien and WL's lien, yet the response of the trustee

  24     was -- or Mr. Carter was, "Yeah.          That's going to be paid as

  25     another security claim."

                                                                            000996
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   1                  Now, wait a minute.      A claim filed after 2425L is

   2     going to be paid before 2425L.          Hm.    All right.    And in

   3     full.     What about those trade creditors?

   4                  See, the trade creditors are different than a

   5     lienholder.     They're not being treated as a secure claim,

   6     but they're getting 70 cents on the dollar.             Why's that

   7     important to me representing 2425L?            Well, it's important to

   8     me because my client's getting zero on their unsecured

   9     claim, and trade creditors without liens are getting 70

  10     percent.     Unfair classification.

  11                  Now, they can say, "Wait a minute.          We're giving

  12     the insiders zero."        You can't go through due process of

  13     claim allowance and claim trials and just say this lien is

  14     invalid, and the claim underneath it is invalid.              There

  15     isn’t hope.     You'll hear it.      You'll hear the evidence and

  16     decide.     But they're asking you to forgo all of that.              You

  17     have a hearing on the subordination.            You have a hearing on

  18     the removed case, whether or not to remand it.              There's

  19     litigation to be done.

  20                  Is it doubtful in anybody's mind?          Not in my

  21     client's and not in my client's attorney's.             Of course, the

  22     bank will tell you it's frivolous.            Rule that way, but don't

  23     cut off the litigation rights right here and now today.                 But

  24     they want you to, and they told you that that release is

  25     pretty darn important for $3.7 million.

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   1                  Now, do we think -- do we know what the value of

   2     the causes of action are?        No.    Nobody does.       We have

   3     thoughts.     Trustee has an opinion, but he never tested that

   4     on the market, and the reason he didn't test it is because

   5     he can't because otherwise, he doesn't get the NBK to play

   6     ball.   That's bad faith.       Excuse me.     That's not proposing a

   7     plan in good faith.        That's restricting the trustee's time

   8     and the trustee's hands on what to do.

   9                  Classification is fatal here.         Could it be fixed?

  10     Yeah, probably.     Could you estimate a claim procedurally,

  11     just file a motion, give a few days' notice, have a hearing

  12     on estimation, and you fix these technicalities?               Maybe.

  13     Probably some.     The classification though would look very

  14     different.     You'd have the NBK claim paired other claims.

  15     You'd have the trade creditor claims in the pool of other

  16     unsecured creditors.        You'd have a different looking plan on

  17     distribution, Judge.

  18                  These aren't technicalities.         Unfair

  19     discrimination, fair and equitable as far as the liquidation

  20     test.   You have no idea what the value of those claims are,

  21     and frankly, neither do I, and if you confirm this plan,

  22     you'll never find out.

  23                  I hope -- now, what do you do?         What do you --

  24     what would you do here?        I mean, we have technical problems.

  25     I'm not going to reread Mr. -- Steve's objection or the

                                                                              000998
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   1     debtor's objection, but what I know you're going to do is

   2     you're going to go down -- you're going to take -- go in

   3     Chambers, and you're going to go down 1 through 16 and look

   4     at 29(a).    And if you can't check the 16 boxes, the code

   5     says you can't conform.        If you can check the 16 boxes, you

   6     can confirm.    As a matter of fact, you shall confirm if you

   7     can check the boxes.

   8                 It's not that a plan isn't confirmable.             The

   9     auction can go forward.        The trustee said that it's going to

  10     look the same one way or the other on the auction, but the

  11     releases shouldn't go forward.          No way.     I mean, I'm sorry.

  12     That just violates Fifth Circuit law.             You can say it

  13     doesn't, but just read the releases.           Gatekeeper?

  14     Gatekeeper for a non-debtor or somebody who's not essential

  15     to reorganize the debtor, never been done.              You'll be

  16     creating new law against this circuit precedent.

  17                 These are not technical problems.            These are real.

  18     Follow the law of the Fifth Circuit.           Follow the law in

  19     (indiscernible).

  20                 Lastly, I want to thank you personally for hearing

  21     all the evidence, including Mr. Choudhri's opinions.                  Unlike

  22     anyone else, I think they were critical in terms of there's

  23     more than one side.        There's more than one story on these

  24     causes of action.     But if you confirm today, we'll never

  25     know what their actual value is.          That release is the

                                                                             000999
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    1    problem of this plan.       That classification is the problem in

    2    that plan.     1129(a)(8) -- (10) is a problem with this plan.

    3                 Thank you, Judge.     I'm out of time.

    4                 THE COURT:    All right.     Thank you, Mr. Burks.

    5                 I'm going to turn now to Ms. Whitworth who

    6    indicated she may have something to say.               I'll let her say

    7    whatever she needs to say before I go back to Mr. Troop.

    8                 Ms. Whitworth?

    9                 MS. WHITWORTH:     Thank you, Judge.         Yes.   Thank

  10     you, Judge.     Jana Whitworth on behalf of the United States

  11     Trustee.

  12                  Your Honor, I just wanted to make a short

  13     announcement on behalf of my client.           We did not file a

  14     formal objection.      We did however submit a series of

  15     requested revisions.       Those are reflected as counsel

  16     (indiscernible) out in Paragraph 59 of the proposed orders

  17     uploaded at 528 that correctly in the trustee's opinion

  18     limits the definition of exculpated party to Chapter 11

  19     trustee (indiscernible) professionals and people who were

  20     working on his behalf.

  21                  There were a couple of other revisions in

  22     Paragraph 59, 29 -- or excuse me -- 29 and 73 that relate to

  23     post-effective date reporting by the liquidation trustee and

  24     his responsibility for paying quarterly fees.

  25                  Other than that, Your Honor, the U.S. trustee does

                                                                            001000
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    1    not oppose entry of the -- a proposed confirmation order at

    2    528.     Thank you, Your Honor.          I appreciate your time.

    3                 THE COURT:      I'm just going to look at something

    4    really quick to make sure that I have that real quick.

    5                 MS. WHITWORTH:       I believe it was attached at the

    6    exhibit to the --

    7                 THE COURT:      Yeah.      That's what I want to make

    8    sure.     I saw the --

    9                 MS. WHITWORTH:       -- document.

  10                  THE COURT:      I'm sorry.      The bandwidth is taking a

  11     minute to come up.         It must be pretty large.

  12                  MS. WHITWORTH:       It's 100 pages.

  13                  THE COURT:      Yeah.      So it's going to take a minute.

  14     Okay.

  15                  MR. BURKS:      Your proposed order is 100 pages?

  16                  MS. WHITWORTH:       No.     It's the notice that attaches

  17     --

  18                  THE COURT:      It's the plan, and everything's

  19     attached to it.

  20                  MS. WHITWORTH:       Correct.

  21                  THE COURT:      It's 95 pages long.         Can you tell me

  22     where -- what page your language starts on?                Oh, there it

  23     is.     I found it.   Don't worry.         Okay.   All right.    Thank you

  24     for the announcement.         I appreciate it.

  25                  MS. WHITWORTH:       Thank you, Judge.

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    1                 THE COURT:    All right.     Mr. Baker, is there

    2    something you want to say?

    3                 MR. BAKER:    Just a very short close, Your Honor.

    4                 THE COURT:    Okay.    You've silently made it till

    5    the very end, but go ahead.

    6                 MR. BAKER:    I apologize.     I was somewhat surprised

    7    because Mr. Troop got up here and said, "Well, you can

    8    estimate the claims," but they've never filed a motion to

    9    estimate the claims.       They're just showing up here today

  10     saying, "Please estimate the claims," without ever filing a

  11     motion.     That's --

  12                  THE COURT:    I have to tell you that I have found

  13     at least a couple of cases from the early '90s that say I

  14     don't need to.     So I think that potentially, there's a 1991

  15     case that says -- so I'm not sure I agree with that

  16     proposition, but I have looked at case -- I looked at some

  17     on the break.     I'll have to do a little bit more digging on

  18     it, but there is some Southern District caselaw from the

  19     early '90s that says I can basically confirm the plan

  20     without estimating the claims.

  21                  MR. BAKER:    Okay.

  22                  THE COURT:    Okay.    Go ahead.

  23                  MR. BAKER:    The other thing that I would point

  24     out, under the plan, tax claims that NBK is claiming they

  25     own would get paid to NBK.         Now, under the confidential --

                                                                           001002
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    1    and this hasn't been pointed out.          Confidential settlement

    2    agreement, which is part of the record, goes through and

    3    says, "Okay.     There's a liquidated damages provision if it

    4    is breached."     What is it?     NBK, it's $800,000.       They're not

    5    supposed to keep the tax claims.          Those are supposed to go

    6    back to Mr. Choudhri.       So the plan doesn't comply with

    7    what's in the confidential settlement agreement.

    8                There is no payment based on the testimony to any

    9    of the creditors with rejected leases.           It was asked --

  10     there's nothing.     So what happens to the rejected leases

  11     that are deemed rejected if NBK is the bidder, and the plan

  12     provides that they all are rejected?           They just get tossed

  13     out in the window.

  14                 It's interesting.      There are only three classes

  15     that can vote: NBK on its secured claim, the general

  16     unsecured creditors of which -- the way NBK has drafted it -

  17     - they have 90 percent of it because they've excluded

  18     2425WL, and the trade creditors.          That's it.     That's -- two

  19     of the three classes are controlled by NBK.             Again, you go

  20     back to what Mr. Burks's argument.          That seems to be a real

  21     problem.    Was this proposed in good faith?

  22                 And I'm going to go back and just tie in a little

  23     bit into what Mr. Burks was talking about as far as the

  24     claims against NBK.

  25                 The other thing I found interesting is that Mr.

                                                                           001003
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    1    Murray did not get any damage models from either Mr.

    2    Alexander or Mr. Wetwiska, specifically Mr. Alexander.                So I

    3    didn't get any.      I don't know.      He never asked him for any.

    4    He never got far enough into his investigation to determine

    5    that.

    6                At some point, if Mr. Alexander really is the

    7    expert that he appears to b, the question should've been

    8    asked by Mr. Murray to him, "What do you think we could

    9    recover on this?"      He didn't make any effort to ask that

  10     question.    Never probed.      Never even went into talking about

  11     it.

  12                 And that's not an issue of Mr. Choudhri.            That's

  13     an issue of a gentleman who was one of the two people

  14     nominated to be president of the State Bar of Texas last

  15     year who has the largest lender liability judgment in the

  16     last 10 years who said this is a good claim, but he never

  17     bothered to ask, "How much do you think you could recover on

  18     it?"    That's surprising to me.

  19                 And Your Honor, I'll just conclude again with the

  20     idea whether you estimate their claims or not, there is a

  21     huge issue about what are the value of the claims against

  22     NBK?    Thank you.

  23                 THE COURT:     All right.     Thank you.     All right.

  24     Mr. Shannon, since the trustees had their -- the people

  25     appointed the figure of the trustee, do you want to say

                                                                           001004
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    1    anything in response?       Then I'll go back to Mr. Troop, and

    2    then I think we're done.

    3                MR. SHANNON:     Your Honor, I'm just going to

    4    reiterate that the trustee does support confirmation.              I

    5    believe that the evidence both yesterday and today confirmed

    6    that the trustee engaged in an investigation that was

    7    serious, that was focused, and that was determined to make

    8    an evaluation.     That's what he's done here.

    9                As far as the particular -- you know, the

  10     particular requirements of confirmation, I'm going to leave

  11     that to NBK.     It's their plan.       But I do just want to say

  12     that for the record.

  13                 THE COURT:     Thank you.

  14                 All right.     Mr. Troop.

  15                 MR. TROOP:     Thank you, Your Honor.        Your Honor, I

  16     think that this case feels as though it has had a life that

  17     has extended beyond its many months before you, and that is

  18     particularly true with regard to NBK in this matter.

  19                 This Chapter 11 case is the result of -- and the

  20     evidence clearly shows this -- repeated efforts by the

  21     debtor and its principals to get this property for less and

  22     less and less than what they promised they would pay back on

  23     the loan.

  24                 And we're here, Your Honor, because Chapter 11 --

  25     or had you converted the case at that point, Chapter 7 --

                                                                           001005
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    1    would've provided a pathway to an end.            And that's what this

    2    plan does, and it does it fairly for this all the reasons

    3    that we've discussed.

    4                Your Honor, when you evaluate the issues that have

    5    been raised, for example, about the NBK claim -- and the

    6    claims against NBK.        And Your Honor, I thought about raising

    7    my hand and saying it's huge, but it seemed a little too

    8    theatric.

    9                But what we know from a factual matter is that the

  10     person who thinks they are the most valuable offered

  11     $700,000 for them, not even two full business days before

  12     the confirmation hearing was about to begin.              And the

  13     trustee told you he evaluated that amount against what's

  14     here for the benefit of creditors and the estate, and

  15     concluded that this was a better deal.

  16                 Talk about it in 9019 terms, right.            It was within

  17     the range of appropriate settlements, although the real

  18     question is ultimately was it in the best interests of the

  19     estate, and the trustee concluded that was true.              And if I

  20     heard his testimony correctly, it's because he looked at the

  21     facts that were alleged, and he was told, and he said,

  22     "Ultimately, I find them -- some of them may be okay, but

  23     overall -- not credible.         Not really strong claims."         Those

  24     are factual claims.        You could create a damage model that

  25     could say the claims are worth $1 billion.

                                                                             001006
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    1                  But that's not the question.         The question is

    2    whether the claims are likely to return something to the

    3    estate.      This plan does, and those claims have to be based

    4    on facts.      The trustee did his job to confirm whether he

    5    thought there were facts to do that.

    6                  And, Your Honor, this case needs to come to a

    7    close.      And I don't want to be -- you've got our

    8    confirmation brief.         You'll see every element of 1129 laid

    9    out clearly there to the extent not addressed here.                   But

  10     there was this impassioned plea that somehow proof of claim

  11     number seven that only has a deed of trust attached to it

  12     should be given some more weight, and the fact that they

  13     didn't attach a note to it, well, it shouldn't mean all that

  14     much.

  15                   But just look at the chronology here.             That deed

  16     of trust was allegedly executed in 2018.                 Didn't get

  17     notarized until 2021 and recorded later at a time when, you

  18     know from the evidence before you, the debtor was in

  19     default, and NBK was pursuing its rights.

  20                   And what you also know simply from looking at the

  21     document was Mr. Choudhri gave a lien to himself.                 Your

  22     Honor, it would be perfectly appropriate for you to discount

  23     any validity to that claim in addition to everything else

  24     raised by the trustee in his objections in his complaints.

  25                   Your Honor, there's also no dispute there's no

                                                                               001007
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    1    value here beyond the first lien.          So anything that anyone

    2    gets under this plan is in effect -- you know, gifting is

    3    out of vogue, right?       But it's effectively a gift from the

    4    secured creditor.      And the secured creditor's determination

    5    about how it was going to take its value, not the estate's

    6    value, its value -- and spread it out amongst creditors was

    7    to say that trade creditors -- like 260,000 of them --

    8    dollars' worth of them, Your Honor -- who may do work for

    9    the building in the future, they should get the least amount

  10     of hurt.

  11                 The next group of people who should get the least

  12     amount of hurt but a completely contingent recovery because

  13     it's completely contingent on litigation results should be

  14     those third parties who weren't trade creditors who extended

  15     credit to the debtor.

  16                 And then finally, you've got the people who caused

  17     this problem who acted inappropriately.            Again, I'll go back

  18     to proof of claim number seven.         Look at its timing.          Look

  19     at the party giving himself a benefit to put himself into

  20     the capital structure on a secured basis for an obligation I

  21     note -- although the document -- I meant are not relying on

  22     the document itself, the settlement statement.              But he

  23     described -- Mr. Choudhri described has a credit from the

  24     seller -- not a loan from the seller.           A credit.     A credit

  25     against the purchase price.        Comes back three years later

                                                                           001008
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    1    and decides, "I'm going to but a lien on the property," and

    2    you look at the loan documents, Your Honor, and there's no

    3    permitted lien.      There's no permitted note.          There's no

    4    permitted encumbrance for 2425WL.

    5                  So when the trustee described it as fake, I think

    6    there is a strong amount of evidence to support that

    7    description.      And so the question at the end of the day

    8    becomes because the plan satisfies all the requirements of

    9    1129, should there nonetheless be additional delay to allow

  10     parties to further allow this property to deteriorate -- you

  11     heard evidence about that on Monday -- to further hamstring

  12     a transfer of the property on the hope and the prayer of

  13     claims that the trustee evaluated independently, that the

  14     party is trying to prove up -- at the very least created a

  15     bona fide dispute -- and that you found really basically

  16     lacked no merit -- lack of merit.           I'm sorry, Your Honor.

  17     Double negative there.        Lack of merit.

  18                   On those conditions, Your Honor, not like other

  19     judges -- I'm sorry -- similar to how other judges have

  20     ruled in this district from time to time, enough is enough.

  21     It is time to permit this process to end, the plan to be

  22     confirmed.

  23                   And the last thing I will just underscore, again,

  24     Your Honor.      If in fact Mr. Choudhri -- two things, Your

  25     Honor.      Go back and look at the confidential settlement

                                                                            001009
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    1    agreement.     It does not say what Mr. Baker says.          It says

    2    (indiscernible) liquidated damages.           It is a misreading at

    3    best of that agreement.

    4                 But here, Your Honor, it is time to bring this

    5    case to an end.     It is time for it -- it doesn't violate

    6    (indiscernible).     It doesn't extend exculpation provision

    7    protections and non-fiduciaries or (indiscernible) doesn't

    8    even really talk about the gatekeeping function other than

    9    to say in that case, it was a fair implementation tool for

  10     the issue that was before the Court, whether the directors

  11     of the liquidating trust were to get some protection.              But

  12     here, it's a fairer limitation of a release of estate claims

  13     and (indiscernible) estate claims.

  14                  Your Honor, I will just end with two other things.

  15     The first is that notwithstanding some of the

  16     contentiousness that you have seen in the courtroom over the

  17     last few days, I really want to thank in particular Mr.

  18     Burks for his time and his efforts over the last few days to

  19     try to address those things that we could do consensually.

  20                  And then as he said, and we echo, I can't believe

  21     it's a federal holiday, but we thank you all for your time

  22     and effort here.     And obviously I hope it comes to a

  23     particular conclusion, but I also thank you regardless of

  24     the conclusion.     Thank you.

  25                  THE COURT:    Thank you.

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    1                All right.     So I'll just make a couple of comments

    2    on the record.     First of all, the air conditioning does seem

    3    to be working after all this time at this point in time,

    4    which I'm very happy for.

    5                I want to address not really the merits of the

    6    case, but I want to make some comments to Mr. Choudhri.                For

    7    whatever reason, he believes that this process has been

    8    unfair, and I would disagree very, very highly; that he may

    9    not like the results, he may not like my determination of

  10     the facts, but I think that he's been given every

  11     opportunity to present his evidence and present his case,

  12     and if he claims due process has not been met in this case,

  13     I disagree with him very, very highly.

  14                 I also disagree very highly with him that we

  15     haven't done what we need to do to evaluate claims in this

  16     case.   The trustee's testimony is compelling as to his

  17     evaluation of the claims.        It also lines up with my limited

  18     evaluation of the claims based on what's before me in the

  19     evidence that's before me.

  20                 A lot of lawyers tell me that their clients have

  21     great claims.     When I have lawyers tell me they have great

  22     claims and I don't hear any sort of evidence that tells me

  23     why they have great claims, I start to wonder.             All right.

  24                 I think the process has been fair and open.            I

  25     wish Mr. Choudhri the best of luck depending upon what I do.

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    1    But quite clearly, this is a case that is now over 18 months

    2    old, and I agree that it is a case that needs to come to a

    3    conclusion one way or the other.

    4                I am hopeful, Mr. Murray, that I will get some

    5    findings of fact and conclusions of law and an order either

    6    confirming the plan or not to you by the time that you have

    7    your auction.     That's the goal.      All right.

    8                It's just been a really, really bad week.            I mean,

    9    I will say that I'm not typically as busy as I've been this

  10     week.   I have a huge panel tomorrow that's 61 pages.             I

  11     contested confirmation hearings in the afternoon.             And I

  12     have a Galveston docket on Friday.          So I will work as I can

  13     and as I'm allowed to given what limited time I have, but I

  14     promise you that I'll get something to you that you can look

  15     at, agree with, disagree, and appeal as you feel necessary.

  16                 All right.     Thank you.     We're adjourned today.

  17                 CLERK:   All rise.

  18                 (Whereupon these proceedings were concluded at

  19     4:54 PM)

  20

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                                                                           001012
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    1                         C E R T I F I C A T I O N

    2

    3           I, Sonya Ledanski Hyde, certified that the foregoing

    4    transcript is a true and accurate record of the proceedings.

    5

    6

    7

    8    Sonya Ledanski Hyde

    9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20     Veritext Legal Solutions

  21     330 Old Country Road

  22     Suite 300

  23     Mineola, NY 11501

  24

  25     Date    June 25, 2024

                                                                           001013
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                             EXHIBIT B




                                                                           001014
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                                                                                     EXHIBIT B

                                          Summary of Causes of Action Asserted by Mr. Choudhri Against NBK

                           Previously Non-Suited               Pending Action                   Pending Action                  Pending Action                    Claims Dismissed in
                                  Claims                     Galleria I Adversary                 Naissance I                Choudhri Intervention                    ECF No. 25
Original Case Style       Galleria 2425 Owner, LLC v.      In re Galleria 2425 Owner,        Naissance Galleria, LLC v.    Galleria 2425 Owner, LLC v. NBK,     Choudhri v. NBK, Cause No.
                          NBK and Lee, Cause No. 2021-     LLC; Galleria 2425, LLC,          Zaheer and NBK, Cause         Cause No. 2023-22748 in the          2024-27168 in the 129th
                          63370 pending in the District    Naissance Galleria, LLC and       No. 2023-43755 in the         District County of Harris Court,     Judicial District Court, Harris
                          Court of Harris County, Texas,   Choudhri v. NBK, Case No. 23-     District Court of Harris      281st Judicial District              County, Texas
                          281st Judicial District          06009 pending in the U.S.         County, Texas, 80th
                                                           Bankruptcy Court for the S.D.     Judicial District
                                                           Tex. Victoria Division
Case No./Adversary No.    Cause No. 2021-63370             Adversary No. 23-06009            Cause No. 2023-43755          Adversary No. 23-03263               Adversary 24-03120 (Tax
                                                                                                                                                                Liens)
Date Filed                6/8/2022                         9/19/2023                         11/29/2023                    12/18/2023                           6/7/2024
Date Removed                                                                                                               12/18/2023
Plaintiffs                Galleria 2425 Owner, LLC         Galleria 2425 Owner, LLC          Naissance Galleria, LLC       Galleria 2425 Owner, LLC             Choudhri
                                                           Naissance Galleria, LLC
                                                           Choudhri
Live Pleading             Plaintiff’s Second Amended       Galleria 2425 Owner, LLC,         Plaintiff’s Second            Plaintiff’s Sixth Amended Petition   Plaintiff’s Third Amended
                          Petition                         Naissance Galleria, LLC and Ali   Amended Petition &                                                 Complaint
                                                           Choudhri’s Original Complaint     Emergency Application for
                                                           Against NBK                       TRO
ECF No.                                                    ECF No. 1                                                       ECF No. 1 at 917
Causes of Action          Breach of Contract & Violation   Breach of CSA                     Breach of CSA                 Breach of CSA                        Conversion
                          of Foreclosure Law (notice of
                          intent to accelerate)            Tortious Interference with        Tortious Interference with    Tortious Interference with           Money Had and Received -
                                                           Contract (SIBS and Caldwell       Contract (SIBS and            Contract (SIBS and Caldwell          Unjust Enrichment
                          Declaratory Judgment (notice     Soames, Inc.)                     Caldwell Soames, Inc.)        Soames, Inc.)
                          of intent to accelerate)                                                                                                              Breach of CSA
                                                           Tortious Interference with        Tortious Interference with    Tortious Interference with
                          Breach of Contract (lease        Business Relations (Posting of    Business Relations (Posting   Business Relations (Posting of       Requesting declaratory relief
                          approval and sale of property)   Foreclosure Impacted              of Foreclosure Impacted       Foreclosure Impacted Potential
                                                           Potential Buyers)                 Potential Buyers)             Buyers)
                          Common Law Fraud (induced
                          into entering loan agreements,   Fraud and Fraudulent              Fraud and Fraudulent          Common Law Fraud/Lender
                          tenant improvement dollars       Inducement/Lender Liability       Inducement re: CSA            Liability re: CSA
                          for Sonder)                      re: CSA
                                                                                             Business Disparagement        Fraudulent Transfer (~$960k in
                          Tortious Interference with       Fraudulent Conveyance             (Posting of Foreclosure       payments to NBK)
                          Prospective Relations and        (~$960k in payments to NBK)       Impacted Potential
                          Existing Contracts (Sonder                                         Buyers)                       Estoppel (Estopped from claims
                          Leases and other leases)                                                                         indebtedness in excess of amount
                          Quiet Title as to George Lee                                                                     in CSA)



                                                                                                                                                                              4892-4760-9835.v2
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                           Previously Non-Suited                 Pending Action                   Pending Action                 Pending Action                   Claims Dismissed in
                                  Claims                       Galleria I Adversary                 Naissance I               Choudhri Intervention                   ECF No. 25
                                                             Estoppel (Estopped from          Unjust Enrichment (re:
                          Promissory Estoppel (Sonder        claims indebtedness in excess    NBK’s foreclosure on          Business Disparagement (Posting
                          Leases)                            of amount in CSA)                building)                     of Foreclosure Impacted Potential
                                                                                                                            Buyers)
                          Breach of Fiduciary                Business Disparagement           Conspiracy re: Dismissal of
                          Duty/General Good Faith Duty       (Posting of Foreclosure          Bankruptcy I                  Breach of Good Faith and Fair
                          (lease approval and disclosure     Impacted Potential Buyers)                                     Dealing re: CSA, not approving
                          of confidential financial                                           Attorneys’ Fees               leases, potential buyers)
                          information)                       Breach of Good Faith and Fair
                                                             Dealing re: CSA, not approving                                 Unjust Enrichment (re: NBK’s
                          Negligent Misrepresentation        leases, potential buyers)                                      foreclosure on building)
                          (Sonder Leases)
                                                             Unjust Enrichment (re: NBK’s                                   Conspiracy re: Dismissal of
                          Slander of Title (wrongful         foreclosure on building)                                       Bankruptcy I
                          foreclosure notice)
                                                             Attorneys’ Fees                                                Federal Misrepresentation of
                                                                                                                            Services and Unfair Competition
                                                                                                                            Under the Lanham Act

                                                                                                                            Attorneys’ Fees
Defendants                NBK                                NBK                              NBK                           NBK                                 NBK
                          George Lee                                                          Zaheer                        Azeemeh Zaheer
Status/Disposition        Nonsuit with Prejudice             Pending                          Pending                       Dismissed by Order on Stipulation   Dismissed [Case 24-03120, ECF
                          (8/25/2022)                                                                                       at ECF No. 26                       No. 25]
                                                                                                                                                                Appeal Dismissed [Case 24-
                                                                                                                                                                03120, ECF No. 34]
Verification              None                               None                             Choudhri Verification
Original Case Style       Cause No. 2021-63370,                                                                             Cause No. 2023-22748, Choudhri
                          Choudhri v. NBK in the District                                                                   v. NBK in the District Court of
                          Court of Harris County, Texas,                                                                    Harris County, Texas, 281st
                          281st Judicial District                                                                           Judicial District
Case No./Adversary No.                                                                                                      23-03263
Date Filed                7/18/2022                                                                                         12/4/2023
Date Removed                                                                                                                12/18/2023
Intervenor                Choudhri                                                                                          Choudhri
Live Pleading/ECF No.     Ali Choudhri’s Original Petition                                                                  Ali Choudhri’s Second Amended
                          in Intervention                                                                                   Petition in Intervention, ECF No.
                                                                                                                            1-2 at 907
Causes of Action          Fraudulent Inducement                                                                             Fraud (Zaheer rep to Cout in
                          (transferred property to SPE in                                                                   Cause No. 2023-41091 that she
                          anticipation of bank loan)                                                                        has authority to act on behalf of
                                                                                                                            Naissance)
                                                                                                                            Promissory Estoppel (vague facts)




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                       Previously Non-Suited     Pending Action              Pending Action        Pending Action                 Claims Dismissed in
                              Claims           Galleria I Adversary            Naissance I      Choudhri Intervention                 ECF No. 25
                                                                                              Equitable Estoppel / Detrimental
                                                                                              Reliance (CSA)
Defendants            NBK                                                                     NBK
                                                                                              Azeemeh Zaheer
Status/Disposition    Nonsuit w/o Prejudice                                                   Pending
                      (9/6/2022)
Verification          None                                                                    Choudhri Verification ECF No. 1-2
                                                                                              at 912




                                                                         3
                                                                                                                                         4892-4760-9835.v2
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                             EXHIBIT C




                                                                           001018
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                                                                           Marilyn Burgess - District Clerk Harris County
                                                                                                Envelope No. 65268945
                                                                                                      By: Jennifer Ochoa
                                                                                                Filed: 6/8/2022 7:27 PM

                                     Cause No. 2021-63370

GALLERIA 2425 OWNER, LLC,                    §      IN THE DISTRICT COURT
                                             §
       Plaintiff,                            §
                                             §
VS.                                          §      OF HARRIS COUNTY, TEXAS
                                             §
NATIONAL BANK OF KUWAIT, S.A.K.P.,           §
A NEW YORK BRANCH and GEORGE M.              §
LEE,                                         §
                                             §
       Defendants.                           §      281ST JUDICIAL DISTRICT

                           PLAINTIFF’S SECOND AMENDED PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff Galleria 2425 Owner, LLC (“Galleria” or “Plaintiff”) and files its

First Amended Petition against Defendants National Bank of Kuwait, S.A.K.P., New York

Branch, a Banking Corporation Organized Under the Laws of Kuwait, Acting Through its

New York Branch (“Kuwait” or “Defendant”) and George M. Lee (“Lee”) and, in support

thereof, respectfully show the Court as follows:

                                    A. Discovery Control Plan

       1.      Plaintiff intends to conduct discovery under Level 3 of Texas Rule of Civil

Procedure 190.4.

                                        B. Claim for Relief

       2.      Plaintiff seeks monetary relief over $1,000,000 and non-monetary relief. Tex. R.

Civ. P. 47(c)(4). This case arises out of Kuwait’s attempt to wrongfully foreclose on the subject

real property owned by Galleria and promises, representations and interference in connection

with the subject loan and Galleria’s operations and leasing of the property. Galleria hereby

asserts causes of action against Kuwait for breach of contract, wrongful foreclosure, declaratory




                                                                                                 001019
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judgment, fraud, fraud in a real estate transaction, tortious interference, promissory estoppel,

breach of fiduciary duty and general duty of good faith, negligent misrepresentation and slander

of title. Galleria seeks a temporary injunction and economic, exemplary, and consequential

damages, together with attorneys’ fees and interest. Galleria further seeks judgment quieting

title against Lee.

                                              C. Parties

        3.      Plaintiff Galleria, at all times relevant hereto, was and is a limited liability

company doing business in Texas with an interest in real property located in Harris County,

Texas that is the subject of this action.

        4.      Defendant Kuwait has no registered agent in the state of Texas. This defendant

has appeared and answered.

        5.      Defendant Lee is an individual residing in Harris County who can be served at

5353 West Alabama, Suite 610, Houston, Texas 77056 or wherever he may be found.

                                            D. Jurisdiction

        6.      The Court has subject-matter jurisdiction over the lawsuit because the amount in

controversy exceeds this Court's minimum jurisdictional requirements.

                                              E. Venue

        7.      Venue is proper in Harris County, Texas pursuant to Texas Civil Practice and

Remedies Code §15.001 in that this action affects title to commercial real property and

improvements situated entirely within Harris County, Texas located 2425 West Loop South,

Houston, Texas 77027 (the “Property”). See Exhibit “A,” Cover Letter and Notice of Sale and

Legal Descriptions attached thereto and incorporated herein by reference.




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                                                 F. Facts

       8.      Defendant’s alleged interest in the Property derives from an alleged Note secured

by an alleged Deed of Trust, Assignment of Leases and Rents and Profits, Security Agreement

and Fixture Filing (the “Deed of Trust”) dated on or about May 23, 2018, in favor of Defendant

Kuwait. See Exhibit E, Affidavit.

       9.      Stage Stores (“Stage”) with approximately 13,000 employees overall and

approximately 1,000 employees at its corporate headquarters in the Property was Plaintiff’s

longtime, primary tenant at the Property leasing hundreds of thousands of square feet over

multiple floors. In May, 2020, Stage entered Chapter 11 bankruptcy. Since that time, Stage and

its affiliates (Palais Royal, Bealls, Gordman’s, etc.) ceased operations, vacated the Property,

closed all retail stores in the chain, and laid off all its employees. It goes without saying that the

loss of Stage as a tenant impacted the Property, and on account of the ongoing global pandemic,

remote work, and market constrictions, it has been difficult for ALL commercial landlords to fill

lease space. Plaintiff is actively marketing the Property for lease and showing the Property to

prospective tenants. See Exhibit E, Affidavit.

       10.     Stage Stores’ demise and quick exit from the Property left Plaintiff with little

options until Plaintiff could market and re-lease the Property. Kuwait failed to follow its

obligations under Texas law and is, therefore, barred from foreclosing on the Property on October

5, 2021. See Exhibit E, Affidavit.

       11.     Galleria disputes that Kuwait properly served it with Notice of Default and Intent

to Accelerate, but to the extent that Kuwait served the June 29, 2021 alleged Notice of Default and

Intent to Accelerate, it is fatally defective. Therein, Kuwait advised that “[i]f payment of all

amounts that are then currently due and owing under the Note are not received by [Kuwait] by




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[July 12, 2021], [Kuwait] intends to (1) accelerate the maturity of the indebtedness…” See Exhibit

B, Notice of Default and Intent to Accelerate (emphasis added).

       12.     Galleria disputes that Kuwait properly served it with Notice of Acceleration, but to

the extent Kuwait served the July 14, 2021 Notice of Acceleration, the Notice of Acceleration is

ineffective. Any subsequent Notice of Sale is likewise ineffective.

       13.     Despite Galleria’s requests to Defendant Kuwait to postpone the foreclosure sale,

Kuwait refused to postpone the foreclosure, and Kuwait informed Galleria that foreclosure would

proceed on October 5, 2021. See Exhibit E, Affidavit. Galleria was successful in obtaining a

Temporary Restraining Order to stop Kuwait’s foreclosure. Kuwait re-served another Notice of

Default and Intent to Accelerate which was defective because Kuwait did not properly serve this

Notice of Default and Intent to Accelerate. Kuwait has since served yet another default and intends

to foreclose on the Property.

       14.     Defendant George M. Lee also claims an interest in the Property adverse to Plaintiff

and adverse to Kuwait. Lee loaned money to the former owner of the Property, and Lee had a lien

on the Property to secure re-payment of loan. Lee received funds sufficient to pay off his loan to

the former owner, and Lee released his lien on the Property. Lee, however, repudiated his Release

of Lien and now unlawfully claims that his lien continues encumber the Property and that his

security interest remains and superior to Kuwait’s alleged lien on the Property. Lee’s alleged lien

and/or interest is an unlawful cloud on title.

       15.     Further, pursuant to the loan documents, Kuwait is obligated to present prospective

tenants to Kuwait for approval. Kuwait has no basis to withhold tenant approval, yet Kuwait, at

every turn, has thwarted Galleria’s efforts to lease the building and tortiously interfered with

Landlord/Tenant relations.



                                                    4                                        001022
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       16.     After Stage vacated, Galleria has worked diligently to lease the Property. With the

COVID-19 pandemic, leasing the Property has been a challenge, and Galleria continues to work

to lease the Property. Kuwait originally posted the Property for foreclosure, and the posting was

ineffective because of the defective Notice of Intent to Accelerate.

       17.     During this same time period, Kuwait had already advised Galleria that it wanted

its loan paid in full, and in order to pay Kuwait, Galleria was in the middle of refinancing the

Property to pay off Kuwait. Galleria was also in the process of leasing the Property to new tenants.

The wrongful foreclosure posting caused the new lender to reverse course and stop the refinance

process. It also caused the prospective tenant to back out of leasing the Premises. New leases and

refinancing the Property fell through as a direct result of the Kuwait’s wrongful foreclosure

posting.

       18.     Further, because Kuwait had to approve leases and tenant improvement funds, there

are multiple instances where Kuwait failed and refused to approve leases, and there was no basis

for these actions. Between the tenants and new lender backing out, and unreasonable failure to

approve confirmed leases and failure to approve TI money, among other tortious interference, there

is significant lender liability. On account of Kuwait’s wrongful posting of the Property for

foreclosure, our client has been damaged.

       19.     Further, the evidence will show that Kuwait tortiously interfered with Galleria’s

business relations, and it set in motion a domino effect. The evidence will show that due to

Kuwait’s acts, which the evidence will show were not in good faith, has led to damages of

approximately $80,000,000. Kuwait created the inability to pay them off. They caused to tenants

to walk away. If Kuwait had not wrongfully posted the property for foreclosure, Galleria would




                                                 5                                            001023
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have had a tenant that would have leased most of Premises, and the refinancing lender would have

paid off Kuwait. Now, regardless of these wrongful, Kuwait wants to foreclose.

          G. Count I Against Kuwait – Breach of Contract & Violation of Texas
                                     Foreclosure Law

       20.     Plaintiff adopts and incorporates herein by reference the foregoing paragraphs as

though fully set forth herein.

       21.     The applicable contracts in this instance are the alleged Note, Deed of Trust, and

Loan Agreement (collectively, the “Loan Documents”). Plaintiff violated one or more of these

alleged contracts and Texas law as further specified herein because Kuwait’s alleged Notice of

Intent to Accelerate is fatally defective. This defect renders the subsequent alleged Notice of

Acceleration and Notice of Sale ineffective. The foreclosure cannot proceed.

       22.     Ogden v. Gibraltar Sav. Assoc., 640 S.W.2d 232, 233-234 (Tex. 1982) and

Sarasota, Inc. v. Ballew, 2001 WL 194031, at * 3 (Tex. App.-Austin 2001, pet. denied) are directly

on point and vitiate Defendant’s ability to foreclose.

       23.     In Ogden, the Texas Supreme Court considered whether a notice of intent to

accelerate which stated that “failure to cure…may result in acceleration” was sufficient to put the

plaintiff on notice of the defendant’s intent to accelerate. 640 S.W.2d at 233 (emphasis added).

The court held that, because it used the word ‘may,’ the notice was insufficiently clear as to

whether acceleration would result. Id.

       24.     The Texas court of appeals has since extended Ogden to hold that even language

indicating that the defendant ‘intends’ to exercise its rights – though somewhat more positive than

the notice in Ogden that the defendant ‘may’ exercise its rights – is too vague to constitute notice

of intent to accelerate. Sarasota, Inc. v. Ballew, 2001 WL 194031, at * 3 (Tex. App.-Austin, pet.

denied). In Mastin v. Mastin, 70 S.W.3d 148, 155 (Tex. App.-San Antonio 2001, no pet.) the San



                                                 6                                            001024
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Antonio Court of Appeals found that where a party did not give unequivocal notice of intent to

accelerate, any attempted acceleration thereafter is ineffective.

         25.      Kuwait’s alleged Notice of Intent to Accelerate is defective on its face because it

states that “[i]f payment of all amounts that are then currently due and owing under the Note are

not received by Beneficiary by the time and date stated above, Beneficiary intends to (1) accelerate

the maturity of the indebtedness…” See Exhibit B (emphasis added). On account of Kuwait’s

fatally defective Notice of Intent to Accelerate, black letter Texas law vitiates Kuwait’s ability to

foreclose. Kuwait’s foreclosure cannot proceed.

         26.      The alleged Loan Documents and Texas law require Kuwait to serve unequivocal

Notice of Intent to Foreclose on Plaintiff. Defendant Kuwait failed to do so which makes any

attempt by Kuwait to foreclose unlawful. Defendant Kuwait, therefore, breached the terms of its

alleged contracts with Plaintiff and violated Texas foreclosure law. 1 Plaintiff suffered and will

continue to suffer damages if the Court does not restrain and enjoin Kuwait.

         27.      Additionally and/or in the alternative, the subject loan documents are valid and

enforceable agreements. Galleria performed its obligations under the loan documents through

September 2021, if not later.



1
  A borrower’s obligation to make monthly payments is independent of a lender’s obligations in the event of a default.
Williams v. Wells Fargo, Bank, N.A., 884 F.3d 239, 245 (5th Cir. 2018) (“If performance of the terms of a deed of
trust governing the parties’ rights and obligations in the event of default can always be excused by pointing to the
debtor’s default under the terms of the note, the notice terms have no meaning.”).

         Thus, because Plaintiffs’ breach of contract claim is related to Defendants’ alleged failures to uphold its post-
default obligations under the Deed of Trust, Plaintiff’s default does not preclude its breach of contract claim. See
Adams v. U.S. Bank, N.A., No. 3:17-cv-723-B-BN, 2018 WL 2164520, at * 4 (N.D. Tex. Apr. 18, 2018) (concluding
a borrower who is in default is not precluded from asserting a breach of contract claim against a bank when the claim
arises out of the bank’s alleged failure to provide post-default notice); Thomas v. Wells Fargo Bank, N.A., No. 4:17-
CV-2070, 2018 WL 1898455, at *3 (S.D. Tex. Apr. 20, 2018) (“Plaintiffs’ breach of contract claim is not foreclosed
as a matter of law by their failure to satisfy their payment obligations under the Deed of Trust.”).




                                                            7                                                     001025
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       28.     Kuwait was at all times obligated to perform its obligations under and enforce the

loan documents in good faith. Kuwait breached that duty of good faith by withholding approval

of leases, timely or otherwise, without reasonable basis.

       29.     Additionally and/or in the alternative, under Article II of the subject May 23,

2018 Deed of Trust, the declaration of default, pursuit of the remedy of foreclosure and the

recording of notices of foreclosure were only authorized in the event of uncured default and after

acceleration. Kuwait, through the substitute trustee, materially breached the loan documents by

pursuing the remedy of foreclosure, without requisite filings, despite that lack of uncured default

and acceleration.

       30.     Kuwait’s wrongful attempt to foreclose constitutes a material breach and/or

wrongful repudiation of the loan agreement and/or breach of Kuwait’s obligation of good faith.

       31.     Such wrongful attempt to foreclose proximately caused economic damages and

consequential damages to Galleria. Specifically, Galleria has been unable to lease space at the

Property or sell the Property on account of the pending foreclosure and real property foreclosure

filings. A sale of the Property for $85 million failed as a consequence of Kuwait’s pursuit of

wrongful default. Space at the Property could not be leased because tenants do not wish to lease

space from a Property under threat of foreclosure. Rents from tenants in excess of $5 million

have been lost as a consequence of the wrongful foreclosure, together with building investment

value of over $100 million, as well as the $85 million sale of the building.

       32.     WHEREFORE, Plaintiff requests that this Court (i) enjoin the foreclosure sale of

Kuwait, its successors and/or assigns and any and all trustees and/or substitute trustees acting by,

through, or under them including, without limitation, Josh D. Morton, Laura E. Hannusch, and

Adam Weaver, and (ii) enter judgment in favor of Plaintiff and against Defendant for actual



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damages in excess of $1,000,000 and consequential damages in excess of $100 million, (iii)

award Plaintiff’s attorney’s fees and costs incurred herein, and (iv) award Plaintiff such other

and further relief as this Court deems just and proper.

                   H.       Count II Against Kuwait and Lee - Declaratory Judgment

        33.     Plaintiff adopts and incorporates herein by reference all prior paragraphs of this

Petition as though fully set forth herein.

        34.     Additionally and/or in the alternative, Plaintiff seeks a declaratory judgment

pursuant to Texas Civil Practice and Remedies Code §37.004 that: (i) Plaintiff’s interest in the

Property constitutes a legally-protectable interest; (ii) Defendant’s alleged Notice of Intent to

Foreclose is fatally defective; (iii) the alleged Notice of Acceleration is ineffective; (iv) the

alleged Notice of Sale is ineffective; and (v) Lee has no legal or equitable interest in the Property

superior to Plaintiff’s interest.

        35.     A real, subsisting, and justiciable controversy exists between the parties hereto

concerning the Property and transfer of title.

        36.     WHEREFORE, Plaintiff prays for judgment declaring, decreeing, and adjudging

that (i) Kuwait, its successors and assigns and any and all trustees and/or substitute trustees acting

by, through, or under them including, without limitation, Josh D. Morton, Laura E. Hannusch, and

Adam Weaver, have no right, to foreclose on the Property based on the current posture of the

requisite Notices, and (ii) they are barred, enjoined, and estopped from pursuing foreclosure

without serving effective, requisite notices.

                I. Count III Against Kuwait – Breach of Contract Against Kuwait

        37.     Plaintiff adopts and incorporates herein by reference all prior paragraphs of this

Petition as though fully set forth herein.


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        38.      Additionally and/or in the alternative, in order to prevail on its claim for breach of

contract, Plaintiff must prove (i) the existence of a valid contract, (ii) performance or tendered

performance by Plaintiff, (iii) breach of the contract by Defendant, and (iv) damages sustained as

a result of the breach. 2

        39.      Kuwait unnecessarily and unreasonably withheld approval of prospective tenants

and impeded Plaintiff’s efforts to lease the Premises thereby breaching the terms of the mortgage

agreements between Kuwait and Plaintiff. Further, Galleria is entitled to reinstate the loan and

avoid foreclosure, yet Kuwait refuses reinstatement and demands payment in full. Regardless,

Kuwait’s loan is nowhere near maturity, and Galleria has an absolute right to reinstate the mortgage

and avoid foreclosure.

        40.      Additionally and/or in the alternative, the subject loan documents are valid and

enforceable agreements. Galleria performed its obligations under the loan documents through

September 2021, if not later. Paragraph 5.27 provides that Galleria was not to enter into any

Material Lease without Kuwait’s approval.

        41.      Kuwait was obligated to perform its obligations under and enforce the loan

documents in good faith. Kuwait breached that duty of good faith by withholding approval of

leases, timely or otherwise, without reasonable basis. Additionally and/or in the alternative,

Kuwait was obligated to exercise reasonable discretion in the approval or disapproval of leases.

Kuwait’s refusal to approve the leases in a timely manner constitutes a breach of contract dating

back to February or March 2019 when Kuwait failed to approve, timely or otherwise, the Sonder

leases exercising reasonable discretion.


2
 Winchek v. American Express Travel Related Servs. Co., 232 S.W.3d 197, 202 (Tex. App.-Houston [1st Dist.] 2007,
no pet.) (emphasis added).




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          42.   Kuwait’s breach of the duty of good faith in the approval of leases constitutes a

material breach and wrongful repudiation of the loan documents. Such breach proximately

caused economic damages and consequential damages to Galleria. Specifically, Galleria has

been unable to lease space at the Property or sell the Property on account of the described

conduct. A sale of the Property for $85 million failed as a consequence of Kuwait’s conduct.

Space at the Property could not be leased because of Kuwait’s conduct. Rents from tenants in

excess of $5 million have been lost as a consequence of the conduct.

          43.   WHEREFORE, Plaintiff requests this Court enter judgment for Plaintiff and against

Defendant for actual damages in such amount as is fair and reasonable, for Plaintiff’s attorney’s

fees and costs incurred herein, and for such other and further relief as this Court deems just and

proper.

                        J. Count IV – Common Law Fraud Against Kuwait

          44.   Plaintiff adopts and incorporates herein by reference all prior paragraphs of this

Petition as though fully set forth herein.

          45.   Additionally and/or in the alternative, Kuwait committed common law fraud

because it made material misrepresentations upon which Galleria relied. Kuwait induced Galleria

to enter into the loan agreements with no intention of honoring same. Kuwait intended for

Galleria to rely on its misrepresentations, and Galleria relied on Kuwait’s misrepresentations by

entering into the loan agreements.

          46.   Galleria suffered monetary damages, attorneys’ fees and costs, and other sums

within the jurisdictional limits of this Court.

          47.   Additionally and/or in the alternative, between January and March 2019, Galleria

advised Kuwait of 2 potential leases of the Property by Sonder USA Inc. (“Sonder”). Kuwait




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orally approved the leases and orally promised to provide Galleria funds to cover tenant

improvements and brokerage commissions for the leases. Knowing that Galleria could not enter

into the Sonder leases without money tenant improvements and commissions, Kuwait followed

up the oral promise of funds with conduct confirming the promise.

       48.     Kuwait’s representations were material because Galleria would not have entered

into the Sonder leases without those representations of approvals and funding.          Kuwait’s

representations were false statements of fact: Kuwait intended to play semantic games regarding

the approval of the leases and was not going to provide the promised funds. Alternatively,

Kuwait’s representations were false statements of opinion Kuwait knew Galleria would rely on

because of Kuwait’s knowledge of Galleria’s situation. Kuwait’s conduct as described above by

obtaining appraisals and conduct suggesting approval amounted to false representations to

Galleria.

       49.     To further evidence Kuwait’s approval of the lease and promise of funding of

commissions and improvements, Kuwait ordered an appraisal of the Property, specifically

including the cash flow generated by the Sonder lease.

       50.     However, Kuwait made those representations knowing they were false – Kuwait

had no intent to provide the promised funding and Kuwait later took the position that the Sonder

leases were not approved. Or, Kuwait made the representations recklessly, as positive assertions,

and without knowledge of their truth.

       51.     Kuwait intended for Galleria to rely on the representations or had reason to expect

Galleria to act in reliance on the representations.




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        52.      Based on such promises, Galleria executed the leases with Sonder in February and

March 2019. Upon execution of the leases, Galleria became obligated to pay the real estate

brokers advising on the leases their commission.

        53.      Justifiably relying on the promise of funds and lease approval, Galleria executed

the leases and paid the commissions due the brokers.

        54.      Galleria was forced to seek alternate funding because of Kuwait’s refusal to honor

its promises. Kuwait’s lien position meant that a loan to Galleria would be subordinate, and thus

undesirable to lenders generally.

        55.      Kuwait’s notices of default made the subject of this petition cite Galleria’s

entering into the Sonder leases without permission as events of default. Galleria would not have

entered into the leases without Kuwait’s representations that the leases were approved.

        56.      Meanwhile, by March 2020, Sonder decided it did not want to honor the leases

and claimed that it was no longer bound by the leases. The Sonder leases represented income to

Galleria in excess of $45,525,000. It is reasonably probable that but for Kuwait’s conduct as

described in this petition, Galleria would have received rents in excess of $45,525,000.

        57.      Galleria’s reliance on the promise of funds resulted in Galleria’s loss of rents on

account of the described funding delays. Galleria’s reliance on the described lease approvals and

promise of funds resulted in delays that resulted in the loss of rents in excess of $45,525,000.

        58.      WHEREFORE, Galleria requests this Court enter judgment in favor of Galleria and

against Defendants for actual, consequential and punitive damages i n a n a m ou n t w i t h i n

t h e j u r i s di c t i on of t h i s C o ur t , for Galleria’s attorney’s fees and costs incurred herein, and

for such other and further relief as this Court deems just and proper.




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      K. Count V – Tortious Interference with Prospective Relations and Existing
                                      Contracts

       59.     Plaintiff adopts and incorporates herein by reference all prior paragraphs of this

Petition as though fully set forth herein.

       60.     Additionally and/or in the alternative, Kuwait’s illegitimate, unreasonable refusal

to approve tenants tortiously interfered with Galleria’s business relationships. Kuwait’s

calculated notices of default (and defective notices of intent to accelerate) and wrongful posting

for foreclosure disrupted a refinance of the Property that would pay off Kuwait, and Kuwait

intentionally frustrated Galleria’s efforts to pay off Kuwait through refinancing. Wrongly

posting the Property for foreclosure disrupted relations with sophisticated professionals who are

aware of these kind of actions by Kuwait. Kuwait simply does not want Galleria to be successful

and, in the meantime, wants to foreclose and is making every effort to impede these other

contractual relations to prevent Galleria from increasing income and tenancy. Any time

prospective tenants, investors, or lenders would appear to be interested, for example, Kuwait’s

actions caused these groups to lose interest.

       61.     Tenants do not want to go into a building that is in the foreclosure process. But for

the wrongful posting, Galleria would have been able to resolve the matter with Kuwait.

       62.     Kuwait was aware of and tortiously interfered with the Sonder leases by refusing

authority for same, as well as certain others, including but not limited to Resmed Corp., Beyond

Finance, LLC, Banca Afirme SA Institucion de Banca Multiple Grupo Financiero and TX

Invesco, LP.

       63.     Kuwait’s interference with Galleria’s business relationships proximately caused

injury to Galleria, including actual damages, loss of prospective tenants, and other business losses

and ongoing carrying costs.



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                       L. Count VI Against Lee – Quiet Title Against George Lee

       64.     Plaintiff adopts and incorporate herein by reference all prior paragraphs of this

Petition as though fully set forth herein.

       65.     Additionally and/or in the alternative, quiet title is brought in equity to remove the

existence of a cloud on the title. A suit to quiet title is equitable and allows any person claiming

any title, estate, or interest in real property to institute an action against any person or persons

having or claiming to have any title, estate, or interest in such property to have the court

determine the estate, title, or interest of said parties, respectively, in such real estate, and to

define and adjudge by its judgment or decree the title, estate and interest of the parties severally

in and to such real estate. See e.g., Vernon v. Perrien, 390 S.W.3d 47, 61 (Tex. App.—El Paso

2012, pet. denied); Essex Crane Rental Corp. v. Carter, 371 S.W.3d 366, 388 (Houston [1st

Dist.] 2012, pet. denied); Longoria v. Lasater, 292 S.W.3d 156, 165 n.7 (Tex. App.—San

Antonio 2009, pet. denied).

        66.        Lee received all sums due and owing to him, and he released his lien. Nevertheless,

he repudiated the Release of Lien and claims the lien remains and that he has an equitable lien

and/or interest.

       67.     Lee possesses no right, title, or interest in and to the Property superior to that of

Plaintiff because Lee received funds sufficient to pay off everything he was owed. Same is adverse

to Plaintiff’s interest in the Property. A justiciable controversy exists concerning title to the

Property and the nature and extent of Lee’s interest. Plaintiff has no adequate remedy at law.

       68.     WHEREFORE, Plaintiff prays for judgment (i) quieting title to the Property free

and clear of any lien alleged held by Lee, (ii) finding that Lee has no interest in or to the Property

and (iii) awarding such other and further relief as this Court deems just and necessary.


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                       M. Count VII Against Kuwait – Promissory Estoppel

       69.     Plaintiff adopts and incorporate herein by reference all prior paragraphs of this

Petition as though fully set forth herein.

       70.     Additionally and/or in the alternative, between January and March 2019, Galleria

advised Kuwait of 2 potential leases of the Property by Sonder. Kuwait orally approved the

leases and orally promised to provide Galleria funds to cover tenant improvements and

brokerage commissions for the leases. Knowing that Galleria could not enter into the Sonder

leases without money tenant improvements and commissions, Kuwait followed up the oral

promise of funds with conduct confirming the promise.

       71.     Based on such promises, Galleria executed the leases with Sonder in February and

March 2019. Upon execution of the leases, Galleria became obligated to pay the real estate

brokers advising on the leases their commission.

       72.     To further evidence Kuwait’s approval of the lease and promise of funding of

commissions and improvements, Kuwait ordered an appraisal of the Property, specifically

including the cash flow generated by the Sonder lease.

       73.     Relying on the promise of funds and lease approval, Galleria executed the leases

and paid the commissions due the brokers. However, instead of providing the promised funding

for commissions and tenant improvements in March 2019, Kuwait instead denied that the leases

had been ever approved by Kuwait in the first place and refused to provide the promised funds to

support the Sonder leases. Such promised funds approximate $5.5 million.

       74.     Galleria was forced to seek alternate funding because of Kuwait’s refusal to honor

its promise to fund the Sonder leases. Kuwait’s lien position meant that a loan to Galleria would

be subordinate, and thus undesirable to lenders generally.




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       75.     Kuwait’s notices of default made the subject of this petition cite Galleria’s

entering into the Sonder leases without permission as events of default. Galleria would not have

entered into the leases without Kuwait’s representations that the leases were approved.

       76.     Meanwhile, by March 2020, Sonder decided it did not want to honor the leases

and claimed that it was no longer bound by the leases. The Sonder leases represented income to

Galleria in excess of $45,525,000. It is reasonably probable that but for Kuwait’s conduct as

described in this petition, Galleria would have received rents in excess of $45,525,000.

       77.     Galleria substantially and detrimentally relied on Kuwait’s promised approval of

the leases when Galleria entered into the Sonder leases and incurred brokerage commissions.

Galleria’s reliance on the promise of funds resulted in Galleria’s loss of rents.

       78.     Galleria’s reliance on Kuwait’s promised lease approvals and funds was

foreseeable. Galleria requested the funds and approvals, explained why they were necessary and

were promised same. Kuwait knew that Galleria could not enter into the Sonder leases without

Kuwait’s approvals and the promised funds – Galleria made that clear in correspondence that

such was necessary to get the lease.

       79.     Injustice can only be avoided by enforcing Kuwait’s promises.

       80.     WHEREFORE, Galleria requests this Court enter judgment in favor of Galleria and

against Defendants for actual damages and punitive damages within the jurisdictional limits of

this Court, for Galleria’s attorney’s fees and costs incurred herein, and for such other and further

relief as this Court deems just and proper.

   N. Count VIII – Claim for Breach of Fiduciary Duty / General Good Faith Duty

       81.     Plaintiff adopts and incorporate herein by reference all prior paragraphs of this

Petition as though fully set forth herein.




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         82.    Additionally and/or in the alternative, Kuwait assumed the role of ultimate

decision maker with respect to effectively all of Galleria’s business operations, including what

leases Galleria could or should enter into and the terms and provisions of such leases. Kuwait

even commenced granular review of lease provisions for purposes of negotiation of their

commercial negotiation. During the course of Galleria’s relationship, Kuwait exercised control

over Galleria through the purported subject loan agreement, recommended business and

ownership structures to Galleria, interjected itself into lease negotiations as described above, and

maintained such a close relationship with Galleria, that Galleria was justified in relying on

Kuwait to act in Galleria’s best interests with respect to the Property and its commercial

operation. O’Shea v. Coronado Transmission Co., 656 S.W.2d 5576 (Tex.App. – Corpus Christi

1983, writ ref’d n.r.e.).

         83.    Kuwait abused this fiduciary or special relationship by obtaining information and

taking action that Kuwait and using same against Galleria.           Kuwait disclosed Galleria’s

confidential financial information to third parties to further Kuwait’s own business interests, to

the detriment of Galleria. Kuwait interfered with Galleria’s leasing of the Property as described

above.

         84.    Kuwait abused its relationship with Galleria to induce alleged defaults under the

loan agreements with the clear intent to engage in the subject wrongful foreclosure scheme to

obtain a building worth over $100 million for the principal balance under the subject loan,

resulting in a windfall to Kuwait and its business partners to the obvious detriment of Galleria,

which stands to have all of its equity in the building lost as a result of Kuwait’s foreclosure

scheme.




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       85.     On account of the loan agreements and assumption of roles and conduct by the

Kuwait as consultant, lender and confidant, Kuwait (a) acquired influence and abused that

influence as described, (b) took advantage of its relationship with Galleria, (c) knew or had

reason to know of Galleria’s trust and confidence that Kuwait would maintain the confidentiality

of Galleria’s confidential financial information, reasonably approve leases, provide promised

funds for the Sonder leases, and (d) understood that a special trust, confidence or relationship

existed between Kuwait and Galleria. A special dependency was created and existed because of

Kuwait’s assumption of its role as business consultant, lender and confidant. Kuwait thus

assumed the fiduciary or common law good faith duties to Galleria.

       86.     However, Kuwait breached these duties by withholding promised funds,

disclosing Galleria’s confidential information to Galleria’s competitors in furtherance of

Kuwait’s business interests, and driving the loan, Galleria and Property into financial jeopardy,

alleged defaults and wrongful foreclosure, all as scheme to obtain the Property through the

described foreclosure scheme.

       87.         As the result of Kuwait’s breach of its fiduciary or good faith duties, Galleria is

entitled to damages in excess of $100 million, including actual damages, interest, costs, and

attorneys’ fees.

                        O. Count VIII – Claim for Negligent Misrepresentation

       88.     Plaintiff adopts and incorporate herein by reference all prior paragraphs of this

Petition as though fully set forth herein.

       89.     Additionally and/or in the alternative, between January and March 2019, Kuwait

advised Galleria to enter into the Sonder leases and represented that the leases were approved

and that Kuwait would provide funds for tenant improvements and brokerage commissions.




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          90.   Kuwait made the representations in the course of its business as Galleria’s lender.

Kuwait made the representations in the course of a transaction in which it had a pecuniary

interest. Kuwait made the representation for the guidance of others.

          91.   Kuwait’s representation was a misstatement of fact or opinion, Kuwait would not

provide the promised funds or approve the Sonder leases. Alternatively, Kuwait’s

misrepresentation was a failure to disclose information when Kuwait had a duty to do so,

specifically Kuwait did not intend to release the promised funds and approve the Sonder leases.

          92.   Kuwait did not use reasonable care in obtaining and communicating the

information to Galleria.

          93.   Galleria actually and justifiably relied on Kuwait’s representations when Galleria

entered into the Sonder leases and incurred brokerage commissions. Galleria’s reliance on the

representations resulted in Galleria’s loss of rents in excess of $45,525,000.

          94.   Kuwait’s misrepresentations proximately caused Galleria injury as described

above.

          95.   WHEREFORE, Galleria requests this Court enter judgment in favor of Galleria and

against Defendants for actual damages in excess of $$45,525,000, for Galleria’s attorney’s

fees and costs incurred herein, and for such other and further relief as this Court deems just and

proper.

                           P. Count VIII Against Kuwait – Slander of Title

          96.   Plaintiff adopts and incorporate herein by reference all prior paragraphs of this

Petition as though fully set forth herein.

          97.   Additionally and/or in the alternative, Galleria possessed the Property and sought

to lease the Property at all material times. On September 15, 2021, Kuwait filed its wrongful




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notice of foreclosure with the Harris County Clerk seeking the foreclosure of its lien against the

Property.

          98.    In or around the time of the foreclosure notice GalloWorks was ready, willing and

able to lease 4 floors of the Property at the rate of $75,000 per floor per month.

          99.    Kuwait’s foreclosure notice was false or wrongful for the reasons stated herein.

          100.   Kuwait’s foreclosure notice was recorded with the Harris County Clerk with legal

malice.

          101.   As a result of the recording of the foreclosure notice, GalloWorks at the time

failed to enter into the lease of the 4 floors as a result of the noticed wrongful foreclosure.

          102.   Accordingly, Kuwait’s wrongful foreclosure notice caused injury to Galleria,

which resulted in the loss of rents.

          103.   WHEREFORE, Galleria requests this Court enter judgment in favor of Galleria and

against Defendants for actual damages within the jurisdictional limits of this Court, for

Galleria’s attorney’s fees and costs incurred herein, and for such other and further relief as this

Court deems just and proper.

       Q. Application for Temporary Restraining Order and Application for Temporary
                                          Injunction

          104.   Plaintiff adopts and incorporates herein by reference all prior paragraphs of this

Petition as though fully set forth herein.

          105.   By Defendant’s unlawful conduct, Plaintiff has suffered and continues to suffer

immediate and irreparable harm that cannot be adequately compensated by an award of damages,

namely the loss of extremely valuable, unique, Harris County Real Estate. Plaintiff is entitled to

injunctive relief to force Kuwait, its successor and/or assigns, and any and all trustees and/or




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substitute trustees acting by, through, or under them including, without limitation, Josh D. Morton,

Laura E. Hannusch, and Adam Weaver, to refrain from continuing such unlawful conduct.

       106.    Defendant already confirmed in writing that its unlawful conduct will continue and

that Defendant will foreclose on the Property unless this Court immediately enjoins, its successor

and/or assigns, and any and all trustees and/or substitute trustees acting by, through, or under them

including, without limitation, Josh D. Morton, Laura E. Hannusch, and Adam Weaver, from

foreclosing. See Exhibit D, Email from Kuwait’s counsel confirming that foreclosure sale will

proceed.

       107.    Plaintiff requests a Temporary Restraining Order to maintain the status quo

pursuant to Texas Civil and Practice Remedies Code Section 65.011. Unless Kuwait, its successor

and/or assigns, and any and all trustees and/or substitute trustees acting by, through, or under them

including, without limitation, Josh D. Morton, Laura E. Hannusch, and Adam Weaver, are

immediately restrained, they will cause substantial and irreparable harm to Plaintiff, namely the

potential, irreversible loss of the Property by virtue of a sale to a third party for a sizeable profit.

Plaintiff ask the Court to maintain status quo and restrain Defendant Kuwait, its successor and/or

assigns, and any and all trustees and/or substitute trustees acting by, through, or under them,

including, without limitation, Josh D. Morton, Laura E. Hannusch, and Adam Weaver, from

foreclosing on the Property until such time as all claims and causes of action in this lawsuit are

resolved.

       108.    Unless Defendant Kuwait, its successor and/or assigns, and any and all trustees

and/or substitute trustees acting by, through, or under them including, without limitation, Josh D.

Morton, Laura E. Hannusch, and Adam Weaver, are enjoined, they will continue to take advantage

of Plaintiff and potentially complete a foreclosure sale of the Property without lawful and proper




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notices which will greatly prejudice Plaintiff. Any attempt to take action against Plaintiff or that

would prejudice Plaintiff in connection with this unique piece of Harris County real estate will

cause Plaintiff to suffer imminent, irreparable harm for which no adequate remedy at law exists if

Defendant Kuwait, its successor and/or assigns, and any and all trustees and/or substitute trustees

acting by, through, or under them are not enjoined from these actions. The irreparable harm

includes, but is not limited to, injury and a complete loss of Plaintiff’s business and/or business

reputation and/or business goodwill if the valuable real estate Plaintiff owns is lost to foreclosure.

       109.    Black letter Texas law confirms that Plaintiff’s Notice of Intent to Accelerate is

fatally defective which renders the subsequent Notice of Acceleration and Notice of Sale

ineffective. Furthermore, the Court cannot allow Kuwait to benefit from or foreclose after

Kuwait’s bad acts that prevented Plaintiff from refinancing and leasing the premises. Plaintiff is

likely to succeed on the merits of this suit because Defendant has acted unilaterally, unlawfully,

and without the proper authority to take any of these actions.

       110.    The injunctive relief Plaintiff seeks will do no more than maintain status quo.

Plaintiff asks the Court to set this application for temporary injunction for a hearing and, after

hearing, issue a temporary injunction against Defendant Kuwait, its successor and/or assigns, and

any and all trustees and/or substitute trustees acting by, through, or under them including, without

limitation, Josh D. Morton, Laura E. Hannusch, and Adam Weaver, restraining Kuwait, its

successor and/or assigns, and any and all trustees and/or substitute trustees acting by, through, or

under them until a final trial on the merits or arbitration can be heard.

       111.    Other than equitable relief, Plaintiff has no adequate remedy a law with respect to

the actions Plaintiff seeks to enjoin. Without equitable relief, Plaintiffs would suffer irreparable




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injuries such as complete loss of its business and loss of reputation and/or business goodwill among

tenants and prospective tenants, among others.

       112.      In support of Plaintiff’s Application for Temporary Restraining Order, Plaintiff and

Plaintiff’s representatives executed Affidavits confirming all facts set forth herein.

                                     R. Attorney’s Fees and Costs


       113.      Plaintiff adopts and incorporates herein by reference all prior paragraphs of this

Petition as though fully set forth herein.


       114.      Plaintiff had to employ the services of an attorney to prosecute this lawsuit against

Defendant. Texas law and the Loan Documents allow Plaintiff to recover attorneys’ fees and costs.

For these reasons, Plaintiff seeks reimbursement of any and all reasonable and necessary attorneys’

fees and costs it incurred in prosecution of this matter.

                                       S. Conditions Precedent

       115.      All conditions precedent to Plaintiff’s claims for relief have been performed or

have occurred.

                                        T. Exemplary Damages

       116.      Plaintiff adopts and incorporates herein by reference all prior paragraphs of this

Petition as though fully set forth herein.

       117.      Plaintiff’s injury resulted from Kuwait’s malice and actual fraud, which entitles

Plaintiff to exemplary damages under Texas Civil Practice & Remedies Code section 41.003(a)

as has been described above. As such, Plaintiff seeks exemplary damages from Kuwait in an

amount within the jurisdictional limits of this court.




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                                           U. Respondeat Superior

            118.   At the time of the incident made the basis of this suit, Defendants’ agents,

servants and employees were in fact their agents, servants and employees, and acting within the

scope of their employment and authority as their agents, servants and employees.

                                       V. Tex. R. Civ. P. 193.7 Notice

            119.   This paragraph serves as continuing notice, pursuant to Tex. R. Civ. P. 193.7, that

any and all documents produced in response to written discovery served by Plaintiff will be used

against the producing party in any pretrial proceedings and/or trial.

                                               W. Jury Demand

            120.   Plaintiff hereby requests a jury trial.

                                                   X. Prayer
            WHEREFORE, PREMISES CONSIDERED, as a direct and proximate cause of Defendant’s

actions and the actions of its successor and/or assigns, and any and all trustees and/or substitute

trustees acting by, through, or under them including, without limitation, Josh D. Morton, Laura E.

Hannusch, and Adam Weaver, as outlined above, Plaintiff suffered and continues to suffer

significant monetary damages including, without limitation, complete loss of the Property.

Damages are within the minimum jurisdictional limits of this Court. Plaintiff, therefore, prays that

Defendant be cited to appear herein, that upon trial Defendant is held liable for (i) the causes of

action Plaintiff pleads and (ii) Plaintiff’s damages. Specifically, Plaintiff prays for the following:

       i.          Actual economic damages;

      ii.          Exemplary damages;

     iii.          Declaratory relief as requested herein;

     iv.           Quiet title requested herein;




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     v.     Reasonable and necessary attorneys’ fees in an amount to be determined by the
            Court;

    vi.     Costs of Court;

   vii.     Temporary and permanent injunctive relief;

   viii.    Pre-judgment and post-judgment interest; and

    ix.     Any other damages or relief to which Plaintiff is justly entitled.

                                   Respectfully submitted,

                                   NICHAMOFF LAW PC

                                   /s/ Seth A. Nichamoff
                           By:     ___________________________
                                   Seth A. Nichamoff
                                   State Bar No. 24027568
                                   2444 Times Boulevard, Suite 270
                                   Houston, Texas 77005
                                   (713) 503-6706 Telephone
                                   (713) 360-7497 Facsimile
                                   seth@nichamofflaw.com

                                           -and-

                                   THE ZWERNEMANN LAW FIRM

                                        Allen H. Zwernemann
                                        State Bar No. 24034755
                                        FID No. 2851120
                                        800 Sawyer Street
                                        Houston, Texas 77007
                                        Tel: (281) 221-7168
                                        Fax: (281) 783-4247
                                         E-mail: az@azlf.com

                                           -and-




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                                      MacGeorge Law Firm, PLLC
                                      2425 W Loop S, 11th Floor
                                      Houston, TX 77027
                                      P: (512)729-0261
                                      jmac@jlm-law.com

                                          Jennifer L MacGeorge
                                          Attorney for Plaintiff
                                          SBN: 24093627

                                      ATTORNEYS FOR PLAINTIFF

                                    CERTIFICATE OF SERVICE

        I certify that on Wednesday, June 8, 2022, I served a copy of the foregoing instrument on
the parties listed below by electronic service and that the electronic transmission was reported as
complete. My e-mail address is seth@nichamofflaw.com.

Charles C. Conrad
charles.conrad@pillsburylaw.com
Ryan Steinbrunner
ryan.steinbrunner@pillsburylaw.com
Two Houston Center
909 Fannin, Suite 2000
Houston, Texas 77010-1018

Attorneys for Defendant
                                      /s/ Seth A. Nichamoff
                              By:     ___________________________
                                      Seth A. Nichamoff




                                                27                                           001045
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Seth Nichamoff
Bar No. 24027568
seth@nichamofflaw.com
Envelope ID: 65268945
Status as of 6/9/2022 8:07 AM CST

Case Contacts

Name                     BarNumber   Email                                TimestampSubmitted    Status

Seth Nichamoff                       seth@nichamofflaw.com                6/8/2022 7:27:23 PM   SENT

Jason Carrington Norwood 24027579    jason@jcnorwood-law.com              6/8/2022 7:27:23 PM   SENT

Elizabeth Klingensmith   24046496    Liz.Klingensmith@pillsburylaw.com    6/8/2022 7:27:23 PM   SENT

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Nancy Jones                          nancy.jones@pillsburylaw.com         6/8/2022 7:27:23 PM   SENT

Jorge Borunda            24027205    jorge@borundapc.com                  6/8/2022 7:27:23 PM   SENT

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Yolanda Rodriguez                    yolanda.rodriguez@pillsburylaw.com   6/8/2022 7:27:23 PM   SENT

Jetall Legal                         legal@jetallcompanies.com            6/8/2022 7:27:23 PM   SENT

Michael Clardy                       mclardy@jlm-law.com                  6/8/2022 7:27:23 PM   SENT

Allen Zwernemann                     AZ@AZLF.com                          6/8/2022 7:27:23 PM   SENT




                                                                                           001046
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                             EXHIBIT D




                                                                           001047
                                                                                     8/25/2022 10:11:27 AM
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                                                                                     Marilyn        of 1090
                                                                                              Burgess   - District Clerk
                                                                                     Harris County
                                                                                     Envelope No: 67648213
                                                                                     By: LUGO, BONNIE
                                                                                     Filed: 8/25/2022 10:11:27 AM
                                        Cause No. 2021-63370                                                       Pgs-1
                                                                                                                   Pgs-1

GALLERIA     2425 OWNER,      LLC,                §                     IN THE DISTRICT      COURT
                                                                                                                   4A
                                                                                                                   4A
                                                  §
        Plaintiff,                                §
                                                  §
VS.                                               §                     OF HARRIS     COUNTY,    TEXAS
                                                  §
NATIONAL BANK OF KUWAIT, S.A.K.P.,                §
ANEW YORK BRANCH and GEORGE M.                    §
LEE,                                              §
                                                  §
        Defendants.                               §                     2815T JUDICIAL DISTRICT

                        ORDER ON PLAINTIFF’S NOTICE OF NONSUIT
                  AS TO DEFENDANT NATIONAL BANK OF KUWAIT, S.A.K.P.

        The Court has considered Plaintiff Galleria 2425       Owner,     LLC’s   (“Galleria”) Notice      of

Nonsuit With Prejudice as to Defendant National Bank of Kuwait,          S.A. K.P. (“NBK”) only, and has

decided to GRANT the Nonsuit in regard to claims asserted by Galleria against NBK.

        It is    therefore   ORDERED,    ADJUDGED,      and    DECREED        that    this   dismissal   with

prejudice of all claims asserted by Galleria against only NBK is GRANTED.             Each of Galleria and

NBK is to bear their own costs and expenses.

        This Order does not affect the claims asserted by Galleria against the remaining defendant in

this action, George M. Lee.



                                                  8/31/2022
                                                  Presiding Judge




4868-6339-7423
                                                                                                     001048
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                             EXHIBIT E




                                                                           001049
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                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                 Envelope No. 82036951
                                                                                                  By: Domonique Palmer
                                                                                              Filed: 11/29/2023 9:17 AM

                                    CAUSE NO. 2023-43755

NAISSANCE GALLERIA, LLC                         §            IN THE DISTRICT COURT OF
                                                §
                  Plaintiff,                    §
                                                §
v.                                              §                 HARRIS COUNTY, TEXAS




                                                                              k
                                                                           ler
                                                §
AZEEMEH ZAHEER                                  §




                                                                        tC
                                                §




                                                                    ric
 Defendant.                                     §




                                                                 ist
                                                §
                                                §                 80TH JUDICIAL DISTRICT




                                                              sD
                                                          es
       PLAINTIFF’S AMENDED PETITION & EMERGENCY APPLICATION FOR



                                                        rg
     TEMPORARY RESTRAINING ORDER AGAINST DEFENDANT NATIONAL BANK
                            OF KUWAIT S.A.K.P.      Bu
                                                    n
        Naissance Galleria, LLC (“Plaintiff”) files this Amended Petition and Emergency
                                              ily
                                            ar


 Application for Temporary Restraining Order against National Bank of Kuwait S.A.K.P., New
                                        M




 York Branch (individually as “NBK”, or collectively as “Defendant”) and, in support, submit the
                                      of
                                    e




 following:
                                ffic




                                           I.
                               O




                                     DISCOVERY PLAN
                           y
                        op




        1.     Discovery should be conducted pursuant to Level 2 of Rule 190.3 of the Texas
                     C




 Rules of Civil Procedure.
                 ial
              fic




                                             II.
                                           PARTIES
              of
        Un




        2.     Naissance Galleria, LLC (“Plaintiff”) is a limited liability company doing business

 in Texas and is mezzanine lender to Galleria 2425 JV, LLC (“JV”). The JV is the sole member of




                                                                                              Page | 1



                                                                                                  001050
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Galleria 2425 Owner, LLC (Owner”), which is the 100% owner of the building located at 2425

West Loop S., Houston, Texas 77027 (“2425 Building”).

       3.      Azeemeh Zaheer (“Zaheer”), is an individual who resides, and has appeared and is

represented by counsel Rodney Drinnon, 2000 West Loop South, Suite 1850, Houston, Texas




                                                                                 k
                                                                              ler
77027 and David Tang, 6711 Stella Link, #343, West University Place, Texas 77005. ZAHEER




                                                                           tC
HAS APPEARED.




                                                                       ric
                                                                    ist
                                                                 sD
       4.      National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) is a banking




                                                              es
corporation organized under the laws of Kuwait, acting through its New York Branch. This party



                                                           rg
may be served through its counsel, Charles Conrad, Two Houston Center, 909 Fannin, Suite 2000,
                                                       Bu
Houston, Texas 77010-1018, and via email: charles.conrad@pillsburylaw.com. CITATION IS
                                                    n
                                                 ily

REQUESTED.
                                              ar
                                          M
                                        of




                                            III.
                                     e




                                        INTRODUCTION
                                 ffic




       5.      Defendant Zaheer was previously the managing member of Naissance Galleria
                           y O




LLC, however on or about July 3, 2020, Defendant Zaheer assigned all control of Naissance
                        op




Galleria, LLC to Ali Choudhri. On or about July 3, 2020, Defendant Zaheer ceased having any
                     C
                 ial




“powers, rights, privileges, duties and discretion” as it pertains to Plaintiff Naissance Galleria LLC.
              fic




Defendant Zaheer sent an email correspondence to Plaintiff’s current managing member regarding
            of
       Un




her transfer of interest to Plaintiff’s current managing member, which for all intents and purposes

terminated and ratified the interest transfer by Defendant Zaheer for Naissance Galleria LLC.




                                                                                         Page 2 of 29



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        6.      Plaintiff Naissance Galleria LLC has been operating under the control of its current

managing member since the execution of the assignment on July 3, 2020 and it is unconscionable

to discover that Defendant Zaheer, three (3) years after executing the assignment is now suddenly

asserting that she manages and has control over Naissance Galleria LLC. Moreover, Defendant




                                                                                  k
                                                                               ler
Zaheer retained counsel and initiated litigation against third parties on behalf of Naissance




                                                                            tC
Galleria, LLC three (3) years after executing the assignment. Most shockingly is that fact that,




                                                                        ric
without any appearance or objection by Zaheer, the managing member of Naissance Galleria, Ali




                                                                     ist
                                                                  sD
Choudhri, who has controlled Naissance Galleria LLC since around July 2020, has initiated




                                                              es
lawsuits against Defendant Bank of Kuwait, and has entered into a sealed confidential settlement



                                                            rg
agreement on behalf of Naissance Galleria, LLC with Defendant Bank of Kuwait which is the
                                                       Bu
subject of another litigation.
                                                     n
                                                  ily

        7.      A lawsuit was originally filed against NBK, a party who has been shown to be
                                               ar
                                           M




willing to engage in bad faith actions amounting to lender liability, because of its repeated attempts
                                        of




to make outside deals with third parties to specifically deprive the JV and Owner of their ownership
                                      e
                                  ffic




interest, and Plaintiff of its collateral interest in the 2425 Building, in any way it can.
                                 O




        8.      Galleria 2425 Owner, LLC, filed bankruptcy to preserve the asset, which NBK
                           y
                        op




vehemently opposed, and fought to have dismissed from the bankruptcy court. However, at the
                     C




hearing on NBK’s motion to dismiss, Galleria 2425 Owner, LLC was successful in defending
                  ial
               fic




against dismissal, and the bankruptcy case moved forward.
             of




        9.      Galleria 2425 Owner, LLC promptly proposed a plan in the bankruptcy court,
        Un




which was characterized as a “really smart” plan that “check[ed] all the boxes” for plan

confirmation, according to Judge Lopez.



                                                                                              Page 3 of 29



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       10.     Then, after Defendant NBK lost its motion to dismiss, true to its pattern of behavior,

it continued to engage in more bad faith actions by conspiring with Azeemeh Zaheer, and perhaps

other yet unknown parties, to create confusion that caused havoc and further disrupted the

bankruptcy case.




                                                                                k
                                                                             ler
       11.     Notably, Judge Manor, in this matter, which is referenced in NBK’s letter to Judge




                                                                          tC
Lopez, did issue a Temporary Injunction, which maintained the status quo of Choudhri’s




                                                                      ric
management and control of Naissance Galleria, LLC, but limited any actions that could be




                                                                   ist
                                                                sD
taken by Choudhri on behalf of Naissance Galleria, LLC to only those which are also




                                                             es
approved by Zaheer, until a trial resolves the issue once and for all.



                                                          rg
       12.     After the Temporary Injunction was in place establishing Choudhri’s control of
                                                      Bu
Naissance Galleria, LLC, Counsel David Tang and Rodney Drinnon acting for Azeemeh Zaheer,
                                                   n
                                                ily

appeared in violation of this TRO and purported to act for Naissance Galleria, LLC. They appeared
                                              ar
                                          M




on behalf of Naissance Galleria, LLC, at two separate hearings in the bankruptcy court, on or about
                                       of




October 12th, 2023 and November 1st, 2023. Even more egregiously, these same parties, again
                                     e
                                ffic




acting in express violation of the Temporary Injunction, filed a motion to lift the stay in the
                             O




bankruptcy court, which is entirely against the fiduciary interests of plaintiff, and they request for
                           y
                        op




Judge Lopez to rule against the this Court and find that Zaheer had control of, and could act for
                     C




Naissance Galleria, LLC.
                 ial
              fic




       13.     When the parties to the state court litigation returned to appear before this Court on
             of




November 13th, 2023, Judge Manor confirmed that her Temporary Injunction did not give Zaheer
       Un




any right to act as the manager of Naissance Galleria, LLC, and confirmed that Choudhri was in

control, subject to Zaheer’s approval during the pendency of trial.



                                                                                        Page 4 of 29



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        14.     All of these actions, including the actions taken by Zaheer in direct violation of this

Court’s temporary injunction, gave rise to Judge Lopez’s serious concerns about the ability to

move forward with the bankruptcy case without resolution in the state court action. Judge Lopez

stated in the November 1st, 2023 Status Conference the following:




                                                                                  k
                                                                               ler
        “I don’t have anything to qualify it in state court issues. I don’t know. There’s just a lot of




                                                                            tC
        confusing stuff, and my gut tells me that I need to dismiss this case and let you all go figure




                                                                        ric
        this out in State Court, because there’s not enough here, and there’s real concerns that I




                                                                     ist
                                                                  sD
        have…”.




                                                              es
        15.     The fact that Zaheer, allegedly acting on behalf of Naissance filed these



                                                           rg
appearances and motions in violation of the Temporary Injunction not only makes these actions
                                                       Bu
unlawful, but there could be no other purpose aside from attempting to cause the dismissal of the
                                                    n
                                                 ily

bankruptcy case brought by Galleria 2425 Owner, LLC, which is an action that, logically, would
                                              ar
                                           M




be counter to the company’s fiduciary interests.
                                        of




        16.     In its letter, NBK cleverly attempts to confuse the court by implying that Ms.
                                     e
                                 ffic




Zaheer had control of Naissance Galleria, LLC because the order says that management decisions
                              O




could not be made without her approval. This is exact same argument Zaheer made before being
                           y
                        op




shut down by this Court itself, stating that its Temporary Injunction left Mr. Choudhri in control,
                     C




subject to Zaheer’s approval, in order to freeze all actions of the parties until trial, except that Mr.
                 ial
              fic




Choudhri’s actions on behalf of Naissance Galleria, LLC in the instant suit have been expressly
              of




permitted.
        Un




        17.     Judge Weems in the 281st Civil District Court has handled cases related Galleria

2425 Owner, LLC for years, and is well aware that Ms. Zaheer has been entirely absent from any

of these proceedings until on or about July 5th, 2023, when Mr. Tang appeared, allegedly for
                                                                                          Page 5 of 29



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Naissance Galleria, LLC, before that Court’s ancillary docket, attempting to stop the foreclosure

by NBK, at which hearing Judge Weems questioned the absence of Ms. Zaheer over the last several

years, and denied the TRO, as it was not believable to Judge Weems that Zaheer had authority to

act on behalf of Naissance Galleria, LLC.




                                                                             k
                                                                          ler
       18.    From July 3rd, 2020, the date of signing, until or July 5th, 2023, Defendant Zaheer




                                                                       tC
did not make any claims of control over Naissance Galleria, LLC, did not attempt to object to or




                                                                   ric
interfere with Mr. Choudhri’s management of the company, and did not make allegations of




                                                                ist
                                                             sD
forgery regarding the assignment of the company to Choudhri. These allegations are absurd, as




                                                          es
Defendant Zaheer has been entirely absent from the company’s management for years.



                                                       rg
       19.    As a result of this conspiracy by the Defendant Bank of Kuwait and Defendant
                                                   Bu
Zaheer falsely acting on behalf of Plaintiff Naissance Galleria LLC the emergency status
                                                 n
                                              ily

conference requested by NBK resulted in the dismissal of the bankruptcy case.
                                            ar
                                        M




       20.    What’s interesting is that, if Ms. Zaheer was authentically the manager of
                                     of




Naissance Galleria, LLC, and acting in the best interests of the company, she would not have
                                   e
                               ffic




worked tirelessly to have the bankruptcy case dismissed. The mezzanine debt, held by
                            O




Naissance Galleria, LLC is junior to, or behind the NBK debt, the second lien debt, and the
                          y
                       op




tax liens on the 2425 Building, and thus will be entirely wiped out if NBK forecloses on the
                    C




2425 Building, given its present valuation. In addition, the agreement between the JV and
                ial
             fic




Naissance Galleria, LLC is to treat equity and the mezzanine the same, and split the proceeds
             of




50/50, so if the building is foreclosed, all of these parties walk away with nothing.
       Un




       21.    Such actions, if they had been taken by a legitimate manager for Naissance Galleria,

LLC, would be a breach of fiduciary duty to the company, unless there was a back room deal

between Defendant Zaheer and Defendant Bank of Kuwait that provides Naissance Galleria, LLC
                                                                                     Page 6 of 29



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with more compensation than it would have been provided under the proposed bankruptcy plan.

Otherwise, dismissal of the bankruptcy leaves Naissance Galleria, LLC with zero repayment on

its mezzanine debt, where it would have received more than that through the proposed plan.

        22.    Now that NBK has re-posted the 2425 Building for foreclosure, Plaintiff will suffer




                                                                              k
                                                                           ler
irreparable harm as a result of the defendants’ actions.




                                                                        tC
                                          IV.




                                                                    ric
                                   FACTUAL BACKGROUND




                                                                 ist
        23.    In 2018, Defendant NBK loaned certain funds to Galleria Owner 2425, LLC and




                                                              sD
at the same time NBK has continually interfered with the Plaintiff’s ability to lease the 2425




                                                           es
Building to produce revenue and Plaintiff’s ability to sell the 2425 Building to pay NBK off. Every


                                                           rg
                                                     Bu
time NBK has so interfered, it has then blamed the Plaintiff for its inability supposedly to meet
                                                   n
some of the loan terms. What is now occurring is a simply a continuation of the long term
                                                ily
                                             ar


interference, because Defendant National Bank of Kuwait simply wants to own the building
                                         M




instead of being paid off.
                                       of
                                    e




        24.    For example, in January 2021, Plaintiff Ali Choudhri, who is vilified by NBK in
                                 ffic




various pleadings, had the building at 2425 West Loop South, Houston, Texas, the main asset of
                           y   O




the Plaintiff, had serious parties interested in building for a purchase price of $85 million, more
                        op




than enough to clear NBK’s debt. A letter dated January 15, 2021 from SIBS International and
                    C
                 ial




two purchase contracts which would have paid off not only NBK, but left the Plaintiff with a great
              fic




deal of value. NBK, rather than facilitate this sale, disclosed confidential information and
              of
        Un




sales issued a formal notice of default, while the SIBS International deal was in progress, killing

that deal.




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       25.      The same was true with regard to NBK’s interference with efforts to lease

space in the building to provide revenue so it could operate and make loan payments. By

August 2021, this situation had become untenable due to NBK’s refusal to approve new tenants

and new leases, prompting the Plaintiff on August 13, 2021 to send NBK a detailed letter regarding




                                                                                      k
                                                                                   ler
lease-up and renewal prospects for discussions, none of which, it seemed NBK would approve.




                                                                                tC
            Healthcare Service Organization




                                                                            ric
                      Size: 130,000+ RSF – large client requirement in their preliminary planning stages:




                                                                         ist
                       Industry: Healthcare Service Organization Type of use: Administration Offices
                       Direct/Sublease Commencement date: Q3/2023 Term:5-10 yrs. They are




                                                                      sD
                       specifically VERY interested in amenities available, for example: deli, gym, day care,
                       conference center (# of seats), training center (# of seats).




                                                                  es
                                                               rg
            Invesco

                                                          Bu
                       We met with the team twice and are actively pursuing them for 2425. They are
                       interested in a 157-month lease term for 208,830 SF of Net Rental Area.
                                                        n
                                                     ily

            Financial Services Firm
                                                  ar



                      Office AREA: West Houston (610 West, Hwy 290, Beltway 8) SPACE: Open
                                              M




                       Concept SIZE: Approximately 20,000 – 25,000 rsf PARKING: 5/1000 ratio
                                            of




                       OCCUPANCY: Late 2Q22/Early3Q22 TERM: 36-60 months with renewal options
                       This tenant is currently at 24 Greenway on their top floor and have been looking at
                                         e




                       other A buildings.
                                    ffic




            Beyond Finance
                              y  O




                      We are discussing a 68-month lease term for +/- 40,000 rentable SF.
                           op




            Banco Affirme
                        C
                  ial




                      We submitted a 64-month lease term for 4,545 SF of Net Rental Area.
               fic




            Walls Bank (existing tenant)
             of




                      Renew 3,054 SF of rental space for 60-month term starting January 1, 2022.
       Un




            Others (working directly with ownership)

                      ResMed (https://www.resmed.com/en-us/), interested in the entire building, working
                       directly with Dr. Peter Farrell, Founder and Chairman



                                                                                               Page 8 of 29



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                 Healthstore Holdings (https://www.healthstore.com/), interested in a 15-year term with
                  80,000 SF in phase 1 and 75,000 SF in 12 months as phase 2.

                 Immunicom (https://immunicom.com/), interested in at least two full floors, moving
                  HQ from San Diego, CA

       26.    Below is an August 16, 2021 email from counsel for the Plaintiff to NBK




                                                                                 k
forwarding multiple leases for approval that NBK had failed to approve or even respond to.




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                                                      Bu
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This lack of approval, or finding obstacles to approve, was not new. In September 2019, Related

Group had reached out to lease the parking garage located at the 2425 Building to be used for
                                                                                          Page 9 of 29



                                                                                                 001058
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overflow, for parking up to 110 spaces. NBK’s authorized representative Michael Carter

would not approve this lease (note “nbkny” email address below– i.e. National Bank of Kuwait,

New York Branch), which would have generated a great deal of revenue for the Plaintiff.




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                                                                           ler
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                                               ily

       27.     The situation became so untenable that in September 2021, Galleria 2425 Owner,
                                            ar



LLC initiated a lawsuit against NBK.
                                         M
                                       of




       28.     In good faith, even during the pendency of this litigation, the Galleria 2425 Owner,
                                   e
                               ffic




LLC was still trying to get tenants into the building and get NBK’s approval to do so, so it would
                            O




not claim additional breaches of loan agreements. On July 2, 2022, Galleria 2425 Owner, LLC
                          y
                       op




sent NBK five leases for approval, which NBK did not approve.
                    C




       29.     Defendant Bank of Kuwait and Galleria Owner 2425 LLC litigated for eleven (11)
                 ial




months until August 22, 2022, when they entered into a Confidential Settlement Agreement. The
              fic
             of




entire Confidential Settlement Agreement will be submitted to the Court in camera at the
       Un




appropriate time, and the Plaintiff – Naissance Galleria should be allowed to use it in this case

since the breach of that Settlement Agreement by NBK is not only actionable, but was also

devastating to Plaintiff. Because NBK has a way of interpreting any action of the Plaintiff as one

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to breach or avoid some purported contractual obligation or other, when the reverse is entirely true,

the Confidential Settlement Agreement has not been attached. NBK has prevented Galleria

2425 Owner, LLC’s successful performance under any and all agreements it has with NBK,

including the Confidential Settlement Agreement.




                                                                                k
                                                                             ler
       30.     The Confidential Settlement Agreement permitted a timeframe in which Galleria




                                                                          tC
2425 Owner, LLC could sell the 2425 Building, and Galleria 2425 Owner, LLC was successful




                                                                      ric
in receiving a hard Letter of Intent dated January 17, 2023 to purchase the building from Caldwell




                                                                   ist
                                                                sD
Soames. Again, while these negotiations were ongoing, NBK took actions which interfered with




                                                            es
the continuation and closing of that transaction, including issuing a notice of foreclosure on



                                                         rg
March 29, 2023 in breach of the Confidential Settlement Agreement, which Galleria 2425
                                                      Bu
Owner, LLC believes was done intentionally to prevent the sale. The sale would have cleared
                                                   n
                                                ily

the Bank of Kuwait debt as it stood at that time and left great value for Galleria 2425 Owner,
                                             ar
                                          M




LLC and Plaintiff. Plaintiff believes that Bank of Kuwait recognized that greater value and
                                       of




wanted to take it for itself by foreclosure in a “loan to own” gambit.
                                    e
                                ffic




       31.     There are tremendous factual inaccuracies that NBK represents to state and federal
                             O




courts and they continue into these proceedings. For example, in its Motion to Dismiss the
                           y
                        op




Plaintiff’s Bankruptcy, while it is absolutely true that temporary restraining orders were filed to
                    C




attempt to prevent a foreclosure by NBK and its takeover of the 2425 Building, they were also
                 ial
              fic




granted by this Court. The facts presented that NBK had not allowed the Galleria 2425
             of




Owner, LLC to lease up the building to generate revenue, and had killed two transactions
       Un




that Galleria 2425 Owner, LLC was working on that would have cleared NBK and left value

for the Galleria 2425 Owner, LLC.



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       32.     Additionally, NBK posted for foreclosure in 2023 early, and against an extended

grace period that this Court had given Galleria 2425 Owner, LLC, which silenced the bidding

process and interest in the 2425 Building completely. No one wants to buy a building posted for

foreclosure. Plaintiff believes that NBK knew this and did it on purpose to prevent the




                                                                              k
                                                                           ler
Galleria 2425 Owner, LLC from successfully selling the property and paying off the loan, so




                                                                        tC
NBK could foreclose and become the owner of the 2425 Building.




                                                                    ric
       33.     The absolute opposite is true. Representatives of Defendant NBK have admitted in




                                                                 ist
                                                              sD
writing that the following substantial payments have been made to Defendant NBK well after




                                                           es
March 6, 2021:



                                                        rg
               a)     $801,509.42 paid by Galleria 2425 Owner, LLC to Defendant NBK on
                      August 27, 2022;              Bu
                                                   n
               b)     $80,000 paid by Galleria 2425 Owner, LLC to Defendant NBK on April 18,
                                                  ily

                      2023;
                                            ar
                                         M




               c)     $80,000 paid by Galleria 2425 Owner, LLC to Defendant NBK on May 10,
                      2023.
                                      of
                                    e




This is almost One Million Dollars ($1,000,000) that not only does NBK not give credit to Galleria
                                ffic




2425 Owner, LLC for having made the payments, but again, it vilifies it, saying exactly the
                            O




opposite that no payments (zero) have been made since March 6, 2021.
                          y
                       op




       34.     After NBK’s disclosures of the situation created by the Confidential Settlement and
                    C
                 ial




the wrongful posting for foreclosure during an extension of that agreement, potential buyers of the
              fic




property who would otherwise become good prospects to negotiate a sale with Galleria 2425
             of
       Un




Owner, LLC , became potential purchasers of the NBK Note and began negotiating with NBK.

NBK interfered with these potential purchases and with these business relationships. At least the

following were interfered with in this fashion:


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               a)      Globix Investment,

               b)      Ironwood Commercial Realty,

               c)      Shah Firm, LLC, and

               d)      Jeb Brown Law.




                                                                                k
                                                                             ler
B.     Azeemeh Zaheer Decides She Wants the Building.




                                                                          tC
       35.     On June 26, 2023, Defendant Zaheer filed a lawsuit in the name of Naissance




                                                                      ric
                                                                   ist
Galleria, LLC (“Naissance”), which she purported to control, in the 157th Judicial District Court




                                                                sD
in Harris County, Texas referenced by case number 2023-39006 against Brad Parker (“Parker”)




                                                             es
as an initial step in Zaheer pursuit of a hostile takeover of the 2425 Building.



                                                          rg
       36.                                            Bu
               On July 5, 2023, Defendant Zaheer and also in the name of Naissance, filed a
                                                   n
second lawsuit in the 129th Judicial District Court in Harris County, Texas referenced by case
                                                ily
                                             ar


number 2023-41091 against Parker and NBK at the request of Zaheer, to further the defendants’
                                          M




hostile takeover attempt of the 2425 Building. Zaheer sought injunctive relief, but that request for
                                       of
                                    e




an emergency temporary restraining order was denied.
                                ffic




       37.     On or about July 5, 2023, Galleria 2425 Owner, LLC commenced a Chapter 11
                           y O




bankruptcy proceeding in the Southern District of Texas, referenced by case number 23-60036.
                        op




NBK sought to dismiss the bankruptcy proceeding, but its motion to dismiss was denied on
                     C
                 ial




September 26, 2023.       The Chapter 11 Plan should have been approved and would have
              fic




substantially reduced the value of Bank of Kuwait’s secured debt, which Bank of Kuwait decided
             of
       Un




it would not allow, just as it had decided not to allow the prior sales of the building that had been

lined up by Galleria 2425 Owner, LLC.




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C.     Azeemeh Zaheer is a False Representative of Naissance.

       38.     Azeemeh Zaheer at one time had a business relationship with Ali Choudhri, both

of which appeared to have ended mutually for a time. Azeemeh Zaheer filed an Application for

Temporary Injunction in the 80th Judicial District Court for Harris County against Naissance




                                                                              k
                                                                           ler
Galleria, LLC, which was a mezzanine lender to an LLC (“LLC”) two steps up in the building’s




                                                                        tC
ownership chain.




                                                                    ric
       39.     Azeemeh Zaheer had signed, as the authorized representative of the Managing




                                                                 ist
                                                              sD
Member of Naissance Galleria, LLC an Assignment of the management rights of that LLC to Ali




                                                           es
Choudhri. In response, Mr. Choudhri stepped into Naissance’s shoes, covered its expenses, and




                                                        rg
did a miraculous job of negotiating the aforementioned settlement with Bank of Kuwait after the
                                                    Bu
Assignment. Azeemeh Zaheer made this assignment for a number of reasons, but most of them
                                                 n
                                              ily

stemmed from her ineffective management of the building and her fear of exposure to Bank of
                                            ar
                                        M




Kuwait and certain individuals affiliated with the Bank of Kuwait because of her poor
                                      of




performance.
                                   e
                               ffic




       40.     After Mr. Choudhri received the Assignment and had negotiated the successful
                            O




settlement with Bank of Kuwait and the building looked as if it might succeed (a period of years),
                          y
                       op




Azeemeh Zaheer decided she wanted to misappropriate the value that Mr. Choudhri had just
                    C




preserved and to an extent had just created. First, she claimed the Assignment was invalid and
                  ial
               fic




sought and received a Temporary Injunction on September 21, 2023 from the 80th Judicial District
             of




Court in Harris County. This Temporary Injunction basically only created a stalemate with respect
       Un




to the management of Naissance Galleria, LLC to preserve the status quo until a trial in January.

Mr. Choudhri is still the manager of Naissance Galleria, LLC, not Azeemeh Zaheer, although she

did have some approval rights under the injunction. Mr. Choudhri, as the manager of Naissance
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Galleria LLC, is only required to obtain approval from Zaheer for his actions. Zaheer DOES NOT

have any control of the entity. Moreover, this was confirmed at a hearing on November 13, 2023

before Judge Manor in the 80th Judicial District Court.

D.     Azeemeh Decides to Conspire with Bank of Kuwait So It Could Foreclose On the




                                                                              k
       Building.




                                                                           ler
       41.     After the September 21, 2023 entry of the Temporary Injunction, some ironic, if




                                                                        tC
                                                                    ric
not strange, events start taking place with respect to Ms. Zaheer and the Galleria 2425 Owner,




                                                                 ist
LLC. First, it is against Azeemeh Zaheer and Naissance’s financial interests if the Bank of Kuwait




                                                              sD
forecloses.




                                                           es
       42.     Second, on information and belief, Zaheer caused a copy of the Temporary


                                                          rg
                                                    Bu
Injunction Entered on September 21, 2023 by the 80th Judicial District Court in Harris County to
                                                  n
be sent to counsel for the Bank of Kuwait, who in turn immediately wrote a letter to Judge Lopez,
                                               ily
                                            ar


the Bankruptcy Judge in charge of Galleria 2425 Owner, LLC’s Bankruptcy, and the Judge who
                                         M




has approval authority over Galleria 2425 Owner, LLC’s Plan. (Not exactly helpful in getting a
                                      of
                                    e




Plan of Reorganization approved.)
                               ffic




       43.     Third, Zaheer’s attorneys (Mr. Tang and Mr. Drinnon) show up without any
                          y O




forewarning at the October 12, 2023 status conference in the Bankruptcy Court about the plan,
                       op




claiming Azeemeh Zaheer now is the manager of Naissance Galleria, LLC and they have been
                    C
                 ial




hired by her to represent Naissance Galleria, LLC, all by virtue of the Temporary Injunction.
              fic




       44.     They again made pleas to the court regarding Zaheer’s desire to take over the 2425
              of
       Un




Building, stating the Temporary Injunction gave them sole authority to represent Naissance, and

Naissance did not want to sue the Bank of Kuwait for breach of the Settlement Agreement as it

had already done under Mr. Choudhri’s rightful management.


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E.         Zaheer Changes Sides to Make a Deal with the Bank of Kuwait and Extort Money
           from Mr. Choudhri.

           45.     Progressively, Azeemeh Zaheer’s behavior becomes more inexplicable as she




                                                                                          k
                                                                                       ler
instructs her attorneys to: (1) take the position that the Temporary Injunction put her in charge of




                                                                                    tC
Naissance (it did not);1 (2) that Naissance Galleria, LLC could or had already become the owner




                                                                                ric
                                                                             ist
of Galleria 2425 Owner, LLC) and as the new owner, they might want to take the bankruptcy in




                                                                          sD
another direction.




                                                                      es
           46.     The only explanation for Zaheer’s extraordinary behavior, which appears self-


                                                                   rg
                                                               Bu
destructive, is Zaheer sees the opportunity to make a deal with the Bank of Kuwait or extort
                                                            n
Mr. Choudhri, who will lose millions of dollars of equity in the building if a foreclosure takes
                                                        ily
                                                     ar


place.
                                                 M




           47.     This created an environment of confusion for the Bankruptcy Court, which was by
                                              of
                                           e




Defendants’ design, and it was a concerted effort by the Defendants to have the bankruptcy case
                                       ffic




dismissed, allowing the Bank of Kuwait to foreclose. Defendant NBK would not be impeded by
                                y  O




the bankruptcy and Zaheer could tell Mr. Choudhri, “I will not go along with your reorganization
                             op




plan unless you pay me millions of dollars” while making a deal with the Bank of Kuwait to block
                          C
                     ial




the Plan of Reorganization in the event no payment was received from Mr. Choudhri.
                  fic
                 of
           Un




1
    At a hearing had in the issuing court (the 80th Judicial District Court) on Monday, November 13, 2023, the Court

confirmed her Temporary Injunction Order had not turned control of Naissance over to Zaheer and Zaheer had no

authority to authorize attorneys to make the filing and take the action they had on behalf of Naissance Galleria, LLC

in the Bankruptcy.

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       48.     The Defendants are working in concert, to achieve the same end. Specifically, the

Defendants have devised, and intended to devise, a scheme or artifice to seize the 2425 Building

by any means necessary. Defendants will stop at nothing to see the Plaintiff lose any interest it

has in the 2425 Building




                                                                               k
                                                                            ler
       49.     Defendants’ scheme has involved false representations of material information,




                                                                         tC
including but not limited to misrepresentations concerning the Plaintiff and the purpose and effects




                                                                     ric
of the Temporary Injunction.




                                                                  ist
                                                               sD
F.     False Representations by Zaheer’s Agents are Successful in Getting Galleria 2425
       Owner LLC’s Bankruptcy Dismissed.




                                                            es
       50.     The Bankruptcy Court scheduled a Status Conference for Galleria 2425 Owner,


                                                         rg
                                                     Bu
LLC’s Bankruptcy Case for November 1, 2023. Azeemeh’s agents, on October 31, 2023, only
                                                  n
hours before the Status Conference, filed an Emergency Motion. This Motion contained many
                                               ily
                                             ar


misrepresentations, some of which follow:
                                         M




               a)      Even though Zaheer had no right to or standing necessary to file anything
                                      of




                       on behalf of Naissance, and the Temporary Injunction gave Zaheer no such
                                    e




                       rights, statements were made in their Emergency Motion directly to the
                                ffic




                       contrary, stating Azeemeh Zaheer was in, Choudhri was out.
                             O




               b)      The filing stated flatly at one point that the Assignment had been found to
                          y




                       be forged – it had not.
                       op




               c)      The filing stated that, because of the Temporary Injunction, Naissance was
                    C




                       now controlled exclusively by Zaheer, who could make Naissance become
                 ial




                       the Owner of the Bankrupt. (The issuing court on Monday, November 13,
                       2023, ruled from the bench it said no such thing.)
              fic
             of




These misrepresentations had the desired effect, and the Bankruptcy Court dismissed the
       Un




Bankruptcy, green-lighting the Bank of Kuwait to foreclose.




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G.     Abdullatif is Choudhri’s Competitor and Wants to Ruin Him.

       51.     Choudhri has been in the real estate investment and management business for the

last 20 years. The regular course of Choudhri’s business involves numerous aspects of real estate

development. These activities include real estate and business acquisitions and dispositions,




                                                                              k
                                                                           ler
seeking and obtaining financing, and developing and managing commercial and residential




                                                                        tC
properties. He regularly raises capital for these activities through the issuance of equity and/or




                                                                    ric
debt. It is also within his normal course of business to enter into transactions with borrowers,




                                                                 ist
                                                              sD
lenders, and investors to support the purchase, development, and operations of real estate




                                                           es
properties.




                                                        rg
       52.     Choudhri at times conducts his real estate investment and management business
                                                    Bu
through the use of special purpose entities, such as Plaintiff Galleria Owner 2425, LLC. Choudhri
                                                  n
                                               ily

runs a management company, Jetall Companies, Inc. (“Jetall”), to provide employees and
                                            ar
                                         M




management services to entities for purposes of operating real estate investments.
                                      of




       53.     Abdullatif has provided financing for numerous third-party claims against
                                   e
                               ffic




Choudhri, including interfering with Choudhri’s final divorce proceedings in both Pakistan
                            O




Supreme Court and Harris County District Court by soliciting Choudhri’s ex-wife for her legal
                          y
                       op




claims against Choudhri and/or his entities and to gain access to Choudhri’s protected financial
                    C




disclosures.
                  ial
               fic




       54.     Upon information and belief, Abdullatif is also financing the litigation expenses of
              of




Zaheer against Choudhri in the dispute over the building owned by Plaintiff. Zaheer has agreed to
       Un




the enterprise course of action aimed at destroying Choudhri’s business, and either taking

possession of the 2425 Building or extorting money from him to agree to a plan of reorganization.



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       55.     On more than one occasion, Abdullatif resorted to violence and threats against

Choudhri and/or his family, friends, and associates. Mr. Choudhri had another real estate venture

involving an entity called Dalio. Abdullatif was present at Dalio’s foreclosure proceeding, where

a friend accompanying him assaulted one of Choudhri’s lawyers. On another occasion, Abdullatif




                                                                                k
                                                                             ler
and his associates used firearms to hold Choudhri and his associates hostage.




                                                                          tC
       56.     Abdullatif also formed an association with others in his illegal efforts to destroy




                                                                      ric
Choudhri’s business. These individuals include but are not limited to Chris Wyatt, former Chief




                                                                   ist
                                                                sD
Operating Officer of Jetall (“Wyatt”).




                                                            es
       57.     Wyatt was hired by Jetall in 2019. In the course of his employment, Wyatt oversaw



                                                         rg
legal and litigation matters for Jetall. He was provided confidential information concerning Jetall’s
                                                      Bu
and its client’s real estate transactions, finances and debt leverage on properties, and litigation
                                                   n
                                                ily

management strategies. As a Jetall representative, Wyatt was regularly involved in and provided
                                             ar
                                          M




access to privileged information and communications, including information subject to attorney-
                                         of




client and work product privileges. Wyatt signed a non-disclosure agreement at the beginning of
                                     e
                                 ffic




his employment prohibiting him from disclosing confidential information and requiring him to
                             O




return all files upon his termination.
                           y
                        op




       58.     Wyatt’s employment at Jetall ended in December 2020. When he left Jetall, Wyatt
                     C




stole corporate files including electronic communications and secretly recorded privileged phone
                 ial
              fic




communications between Choudhri and his attorneys.
             of




       59.     Jetall obtained a restraining order in January 2021 enjoining Wyatt from disclosing
       Un




or divulging confidential information obtained through his course of employment with Jetall.

       60.     Abdullatif met with Wyatt immediately following Wyatt’s departure from Jetall.

Abdullatif, directly and through his lawyers, received confidential and privileged information from
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Wyatt.     This information included but is not limited to illegal recordings of Choudhri’s

conversations with attorneys.

         61.   Upon information and belief, Abdullatif and his agents were aware that Wyatt was

a former employee of Jetall who was involved in confidential and privileged communications and




                                                                               k
                                                                            ler
that a restraining order was entered enjoining Wyatt from disclosing confidential information.




                                                                         tC
         62.   Abdullatif and his agents have used the illegally obtained information and




                                                                     ric
recordings as part of Abdullatif’s scheme to destroy Choudhri’s business. Abdullatif retained




                                                                  ist
                                                               sD
Wayne Dolcefino (“Dolcefino”) as a “consultant” to publish on the internet a series of hit pieces




                                                           es
on Choudhri. Dolcefino advertises that his services included “litigation support,” and Abdullatif



                                                        rg
has utilized Dolcefino in the course of his numerous lawsuits asserted against Choudhri and his
                                                     Bu
businesses.
                                                  n
                                               ily

         63.   Information illegally obtained from Wyatt is included in many of Dolcefino’s hit
                                            ar
                                         M




pieces. Dolcefino continues to publish these hit pieces on the internet, including videos posted in
                                      of




May 2023.
                                   e
                                ffic




         64.   Abdullatif, with the assistance of Drinnon, now representing Azeemeh Zaheer, has
                            O




made several false claims against his competitor, Choudhri, in many ways, two of the most
                          y
                       op




egregious being:
                    C




               a)     Hiring Dolcefino to create video “hit pieces” about Choudhri, his business,
                  ial




                      his marital status, and inappropriate character based upon his actions during
               fic




                      that marital status. This video contained “over the top” falsehoods, e.g. that
                      he was still married and had been for years. It was commercial speech
               of




                      designed to designate a competitor (Choudhri) and give Abdullatif a
         Un




                      competitive advantage, and was introduced into interstate commerce by
                      release to major television (broadcast and cable) networks and by placing
                      on the internet where it still resides today, making it available to the
                      potential customers and lenders that are competed for; and



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                b)     Placing multiple improper Lis Pendens on the record title to properties
                       owned by Choudhri or his business entities, which created a double negative
                       effect on Choudhri’s ability to conduct business by hampering his ability to
                       find new lenders or renewing existing loans because the security for them
                       was impaired and making it impossible to sell those properties to raise new
                       capital on his own. These Lis Pendens were “over the top”
                       misrepresentations because they were illegal and did not assert valid




                                                                               k
                       interests in the subject properties. The Lis Pendens were also introduced




                                                                            ler
                       into interstate commerce because they were filed of record and were
                       available “online” over the internet to any potential customer for




                                                                         tC
                       commercial real estate in the Houston area.




                                                                     ric
                                                                  ist
                                                               sD
                                           V.
                                     CAUSES OF ACTION




                                                            es
      COUNT 1: BREACHES OF CONFIDENTIAL SETTLEMENT AGREEMENT



                                                         rg
       65.                                           Bu
                Plaintiff repeats and realleges the allegations set forth in all preceding and
                                                   n
subsequent paragraphs of this Complaint, as if fully set forth herein.
                                                ily
                                             ar


       66.      Plaintiff and Defendant reached a valid and enforceable agreement expressly set
                                         M




forth in the Confidential Settlement Agreement.         Pursuant to the Confidential Settlement
                                       of
                                    e




Agreement, Defendant agreed to keep the contents and terms of the parties’ agreement completely
                                ffic




confidential.
                             O




       67.      Defendant breached the Confidential Settlement Agreement by disclosing its
                          y
                       op




contents and terms to third parties in violation of the agreement’s express confidentiality
                     C
                   ial




provisions. These disclosures prevented the sale of the 2425 Building and chilled the market for
                fic




other buyers.. The same is true for NBK’s wrongful, early filing of a notice of foreclosure on the
             of
       Un




2425 Building, also in violation of the Confidential Settlement Agreement.




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       68.     Plaintiff hereby sues NBK for these breaches of the Confidential Settlement

Agreement. The damages for these breaches are the amounts of money that the Plaintiff would

have made from the contemplated transaction

              COUNT 2: TORTIOUS INTERFERENCE WITH CONTRACT




                                                                               k
                                                                            ler
       69.     Plaintiff repeats and realleges the allegations set forth in all preceding and




                                                                         tC
subsequent paragraphs of this Complaint, as if fully set forth herein.




                                                                     ric
       70.     As alleged, NBK tortiously interfered with the SIBS International contract and the




                                                                  ist
                                                               sD
Caldwell Soames Inc. contract, causing damages to the Plaintiff, but for NBK’s interference,




                                                            es
would have been paid to the Plaintiff.




                                                         rg
       71.     Zaheer, tortiously interfered with Plaintiff’s contract with NBK, and with Plaintiff’s
                                                     Bu
bankruptcy proceeding.
                                                   n
                                                ily

       COUNT 3: TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS
                                             ar
                                         M




       72.     Plaintiff repeats and realleges the allegations set forth in all preceding and
                                         of




subsequent paragraphs of this Complaint, as if fully set forth herein.
                                    e
                                ffic




       73.     After NBK’s disclosures of the situation created by the confidential settlement and
                             O




the wrongful posting for foreclosure during a judicial extension of the grace period contained in
                          y
                       op




that agreement, potential buyers of the property who would otherwise have become good prospects
                    C




to negotiate a sale with Galleria 2425 Owner, LLC became instead potential purchasers from NBK
                 ial
              fic




of the NBK note and began contacting and negotiating or attempting to negotiate with NBK instead
             of




of Galleria 2425 Owner, LLC NBK interfered with these potential purchasers and with these
       Un




potential business relationships. At least the following were interfered with in this fashion:

               a)      Globix Investment,
               b)      Ironwood Commercial Realty,
               c)      Shah Firm, LLC, and

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               d)      Jeb Brown Law.

       74.     Zaheer, has interfered with the Plaintiff’s relationship with NBK

       75.     This interference by the Zaheer damaged Plaintiff in amounts to be determined after

discovery




                                                                               k
                                                                            ler
                 COUNT 4: FRAUD AND FRAUDULENT INDUCEMENT




                                                                         tC
       76.     Plaintiff repeats and realleges the allegations set forth in all preceding and




                                                                     ric
subsequent paragraphs of this Complaint, as if fully set forth herein.




                                                                  ist
                                                               sD
       77.     NBK never had any intention of living up to the Confidential Settlement




                                                            es
Agreement. The Galleria 2425 Owner, LLC was winning the lawsuit against NBK, so NBK




                                                         rg
induced the Plaintiff into entering into the Confidential Settlement Agreement which NBK had no
                                                     Bu
intention of living up to. This fraud works as an estoppel against NBK Plaintiff hereby sues NBK
                                                   n
                                                ily

for fraud and fraudulent inducement
                                             ar
                                         M




       78.     NBK knew at the time it entered into the Confidential Settlement Agreement it
                                       of




would deflect and tortiously interfere with the Galleria 2425 Owner, LLC’s attempts to sell the
                                    e
                                ffic




2425 Building so NBK would be able to foreclose on the building and take all of the value instead
                             O




of just the value of the amounts otherwise owed at the time. The fraud, fraud in the inducement,
                          y
                       op




and subsequent interference for all of which Plaintiff hereby sues NBK.
                    C




                         COUNT 5: BUSINESS DISPARAGEMENT
                 ial




       79.     Plaintiff repeats and realleges the allegations set forth in all preceding and
              fic
             of




subsequent paragraphs of this Complaint, as if fully set forth herein.
       Un




       80.     The posting of the 2425 Building during any negotiation periods and/or the

extended grace period when actual buyers were moving toward concluding a deal and when other



                                                                                    Page 23 of 29



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potential buyers were expressing interest in the 2425 Building, constituted business disparagement

against the Plaintiff for which Plaintiff hereby sues NBK.

       81.     The efforts of Zaheerto make false accusations and representations about the

Plaintiff’s ownership interests, management, and decision making abilities constituted business




                                                                               k
                                                                            ler
disparagement against the Plaintiff for which the Plaintiff hereby sues Zaheer,




                                                                         tC
       82.     The business disparagement by the Defendants damaged Plaintiff in amounts to be




                                                                     ric
determined after discovery.




                                                                  ist
                                                               sD
                              COUNT 6: UNJUST ENRICHMENT




                                                             es
       83.     Plaintiff repeats and realleges the allegations set forth in all preceding and




                                                         rg
subsequent paragraphs of this Complaint, as if fully set forth herein.
                                                     Bu
       84.     If NBK is allowed to foreclose on the 2425 Building it will make an unconscionable
                                                   n
                                                ily

profit and succeed in its “loan to own” gambit. The amount of its unjust enrichment for which
                                             ar
                                         M




Plaintiff hereby sues NBK is the difference between what NBK would have been owed (but for its
                                       of




breaches of the Confidential Settlement Agreement) under the Confidential Settlement Agreement
                                    e
                                ffic




and the true value of the building, for which Plaintiff hereby sue NBK.
                              O




                                  COUNT 7: CONSPIRACY
                          y
                       op




       85.     Defendants Zaheer,in combination with NBK, agreed to work in concert with each
                    C




other in order to interfere with Plaintiff’s bankruptcy case, and to have it dismissed by making
                 ial
              fic




fraudulently claiming they had control over Naissance Galleria, LLC.
             of




       86.     Defendants Zaheer, and NBK acted with the intent to harm plaintiff.
       Un




       87.     To accomplish the object of their agreement Zaheer, and NBK intentionally or

negligently mischaracterized the effect of the state court temporary injunction, in order to confuse

and disrupt Plaintiff’s bankruptcy case, which resulted in dismissal.

                                                                                     Page 24 of 29



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        88.     The agreement to engage in this conduct proximately caused injury to plaintiff.

Plaintiff’s interests in Galleria 2425 Owner, LLC’s sole asset, instead of being protected through

a bankruptcy action, has now been posted for foreclosure on December 5th, 2023, which will

irreparably harm Plaintiff.




                                                                               k
                                                                            ler
                                 COUNT 8: ATTORNEYS’ FEES




                                                                         tC
        89.     Plaintiff repeats and realleges the allegations set forth in all preceding and




                                                                     ric
subsequent paragraphs of this Complaint, as if fully set forth herein.




                                                                  ist
                                                               sD
        90.     Plaintiff hereby sue Defendants for its reasonable and necessary attorneys’ fees




                                                            es
under breach of contract and under any statutory or common law right to recover same.




                                                         rg
                                  VI.
                                                      Bu
              APPLICATION FOR TEMPORARY INJUNCTION OR ORDER
                                                      n
        91.     The Defendants have conspired with each other and others, or worked in parallel
                                                  ily
                                               ar


courses to get the bankruptcy of Plaintiff 2425 Galleria Owner, LLC dismissed so that Bank of
                                           M




Kuwait is not prohibited by the automatic stay from foreclosing. If a foreclosure takes place, the
                                         of
                                      e




equity of Plaintiff will be wiped out and Plaintiff will have no assets and no adequate remedy at
                                  ffic




law to return the retrieve the assets or its value.
                            y O




        92.     Temporary injunctive relief is necessary until such time as the merits of this case
                         op




can be decided and the status quo is maintained pending resolution on the merits.
                     C
                  ial




               APPLICATION FOR TEMPORARY RESTRAINING ORDER
               fic




        93.     Plaintiff’s application for a temporary restraining order is authorized by Tex. Civ.
              of
        Un




Prac. & Rem. Code §65.011(1) which allows applicants to the relief sought to restrain the

Defendants from prejudicial acts; by Tex. Civ. Prac. & Rem. Code §65.011(3) which allows

applicants to the relief sought under the principles of equity and laws of Texas related to


                                                                                     Page 25 of 29



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injunctions; by Tex. Civ. Prac. & Rem. Code § 65.011(5) which allows applicants to the relief

sought when irreparable injury to business, good will, reputation and personal property is

threatened; and by Tex. Bus. Orgs. Code § 152.211(b), allowing partners in a partnership to obtain

an injunction to enforce rights under the Texas Business Organizations Code.




                                                                                k
                                                                             ler
       94.     As set forth above, an emergency hearing on Plaintiff’s Application for Temporary




                                                                          tC
Restraining Order is necessary to conserve the Plaintiff’s business status and maintain the status




                                                                      ric
quo during the pendency of this lawsuit. Plaintiff would suffer material injury by the delay




                                                                   ist
                                                                sD
necessary to give notice. Any delay necessary for notice would lead to imminent and irreparable




                                                            es
injury to property.



                                                         rg
       95.     It is probable that Plaintiff will recover from Defendants after a trial on the merits
                                                      Bu
because the facts set forth are verified and sets forth the Defendants wrongful conduct; and actions
                                                   n
                                                ily

including seeking the sale of the business by the Defendants are wrongful and must be stopped.
                                             ar
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       96.     If Plaintiff’s application is not granted, harm is imminent because 1) Galleria 2425
                                       of




Owner, LLC’s sole asset will be foreclosed as a result of Defendants harmful actions on December
                                    e
                                ffic




5th, 2023; 2) Defendants will continue to conspire with each other in a manner that is counter to
                             O




the true interests of Naissance Galleria, LLC; and 3) Defendants will continue to violate the
                           y
                        op




Temporary Injunction, as they have already done on at least three occasions, in order to interfere
                      C




with Plaintiff’s lawful attempts to preserve the 2425 Building. These harms are imminent and
                 ial
              fic




would cause irreparable injury with no other adequate legal remedy.
             of




       97.     The harm that will result if the temporary restraining order is not issued is
       Un




irreparable because Plaintiff has an interest in a unique piece of real estate which it will be wiped

out in the event of foreclosure. Texas Courts repeatedly rule that “every piece of real estate is

innately [**8] unique. See, e.g., Greater Houston Bank v. Conte, 641 S.W.2d 407, 410 (Tex.
                                                                                      Page 26 of 29



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App.--Houston [14th [*58] Dist.] 1982, no writ) ("It is well established law that each and every

piece of real estate is unique. Therefore, if appellants were allowed to foreclose appellees would

be irreparably harmed, since real estate is so unique."); El Paso Dev. Co. v. Berryman, 729

S.W.2d 883, 888 (Tex. App.--Corpus Christi 1987, no writ) ("Every piece of real estate is unique,




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and if foreclosure were allowed before a full determination of the usury claim, appellee would be




                                                                          tC
irreparably harmed."). Kotz v. Imperial Capital Bank, 319 S.W.3d 54, 57-58 (Tex. App.—San




                                                                      ric
Antonio 2010, no pet.).




                                                                   ist
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                                    VII.JURY DEMAND




                                                            es
       98.     Plaintiff demands a jury trial and tenders the appropriate fee with this petition.




                                                         rg
                                      VIII. PRAYER

       99.
                                                     Bu
               For the reasons set forth above, Plaintiff asks that the Court enter a Temporary
                                                   n
                                                ily

Restraining Order, and after a hearing, a Temporary Injunction, enjoining the Defendants in the
                                             ar
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following manners:
                                       of




               a)     NBK is restrained from 1) Foreclosing on, posting, reposting, or otherwise
                                    e
                                ffic




                      selling at auction the 2425 Building; and 2) transferring any Note and/or
                            O




                      lien it holds or may hold relating to the 2425 Building; or 3) or interfering
                          y
                       op




                      with the Plaintiff’s business in any manner, including by acting in concert
                     C




                      with another party.
                 ial
              fic




               b)     Actual damages including economic injuries & consequential damages;
             of
       Un




               c)     Attorney’s fees;


               d)     Exemplary damages;


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               e)      Prejudgment and post judgment interest;


               f)      Court costs; and


               g)      All other relief to which Plaintiff is entitled under both law and equity.




                                                                                k
                                                                             ler
       100.    Plaintiff is willing to post bond.




                                                                          tC
                                                                      ric
                                                                   ist
                                               Respectfully submitted,




                                                                sD
                                               MATÍAS J. ADROGUÉ PLLC




                                                            es
                                                          rg
                                                      Bu
                                                     n
                                               By:
                                                      Matías J. Adrogué
                                                ily

                                                      Texas State Bar No. 24012192
                                             ar



                                                      Leila M. El-Hakam
                                          M




                                                      Texas State Bar No. 24007147
                                                      1629 West Alabama St.
                                       of




                                                      Houston, Texas 77006
                                    e




                                                      713-425-7270 Telephone
                                ffic




                                                      713-425-7271 Facsimile
                                                      service@mjalawyer.com
                             O




                                                     ATTORNEYS FOR PLAINTIFF
                          y
                       op




                                 CERTIFICATE OF SERVICE
                    C
                 ial




        I hereby certify that a true and correct copy of the above and foregoing has been served to
              fic




all counsel of record by hand delivery, fax transmittal, Certified mail, return receipt requested,
electronic mail, e-service, and/or U.S. Mail, on this the 29th day of November, 2023.
           of
       Un




                                                              Matías J. Adrogué



                                                                                       Page 28 of 29



                                                                                               001077
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                                           JURAT

        My name is Ali Choudhri, my date of birth is 01/24/1980. My office address is 1001
 West Loop South, Suite 700, Houston, Texas 77027. I declare under penalty of perjury that the
 facts and events set forth in the foregoing Amended Petition and Emergency Application for
 Temporary Restraining Order are within my personal knowledge and are true and correct.




                                                                            k
                                                                         ler
                                                                      tC
        Executed in Harris County, State of Texas, on November 29, 2023.




                                                                  ric
                                                               ist
                                                            sD
                                                         es
                                            _/s/Ali Choudhri_____



                                                      rg
                                               Ali Choudhri
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                         Automated Certificate of eService
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certificate of service that complies with all applicable rules.

Matias Adrogue
Bar No. 24012192
mja@mjalawyer.com




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Envelope ID: 82036951
Filing Code Description: Amended Filing




                                                                        tC
Filing Description: Plaintiff's Amended Petition & Application for TRO
Status as of 11/29/2023 10:15 AM CST




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Case Contacts




                                                              sD
Name                       BarNumber   Email                         TimestampSubmitted        Status




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                                                                                                      United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                                ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                          November 25, 2024
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

IN RE:                                                       §
                                                             §        CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                                    §
                                                             §
             Debtor.                                         §
                                                             §
                                                             §        CHAPTER 11

                                  ORDER DENYING MOTION (ECF 810)

Before the Court is the Motion to Comply with the Gatekeeping Provisions of the Confirmed
Chapter 11 Plan filed by Ali Choudhri (“Choudhri”) and the National Bank of Kuwait’s (“NBK”)
Response to Ali Choudhri's Motion to Comply with the Gatekeeping Provisions of the Confirmed
Chapter 11 Plan (ECF No. 824). For the following reasons the motion is denied, with prejudice.

Choudhri by motion seeks to challenge or modify the “gatekeeping provisions” of the confirmed
Chapter 11 Plan in this case so that he can continue to litigate with NBK. The Court stresses that
the effect of the confirmed plan was to end the vexatious litigation between entities controlled by
Choudhri and NBK. Choudhri continues to raise factual and legal issues which this Court has
already considered and rejected.

The confirmed plan is under appeal but not by Choudhri only by a company he controls. The
Court doubts that Choudhri has standing to make the claims he makes by motion. Irrespective of
his lack of standing, he like all parties are bound by the terms of the confirmed plan. 1 There was
no stay pending appeal and the Court continues to stand on the record in this case. If this Court
has erred in any of its “gatekeeping provisions” then it welcomes an appropriate appellate review,
which the Court assumes is ongoing. However, it will not revisit factual and legal issues that it
has already litigated. The Court cannot sufficiently stress that Choudhri continues to raise and
argue the same basic facts and claims that this Court has found lacked foundation and merit.

Choudhri’s claims the Court has not considered the factual and legal arguments he makes in his
motion. The Court strongly rejects any such claim. The Court has had ample opportunity to assess
Mr. Choudhri’s factual and legal arguments and has repeatedly rejected them. Choudhri’s purpose
for pursuing these claims is improper and clearly vexatious.




1
    Section 1141(a) of the Bankruptcy Code explicitly states that a confirmed plan is binding on all parties.
1/2


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The motion is all things denied, with prejudice. The movant is warned that future ongoing
litigation at the trial court level is subject to sanctions by this Court.

SO ORDERED.


       SIGNED 11/25/2024


                                               ___________________________________
                                               Jeffrey Norman
                                               United States Bankruptcy Judge




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                     THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


                                                )
                                                )
 In re:                                         )             Chapter 11
                                                )
 GALLERIA 2425 OWNER, LLC,                      )             Case No. 23-34815
                                                )
                                 Debtor.        )
                                                )
                  ________________________________________________

                                NOTICE OF APPEAL
                 _________________________________________________


          Notice is hereby given that creditor and real party in interest Ali Choudhri files this

appeal to the United States District Court for the Southern District of Texas from the

following order:

          a. the “Order Denying Motion (ECF 810)” [Dkt. No. 833],
             attached as Exhibit 1;

          Ali Choudhri is a creditor and real-party-in-interest in this bankruptcy case.




                                                                                            001082
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      The other parties to the appeal and their attorneys include the following:

 Galleria 2425 Owner, LLC               Reese W Baker
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                                        Suite 300
                                        Houston, TX 77024
                                        713-869-9200
                                        Fax : 713-869-9100
                                        courtdocs@bakerassociates.net

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                                        The Pope Law Firm
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                                        Ste 1125
                                        Houston, TX 77036
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                                        Ste 200
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                                                                                   001083
Case 4:24-cv-04836   Document 8-2   Filed on 04/23/25 in TXSD      Page 1084 of 1090




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 National Bank of Kuwait-New York   Charles C. Conrad
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                  Plan proponent    609 Main Street Suite 2000
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                                    Andrew M. Troop
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                                                                              001084
Case 4:24-cv-04836   Document 8-2   Filed on 04/23/25 in TXSD   Page 1085 of 1090




                                          Respectfully submitted,

                                          /s/ J. Carl Cecere
                                          J. Carl Cecere
                                          State Bar No. 13268300
                                          (admitted pro hac vice)
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                                          Telephone: 469-600-9455

                                          Attorney for 2425 WL, LLC and
                                          Ali Choudhri




                                      4
                                                                           001085
Case 4:24-cv-04836   Document 8-2     Filed on 04/23/25 in TXSD   Page 1086 of 1090




                            CERTIFICATE OF SERVICE

      The undersigned certifies that on this 9th day of December, 2024, a true and
correct copy of the foregoing was served on the following in accordance with the
CM/ECF e-filing system, and upon all others who have consented to service in this
case by registering to receive notices in this case through the CM/ECF e-filing
system.

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Case 4:24-cv-04836   Document 8-2   Filed on 04/23/25 in TXSD   Page 1087 of 1090




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       ecf@thepopelawfirm.com             Jeff@texlaw.us


                                          /s/ J. Carl Cecere

                                          J. Carl Cecere




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                               EXHIBIT 1




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                                                                       of 2 of 1090
                                                                                                      United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                                ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                          November 25, 2024
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

IN RE:                                                       §
                                                             §        CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                                    §
                                                             §
             Debtor.                                         §
                                                             §
                                                             §        CHAPTER 11

                                  ORDER DENYING MOTION (ECF 810)

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1
    Section 1141(a) of the Bankruptcy Code explicitly states that a confirmed plan is binding on all parties.
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                                                                       of 2 of 1090




The motion is all things denied, with prejudice. The movant is warned that future ongoing
litigation at the trial court level is subject to sanctions by this Court.

SO ORDERED.


       SIGNED 11/25/2024


                                               ___________________________________
                                               Jeffrey Norman
                                               United States Bankruptcy Judge




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